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Red squirrel ecology
1927, Hatt 1929, Layne 1954). In deciduous forests, red squirrels utilize and cache a large variety of seeds and
mast from species such as oaks (Quercus spp.), hickory (Carya spp.), maple (Acer spp.), elm (Ulmus spp.), and beech
(Fagus grandifolia; Seton 1910, Hatt 1929, Williams 1936, Layne 1954, Kemp and Keith 1970). However, these
caches do not normally accumulate from year to year (Hatt 1929).


Red squirrels also prey on young hares. During highs in the hare population cycle in the Yukon, squirrel predation
was a major source of mortality on young hares, which may have slowed hare population growth (Boonstra et al.
2001).


Reproduction. Females are reported to accept males onto their territories only during their I -day estrous cycle
(Smith 1968a, Rusch and Reeder 1978). Throughout most of its range, 1 litter per year is typical (Obbard 1987).
However, in the southern and eastern portion of its range, 2 litters may be produced each year (Hamilton 1939,
Layne 1954, Wrigley 1969, Lair 1985). Average litter size is about 3 to 5 young (Obbard 1987), depending on an­
nual food supply (Smith I968a, Kemp and Keith I970, Rusch and Reeder I978).


Mortality. Red squirrels are preyed upon by a variety of predators. Among the most common mammalian preda­
tors are fishers (Hamilton and Cook 1955, Brown and Will 1979) and martens (Marshall 1946, Quick 1955,
Soutiere I979, Lachowski I997). The most common avian predator is northern goshawk (Meng I959), although
great horned owls (Rusch et al. 1972), red-tailed hawks (Luttich et al. 1970), broad-winged hawks (Buteo platypter-
us; Rusch and Reeder I978), and Cooper's hawks (Accipiter cooperi; Meng I959) have also been noted to prey upon
red squirrels.


Importance of red squirrels to lynx. Red squirrels appear to be the most important alternate prey for lynx
throughout the northern portion of their range (Brand et al. 1976, O'Donoghue et al. 1998, Apps 2000). Red
squirrel remains occurred in 56% (10 of 18) of lynx winter scats from the Northwest Territories (More 1976) and
9% (2 of 23) of the summer digestive tract samples from northern Alberta and the Northwest Territories (van
Zyll de Jong I966). Red squirrel densities appeared to fluctuate independently of the snowshoe hare cycle during a
I0-year project in the Yukon (Krebs et al. 200Ib).


Koehler (I990a) reported that red squirrels occurred in 24% of lynx scats in north-central Washington. In con­
trast, Burdett (2008) and Hanson and Moen (2008) analyzed 87 lynx scat samples collected during winter in Min­
nesota and found no red squirrel remains. Red squirrels do not appear to be an important alternate prey in that
area. Squires and Ruggiero (2007) located 86 lynx kills that included 7 prey species in their Montana study area.
Snowshoe hares accounted for 69 of the kills and 11 were red squirrels. Red squirrels were only 2% of the bio­
mass of the winter diet (Squires and Ruggiero 2007). Shenk (2007) reported that red squirrels made up I6.5% of
the annual lynx diet while snowshoe hares made up 75% in Colorado.


Koehler (I990a) suggested that a diet of red squirrels alone might not be adequate to ensure lynx reproduction
and survival of kittens. Rather, lynx populations appear to be limited by the availability of snowshoe hare prey, par­
ticularly during the winter months.




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Lynx hunting behavior

The morphological and behavioral adaptations of felids generally accentuate visual recognition of prey and short,
quick pursuits (Kleiman and Eisenberg 1973). Lynx use 2 basic methods to hunt snowshoe hares: ambushing from a
hunting bed during nocturnal hours when hares are most active, and moving through hare habitat to stalk and flush
hares from cover during the day (Kolbe and Squires 2007, Squires and Ruggiero 2007, Fuller et al. 2007).


In Canada, O’Donoghue (1997) reported that lynx captured red squirrels opportunistically when hares were abun­
dant, but actively hunted red squirrels when hares were scarce. In Montana, red squirrels were taken opportunisti­
cally (Squires and Ruggiero 2007).


Although cover is important to lynx when searching for food (Brand et al. 1976), lynx often hunt along the edges
of forests (Plate 2.9; Kesterson 1988, Staples 1995, Mowat et al. 2000) and dense riparian willow stands (Major
1989, Shenk 2008). Less dense stands may improve visibility for lynx and increase the vulnerability of hares
(O’Donoghue et al. 1998, Fuller et al. 2007). Lower stem density may be more important than hare abundance in
determining hunting success (Fuller et al. 2007).




                                                                                            Laurel Peelle
     Plate 2.9. Lynx foraging habitat is moderately dense, allowing pursuit and capture of prey while also
     providing dense horizontal cover for snowshoe hares.

In Maine, lynx focused their hunting in regenerating clearcuts (Plate 2.10; 11-26 years post-harvest) and in estab­
lished partially-harvested stands (11-21 years postharvest; Fuller et al. 2007). However, lynx avoided the stands
with the highest stem density (14,000 stems/ha [5,668 stems/ac]) and preferentially hunted in patches with inter­
mediate to high snowshoe hare density (Fuller and Harrison 2010). Roads and their associated edges (30 m [100
ft] on either side of roads) were selected against within lynx home ranges (Fuller et al. 2007).


In Minnesota, Burdett (2008) reported that lynx selected regenerating forests for hunting and resting sites during
the winter months. Female lynx used a foraging radius of approximately 2-3 km (1.2-1.8 mi) when kittens were at
the den (Moen et al. 2008).

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In Montana, Squires et al. (2010) reported
that horizontal cover was denser at lynx
kill sites than along travel paths. They fur­
ther reported that lynx kill sites were
associated with a higher proportion of
spruce-fir overstory than lodgepole pine
overstory, and that neither snow depth
nor snow penetrability influenced lynx kill
sites.


Berg et al. (2012) speculated that lynx in
the Greater Yellowstone Ecosystem
would likely not avoid hunting in young,
dense (3,I94.I6±553.05 stems/ha
[l,293±223.9 stems/ac]) lodgepole pine
patches. In this area, the stem density
does not reach the I4,000 stems/ha
(5,668 stems/ac) that was reported by           Plate 2.10. Young, dense conifers provide excellent lynx foraging habitat
Fuller and Harrison (2010) to be too            in Maine.
dense for effective hunting by lynx.


Lynx distribution

The historical range of Canada lynx extends from Alaska across much of Canada (except for coastal forests), with
southern extensions into parts of the western United States, the Great Lakes states, and New England (McCord
and Cardoza 1982). Lynx distribution is closely aligned with the distribution of snowshoe hares (Bittner and
Rongstad 1982, McCord and Cardoza 1982) and boreal forests (McCord and Cardoza 1982, Koehler and Aubry
1994, Agee 2000, McKelvey et al. 2000b, Mowat et al. 2000). Boreal forests extend southward from the arctic tun­
dra in the far north, to boreal/hardwood forest ecotones in the Midwest and eastern United States, and to subal­
pine forests in the western United States (Agee 2000).


States with verified records of lynx
    McKelvey et al. (2000b) summarized the locations of documented lynx occurrences, which were found in 24
    states. A “verified record” was defined as a museum specimen or a written account in which a lynx was either
    in someone’s possession or observed closely, e.g., killed, photographed, trapped and released, or treed by dogs.


    The National Lynx Survey, using a detection protocol developed by McKelvey et al. (1999), was conducted be­
    tween 1999 and 2003 to determine the presence of lynx on federal lands. Approximately 70 sampling grids
    were deployed in the survey of 22 national forests. Lynx were detected on 6 of the national forests surveyed:
    the Okanogan-Wenatchee National Forest in Washington, the Boise and Targhee National Forests in Idaho,
    Shoshone National Forest in Wyoming, and Lolo and Gallatin National Forests in Montana, as well as Glacier
    National Park in Montana (K. McKelvey, USDA Forest Service, Rocky Mountain Research Station, unpublished
    data). Subsequent surveys, using a modified protocol, detected lynx in Maine and on the Superior National For­
    est in Minnesota.


    A number of recent studies of lynx improved our knowledge of lynx distributions in specific regions (Hoving et
    al. 2003, 2005; Fuller et al. 2007; Koehler et al. 2008; Maletzke et al. 2008; Vashon et al. 2008a, b; Moen 2009;

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     Simons 2009; Fuller and Harrison 2010; Squires et al. 2013). These studies generally found that lynx are more
     abundant in Maine, but rarer and more patchily distributed across the western and Great Lakes regions of the
     United States than previously thought. This refinement in our understanding of lynx distribution is described
     in greater detail for each geographic area in Chapter 3.


States with verified records but not thought to support resident populations of lynx
     There is substantial uncertainty about the historical distribution of lynx in the northeast (McKelvey et al.
     2000b). However, recent regional-scale habitat models suggest New York, Vermont, and New Hampshire
     receive insufficient snow levels or contain too much deciduous-dominated landscape to support viable popu­
     lations of lynx (Hoving et al. 2005). Small numbers of breeding lynx were documented in northern New
     Hampshire and Vermont between 2009-2011 (M. McCollough, U.S. Fish and Wildlife Service, personal com­
     munication 2012). The long-term persistence of these small populations is unknown.


     Records from 1940-1997 showed an increase in lynx occurrences during the 1960s in Michigan’s Upper Pen­
     insula, a period when extensive dispersals from Canada occurred. Beyer et al. (2001) conducted track surveys
     that yielded no evidence of lynx in the region, and habitat models suggested there is insufficient suitable habi­
     tat or densities of snowshoe hare to support a viable population of lynx in Michigan (Linden 2006). Wisconsin
     is not believed to support lynx habitat or resident populations either.


     Lynx presence has been recorded in North Dakota, South Dakota, Illinois, Nebraska, Kansas, and Indiana,
     where lynx habitat does not exist (Adams 1963, Gunderson 1978, Hoffman and Genoways 2005, Devineau et
     al. 2010). Most of these occurrences appear to be animals dispersing southward from Canada during lows in
     the snowshoe hare population cycle (McKelvey et al. 2000b) or following translocation to Colorado
     (Devineau et al. 2010).


     There are sporadic lynx records from northeast Oregon, which are generally consistent with the time peri­
     ods when there were large numbers dispersing from Canada (McKelvey et al. 2000b). There is no evidence
     that lynx breed and reproduce in Oregon.


Lynx population density and home range size

Lynx densities vary across the southern periphery of its range. In Maine, densities during a likely population peak
ranged from 9.2-13.0 lynx/100 km2 (23.8-33.7 lynx/100 mi2); if only adults are included, the density averaged 4.3
adults/100 km2 (ll.l adults/100 mi2; Vashon et al. 2008a). The density in nearby Gaspe Peninsula, Quebec was
estimated to be l0 lynx/l00 km2 (25.9 lynx/l00 mi2; Ray et al. 2002). These are much higher than the density esti­
mate of 2.3 lynx/l00 km2 (6.0 lynx/l00 mi2) for north-central Washington (Koehler l990a).


Reported lynx home range sizes are also quite variable (Table 2.2). Methods used to estimate home range area
have not been standardized, and some of the differences in reported home range sizes reflect the home range
estimator employed, type of telemetry monitoring system used (VHF, GPS, or Argos), and number of relocations
of individuals. Generally, home ranges in the western United States are larger than those reported from the east­
ern United States or from northern Canada during peaks in snowshoe hare abundance (Aubry et al. 2000).


In Canada, average winter home ranges of 3 lynx in Newfoundland were about l8 km2 (7 mi2; Saunders l963b).
In Riding Mountain National Park, Manitoba, home ranges for 2 females with kittens averaged l56 km2 (60 mi2),
while that of a male was estimated at 22l km2 (85 mi2; Carbyn and Patriquin l983). In southwestern Yukon,
Ward and Krebs (l985) found a clear trend of increasing lynx home range size as hare densities declined. Four

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Table 2.2. Mean annual home range size of Canada lynx in southern boreal forests.

                      Latitude              Male                   Female
     Location                                                                           Method          Reference
                        (°N)       n         X ± SD           n        X ± SD

                                            54 ± 5 km2               26 ± 4 km2        85% Fixed       Vashon et al.
 Northern Maine          46        11                         11
                                           (21 ± 2 mi2)              (10 ± 2 mi2)        Kernel           2008a

 Northeastern                              267 ± 73 km2              21 ± 2 km2                        Burdett et al.
                         48        4                          2                         95% MCP
 Minnesota                                (103 ± 28 mi2)             (8 ± 1 mi2)                           2007

 Northeastern                                 194 km2                  87 km2
                         48         2                         2                         95% MCP         Mech 1980
 Minnesota                                   (75 mi2)                  (34 mi2)

 Southern                                  277 ± 71 km2             135 ± 124 km2
                         51         3                         3                         95% MCP         Apps 2000
 Canadian Rockies                         (107 ± 27 mi2)            (52 ± 48 mi2)

 West-central                       1         137 km2          1       114 km2                          Squires and
                         43                                                             95% MCP
 Wyoming                                     (53 mi2)                  (44 mi2)                        Laurion 2000

 Southern                                  103 ± 40 km2              75 ± 16 km2       90% Fixed
                         37        4                          19                                        Shenk 2008
 Colorado                                  (40 ± 15 mi2)             (29 ± 6 mi2)        Kernel


 Northwestern                              238 ± 99 km2             115 ± 50 km2                        Squires and
                         47        4                          2                         95% MCP
 Montana                                   (92 ± 1 mi2)             (44 ± 19 mi2)                      Laurion 2000

 North-central                             69 ± 28 km2               39 ± 2 km2
                         49         5                         2                        100% MCP       Koehler 1990a
 Washington                                (27 ± 11 mi2)             (15 ± 1 mi2)

home ranges corresponding with high hare densities (15 hares/ha [6 hares/ac]) averaged 13 km2 (5 mi2) in size,
while 7 home ranges at lowest hare densities (<1 hare/ha [<0.4 hares/ac]) averaged 39 km2 (15 mi2) in size. In the
Northwest Territories, Poole (1994) reported average home range size of about 17 km2 (7 mi2) for 23 male and
female lynx in a year of peak hare abundance, increasing to 44 km2 (17 mi2) for 2 males and 62 km2 (24 mi2) for 2
females in the second year of the snowshoe hare decline.



Description of lynx habitat


Lynx habitat characteristics. Lynx typically inhabit gentle, rolling topography (Maletzke et al. 2008, Squires et al.
   2013). Across its range, dense horizontal cover, persistent snow, and moderate to high snowshoe hare densi­
   ties (>0.5 hares/ha [0.2 hares/ac]) are common attributes of lynx habitat. The elevation at which lynx habitat
   occurs depends on local moisture patterns and temperatures, and varies across the range of the species.
   Spruce-fir forests are the primary vegetation type that characterizes lynx habitat in the contiguous United
   States (Koehler 1990a, Apps 2000, McKelvey et al. 2000b, Koehler et al. 2008, Moen et al. 2008, Vashon et al.
   2008a, Squires et al. 2010).


   The following describes general characteristics of boreal forest vegetation, snow conditions, and snowshoe
    hare prey base that constitute lynx habitat. More detailed information is provided for each geographic area in
   chapter 3.

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     Boreal forest vegetation. In the northeastern Unit­
     ed States, most lynx occurrences are within the
     Mixed Forest-Coniferous Forest-Tundra vegeta­
     tion type, at elevations of 250-500 m (820-2,460
     ft; McKelvey et al. 2000b). Lynx have been docu­
     mented to use both coniferous and mixed-
     coniferous/deciduous vegetation types dominated
     by white, black, and red spruce, balsam fir, pine,
     northern white cedar, eastern hemlock, sugar ma­
     ple, aspen, and paper birch (Plate 2.11; Hoving et
     al. 2004, Fuller et al. 2007, Vashon et al. 2008a).
     Mature deciduous stands and forest openings are
     avoided by lynx at all spatial scales.


     In the Great Lakes Geographic Area, most lynx
     occurrences (88%) are within the Mixed Decidu-
     ous/Conifer Forest (McKelvey et al. 2000b). Conif­
     erous and mixed-coniferous/deciduous vegetation
     types dominated by pine, balsam fir, black and
     white spruce, northern white cedar, tamarack, as­
     pen, paper birch, conifer bogs and shrub swamps
     provide lynx habitat in this geographic area (Plate
     2.12; Burdett 2008, Moen et al. 2008, McCann and
     Moen 2011).                                            Plate 2.11. Lynx habitat in the northeastern United States is
                                                            dominated by white, black, and red spruce, white cedar, sugar
     In the western United States, most lynx occur­         maple, and aspen.
     rences (83%) are associated with Rocky Moun­
     tain Conifer Forest, and most (77%) fall within
     the 1,500-2,000 m (4,920-6,560 ft) elevation
     zone (McKelvey et al. 2000b), except in Colora­
     do where elevations are higher. Engelmann
     spruce, subalpine fir and lodgepole pine forest
     cover types occurring on cold, moist potential
     vegetation types provide habitat for lynx (Plate
     2.13; Aubry et al. 2000). Dry forest cover types
     (e.g., ponderosa pine, dry Douglas-fir) do not
     provide lynx habitat (Koehler et al. 2008, Maletz-
     ke et al. 2008, Squires et al. 2010).


     Snow conditions. Across the northern boreal
     forests of Canada, snow conditions are very cold
     and dry. Snow depths are relatively uniform and
     only moderately deep, with total annual snowfall
     of 100-127 cm (39-50 in; Kelsall et al. 1977).
     In contrast, in the southern portion of lynx
                                                           Plate 2.12. Lynx habitat in the Great Lakes area is dominated
     range, snow depths are generally deeper, with
                                                           by balsam fir and white spruce.
     deepest snows in the mountains of southern Col­

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   orado. Snow in southern lynx habitats may
   be subjected to more freezing and thawing
   than in the northern portion of lynx range
   (Buskirk et al. 2000b), although this varies
   with elevation, aspect, and local weather con­
   ditions. It has been suggested that crusting or
   compaction of snow may reduce the compet­
   itive advantage that lynx have in soft snow
   because of their long legs and low foot load­
   ings (Buskirk et al. 2000a).


   Snowshoe hare prey base. A landscape densi­
   ty of >0.5 hares/ha (0.2 hares/ac) has been
   suggested to be necessary to sustain lynx
   within their home ranges (Mowat et al. 2000,
   Ruggiero et al. 2000b). A density of <0.3
   hares/ha (0.12 hares/ac) correlates with ob­
   servations of adult lynx emigrating from their
                                                     Plate 2.13. Lynx habitat in the western United States is dominated
   home ranges in Canada and is thought to be
                                                     by Engelmann spruce, subalpine fir, and lodgepole pine.
   too low to support lynx survival (Mowat et
   al. 2000).


   Steury and Murray (2004) indicated that a
   density of >1.5 hares/ ha (0.6 hares/ac)
   would be necessary to enable a reintro­
   duced lynx population to persist. However,
   snowshoe hare densities across the south­
   ern range are consistently below this densi­
   ty (Keith 1990, Hodges 2000b, Murray
   2000). Murray et al. (2008) acknowledged
   that this may be an overly conservative
   estimate for a threshold density, given dif­
   ferences in population dynamics between
   northern and southern populations of
   hares and lynx.
                                                                               Northern Rockies Lynx Project, Rocky Mountain
                                                                                       Research Station, USDA Forest Service.
    Lynx occurrence in northern Maine is
   strongly associated with landscape-scale        Plate 2.14. In the western United States, mature multi-story forests
   hare densities of >0.74 hares/ha (0.39          with dense horizontal cover and lower live limbs at the snow surface
                                                   provide good lynx foraging habitat during winter.
   hares/ac; Simons 2009, Simons-Legaard et
   al. 2013). Stands that had snowshoe hare densities of >1.5 hares/ha (0.6 hares/ac) supported female lynx ac­
   companied by kittens and a 78% kitten survival rate (Vashon et al. 2008a). Lynx did not occupy areas where
   landscape-scale hare densities were <0.5 hares/ha (0.2 hares/ac; Simons-Legaard et al. 2013).


Seasonal variation in lynx habitat use. In the western United States in winter, lynx selected for mature multi­
   story stands dominated by Engelmann spruce and subalpine fir (Plate 2.14; Koehler et al. 2008, Squires et al.
   2010). These stands consisted primarily of large diameter trees where limbs reached the snow at ground level

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     and contributed to dense horizontal cover (Squires
     et al. 2010). In Montana, the proportion of oversto­
     ry size classes of trees in forests used by lynx in
     winter were 5% saplings (2.5-8 cm [1-3 in] dbh),
     19% pole (8-18 cm [3-7 in] dbh), 42% mature (18­
     28 cm [7-11 in] dbh), and 29% large (>28 cm [>ll
     in] dbh). Regenerating stands composed of small
     diameter saplings <10 cm (<4 in) dbh in dry forest
     types, recent clear-cuts, and forest openings across
     all spatial scales were generally avoided during win­
     ter (Koehler et al. 2008, Maletzke et al. 2008,
     Squires et al. 20l0). Lynx remained near the forest
     edge when crossing forest openings, and the aver­
     age crossing distance was ll7 m (384 ft) with a
     range of 40-379 m (131 -1,243 ft; Squires et al. 2010).


     In contrast to habitat use by lynx in winter, Squires
     et al. (2010) found forest stands in Montana with
     mature and large diameter trees were used less
     often during summer. Lynx broadened their selec­
     tion to include younger regenerating stands com­
     posed of Engelmann spruce and subalpine fir with
     abundant small diameter and pole sized trees (8-18
     cm [3-7 in] dbh), abundant total shrubs, and high
     horizontal cover (Squires et al. 2010). The propor­
     tion of overstory size classes of trees in forests
     used by lynx in summer were 66% pole (8-18 cm
     [3-7 in] dbh), 21% mature (18-28 cm [7-11 in]
     dbh), and 6% large (>28 cm [>11 in] dbh). Lynx gener­
     ally avoided forest types with high proportions of
     Douglas-fir, grass in the understory, or snags. Ele­
     vations used by lynx were 136±24 m [446±79 ft]
     higher in summer than during the winter but still
     occurred in the montane zone between the alpine
     zone and the dry forests of the lower montane
     zone (Squires et al. 20l0).


Foraging habitat. In the contiguous United States,
   lynx focus their foraging in conifer and conifer­
     hardwood habitats that support their primary prey
     of snowshoe hares. Winter habitat may be more
     limiting for lynx (Squires et al. 2010). Dense sap­
     lings or mature multi-layered stands are the condi­
                                                             Plate 2.15. Natural disturbance processes, including wild­
     tions that maximize availability of food and cover
                                                             fire, wind events, and insect outbreaks, create early seral for­
     for snowshoe hares at varying snow depths               est structure that can develop into the dense structure used
     throughout the winter.                                  by snowshoe hares.


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Natural disturbance processes that create
early successional stages exploited by
snowshoe hares include fire, insect infesta­
tions, wind throw, and disease outbreaks
(Plate 2.15; Kilgore and Heinselman 1990,
Veblen et al. 1998, Agee 2000). Both tim­
ber harvest and natural disturbance pro­
cesses provide foraging habitat for lynx
when the resulting stem densities and stand
structure meet the habitat needs of snow­
shoe hare (Plate 2.16; Keith and Surrendi
1971; Fox 1978; Conroy et al. 1979; Wolff
1980; Parker et al. 1983; Litvaitis et al.
1985; Bailey et al. 1986; Monthey 1986;
Koehler 1990o, b).


Landscapes containing a mix of forest age
classes are more likely to provide lynx for­
aging habitat throughout the year (Poole et
al. 1996, Griffin and Mills 2004, Squires et
al. 2010). In winter, lynx do not appear to
hunt in openings, where lack of cover limits
habitat for snowshoe hares (Mowat et al.
2000, Maletzke et al. 2008, Squires et al.
2010). Areas with recent timber harvest
and areas recently burned can contribute
herbaceous summer foods for snowshoe
hares, and woody winter browse will devel­
op on older sites (Fox 1978). Multi-story
stands may provide a greater availability of
browse as snow depths vary throughout          Plate 2.16. Regrowth following stand-replacing wildfires can develop
the winter.                                    dense horizontal cover that supports high densities of snowshoe
                                               hares.
In the eastern United States, lynx habitat
selection at the home range scale includes extensive areas of regenerating spruce-fir stands 15-35 years after
clearcut or other even-aged harvest, with >50-60% canopy closure and intermediate (7,000-11,000 stems/ha
[2,834-4,453 stems/ac]) to high (up 14,000 stems/ha [5,668 stems/ac]) stem density (Fuller et al. 2007, Vashon
et al. 2008b, Scott 2009, Simons 2009). The highest hare densities were found where stem densities exceeded
14,000 stems/ha (5,668 stems/ac), but lynx selected stands with intermediate stem density and intermediate to
high hare densities for hunting (Fuller et al. 2007). Simons-Legaard et al. (2013) found the probability of lynx
occurrence exceeded 90% when a density of >0.74 snowshoe hares/ha (0.39 hares/ac) and >10% mature coni­
fer forest were present.


In Minnesota, Burdett (2008) reported that lynx selected regenerating forest, dominated by conifer with exten­
sive forest edge; lynx beds (resting and hunting) and kill sites were associated with regenerating and mixed for­
est. McCann and Moen (2011) found snowshoe hare densities were highest in regenerating forests.


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     In the western United States, development of a high density >11,250/ha (>4,500/ac) of young conifer stems
     and branches protruding above the snow was found to provide foraging habitat for lynx within about 10-40
     years following disturbance, depending on site productivity, forest type and intensity of disturbance (Sullivan
     and Sullivan 1988, Koehler 1990a). This habitat is temporary, as the tree stems and branches eventually
     grow out of reach of snowshoe hares and shade out understory saplings and shrubs. Mature multi-story co­
     nifer forests with low limbs and a substantial understory of young trees and shrubs provide stable lynx for­
     aging habitat (Murray et al. 1994, Koehler et al. 2008, Squires et al. 2010, Ivan 2011 a). In north-central
     Washington, high snowshoe hare densities (>1.0 hares/ha [0.4 hares/ac]) were associated with sapling (<I0
     cm [<4 in] dbh) densities of 2,784±28I stems/ha (I,I27±II4 stems/ac) and medium-sized (10-28 cm [4-1 1
     in] dbh) tree densities of 7I2±8O stems/ha (288±32 stems/ac; Walker 2005).


Lynx denning habitat and den site characteristics. Natal and maternal den sites are used until kittens
     reach about 6-8 weeks of age (Slough 1999, Moen et al. 2008). For denning habitat to be functional, it must
     be in or adjacent to foraging habitat (Plate 2.I7; Moen et al. 2008). Maternal dens are generally located close
     to natal dens (median distance of IO7 m [351 ft]) and are similar in forest structure characteristics (Slough
      I999, Squires et al. 2008). Kittens are left alone at den sites while the female lynx hunts (Slough I999, Moen
     et al. 2008, Olson et al. 20II). Coarse woody debris provides kittens with protection from extreme tem­
     peratures, precipitation, or predators (Boutros et al. 2007, Moen et al. 2008).




         Plate 2.17. Lynx denning habitat is structurally complex, typically located near foraging habi­
         tat and containing a high volume of large down logs.


     The common components of natal and maternal den sites appear to be large woody debris (Plate 2.I8;
     down logs or root wads) and dense horizontal cover (Koehler I990a, Mowat et al. 2000, Squires and Lauri-
     on 2000, Moen et al. 2008, Organ et al. 2008, Squires et al. 2008). Dens have occasionally been located un­
     der ledges in boulder fields (individual boulders >I m [>3.3 ft] diameter), under live vegetation such as alder

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            Plate 2.18. The majority of lynx dens in the contiguous United States are associated with
            large, down logs in mature conifer forests.

   (Alnus spp.) and Pacific yew (Taxus brevifolia), or in slash piles (Moen et al. 2008, Squires et al. 2008). Den
   sites typically are situated within older regenerating stands (>20 years since disturbance) or in mature coni­
   fer or dense regenerating mixed-conifer-deciduous (typically spruce/fir or spruce/birch) forests (Koehler
    1990a, Slough 1999, Moen et al. 2008, Organ et al. 2008, Squires et al. 2008). Stand structure appears to be
   more important than forest cover type (Mowat et al. 2000). The availability of den sites does not appear to
   be limiting (Gilbert and Pierce 2005, Moen et al. 2008, Organ et al. 2008, Squires et al. 2008).


   In Maine, lynx dens were primarily located in stands of sapling-sized trees dominated by conifers, where
   blown-down trees provided cover and the canopy opening promoted understory growth and dense hori­
   zontal cover (Organ et al. 2008). In Minnesota, Moen et al. (2008) reported that sites selected by female
   lynx for denning had lower stem densities than surrounding areas, with >80% of tree stems being coniferous
   species including white or black spruce, balsam fir and northern white cedar, The amount of regenerating
   forest increased in areas surrounding these dens at a distance of 100-500 m (328-1,640 ft; Moen et al.
   2008). In Montana and Colorado, lynx primarily denned in mature Engelmann spruce and subalpine fir stands
   in concave drainages or basins with dense horizontal cover and abundant coarse woody debris (Shenk 2008,
   Squires et al. 2010).


Lynx population dynamics

Reproduction. Breeding occurs during March and April in the northern part of the range of lynx (Quinn and
   Parker 1987). Male lynx may be incapable of breeding during their first year (McCord and Cardoza 1982).
   Males are not known to help rear young (Eisenberg 1986).


   In the Yukon near Whitehorse, the timing of kitten births differed somewhat by age class of female lynx.

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     Adult females delivered kittens on May 23±6 days, while yearlings gave birth from 1-3 weeks later on June
      17th ± 7 days (Slough 1999). Kittens were born in May to June in south-central Yukon (Slough and Mowat
      1996). Kittens were born in early May in Minnesota (Moen et al. 2008), and from 26 April to 23 May in
     Montana (Olson et al. 2011). In Maine, I female that may have lost her first litter appeared to have had a
     second litter in August (Vashon et al. 2012).


     In Montana, female lynx stayed in natal dens on average for 2I±I7 days, and subsequently used an average of
     3±2 maternal dens in a given year (Olson et al. 2OII). Nine female lynx exhibited roughly equal levels of ac­
     tivity from dawn to dusk when they had newborn to 2-month-old kittens. Females caring for kittens were
     more active during the day compared to pre- or post-denning periods, and they travelled shorter daily dis­
     tances than before their kittens were born (Olson et al. 20II).


Kitten production and survival. Litter size of adult females averages 4-5 kittens during periods of hare
     abundance in the northern boreal forest (Mowat et al. I996). Based on snow-tracking in the Yukon,
     O’Donoghue et al. (2001) found evidence of family groups with 1-6 kittens. In Canada during the low phase
     of the hare cycle, few if any live kittens are born, and few yearling females conceive (Brand and Keith I979,
     Poole I994, Slough and Mowat I996). However, some lynx recruitment may still occur when hares are
     scarce and this may be important in maintaining the lynx population through the cyclic low (Mowat et al.
     2000).


     In Maine, during years of high hare populations (I999-2005), 89% of radio-collared females of breeding age
     had kittens, and average litter size was 2.74 kittens (Plate 2.I9; Vashon et al. 20I2). During years of low hare
     populations (2006-20I0), 30% of breeding age females had kittens with litter size averaging 2.25 kittens
     (Vashon et al. 20I2). During both time periods (I999-20I0), 78% of kittens were with their mother the fol­
     lowing January or February after birth (Vashon et al. 20I2). This high productivity and survival rate is be-




        Plate 2.19. Lynx natal dens are typically located under large logs that provide protection for kit­
        tens. Litter size is generally 2-3 kittens in the contiguous United States, but can be as many as 5.

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   lieved to be indicative of good habitat quality and prey abundance in the study area (Vashon et al. 2008a).


   In Minnesota, 5 dens were monitored from 2004-2006. Four of 5 females had litters in consecutive years;
   the 9 litters ranged from 2-5 kittens (average 3.22±0.97; Moen et al. 2008). One radio-collared female bred
   and had a litter at 2 years of age (Moen et al. 2008).


   In Wyoming, 1 female produced 4 kittens in 1998 and 2 kittens in 1999 (Squires and Laurion 2000). In Mon­
   tana, Squires and Laurion (2000) reported that 1 female produced 2 kittens in 1998, and in 1999, 2 of 3 fe­
   males produced litters of 2 kittens each. From 1999-2006, 57 dens of 19 female lynx were located in the
   Seeley Lake, Garnet Range, and Purcell Mountains in western Montana (Squires et al. 2008); litter size data
   from this study are not yet available.


   In Colorado, the number of dens that were located peaked in 2005 (n=17 dens while monitoring 42 fe­
   males), and subsequently decreased to 4 dens in 2006. No dens were located in 2007 or 2008 while moni­
   toring 34 and 28 females, respectively (Shenk 2008). The average number of kittens per litter was 2.78 and
   the sex ratio of males to females was 1:1.14 (Shenk 2008).


   In north-central Washington, 2 radio-collared females had litters of 3 and 4 kittens in 1986, and each had at
   least 1 kitten in 1987 (Koehler 1990a). Of these litters, only 1 kitten survived to its first winter. However,
   during 2001-2004, snow tracking showed females to be accompanied by 1-3 kittens in their first winter, but
   dispersal and survival rates were unknown (von Kienast 2003, Maletzke 2004, Maletzke et al. 2008). Koehler
   (1990a) suggested that the relatively low number of kittens produced in north-central Washington was
   comparable to northern populations during periods of low snowshoe hare abundance.


Mortality. The most commonly reported causes of mortality are starvation, especially of kittens (Quinn and
   Parker 1987, Koehler 1990a, Vashon et al. 2012), and human-caused mortality (Ward and Krebs 1985, Bai­
   ley et al. 1986, Moen 2009). Longevity records indicate lynx live up to 16 years in the wild (Kolbe and
   Squires 2006). Life spans could vary between regions due to different sources and rates of mortality.


   In Maine, 26% (17 of 65) of the mortalities of radio-collared lynx were from starvation, even during times
   when hare populations were high (Vashon et al. 2012). Other sources of mortality included predation and
   suspected predation (42%, 27 of 65), legal and illegal harvest both in Maine and Canada (15%, 10 of 65), ve­
   hicles (3%, 2 of 65), and disease (2%, 1 of 65; Vashon et al. 2012).


   In Minnesota, half of 14 animals radiocollared in the 1970s were shot or trapped, and all recorded mortali­
   ties were associated with human causes (Mech 1980). Of lynx that were radiocollared from 2003-2008,
   Moen (2009) reported that 75% of the mortalities were associated with humans.


   In the reintroduced population in Colorado, the primary sources of known mortality were shooting (14
   known and 5 probable of 102 mortalities), vehicle collisions (13 of 102), and starvation (10 of 102; Devineau
   et al. 2010). Other confirmed causes were predation (3 known and 3 probable of 102), disease (7 or 102),
   illness (2 of 102), and other trauma (8 of 102). Plague was diagnosed as the cause of the 7 lynx mortalities
   attributed to disease, which was apparently contracted after release in Colorado (Wild et al. 2006). The
   cause of mortality did not appear to differ between males and females (Devineau et al. 2010).


   In cyclic lynx populations of the northern boreal forest, most natural lynx deaths are attributed to starvation
   during years of low hare abundance (Poole 1994, Slough and Mowat 1996). Hunger-related stress is also

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     thought to induce dispersal, which may increase the
     exposure of lynx to other forms of mortality such as
     trapping and highway collisions (Brand and Keith
      1979, Carbyn and Patriquin 1983, Ward and Krebs
      1985, Bailey et al. 1986).


     Predation on lynx by mountain lion, coyote, wolver­
     ine, gray wolf, fisher, and other lynx has been con­
     firmed (Plate 2.20; Berrie 1974, Koehler et al. 1979,
     Poole 1994, Slough and Mowat 1996, O'Donoghue et
     al. 1997, Apps 2000, Squires and Laurion 2000,
     O’Donoghue et al. 2001, Vashon et al. 2012). In
     Maine, 14 of 18 lynx that died of predation were
     killed by fishers, which were suspected at 4 additional
     predation events (Vashon et al. 2012). Squires and
     Laurion (2000) reported 2 of 6 mortalities of radio­
     collared lynx in Montana were due to mountain lion
     predation. In Colorado, 3 of 102 lynx mortalities
     were confirmed as predation (Devineau et al. 2010).


Population cycles. Based on the Hudson's Bay Compa­
     ny fur trading records, Elton and Nicholson (1942)
     documented cyclic 8-11 year oscillations of northern
     lynx populations, corresponding to similar fluctuations
     in snowshoe hare abundance. Since then, many stud­
     ies in northern boreal forests have provided further
     evidence that lynx populations there are tightly linked
     to the cyclic abundance of snowshoe hares, with the
     2 species exhibiting largely synchronous 8-11 year
     cycles across Canada and Alaska (Keith et al. 1977,
     Sinclair et al. 1993, Poole 1994, Mowat et al. 2000,
     Murray et al. 2008). Stenseth et al. (1999) suggested
     that lynx population dynamics are synchronized by
     climatic patterns typical of the Pacific, Continental,
     and Atlantic zones that are affected by the North At­
     lantic Oscillation. Stenseth et al. (2004) used a model
     to test the effect of climate forcing as a synchronizer
     of regional density fluctuations, and suggested that
     climate forcing could result in synchrony within re­
     gions and asynchrony between regions.


     Lynx typically exhibit a 1-2 year delay in peak abun­
                                                               Plate 2.20. Cougars have been documented as predators
     dance following a peak in hare abundance (Elton and       of lynx in the western United States, while fishers have been
     Nicholson 1942, Keith 1963, O’Donoghue et al.             documented killing lynx in the northeast.
     1997) . During a cyclic decline in hare numbers, lynx
     demonstrate lower survival than during any other
     phase in the cycle (O’Donoghue et al. 1997). In Alberta, Keith et al. (1977) found that lynx responded to the

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    increase in hare numbers with approximately 4-fold increases in their population sizes, followed by a 3-4-fold
    decrease during the decline phase of the cycle. In the Northwest Territories, Poole (1994) documented a 10­
   fold reduction in lynx density during the decline of hare populations. In south-central Yukon, Slough and Mowat
    (1996) found that lynx numbers fluctuated 10-17-fold over the cycle.


    Lynx density, home range size, dispersal patterns, reproductive parameters, and survival rates are strongly cor­
    related to snowshoe hare abundance (Nellis et al. 1972, Brand and Keith 1979, Ward and Krebs 1985, Poole
    1994). When hares reach their peak abundance in the cycle, the lynx population exhibits high productivity and
    recruitment, low mortality, and individuals use smaller home ranges. When hare populations decline, lynx ex­
    hibit lower productivity and higher mortality, and demonstrate increased movements and home-range sizes
    (Ward and Krebs 1985, O’Donoghue et al. 1997).


    Evidence of lynx and snowshoe hare cyclicity in their southern distribution has been mixed, but population cy­
    cles and synchrony in both species appear to diminish with decreasing latitude (Keith 1963, Smith 1983, Keith
    1990, Ranta et al. 1997, Hodges 2000b, Wirsing et al. 2002, Hodges et al. 2009, Scott 2009). Koehler (1990b)
   and Strohm and Tyson (2009) suggested that the natural patchiness of habitat in the southern portion of the
    range may contribute to a dampening of cyclic population dynamics of lynx and snowshoe hares.


    In general, hares occur at lower densities in their southern range than in the north (Koehler and Aubry 1994).
    Peak densities reported in the north are 4-6 hares/ha (1.62-2.43 hares/ac; reported in Hodges 2000a). Hare
    densities in Maine range from 1.0-2.4/ha (0.6-0.97/ac; Robinson 2006, Fuller et al. 2007, Homyack et al. 2007,
   Vashon et al. 2008a, Scott 2009); Minnesota hare densities range from 0.3-2.0/ha (McCann 2006); and densities
    in the western United States range from <1.0-4.85/ha (<0.4-2.02/ac; Koehler 1990b, Hodges 2000b, Lewis et
    al. 2011, Berg and Gese 2012).


Genetic variation across the range of lynx

Periodically, influxes of dispersing lynx have occurred in the northern United States during lows in the snowshoe
hare cycle in Canada (McKelvey et al. 2000b). Schwartz et al. (2002) used microsatellite DNA markers to estimate
gene flow from lynx samples collected across the lynx's geographic range. The analysis revealed a high degree of
gene flow despite separation by distances greater than 3,100 km (1,925 mi). This supported the hypothesis that im­
migrating lynx have been able to successfully colonize southern areas, and highlighted the need for management
actions to maintain connectivity with the core of the lynx's geographic range in Canada.


Row et al. (2012) conducted a similar analysis of microsatellite DNA markers from lynx from Alaska to Newfound­
land and came to a similar conclusion. They found low levels of population genetic structure in mainland North
American lynx populations (Newfoundland populations were unique) suggesting high levels of dispersal. In contrast,
Rueness et al. (2003) found significant genetic differentiation between the British Columbia and Alaska-Yukon-
Northwest Territory regions and eastern Ontario-Quebec populations (possibly because different microsatellite
loci were used). Despite these differences, Row et al. (2012) concluded that all these studies support the concept
that the Rocky Mountains do not provide a strong barrier to gene flow for lynx although there may be subtle re­
strictions in gene flow between eastern and western North American populations.


Schwartz et al. (2003) compared genetic variation across the range of lynx. Using their operational definition (the
outer 165 km [103 mi] band of the species’ geographic range, based on home range size), they found less genetic
variation in the periphery than in the center of the range.


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Hybridization with bobcats

Canada lynx-bobcat hybridization was first docu­
mented in 3 of 20 lynx in northeastern Minnesota
through genetic analysis of hair and scat samples
(Schwartz et al. 2004). Lynx-bobcat hybrids were
also detected in Maine (Plate 2.21; n=2) and New
Brunswick (n=2) from samples collected from
1986 to 2003 (Homyack et al. 2008). All hybrids
were the offspring of male bobcats and female lynx
(Schwartz et al. 2004). Hybrids were capable of
reproducing successfully based on observations of
a hybrid female lynx with 3 kittens, and placental
scars in the reproductive tract of another hybrid
(Homyack et al. 2008).


Hybrids had ear tufts similar in length to lynx at
>2.5 cm (>1 in) and their tails were black with a
few white hairs interspersed. Hind feet of 2 hy­
brids were 17.5 and 20.0 cm (7 and 8 in) long, re­
spectively (Homyack et al. 2008) and intermediate
between those of a bobcat at 17.0 cm (6.7 in;
Lariviere and Walton 1997) and a lynx at 20.3 cm
(8 in; Tumlison 1987). The pelage of the hybrids
tended to be reddish brown with a few spots and
generally more like bobcats in appearance
(Homyack et al. 2008).


To date, hybridization has been documented only
in Minnesota, Maine, and New Brunswick where
low topographic relief and variability in winter se­
verity may allow more interaction between the 2
species during the breeding season. There was no
evidence of hybridization in the 120 lynx studied in
Montana (J. Squires personal communication
2012). Further research is needed to identify areas Plate 2.21. Lynx and bobcat hybridization has been documented
where lynx-bobcat hybridization is occurring, to    in Minnesota, Maine, and New Brunswick. Note that on this lynx­
                                                    bobcat hybrid, the tail is not completely black-tipped, the front
determine the factors in lynx habitat that favor
                                                    foot is smaller than that of a lynx, and the fur is more spotted as
bobcats, and to assess whether hybridization may seen on the leg.
hinder lynx recovery (Schwartz et al. 2004).


Interspecific relationships with other carnivores

Predation on lynx. Mountain lion predation was a source of 3% of the confirmed mortality observed among
      lynx reintroduced in Colorado (Devineau et al. 2010) and also was observed in lynx populations in Mon­
      tana (J. Squires, personal communication 2012) and Washington (Koehler 1990a). As noted above, docu­
      mented predators of lynx include mountain lion, coyote, wolverine, gray wolf, fisher and other lynx. The

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    magnitude of predation on lynx and the extent to which it may influence lynx population structure and dy­
    namics are unknown.


Competition - dietary overlap. Buskirk et al. (2000a) defined 2 possible competition impacts to lynx as ex­
   ploitation (competition for food) and interference (avoidance). Exploitation competition could contribute to
   lynx starvation and reduced recruitment. Of several predators examined (raptors, coyote, gray wolf, moun­
   tain lion, bobcat, and wolverine), coyotes were deemed the most likely to pose local or regionally important
   exploitation impacts to lynx. Coyotes, bobcats, and mountain lions are possibly capable of imparting interfer­
   ence competition effects on lynx. Interference would be most probable during summer, and during winter in
   areas lacking deep, unconsolidated snow.


   Parker et al. (1983) discussed anecdotal evidence of competition between bobcats and lynx. On Cape Bre­
   ton Island, Nova Scotia, lynx were common over much of the island prior to bobcat colonization. Following
   colonization by bobcats, lynx densities declined and their presence on the island became restricted to the
   highlands where bobcats did not occur.


   Robinson (2006) documented that the absence of bobcats was a significant factor along with hare density in
   explaining the distribution of lynx occurrence in Maine. In townships where both species were present, lynx
   used suboptimal habitats and bobcats were found in the areas having the highest hare densities. Lynx have a
   lower foot loading and longer limb length than bobcats (Buskirk 2000, Hoving et al. 2003) and likely have a
   competitive advantage in deep, fluffy snow conditions. Bobcats in Maine are physically stressed during harsh
   winters that have deep snow, and these conditions likely limit their northern distribution (Litvaitis et al.
    1986).




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                                Chapter 3 - LYNX GEOGRAPHIC AREAS


Five geographic areas are identified: Northeast, Great Lakes, Southern Rocky Mountains, Northern Rocky Moun­
tains, and Cascade Mountains. These geographic areas were delineated in the 2000 LCAS based on lynx occur­
rence records and the distribution of appropriate forest vegetation (e.g., spruce-fir forests).


In 2005, FWS developed a Canada Lynx Recovery Outline (U.S. Fish and Wildlife Service 2005), which provides
preliminary recovery objectives and actions for the contiguous United States DPS of lynx until a recovery plan is
completed. Based on the examination of historical and recent evidence of lynx habitat and occurrence, the re­
covery outline identified core areas, secondary areas, and peripheral areas (Fig. 3.1). Core areas are the areas
with the strongest long-term evidence of the persistence of lynx populations supported by a sufficient quality and
quantity of habitat. The recovery outline recommends focusing lynx conservation efforts on core areas to ensure
the continued persistence of lynx in the contiguous United States. FWS hypothesized that secondary areas and
peripheral areas may contribute to lynx persistence by enabling successful dispersal and recolonization of core
areas, but their role in sustaining lynx populations remains unknown.




        Figure 3.1. Areas identified as core, secondary, and peripheral as depicted in the Canada Lynx Re­
        covery Outline across the states where the lynx is listed (U.S. Fish and Wildlife Service 2005).




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The recovery outline (U.S. Fish and Wildlife Service 2005) identified 6 core areas: Northern Maine/Northern
New Hampshire, Northeastern Minnesota, Northwestern Montana/Northeastern Idaho, Kettle/Wedge, North
Cascades, and Greater Yellowstone Area. The Southern Rockies was identified as a “provisional core” because it
contains a reintroduced population, and at that time it was too early to determine whether a self-sustaining pop­
ulation of lynx would result. In this document, the provisional core is treated the same as the core areas.


All of the core areas, secondary areas, and peripheral areas identified in the recovery outline (U.S. Fish and Wild­
life Service 2005) are encompassed within the 5 geographic areas (Fig. 3.1). As new information continues to be
developed, the delineations may be modified. For example, the Southern Rocky Mountains Geographic Area was
not subdivided into core, secondary, and peripheral areas in the recovery outline. As the pattern of occupancy by
the reintroduced population becomes clearer over time, it is possible that some further subdivision may occur.
Our intent is that LCAS geographic areas will be adjusted if needed to encompass the areas identified in the re­
covery outline or in a future recovery plan.


A crosswalk between geographic areas and the core areas is shown in Table 3.1. The table also includes an esti­
mate of the size of each core area taken from the rule designating critical habitat (Federal Register vol. 74, no.
36, pp. 8616-8702), the Southern Rockies Lynx Amendment (USDA Forest Service 2008), and the Washington
Lynx Recovery Plan (Stinson 2001).

     Table 3.1. Cross-walk between geographic areas and core areas and estimated size of core areas.

       Geographic Area                                                                 Core Area Size
                                               Core Area Name
           Name                                                                          km2 (mi2)
      Northeast                 Northern Maine/Northern New Hampshire                   24,597 km2 (9,497 mi2)

      Great Lakes               Northeastern Minnesota                                  20,888 km2 (8,065 mi2)
      Southern Rocky
                                Southern Rockies                                       27,328 km2 (10,551 mi2)
      Mountains
                                Northwestern Montana/Northeastern Idaho                36,096 km2 (13,937 mi2)
      Northern Rocky                                                                    13,492 km2 (5,209 mi2)
                                Greater Yellowstone Area
      Mountains                                                                            1,167 km2 (451 mi2)
                                Kettle/Wedge
      Cascade Mountains         North Cascades                                           4,755 km2 (1,836 mi2)

The geographic areas vary in important ways that may influence lynx populations and their prey. In this chapter,
we address the population status and distribution of lynx and features of their habitat, as well as the distribution
and habitat of snowshoe hares, in each geographic area. For each area, we discuss connectivity of lynx popula­
tions and their habitat, and the potential influence of relevant human activities and developments that are occur­
ring or are likely to occur. Potential changes in habitat conditions due to climate change are also described, in
order to assess the relative capability and importance of areas within the geographic area to sustain lynx popula­
tions into the future.


Northeast Geographic Area

Geographic extent
    The Northeast Geographic Area boundary encompasses Maine, northern New Hampshire, northern Ver­
    mont, and northeastern New York. The previous delineation in 2000 also included much of New Hampshire
    and Vermont, small portions of northwestern Massachusetts, and the very northeastern corner of Pennsylva­
    nia. Based on more recent information including documented records of reproduction by lynx, these more
    southern areas are no longer included in the geographic area.

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   This geographic area falls within the Adirondack-New England Mixed Forest-Coniferous Forest-Alpine Meadow
   Province (McNab and Avers 1994). The province is composed of 5 sections, as described by McNab and Avers
   (1994). Current information indicates that lynx inhabit only the White Mountains Section.


           White Mountains Section (M2I2A): This section extends across the western one-half of
           Maine from north to south and the northeastern corners of New Hampshire and Ver­
           mont. The potential vegetation types occurring on this section include northern hard­
           woods forest, northern hardwood-spruce forest, and northeastern spruce-fir forest
           (Kuchler 1964).


   The Acadian forest ecoregion is an ecological transition zone between northern boreal forests and southern
   temperate deciduous-dominated forests (Seymour and Hunter 1992). The province is composed of subdued
   glaciated mountains and dissected plateaus of mountainous topography. Elevations range from 150-1,220 m
   (500-4,000 ft) with a few isolated peaks higher than 1,525 m (5,000 ft). Any glacially broadened valleys have
   glacial outwash deposits and contain numerous swamps and lakes.


   The climate in the area is characterized by warm summers. Winters can be cold; mean temperatures in January
   in western Maine are -17° C (+1° F; Homyack et al. 2006), but it is less cold near the ocean. Average annual
   snowfall is more than 250 cm (100 in) with a steep gradient of snowfall increasing from the coast to the interi­
   or forest in northwest Maine (Jacobson et al. 2009).


   Tree species composition and growth form are similar to the forests found to the north in Canada, but red
   spruce tends to replace white spruce. Valleys contain hardwood forests with the principal tree species being
   sugar maple, yellow birch (Betu/o alleghaniensis), and beech, with a mixture of hemlock. Low mountain slopes
   support a mixed forest of spruce, fir, maple, beech, and birch. Above the mixed-forest zone lie pure stands of
   balsam fir and red spruce. Alpine meadows exist above timberline (Bailey 1995).


Lynx population status and distribution
   Historical records of lynx exist from Maine, New Hampshire, Vermont, and New York; however, with the ex­
   ception of Maine, recent records of lynx from the Northeast are rare (McKelvey et al. 2000b, Hoving et al.
   2003, Krohn and Hoving 2010). Lynx are currently considered present in Maine, the White Mountains of New
   Hampshire, and the Green Mountains of Vermont. Modeling based on lynx occurrence data concluded that
   areas in the northeastern United States that receive <270 cm (<106 in) of snowfall or are dominated by decid­
   uous forests are unlikely to support lynx (Hoving et al. 2005).


   Anecdotal reports suggest that lynx were breeding in Maine during the 1960s and 1970s (McKelvey et al.
   2000b, Hoving et al. 2003, Vashon et al. 2012). Lynx snow tracking surveys, using a detection protocol estab­
   lished by the Maine Department of Inland Fisheries and Wildlife, were conducted in Maine from 1995-1999
   across 126 townships and from 2003-2008 across 60 townships to determine the presence of lynx on private
   forest lands. Lynx were detected in 10 townships in 1995-1999 and 35 townships in 2003-2008 (Vashon et al.
   2012). Data from these surveys were used to model lynx occurrence and habitat in northern Maine (Hoving
   2001, Simons 2009), which predicted lynx habitat to be widespread and relatively abundant throughout north­
   ern Maine. Lynx reproduction was confirmed in 1999 when a radio-collared female produced 2 kittens (Vashon
   et al. 2012). During a period of high hare populations (>2hares/ha [0.8 hares/ac]), 89% percent of available adult
   females (older than 2 years) produced litters, and litter size averaged 2.74 kittens (Vashon et al. 2012). Lynx
   are state-listed as a species of special concern in Maine.


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   Regional modeling based on vegetation and annual snowfall indicates that Acadian forest habitat in New Hamp­
   shire, Vermont, and New York is no longer contiguous with existing lynx populations in Maine, New Bruns­
  wick, and the Gaspe Peninsula of Quebec (Hoving et al. 2005). In New Hampshire, the lack of lynx captures by
  trappers or of vehicle-related mortalities since 1967, and the subsequent failure to detect lynx tracks during an
   extensive survey of the White Mountain National Forest in 1986 are considered evidence that a viable popula­
  tion of lynx no longer exists there (Litvaitis et al. 1991). However, small numbers of breeding lynx were dis­
   covered in northern New Hampshire and Vermont in 2007 and have persisted through 2011 (M. McCollough,
   U.S. Fish and Wildlife Service, personal communication 2013). Lynx are state-listed as endangered in Vermont
   and New Hampshire. The lynx is considered extirpated in New York.


   Lynx populations in Maine are contiguous with lynx populations in the Gaspe region of southern Quebec and
   northern New Brunswick, Canada. Lynx also occur on Cape Breton Island, Nova Scotia. It is thought that dis­
   persing lynx from the north may periodically supplement resident populations in the United States (Litvaitis et
   al. 1991, Hoving et al. 2003, Vashon et al. 2012).


   In Quebec, populations are trapped according to a management strategy implemented in 1995 (Ministere de
   I’Environement et de la Faune 1995). Southern Quebec is divided into Fur Management Units. Harvest limits
  vary from 1-4 lynx in most units adjacent to northern Maine and New Brunswick. The lynx population density
   is estimated to be 10 lynx/100 km2 (3.86 lynx/100 mi2) at the peak of the hare cycle, 2 lynx/100 km2 (0.77
   lynx/100 mi2) at the trough, and 4-6 lynx/100 km2 (1.5 lynx-2.3/100 mi2) on average (Ray et al. 2002). Harvest
   limits are adjusted according to hare populations. Annual harvest in the entire province of Quebec from 2004­
   2011 ranged from 1,734 to 3,155 lynx. The annual harvest in southern Quebec Fur Management Units (south
   of the St. Lawrence River and adjacent to the United States) during the same time period ranged from 339 to
   744 lynx.


   Lynx are listed as endangered by the provinces of New Brunswick and Nova Scotia; there is no harvest and no
   estimate of population density or abundance in these provinces at this time. Lynx are considered extirpated
   from the Upper St. Lawrence Valley (Alvo 1998).


Lynx habitat
   Lynx habitat within the Northeast Geographic Area is distributed in a mostly contiguous block of forest in the
   Acadian forest ecotone between boreal forest and deciduous forest, primarily associated with northern spruce
   -fir forest and northern hardwood-spruce forest communities. This habitat is similar to, and contiguous with,
   forested areas in Quebec and New Brunswick, Canada (Hoving et al. 2005).


   The current range of lynx in the Northeast is most strongly associated with areas of deep snowfall (Hoving et
   al. 2004), large (100 km2 [40 mi2]) forested landscapes, and areas with a high proportion of regenerating coni­
   fer-dominated forest that had previously been treated with herbicides to suppress hardwoods (Hoving 2001).
   The majority of current lynx populations and lynx habitat in the Northeast Geographic Area are located on
   private industrial forest lands in Maine (Harper et al. 1990, Hoving et al. 2004, Simons 2009, Federal Register
   Vol. 74 pp. 8616-8701).


   In the northeast prior to European settlement, lynx habitat was created and maintained by small-scale, fre­
   quent forest gap dynamic events and large-scale, infrequent (stand-replacing) forest disturbances (Seymour et
   al. 2002, Lorimer and White 2003). Higher elevation forests are often characterized by an even-aged wind­
  throw phenomenon known as fir-waves (Sprugel 1976). The extent of these areas is limited and little is known
  about hare densities and lynx use within them. Large, stand-replacing events (fire, wind and ice storms, insect

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outbreaks) are rare (interval of several hundred to several thousand years) and highly variable in size (Seymour
et al. 2002, Lorimer and White 2003). Spruce budworm, spruce beetle, beech bark disease, and sugar maple
defoliators have been important influences affecting forest landscape patterns (McNab and Avers 1994). The
frequency and intensity of spruce budworm outbreaks, the most likely insect to affect lynx habitat, have been
highly variable in Maine and eastern Canada in recent centuries (Blais 1983). In this geographic area, wildfire is
less significant as a natural agent of disturbance. The typical fire regime is infrequent surface fires in the
dormant season in the hardwood forests, and slightly more frequent but long-interval fires in conifer forests
(Kilgore and Heinselman 1990, Seymour et al. 2002, Lorimer and White 2003). For the past several decades,
early successional forests in northern Maine, New Brunswick, and southern Quebec have been created almost
exclusively by forest management (Lorimer and White 2003).


Large-scale, intensive forest management in Maine created the regenerating softwood-dominated habitat con­
ditions that have recently been favorable for lynx (Hoving et al. 2005). Forested habitats in New Hampshire,
Vermont, and New York are highly fragmented and are believed to lack the conifer component needed to
produce high enough snowshoe hare densities to support viable populations of lynx (Hoving et al. 2005).


In general, landscape scale and home range scale habitat selection by lynx on industrial forest lands reinforce
the importance of dense regenerating conifer forest along with a component of mature conifers (Hoving et al.
2004, Vashon et al. 2008a, Simons 2009, Simons-Legaard et al. 2013). Simons-Legaard et al. (2013) found the
probability of lynx occurrence was >90% when snowshoe hare landscape densities were >0.74 hares/ha (0.39/
ac) and there was >10% mature conifer forest. In Maine, lynx selected softwood-dominated (spruce and fir)
regenerating stands (Fuller et al. 2007; Vashon et al. 2008a, b) and adjacent older (11-21 years post-harvest)
partial-harvested stands (Fuller et al. 2007). Lynx were more likely to occur in landscapes with regenerating
forest, and less likely to occur in landscapes with recent clearcut or partial harvest (Hoving et al. 2004). Regen­
erating stands used by lynx typically developed 15-30 years after harvest (Hoving et al. 2004), and were char­
acterized by high stem density and dense horizontal cover within I m (3 ft) of the ground (Robinson 2006,
Scott 2009, Fuller and Harrison 20I0). These habitats supported high snowshoe hare densities (Homyack
2003, Fuller and Harrison 2005, Vashon et al. 2008a). At a landscape scale, lynx habitat selection did not differ
between sexes; however, at a home range scale, males tended to use more mature forest dominated by coni­
fers than females, and both male and female lynx tended to avoid mature forests that had a high deciduous
component (Vashon et al. 2008a). The mean landscape density of hares in occupied lynx areas in northern
Maine was 0.74 hares/ha (Simons-Legaard et al. 20I3).


During winter, lynx primarily selected tall (4.4-7.3 m [I4.5-24 ft]) regenerating clear-cuts and partially harvest­
ed stands that were II -2I years post-harvest (Fuller et al. 2007). Lynx avoided mature stands (>40 years old)
and short (3.4-4.3 m [II-I4 ft]) regenerating clear-cut or partial harvested stands <I0 years post-harvest
(Fuller et al. 2007). Further research of year-round habitat use yielded similar results, with lynx preferentially
using conifer-dominated sapling stands that were 3.4-7.3 m (II-24 ft) in height and supported high densities of
snowshoe hares (Vashon et al. 2008b). Lynx tended to forage in areas with intermediate to high snowshoe
hare densities (tall regenerating or older partial harvest stands), which afforded lynx with greater mobility and
where snowshoe hares were more vulnerable to predation, rather than in the densest stands (short regener­
ating stands; Fuller and Harrison 20I0).


Denning habitat was provided by blowdown, deadfalls, and root wads. In northern Maine, the majority of natal
dens (I2 of 26) occurred in conifer-dominated sapling stands, and 6 dens were found in mature or mixed multi
-story forest stands dominated by conifers (Organ et al. 2008).


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   Forest management created Maine’s current lynx habitat (Hoving et al. 2004, Scott 2009). Natural stand­
   replacing disturbances are rare and infrequent and, other than spruce budworm outbreaks, are unlikely to sig­
   nificantly affect future habitat conditions (Hoving et al. 2004). Current habitat was created by extensive soft­
   wood regeneration created by salvage harvest (clearcutting) on private land in the 1970s and 1980s; a portion
   of these units were subsequently sprayed with herbicide to reduce deciduous competition (Scott 2009). The
   resulting vegetation was dominated by balsam fir and red or black spruce (Scott 2009). Over 95% of cutting
   that occurs now in northern Maine in 2005 is partial harvesting (selective cutting, patch cuts) compared to only
   59% in 1988 due to implementation of the Maine Forest Practices Act (Scott 2009, Simons 2009, Simons-
   Legaard et al. 2013). This new cutting regime supports lower densities of snowshoe hares (Fuller 1999, Hom­
   yack 2003, Robinson 2006, Scott 2009) and is projected to result in a reduced population of lynx in Maine
   (Simons 2009).


Connectivity of lynx populations and habitat
   The current distribution of lynx in the Northeast Geographic Area (northern Maine) is continuous with large
   areas of lynx habitat in Canada (Hoving et al. 2005, Carroll 2007). Maintaining connectivity with occupied lynx
   habitats in Canada may be critical to maintaining viable populations of lynx in the northeastern United States
   (Hoving et al. 2005). International cooperation to this end will be essential to the long-term conservation of
   the species in the United States.


Snowshoe hare population distribution and habitat
   Snowshoe hares were historically resident in Maine, New Hampshire, Vermont, New York, Massachusetts, and
   Pennsylvania. Only in Maine, northern New Hampshire, and northern Vermont are snow depth and quality,
   adequate conifer-dominated forest, and densities of snowshoe hares likely to be sufficient to support lynx.


   Hare density estimates in Maine vary according to stand composition, age, and the silvicultural practices that
   created the stand. Throughout Maine, snowshoe hare densities are associated with dense regenerating stands
   (Monthey 1986, Fuller 1999, Hoving 2001, Robinson 2006, Scott 2009) with understory density being more
   important than vegetation composition (Litvaitis et al. 1985). Litvaitis et al. (1985) reported that dense soft­
   wood understories supported a greater density of hares than hardwood stands, due to their superior cover
   from predators and climatic extremes.


   Average hare densities in forest stands (during a period of high hare population) range from 0.25 hares/ha (0.1
   hare/ac) in mature softwood and conifer forests to 2.0 hares/ha (0.8 hares/ac) in conifer and mixed regenerat­
   ing forest (Scott 2009). Hare densities were highly correlated with understory density (Litvaitis et al. 1985,
   Robinson 2006, Scott 2009). At their highest, snowshoe hare densities in Maine were similar to hare densities
   in the middle phases of the cycle in the northern boreal forest (Apps 2000, Hodges 2000a, Homyack et al.
   2007, Scott 2009).


   Hare populations fluctuate and may be cyclic in Maine. From 2006-2012, hare densities declined by about 50%
   in all regenerating conifer-dominated stands (24-39 years post-clearcutting) in northern Maine (D. Harrison,
   University of Maine, unpublished data). Synchronous declines occurred in Maine and the neighboring Gaspe
   region of Quebec from 2001-2006 (Assells et al. 2007, Scott 2009). The fluctuation in hare numbers in Maine
   and the adjacent Gaspe region of southern Quebec was not synchronous with the Temiscamingue region of
   southwestern Quebec, which peaked in 2002 followed by a low in 2005 (Assels et al. 2007). Hare populations
   in the Chaudiere-Appalaches region of Quebec, west of Maine, fluctuated in a cyclic pattern with very low am­
   plitude (Godbout 1999).


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Human activities and developments in the Northeast
     Climate change is likely to affect the distribution and quality of lynx habitat in the northeastern United States
     and eastern Canada (Hoving 2001, Carroll 2007, Gonzales et al. 2007). In association with cooling during the
     Little Ice Age, spruce-fir forests proliferated in the last 500 years (Schauffler and Jacobson 2002). Warmer tem­
     peratures due to climate change could result in a contraction of the distribution of spruce-fir forests. Winter
     precipitation due to climate change is expected to increase 10-15% in Maine (Jacobson et al. 2009). However,
     the duration of snow cover as predicted under low emission scenarios could stay the same, or under high
     emission scenarios it could decrease by up to 50% (Hayhoe et al. 2007).


     Vegetation management for timber production is the dominant land use within northern Maine and influences
     the amount and distribution of lynx habitat. Following a major spruce budworm outbreak, previous timber
     management practices that emphasized clearcutting produced the abundant, dense understory that is currently
     beneficial for lynx and snowshoe hares. However, with a shift to partial harvest forest management practices,
     lynx densities in northern Maine are projected to decline (Simons 2009, Simons-Legaard et al. 2013). There are
     no comprehensive agreements with the forest industry in Maine to manage lynx, although lynx forestry man­
     agement guidelines (http://www.fws.gov/mainefieldoffice/PDFs/Canada%20lynx%20habitat%20management%
     20guidelines%20for%20Maine%209.13.07.pdf) are being used by several landowners enrolled in the Healthy
     Forest Reserve Program.


     The lynx trapping season has been closed in the Northeast Geographic Area since the lynx was listed as a
     threatened species under the Endangered Species Act. Carroll (2007) modeled lynx populations in the North­
     east and demonstrated that increased trapping pressure in Quebec could have a negative effect on protected
     lynx populations in Maine and New Brunswick. The Maine Department of Inland Fisheries and Wildlife is seek­
     ing an incidental take permit from FWS to provide coverage in case lynx are incidentally trapped during legal
     trapping of other furbearers or predators. Since 2000, 59 lynx are known to have been captured in traps set
     for other species and 6 of those were killed (Vashon et al. 2012).


     Wind power development has increased in Maine since 2008. As of 2012, 1 project operates in lynx habitat, 3
     others are in permit review, and 5-6 others are being considered. Although effects on lynx are unknown, wind
     development may fragment and reduce lynx habitat, increase road density and human activity, and create noise.
     Construction of associated transmission lines may temporarily affect habitat.



Great Lakes Geographic Area


Geographic extent
     The Great Lakes Geographic Area encompasses northeastern and north-central Minnesota, northern Wiscon­
     sin, and the Upper Peninsula of Michigan. The Great Lakes Geographic Area is located in a southern extension
     of the Canadian Shield boreal forest region described by Larsen (1980), and falls within the southern boreal-
     northern hardwood forest border (Pastor and Mladenoff 1992). A direct connection with lynx habitat in Cana­
     da is important to maintain emigration of lynx out of and immigration of lynx into this geographic area.


     The Great Lakes Geographic Area largely falls within the Laurentian Mixed Forest Province (McNab et al.
     2005). This is a highly diverse geographic area both in terms of landform and vegetation mix. Most of the prov­
     ince is characterized by low-relief hilly landscapes with glacial features such as lakes, poorly drained depres­
     sions, bogs, moraine hills, drumlins, eskers, and outwash plains. Elevations range from sea level to 730 m (2,400
     ft). Compared with lynx habitat elsewhere in the United States, the Great Lakes Geographic Area has much

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   more water in the form of lakes, rivers, ponds and wetlands interspersed through the upland forested areas.
   Rock outcrops are common.


   Forest vegetation is transitional between the boreal forests of Canada and northern Minnesota and the broad­
   leaf deciduous forests of Wisconsin and Michigan. Forested stands vary from mixtures of conifers to pure
   stands of conifer or hardwood species (Bailey 1995). Fire and windthrow are the major natural disturbance
   processes in boreal forests and northern hardwood forests, respectively.


   Climate in the area is characterized by moderately long and somewhat severe winters, with snowfall remaining
   on the ground all winter. Large lake influences produce more snow along Lake Superior. Although snow is pre­
   sent all winter, this region receives the majority of its precipitation in the summer.


Lynx population status and distribution
   The lynx population in the Great Lakes Geographic Area is an extension of the larger population of lynx in On­
   tario, Canada. Northeastern Minnesota contains the core lynx population and habitat in this geographic area.
   Outside of this portion of Minnesota, lynx appear to be occasional visitors (transients). Suitable habitat is lim­
   ited in northern Wisconsin and the Upper Peninsula of Michigan and there is no current evidence of reproduc­
   tion in either area.


   Historical evidence shows that lynx populations in the Great Lakes area, particularly Minnesota, were regularly
   supplemented by dispersing lynx from Canada (Harger 1965). Many lynx records, particularly from the 1960s
   and 1970s, are highly correlated with lynx population peaks in Canada (McKelvey et al. 2000b).


   Minnesota: The lynx population in Minnesota is geographically restricted. Most recent and historical records
   are from the northeastern part of the state, especially in the Northern Superior Uplands Ecological Section.
   Currently, a breeding population of lynx exists in northeastern Minnesota. It appears that Minnesota supports a
   resident population of lynx, and that periodic invasions from adjacent Canadian provinces occur when the
   snowshoe hare population crashes (Moen 2009). Radiotelemetry has documented lynx movements between
   Minnesota and Ontario (Moen et al. 2008, Moen et al. 2010 b).


   Reproduction and maintenance of home ranges by lynx were first documented in the early 1970s (Mech 1973,
   1980). From 2003-2008, reproduction by radiocollared lynx was documented and 10 dens were located
   (Moen et al. 2008). Few kittens born in Minnesota have been recruited into the adult population, but this is
   balanced by movement of lynx into Minnesota from Ontario. Emigration to Ontario also occurred, with 6 of
   35 lynx radiocollared in Minnesota dying in Ontario, and several others with a last-known location in Ontario
   (Moen 2009).


   In Minnesota, there is a long record of lynx harvest, with annual harvests exceeding that of any other state
   (Henderson 1978, Erb 2012). The average harvest in Minnesota from 1929-1969 of 177 lynx per year is at
   least 40 times higher than the average reported harvest or the verified records of every other state south of
   Canada except Montana (Moen 2009). Harvest data between 1930-1976 (before the cessation of legal trap­
   ping) show that lynx harvest ranged from 0-400 animals per year (Henderson 1978). Only 3 verified lynx rec­
   ords are known from the early 1990s after the closure of the legal trapping season (McKelvey et al. 2000b).
   Between 2000-2006, there were 63 verified and 161 probable reports of lynx (Minnesota Department of Nat­
   ural Resources 2006). Genetic analyses of scat and hair samples collected between 2000-2009 along lynx snow
   trails and from tissue samples confirmed the presence of 104 unique lynx genotypes (Catton and Loch 2010).


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     Over the last decade there have been 3 lynx sightings confirmed through DNA analysis in Voyageurs National
     Park (Moen et al. 2012). There were no detections of lynx in Voyageurs National Park through the National
     Lynx Survey (Route et al. 2009), or with surveys using remote cameras or snow-tracking (Moen et al. 2012).
     Snowshoe hare pellet counts in and near Voyageurs National Park indicated a snowshoe hare population too
     low to support a viable population of lynx (Moen and Windels 2009, Moen et al. 2012). Despite the low prey
     populations, 1 female lynx was observed with a kitten in 2010, but was the only probable resident lynx con­
     firmed near Voyageurs National Park from 2001 to 2010. There were no lynx detected during snow tracking
     surveys west of Highway 53 in northern Minnesota in 2006 (Moen et al. 2006).


     Snow depth and quality of snowpack are thought to separate the distributions of lynx and bobcat within the
     Great Lakes Geographic Area. Hybridization between lynx and bobcat has been documented in Minnesota
     (Schwartz et al. 2002).


     Wisconsin: There are few verified reports of lynx in Wisconsin. McKelvey et al. (2000b) found 29 reports of
     lynx between 1870-1992, 16 of which were associated with unprecedented cyclic highs that occurred through­
     out Canada in the early 1960s and 1970s. Between 2000-2003, no lynx were detected during extensive snow
     tracking surveys in potential lynx habitat in northern Wisconsin (S. Hassett, personal communication 2003).
     There are no records of lynx breeding in Wisconsin. Lynx found in Wisconsin are likely dispersers and not
     resident animals (U.S. Fish and Wildlife Service 2005).


     Michigan (Upper Peninsula): McKelvey et al. (2000b) located 38 verified records of lynx from the mid-1800s to
      1983. Beyer et al. (2001) documented 39 verified records of lynx between 1940 and 1997; 27 of these records
     correlate with an extreme cyclic high in Canada in the early 1960s. There is no evidence of lynx breeding in
     Michigan. Lake Superior nearly isolates the Upper Peninsula of Michigan from source populations in Canada,
     limiting the potential to successfully establish a population via immigration (U.S. Fish and Wildlife Service 2005).
     Beyer et al. (2001) concluded a resident lynx population does not occur in the Upper Peninsula and that dis­
     persers occur only occasionally.


     Ontario: Trapping in Ontario, adjacent to the Great Lakes Geographic Area, occurs on registered traplines.
     The open season for lynx is from 25 October until the last day of February.


Lynx habitat
     Lynx habitat in the Great Lakes Geographic Area is embedded within the ecotone between boreal and mixed
     deciduous forests. This landscape contains a mix of upland conifer and hardwood interspersed with lowland
     conifer, shrub swamps and bogs. Conifer species include white and black spruce; balsam fir; northern white
     cedar; jack, white, and red pine; hemlock, and tamarack. Deciduous species include aspen, paper birch, and
     mixtures of northern hardwoods and lowland hardwoods. Of the non-forested types, shrub swamps and bogs
     are generally considered lynx habitat. Shrub swamps consist mainly of alder or willow. Bogs typically have com­
     ponents of black spruce, tamarack or other lowland conifers. Northeastern Minnesota contains by far the most
     suitable lynx habitat in the geographic area. Northern Wisconsin and the upper peninsula of Michigan contain
     only small patches of habitat and large areas that are not lynx habitat.


     McKelvey et al. (2000b) found that most historical occurrences (88%) of lynx in the Great Lakes Geographic
     Area fell within the Mixed Deciduous/Conifer Forest province. Most (66%) of the lynx locations from a teleme­
     try study in Minnesota were in areas classified as either lowland conifer, upland conifer, or regenerating forest
     (Moen et al. 2008). A conifer component in forest stands appears to be a critical factor for suitability of lynx
     habitat in this geographic area. Large stands of pure northern hardwoods are not considered suitable.

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Fire, wind, and insects are the primary natural disturbance factors that maintain forest composition and succes-
sional patterns in this landscape. Three distinct fires regimes were found by Kilgore and Heinselman (1990) in
pre-settlement forests:
         •   Jack pine and spruce-fir forest sustained very large (>101,171 ha [>250,000 ac]) stand-replacement
             crown fires or severe surface fires at 50-250 year intervals;
         •   Red pine and white pine forests have combinations of moderate intensity surface fires at 20-40 year
             intervals, with more intense crown fires at 150-300 year intervals; and
         •   Mixed aspen-birch-conifer forests have high-intensity surface or crown fires at 70-110 year intervals.


Larger blowdowns due to wind shear and tornadoes occur infrequently, but often cause extensive localized
disturbance. Smaller, localized wind events created concentrations of downed logs, providing suitable denning
habitat for lynx. Insect infestations such as those caused by spruce budworm contribute to large areas of tree
mortality, and may create conditions conducive to subsequent large fires. These disturbance events create di­
verse, early-successional forests that provide habitats preferred by snowshoe hare, and thus important foraging
areas for lynx.


Natural disturbances and timber harvest are important factors in maintaining the conifer understory compo­
nent throughout much of this area.


Minnesota: The best lynx habitat is found in the Superior National Forest (including the Boundary Waters Ca­
noe Area Wilderness) in Minnesota and Quetico Provincial Park in Ontario. Recent research in northeastern
Minnesota indicated lynx selected for regenerating forest with a dominant conifer component and high densi­
ties of forest edges (Burdett 2008). Hare densities were highest in regenerating forests (McCann 2006,
McCann and Moen 2011). Resting beds, kill sites, and hunting beds were found most often in regenerating and
mixed forest while none were found in lowland conifer forests (Burdett 2008). Although lowland conifer did
not appear to be important foraging habitat during winter, it was selected by females for denning habitat be­
cause of the forest structure that resulted from blowdown and fallen snags (Moen et al. 2008). Upland conifer
and mature mixed-conifer/hardwood cover types were used as available on the landscape. Lynx habitat in the
Great Lakes region may be managed by using timber harvest and fire to create early-successional forest, to
maintain interspersed mature and lowland conifer forest for denning, and to create edge effects (Burdett
2008).


The lowland conifer cover types were used most often for denning in northern Minnesota (Moen et al. 2008),
but other forest cover types were used if recent blowdowns were present (Moen and Burdett 2009). Female
lynx with young kittens used a foraging radius of approximately 2-3 km (1.2-1.8 mi) around the den. Denning
areas had significantly higher amounts of regenerating stands and upland conifer forest adjacent to the denning
habitat (Moen et al. 2008).


Wisconsin and Michigan: As inferred from the historical record (McKelvey et al. 2000b), lynx are irregularly
recorded in Wisconsin and Michigan's Upper Peninsula. Mapping of historical vegetation shows only small
patches of boreal forest occur along the south shore of Lake Superior in extreme northern Wisconsin (S. Has­
sett, personal communication 2003; Wisconsin Department of Natural Resources, personal communication
2003). No lynx habitat is currently mapped on national forest system lands in Wisconsin. Habitat models of pre
-settlement and current vegetation conditions in the Upper Peninsula of Michigan suggest that these areas lack
the dense understory conditions favorable to snowshoe hares (Linden 2006), with low stem cover and result­
ing low hare densities across most forest stands (Linden et al. 2011). The few historical records from Michigan
also indicate a low probability of supporting lynx populations (Beyer et al. 2001).

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Connectivity of lynx populations and habitat
     Habitat connectivity with Ontario is an important consideration for continued existence of a viable lynx popu­
     lation in the Great Lakes Geographic Area. Although lynx are capable of making long-distance dispersal move­
     ments (Mech 1980, Ward and Krebs 1985, Moen et al. 2010b), these movements are more likely to be made
     over land than across large lakes. Lake Superior interrupts the connectivity of habitat between the Upper Pen­
     insula of Michigan and northern Wisconsin with lynx populations and habitat in Ontario. Over-land routes that
     exist around Lake Superior are a mix of forested areas and non-habitat such as urban development (e.g., Du­
     luth and Sault Saint Marie) and the St. Louis and St. Mary’s Rivers; and intersect several major highways includ­
     ing Highways 35, 53, and 61 in Minnesota; Highways 2 and 53 in Wisconsin; and Highway 75 in Michigan.


     Habitat connectivity within and between portions of northeastern Minnesota and Canada appears functional
     based on movement data from radio-collared lynx in northeastern Minnesota from 2003-2009 (Moen et al.
     2010b). Six of 12 lynx made long-distance movements through the Superior National Forest including the
     Boundary Waters Canoe Area and Wilderness into Ontario, Canada and then returned to Minnesota. Several
     other lynx have moved from Minnesota into Ontario after being radio-collared (Moen 2009). Three radio­
     collared lynx moved across northeastern Minnesota and Ontario, ending up near the northeastern corner of
     Lake Superior (Moen et al. 2010b).


     Exploratory movements occurred throughout the year and were not strongly correlated to vegetation compo­
     sition or topography. Males tended to leave their home ranges and then return, while females tended to dis­
     perse and establish a new home range (Moen et al. 2010b).


     The current vegetation and forest structure in the Voyageurs National Park do not appear to support sufficient
     prey populations or provide the habitat necessary to support a population of lynx (Moen et al. 2012). Howev­
     er, certain areas within the Voyageurs National Park may provide sufficient prey resources to support transient
     lynx dispersing through the area.


Snowshoe hare population distribution and habitat
     Snowshoe hare populations occupying the Great Lakes area historically showed density fluctuations based on
     pellet count data (Fuller and Heisey 1986), but these fluctuations have not been observed since the 1990s
     (Hodges 2000b). Snowshoe hare habitat in the Great Lakes Geographic Area primarily consists of conifer for­
     ests with dense low-growing understories, lowland shrub and conifer bogs, sapling, and older sawlog stands.
     Conifer bogs or lowland conifer forests may be especially important during low points in hare cycles by acting
     as refugia for hares. Early regenerating or pole-sized stands are not used as much as in other portions of their
     range, although older regeneration stands were used frequently in Minnesota (McCann 2006). However, sapling
     -sized aspen adjacent to conifer cover may provide functional snowshoe hare habitat.


     Minnesota: McCann and Moen (2011) mapped the distribution of predicted snowshoe hare habitat across
     northeastern Minnesota. In northeastern Minnesota, edge habitats and regenerating conifer stands appeared to
     be important for snowshoe hare populations (Burdett 2008, McCann 2006), as were dense habitats containing
     balsam fir, white spruce, and cedar (Fuller and Heisey 1986). Pietz and Tester (1983) found that the presence
     of snow resulted in a decreased use of deciduous upland habitats. Hare density in parts of northeastern Minne­
     sota appears to be sufficient to support a viable lynx population (Moen et al. 2008), ranging between 0.3-2.0
     hares/ha (0.12-0.8 hares/ac; McCann 2006).


     Wisconsin: In Wisconsin, snowshoe hare use red pine, jack pine, aspen, and dense black spruce and cedar bogs
     with sufficiently dense cover between 3-5 m (9-15 ft) in height (Buehler and Keith 1982, Sievert and Keith

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   1985) . Winter foods consist of bark, twigs and tree buds from aspen, willow, birch, maple, sumac and alder.
   Populations occur primarily in the northern third of Wisconsin (Buehler and Keith 1982, Sievert and Keith
   1985), with the distribution apparently limited by predator-caused mortality, which is influenced by conifer cov­
  er and snowfall (Buehler and Keith 1982). Sievert and Keith (1985) reported that predators killed 87% of the
  67 radio-collared hares that died; survival was higher in areas where cover concealed hares or obstructed
   predators. Populations in Wisconsin are no longer believed to cycle due to loss of multi-story stands and forest
   maturity (Buehler and Keith 1982).


   Michigan: In Michigan, Conroy et al. (1979) found that snowshoe hares preferred red maple and speckled alder
   in lowland habitats, but shifted to aspen and pine in upland habitats and clear cuts. However, lack of a dense
   understory in most parts of Michigan (especially the Upper Peninsula region) and low disturbance levels (limited
  timber management and wildland fires) indicate that conditions are not favorable to provide snowshoe hare
   populations adequate to support a viable lynx population (Beyer et al. 2001, Linden 2006). Isle Royale National
   Park, a 53,418-ha (132,000-ac) island located in Lake Superior, may contain suitable snowshoe hare densities to
   support lynx (Isle Royale Canada Lynx Feasibility Study Meeting, April 19, 2012, Ashland WI).


Human developments and activities in the Great Lakes
   Most climate change simulations for the Great Lakes-St. Lawrence Basin predict reduced precipitation and low­
  er lake levels (Inkley et al. 2004). Gonzalez et al. (2007) suggested the Superior National Forest in northern
   Minnesota may provide a refugium for lynx under various climate models, based on snow persistence and vege­
  tation composition in this area.


  The current composition and spatial distribution of early-successional and mature forests are considerably dif­
  ferent from those formed by the natural disturbances that occurred prior to European settlement (Agee 2000).
  Timber harvest increased the proportion of early-successional forests, while fire suppression increased the dis­
  tribution of balsam fir across the landscape. State and federal land management plans that govern management
  of lynx habitat emphasize maintaining and restoring boreal forest conditions and increasing the conifer compo­
   nent on the landscape.


   Interest in biomass harvest (removal of small-diameter understory vegetation) in Minnesota, for energy as well
  as for fuels reduction, increased from 2000-2012. This is driven by higher energy prices and state-supported
   incentives to produce renewable energy (Minnesota Statutes chapter 216B, section 2424). Biomass harvest re­
  duces horizontal cover important for snowshoe hares and lynx. However, with declining energy prices in the
   last few years, biomass harvest removal is not currently a significant factor affecting lynx habitat in Minnesota.


   Lynx habitat in Minnesota is contiguous with habitats in southern Ontario, and radiocollared lynx successfully
   move back and forth across the border. Significant areas within historical lynx range in northern Wisconsin,
  central Minnesota, and upper Michigan have been converted to forest conditions that do not provide quality
   lynx habitat; however, this does not appear to create a barrier to lynx movements (Moen et al. 2010 b).


   Because this geographic area has relatively high forest road and highway densities that intersect lynx habitat,
   mortality due to vehicle collisions could be of concern. Several radiocollared lynx in Minnesota inhabited home
   ranges that were bisected by highways. Six lynx mortalities were documented on highways over the past 11
  years in Minnesota (U.S. Fish and Wildlife Service 2012). These mortalities were located on the edges of lynx
   range in Minnesota. Deaths on roads due to motor vehicle collisions have occurred less frequently within the
  central lynx range and within the Superior National Forest.


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     Before the lynx harvest was closed in the 1980s in Minnesota, about half of the harvest was by trapping and
     half was from shooting (Henderson 1978). Currently, it is not legal to trap or shoot lynx within the Great
     Lakes Geographic Area because the species is protected under the Endangered Species Act. Emigration of
     lynx from Minnesota to Ontario may expose lynx to trapping and shooting that is allowed in accordance with
     regulated harvest in Canada. At least a third of the animals radiocollared in Minnesota spent time in Ontario;
     4 radiocollared lynx were legally harvested (trapped) in Canada between 2003-2010 (U.S. Fish and Wildlife
     Service 2012).


     The FWS in Minnesota maintains a database of known incidental lynx trapping, shooting, and other causes of
     death or injury (U.S. Fish and Wildlife Service 2012). Of the 23 known trapping incidents recorded since 2001,
      13 resulted in lynx mortalities (U.S. Fish and Wildlife Service 2012). It is probable that there are additional
     incidental catches that are not reported each year (Moen 2009). The documented incidents largely occurred
     during trapping that targeted fox, bobcat, coyote, and marten, and involved a variety of traps including foot­
     holds, body gripping traps, and snares (U.S. Fish and Wildlife Service 2012). In response to a 2008 court rul­
     ing, the Minnesota Department of Natural Resources (MN DNR) drafted a plan to address incidental take of
     lynx that may result from otherwise legal trapping in the state. This plan, designed to reduce the likelihood of
     incidental take from trapping, is still under development by the MN DNR with review by the FWS.


     Bobcat harvest in northeastern Minnesota has been increasing over the last decade (Erb 2012). Where lynx
     and bobcat overlap, there is potential for accidental shooting of lynx, or for bobcat hunting with dogs to har­
     ass or harm lynx. Since 2001, 6 lynx are known to have been shot and killed, 2 of which were radiocollared
     (U.S. Fish and Wildlife Service 2012).


     Predator control activities occur in this area. Very limited agriculture occurs here; however, I farm is located
     within the center of lynx habitat in Minnesota where nuisance wolves were occasionally trapped as part of the
     animal damage control program. However, this particular farm is not likely to be a concern for lynx mortality.


     Forest and backcountry roads, trails, and railroads may have both beneficial and negative impacts on lynx in
     this geographic area. Lynx use backcountry roads, trails, and railroads for travel, and presumably for hunting
     (Terwilliger and Moen 2012). Radiocollared lynx on average occurred about 300 m (984 ft) from a road or
     trail within their home range (Terwilliger and Moen 2012). When making long-distance movements to Ontar­
     io, lynx were located on average <200 m (656 ft) from a road or trail (Moen et al. 2010 b). These linear path­
     ways provide efficiency of movement and may support a higher density of prey; however, use of these routes
     also exposes lynx to risk of human-caused mortality. Since 2001, 1 lynx mortality due to a vehicle collision
     along a low-level gravel road and 2 lynx mortalities due to collisions with trains were documented (U.S. Fish
     and Wildlife Service 2012). Backcountry roads and trails also provide greater human access, which may in­
     crease the potential for incidental trapping and illegal shooting of lynx.


     Mineral exploration and development is increasing in portions of the Great Lakes Geographic area, particular­
     ly for hard rock (non-ferrous) minerals. Some of the area of interest for minerals overlaps with lynx habitat in
     northeastern Minnesota and designated critical habitat. Mineral exploration may result in short-term displace­
     ment of lynx. Mining activities and associated development may result in an irreversible loss of habitat or in­
     creased mortality risk. The specific effects to lynx and their habitat will depend on the scale and type of each
     project.


     Utility corridors (except in cases where utility corridors intersect backcountry roads) have little to no impact
     on lynx. Utility corridors located within lynx habitat tend to be for lower voltage power and phone lines.

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   Lynx are known to use utility corridors for travel and hunting.


   Livestock grazing does not occur on public lands and grazing that occurs on private lands tends to be on small
   allotments and family farms that are generally not suitable lynx or hare habitat.


Southern Rocky Mountains Geographic Area

Geographic extent
   The Southern Rocky Mountains Geographic Area encompasses the mountainous regions of Colorado, south­
   central Wyoming, and north-central New Mexico. The southern Rockies are separated from the rest of the
   Rocky Mountain chain by sagebrush and desert shrub communities in the Wyoming Basin and the Red Desert
   of southern and central Wyoming, and the arid Green and Colorado River plateaus of western Colorado and
   eastern Utah.


   Throughout much of the Pleistocene epoch, the southern Rockies appear to have been connected with the
   rest of the Rocky Mountains through continuous forested habitats, across what are now open shrub-steppe
   communities (Armstrong 1975). Although the continental ice sheets of the Pleistocene never reached Colora­
   do, the climate of the southern Rockies in that period was substantially cooler. Summer mean temperatures
   were estimated to be about 9° C (16° F) cooler, resulting in extensive alpine valley glaciation, high-altitude ice
   caps, and a lowering of the life zones 900-1,220 m (3,000-4,000 ft) below their current elevation limits. This
   would have lowered the spruce-fir/lodgepole pine forest to 1,500-2,150 m (5,000-7,000 ft) in elevation, en­
   compassing much of the area between the southern Rockies and the rest of the Rocky Mountain chain
   (Armstrong 1975). During the last 15,000 years, the climate began a general trend of warming and drying,
   causing a northward retreat of the boreal forest and the raising of mountainous life zones to their current ele­
   vation limits (Armstrong 1972). It was during this interval that the southern Rockies became ecologically sepa­
   rated from the rest of the Rocky Mountains, isolating its remnant high-elevation boreal forests and the species
   characteristic of these forests (Armstrong 1975, Fitzgerald et al. 1994). The climate may have reached its ther­
   mal maximum 4,000-6,500 years ago (Oosting 1956). Based on pollen studies by Pennak (1963), mountainous
   vegetation communities appear to have remained relatively stable over the past 3,000 years.


   The Southern Rocky Mountains Geographic Area falls within the Southern Rocky Mountain Province (Bailey et
   al. 1994, McNab and Avers 1994), and includes the following sections:
         •   Southern Parks and Mountain Ranges (M331F)
         •   South Central Highlands (M331G)
         •   North Central Highlands and Rocky Mountain (M331H)
         •   Northern Parks and Ranges (M331I)


Lynx population status and distribution
   Historically, lynx appear to have been distributed sparsely in Colorado in areas above 2,700 m (9,000 ft) in the
   Park, Gore, San Juan, and La Plata Mountains and on the White River Plateau (Armstrong 1972). McKelvey et
   al. (2000b) reported 17 verified records of lynx from Colorado during the period 1878-1974. Verified records
   from southeastern Wyoming included a single specimen from 1865 in the Medicine Bow Range and one from
   the Laramie Range in 1963. Verified records after the 1920s are rare in Colorado and southern Wyoming,
   with most records coming from central Colorado. In 1973, 2 lynx were trapped on Vail Mountain in Eagle
   County, CO. A statewide lynx survey conducted from 1978-1980 by the Colorado Division of Wildlife, now
   known as Colorado Parks and Wildlife (CPW), concluded that a small lynx population persisted in Eagle,
   Pitkin, Lake, and Clear Creek Counties with evidence of lynx occurrence in Grand and Park Counties, based

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     on tracks and visual observations. However, the lynx population was thought to be too small to be self­
     sustaining.


     In 1999, CPW initiated a program to reintroduce lynx from Canada and Alaska to re-establish a self-sustaining
     breeding population throughout the southern Rockies. A total of 218 animals were transplanted into the San
     Juan Mountains from 1999 to 2006 (Devineau et al. 2010). To evaluate the near-term success of the lynx rein­
     troduction, CPW established benchmarks to track progress towards establishing a self-sustaining population in
     Colorado. In 2010, after completing more than a decade of monitoring, CPW announced that all of the fol­
     lowing benchmarks for a successful lynx reintroduction had been met:
           •       Reintroduced lynx demonstrated a high rate of survival in the critical first months after release;
           •       Released adult lynx demonstrated low mortality rates over the longer term, particularly in good
                   habitat;
           •       Lynx remained in good habitat at densities sufficient for breeding;
           •       Reintroduced lynx successfully reproduced;
           •       Lynx born in Colorado survived and also successfully reproduced (“recruitment” into the popula­
                   tion); and
           •       On balance, lynx recruitment equaled or exceeded mortality over an extended period of time.


     As of 2007, the average probability of survival for reintroduced lynx was 0.93I5±0.0325 within the study area
     in the San Juan Mountains and O.82I9±O.O744 outside the study area boundary (Devineau et al. 2010). Alt­
     hough 30% of known mortalities were due to human causes (being shot or hit by a vehicle), the estimate of
     survival within the study area was higher than those reported for natural, lightly trapped populations of Cana­
     da lynx in the Yukon (0.75-0.90; Slough and Mowat 1996, O’Donoghue et al. 1997) or in the Northwest Ter­
     ritories (~0.90; Poole 1994). Successful reproduction, including by females born in Colorado, has been docu­
     mented (Shenk 2008).


     Plague, a flea-borne disease caused by the bacterium Yersinia pestis, which is not native to North America, was
     reported for the first time in lynx in Colorado (Wild et al. 2006). Pneumonic plague appeared to be the direct
     or indirect cause of death of 6 reintroduced lynx between 2000 and 2003. When translocated from Canada
     and Alaska, none of the lynx had antibody titers to Y. pestis; it appears likely that lynx were exposed to plague
     by infected prey after their release in Colorado.


     Of the transplanted animals, a majority (152/218) remained within the study area in the San Juan Mountains of
     southern Colorado. Additional small population centers have been established in several locations farther
     north in Colorado. Based on radiotelemetry location data, lynx presence was verified on all national forests in
     Colorado, the Medicine Bow National Forest in Wyoming, and Rocky Mountain National Park (Shenk 2008).


     Most individuals have been detected outside of the 20,684 km2 (7,986 mi2) study area at least once. Some lynx
     dispersed widely over an area >1,000,000 km2 (>386,103 mi2) in size, including Kansas, Iowa, Nebraska, South
     Dakota, Wyoming, Montana , Idaho, Utah, Nevada, Arizona, and New Mexico (Devineau et al. 20I0).


     New Mexico is not included in the list of states in the historical range of the species (Federal Register Vol. 65,
     No. 58, pp. 16052-16086). There are no verified historical records of occurrence of lynx in New Mexico
     (McKelvey et al. 2000b). However, high-elevation montane forest that is contiguous with occupied habitat in
     Colorado does occur in New Mexico (Shenk 2008). It is possible that lynx occurred in New Mexico histori­
     cally but were extirpated prior to being documented by scientists (Frey 2004, 2006). On the other hand, an
     analysis of the Carson and Santa Fe National Forests and Valles Caldera National Preserve in New Mexico,

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  which evaluated potential vegetation, snow depth and persistence, records of lynx, occurrence of prey species,
   presence of competing predators, and the potential impacts of climate change, concluded that conditions in
   New Mexico are not adequate to maintain a self-sustaining population of lynx (USDA Forest Service 2009). In
   2009, citing the movement of lynx from the reintroduced population in Colorado into northern New Mexico,
  the FWS determined that changing the boundary of the lynx listing to include New Mexico was warranted
   (Federal Register Vol. 74, p. 66937); the final decision is still pending.


Lynx habitat
   Lynx habitat in the southern Rockies is found within the subalpine and upper montane forest zones. In the up­
   per elevations of the subalpine zone, forests are typically dominated by subalpine fir and Engelmann spruce. As
  the subalpine zone transitions to the upper montane, spruce-fir forests begin to give way to lodgepole pine and
   aspen. On cooler, mesic mid-elevation sites, Engelmann spruce may retain dominance, intermixed with aspen,
   lodgepole pine, and Douglas-fir. Lodgepole pine reaches its southern limits in the central parts of the geograph­
   ic area, while southwestern white fir occurs only in the San Juan Mountains. The lower montane zone is domi­
   nated by ponderosa pine and Douglas-fir, with pines typically dominating on lower, drier, more exposed sites,
   and Douglas-fir occurring on the more sheltered sites. Lower montane forests do not support snowshoe hares
   and seldom would be used by lynx.


   Lynx habitat was mapped across federal lands in the southern Rockies based largely on current forest cover
  types. About 2.8 million ha (7 million ac) of lynx habitat was estimated to occur across the Southern Rockies
   Geographic Area (USDA Forest Service 2008).


   Broad-scale lynx habitat use was documented from more than 9,400 daytime aerial telemetry locations by
   CPW from February 1999-June 2007. Shenk (2008) used these data to characterize lynx habitat use through­
   out the year. Mature Engelmann spruce/subalpine fir forests with total canopy cover of 42-65%, of which 15­
   20% was contributed by conifer understory tree canopies, were the most commonly used areas, followed by
   mixed forests of Engelmann spruce/subalpine fir/aspen. Riparian and riparian-mix was the third most-used cover
  type, with a pattern of increasing use beginning in July, peaking in November, and dropping off in December.
   Large or medium willow/alder carrs and willow riparian communities provided important habitat for snowshoe
   hare, grouse, ptarmigan (winter), and other prey species that could be utilized by lynx.


   The telemetry data collected by CPW were re-analyzed to better predict the statewide distribution of lynx
   habitat. As a first step, Theobald and Shenk (2011) described the types of areas that were known to be used by
   reintroduced lynx from 1999-2010. Most of the data were collected in the core study areas in the San Juan
   Mountains of southwest Colorado and the Sawatch Range in the central part of the state. Ivan et al. (2012) ex­
   tended the work of Theobald and Shenk (2011) by producing a statewide map of predicted lynx use. The te­
   lemetry data were not collected for the purpose of constructing a predictive map, and suffer from at least 2
   shortcomings. First, the locations were not precise. Ivan et al. (2012) attempted to account for this imprecision
   by modeling at a 1.5 km (0.93 mi) scale, but matching covariates, response variables, and predictions at this
   scale reduces the clarity of relationships and weakens the model. Second, the bulk of the reintroduction re­
   search effort, from which these data originated, was conducted in the southern and central portions of Colora­
   do. Lodgepole pine only occurs in the northern 2/3 of the state, and is dominant there. Thus, predicting lynx
   habitat use in northern Colorado is difficult because the landscape is very different, yet few data are available to
   predict lynx use of that landscape. Extrapolation beyond the range of covariates used to fit the models is tenu­
   ous, and caution must be exercised in interpreting results north of I-70.


   Despite these limitations, the predictive maps have a distinct strength in that they were constructed objectively

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     from rigorous mathematical models based on empirical data collected from wild lynx. They are the first such
     maps for Colorado. Results from this effort confirmed some relationships that were already known (e.g., lynx
     are strongly associated with high-elevation spruce/fir and mixed spruce/fir forests but avoid lower-elevation
     montane forests and montane shrublands).


     Site-scale descriptions of habitat use were obtained through snow-tracking of lynx (Shenk 2006). Habitat used
     by lynx for long beds, travel, and kill sites were found to have similar characteristics, typically occurring on
     gentle slopes (15.7°) with average elevation of 3,173 m (10,400 ft; Shenk 2009). Den sites were located at
     higher elevations (average of 3,354 m or 11,000 ft), on steeper slopes (average 30°) and on more northerly
     aspects than the other sites.


     Fire has strongly influenced forest vegetation patterns in the southern Rockies. Natural fire regimes in subal­
     pine fir-spruce forests of the southern Rocky Mountains are highly complex, reflecting great variation due to
     climate, topography, elevation, vegetation, and site productivity. Because of the high elevations and higher
     moisture gradients of the subalpine zone, stand replacement events occur infrequently on a given site, perhaps
     every 250-500 years. Such events occur with increasing frequency at lower elevations. Stand-replacing fires
     may occur every 100-150 years in the montane zone, while surface fires of low to moderate intensity occur
     relatively frequently (return intervals of 5-60 years). Insects, forest pathogens, avalanches and wind events are
     also important agents of disturbance.


     The Southern Rockies Geographic Area is currently experiencing a major bark beetle epidemic in lodgepole
     pine and spruce-fir forests. Although bark beetles are native insects, and forests in the western United States
     have experienced regular insect infestations throughout their history, the current bark beetle epidemic is no­
     table for its intensity and extensive geographic range. The causes of this epidemic include: relatively even-aged,
     dense, and homogenous forest conditions, which are highly susceptible to beetle attack, and which were cre­
     ated by large-scale logging in the late 1800s and subsequent fire suppression efforts; warmer winters due to
     climate change (cold winters typically reduce beetle populations); and a multi-year drought that occurred in
     the mid-1990s through early 2000s, stressing the trees and making them more susceptible to beetle attack
     (USDA Forest Service 2011).


     In lodgepole pine forests, a mountain pine beetle (Dendroctonus ponderosae) epidemic typically kills the entire
     overstory and results in a stand-replacing disturbance event. In Colorado, more than 2,428,113 ha (6,000,000
     ac), a portion of which overlaps with lynx habitat, has been affected by the current beetle epidemic (USDA
     Forest Service 201 1). Even-aged mature and “dry” lodgepole pine stands characteristically have depauperate
     understory vegetation and are not capable of supporting dense populations of snowshoe hares. On moist
     sites, regeneration of beetle-killed lodgepole pine stands is expected to be rapid, and the new stands will be
     dominated by re-sprouting aspen or by a new cohort of lodgepole pine. If these newly-established stands grow
     tall and dense enough to provide horizontal cover above the snow layer, they may produce excellent habitat
     for snowshoe hares and lynx for several decades, until the crowns again lift above the reach of snowshoe
     hares.


     A spruce beetle epidemic kills the larger-diameter trees and can also result in a stand-replacing disturbance
     event. Because of the importance of spruce-fir forests for production and survival of snowshoe hares (Ivan
     2011 a), widespread mortality of mature spruce/fir forests could impact lynx habitat for a long duration.


Connectivity of lynx populations and habitat
     McKelvey et al. (2000c) stated that “fragmented forest cover types, high vagility of lynx, and linkages in popula-

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   tion dynamics suggest that lynx in the contiguous United States are arranged as metapopulations.” Colorado is
   separated from boreal forests in Wyoming by at least 100 km (62 mi; Halfpenny et al. 1979, McKelvey et al.
   2000a) and likely functions as a metapopulation. A few of the lynx that were reintroduced into Colorado suc­
   cessfully travelled to the Northern Rockies Geographic Area, crossing through intervening desert and grass­
   land habitats.


   Connectivity of lynx habitat has been identified as an important consideration for the southern Rockies, be­
   cause of the extreme topographic relief juxtaposed with human developments such as highways and residential
   communities. In the Remanded Rule (Federal Register Vol. 68, p. 400786), the FWS concluded that the popula­
   tion-level threat to lynx attributable to high traffic volume on roads that bisect suitable lynx habitat and associ­
   ated suburban developments is low. However, the FWS recognized that a higher risk exists in Colorado than
   elsewhere in the range of the lynx.


   In the Southern Rockies Lynx Amendment, 38 linkage areas were identified in Colorado and southern Wyo­
   ming. Management direction for these areas is to maintain connectivity of habitat and facilitate lynx move­
   ments. However, some of these linkage areas may be located in proximity to existing human developments or
   may not currently contain the conditions or structures needed to provide habitat connectivity.


   Ski resort development, a growing and affluent population, and telecommuting capabilities have converged to
   spur rapid growth in some mountain valleys. Transportation corridors continue to be modified and expanded
   to handle increasing volumes of traffic and speeds, altering historical movement patterns of wide-ranging spe­
   cies and creating barriers to movement. These and other factors, both historical and current, have eliminated
   or degraded some landscape linkages, which increases the importance of remaining linkage areas.


Snowshoe hare population, distribution and habitat
   Habitat that supports snowshoe hares is patchily distributed in the Southern Rocky Mountains Geographic Ar­
   ea, which limits their abundance. Zahratka and Shenk (2008) found densities of snowshoe hares to be greatest
   in mature Engelmann spruce-subalpine fir stands when compared to mature lodgepole pine stands in Taylor
   Park, Colorado. Their density estimates were 0.08±0.03 to I.32±0.I5 hares/ha (0.03-0.5 hares/ac) in Engel­
   mann spruce-subalpine fir habitats, and 0.06±0.0I to 0.34±0.06 hares/ha (0.02-0.I4 hares/ac) in lodgepole pine
   habitats (Zahratka and Shenk 2008).


   Ivan (20I I a) compared snowshoe hare density, survival, and recruitment in mature uneven-aged spruce/fir
   stands, small-diameter lodgepole pine (2.54-12.7 cm [I-5 in]) stands (20-25 years old), and medium-diameter
   (I2.7-22.9 cm [5-9 in]) previously-thinned lodgepole pine stands (40-60 years old) in Colorado. During sum­
   mer, Ivan (20II a) recorded densities of 0.2+0.0I to 0.66+0.07 hares/ha (0.08-0.27 hares/ac) in small lodgepole
   pine forest, 0.0I+0.04 to 0.03+0.03 hares/ha (0.004-0.0I hares/ac) in medium lodgepole forest, and
   0.0I±0.002 to 0.26±0.08 hares/ha (0.004-0.I hares/ac) in spruce/fir forest; densities were more similar across
   the 3 forest types during the winter months. He concluded that “hares reached their highest densities and re­
   cruited juveniles most consistently in stands of small lodgepole, followed closely by spruce/fir, but survival was
   highest in spruce/fir stands.”


   Dolbeer and Clark (I975) estimated a density of 0.73 hares/ha (0.3 hares/ac) within study sites of Utah and
   Colorado, with the highest densities of snowshoe hare in mature and late-successional spruce-fir forests. Beau­
   vais (I997) reported that snowshoe hares in Wyoming have a strong affinity for the higher-elevation mature to
   late-successional spruce-fir forests. Also in Wyoming, Berg et al. (20I2) documented the highest snowshoe
   hare densities in late-successional, dense multi-story spruce-fir forests and 30-70 year old densely-

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     regenerating lodgepole pine forests.


     In New Mexico, Malaney and Frey (2006) reported that snowshoe hares almost exclusively inhabit high-
     elevation, closed-canopy spruce-fir forests with dense horizontal cover.


Human activities and developments specific to the Southern Rockies
     Climate change generally is expected to result in warmer winters, earlier spring snow melt, and a reduction in
     the extent of snow cover in the southern Rockies. McKelvey et al. (2011) used a variety of climate models to
     predict snow depth and the persistence of spring snow across the western United States. The models predict­
     ed an overall decline in persistent snow of 40%, but large areas of persistent snow would continue to be re­
     tained late in the 21st century, including the high elevations of Colorado.


     Beginning in the 1860s through much of the latter half of the 19th century, large-scale alteration of the natural
     landscape resulted from the rush to extract the rich deposits of gold, silver, and other metals in portions of
     the southern Rockies. A huge demand for timbers, construction materials, and smelter and heating fuels result­
     ed in extensive cutting of forests around mining centers. Human-induced and lightning-caused fires burned
     over large areas, and decades of phytotoxic smelter emissions killed or precluded the regeneration of forests
     around these centers. The effects of mining and large-scale logging are still evident today across much of the
     landscape. While many cut-over areas have recovered to varying degrees, some high-elevation forests still re­
     main poorly timbered.


     In 2008, all forest plans in the southern Rockies were amended to add objectives, standards, and guidelines to
     conserve the lynx while implementing a variety of resource management programs and activities (USDA Forest
     Service 2008).


     As described previously, an extensive recent mountain pine beetle epidemic caused near-complete mortality of
     mature lodgepole pine forests in Colorado. Regeneration of beetle-killed stands is dominated primarily by
     lodgepole pine and aspen. Salvage harvesting of beetle-killed trees is occurring on a portion of the affected ar­
     ea.


     Vehicular collisions are a potentially important cause of mortality for lynx in portions of the southern Rockies.
     Thirteen of the 102 mortalities documented for lynx translocated into Colorado were from vehicle collisions
     (Devineau et al. 2010). Brocke et al. (1990) suggested that translocated animals might be more vulnerable to
     highway mortality than resident lynx and this could have been a factor in Colorado. A number of highways
     with high speed and high traffic volume pass through lynx habitat, such as I-70, I-80, US 50, US 550 and US 160.
     These highways are not a barrier to lynx movement, as repeated successful crossings by radio-telemetered
     lynx have been documented on I-70 and Highways 9, 40, 50, 91, and 114 (Ivan 2011 b, c, 2012; J. Squires, per­
     sonal communication 2012).


     As compared with other portions of the range of lynx, in Colorado more winter recreation and associated
     development overlaps with lynx habitat. Preliminary information from a study in Colorado indicates that some
     winter recreation uses may be compatible, but lynx may avoid some developed ski areas (|. Squires, personal
     communication 2012). It is possible that ski areas and 4-season resorts may reduce the amount and availability
     of lynx habitat within localized areas, in part by influencing the distribution or abundance of prey resources
     within the developed area. However, there is also considerable anecdotal evidence of lynx using ski areas.


     Leg-hold trapping is currently prohibited under the state constitution of Colorado as a means of predator con-

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   trol or for commercial and recreational trapping. If a landowner can prove that all other non-lethal methods
   have been ineffective, a 30-day exemption may be granted for depredation cases. Incidental trapping mortality
   of lynx may be a minor risk during trapping seasons in southern Wyoming and surrounding states.


   Predator control activities on federal lands, including coyote shooting or trapping, are common throughout
   most of this geographic area, mostly related to the grazing of domestic sheep. The majority of sheep grazing
   occurs on arid rangelands, but some grazing does occur during summer at the higher elevations, especially in
   south-central Colorado. Incidental capture of lynx is possible, but unlikely.


Northern Rocky Mountains Geographic Area

Geographic extent
   The Northern Rocky Mountains Geographic Area encompasses western Montana on both sides of the Conti­
   nental Divide, northeastern and southeastern Washington, northern, central, and southeastern Idaho, north­
   eastern Oregon, northeastern Utah, and western Wyoming. Landforms, climate, and vegetation across this
   large area are complex and highly variable.


   There are strong north-south and east-west gradients in climate across the Northern Rocky Mountains Geo­
   graphic Area. The northwestern portions have a cool, temperate, maritime-influenced climate, while the east­
   ern and southern portions have a cold continental climate (McNab and Avers 1994). As a result, vegetation
   varies from moist, dense conifer forests, to less productive forests with greater interspersion of grasslands and
   shrub lands.


   The Northern Rocky Mountains Geographic Area intersects 3 ecological provinces (McNab and Avers 1994,
   Bailey 1998) and the following Sections within these provinces.


      Northern Rocky Mountain Province
        •   Okanogan Highlands Section (M333A)
        •   Flathead Valley Section (M333B)
        •   Northern Rockies Section (M333C)
        •   Bitterroot Section (M333D)


      Middle Rocky Mountain Province
        •   Idaho Batholith Section (M332A)
        •   Bitterroot Valley Section (M332B)
        •   Rocky Mountain Front Section (M332C)
        •   Belt Mountains Section (M332D)
        •   Beaverhead Mountains Section (M332E)
        •   Challis Volcanic Section (M332F)
        •   Blue Mountains Section (M332G)


      Southern Rocky Mountain Province
        •   Yellowstone Highlands Section (M33IA)
        •   Bighorn Mountains Section (M33IB)
        •   Overthrust Mountain Section (M33ID)
        •   Uinta Mountains Section (M33IE)
        •   Wind River Mountains Section (M33IJ)

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Lynx population status and distribution
     Montana: Lynx are ranked by the Natural Heritage Program as S3 species of concern in Montana: “Potentially
     at risk because of limited and declining numbers, range, and habitat, even though its habitat may be abundant in
     some areas.”


     Historical and current lynx occurrence has been well documented in Montana. Museum records, historical in­
     formation, and trapping data (McKelvey et al. 2000b) suggest persistence of lynx over time in portions of Mon­
     tana. Squires et al. (2013) describe more specifically the distribution of lynx in Montana based on 81,523 telem­
     etry points from resident lynx from 1998-2007. Lynx are primarily restricted to northwestern Montana from
     the Purcell Mountains east to Glacier National Park, then south through the Bob Marshall Wilderness Com­
     plex to Highway 200. The southern-most lynx population in Montana is currently in the Garnet Range, except
     for a few individuals in the Greater Yellowstone Area. From 1999-2006, reproduction was documented at 57
     dens of 19 female lynx in Seeley Lake, the Garnet Range, and the Purcell Mountains in western Montana
     (Squires et al. 2008).


     The National Lynx Survey detected lynx in the Lolo and Gallatin National Forests and in Glacier National Park,
     and additional snow-tracking surveys in conjunction with collection of DNA verified lynx presence on the Koo­
     tenai, Flathead, and Helena National Forests (K. McKelvey, unpublished data).


     Wyoming: The lynx is considered a species of greatest conservation need by the state of Wyoming. Lynx pres­
     ence has been documented historically and currently in western Wyoming, from the Wind River Range, Wyo­
     ming Range, and the Yellowstone area (McKelvey et al. 2000b). A single lynx specimen was collected from the
     Big Horn Mountains in 1919. Lynx were detected using the National Lynx Survey protocol on the Shoshone
     National Forest, but none were detected on the Bighorn National Forest (K. McKelvey, unpublished data). Ad­
     ditional snow-tracking surveys verified lynx presence on the Bridger-Teton National Forest. Recent reproduc­
     tion was documented in the Wyoming Range through a radio-telemetry study (Squires and Laurion 2000,
     Squires and Oakleaf 2005). Several lynx that were translocated into Colorado were later found to have dis­
     persed and established home ranges in the Wyoming Range (J. Squires, personal communication 2012).


     Idaho: Canada lynx are classified as an S1 Idaho species of greatest conservation need. McKelvey et al. (2000b)
     reported 22 museum specimens of lynx dating from 1874-1917, all of which were collected north of the Snake
     River Plain in Idaho. Thirteen other verified records prior to 1960 were also from the north-central and north­
     ern regions of the state, with the exception of 2 from Caribou and Bonneville Counties, along the Wyoming
     border. Of the 35 verified records from 1960 to 1991, most coincided with lynx irruptions in the 1970s. Lynx
     harvest records are considered to be unreliable prior to the 1980s because of the ambiguous reporting catego­
     ry of “lynx cat.”


     Surveys conducted in Idaho using the National Lynx Survey protocol detected lynx only on the Boise National
     Forest (K. McKelvey, unpublished data). Snow-track surveys in 2007 on 721 km on the Nez Perce National
     Forest using the protocol developed by Squires et al. (2004) did not detect lynx (Ulizio et al. 2007).


     The Idaho Department of Fish and Game (IDFG) established 28 snow track routes to monitor forest carni­
     vores. No lynx were detected on any of the 20 routes that had adequate snow conditions when surveyed by
     Idaho Department of Fish and Game personnel from 2004-2006 (Patton 2006).


     From 2010-2013, IDFG conducted forest carnivore surveys in the Selkirk, Purcell, and West Cabinet Moun­
     tains (M. Lucid, Idaho Department of Fish and Game, personal communication 2013). Photographs and genetic

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material were obtained from a male lynx in the Selkirk Mountains in 2010; this animal was not re-detected. Ge­
netic material was obtained from a male lynx in the Idaho Purcell Mountains in 2011 and the same individual
was again detected in 2012 near the Idaho-Montana state line.


Two lynx were recently captured in traps set for other furbearing animals in Idaho: I was released alive in
2012 on the Salmon-Challis National Forest (B. Waterbury, Idaho Department of Fish and Game, personal
communication 2013) and 1 was reported to be misidentified as a bobcat and shot in northern Idaho in 2013
(M. Lucid, Idaho Department of Fish and Game, personal communication 2013).


Northeastern Washington: Lynx are considered a species of greatest conservation need in the state of Wash­
ington. Lynx occurrence, currently and historically, has been documented in the northeastern corner of the
state (McKelvey et al. 2000b). Stinson (2001) stated that the highest lynx harvest in Washington was from Fer­
ry County (Kettle/Wedge) at 35%. Lynx were present and reproducing in the Kettle Mountains through the
 1970s (Stinson 2001), but subsequently were probably over-trapped. Currently, only occasional tracks are ob­
served with no evidence of reproduction in northeastern Washington (Koehler et al. 2008).


Northeastern Oregon and southeastern Washington: Lynx are considered infrequent and casual visitors by the
state of Oregon. Relatively few historical records of lynx occurrence were found in Oregon (McKelvey et al.
2000b). Only 3 recent (1964, 1974, and 1993) specimens are known from Oregon, and all were collected in
anomalous habitats following population peaks in western Canada. The Snake River and Hells Canyon likely
would impede lynx movements between Idaho and northeast Oregon/southeast Washington.


Utah: Lynx have been protected from harvest in Utah since 1974. The species is listed by the state as a Tier 1
species of greatest conservation need.


Relatively few historical records of lynx occurrence were found in Utah (McKelvey et al. 2000b). There are
only 3 museum specimens of lynx from Utah from the early 1900s, and later records are all from northwestern
Utah near the borders with Wyoming and Idaho (McKelvey et al. 2000b). It is unlikely that the La Sal or Abajo
Mountains ever supported a resident lynx population, given the scarcity of records and the absence of snow­
shoe hares (memo from USDA Forest Service dated March 17, 1999). Prior to 2000, the last verified records
of lynx from Utah were in 1977 from physical remains and in 1982 from tracks (McKelvey et al. 2000b). Since
2000, radio-collared lynx reintroduced into Colorado have dispersed into Utah in the northeastern, central,
and southeastern portion of the state (Devineau et al. 2010).


Nevada: Lynx are not believed to have been resident in Nevada either historically or currently. Only 2 museum
specimens exist from Nevada, both collected in I9I6, a year of lynx irruption from their primary range in the
northern boreal forest (McKelvey et al. 2000b).


British Columbia: Apps (2007) modeled probable lynx occurrence in southeastern British Columbia and sug­
gested lynx occur in a discontinuous and highly variable pattern. This supports the notion that the population is
patchily distributed as nodes of several animals persisting in localized core landscapes that anchor the larger
regional population. Trapping and hunting are permitted in the Kootenay Region (southeastern British Colum­
bia, immediately north of northwest Montana and Idaho). The hunting season is from I-31 December with a
bag limit of I. Compulsory reporting of all captured and killed lynx is required in this region. Trapping occurs
on approximately 50 registered traplines with a season from I5 November through I5 February (Ministry of
Forests, Lands, and Natural Resource Operations 20I2). Apps (2007) commented that no lynx had been
trapped in his study area (in the Kootenay Region) in the past I5 years. Between 2000 and 2009, 74 lynx were

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   reported trapped from the registered traplines.


Lynx habitat
   Historical and current lynx records (McKelvey et al. 2000b) from this geographic area occur primarily in the
   spruce-fir forest potential vegetation types (Kuchler 1964, Pfister et al. 1977, Steele et al. 1981, Johnson and
   Simon 1987, Williams et al. 1995). Squires et al. (2010) determined lynx primarily foraged in subalpine fir for­
   ests with low topographic relief (Squires et al. 2013) during winter, in mid- to high-elevation (1,270-1,995 m
   [4,166-6,545 ft]) forests of mature, multi-story conifer with high horizontal cover. These environments sup­
   ported higher-density snowshoe hare populations and provided dense horizontal cover from young trees and
   conifer boughs touching the snow.


   Stand-replacing fire has been a dominant influence historically in the northern Rocky Mountains (Gruell 1983,
   Barrett et al. 1997). Surface fires, avalanches, insects, and forest pathogens have also been important agents of
   disturbance, creating more structural diversity at a smaller scale. Fire regimes in the northern Rocky Mountains
   are extremely complex, reflecting the great variation in climate, topography, vegetation, and productivity
   (Kilgore and Heinselman 1990). In general, the dominant regime in lynx habitat in pre-settlement times was
   long-interval (40-200 years), high-severity, stand-replacing fire in continuous forests of lodgepole pine, spruce,
   and subalpine fir, often with smaller acreages subjected to non-lethal, low-severity fires in the intervals between
   stand-replacing fires (Fischer and Bradley 1987, Losensky 1993, Smith and Fischer 1997).


  Aspen forests occur as scattered inclusions throughout subalpine and montane forests in central and southeast­
   ern Idaho, southern Montana, Utah, and Wyoming. Though common and widely distributed, aspen forests oc­
   cupy a small percentage of the total forested area. Berg et al. (2012) found that some of the highest snowshoe
   hare densities in Wyoming occur in multi-story mixed aspen/spruce-fir forests. Aspen/tall forb community
  types, especially those that include snowberry (Symphoricarpos alba), serviceberry (Amelanchier alnifolia), and
   chokecherry (Prunus virginiana) shrub understories, may be productive habitat for snowshoe hares, grouse, and
   other potential lynx prey.


   Because the Northern Rocky Mountain Geographic Area encompasses such a large and diverse region, descrip­
   tions of vegetation and elevation conditions that provide lynx habitat are presented below by state.


   Montana: Lynx research has been conducted in the Seeley-Swan Valley (Section M332B), Garnet Mountains
   (Section M332B), South Fork of the Flathead (Section M333C), and Cabinet and Purcell Mountains (Section
   M333D; Koehler et al. 1979, Smith 1984, Brainerd 1985, Squires and Laurion 2000, Squires and Ruggiero 2007,
   Squires et al. 2008, Squires et al. 2010).


   The Seeley-Swan study area ranges in elevation from about 1,200-2,100 m (3,900-6,900 ft). Most lynx radiolo­
   cations were in the mid-elevation range of 1,300-1,800 m (4,260-5,900 ft), with a few locations up to 2,100 m
   (6,900 ft). Lynx generally occurred in moist subalpine fir potential vegetation types, above the dry ponderosa
   pine and Douglas-fir potential vegetation types, and below the alpine zone (Squires et al. 2010). Lynx did not
  appear to avoid forest roads or groomed snowmobile routes, and snow penetrability did not appear to be a
  factor in selecting travel routes or capturing prey (Squires et al. 2010). In winter, lynx primarily selected mature
   multi-story stands, primarily composed of mature Engelmann spruce and subalpine fir trees with lesser compo­
   nents of lodgepole pine, Douglas-fir and western larch. Lynx occupied similar areas year round; however, dur­
   ing the summer, lynx shifted toward more use of regenerating forests with abundant small diameter (2.5-8 cm
   dbh [1-3 in]) and pole-sized (8-18 cm [3-7 in] dbh) trees, dense shrubs, and high horizontal cover (Squires et
   al. 2010).

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   The Garnet Range is characterized by relatively moderate, rolling topography, with gentle to moderate slopes
   dissected by steep limestone canyons, mostly covered by coniferous forests. Habitat use by 5 radio collared
   lynx in the Garnet Range occurred in subalpine fir forest associations (Smith 1984). In the Cabinet Mountains,
   2 lynx were studied in the west fork of Fishtrap Creek, which has moderate, rolling topography in the lower
   reaches and steep alpine ridges in the headwaters (Brainerd 1985).


   Wyoming: Ehle and Keinath (2002) described the best contiguous lynx habitat in Wyoming as being in the
   northwestern and western portions of the state. The remainder is highly fragmented, widely dispersed and iso­
   lated by arid shrublands (Meaney and Beauvais 2004). In Wyoming, the primary vegetation that may contribute
   to lynx habitat includes subalpine fir, Engelmann spruce, and lodgepole pine forests at the higher elevations,
   generally 2,000-3,000 m (6,500-9,800 ft). In the Wyoming Range where 2 lynx were radiocollared, topography
   was steep to rolling, with about 20% of the area being non-forested, 20% spruce-fir forests (generally occurring
   on northerly aspects), 10% aspen, and about 10% riparian (Squires and Laurion 2000). The remainder of the
   area was primarily homogeneous stands of lodgepole pine on drier sites. Lynx habitat in Wyoming has a more
   open understory with fewer shrubs compared to lynx-use areas in northern Montana (Squires et al. 2003).


   Idaho: In Idaho, subalpine fir potential vegetation types occur at upper elevations. Engelmann spruce potential
   vegetation types occur on very wet sites, on steep northerly aspects where snow accumulates, and along
   streams and valley bottoms (Steele et al. 1981). Large stands of fire-induced lodgepole pine commonly domi­
   nate much of the subalpine fir series in central Idaho (Steele et al. 1981). Undergrowth is variable in these
   stands, ranging from tall shrub layers of huckleberry (Vaccinium spp.) and menziesia (Menziesia ferruginea) to
   low, depauperate understories of grouse whortleberry (Vaccinium scoparium) or heartleaf arnica (Arnica cordifo-
   lia). Sites that are capable of producing dense, tall understory shrubs may be capable of supporting snowshoe
   hares and lynx.


   Utah: In the Uinta Range, Engelmann spruce, white fir, subalpine fir, and lodgepole pine forests occur at the
   higher elevations, 2,250-3,250 m (7,300-10,500 ft). Quaking aspen dominates over much of the landscape on
   mountain slopes, but snowshoe hares use aspen stands much less than conifer stands in this area (Wolfe et al.
   1982), probably because they lack dense understory cover (Hodges 2000b). Where intermixed with spruce-fir
   and lodgepole pine stands, aspen stands may contribute to lynx habitat.


   Northeastern and southeastern Washington, northeastern Oregon: Subalpine fir potential vegetation types
   where lodgepole pine is a major seral species (Powell et al. 2007), generally between 1,250-2,000 m (4,100­
   6,600 ft), may contribute to lynx habitat.


Connectivity of lynx populations and habitat
  Maintaining connectivity with Canada and between mountain ranges is an important consideration for this geo­
   graphic area. Squires et al. (2013) combined resource selection, step selection, and least-cost path models to
   predict movement corridors for lynx in the northern Rocky Mountains. Connectivity between lynx habitat in
   Canada and that in the conterminous United States appears to be facilitated by only a few putative corridors
   that extend south from the international border.


   In Wyoming, Squires and Oakleaf (2005) documented a male lynx crossing the 2-lane Highway 181/191 about
   16 km (10 mi) east of Bondurant, Wyoming. This male lynx traveled over 500 km (310 mi) during the summers
   of 2000 and 2001 (Squires et al. 2003) and crossed the highway 4 times when moving between the Wyoming
   Range and the Wind River Range. The same lynx continued north on an exploratory movement and crossed
   Highway 26 on Togwotee Pass on a foray west of Yellowstone National Park.

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   The Kettle Mountains east of Highway 21 near Sherman Pass, Washington historically supported a population
   of lynx. However, the area was trapped heavily in the 1960s and 1970s and no reproduction has been docu­
   mented since (Koehler et al. 2008). Recent surveys have only documented occasional single tracks, which sug­
   gest lynx have not re-established a population. The north end of the Kettle Crest is bisected by the low-
   elevation dry forest of the Kettle River valley and Highway 3 in British Columbia, potentially affecting the con­
   nectivity of habitat and potential movements from Canada. Maintaining connectivity on both sides of the bor­
   der may be important to provide genetic exchange for lynx in northeastern Washington.


Snowshoe hare population distribution and habitat
   Montana: Historically, western Montana has supported one of the most robust lynx populations in the lower
   48 states, indicating there is sufficient prey base to maintain a self-sustaining lynx population. Snowshoe hares
   have been well documented throughout the Rocky Mountains of Montana from the Canadian border through
   the Yellowstone area. Adams (1959), Koehler et al. (1979), Malloy (2000), Griffin (2004), and Mills et al. (2005)
   estimated density and relative abundance of snowshoe hares throughout Montana. Hare densities generally
   were low, ranging between 0.1-0.6 hares/ha (0.04-0.24 hares/ac).


   Hares occupy mixed-conifer forests, dominated by lodgepole pine, Engelmann spruce, Douglas-fir, western
   larch, and subalpine fir. Differences in hare abundance have been correlated with stand age within study sites in
   Montana (67 and 50-60 years old, respectively; Koehler et al. 1979, Zimmer 2004). Griffin and Mills (2004)
   reported strong differences in demographic rates among hare populations inhabiting patches with distinct habi­
   tat attributes (i.e., mature versus young, and closed versus open). In western Montana, Griffin and Mills (2004)
   found the highest snowshoe hare densities in regenerating forest stands with high sapling density and in uncut,
   mature multi-story stands with abundant saplings.


   Zimmer (2004) documented the influence of deep snow on feeding patterns of hares. Lodgepole pine was the
   most heavily browsed conifer species by free-living hares, composing 59% of the overall diet in southern Mon­
   tana.


   Wyoming: Few data are available on historical distributions of snowshoe hare within Wyoming. Berg (2010)
   estimated an average density of 1.57 hares/ha (0.63 hares/ac) with a range of 0.07-4.82 hares/ha (0.03-1.95
   hares/ac) in a study area in the southern portion of the Greater Yellowstone Area within the Bridger Teton
   National Forest, encompassing portions of the Absaroka, Gros Ventre, Wind River, Salt River, and Wyoming
   Ranges. The average density was higher than reported from several other areas of the contiguous United
   States, British Columbia, Labrador, and Quebec (Hodges 2000b, de Bellefeuille et al. 2001, McKelvey et al.
   2002, Murray et al. 2002, Griffin 2004, Ausband and Baty 2005, Newbury and Simon 2005, Potvin et al. 2005,
   Homyack et al. 2006, Sullivan et al. 2006, Hodges and Mills 2008, McCann et al. 2008, Zahratka and Shenk
   2008). Within 7 distinct potential vegetation types identified as suitable for supporting snowshoe hare, Berg
   (2010) and Berg et al. (2012) found snowshoe hare density to be greatest in multi-story thick spruce-fir forests,
   although hare densities were still high in dense young lodgepole pine stands (30-70-year-old regenerating
   lodgepole pine). Hare densities were lowest in young open lodgepole pine stands (Berg 2010). In comparison
   to the mature, multi-story patches where snowshoe hare density did not increase with increasing stem densi­
   ties, Berg et al. (2012) found hares in the young, regenerating forests increased as stem densities increased.
   Overall, Berg concluded that snowshoe hares preferred dense, structurally diverse stands. These attributes
   were most consistently found on the Bridger-Teton National Forest within older multi-story forests with a
   spruce-fir component. Berg (2010) suggested that hares may demonstrate seasonal shifts in habitat use in west­
   ern Wyoming due to the high degree of fragmentation between suitable habitat patches.


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  Young regeneration stands provide hare habitat over a relatively short period (Zimmer et al. 2008). Berg
   (2010) suggested that older multi-story stands would maintain higher hare densities over time than lodgepole
   pine stands 70+ years post-disturbance. Horizontal cover and tree canopy were the most significant predictors
   of hare density in western Wyoming.


   Idaho: Wirsing et al. (2002) reported hare densities in the Clearwater National Forest that ranged from 0.01­
   0.10 hares/ha (0.004-0.04 hares/ac). Hare distribution throughout the study area was correlated positively with
  the availability of understory cover (Wirsing et al. 2002). Murray et al. (2002) established 615 transects on the
   Idaho Panhandle National Forest and estimated a density of 0.14 hares/ha with a range of 0.12-0.23 hares/ha
   (0.06 hares/ac, range 0.05-0.09 hares/ac). Hare abundance was greatest in habitats containing dense understo­
   ries (Murray et al. 2002).


   In northern Idaho, western red-cedar (Thuja plicata), western hemlock (Tsuga heterophylla) and moist grand fir
   potential vegetation types support snowshoe hares (Murray et al. 2002), although these forest types do not
   appear to support lynx.


   Utah: Estimated hare densities in a study area in northern Utah (Cache County) were about 0.46 hares/ha
   (0.19 hares/ac; Dolbeer and Clark 1975). The population studied did not appear to fluctuate, based on trapping
   records and capture rates during successive years. Snowshoe hares have been reported as absent from the La
   Sal and Abajo Mountains (memo from USDA Forest Service dated March 17, 1999), but there are documented
   populations in the Uinta and Wasatch Ranges (Dolbeer and Clark, 1975, Wolfe et al. 1982)


   Dolbeer and Clark (1975) found snowshoe hares in Utah selected subalpine fir and lodgepole pine with dense
   understory cover over other habitats throughout the year, including aspen, which appeared to offer little un­
   derstory cover for hares, especially in the winter. These findings were similar to Wolfe et al. (1982), who
  found strong correlations between snowshoe hare habitat use and horizontal cover density. Due to the snow
   depth and accumulation in northern Utah (commonly exceeding 1.0 m [3.3 ft]), it was suggested that a thresh­
   old density of horizontal cover must be available between I.0-2.5 m (3.3-8.2 ft) above ground in the understo­
   ry vegetation profile to support hares (Wolfe et al. I982).


   Northeastern Washington: Limited published information is available on snowshoe hares and habitat selection
   in northeastern Washington. Thomas et al. (I997) suggested that stand density and visual cover estimates were
  the best indicators of snowshoe hare habitat use in northeastern Washington. The 2 most important browse
   species were lodgepole pine and Douglas-fir. Low snow accumulation during the winters of I995-I996 (0-6I
   cm [0-24 in]) may have accounted for snowshoe hares’ use of shrubs that normally would be covered by snow
   in winter (Thomas et al. I997).


   Northeastern Oregon and southeastern Washington: Hare populations in northeastern Oregon and southeast­
   ern Washington are not well documented historically. However, snowshoe hares within this region have been
   shown to primarily use subalpine fir habitats where lodgepole pine is a major seral species. Moist grand fir and
   moist Douglas-fir habitats intermixed with subalpine fir habitats are used secondarily.


Human activities and developments specific to the Northern Rockies
   McKelvey et al. (20II) used a variety of climate models to predict snow depth and the persistence of spring
   snow to infer effects of climate change on boreal species, specifically the wolverine. Snow depth and persis­
  tence are predicted to decline throughout the area during the 2Ist century. However, the models predicted
  that large areas of persistent snow would continue to be retained along the Montana-Idaho border and in the

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     Greater Yellowstone area. Idaho is predicted to lose proportionately more of its snow cover than either Mon­
     tana or Wyoming, although there is a large degree of uncertainty associated with future snow conditions in
     Idaho.


     Most climate change models generally predict a warmer and drier climate in this geographic area (Gayton
     2008). With warming climate, fire seasons in the western United States will likely be extended and have higher
     severity, and the total area burned is likely to increase (McKenzie et al. 2004). This may reduce available lynx
     habitat, especially during the winter.


     Precommercial thinning in Montana was shown to reduce snowshoe hare abundance in the short term (Griffin
     and Mills 2007). Forest plans were amended in 2008 to incorporate management direction that would con­
     serve lynx, including direction that will minimize the impacts of thinning in lynx habitat.


     Few highways intersect lynx habitat in this geographic area. State Highway 83 bisects the Swan Valley, but it
     does not appear to impede movement since radiocollared lynx have been documented to cross this highway
     (Squires and Laurion 2000).


     Intense oil and gas development, such as is occurring in the Wyoming Range, may fragment habitat and may
     reduce or isolate already small populations of lynx.


     The states regulate and administer hunting and trapping. Ten lynx have been reported captured in traps set for
     other species since 2000, resulting in at least 4 mortalities. Outreach and education efforts and trapping regula­
     tions are targeted to reduce the potential for incidental trapping and mortality of lynx. For example, in Mon­
     tana, current furbearer trapping regulations (http://fwp.mt.gov/fwpDoc.html?id=56843 ) recommend that traps
     be checked every 48 hours (this is mandatory for wolf trapping http://fwp.mt.gov/fwpDoc.html?id=56685 ). In
     addition, an 8-pound pan tension requirement has been established in 2 trapping districts in western Montana.
     Idaho and Wyoming require that leghold and other live traps be visited at least every 72 hours. Washington
     does not allow body-gripping traps or pursuing animals with dogs. Utah requires trap checks at least every 48
     hours.


     Predator control activities on federal lands are commonly conducted throughout this geographic area, but the
     level of activity is currently lower than historical levels. Such efforts are aimed specifically at the offending ani­
     mal or target species and usually take place outside of lynx habitats, in lower-elevation rangelands. As a result
     of the ban on poisons such as 1080 and adoption of wildlife conservation practices for lynx, predator control
     activities on federal lands conducted by USDA Wildlife Services probably have a low potential to impact lynx.


Cascade Mountain Geographic Area

Geographic extent
     Vegetation and landforms in the Cascade Mountains of Washington have been described by Daubenmire and
     Daubenmire (1968), Franklin and Dyrness (1973), Demarchi (1994), McNab and Avers (1994), and Hann et al.
     (1997), among others. The Cascade Mountains Geographic Area is in the Cascade Mixed Forest-Coniferous
     Forest-Alpine Meadow Province (McNab and Avers 1994). Three sections are described within this province:
     Oregon and Washington Coast Ranges, Western Cascades, and Eastern Cascades. Current (Koehler et al.
     2008, Maletzke et al. 2008) and historical (McKelvey et al. 2000b) records suggest that in the Cascade Moun­
     tains, lynx are found only on the east side of the range in Washington. Thus, the Eastern Cascades section is
     the only section in the Cascade Geographic Area that supports a reproductive lynx population. Lynx habitat is

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   restricted to the subalpine fir potential vegetation type and adjacent habitats.


   Volcanic peaks and glaciation have resulted in relatively steep eastern slopes. Many volcanic peaks are above
   the surrounding topography, some of which are still active. Volcanic ash originally covered the east slope. Ele­
   vations range from sea level to greater than 3,050 m (10,000 ft; McNab and Avers 1994).


Lynx population status and distribution
   Museum records (McKelvey et al. 2000b) verify the presence of lynx in the Cascade Range of Oregon and
   Washington during historical times. However, the distribution of lynx was generally restricted to habitat occur­
   ring east of the Cascade Crest in northern Washington (Stinson 2001). Aubry et al. (2000), McKelvey et al.
   (2000b), and Mowat et al. (2000) reported lynx to be absent or uncommon in wet, coastal forests of western
   North America. Current and historical verified lynx records from the west side of the Cascade Crest in Wash­
   ington or in the Cascade Range of Oregon are extremely rare: 12 from western Washington and 1 from Ore­
   gon. Ten of the 12 records from western Washington were of 1 individual from the Mt. Adams area (McKelvey
   et al. 2000b). Lynx still occur in the north-central Cascades of Washington; Brittell et al. (1989), Koehler
   (1990a), von Kienast (2003), Koehler et al. (2008), Maletzke et al. (2008), and unpublished data on file at the
   Methow Valley Ranger District documented continued occupancy of this area from 1980-2012.


   The National Lynx Survey (McKelvey et al. 1999) was initiated in 1999 to sample lynx habitat across the histor­
   ical range to better understand lynx distribution in the contiguous United States; most survey grids were com­
   pleted in 2002. There were 19 survey grids established in the Washington and Oregon Cascades, each moni­
   tored for at least 3 years. Two of the survey grids had lynx detections: 1 in the northern Okanogan National
   Forest north of Highway 20, and the second (Aubry et al. 2002) was along Highway 20 on the Okanogan-
   Wenatchee National Forest.


   The Okanagan Region in British Columbia lies immediately north of the Cascade Geographic Area. Trapping
   occurs on approximately 25 registered traplines and the region has a compulsory reporting requirement for
   any lynx taken. Trapping and hunting seasons currently are from 15 November through 15 February (Ministry
   of Forests, Lands, and Natural Resource Operations 2012). The hunting bag limit is 1. Between 2000 and 2009,
   82 lynx were trapped. The majority of those were from 5 registered traplines. The other traplines reported 0­
   4 lynx over the 10 year period.


Lynx habitat
   In the Cascade Mountains Geographic Area, subalpine fir potential vegetation types provide lynx habitat
   (McCord and Cardoza 1982, Koehler 1990a, Apps 2000, Aubry et al. 2000, McKelvey et al. 2000b, Koehler et
   al. 2008). Fire, insect outbreaks, and root rot are common disturbance agents in the subalpine zone (McNab
   and Avers 1994). The natural frequency, intensity, and extent of fire are highly variable in the Eastern Cascades
   section.


   Maletzke et al. (2008) described lynx habitat in the Black Pine Basin area of north-central Washington as Engel­
   mann spruce and subalpine fir on slopes <30° at elevations between 1,525-1,828 m (5,000-6,000 ft), and mod­
   erate canopy closure (11-39%). Lodgepole pine is frequently present as a seral species in subalpine fir potential
   vegetation types. The elevations of lynx habitats vary, depending on moisture patterns and temperatures. Sub­
   alpine fir potential vegetation types are generally present above 1,220 m (4,000 ft) on the east side of the Cas­
   cade Mountains (Williams and Lillybridge 1983, Lillybridge et al. 1995). These potential vegetation types gener­
   ally occur in areas with heavy winter snowfalls. Cool, moist Douglas-fir, grand fir, Pacific silver fir, or western
   larch forests, where they are interspersed with subalpine fir forests, may also contribute to lynx habitat.

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     During winter, lynx selected mature multi-story Engelmann spruce and subalpine fir habitats in Washington
     (Koehler et al. 2008, Maletzke et al. 2008). These stands generally had a component of young trees in the un­
     derstory and lower limbs touching the snow (von Kienast 2003, Koehler et al. 2008, Maletzke et al. 2008). Von
     Kienast (2003) reported that lynx generally avoided young (<15 years old) conifer regeneration (primarily
     lodgepole pine) resulting from timber harvest and wildfires that was not protruding through the snow during
     winter. Lynx movements and hunting behavior were associated with mature Engelmann spruce and subalpine
     fir stands, dense understory cover, and high densities (>1 hare/ha [>0.4 hares/ac]) of snowshoe hares
     (Maletzke et al. 2008). Lynx used edges of recently burned areas, recent clear cuts, and forest openings, but
     rarely crossed openings greater than 150 m (500 ft; von Kienast 2003, Maletzke et al. 2008). Forest openings
     and stands dominated by Douglas-fir or ponderosa pine were generally avoided (Koehler et al. 2008, Maletzke
     et al. 2008).


     Koehler and Aubry (1994) and Maletzke et al. (2008) described lynx habitat as generally occurring in areas of
     low topographic relief. Apps (2000) found selection for slope was significant among 3 of 6 radio-collared lynx in
     the southern Canadian Rocky Mountains. Of those 3 animals, 2 selected and 1 avoided <20 percent slopes dur­
     ing the summer, and >40 percent slopes were avoided by all of the lynx during winter. In north-central Wash­
     ington, lynx preferred <30° slopes during winter (Koehler et al. 2008, Maletzke et al. 2008).


Connectivity of lynx populations and habitat
     Connectivity to larger lynx populations in Canada is important to ensure the long-term persistence of lynx
     populations in the United States (U.S. Fish and Wildlife Service 2005). There are no known barriers to move­
     ment between the Cascades in the United States and British Columbia.


     Lynx are highly mobile and able to disperse long distances. It is nevertheless important to maintain connectivity
     between blocks of habitat to support populations and promote genetic exchange. Forest disturbances such as
     large wildfires and timber harvest have affected the current distribution and movement patterns of lynx in
     Washington (Koehler et al. 2008). The juxtaposition of forest disturbance in relation to topographic features
     and the current amount and arrangement of forest vegetation can directly affect habitat connectivity for lynx.


     The North Cascades Highway, Highway 20, bisects lynx habitat in the Cascades Geographic Area, but it is
     closed during the winter (typically late November through mid-April) because of deep snowpack and ava­
     lanches. Much of the lynx habitat is north of the highway, but habitat and lynx are present south of the high­
     way. Surveys in 2000 and 2001 along Highway 20 were designed to determine if lynx crossed the highway dur­
     ing summer months when it was open (Aubry et al. 2002). Lynx were detected on both sides of the highway,
     but the DNA samples were not sufficient to determine whether these were the same or different individuals.
     Apps (2007) reported that lynx in the southern Canadian Rocky Mountains do cross highways, but highways
     can affect movements depending on the highway type and use.


     As it is throughout the range of lynx in the contiguous U.S., maintaining connectivity with Canada is important
     to lynx populations in northern Washington and the Cascade Mountains. Singleton et al. (2002) evaluated land­
     scape permeability for large carnivores in Washington. They reported broad landscape permeability for lynx
     between the Thompson River watershed in British Columbia and the United States portion of the northern
     Cascades. Currently, connectivity appears functional, as lynx dispersal from Washington into Canada was re­
     cently documented. A male lynx radiocollared in 2008 in the Loomis State Forest remained there until late
     winter in 2009, when it dispersed north into Canada toward Hope, British Columbia, and then headed north­
     east toward Kamloops where it appeared to establish a home range just southeast of Kamloops. This individual
     was later trapped and killed in British Columbia, highlighting the need for cooperation and shared management

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   goals across political boundaries.


Snowshoe hare population distribution and habitat
   Snowshoe hares in the Cascade Mountains Geographic Area are found primarily in boreal forests of sub-alpine
   fir and Engelmann spruce, but can also be found in stands that are occasionally interspersed with Douglas-fir,
   lodgepole pine, western larch, and whitebark pine (Walker 2005). Based on pellet counts in north-central
   Washington, Koehler (1990a) reported that snowshoe hare densities were highest in 20-year old lodgepole
   pine stands with 16,320 stems/ha (2,559 stems/ac), in both winter and summer.


   Snowshoe hare pellet densities in Washington were correlated with understory (horizontal) cover, sapling den­
   sity, and medium-size tree density (Walker 2005). Hares were plentiful in both young regenerating forests and
   older multi-story Engelmann spruce and sub-alpine fir forests with dense understories. Structural density and
   the amount of contiguous habitat were important considerations when managing for hares. The landscape mo­
   saic within which snowshoe hare habitat was embedded had the potential to influence snowshoe hare densities
   by affecting movement characteristics and resource availability.


   Lewis et al. (2011) sampled 76 stands that were about 20 ha (49 ac) in size across a study area in northcentral
   Washington. They reported an average density of 0.82 hares/ha (0.33 hares/ac), ranging from 0.03-2.38 hares/
   ha (0.01-0.96 hares/ac). This compares favorably with the estimate by Ruggiero et al. (2000b) that a density of
   at least 0.5 hares/ha (0.2 hares/ac) is required to support a lynx population.


Human activities and developments specific to the Cascades
   McKelvey et al. (2011) used a variety of climate models to predict snow depth and the persistence of spring
   snow during the 21st century to infer effects of climate change on boreal species. The models predicted that
   despite an overall decrease in persistent snow, large areas of spring snow cover will continue to persist in
   northern Washington. The Pacific Northwest is characterized by large amounts of winter precipitation at tem­
   peratures near freezing. Modest increases in temperature due to climate change would cause precipitation to
   fall as rain rather than snow, making its snowpack highly vulnerable to loss. However, perhaps because histori­
   cal snowpack is so deep and extensive in the Pacific Northwest, estimated spring snow cover is not expected
   to be impacted as much by climate change as some other areas such as Idaho.


   Some vegetation management practices, especially thinning in young dense regeneration and reducing overstory
   canopy in mature multi-story spruce-fir forests, have likely had detrimental effects to snowshoe hares and lynx
   in the past. On national forest system lands in the Cascades, the priority for vegetation management is in the
   dry and mesic forests, with minimal treatments in the subalpine fir forests. On state managed forests (Loomis
   State Forest) precommercial thinning in lynx habitat has been conducted.


   Koehler et al. (2008) reported that more than 50% of the lynx habitat in the Chelan and Okanogan Counties
   has burned in the past 2 decades (1990-2010). Increases in the length of the fire season and in the annual area
   burned as a result of climate change (McKenzie et al. 2004) could further reduce available lynx habitat.


   Climate change has increased forest insect infestations within the Cascade Mountains (Carroll et al. 2003, Tay­
   lor and Carroll 2004). Climate change may cause further changes to natural disturbance regimes.


   Lynx habitat in the western portion of the Cascade Mountains Geographic Area is naturally fragmented
   (Koehler et al. 2008). Lewis et al. (2011) reported that landscapes with contiguous snowshoe hare habitat, or
   where patches of hare habitat are surrounded by patches of similar habitat quality, support more snowshoe

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     hares than more fragmented landscapes or where surrounding patches are of poorer quality habitat. Lynx in
     the Black Pine Basin area of northcentral Washington avoided openings, burned areas, and other areas with
     <10% overstory cover (Koehler et al. 2008). While a landscape mosaic is desirable, vegetation management
     projects that create large openings can reduce the quality of snowshoe hare habitat, requiring lynx to travel
     farther and increase energy expenditures when foraging, leading to an increased risk of starvation.


     State Highways 2 and 20 are the only paved highways through lynx habitat in the Cascades Geographic Area.
     Highway 20 is closed because of avalanche hazard during the winter (generally from mid-November through
     March) and is a low-volume highway in the summer. Highway 2 is the southern boundary of known lynx occu­
     pancy. Highway 20 bisects lynx habitat in the United States and Highway 3 in British Columbia bisects habitat to
     the north. There were no known lynx mortalities along either highway in the past 15 years.


     Incidental trapping and illegal shooting of lynx are low risks in the Cascades. Body-gripping traps are not legal in
     Washington (except by permit for “animal problems”), which reduces the risk of mortality if a lynx were to be
     incidentally trapped. The trap check requirement in Washington is 24 hours for non-killing restraint traps. One
     accidental lynx shooting occurred in October 1999 in the Washington Cascades. A lynx was shot by a licensed
     hunter, who mistook it for a bobcat (H. Allen, Washington Dept. of Fish and Wildlife, personal communication
      1999). Since that incident, no illegal or accidental lynx shootings have been reported in this geographic area.




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Chapter 4 - ANTHROPOGENIC INFLUENCES ON LYNX AND LYNX HABITAT


The Lynx Biology Team identified “risk factors” in the 2000 LCAS that were a suite of programs, practices, and
activities with the potential to negatively influence lynx or lynx habitat. The list of risk factors was meant to be
inclusive; and to help ensure that no possible impacts would be overlooked, it was not prioritized.

Since then, substantial new scientific literature on lynx and their habitat has been published. This new information
has improved the understanding of the ecology of lynx across the southern edge of their range, and their respons­
es to various forms of resource management and other human activities (now referred to as anthropogenic influ­
ences). Based on new scientific information, the 2003 listing (Remanded Rule), and professional judgment gained
from experience in managing lynx habitat, we developed a list of anthropogenic influences that may affect lynx and
lynx habitat. By consensus, we grouped these into 2 tiers: those that have the potential to negatively effect lynx
populations and habitat, and those that may affect individual lynx but are not likely to have a substantial effect on
lynx populations and lynx habitat.

Not every possible human activity that could occur in lynx habitat has been examined. Rather, in this chapter we
identify those anthropogenic influences most likely to occur in lynx habitat and for which we have information
indicating how they may affect lynx and lynx habitat. The concepts and approach used here also could be applied
to other activities that are not specifically addressed in this document.

As described in Chapter 2, lynx are highly specialized predators of snowshoe hares, are vulnerable to certain
types of human-induced mortality, and occur at low densities and in small populations throughout their range in
the contiguous United States. These natural history characteristics increase their susceptibility to local extirpa­
tion. These attributes are important drivers of lynx population dynamics, and were considered as we evaluated
the potential impact of the various anthropogenic influences.

The first tier of anthropogenic influences includes climate change, vegetation management, wildland fire and frag­
mentation of habitat. Each of these can directly effect both snowshoe hare and lynx population dynamics. There is
some uncertainty about the rate and magnitude of impacts from climate change, and federal agencies may be lim­
ited in actions that can be taken to ameliorate those impacts. Nevertheless, those impacts will interact with and
perhaps magnify the effects of vegetation management, wildland fire, and fragmentation of habitat.

The second tier of anthropogenic influences include several activities that were previously identified as “risk fac­
tors” in the 2000 LCAS. Subsequent research or management experience have shown that these are not likely to
have substantial effects on lynx or their habitat. The discussion of the anthropogenic influences in the second tier
provides updated information about these relationships.

Some risk factors, including habitat degradation by non-native invasive plant species, development of reservoirs,
conversion to agriculture, and lynx movement and dispersal across shrub-steppe habitats, have been dropped en­
tirely from the revised LCAS. This is because they are now thought to have few or no impacts on lynx or lynx
habitat.

In this chapter, we describe how specific anthropogenic influences could impact lynx via the primary drivers of
their population dynamics: snowshoe hare prey base, direct mortality, and small population effects. This provided
the foundation for development of the conservation measures, which are actions within the authority and jurisdic­
tion of the federal agencies that can be taken to conserve the lynx.

Federal agencies have amended or revised land management plans across much of the range of the lynx to pro­
vide direction to conserve lynx and lynx habitat. Thus the impacts of anthropogenic influences have been substan­
tially reduced. Maintaining consistent and appropriate management direction is important to minimize the impacts,
particularly for the 4 anthropogenic influences included in the first tier.




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First tier of anthropogenic influences

In the first tier are 4 anthropogenic influences that are of greatest concern to the conservation of the lynx. Some
regulations or policy may be in place to minimize impacts on lynx or lynx habitat, but we address them fully here
because by their nature, these anthropogenic influences can directly impact lynx and their snowshoe hare prey.
Chapter 5 contains conservation measures that address vegetation management, wildland fire management, and
fragmentation of habitat. No conservation measures are identified for climate change due to the limited ability of
the federal land management agencies to alter the current trajectory.

Climate change
     Physical and biological systems on all continents and in most oceans are being affected by climate change, espe­
     cially by regional temperature increases (Rosenzweig et al. 2007). Climate change is strongly affecting some
     species and altering many aspects of systems that are related to snow, ice, and frozen ground (Hannah and
     Lovejoy 2003, Root et al. 2003, Harris et al. 2006, Parmesan 2006, Rosenzweig et al. 2007). Inkley et al. (2004)
     and Rosenzweig et al. (2007) predicted that the ranges of wildlife and native plants in North America will gen­
     erally move northward or to higher elevations as temperatures increase.

     Several possible effects of climate change on lynx can reasonably be anticipated. These include: 1) potential
     upward shifts in elevation or latitudinal distribution of lynx and their prey; 2) changes in the periodicity or loss
     of snowshoe hare cycles in the north; 3) reductions in the amount of lynx habitat and associated lynx popula­
     tion size due to changes in precipitation, particularly snow suitability and persistence, and changes in the fre­
     quency and pattern of disturbance events (e.g., fire, hurricanes, insect outbreaks); 4) changes in demographic
     rates, such as survival and reproduction; and 5) changes in predator-prey relationships. In addition, it is possi­
     ble that interactions between these variables may intensify their effects.

     Shifts in distribution. Arctic and alpine ecosystems are expected to be among the most sensitive to climate
     warming (Diaz and Millar 2004). Less snowfall, reduced extent of snow cover, accelerated retreat of most
     mountain glaciers, and earlier spring snowmelt have already been observed across much of the northern lati­
     tudes (Gitay et al. 2002). Results from climate change modeling suggest that snow cover in the contiguous
     United States will be substantially reduced in extent and distribution (McKelvey et al. 2011). From this can be
     inferred a contraction of the range of lynx. In Maine, for example, it is predicted that once annual snowfall de­
     clines below a key threshold of 270 cm/yr (106 in/yr; Hoving et al. 2005), lynx may be displaced by bobcats
     (Jacobson et al. 2009).

     Changes in periodicity of the snowshoe hare cycle. The 10-year cycle that occurs in northern Canada and
     Alaska involves an interaction between lynx, hares, and the hares’ plant resources (Krebs et al. 1995, 2001 a).
     The periodicity of lynx abundance may be triggered by North Atlantic Oscillation (NAO) climate effects
     (Stenseth et al. 1999), with the strength of the trophic interactions varying with region-specific vegetation (e.g.,
     forest-tundra, boreal conifer-deciduous mixed woods) and winter conditions. NAO-determined winter snow
     levels may mediate lynx hunting efficiency, the effects of which then cascade down through snowshoe hares to
     the plants (Stenseth et al. 1999, Krebs et al. 2001 b).

     In Europe, there are indications that the population cycles of voles, grouse, and insects now are breaking
     down, with several lines of evidence implicating climate change as the underlying cause (Ims et al. 2008). The
     geographical borders between cyclic and noncyclic populations are shifting, and the spatial extent of regions
     that have cycles are shrinking. The collapse of cycles in herbivores with high-amplitude population cycles also
     would imply collapses of important ecosystem functions such as pulsed flows of resources and disturbances
     (Schmitz et al. 2003, Ims et al. 2008). A common denominator of cycles that exhibit spatial gradients, such as
     the more pronounced cycle of snowshoe hares in its northern range of North America, is that the cycles ap­
     pear to fade as winters become shorter (Ims et al. 2008). The loss of the hare cycle would likely translate into
     a reduced potential for lynx to expand into new or unoccupied habitat in Canada or the adjoining United
     States.

     Reduction in lynx habitat and population size. Climate change may reduce the extent of deep snow habitats
     selected by lynx. Based on a general circulation model, Kerr and Packer (1998) predicted that lynx would be

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among the 25 mammal species in Canada likely to undergo significant losses of habitat, with accompanying de­
creases in population size. McKelvey et al. (2011) estimated that contiguous areas of spring snow cover would
become smaller and more isolated throughout the Columbia, Upper Missouri, and Upper Colorado Basins, with
greatest losses at the southern periphery, which likely is an indicator of the trajectory of lynx habitat. Accord­
ing to Carroll (2007), climate change could result in dwindling of potential lynx habitat in the northern Appala­
chians to small areas in the Canadian Maritime Provinces.

Forests in the northeast are predicted to significantly change in the next 100 years under every emissions sce­
nario (Prasad et al. 2007). The extent of oak and pine forest types is projected to increase and expand into cen­
tral and possibly northern Maine (Iverson et al. 2008). Maine and the northeast forest region are predicted to
lose much of their spruce-fir and mixed-conifer forest, including upland spruce-fir forest and lowland spruce
flats (Prasad et al. 2007, Ollinger et al. 2008, Tang and Beckage 2010). Warming climate and selective logging
for conifers has already resulted in an increase of the deciduous forest in northern Maine (Seymour 1992),
which is contributing to fragmentation of lynx habitat (Simons 2009).

Galatowitsch et al. (2009) estimated that by 2069, average annual temperatures in Minnesota will increase 3° C
(5.4° F) with a slight increase (6%) in precipitation. Minnesota forests will experience warmer summers with
more frequent and longer droughts. Most simulations for the Great Lakes-St. Lawrence Basin predict reduced
precipitation and lower lake levels (Inkley et al. 2004). Similarly, most climate models predict that the northern
Rockies and the Greater Yellowstone ecosystem will be warmer and drier, with increased risk of bark beetle
epidemics and forest fires in susceptible age classes. The recent mountain pine beetle outbreak in British Co­
lumbia, for example, was associated with warmer winters, longer growing season, and fire suppression (Gayton
2008).

An increasing occurrence and persistence of drought, along with associated insect outbreaks and wildfires,
could rapidly and dramatically affect the distribution, amount, and composition of lynx habitat. Cohen and Miller
(2001) suggested climate change could alter both the nature and extent of wildfire and beetle outbreaks. With
warming climate, fire seasons in the western United States will likely be extended and the total area burned
may increase (McKenzie et al. 2004). Westerling et al. (2006) predicted that warmer springs could increase the
frequency and duration of wildfires, which in turn could reduce the resistance of surviving trees to bark beetle
attack. Raffa et al. (2008) suggested that increasing temperatures and forest homogeneity likely will result in
bark beetle outbreaks that exceed natural disturbance thresholds; this may set the landscape for additional out­
breaks since there will be even-aged forests over a larger area.

Westerling et al. (2006) compiled information on large wildfires in the western United States from 1970-2004;
large wildfire activity increased suddenly and markedly in the mid-1980s, with higher large-wildfire frequency,
longer wildfire durations, and longer wildfire seasons. The greatest increases occurred in mesic, middle- and
high-elevation forest types (such as lodgepole pine and spruce-fir) in the northern Rocky Mountains. Fire exclu­
sion has had little impact on natural fire regimes of these higher-elevation forest types in this area; rather, cli­
mate appears to be the primary driver of forest wildfire risk. Large wildfires were strongly associated with in­
creased spring and summer temperatures and an earlier spring snowmelt.

Changes in demographic rates. Incremental changes in climate would affect lynx directly or indirectly through
effects on prey abundance. Annual weather patterns are known to affect survival and reproduction of snow­
shoe hares, which in turn would influence lynx productivity and survival. Reductions in lynx population size and
the amount of available habitat possibly could decrease the likelihood of persistence of smaller subpopulations
and successful genetic interchange between subpopulations (Gonzalez et al. 2007).

Changes in predator-prey relationships. Climate change is likely to negatively affect lynx habitat and its ability to
support lynx and snowshoe hares, although the rates of change and magnitude of effects are difficult to predict.
It seems likely that snowshoe hares, which have shorter generation times than lynx, would respond to habitat
changes more quickly than would the lynx themselves.

A characteristic of the snowshoe hare is its seasonal pelage coloration, turning white during the winter from a
brown coat in the other seasons. This pelage change appears to be triggered by day length (Severaid 1945). A


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     shift in the duration of snow cover could result in a mismatch of the pelage of snowshoe hares with the back­
     ground color of its environment, increasing its vulnerability to predation. Over time, natural selection pres­
     sure could be expected to correct the mismatch.

     Reduced snow depth, condition, and persistence may diminish the competitive advantage of lynx relative to
     bobcats and coyotes. This could also increase the likelihood of habitat overlap with wolves and mountain li­
     ons, increasing predation risk to lynx and competition for snowshoe hare prey.

     Federal land management agencies have limited ability to alter the trajectory or to ameliorate the effects of
     climate change. Assessments should be conducted to consider possible ways to assist with adaptation to cli­
     mate change. Chapter 6 of this document identifies research needs, which include the need for additional
     work to more accurately predict specific effects of climate change on lynx.

Vegetation management
   Stand structure, composition, and arrangement are important elements of habitat for snowshoe hares and
   lynx. Vegetation management practices can have beneficial, neutral, or adverse effects on lynx and snowshoe
   hare habitat and populations, and the duration of effects varies. Effects of vegetation management on snow­
   shoe hare habitats have been studied across the range of the species (Conroy et al. 1979, Sullivan and Sullivan
    1988, Koehler 1990b, Thomas et al. 1997, Homyack et al. 2Oo5, Robinson 2006, Griffin and Mills 2007, Berg
     2010, Ivan 2011 a, Lewis et al. 2011, and McCann and Moen 2011). Effects on lynx have been investigated by
     Koehler (1990a), Koehler and Brittell (1990), Fuller et al. (2007), Homyack et al. (2007), Moen et al. (2008),
     Vashon et al. (2008b) and Squires et al. (2010).

     Vegetation management occurs across the range of the lynx and can directly affect important habitats and
     prey. Management activities uninformed by consideration of negative impacts to the species were identified as
     being of greatest potential concern to lynx conservation (Federal Register, July 3, 2003, vol. 68, no. 28, pp.
     40076-40101).

     Historically, the dominant natural disturbance processes that created early-successional stages within the
     range of the lynx were wind events, fire, and insect and disease outbreaks (Kilgore and Heinselman 1990,
     Heinselman 1996, Veblen et al. 1998, Agee 2000, Seymour et al. 2002, Lorimer and White 2003). In forests of
     the Northeast Geographic Area, wind, fire, insects, and diseases were predominant natural disturbance agents,
     while fire, insects, and diseases were predominant in the Great Lakes Geographic Area and across the west­
     ern United States.

     After disturbances, forests generally develop through several stages described by Oliver (1980) as “stand initi­
     ation,” “stem exclusion,” “understory reinitiation,” and “old growth.” Stand dynamics, particularly within-stand
     competition for light, nutrients, and space, determine how forests grow and respond to intentional manipula­
     tions and natural disturbances (Oliver and Larson 1996). The frequency and severity of disturbances influence
     which species will dominate in a stand after the disturbance event. The stand initiation stage, once the trees
     have established and grown tall enough to protrude above the snow, may provide snowshoe hare and lynx
     habitat. During the stem exclusion stage, the tree crowns lift and lower branches self-prune, thus growing
     above the reach of snowshoe hares. As the stand moves into understory reinitiation and old-growth structural
     stages, food and cover may again become available to support snowshoe hares.

     Commercial timber management of conifer forests traditionally has been designed to: reduce tree density and
     promote tree growth (e.g., precommercial thinning), especially in young regenerating forests; improve growth
     and vigor of mature trees (e.g., commercial thinning, thinning from below); reduce the vulnerability of com-
     mercially-valuable trees to insects and disease (e.g., commercial thinning, group selection); and harvest forest
     products (e.g., regeneration harvest). Timber management practices may mimic natural disturbance processes
     but often are not an exact ecological substitute. Some practices, such as use of herbicides to suppress hard­
     wood regeneration, do not have an historical analogue. Timber harvest may differ from natural disturbances
     by:
         •    Removing most standing biomass from the site, especially larger size classes of trees, and down logs,
             which alters microsite conditions and nutrient cycling;


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    •   Creating smaller, more dispersed patches and concentrating harvest at lower elevations in mountain­
        ous regions and on more nutrient rich soils, resulting in habitat fragmentation;
    •   Causing soil disturbance and compaction by heavy equipment, which may result in increased water
        runoff and slower tree growth at the site; or
    •   Giving a competitive advantage to commercially-valuable tree species and reducing the structural com­
        plexity of the forest through the application of harvest, planting, thinning, and herbicide treatments.

Stem density and snowshoe hare density are directly and positively correlated (Conroy et al. 1979, Sullivan and
Sullivan 1988, Koehler 1990b, Koehler and Brittell 1990, Thomas et al. 1997, Hodges 2000a, Mowat et al.
2000, Homyack et al. 2006). Vegetation management that promotes high stem density and dense horizontal
cover can increase snowshoe hare densities (Keith and Surrendi 1971; Fox 1978; Conroy et al. 1979; Wolff
1980; Parker et al. 1983; Livaitis et al. 1985; Bailey et al. 1986; Monthey 1986; Koehler 1990a, b; Robinson
2006; Fuller et al. 2007; Homyack et al. 2007; Scott 2009; McCann and Moen 2011).

Where the objective is to provide snowshoe hare habitat by creating additional early-successional forest con­
ditions, management considerations include selecting areas that are capable of, but not currently providing,
dense horizontal cover (e.g., stem exclusion structural stage), designing the appropriate size and shape of
treatment units, retaining coarse woody debris, and maintaining high stem densities in regenerated forests
(Koehler and Brittell 1990, Homyack et al. 2004, Bull et al. 2005, Fuller and Harrison 2005, Ivan 2011 a).

Precommercial thinning of young, dense regenerating conifers is generally designed to increase the growth of
selected trees by removing competing trees of the same species or shrubs and trees of other species (Plate
4.1; Daniel et al. 1979; Homyack et al. 2005, 2007). Reducing the density of sapling-sized conifers in young re­




        Plate 4.1. Precommercial thinning, as seen in the stands on the left of the photo, reduces
        dense horizontal cover and results in lower snowshoe hare density.

generating forests to increase the growth of certain selected trees promotes more homogeneous patches and
reduces the amount and density of horizontal cover, which is needed to sustain snowshoe hares (Sullivan and
Sullivan 1988, Hodges 2000b, Griffin and Mills 2004, Ausband and Baty 2005, Griffin and Mills 2007, Homyack
et al. 2007, Ellsworth 2009). Precommercial thinning has been shown to reduce hare numbers by as much as 2-
and 3-fold (Griffin and Mills 2004, 2007; Homyack et al. 2007) due to reduced densities of sapling and shrub
stems and decreased availability of browse. Griffin and Mills (2007) reported that, if their results were repre­


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     sentative, the practice of precommercial thinning could significantly reduce snowshoe hares across the range of
     lynx.

     There are anecdotal examples of precommercially thinned stands that subsequently "filled in" with understory
     trees. Some have suggested this could be a technique to extend the time that understory trees and low limbs
     provide the dense horizontal cover that constitutes snowshoe hare habitat. The duration between time of
     thinning and regrowth to a height providing winter snowshoe hare habitat would likely vary by tree species,
     each having different regenerative capacities that could be influenced by a variety of local factors (e.g., topo­
     graphic relief, moisture, and mineral and organic content of the soil; Baumgartner et al. 1984, Koch 1996). Bull
     et al. (2005) reported that the slash and coarse woody debris remaining after precommercial thinning provided
     both forage and cover for snowshoe hares up to a year following treatment. However, Homyack et al. (2007)
     found that snowshoe hare densities were reduced following precommercial thinning for 1-11 years post­
     thinning. They further suggested that after precommercial thinning, the stands did not regain the structural
     complexity in the understory that would be needed to support snowshoe hare densities to the level that were
     present pre-treatment. At this time, no other data are available to quantify the re-establishment of snowshoe
     hare habitat and over what time period, or the response by snowshoe hares, as compared with sites that were
     not precommercially thinned, so this remains an unproven management technique. As an alternative to stand­
     ard precommercial thinning (i.e., complete thinning resulting in a homogeneous patch), Griffin and Mills (2007)
     suggested retaining at least 20% of the patch in untreated clumps of about ^ ha (^ ac), which would maintain
     hare habitat in the short term. However, Lewis et al. (2011) found that landscapes with patches of high-quality
     habitat surrounded by similar vegetation supported more hares than did more fragmented landscapes com­
     posed of high-quality patches in a matrix
     of poorer-quality habitat. Further long­
     term studies of modified thinning meth­
     ods are needed.

     Uneven-aged management (single tree
     and small group selection) practices can
     be employed in stands where there is a
     poorly developed understory, but have
     the potential to produce dense horizon­
     tal cover for snowshoe hares. Removal
     of select large trees can create openings
     in the canopy that mimic gap dynamics
     and help to maintain and encourage mul­
     ti-story attributes within the stand.

     If removal of large trees opens the cano­
     py to the extent that the patch functions
     as an opening, this may discourage use
     by lynx (Plate 4.2; Koehler 1990a, von
     Kienast 2003, Maletzke 2004, Squires et
     al. 2010). Removal of larger trees from
     mature multi-story forest stands to re­
     duce competition and increase tree
     growth or resistance to forest insects
     may reduce the horizontal cover (e.g.,
     boughs on snow), thus degrading the
     quality of winter habitat for lynx
     (Robinson 2006, Koehler et al. 2008,
     Squires et al. 2010). Similarly, removing
     understory trees from mature multi­
     story forest stands reduces the dense
     horizontal cover selected by snowshoe Plate 4.2. Wildfires and vegetation management techniques such as
     hares, and thus reduces winter habitat    clearcutting create openings in the forest canopy. Large openings may
                                               be avoided by lynx, especially during the winter.

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for lynx (Koehler et al. 2008, Squires et al. 2010).

Current favorable habitat conditions for snowshoe hare and lynx in Maine resulted from large-scale salvage
cutting following a spruce budworm outbreak in the 1970s and 1980s (Hoving et al. 2004). After salvage har­
vest of the affected trees, a portion of the area was sprayed with herbicide to reduce deciduous competition
(Scott 2009). This created favorable habitat conditions for snowshoe hares and lynx. After the passage of the
Maine Forest Practices Act of 1989, various forms of partial harvesting have since replaced clearcutting as the
predominant form of forest management in northern Maine. Partial harvested stands result in a wide range of
residual stand conditions, but many have lower conifer stem densities and higher hardwood density than re­
generating clearcuts (Robinson
2006). On average, partial harvest­
ed stands supported about 50% of
the hare densities observed in re­
generating clearcuts (Robinson
2006).

Fuels treatments commonly are
designed to remove understory
biomass and reduce stem density in
forests that are outside their his­
torical range of variability, and to
clear fuels adjacent to human de­
velopments for safety or to protect
investments (Plate 4.3). These
types of projects are becoming
more common. In the western
United States, projects designed to
restore forests to a condition more
representative of the historical
range of variability are generally
targeted to drier, lower-elevation
forests affected by fire suppression
(Hessburg et al. 2005), which are
not lynx habitat. Lynx habitats in
higher-elevation spruce-fir forests
have been less affected by past fire
suppression and are mostly within
the historical range of variability
(Agee 2000). Fuels treatments may
be needed to protect human com­
munities and capital improvements
by reducing the intensity and rate
of spread of a fire, affording control
actions with a higher probability of
success and providing safer condi­
tions for fire fighters. By removing
or reducing the understory and
ladder fuels to meet those objec­
tives, dense horizontal cover im­
portant to snowshoe hares is re­
duced and habitat value is dimin­
ished for hares and lynx.
                                         Plate 4.3. Fuels management projects reduce ladder fuels in mature multi­
Prescribed burning is a technique        story forests, reduce horizontal cover, and can degrade winter lynx habitat, as
used to reduce tree stem density         shown in these comparison photographs.


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     and reduce fuels. In the Great Lakes
     Geographic Area, prescribed burning is
     used in lynx habitat primarily as a tool
     to reduce fuels (including from blow­
     down) and mimic a more natural fire
     regime in pine forest types (Plate 4.4).
     In these instances there is a short-term
     (10-30 years) impact on snowshoe hare
     habitat. In the western United States,
     prescribed fire for ecosystem restora­
     tion is most applicable to the dry pon­
     derosa pine and Douglas-fir forests that
     are not lynx habitat. Because spruce-fir
     forests are generally composed of thin­
     ner-barked trees that are easily killed
     even with light fire, this technique is not
     used frequently in most lynx habitat.

     Biomass removal for energy production
     targets the removal of dead trees, log­
     ging slash, and small-diameter trees and
     shrubs. Biomass removal is similar to
     fuels treatments in reducing cover and
     habitat for snowshoe hares.

Wildland fire management
     Fire and other natural disturbance pro­
     cesses historically played an important
     role in maintaining a mosaic of forest
     successional stages that provides habitat
     for both snowshoe hare and lynx (Fox
      1978, Bailey et al. 1986, Quinn and
     Thompson 1987, Koehler and Brittell
      1990, Poole et al. 1996, Slough and
     Mowat 1996). The response of snow­
     shoe hare and lynx in their use of habi­
     tat after fires follows a somewhat pre­
     dictable pattern. For the first few years
     after a burn, there appears to be a neg­
     ative correlation between lynx use and
     the amount of area burned (Fox 1978). Plate 4.4. Prescribed fire treatments are designed to decrease fuels, but
     This short-term effect is likely a re­     also have the effect of reducing snowshoe hare habitat in the short term
     sponse to a reduction of snowshoe hare (10-30 years in Minnesota), as shown in these comparison photographs.
     populations, reduced cover, and possi­
     bly also to increased competition from coyotes in the now-open habitat (Stephenson 1984, Koehler and
     Brittell 1990). The mid-term (10-40 years post-fire) effect on vegetation in a burned area is development of
     small tree and shrub cover sufficient for hare populations to reoccupy the area. The length of time varies
     depending on tree species, potential vegetation, fire severity, and the presence of re-sprouting broadleaf
     species. Where broadleaf species are denser, hare re-occupancy occurs more quickly (within 3-12 years).
     Hare population density again decreases as the conifer tree canopy develops and shades out the understo­
     ry. Forest gap processes, such as tree blowdown, insect infestations, and outbreaks of disease, follow a sim­
     ilar pattern (Agee 2000).

     Across the range of lynx, vegetation dynamics differ somewhat as a result of the natural fire frequency and
     intensity. For example, lynx habitat in the northeastern boreal forests had very long fire-return intervals of


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   up to 500 years (Agee 2000). The Great Lakes boreal forests tended to have shorter fire-return intervals of 50
   -150 years (Heinselman 1996). In much of the Rocky Mountains, the fire regime was more variable in lynx hab­
   itat, with both frequent (35-100 years) stand-replacing or mixed-severity fires, and infrequent (200+ years)
   stand-replacement fires (Hardy et al. 1998). The Cascade Mountains were dominated historically by infrequent
   (70-150 years) stand-replacing fire regimes (Agee 2000). Disturbance interval and fire severity vary by cover
   type, with xeric pine types such as lodgepole or jack pine typically experiencing more frequent and more se­
   vere fires than mixed-conifer types and spruce/fir.

   In the Cascades Geographic Area wildfire has been a significant disturbance influence in lynx habitat. Fires
   burned more than 50% of suitable lynx habitat in Okanogan County since 1994 (Koehler et al. 2008). In 2006,
   the Tripod Fire in the Meadows burned 600 km2 (20 mi2) of the most contiguous lynx habitat in Washington.

   Gayton (2008) reported that recent mountain pine beetle epidemics in British Columbia were the result of a
   changing climate that contributed to warmer winters and longer growing seasons. Cohen and Miller (2001) and
   McKenzie et al. (2004) have suggested climate change could affect the extent of bark beetle outbreaks and ex­
   tent and fire seasons and total area burned in the west.

   Land management agencies began effective fire suppression with the advent of aircraft support approximately
   70 years ago. Over time, continued fire suppression altered vegetation mosaics and species composition. In
   jack pine forests of the Great Lakes region, fire suppression changed stand composition and successional path­
   ways (Agee 2000). In the western United States, a shift to uncharacteristically severe and intense wildfires has
   occurred recently in lower-elevation forests (Quigley et al. 1996, Morgan et al. 1998). However, fire suppres­
   sion in areas with a history of infrequent fires, as is typical of cool moist forest types such as spruce-fir forests,
   has probably not had much impact (Habeck 1985, Agee 1993, Schoennagel et al. 2004, Whitlock 2004). This is
   true across much of the boreal forest in the western United States.

   The current goals for vegetation management on federal lands in the United States are to restore ecosystem
   health, ecological processes, and forest structure, composition, and function appropriate to the site (e.g.,
   USDA Forest Service 2010). Westerling et al. (2006) suggested fuel management and ecological restoration
   practices will likely not reverse current wildfire trends; large increases in wildfires in the western United States
   since 1970 resulted from increased temperatures and earlier spring snowmelt. Particularly in the western Unit­
   ed States, ecosystem restoration is primarily focused in the dry and mesic forest types at lower elevations, ra­
   ther than in lynx habitat, and includes reestablishing frequent, low-intensity fire in those systems. Applying eco­
   system restoration across a landscape may reduce the risk of uncharacteristic large, stand-replacing fires oc­
   curring in the lower-elevation forest types, and thereby prevent their spread into adjacent lynx habitat.

   After large dead trees fall to the ground, they provide cover and may enhance lynx foraging habitat in the short
   term and potential denning habitat in the longer term, depending on post-disturbance stand conditions. Stand­
   ing snags also may provide sufficient vertical structure and cover to allow lynx to traverse long distances (>l
   km [>0.6 mi]) across burned habitat (Maletzke 2004).

   Similar to vegetation management, wildland fire management may either diminish, enhance, or sustain the den­
   sity and distribution of snowshoe hare prey resources and lynx habitat, depending on the design and implemen­
   tation of programs and actions.

Fragmentation of habitat
   We use the term “fragmentation” to describe human-caused alterations of natural landscape patterns that re­
   duce the total area of habitat, increase the isolation of habitat patches, and impair the ability of wildlife to effec­
   tively move between those patches of habitat. Fragmentation may be permanent, for example by converting
   forest habitat to residential or agricultural purposes, or temporary, for example by creating an opening but
   allowing trees and shrubs to regrow. Fragmentation of habitat accentuates the viability risk inherent in a small
   population and increases its vulnerability to local extirpation. The combination of human-caused and natural
   disturbances may exacerbate fragmentation effects.

   Lynx habitat in the contiguous United States is inherently patchier than in the northern boreal forest with its


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     extensive forests, gentle topography, and relatively consistent winter snow conditions (Aubry et al. 2000). The
     pronounced topographic relief in the mountains of the western United States restricts lynx habitat to a rela­
     tively narrow elevational band.

     A variety of anthropogenic activities can result in increased habitat fragmentation at the home range or broad­
     er scale. For example, permanent or temporary removal of forest cover, development of highways and associ­
     ated infrastructure, and intensive minerals or energy development can fragment lynx habitat.

     Within their home ranges, lynx strongly select for habitat patches that enhance their foraging opportunities
     (Moen et al. 2008, Vashon et al. 2008a, Fuller and Harrison 2010, Squires et al. 2010). Analysis of winter
     movements of lynx in Maine indicated that lynx responded to habitat heterogeneity at a coarse scale within
     their home ranges, by maximizing their access to snowshoe hare prey (Fuller and Harrison 2010). In Montana,
     lynx selected homogeneous spruce-fir patches that supported snowshoe hares and avoided recent clearcuts
     or other open patches (Squires et al. 2010). Similarly, in Washington, Lewis et al. (2011) reported that land­
     scapes in which hare habitat was more contiguous, or surrounded by a mosaic of similar habitat quality, sup­
     ported more hares than did more fragmented landscapes.

     Both lynx and hares are influenced by the spatial arrangement of preferred habitat. In Maine and northern
     Washington, landscapes where habitat was more contiguous supported more snowshoe hares than landscapes
     that were more fragmented (Simons 2009, Lewis et al. 2011). Several studies (Koehler 1990a, Mowat et al.
     2000, von Kienast 2003, Maletzke 2004, Squires and Ruggiero 2007, Squires et al. 2010) have reported that
     lynx avoid large openings, especially during winter. Mowat et al. (2000) suggested that relatively few snowshoe
     hares use large openings, and consequently lynx spend little time hunting in these areas. Koehler (1990a) spec­
     ulated that vegetation management prescriptions that result in distance to cover >100 m (328 ft) may change
     lynx movement and use patterns until such time as sufficient reestablishment of forest vegetation occurs.
     Opening size can also influence seedling regeneration and stocking densities (Kreyling et al. 2008).

     Fragmentation of the naturally patchy pattern of lynx habitat in the contiguous United States can affect lynx by
     reducing their prey base and increasing the energetic costs of using habitat within their home ranges. Buskirk
     et al. (2000a) identified direct effects of fragmentation on lynx to include creation of openings that potentially
     increase access by competing carnivores, increasing the edge between early-successional habitat and other
     habitats, and changes in the structural complexities and amounts of seral forests within the landscape. At some
     point, landscape-scale fragmentation can make patches of foraging habitat too small and too distant from each
     other to be effectively accessed by lynx as part of their home range. Maintaining preferred habitat patches for
     lynx and hares within a mosaic of young to old stands in patterns that are representative of natural ecological
     processes and disturbance regimes would be conducive to long-term conservation.

     Highways typically follow natural features such as rivers, valleys, and mountain passes that may have high value
     for lynx in providing habitat or connectivity. Various studies have documented lynx crossings of highways. A
     male lynx in western Wyoming was documented to have successfully crossed several 2-lane highways during
     exploratory movements (Squires and Oakleaf 2005). In Colorado, lynx successfully and repeatedly crossed
     major highways, including I-70 (J.Squires, personal communication 2012; Ivan 2011 b, c, 2012). However, in Al­
     berta, Canada, high road densities, human activity, and associated developments appeared to reduce the habi­
     tat quality based on decreased occupancy by lynx (Bayne et al. 2008). Apps et al. (2007) found lynx were 13
     times less likely to cross the Trans-Canada Highway relative to random expectation, but only 2.2 and 3.1
     times less likely to cross Highway 93 and Highway 1A, respectively, compared to random expectation.

     Highways pose a risk of direct mortality to lynx and may inhibit lynx movement between previously connected
     habitats. If lynx avoid crossing highways, this could lead to a loss of effective habitat within a home range and
     reduced interaction within a local population (Apps et al. 2007). Lynx and other carnivores may avoid using
     habitat adjacent to highways, or become intimidated by highway traffic when attempting to cross (Gibeau and
     Heuer 1996, Forman and Alexander 1998). As the standard of road increases from gravel to 2-lane or 4-lane
     highways, traffic volumes and the degree of impact are expected to increase. Four-lane highways, such as the
     interstate highway system, commonly have fences on both sides, service roads, parallel railroads or power
     lines, and impediments like "Jersey barriers" that make successful crossing more difficult, or impossible, for


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             Plate 4.5. Jersey barriers in the medians or along the shoulders of highways and fenced areas
             adjacent to highways may impede movement of lynx between habitat patches.

    wildlife (Plate 4.5). Alexander et al. (2005) suggested traffic volumes between 3,000 and 5,000 vehicles per day
    may be the threshold above which successful crossings by carnivores are impeded.

    Between 2000 and 2011, 27 lynx were reported to have been killed on roads (both paved and unpaved) in
    Maine (Vashon et al. 2012), 4 in Minnesota (U. S. Fish and Wildlife Service 2012), 1 in Idaho and 1 in Montana
    (K. Broderdorp, U.S. Fish and Wildlife Service, personal communication 2012). Between 1995 and 2011, 15
    lynx were reported killed on British Columbia highways (British Columbia Wildlife Accident Reporting System
    2012).

    Translocated animals may be more vulnerable to highway mortality than resident lynx (Brocke et al. 1990),
    because they often move extensively after their release and are unfamiliar with their surroundings. In the Adi­
    rondack Mountains of New York, an attempt to reintroduce lynx failed and 18 of 37 mortalities of translocat­
    ed animals were attributed to road kills (Brocke et al. 1990). Over a 7-year period in Colorado, 13 of 102
    translocated lynx were killed on highways (Devineau et al. 2010). Traffic volumes on Colorado highways
    where the 13 lynx mortalities occurred were estimated to range from about 2,300 to >25,000 vehicles per day
    (K. Broderdorp, personal communication 2012).

    Coordination of management across international, federal, state, county, and private land boundaries is essen­
    tial to minimize fragmentation. Connectivity to source populations in Canada is considered critical to persis­
    tence of populations in most parts of the range in the United States (Federal Register Vol. 68 pp. 40076­
    40101, Squires et al. 2013).


Second tier of anthropogenic influences


The following 6 anthropogenic influences are placed in the lower tier, indicating that they are judged to have less
impact on lynx and lynx habitat or are the responsibility of agencies other than the federal land management agen­
cies. Regulations that are already in place may have reduced the impacts on lynx, or the nature of the activity con­
fers a lesser impact.

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Incidental trapping
   Like most felids, lynx are very vulnerable to trapping and snaring and can be easily overexploited (Mech 1980,
   Carbyn and Patriquin 1983, Parker et al. 1983, Ward and Krebs 1985, Bailey et al. 1986, Quinn and Thompson
     1987, Slough and Mowat 1996). In Canada during a snowshoe hare decline, rates of trapping mortality of lynx
     were positively related to average pelt value, and appeared to be additive to nontrapping mortality (Brand and
     Keith 1979).

     State wildlife management agencies regulate the trapping of furbearers. Trapping and snaring of lynx is currently
     prohibited across the contiguous United States. Incidental trapping or snaring of lynx can occur in areas where
     regulated trapping for other species, such as wolverine, coyote, fox, fisher, marten, bobcat and wolf, overlaps
     with lynx habitats (Plate 4.6; Mech 1973, Carbyn and Patriquin 1983, Squires and Laurion 2000, U.S. Fish and
     Wildlife Service unpublished data 2011, U. S. Fish and Wildlife Service 2oI2, Vashon et al. 2012).


     Lynx that were captured in the United States for research projects have subsequently been killed in traps or
     snares in Canada (Moen 2009,
     Vashon et al. 2012). In Maine
     from 2000-2012, 59 lynx were
     reported captured in traps set
     for other furbearers (snares
     were not legal), of which at
     least 6 were mortalities
     (Vashon et al. 2012). In Minne­
     sota during the same time peri­
     od, 22 lynx were reported cap­
     tured in traps and snares, of
     which at least 12 were killed
     (U.S. Fish and Wildlife Service
     2oI2). In Montana, 10 lynx
     were reported trapped, of
     which at least 4 died. Two lynx
     were trapped in Idaho, I in
     2012 (B. Waterbury, Idaho De­
     partment of Fish and Game,
     personal communication 2013)
     and I in 2013 (M. Lucid, Idaho
     Department of Fish and Game,
     personal communication 2013),
      I of which died. Lynx were also
                                        Plate 4.6. Trapping for lynx is not legal in the contiguous United States. However,
     incidentally trapped and snared
                                       traps set in lynx habitat that target other furbearing species, such as fishers, coy­
     in New Brunswick and Nova
                                       otes, wolverine, and bobcats, can result in an incidental capture of lynx.
     Scotia where they are a pro-
     tected species. These figures reflect the reported captures only.

     The total number of mortalities due to incidental trapping is unknown. Moen (2009) investigated the proportion
     of radiocollared animals that were represented in the total number reported to FWS in Minnesota. In compari­
     son to incidental shooting and vehicle collisions, proportionately fewer mortalities of non-collared lynx were
     reported due to incidental trapping, suggesting that trap-related mortalities may be underreported (Moen 2009).

     Although many incidentally trapped lynx were reported to have been released, the physical condition of the re­
     leased animals and the effect on animal fitness are unknown. Depending on environmental conditions and the
     types of traps used, a substantial portion of lynx caught in foothold traps may experience injuries and foot freez­
     ing (Mowat et al. 1994, Nybakk et al. 1996, Kolbe et al. 2003). Some trap-related injuries (e.g., dislocations, frac­
     tures, mild freezing) are difficult to detect in lynx in the field (Mowat et al. 1994). Injuries and mortality rates are
     greatest to lynx incidentally caught in snares and Conibear traps.



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  Injuries and mortalities related to incidental trapping can be minimized through various techniques. Avoiding
  areas where lynx are present, avoiding use of suspended flags or sight-attractants near traps, avoiding drag sets
  and anchoring traps with short chains (Mowat et al. 1994) and multiple swivels, using padded foothold traps or
  traps with offset jaws (Olsen et al. 1988, Houben et al. 1993, Association of Fish and Wildlife Agencies 2011),
  employing boxes or other devices to exclude lynx from Conibear traps (U.S. Fish and Wildlife Service 2011),
  and trapping when temperatures are above -8° C (18° F; Mowat et al. 1994) are recommended. Daily checking
  of traps can minimize freezing injuries and starvation. Several states including Maine, Minnesota, and Montana
  have implemented special regulations to reduce the likelihood of incidental capture of lynx in traps set for other
  furbearers.

  State wildlife agencies have effectively used trapper outreach such as training, DVDs, and mailings, as a tool to
  avoid or minimize incidental take of lynx. Some states also have protocols to quickly respond to lynx in traps
  (e.g., 24-hour hotline) and have trained personnel ready to evaluate trapped lynx and assist with release or re­
  habilitation.

  No conservation measures to address incidental trapping are included in this document because trapping is reg­
  ulated by the states.

Recreation
  Trends in recreation. Cordell et al. (2009) compared the results of national recreation surveys conducted dur­
  ing 1982-1983, 1994-1995, 1999-20o1, and 2005-2009. In terms of both the number of people and percentage
  of population, participation in outdoor recreation has continued to grow in the United States. Over the years,
  walking outdoors has been the most popular activity, with 194 million participants currently. Activities gaining
  more than 50 million participants between 1982-83 and 2005-09 were viewing or photographing wild birds (an
  increase of 287%), attending outdoor sports events (an increase of 74%), and day hiking (an increase of 210%).
  Downhill skiing increased by 4.4% to 14.8 million participants, and snowmobiling increased by 3.5% to 8.7 mil­
  lion participants. Cross-country skiing declined by about 5.8% over the same period. Social trends may have
  cycles that are influenced by economic conditions, technology changes, population growth, cultural evolution,
  and other factors, making it difficult to project future trends.

  Mechanisms of effects. Our understanding of the effects of outdoor recreation on lynx and their habitat is in­
  complete. The effects, if any, may depend on the type of activity and the context within which it occurs. Mecha­
  nisms through which recreational activities could impact lynx may include loss of habitat, reductions in habitat
  availability due to disturbance, or changes in competition for snowshoe hare prey.

        Habitat loss. Construction or expansion of developed areas such as large ski areas and 4-season resorts,
        as well as smaller recreational sites like nordic ski huts or campgrounds, may directly remove forest cov­
        er. Such removal in lynx habitat could decrease prey availability, affect lynx movement within home rang­
        es, or result in a more fragmented landscape.

        Disturbance. Few studies have examined how lynx react to human presence. Some anecdotal information
        suggests that lynx are quite tolerant of humans, although given differences in individuals and contexts, a
        variety of behavioral responses to human presence may be expected (Staples 1995, Mowat et al. 2000).
        Preliminary information from winter recreation studies in Colorado indicates that some recreation uses
        are compatible, but lynx may avoid some developed ski areas (J. Squires, personal communication 2012).

        Some wildlife species have been found to be more sensitive to disturbance when bearing and rearing
        young than in other times of the year. Olson et al. (2011) reported they approached 8 dens of females;
        half of the females moved their dens within 4 days, while the other half did not move dens for at least 20
        days following disturbance. Olson et al. (2011) noted that lynx dens were located in more remote areas
        and unlikely to be disturbed by humans. Frequent movement of kittens from natal dens to 1 or more ma­
        ternal dens is normal behavior exhibited by lynx even in the absence of human disturbance (J. Squires,
        personal communication 2012).

        Changes in competition for snowshoe hare prey. Packed trails created by snowmobiles, cross-country skiers,


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          snowshoe hares, and other predators might serve as travel routes for potential competitors and preda­
          tors of lynx, especially coyotes (Plate 4.7;
          Bider 1962, Ozoga and Harger 1966, Mur­
          ray and Boutin 1991, Koehler and Aubry
           1994, Murray et al. 1995, and Buskirk et al.
          2000a). Unique morphological differences
          between coyotes and lynx would appear to
          spatially segregate these species by snow
          conditions (Murray and Boutin 1991, Lit-
          vaitis 1992), with coyotes at a disadvantage
          in deep, soft snow due to their high foot­
          load (the ratio of body mass to foot area;
          Murray et al. 1994). Buskirk et al. (2000a)
          hypothesized that the natural spatial segre­
          gation of lynx and coyotes in winter could
          break down where human modifications to
          the environment allow coyotes to access
          deep snow areas.

          The strength of this hypothesis rests on 2
          primary assumptions: a) that the presence Plate 4.7. Snow may be compacted by recreational activities.
          of compacted snow resulting from certain Continually compacted trails as a result of grooming may provide
          recreational activities leads to increased      access into areas with deep snow for other predators such as
          coyote use of or access to lynx habitat;        coyotes.
          and b) that such increased use or access
          reduces prey availability to lynx or increases interference interactions. Some studies suggest that coyotes
          select for snow conditions that are shallower, more supportive, and characterized by low sinking depth
          (Murray and Boutin 1991, Thibault and Ouellet 2005). Coyote use of more supportive snow may reduce
          the relatively high energetic cost of travel in and avoidance of deep snow conditions (Crete and Lariviere
          2003).

          Studies of coyote use of compacted snowmobile trails have yielded variable results. In Montana, Kolbe et
          al. (2007) snow-tracked coyotes and found that although they did use snowmobile trails, they did not
          travel closer to these trails than randomly expected. Rather, coyotes adapted to deep snow conditions by
          selectively using habitats with shallower and more supportive snow (Bunnell et al. 2006, Kolbe et al.
          2007), corroborating observations made by others (Murray and Boutin 1991, Crete and Lariviere 2003,
          Thibault and Ouellet 2005, Burghardt-Dowd 2010). Further, coyotes in the Kolbe et al. (2007) study did
          not use compacted roads any more than uncompacted roads, suggesting that coyotes may have used
          roads because they provide a “cleared travel corridor” whether they are compacted or not.

          In contrast, the distribution of coyotes in Utah and Wyoming appeared to be influenced by proximity to
          compacted snowmobile trails in deep, powdery snow areas (Bunnell et al. 2006, Burghardt-Dowd 2010).
          Bunnell et al. (2006) observed more coyote activity along trails compacted by snowmobiles than those
          that were not. Burghardt-Dowd (2010) applied methods used by Kolbe et al. (2007) in western Wyoming
          and similarly found that coyotes selected shallower snow when off compacted trails than randomly ex­
          pected. However, coyotes in her study area also traveled closer to compacted snowmobile trails than
          would be expected. The seemingly contradictory results from Kolbe et al. (2007) and Burghardt-Dowd
          (2010) might be attributable to differences in snow penetrability between the 2 geographic areas. Average
          snow penetrability measured using the same method was higher in northwestern Wyoming (Burghardt-
          Dowd 2010) than in Montana (Kolbe et al. 2007), making coyote movement in the absence of artificially
          compacted snow potentially more energetically costly in Wyoming. Based on these studies, it appears that
          snow column density and the number of freeze/thaw events in different regions may influence coyote
          movements and habitat selection (Burghardt-Dowd 2010). That is, snow penetrability in the region may
          determine whether or not snowmobile trails influence coyote movement patterns in lynx habitats
          (Bunnell et al. 2006, Kolbe et al. 2007, Burghardt-Dowd 2010).


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      Regarding the second assumption, if snow compaction assists coyote movement during winter, does this
      result in reduced prey for lynx? Coyotes are found throughout the majority of the boreal forest ecosys­
      tem (Bekoff and Gese 2003) including areas inhabited by lynx (O’Donoghue et al. 2001, Kolbe et al. 2007,
      Burghardt-Dowd 2010). Unlike lynx, coyotes demonstrate strong prey- and habitat-switching abilities
      (Buskirk 2000). In the Yukon, coyote and lynx winter diets overlapped most during a peak in hare densi­
      ties and least during periods of low hare densities (O’Donoghue et al. 2001).

      In Maine, hares represented 37% of the winter diet of coyotes in a study on the Maine eastern coast
      (Major and Sherburne 1987), outside of lynx habitat. Litvaitis and Harrison (1989) reported that snow­
      shoe hares composed 39% of the winter diet of coyotes in a western Maine study in lynx habitat. Howev­
      er, there is no indication that lynx were present in this study area at the time of the study, making it diffi­
      cult to infer whether or not competition between coyotes and lynx might have occurred.

      In Montana, coyotes primarily scavenged ungulate carrion, and killed snowshoe hares at only 3 of 88 doc­
      umented feeding sites (Kolbe et al. 2007). Dowd and Gese (2012) analyzed 470 coyote scats and 24 lynx
      scats (from 5 individual lynx) in northwestern Wyoming and reported that coyotes scavenged primarily
      on mule deer or elk (Cervus elaphus) carrion in winter; only 3.5% of scats contained remains of snowshoe
      hares during winter. As expected, lynx preyed mostly on snowshoe hares in winter, with 85% of prey
      items consisting of snowshoe hares. Thus in both Montana and Wyoming, there was not a significant die­
      tary overlap during winter between these species. In Wyoming, the potential for competition between
      lynx and coyotes would be most likely to occur during the fall when coyotes appear to increase predation
      on snowshoe hares (Burghardt-Dowd 2010).

      Existing information suggests that some low level of competition for prey could occur naturally between
      lynx and coyotes. However, this is apt to vary spatially or temporally depending on overall prey availabil­
      ity and composition. Research that could conclusively demonstrate and quantify the effects of competition
      would be challenging due to numerous confounding factors.

Likely effects of specific winter recreational activities on lynx.
       Ski areas and 4-season resorts. More than 50 ski areas exist throughout the range of the lynx in the contig­
       uous United States. Most ski areas are located on north-facing slopes, where ample snow conditions pro­
       vide for extended ski/snowboard recreational seasons. In the western states, many of these landscapes
       feature spruce-fir forests.
       While ski resorts occupy a
       small proportion of the
       landscape, spruce-fir for­
       ests provide important sta­
       ble habitat for snowshoe
       hares and lynx at the
       southern extent of their
       range. In winter, alpine and
       Nordic skiing and snow­
       boarding are the primary
       uses. Most of these resorts
       offer year-round recrea­
       tion, with summer activities
       typically including hiking
       and mountain biking.

      Ski resort development
      may fragment the forested
      landscape (Plate 4.8). One
      ski run is often separated     Plate 4.8. Ski resorts and associated human developments may fragment forest
      from the next only by          landscapes by removing cover, reducing snowshoe hare abundance, and impeding
      small inter-trail forest is­   lynx movement.


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           lands. Ski runs often are intermixed with other open areas such as open or gladed bowls, rock outcrops,
           or barren tundra ridges. Ski resorts that are built or expanded in lynx habitat may impact lynx by remov­
           ing forest cover, reducing the snowshoe hare prey base, and creating or increasing human disturbance in
           or near linkage areas.

           There is limited information on lynx behavior and habitat use in and around ski areas. Lynx have been
           known to incorporate smaller ski resorts within their home ranges, but may not utilize the large resorts.
           Preliminary information from an ongoing study in Colorado suggests that some recreation use may be
           compatible, but lynx may avoid some areas with concentrated recreation use. In some areas, lynx habitat
           may be limited and concentrated in the ski area development footprint (J. Squires, personal communica­
           tion 2012).

           Snowmobile warming huts and Nordic ski huts. Most backcountry ski hut sites are primitive in nature. Some
           facilities may have utilities, summer road access, and on-site storage for grooming equipment and fuel.
           Use by snowmobile clubs and the general public is often focused or concentrated around these sites.
           Many have developed trail systems that loop around the site or provide access to other remote areas.

           These facilities are generally located along designated cross-country ski and snowmobile routes. Users
           compact the snow along the route to and from the huts and in the immediate vicinity. Off-trail travel has
           the potential to create larger areas of compacted snow. However, as indicated above, this local snow
           compaction is short term and not likely to change the competitive interactions between lynx and coy­
           otes.

           Devel^ped campgrounds. Typically these are single-season summer facilities that might provide limited win­
           ter use, and generally supply such amenities as water and holding tanks for sewage disposal. Access could
           be further facilitated through the plowing of roads. When located in lynx habitat, the effects might be
           similar to those described for Nordic ski huts and snowmobile huts.

Minerals and energy exploration and development
  Leasable minerals. Activities associated with exploration and development of leasable minerals could affect lynx
  habitat by changing or eliminating the native vegetation and contributing to habitat fragmentation. Development
  of a high density of wells, as is typical of coal-bed methane development (e.g., 1 well per 2-4 ha [5-10 ac]),
  could affect lynx by directly removing habitat. The development of associated roads, powerlines, and pipelines
  to facilitate exploration and development could also result in a loss of lynx habitat and contribute to fragmenta­
  tion of habitat. In some areas, for example in the Wyoming Range, extensive oil and gas development is occur­
  ring within lynx habitat.

     Locatable minerals. Only a fraction of the historical number of mines is operating today; those that continue to
     operate do so with more stringent environmental protection measures. However, in some parts of the United
     States, minerals exploration and new development appear to be on the rise. Activities associated with explora­
     tion and development of locatable minerals could affect lynx habitat by changing or eliminating the native vege­
     tation, and by contributing to habitat fragmentation. Amount of impact can be variable depending on the size of
     the associated mining operation or development. Locatable minerals are extracted through both open pit and
     sub-surface mines with potential habitat alteration ranging from tens to thousands of hectares. In some instanc­
     es, such as larger mining operations, land exchanges are conducted to consolidate private ownership of the sur­
     face above a deposit prior to mine development. Depending on lands exchanged this could retain lynx habitat in
     public ownership, but could still result in a net loss of habitat. Development of road and railroad access to facili­
     tate exploration and development could also directly impact lynx habitat, contribute to fragmentation, facilitate
     increased competition as a result of snow-compacted routes, and result in direct mortality. Despite these po­
     tential impacts, mining exploration and development is generally anticipated to affect only a small portion of
     lynx habitat in the contiguous United States.

     Salable minerals. In general, salable minerals are found close to the surface. During exploration activities, equip­
     ment is moved to the site and a number of test pits are dug or holes drilled to determine the quality of materi­
     al. If desired minerals are found in suitable quantity, then vegetation is removed and materials are excavated.


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  Areas developed for salable minerals can vary in size from a single truck load to tens of acres. Impacts to lynx
  could include the potential alteration or removal of lynx habitat, increased fragmentation, and the potential for
  human-caused mortality from road development.

  Wind energy. Wind energy development and associated transmission lines in lynx habitat is increasing across
  the nation. Facilities are located on ridge tops or other areas exposed to consistent wind. The construction of
  wind facilities including access roads may result in loss of lynx habitat and increased fragmentation from perma­
  nent forest clearings. Noise and human activity associated with operation of wind facilities would likely continue
  through the life of the project, which may exceed 20 years.

  Utility corridors. Utility corridors contain developments such as overhead or buried powerlines and gas pipe­
  lines, and often are located within or adjacent to existing road rights-of-way. Utility corridors potentially could
  have short- or long-term impacts to lynx habitats, depending on location, type, vegetation clearing standards,
  and frequency of maintenance. Those that are extensively cleared of vegetation and maintained in a low struc­
  ture condition, likely equate to a permanent habitat loss. When associated with highways and railroads, utility
  corridors may further widen the right-of-way. Utility corridors may facilitate human access into previously re­
  mote areas.

Illegal shooting
    Lynx can be mistakenly shot by legal hunters or illegally killed by poachers. The actual magnitude of shooting
    mortality is unknown. In Canada, incidents were reported by Saunders (1963 b), Parker et al. (1983), and Slough
    and Mowat (1996). In Maine, 5 lynx were reported shot (Vashon et al. 2012). In Minnesota, I of 17 radiocol­
    lared lynx that are known to have died was shot (Moen 2009); a total of 6 lynx were reported shot over about
    a I0-year period in that state (U.S. Fish and Wildlife Service 20I2). Two lynx were reported poached by lion
    hunters in Montana, and I lynx was reported shot in Washington (U.S. Fish and Wildlife Service 200I). In the
    first I0 years of the reintroduction project in Colorado, Devineau et al. (20I0) reported that I4 of I02 (I4%) of
    lynx mortalities were attributable to illegal shooting, with another 5 that were probably shot.

  No conservation measures were developed to address illegal shooting. Misidentification errors can be reduced
  by disseminating information about where lynx occur and providing education to hunters about the characteris­
  tics that can be used to distinguish lynx from bobcats. This is being done by state wildlife agencies.

Forest/backcountry roads and trails
  This section addresses transportation and distribution systems on public lands. Forest and backcountry roads
  are typically low-speed (<56kph [<35 mph]), single- or double-lane gravel or paved roads. Extensive (>600 km)
  backtracking studies found that lynx did not avoid gravel forest roads (Squires et al. 20I0). Trails are typically
  narrow routes with a native surface; there is no information to suggest that trails have negative impacts on lynx.

  Construction of roads results in a small reduction of lynx habitat by removing forest cover. In some instances,
  vegetation along less-traveled roads provides good snowshoe hare habitat, and lynx may use the roadbed for
  travel and foraging (Koehler and Brittell I990). Similar to McKelvey et al. (2000d), Squires et al. (20I0) conclud­
  ed that forest roads with low vehicular or snowmobile traffic had little effect on lynx seasonal resource­
  selection patterns in Montana. In Maine, Fuller et al. (2007) documented lynx traveling on roads (unplowed dur­
  ing winter), but determined that roads and their associated edges were selected against within home ranges.
  Lynx may have exhibited negative selection for road edges because these areas were associated with the lowest
  density of conifer saplings and hare abundance compared to all other stand types.

  Squires et al. (2008) reported that lynx denned farther from all roads compared to random expectation. Lynx
  occupy dens in early May when many forest roads are still impassable by wheeled vehicles due to persistent
  snowdrifts and wet, muddy roads; snowmobiles no longer used the roads because of intermittent and unpre­
  dictable availability of sufficient snow (Squires et al. 2008). They concluded that lynx did not avoid the subset of
  roads that were open to wheeled vehicle travel. Rather, the observed avoidance of roads was more a function
  of the correlation of roads and landscape pattern; fewer roads were located in denning habitat and higher road
  density occurred along forest edges and in managed stands, which lynx avoided (Squires et al. 20I0).



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  In Minnesota, Moen et al. (2010b) found that lynx selected for roads during long-distance movements. Roads
  may not have been essential to these movements, but lynx appeared to benefit energetically from the use of
  these linear features.

  There have been no documented mortalities on low-use forest roads in Washington; however, several have
  occurred in Maine and Minnesota. The private forest roads in Maine have a higher traffic volume and faster
  speeds than many national forest road systems in lynx habitat. Twelve of 27 lynx mortalities on roads in Maine
  between 2000 and 2011 occurred on forest roads (Vashon et al. 2012). In Minnesota, between 2000 and 2011,
  2 lynx were killed on backcountry railroads, and 2 on unpaved forest roads (U.S. Fish and Wildlife Service
  2012). Backcountry roads also provide human access into lynx habitat where incidental trapping or illegal
  shooting can occur.

Grazing by domestic livestock
  Grazing by domestic sheep, goats and cattle is common in the western United States. There is little scientific
  information available about dietary overlap with, or competition between, livestock and snowshoe hares, or the
  response of snowshoe hares to livestock grazing. If there were significant forage competition, this could have an
  indirect impact on lynx by reducing its prey base.

  As discussed in Chapter 2, the summer diet of snowshoe hares is dominated by herbaceous food including
  forbs, grasses, and leaves of shrubs. The winter diet is restricted to woody browse, including smaller-diameter
  twigs, branches, small stems and evergreen needles of shrubs and trees (Adams 1959, Wolff 1978, Koehler
   1990a, Hodges 2000a). The habitats used by snowshoe hare that are most likely to be affected by livestock
  grazing are riparian willow and aspen communities.

  High-elevation riparian areas dominated by willows have been shown to provide important summer and fall
  habitat for lynx in Colorado (Shenk 2008). In Wyoming, Berg and Gese (2012) found hare use during the sum­
  mer of small patches of forest surrounded by non-forest vegetation containing willow. Overbrowsing by do­
  mestic livestock or wild ungulates that altered the structure or composition of the native plant community, par­
  ticularly by impacting willows, could negatively affect snowshoe hare habitat.

  Overall, grazing or browsing by domestic livestock on federal lands is unlikely to reduce the snowshoe hare
  prey base or have a substantial effect on lynx. Grazing/browsing could have some localized effects on high-
  elevation willow communities or aspen stands if not managed appropriately.




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                                Chapter 5- CONSERVATION STRATEGY


Approach to development of conservation measures

The following conservation measures are intended to apply to lynx habitat on federal lands. The assessment con­
tained in the previous chapters addressed all aspects of lynx ecology and comprehensively considered potential
lynx responses to various anthropogenic influences, in order to provide a full context for federal management ac­
tions. The conservation measures in this chapter are focused on those programs and activities under the jurisdic­
tion of the federal agencies.


In all geographic areas, some lynx habitat falls within state and private lands. In the Northeast Geographic Area,
lynx habitat in Maine occurs almost entirely on privately-owned industrial forest lands. Guidelines have been devel­
oped for use by private landowners who may wish to manage their lands in a manner that benefits lynx. Various
examples are available; the Maine guidelines are available at: http://www.fws.gov/mainefieldoffice/PDFs/Canada%
20lynx%20habitat%20management%20guidelines%20for%20Maine%209.13.07.pdf.


We used current knowledge about lynx, their primary prey (snowshoe hares) and basic principles for maintaining
or restoring native ecological processes and patterns to develop the conservation measures. The information and
the standards and guidelines contained in the 2000 edition of the LCAS were reviewed in light of new information
on lynx and snowshoe hares, with emphasis on peer-reviewed published information. An important change from
the 2000 edition of the LCAS is that separate objectives and conservation measures were developed for core areas
and secondary/peripheral areas (as identified in the recovery outline, U.S. Fish and Wildlife Service 2005), rather
than applying the same guidance throughout mapped lynx habitat. The intent is to assist managers in prioritizing
conservation efforts.


We identified conservation measures that address those anthropogenic influences identified and described in Chap­
ter 4 that are within the authority and jurisdiction of federal agencies. This set of conservation recommendations
may not cover all possible actions, in all locations across the broad range of the lynx. The measures may not be
applicable in all settings. The unique circumstances of individual projects or settings will be considered during pro­
ject analysis and design. If a particular project would result in different effects on lynx than would be expected in a
more typical setting, then the measures can and should be adjusted as needed to achieve the desired objectives for
lynx conservation.




Lynx Analysis Units

Lynx Analysis Units (LAUs) are intended to facilitate analysis and monitoring of the effects of management actions
on lynx habitat. LAU boundaries are not to be adjusted for individual projects, but must remain constant to be ef­
fective for their intended purposes of planning and monitoring.


LAUs are a tool to guide management that will support a reproductive population of lynx in core areas. It is not
necessary to delineate LAUs in secondary/peripheral areas.


LAUs do not depict actual lynx home ranges, but should approximate the size of a female’s home range and con­
tain year-round habitat components. Females have smaller home ranges than males and are more restricted in

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their movements during the period of kitten dependency. Maintaining good quality and distribution of denning and
foraging resources within a LAU will help to assure survival and reproduction by adult females, which is critical to
sustain the overall lynx population.


Certain conservation measures are applied across a LAU to encourage well-distributed lynx habitat throughout the
landscape. In some cases, project impacts will need to be assessed across 2 or more LAUs to fully address direct,
indirect, and cumulative impacts of particular actions. Naturally-occurring events such as lightning-ignited stand­
replacing wildfires may create change across many adjoining LAUs.


Lynx habitat mapping and the delineation of LAUs should be completed using criteria specific to each geographic
area. Primary vegetation will include those forest types necessary to support lynx survival and reproduction. Be­
cause lynx are highly mobile, it is recognized that other vegetation types when intermixed with the primary vegeta­
tion may also be used by lynx. However, these are only considered to contribute to lynx habitat where they are
associated with the primary vegetation in that geographic area.


As stated above, the size of the LAU reflects female lynx home range size in the geographic unit. A sufficient
amount of lynx habitat must be present within the LAU to support a female lynx. For example, in the western
United States, it appears that at least 26 km2 (10 mi2) of primary vegetation (e.g., spruce/fir) must be present.


The arrangement of habitat within the LAU should take into consideration the daily movement distances of resi­
dent females. When delineating LAUs, small patches of primary vegetation located beyond daily movement distanc­
es could be discarded or incorporated into a neighboring LAU. Since the LAU represents a hypothetical female
home range, and is the basis for analysis, it can be larger and contain more lynx habitat than an actual home range.


Lynx habitat was identified using criteria described in the 2000 LCAS. In some areas, better information on identify­
ing lynx habitat is currently available. Where new vegetation databases will improve identification of lynx habitat,
we encourage updating maps. Where information in new maps suggests LAUs need adjusting, coordinate changes
with FWS.




Core areas and secondary/peripheral areas

The recovery outline (U.S. Fish and Wildlife Service 2005) stratified lynx habitat into 3 categories: core, secondary,
and peripheral areas (Fig. 3.1). The Southern Rockies was identified as a “provisional” core area because of the un­
certain status of the reintroduced population. Here we have treated core and provisional core areas the same, and
use only the term core area.


Core areas are places where long-term persistence of lynx and recent evidence of reproduction have been docu­
mented. Based on historical lynx occurrence information (McKelvey et al. 2000b), recent research (e.g., Hoving
2001, Squires et al. 2003, von Kienast 2003, Maletzke 2004, Fuller et al. 2007, Burdett 2008, Koehler et al. 2008,
Vashon et al. 2008a, Devineau et al. 2010, and Squires et al. 2010), results from the National Lynx Survey (K.
McKelvey, unpublished data), and snow tracking surveys (Plate 5.1), evidence of persistence and reproduction of
lynx in the core areas has been confirmed. Delineation of core areas may be refined in the future if supported by
new information.


The contribution of lynx occurring outside of core areas to population dynamics and persistence within core areas
is unclear. It has been suggested that secondary and peripheral areas might contribute to lynx persistence by sup-

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     Plate 5.1. Lynx tracks in the snow are readily detected when lynx are present in an area. Putative bobcat
     and lynx tracks on the left photo show how lynx can more easily travel across soft snow. Back-tracking
     can be used to locate hair or scat samples for DNA analysis.


porting successful dispersal or exploratory movements. Lynx habitat in secondary/peripheral areas appears to be
inherently more patchy and less productive than in core areas.


Historical information suggests that lynx were much less likely to occupy these areas over time, and many records
appear to have a time lag following cyclic irruptions of lynx populations in Canada. We do not anticipate that sec­
ondary/peripheral areas will support home ranges and reproduction over time. We speculate that the amount and
quality of habitat required to support an independent adult or subadult disperser is less than is necessary to sup­
port reproduction and sustain a local population. During an incursion of lynx from the north, it is possible that
some individuals could survive in secondary/peripheral areas for a time and later colonize vacant habitat in a core
area. In this way, these areas could be important in maintaining or enhancing genetic diversity.


Conservation measures for core areas and for secondary/peripheral areas are presented separately below.


Relationship of the LCAS to land management plans

Management direction to conserve lynx and lynx habitat has been adopted into land management plans by federal
agencies across most of the range of lynx in the contiguous United States. This direction was developed in accord­
ance with the National Forest Management Act (NFMA) of 1976 and the Federal Land Policy and Management Act
(FLPMA) of 1976, which require public review and comment as part of the decision-making process.



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In accordance with the NFMA, projects must be consistent with the management direction contained in the forest
plan. The NFMA regulations (36 CFR 219.22) require the responsible official to consider the best available science
in plans.


The conservation measures in the LCAS provide updated information that will complement and be useful in imple­
menting land management plans, and may serve to inform future updates or refinements of existing plans.


Relationship to designated critical habitat

In the Remanded Rule, the FWS described lynx habitat as boreal forest where there are cold winters with deep
snow (Federal Register Vol. 68 pp. 40076-40101). Lynx habitat has been further characterized in Chapter 2 as bo­
real forest with gentle rolling topography, dense horizontal cover, deep snow, and moderate to high (>0.5 hares/ha
[0.2 hares/ac]) snowshoe hare densities.


In 2009, the FWS designated critical habitat for lynx (Federal Register Vol. 74 No. 36 pp. 8616-8701). In the 2009
rule, the primary constituent element of lynx habitat was defined as boreal forest landscapes supporting a mosaic
of differing successional forest stages and containing:
         •    Presence of snowshoe hares and their preferred habitat conditions, which include dense understories of
              young trees, shrubs or overhanging boughs that protrude above the snow, and mature multi-story stands
              with conifer boughs touching the snow surface;
         •    Winter snow conditions that are generally deep and fluffy for extended periods of time;
         •    Sites for denning that have abundant coarse woody debris, such as downed trees and root wads; and
         •    Matrix habitat (e.g., hardwood forest, dry forest, non-forest) that occurs between patches of boreal for­
              est in close juxtaposition (at the scale of a lynx home range) such that lynx are likely to travel through
              such habitat while accessing patches of boreal forest within a home range.


LAUs contain a mix of lynx habitat as well as the matrix as defined in the 2009 rule designating lynx critical habitat.
Since the matrix provides limited snowshoe hare resources or other life requisites for lynx, no conservation
measures were developed that specifically address management of matrix, except as related to maintaining connec­
tivity.


Core areas: conservation measures

Refer to the recovery outline (Fig. 3.1; U.S. Fish and Wildlife Service 2005) for the locations of identified core are­
as. We note that core areas may be refined in the future to reflect more recent information on lynx distribution
and habitat use. As core area delineations and lynx habitat maps continue to be refined, we expect that the areas
to which conservation measures are applied will change accordingly.



Conservation measure applicable to core areas:
     •       Delineate LAUs within the core areas. Using the best available mapping tools, assess the abundance and
             juxtaposition of lynx habitat, and ensure that adequate amounts of lynx habitat are present within each
             LAU. If not, redelineate the LAU in coordination with FWS to encompass additional lynx habitat, elimi­
             nate the LAU, or combine LAUs as appropriate.




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First tier of anthropogenic influences in core areas
    Vegetation management
   Winter is the most constraining season for lynx and snowshoe hares. Dense horizontal cover of conifers
   above the snow level is critical to support snowshoe hares in winter. Vegetation management should be de­
   signed to provide for winter snowshoe hare habitat as forest stands develop successionally over time.


    Fires, insect epidemics, and some types of timber harvest cause the boreal forest to revert to early stand initia­
   tion structural stage, which is a temporary condition that does not provide dense cover and food for snow­
   shoe hares, nor does it provide foraging habitat for lynx. Over time, (20-30 years or so depending upon the
   site) trees will grow tall enough and dense enough to once again provide food and cover for snowshoe hares
    in winter.


    In some areas in the southern part of their range, lynx populations appear to be limited by the availability of
   snowshoe hares, as suggested by large home range sizes, high kitten mortality, and greater reliance on alter­
    nate prey, further highlighting the importance of the following conservation measures. Ruggiero et al. (2000b)
   recommended maintaining some minimum density of snowshoe hares across a broad landscape, e.g., >0.5 hare/
   ha (>0.2 hares/ac), to support a self-sustaining population of lynx.

     Conservation measures for vegetation management (cont. on next page):
         •   Provide a mosaic that includes dense early-successional coniferous and mixed-coniferous-deciduous
             stands, along with a component of mature multi-story coniferous stands to produce the desired
             snowshoe hare density within each LAU (Plate 5.2).




       Plate 5.2. Lynx habitat in a landscape providing a variety of forest structures, including mature forests
       and mid- and early-successional forests, interspersed with openings.

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First tier of anthropogenic influences in core areas


      Conservation measures for vegetation management (cont.):
          •    Use fire and mechanical vegetation treatments as tools to maintain a mosaic of lynx habitat, in vary­
               ing successional stages, distributed across the LAU in a landscape pattern that is consistent with his­
               torical disturbance processes.
          •    Design vegetation management to develop and retain dense horizontal cover. Focus treatments in
               areas that have the potential to improve snowshoe hare habitat by developing dense horizontal cov­
               er in areas where it is presently lacking. In areas of young, dense conifers resulting from fire, timber
               harvest or other disturbance, do not reduce stem density through thinning until the stand no longer
               provides low, live limbs within the reach of hares during winter (e.g., self-pruning processes in the
               stem exclusion structural stage have eliminated snowshoe hare cover and forage availability during
               winter conditions with average snowpack). If studies are completed that demonstrate that thinning
               can be used to extend the duration of time that snowshoe hare habitat is available (e.g., by maintain­
               ing low limbs), then earlier thinning could be considered.
          •    Retain mature multi-story conifer stands that have the capability to provide dense horizontal cover
               (Plate 5.3). If portions of these stands currently lack dense horizontal cover, focus vegetation man­
               agement practices (such as group selection harvest) in those areas to increase understory density
               and improve snowshoe hare habitat.
          •    To maintain the amount and distribution of lynx foraging habitat over time, manage so that no more
               than 30% of the lynx habitat in an LAU is in an early stand initiation structural stage or has been silvi-
               culturally treated to remove horizontal cover (i.e., does not provide winter snowshoe hare habitat).
               Emphasize sustaining snowshoe hare habitat in an LAU. If more than 30% of the lynx habitat in an
               LAU is in early stand initiation structural stage or has been silviculturally treated to remove horizon­
               tal cover (e.g., clearcuts, seed tree harvest, precommercial thinning, or understory removal), no fur­
               ther increase as a result of vegetation management projects should occur on federal lands.
          •    Recognizing that natural disturbances and forest management of private lands also will occur, man­
               agement-induced change of lynx habitat on federal lands that creates the early stand initiation struc­
               tural stage or silviculturally treated to remove horizontal cover should not exceed 15% of lynx habi­
               tat on federal lands within a LAU over a 10-year period.
          •    Conduct a landscape evaluation to identify needs or opportunities for adaptation to climate change.
               Consider potential changes in forest vegetation that could occur as a result of climate change (e.g.,
               Gartner et al. 2008). Identify reference conditions relative to the landscape’s ecological setting and
               the range of future climate scenarios. For example, the historical range of variability could be derived
               from landscape reconstructions (e.g., Hessburg et al. 1999, Blackwell et al. 2003, Gray and Daniels
               2006).
          •    Design harvest units to mimic the pattern and scale of natural disturbances and retain natural con­
               nectivity across the landscape.
          •   In aspen stands, maintain native plant species diversity including conifers.
          •   Recruit a high density of stems, generally greater than 4,600/ha (1,862/ac), of conifers, hardwoods,
               and shrubs, including species that are preferred by hares.
          •    Provide for continuing availability of lynx foraging habitat in proximity to denning habitat.
          •    When designing fuels reduction projects, where possible retain patches of untreated areas of dense
               horizontal cover within treated areas.




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First tier of anthropogenic influences in core areas




     Plate 5.3. In the western United States, mature multi-story stands provide dense horizontal cover producing
     stable snowshoe hare densities, especially during winter.



    Wildland fire management
   Vegetation disturbances have historically and currently been important in maintaining habitat for snowshoe
    hares and lynx. For several years (10 to 40 depending on site productivity) following stand-replacing disturb­
   ances, snowshoe hare and lynx habitat is lost.


    Historically, natural processes played a dominant role in maintaining a mosaic of forest successional stages in
    lynx habitat. Boreal forests historically experienced large (thousands of acres), infrequent (100 to 300 years),
    stand-replacing fires. Current forest conditions generally fall within the historical range of variation. In areas
   with a mixed-severity fire regime, moderate- to low-intensity fires also occurred in the intervals between
    stand-replacing events. Refer to the geographic area descriptions for more detailed information regarding his­
   torical fire regimes, the resulting landscape patterns, and the interaction of fire with other agents of natural
    disturbance.


   In drier forests adjacent to boreal forest, fire suppression may have resulted in unnaturally dense fuels. Resto­
   ration of these communities may be desirable to reduce the risk of spreading uncharacteristically frequent or
   severe fires into lynx habitat.


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First tier of anthropogenic influences in core areas

    Conservation measures for wildland fire management:
         •   Maintain fire as an ecological process in lynx habitat, where small populations are not at risk of extirpa­
             tion due to habitat loss. Evaluate whether fire suppression, forest type conversions, and other manage­
             ment practices have altered fire regimes and the functioning of ecosystems.
         •   Consider the use of mechanical pre-treatment and management ignitions if needed to restore fire as
             an ecological process or to maintain specific lynx and/or prey species habitat components.
         •   As federal fire management plans are developed or revised, integrate lynx habitat management objec­
             tives into the plans. Prepare plans for areas that are large enough to encompass large historical fire
             events. Collaborate across management boundaries to develop approaches that are complementary
             and that simulate natural disturbance patterns where possible.
         •   Design burn prescriptions to promote response by shrub and tree species that are favored by snow­
             shoe hare.



   Fragmentation of habitat
   Within core areas, the amount and arrangement of lynx habitat must be sufficient so that lynx can easily ac­
   cess all parts of their home range and travel between home ranges to find mates. Human-caused alterations of
   natural landscape patterns that would result in an uncharacteristic reduction of lynx habitat and impaired abil­
   ity of lynx to effectively utilize those patches of habitat is what is meant by habitat fragmentation. Habitat frag­
   mentation increases the resistance to movement between habitat patches, either within home ranges or dur­
   ing dispersal (Squires et al. 2013).


   A mosaic of forest vegetation is desirable. Human developments in lynx habitat, such as highways, utility corri­
   dors, residences, and recreation developments, may impede lynx movements but are not likely to be barriers
   to movement.


   It is critical to maintain connectivity of habitat with Canada for those core areas that are adjacent to the inter­
   national border.

    Conservation measures to minimize habitat fragmentation:
        •    Emphasize land uses that promote or retain conservation of contiguous blocks of lynx habitat.
        •    Maintain a mosaic of vegetation and features such as riparian areas, forest stringers, unburned inclu­
             sions or forested ridges to provide habitat connectivity within and between LAUs.
        •    Identify linkage areas where needed to maintain connectivity of lynx populations and habitat. Factors
             such as topographic and vegetation features and local knowledge of lynx movement patterns should be
             considered. Retain lynx habitat and linkage areas in public ownership and acquire land to secure linkage
             areas where needed and possible. On private lands in proximity to federal lands, agencies should strive
             to work with landowners to develop conservation easements, explore potential for land exchanges or
             acquisitions, or identify other opportunities to maintain or facilitate lynx movement.
        •    Minimize large-scale developments that would substantially increase habitat fragmentation, reduce
             snowshoe hare populations, or introduce new sources of mortality.
        •    Give special attention to the design of highway improvements such as new road alignments, adding
             traffic lanes, installing Jersey or Texas barriers, or other modifications that increase highway capacity
             or speed. Upgrading unpaved roads should be avoided in lynx habitat, if the result would be increased
             traffic speeds and volumes or a substantial increase in associated human activity or development.
             Crossing structures or other techniques could be used to minimize or offset impacts (Plate 5.4).

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First tier of anthropogenic influences in core areas




             Plate 5.4. Highway development and upgrades to increase vehicle speeds can be
             planned to allow for movement of wildlife, including lynx.

Second tier of anthropogenic influences in core areas
   Recreation management
   There is little empirical information regarding the responses by lynx to recreational activities. Ongoing studies
   in Colorado are investigating the effects of snowmobiling, backcountry skiing, downhill skiing, and other winter
   recreation on lynx. Preliminary information suggests that some recreation use may be compatible, but lynx
   may avoid some areas that have concentrated recreation use (J. Squires personal communication 2012).


   Three studies investigated whether compacted snow trails may increase competition for food resources
   (Bunnell et al. 2006, Kolbe et al. 2007, Burghardt-Dowd 2010). Studies of coyote use of roads having a com­
   pacted vs. uncompacted snow surface showed no difference in Montana; however, in Wyoming, coyotes used
   roads with compacted snow more than random expectation. Whether roads that have a compacted snow sur­
   face might facilitate use by coyotes appears to vary depending on snow conditions. The degree of dietary over­
   lap between these 2 species also varies across geographic areas, but appears to be limited within lynx habitat.

    Conservation measures for recreation management:
        •   Manage winter recreation activities within LAUs such that lynx habitat connectivity is maintained or
            improved where needed.
        •   To minimize habitat loss, concentrate recreational activities within existing developed and high winter­
            use areas, rather than developing new sites and facilities in lynx habitat. On federal lands in areas with
            low levels of recreation currently, consider limiting the future development or expansion of developed
            winter recreation sites or concentrated winter use areas.
        •   Direct recreational activities and facilities away from identified linkage areas.
        •   Consider not expanding designated over-the-snow routes or designated play areas in lynx habitat, un­
            less the designation serves to consolidate use.

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Second tier of anthropogenic influences in core areas
   Minerals and energy exploration and development
   Manage human activities related to mineral and energy exploration and development, including transmission corri­
   dors, to minimize the loss and fragmentation of lynx habitat.

    Conservation measures for minerals and energy development:
        •      To minimize loss of lynx habitat resulting from minerals and energy development, locate facilities and
               roads outside of lynx habitat and linkage areas where possible. Minimize the footprint of developments
               within lynx habitat.
        •      Use existing roads and utility corridors to the fullest extent possible for all activities involving explora­
               tion and development.
        •      If upgrading existing access roads, design the roads to the minimum standard needed.
        •      To the extent possible, restrict public access on roads that were built or used for mineral and energy
               exploration and development in lynx habitat.
        •      Encourage remote monitoring to reduce need for and frequency of site visits in lynx habitat.
        •      Develop reclamation plans for abandoned mine lands to fully rehabilitate and restore as nearly as pos­
               sible to original contours and native vegetation as habitat for lynx.



   Forest/backcountry roads and trails
   Forest and backcountry roads and trails are typically low-speed (<72 kph [<45 mph]) single or 2-lane gravel or
   paved roads that occur on public lands. As described in Chapter 4, lynx in Maine selected against roads and their
   associated edges within lynx home ranges. In Minnesota, lynx selected for roads during long-distance movements.
   In Montana, forest roads with low vehicular or snowmobile traffic had little effect on lynx resource selection pat­
   terns. McKelvey et al. (2000d) reanalyzed information from the lynx studies in Okanogan County (Koehler and
   Brittell 1990, Koehler 1990a) and concluded that road density within lynx home ranges did not affect habitat selec­
   tion.


   There have been no documented mortalities of lynx due to vehicular collisions on forest roads in Washington or
   Montana, but several have been reported in Maine and Minnesota. Forest roads in Maine and Minnesota often have
   higher traffic volume and speed limits than are typical in the western United States. Site-specific conditions will
   need to be assessed to determine the potential for impacts.

    Conservation measure for forest/backcountry roads and trails:
           •   Avoid forest/backcountry road reconstruction or upgrades that substantially increase traffic volume
               and speed. If traffic volume and speed are of concern, incorporate appropriate mitigation such as traffic
               calming measures in the project design.




   Livestock grazing
   High-elevation riparian areas dominated by willows provide important summer and fall habitat for lynx (Shenk
   2006, 2008). There is potential for overlap with areas that are also utilized by domestic livestock. Manage livestock
   grazing in a manner that makes competitive interactions unlikely.

    Conservation measure for livestock grazing:
           •   Manage livestock grazing within riparian areas and willow carrs in lynx habitat to maintain conditions
               that support snowshoe hares by maintaining a preponderance of mid or late-seral stages.


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Secondary/peripheral areas: conservation measures

It is not necessary to delineate LAUs in secondary/peripheral areas. The conservation measures are intended to
provide a greater degree of flexibility for management activities in secondary/peripheral areas as compared with
the core areas. The focus of management is on providing a mosaic of forest structure to support snowshoe hare
prey resources for individual lynx that infrequently may move through or reside temporarily in the area. Landscape
connectivity should be maintained to allow for lynx movement and dispersal.


    Vegetation management

     Conservation measures for vegetation management:
         •   Provide a mosaic of forest structure that includes dense early-successional coniferous and mixed-
             coniferous-deciduous stands, along with a component of mature multi-story conifer stands. Flexibility
             in the amounts and arrangement of various successional stages is acceptable, provided that a mosaic
             can be sustained. Vegetation treatments should be designed with consideration of historical landscape
             patterns and disturbance processes.
         •   Design timber harvest, planting, and thinning to include some representation of young densely-stocked
             regenerating stands in the mosaic for snowshoe hare production areas.




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                  Chapter 6-INVENTORY, MONITORING, AND RESEARCH


Ruggiero et al. (2000a) identified many areas of uncertainty and information gaps relevant to the conservation of
lynx. Since 2000, a substantial number of studies on lynx and snowshoe hares and their habitats have been con­
ducted in Maine, Minnesota, Montana, Washington, Wyoming, and Colorado. There are numerous peer-reviewed
published papers reporting results from those studies. Nevertheless there are still gaps in our information on lynx,
snowshoe hares, and their habitats. The following section identifies the topics to be of the most importance for
future inventory, monitoring, and research efforts.


Inventory

The National Lynx Survey was conducted in 1999-2003. The survey protocol sampled lynx habitat using lynx rub
pads to collect hair for DNA to be analyzed to confirm species identification (McKelvey et al. 1999, Kendall and
McKelvey 2008). Squires et al. (2004) developed a snow tracking protocol for follow-up or additional surveying of
areas of potential lynx occupancy. McKelvey et al. (2006) described methods to backtrack putative tracks to col­
lect samples (hair, feces) for DNA analysis and positive species identification. Squires et al. (2012) further refined
snow tracking survey methods to determine the presence or absence of lynx in an area of interest. Long et al.
(2007) used scat detection dogs to search for rare or low density forest carnivore species and found dogs can be
an effective method to locate scats of target species, while ignoring non-target species.


Through the National Lynx Survey, positive identification of lynx occurrence was made in Idaho, Maine, Minnesota,
Colorado, Wyoming, Montana, and Washington. Some follow-up snow tracking surveys were also completed to
better understand lynx distribution. Following completion of the National Lynx Survey, many additional surveys
have been conducted in identified lynx habitat in various locations across the contiguous United States.


Beginning in 2000, lynx habitat was identified using criteria identified in the LCAS. Some of these early efforts mis­
classified areas, either mapping areas that do not provide habitat for lynx as lynx habitat, or failing to identify areas
that actually provide habitat for lynx. Significant efforts have been made throughout the range of lynx in the contig­
uous United States to field verify and update lynx habitat maps. Validation of lynx habitat within core areas will
continue to be a priority to assure that conservation measures are applied effectively.


Surveys for detection of lynx in secondary/peripheral areas are a low priority. Compared to core areas, secondary/
peripheral areas are defined as having fewer and more sporadic records of lynx occurrence and the quality and
quantity of habitat to support populations of snowshoe hare and lynx is questionable (U.S. Fish and Wildlife Service
2005), making surveys a low priority. The exception would be in secondary/peripheral areas where lynx are re­
ported to be present, such in New Hampshire and Vermont; verifying occurrence and determining the status of
lynx in such locations would be a high priority.


Monitoring

The objectives of a long-term monitoring program ideally would include:
      1.   Detecting changes in lynx population distribution, adult female survival, mortality factors, and population
           productivity;
      2.   Snowshoe hare abundance and population trend, including changes in hare abundance in response to
           different types of vegetation management and landscape patterns in boreal forests; and


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      3.   The effects of climate change on lynx and their habitat, addressing important aspects of lynx habitat such
           as the depth, density, and duration (annual) of snow cover, and changes in snowshoe hare population
           density and distribution.


National monitoring design and sampling protocols that are adaptable to regional differences should be established
that will enable a cost-effective program to be implemented and coordinated with multiple agencies and partners.


Research needs

Considerable knowledge about lynx has been gained since the original LCAS was completed in 2000. Nevertheless,
many unanswered questions remain regarding conservation of lynx and the effects of management actions, thresh­
olds of human activity (including recreation and access) on lynx use of habitat, and effects of climate change on lynx
and lynx habitat in the contiguous United States. We have listed what are considered the highest priority topics for
research. These are not listed in priority order.


      1.   The effects of climate change on lynx, lynx habitat, snowshoe hares, and boreal forests in the contiguous
           United States are unclear. How will the depth, density, and duration (annual) of snow cover vary? Will
           changes in snow depth and density change influence predator, prey, and competitor relationships for
           lynx? If climate change results in changes in snow duration, how will pelage changes for snowshoe hare
           affect their survival? How will climate change affect forest composition, especially the expected decline of
           spruce and fir in the Northeast? Will fires become more frequent, larger? How will insect outbreaks be
           altered by climate change and how will this affect fire size and frequency?
      2.   Current techniques to document presence and distribution of lynx (snow tracking, hair snaring, scat de­
           tection dogs) have been developed and tested, but are not proven to estimate population size or trend,
           or may not work consistently throughout the lynx range.
      3.   What are the effects of vegetation management activities on lynx population distribution and density?
           What are the desired amounts and arrangement of habitat within an adult female home range to support
           reproductive success and recruitment of kittens into the population? How does fragmentation of habitat
           affect female lynx productivity and home range size? Were key assumptions in the original LCAS (e.g., no
           more than 30% of a female home range can be in an unsuitable condition) reasonable?
      4.   What if anything limits the dispersal of lynx? To what extent are lynx moving between Canada and the
           United States on a yearly basis? What management actions are needed to maintain connectivity across
           the international border?
      5.   Expand research to investigate the effects of silvicultural practices on snowshoe hare. Can current partial
           harvesting practices (such as in Maine) be modified to promote the high stem densities of sapling conifers
           required to support high snowshoe hare densities?
      6.   Evaluate the extent to which winter recreational activities and developments, such as skiing and snow-
           mobiling, influence lynx behavior and habitat use. Are there thresholds of human activity in lynx habitat
           that result in displacement of lynx, loss of prey resources, or increased competition from other carni­
           vores?
      7.   What role, if any, do secondary and peripheral areas as identified in the recovery outline play in the long­
           term persistence of lynx and in maintaining occupancy of core areas?




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                                                        Glossary

Boreal forest - Homogeneous arboreal stands, dominated by conifers during later stages of succession, and by arbor­
    eal members of the birch and willow families in early succession (Agee 2000). The arctic tundra defines the
    northern border of boreal forest, but the southern border is less clear. Here we use the term boreal forest to
    include the transition into subalpine forests in the western part of the continent, mixed-coniferous-deciduous
    forests in the mid-continent, and mixed-coniferous and deciduous temperate forests of the Acadian forest region
    in the northeastern part of the continent.

Canopy cover (canopy closure) - The percentage of ground surface that is shaded by the live foliage of plants as seen
    from above. This measurement or estimate is used to describe how open or dense a stand of trees is.

Carr - Deciduous woodland or shrubland occurring on permanently wet, organic soil.

Clearcut - A regeneration tree harvest method that cuts and removes all merchantable trees in a single step, except
      for certain trees or snags retained for wildlife use.

Coarse woody debris - Any piece(s) of dead woody material, e.g., dead boles, limbs, and large root masses on the
    ground or in streams.

Competition - An interaction that occurs when 2 or more individuals make demands of the same resources that are
      in short supply. Exploitation competition occurs when 1 species uses common resources in a manner that reduc­
      es the fitness of the other species, for example by causing starvation or reduced reproductive success. Interfer­
      ence competition occurs when 1 species, almost invariably the species with larger body size, acts aggressively
      toward another, denying it access to a resource.

Composition (of forest vegetation) - The proportion of each tree species in a stand, expressed as a percentage of
   the total number, basal area, or volume of all tree species in the stand.

Conservation measures - Recommendations to alleviate or reduce the adverse effects of anthropogenic influences
    on lynx or lynx habitat.

Core area - Areas with the strongest long-term evidence of the persistence of lynx populations over time within the
      contiguous United States, as identified in the Canada Lynx Recovery Outline.

Cover type - The present vegetation composition of an area, described by the dominant plant species.

Crepuscular - Active during the twilight hours of early morning or early evening.

Critical habitat - Specific areas legally designated by the Secretary of the Interior within the area occupied by Canada
      lynx at the time they were listed under the Endangered Species Act that contain the physical or biological fea­
      tures that are essential to the conservation of the species and may require special management considerations or
      protection.

Cumulative effects - Effects on lynx or lynx habitat that result from the incremental impact of the proposed action
   when added to other past, present, and/or reasonably foreseeable future actions. Cumulative effects can be sig­
   nificant even when direct and indirect effects are minor.

Denning habitat - The environment lynx use when giving birth and rearing kittens until they are mobile. The most
    common component is large amounts of coarse woody debris to provide escape and thermal cover for kittens.
      Denning habitat may occur within mature and old growth forests, young regenerating forests, or areas where
      down trees are jack-strawed. Denning habitat must be located within daily travel distance of an adult female lynx
      (typical distance is 5-10 km [3-6 mi]) to snowshoe hare habitat.

Depauperate - Lacking in numbers, biomass or diversity of species.

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Designated over-the-snow routes and designated snowmobile play areas - Areas managed under permit or
     agreement or by the agency, where use is encouraged, either by on-the-ground marking or by publication in bro­
     chures, recreation opportunity guides or maps (other than travel maps), or in electronic media produced or ap­
     proved by the agency. The routes identified in outfitter and guide permits are designated by definition; groomed
     routes also are designated by definition. This definition does not apply to permitted ski areas.

Developed recreation - Recreational activities requiring facilities that result in concentrated use. For example, skiing
     requires lifts, parking lots, buildings, and roads; campgrounds require roads, picnic tables, and toilet facilities.

Dispersal - Movement of an individual away from its parent or an existing population to establish a home range.

Disturbance - Events that alter the structure, composition, or function of terrestrial or aquatic habitats. Natural dis­
     turbances include drought, floods, wind, fires, wildlife grazing, and insects and pathogens. Human-caused disturb­
     ances include actions such as timber harvest, livestock grazing, road construction, and the introduction of exotic
     species.

Ecological processes - The flow and cycling of energy, materials, and organisms through an ecosystem.

Ecological restoration - Management practices to reestablish sustainable and resilient vegetation communities.

Endangered Species Act - A law passed in 1973, and subsequently amended, for the purposes of conserving the
    ecosystems upon which endangered species and threatened species depend, and providing a program for the
    conservation of such species.

Facultative predator - Capable of exploiting more than one type of prey by changing its behavior.

Fire suppression - Any act taken to slow, stop, or extinguish a fire.

Fire regime - A characterization of the combination of fire frequency and fire severity under which plant communi­
      ties evolved and were maintained.

Foraging habitat (for lynx) - Habitat that supports the primary prey (snowshoe hare) of lynx and has the vegetation
     structure suitable for lynx to capture prey. These conditions may occur in early successional stands following
     some type of disturbance, or in older forests with a substantial understory of shrubs and young conifer trees.
     Coarse woody debris, especially in early successional stages (created by harvest regeneration units and large
     fires), provides important cover for snowshoe hares and other prey.

Forb - A broad-leaved, herbaceous plant other than grasses, sedges, and rushes.

Forest and backcountry roads - Roads that are generally not paved with vehicle speeds typically less than 35 miles
     per hour. The surface can be gravel or natural materials.

Forest cover type - A description of the composition and structure of an area, focusing primarily on the dominant
      overstory tree species.

Four-season resort - Recreational facility on national forest land, permitted to operate during more than one season
     of the year. Resorts with either a winter or summer emphasis may be authorized to allow facilities to remain
     open to allow additional recreation use during other seasons.

Fragmentation (of habitat) - Human-caused alterations of natural landscape patterns that result in a reduction of
    the total area of habitat, increased isolation of habitat patches, and impaired ability of wildlife to effectively move
      between those patches of habitat. Depending on the cause, fragmentation of habitat may be temporary or perma­
      nent.

Fuels treatment - A type of vegetation management that reduces the threat of ignition, fire intensity, or rate of


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      spread, and is used to restore fire-adapted ecosystems.

Geographic Area (for lynx) - A broad area that contains ecological conditions that may support lynx and snowshoe
    hares. The geographic areas identified for lynx are the Northeast, Great Lakes, Northern Rocky Mountains,
    Southern Rocky Mountains, and Cascade Mountains, which have uniquely different forest ecosystems, manage­
    ment histories, and current lynx population status.

Habitat - The complete suite of biotic and abiotic components of the environment where an animal lives.

Habitat connectivity (for lynx) - Vegetation cover in sufficient quantity and arrangement to facilitate lynx move­
     ments. Connectivity may be affected by human developments.

Highway - All roads that are part of the National Highway System (23 CFR 470.107(b)).

Historical range of variability - The condition of vegetation at some reference point in the past.

Home range - The area used by an individual, either during the entire calendar year or seasonally, in its normal activ­
   ities of foraging, mating, and rearing of young. Female home ranges typically do not overlap, but female offspring
   may establish a home range in part of her mother’s.

Horizontal cover - The visual obscurity provided by vegetation that extends to the ground or snow surface, primari­
      ly provided by tree stems and tree boughs, but may also be provided by shrubs, herbaceous vegetation, and land­
      scape topography.

Incidental trapping or snaring - Capture of non-target species. Lynx are susceptible to being captured in traps or
     snares intended for other species such as wolverine, coyote, fox, fisher, American marten, bobcat, and wolf.

Infrastructure - Facilities, utilities, and transportation systems required to meet public and administrative needs.

Irruption - A drastic and rapid increase in the density of a population.

Landscape - A specific geographic area with characteristic traits, patterns, and structure, including its biological com­
    position, its physical environment, and its anthropogenic or social patterns.

Linkage areas - Areas that facilitate movements of lynx beyond their home range, such as dispersal, breeding season
     movements or exploratory movements. Linkage areas may incorporate topographic features that tend to funnel
     animal movements and may encompass areas of non-lynx habitat.

Long bed - A site where a lynx lays in the snow for an extended period, characterized by having an iced surface. May
    also be referred to as a long-duration bed.

Lynx Analysis Unit (LAU) - Landscape units that approximate the size of a female lynx annual home range
     (appropriate to the Geographic Area) and encompass all seasonal habitats. These may also contain areas of non­
     lynx habitat, such as open meadows, especially in mountainous regions. An LAU is a unit for which the effects of
     a project would be analyzed; its boundaries should remain constant.

Lynx habitat - Boreal forest with gentle rolling topography, dense horizontal cover, deep snow, and moderate to
     high (>0.5 hares/ha [0.2 hares/ac]) snowshoe hare densities. In the northeastern United States, lynx habitat in­
     cludes coniferous and mixed-coniferous/deciduous forests dominated by white, black, and red spruce, balsam fir,
     pine, northern white cedar, hemlock, sugar maple, aspen, and paper birch. In Minnesota, lynx habitat includes co­
     niferous and mixed-coniferous/deciduous vegetation types dominated by pine, balsam fir, black and white spruce,
     northern white cedar, tamarack, aspen, and paper birch. In the western United States, forest cover types domi­
     nated by Engelmann spruce, subalpine fir and lodgepole pine provide habitat for lynx.

Lynx habitat in suitable condition - Areas within the boreal forest providing lynx habitat in all seasons. Forest


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     stands may be in various ages or structural stages (i.e., young saplings in stand initiation structural stage, pole-size
     stands in stem exclusion structural stage, mature multi-story forest) provided that, following a stand-replacing
     disturbance or treatment that reduced the dense horizontal cover required by snowshoe hares, trees have
     grown tall enough and dense enough to protrude above the snow and provide food and cover for snowshoe
     hares and lynx in winter.

Lynx habitat currently in unsuitable condition - Areas within the boreal forest that are in the early stand initia­
     tion stage (typically less 30 years old) or have been silviculturally treated to remove cover, in which the vegeta­
     tion has not developed sufficiently to support snowshoe hare populations during all seasons. Stand-replacing fire,
     insect epidemics or wind events can create stand initiation structural stage. Vegetation management projects that
     may create unsuitable conditions for a period of time include clearcuts, seed tree harvest, precommercial thin­
     ning, or understory removal.

Matrix - Matrix (e.g., hardwood forest, dry forest, non-forest) occurs between patches of boreal forest in close juxta­
      position (at the scale of a lynx home range) such that lynx are likely to travel through matrix while accessing
      patches of boreal forest within a home range.

Mature multi-story forest - A structural stage characterized by understory reinitiation, resulting in several age clas­
     ses and vegetation layers. Fallen trees may be present, creating gaps in the overstory canopy. In lynx habitat,
     these stands typically have high horizontal cover from young understory trees and lower limbs of mature trees
     that reach the ground or snow level.

Mid-seral stage - A successional stage in a plant community that is the midpoint in the progression from bare ground
     to climax. In riparian areas, willows or other shrubs have become established and have grown to protrude above
     the snow.

Monitoring - Systematic sampling, testing or collection of information on a regular or ongoing basis.

Mosaic - A dynamic, heterogeneous pattern of vegetation and other habitat elements within a given area, such as a
      LAU.

Patch - An area of uniform vegetation that differs from what surrounds it in structure and composition.

Peripheral areas - Areas where the majority of historical lynx records are sporadic and generally correspond to pe­
     riods following cyclic lynx population highs in Canada. There is no evidence of long-term presence or reproduc­
     tion that might indicate colonization or sustained use of these areas by lynx.

Plant succession - A relatively predictable process by which a series of different plant communities, and their associ­
     ated animals and microbes, successively occupy and replace each other over time in a particular ecosystem or
     landscape location following a disturbance event.

Potential vegetation type - The community of plants that would become established if all successional sequences
    were completed, without interference by humans, under existing environmental conditions at the site including
    soils, topography, and climate. Potential vegetation types are typically named by using one or more species from
    the dominant (overstory) vegetation layer and one or more indicator plants from the subordinate (undergrowth)
    layer (e.g., subalpine fir/grouse huckleberry or ABLA/VASC).

Precommercial thinning - A management technique that does not yield trees of commercial value, usually designed
    to reduce stem density to promote the growth of the more desirable trees.

Recovery outline - An interim strategy to guide recovery efforts and inform the critical habitat designation process
    until a draft recovery plan has been completed. Recovery outlines are intended primarily for internal FWS use.

Red squirrel habitat - Coniferous forests of seed and cone-producing age that usually contain snags and downed
     woody debris, generally mature or older forests.


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Regeneration harvest - The cutting of trees and creating an entire new age class; an even-age harvest. The major
    methods are clearcutting, seed tree, shelterwood, and group selection cuts.

Riparian area - Area with distinctive soil and vegetation between a stream or other body of water and the adjacent
     upland; includes wetlands and those portions of floodplains and valley bottoms that support riparian vegetation.

Salvage harvest - Removal of dead trees or trees being damaged or dying due to injurious agents other than compe­
     tition, in order to recover value that would otherwise be lost. Collecting firewood for personal use is not consid­
      ered salvage harvest.

Secondary areas - Areas with historical records of lynx presence but with no record of reproduction; or areas with
    historical records and no recent surveys to document the presence of lynx or reproduction.

Self-sustaining population - A population that remains viable without human intervention.

Sinuosity - A statistical measurement of movement paths that are curved or crooked.

Ski area - A site and attendant facilities expressly developed to accommodate alpine or Nordic skiing. Operation of
      Nordic and alpine ski areas for up to 40 years and encompassing such acreage as the Forest Officer determines
      sufficient and appropriate is authorized by the National Ski Area Permit Act of 1986.

Skid trail - A linear feature in a forest environment resulting from removing cut trees/logs from the site of cutting to
     a gathering site.

Snow compaction - Human activities, such as travel on designated snowmobile routes, that compress the snow and
    reduce its penetrability.

Snow cover - The area of land that is covered by snow at any given time.

Snow pack - The thickness of snow that accumulates on the ground.

Snow penetrability - A measure of the resistance of the snow column to compression.

Snowshoe hare habitat - Boreal and upper montane forests in North America with cold, moderately deep winter
    snowpack and dense horizontal cover in the understory. During the winter, hares are restricted to areas where
    young trees or shrubs grow densely (thousands of woody stems per ha) and are tall enough to protrude above
    the snow during winter, or where numerous overhanging boughs of mature conifer trees touch the snow surface
    provide cover and browse. Winter snowshoe hare habitat develops primarily in the later phase (15 to 40 years
    post-disturbance) of stand initiation structural stage and in multi-story mature and old stands.

Specialist - A species that can only thrive in a narrow range of environmental conditions or has a limited diet. The
     lynx is a specialist predator of snowshoe hare.

Stand - A group of trees or other vegetation occupying a specific area and sufficiently uniform in composition, age,
     spatial arrangement, and conditions as to be distinguishable from the vegetation on adjoining lands.

Stand initiation structural stage - Following a stand-replacing disturbance or regeneration timber harvest, a new
     single-story layer of shrubs, tree seedlings, and saplings establish and develop, reoccupying the site. Trees that
     need full sun are likely to dominate these even-aged stands. [In the years immediately following the disturbance,
     tree seedlings are too small to provide food and cover for snowshoe hares and lynx, particularly during the win­
     ter (see also the definition for lynx habitat currently in unsuitable condition). As time progresses, the trees grow tall
     and dense enough to provide food and cover for snowshoe hares and lynx during all seasons (see also the defini­
     tion for lynx habitat in suitable condition).]

Stand-replacing fire - A fire that kills aboveground parts of the dominant vegetation. Approximately 80 percent or


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      more of the aboveground dominant vegetation is either consumed or dies as a result of fire.

Stem exclusion structural stage - A phase of forest development following the typically rapid establishment of an
      initial cohort of trees, during which new establishment is precluded and competition occurs within the existing
      cohort for light, nutrients and space.

Structure (of forest vegetation) - The horizontal and vertical distribution of plants in a stand, including height, di­
     ameter, crown layers, and stems of trees, shrubs, herbaceous understory, snags, and coarse woody debris.

Structural stage - A recognizable condition in forest stand development describing the physical size and arrangement
     (both vertical and horizontal) of trees occupying the site.

Subnivean habitat - Habitat that is under the snow surface.

Topographic relief - The difference in elevation in a landscape from the lowest point to the highest point. Lynx habi­
     tat typically has low topographic relief, described by Squires et al. (2013) as low surface roughness and by Maletz-
     ke et al. (2008) as <30o slopes.

Understory re-initiation structural stage - Establishment of a new age class of trees after overstory trees begin
    to die, are removed, or no longer fully occupy their growing space. The stand of trees begins to stratify into ver­
    tical layers, with some small shade-tolerant trees in the understory.

Wildland urban interface (WUI) - Defined in the Healthy Forests Restoration Act. Basically, the wildland urban
      interface is the area adjacent to an at-risk community that is identified in the community wildfire protection plan.
      If there is no community wildfire protection plan in place, the WUI is the area 0.5 mile from the boundary of an
      at-risk community; or within 1.5 miles of the boundary of an at-risk community if the terrain is steep, or there is
      a nearby road or ridgetop that could be incorporated into a fuel break, or the land is in condition class 3, or the
      area contains an emergency exit route needed for safe evacuations. (Condensed from HFRA. For full text see
      HFRA § 101.)




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                      United States Department of the Interior
                                   FISH AND WILDLIFE SERVICE
                               Western Colorado Ecological Services Field Office
                                      445 West Gunnison Avenue, Suite 240
                                        Grand Junction, CO 81501-5711
                                  Phone: (970) 243-2778 Fax: (970) 245-6933
                               http://www.fws.gov/mountain-prairie/es/Colorado/
                                         http://www.fws.gov/platteriver/




   In Reply Refer To:                                                                  July 11, 2018
   Consultation Code: 06E24100-2018-SLI-0505
   Event Code: 06E24100-2018-E-01025
   Project Name: Rio Grande National Forest Plan Revision

   Subject: List of threatened and endangered species that may occur in your proposed project
            location, and/or may be affected by your proposed project


   To Whom It May Concern:

   The enclosed species list identifies threatened, endangered, proposed and candidate species, as
   well as proposed and final designated critical habitat, that may occur within the boundary of your
   proposed project and/or may be affected by your proposed project. The species list fulfills the
   requirements of the U.S. Fish and Wildlife Service (Service) under section 7(c) of the
   Endangered Species Act (Act) of 1973, as amended (16 U.S.C. 1531 et seq.).

   New information based on updated surveys, changes in the abundance and distribution of
   species, changed habitat conditions, or other factors could change this list. Please feel free to
   contact us if you need more current information or assistance regarding the potential impacts to
   federally proposed, listed, and candidate species and federally designated and proposed critical
   habitat. Please note that under 50 CFR 402.12(e) of the regulations implementing section 7 of the
   Act, the accuracy of this species list should be verified after 90 days. This verification can be
   completed formally or informally as desired. The Service recommends that verification be
   completed by visiting the ECOS-IPaC website at regular intervals during project planning and
   implementation for updates to species lists and information. An updated list may be requested
   through the ECOS-IPaC system by completing the same process used to receive the enclosed list.

   The purpose of the Act is to provide a means whereby threatened and endangered species and the
   ecosystems upon which they depend may be conserved. Under sections 7(a)(1) and 7(a)(2) of the
   Act and its implementing regulations (50 CFR 402 et seq.), Federal agencies are required to
   utilize their authorities to carry out programs for the conservation of threatened and endangered
   species and to determine whether projects may affect threatened and endangered species and/or
   designated critical habitat.




                                                                            Rvsd Plan - 00004320
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   A Biological Assessment is required for construction projects (or other undertakings having
   similar physical impacts) that are major Federal actions significantly affecting the quality of the
   human environment as defined in the National Environmental Policy Act (42 U.S.C. 4332(2)
   (c)). For projects other than major construction activities, the Service suggests that a biological
   evaluation similar to a Biological Assessment be prepared to determine whether the project may
   affect listed or proposed species and/or designated or proposed critical habitat. Recommended
   contents of a Biological Assessment are described at 50 CFR 402.12.

   If a Federal agency determines, based on the Biological Assessment or biological evaluation, that
   listed species and/or designated critical habitat may be affected by the proposed project, the
   agency is required to consult with the Service pursuant to 50 CFR 402. In addition, the Service
   recommends that candidate species, proposed species and proposed critical habitat be addressed
   within the consultation. More information on the regulations and procedures for section 7
   consultation, including the role of permit or license applicants, can be found in the "Endangered
   Species Consultation Handbook" at:

   http://www.fws.gov/endangered/esa-library/pdf/TOC-GLOS.PDF

   Please be aware that bald and golden eagles are protected under the Bald and Golden Eagle
   Protection Act (16 U.S.C. 668 et seq.), and projects affecting these species may require
   development of an eagle conservation plan (http://www.fws.gov/windenergy/
   eagle_guidance.html). Additionally, wind energy projects should follow the wind energy
   guidelines (http://www.fws.gov/windenergy/) for minimizing impacts to migratory birds and
   bats.

   Guidance for minimizing impacts to migratory birds for projects including communications
   towers (e.g., cellular, digital television, radio, and emergency broadcast) can be found at: http://
   www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/towers.htm ; http://
   www.towerkill.com; and http://www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/
   comtow.html.

   We appreciate your concern for threatened and endangered species. The Service encourages
   Federal agencies to include conservation of threatened and endangered species into their project
   planning to further the purposes of the Act. Please include the Consultation Tracking Number in
   the header of this letter with any request for consultation or correspondence about your project
   that you submit to our office.

   Attachment(s):

       ■ Official Species List
       ■ USFWS National Wildlife Refuges and Fish Hatcheries
       ■ Migratory Birds
       ■ Wetlands




                                                                         Rvsd Plan - 00004321
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   Official Species List
   This list is provided pursuant to Section 7 of the Endangered Species Act, and fulfills the
   requirement for Federal agencies to "request of the Secretary of the Interior information whether
   any species which is listed or proposed to be listed may be present in the area of a proposed
   action".

   This species list is provided by:

   Western Colorado Ecological Services Field Office
   445 West Gunnison Avenue, Suite 240
   Grand Junction, CO 81501-5711
   (970) 243-2778

   This project's location is within the jurisdiction of multiple offices. Expect additional species list
   documents from the following offices, and expect that the species and critical habitats in each
   document reflect only those that fall in the office's jurisdiction:

   Colorado Ecological Services Field Office
   Denver Federal Center
   P.O. Box 25486
   Denver, CO 80225-0486
   (303) 236-4773

   New Mexico Ecological Services Field Office
   2105 Osuna Road Ne
   Albuquerque, NM 87113-1001
   (505) 346-2525




                                                                           Rvsd Plan - 00004322
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   07/11/2018                       Event Code: 06E24100-2018-E-01025                              2




   Project Summary
   Consultation Code: 06E24100-2018-SLI-0505

   Event Code:         06E24100-2018-E-01025

   Project Name:        Rio Grande National Forest Plan Revision

   Project Type:       ** OTHER **

   Project Description: Plan revision update under the 2012 planning rule. This iteration uses a
                        shape file for the Forest to get a more accurate list of occurrences.

   Project Location:
      Approximate location of the project can be viewed in Google Maps: https://
      www.google.com/maps/place/37.704039900000026N107.04466975831235W




   Counties: Alamosa, CO | Archuleta, CO | Chaffee, CO | Conejos, CO | Costilla, CO | Custer,
             CO | Fremont, CO | Hinsdale, CO | Huerfano, CO | Mineral, CO | Rio Grande, CO |
             Saguache, CO | San Juan, CO | Rio Arriba, NM




                                                                        Rvsd Plan - 00004323
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   07/11/2018                                 Event Code: 06E24100-2018-E-01025                                        3




   Endangered Species Act Species
   There is a total of 11 threatened, endangered, or candidate species on this species list.

   Species on this list should be considered in an effects analysis for your project and could include
   species that exist in another geographic area. For example, certain fish may appear on the species
   list because a project could affect downstream species. Note that 4 of these species should be
   considered only under certain conditions.

   IPaC does not display listed species or critical habitats under the sole jurisdiction of NOAA
   Fisheries1, as USFWS does not have the authority to speak on behalf of NOAA. and the
   Department of Commerce.

   See the "Critical habitats" section below for those critical habitats that lie wholly or partially
   within your project area under this office's jurisdiction. Please contact the designated FWS office
   if you have questions.


      1. NOAA. Fisheries, also known as the National Marine Fisheries Service (NMFS), is an
         office of the National Oceanic and Atmospheric Administration within the Department of
         Commerce.


   Mammals
   NAME                                                                                                   STATUS
   Canada Lynx Lynx canadensis                                                                            Threatened
       Population: Wherever Found in Contiguous U.S.
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3652

   New Mexico Meadow Jumping Mouse Zapus hudsonius luteus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/7965

   North American Wolverine Gulo gulo luscus                                                              Proposed
      No critical habitat has been designated for this species.                                           Threatened
      Species profile: https://ecos.fws.gov/ecp/species/5123




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   Birds
   NAME                                                                                                      STATUS
   Mexican Spotted Owl Strix occidentalis lucida                                                             Threatened
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fWs.gov/ecp/species/8196

   Southwestern Willow Flycatcher Empidonax traillii extimus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/6749

   Yellow-billed Cuckoo Coccyzus americanus                                                                  Threatened
       Population: Western U.S. DPS
       There is proposed critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3911




                                                                                              Rvsd Plan - 00004325
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   Fishes
   NAME                                                                                                      STATUS
   Bonytail Chub Gila elegans                                                                                Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fWs.gov/ecp/species/1377

   Colorado Pikeminnow (=squawfish) Ptychocheilus lucius                                                     Endangered
       Population: Wherever found, except Where listed as an experimental population
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the folloWing conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete Water from the basin.
       Species profile: https://ecos.fWs.gov/ecp/species/3531

   Humpback Chub Gila cypha                                                                                  Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the folloWing conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete Water from the basin.
       Species profile: https://ecos.fWs.gov/ecp/species/3930

   Razorback Sucker Xyrauchen texanus                                                                        Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the folloWing conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete Water from the basin.
       Species profile: https://ecos.fWs.gov/ecp/species/530


   Insects
   NAME                                                                                                      STATUS
   Uncompahgre Fritillary Butterfly Boloria acrocnema                                                        Endangered
      No critical habitat has been designated for this species.
      Species profile: https://ecos.fWs.gov/ecp/species/4419


   Critical habitats
   THERE ARE NO CRITICAL HABITATS WITHIN YOUR PROJECT AREA UNDER THIS OFFICE'S
   JURISDICTION.




                                                                                           Rvsd Plan - 00004326
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    USFWS National Wildlife Refuge Lands And Fish
    Hatcheries
   Any activity proposed on lands managed by the National Wildlife Refuge system must undergo a
   'Compatibility Determination' conducted by the Refuge. Please contact the individual Refuges to
   discuss any questions or concerns.

   REFUGE INFORMATION WAS NOT AVAILABLE WHEN THIS SPECIES LIST WAS GENERATED.
   PLEASE CONTACT THE FIELD OFFICE FOR FURTHER INFORMATION.




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   Migratory Birds
   Certain birds are protected under the Migratory Bird Treaty Act1 and the Bald and Golden Eagle
   Protection Act2.

   Any person or organization who plans or conducts activities that may result in impacts to
   migratory birds, eagles, and their habitats should follow appropriate regulations and consider
   implementing appropriate conservation measures, as described below.


      1. The Migratory Birds Treaty Act of 1918.
      2. The Bald and Golden Eagle Protection Act of 1940.
      3. 50 C.F.R. Sec. 10.12 and 16 U.S.C. Sec. 668(a)


   The birds listed below are birds of particular concern either because they occur on the USFWS
   Birds of Conservation Concern (BCC) list or warrant special attention in your project location.
   To learn more about the levels of concern for birds on your list and how this list is generated, see
   the FAQ below. This is not a list of every bird you may find in this location, nor a guarantee that
   every bird on this list will be found in your project area. To see exact locations of where birders
   and the general public have sighted birds in and around your project area, visit the E-bird data
   mapping tool (Tip: enter your location, desired date range and a species on your list). For
   projects that occur off the Atlantic Coast, additional maps and models detailing the relative
   occurrence and abundance of bird species on your list are available. Links to additional
   information about Atlantic Coast birds, and other important information about your migratory
   bird list, including how to properly interpret and use your migratory bird report, can be found
   below.

   For guidance on when to schedule activities or implement avoidance and minimization measures
   to reduce impacts to migratory birds on your list, click on the PROBABILITY OF PRESENCE
   SUMMARY at the top of your list to see when these birds are most likely to be present and
   breeding in your project area.

                                                                                                         BREEDING
   NAME                                                                                                  SEASON
   Bald Eagle Haliaeetus leucocephalus                                                                   Breeds Dec 1 to
       This is not a Bird of Conservation Concern (BCC) in this area, but warrants attention             Aug 31
       because of the Eagle Act or for potential susceptibilities in offshore areas from certain types
       of development or activities.
       https://ecos.fws.gov/ecp/species/1626

   Black Swift Cypseloides niger                                                                         Breeds Jun 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA          to Sep 10
       and Alaska.
       https://ecos.fws.gov/ecp/species/8878




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                                                                                                   BREEDING
   NAME                                                                                            SEASON
   Brewer's Sparrow Spizella breweri                                                               Breeds May 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Aug 10
       (BCRs) in the continental USA
       https://ecos.fWs.gov/ecp/species/9291

   Brown-capped Rosy-finch Leucosticte australis                                                   Breeds Jun 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Sep 15
       and Alaska.

   Golden Eagle Aquila chrysaetos                                                                  Breeds Jan 1 to
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   Aug 31
       (BCRs) in the continental USA
       https://ecos.fws.gov/ecp/species/1680

   Lewis's Woodpecker Melanerpes lewis                                                             Breeds Apr 20
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Sep 30
       and Alaska.
       https://ecos.fws.gov/ecp/species/9408

   Long-billed Curlew Numenius americanus                                                          Breeds Apr 1 to
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    Jul 31
       and Alaska.
       https://ecos.fws.gov/ecp/species/5511

   Olive-sided Flycatcher Contopus cooperi                                                         Breeds May 20
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Aug 31
       and Alaska.
       https://ecos.fws.gov/ecp/species/3914

   Pinyon Jay Gymnorhinus cyanocephalus                                                            Breeds Feb 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Jul 15
       and Alaska.
       https://ecos.fws.gov/ecp/species/9420

   Rufous Hummingbird selasphorus rufus                                                            Breeds
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    elsewhere
       and Alaska.
       https://ecos.fws.gov/ecp/species/8002

   Veery Catharus fuscescens salicicola                                                            Breeds May 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Jul 15
       (BCRs) in the continental USA

   Virginia's Warbler Vermivora virginiae                                                          Breeds May 1 to
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    Jul 31
       and Alaska.
       https://ecos.fws.gov/ecp/species/9441




                                                                                    Rvsd Plan - 00004329
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                                                                                                   BREEDING
   NAME                                                                                            SEASON
   Willow Flycatcher Empidonax traillii                                                            Breeds May 20
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   tO Aug 31
       (BCRs) in the continental USA
       https://ecos.fWs.gov/ecp/species/3482


   Probability Of Presence Summary
   The graphs below provide our best understanding of when birds of concern are most likely to be
   present in your project area. This information can be used to tailor and schedule your project
   activities to avoid or minimize impacts to birds. Please make sure you read and understand the
   FAQ “Proper Interpretation and Use of Your Migratory Bird Report” before using or attempting
   to interpret this report.

   Probability of Presence (■)

   Each green bar represents the bird's relative probability of presence in the 10km grid cell(s) your
   project overlaps during a particular week of the year. (A year is represented as 12 4-week
   months.) A taller bar indicates a higher probability of species presence. The survey effort (see
   below) can be used to establish a level of confidence in the presence score. One can have higher
   confidence in the presence score if the corresponding survey effort is also high.

   How is the probability of presence score calculated? The calculation is done in three steps:

      1. The probability of presence for each week is calculated as the number of survey events in
         the week where the species was detected divided by the total number of survey events for
         that week. For example, if in week 12 there were 20 survey events and the Spotted Towhee
         was found in 5 of them, the probability of presence of the Spotted Towhee in week 12 is
         0.25.
      2. To properly present the pattern of presence across the year, the relative probability of
         presence is calculated. This is the probability of presence divided by the maximum
         probability of presence across all weeks. For example, imagine the probability of presence
         in week 20 for the Spotted Towhee is 0.05, and that the probability of presence at week 12
         (0.25) is the maximum of any week of the year. The relative probability of presence on
         week 12 is 0.25/0.25 = 1; at week 20 it is 0.05/0.25 = 0.2.
       3. The relative probability of presence calculated in the previous step undergoes a statistical
          conversion so that all possible values fall between 0 and 10, inclusive. This is the
          probability of presence score.
   Breeding Season ( )
   Yellow bars denote a very liberal estimate of the time-frame inside which the bird breeds across
   its entire range. If there are no yellow bars shown for a bird, it does not breed in your project
   area.

   Survey Effort (I)



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   Vertical black lines superimposed on probability of presence bars indicate the number of surveys
   performed for that species in the 10km grid cell(s) your project area overlaps. The number of
   surveys is expressed as a range, for example, 33 to 64 surveys.

   No Data (-)
   A week is marked as having no data if there were no survey events for that week.

   Survey Timeframe
   Surveys from only the last 10 years are used in order to ensure delivery of currently relevant
   information. The exception to this is areas off the Atlantic coast, where bird returns are based on
   all years of available data, since data in these areas is currently much more sparse.



                                                      ■ probability of presence           breeding season   I survey effort   — no data

    SPECIES               JAN     FEB       MAR      APR      MAY             JUN   JUL     AUG     SEP      OCT      NOV      DEC
    Bald Eagle                                                        ■
    Non-BCC Vulnerable                                                I

    Black Swift
    BCC Rangewide (CON)

    Brewer's Sparrow      ___________________ _ ___________           ,
    BCC- BCR

    Brown-capped
    Rosy-finch
    BCC Rangewide (CON)
    Golden Eagle          _______________ ||_,________________ 111
    BCC - BCR                              ■                    I I

    Lewis's
    Woodpecker
    BCC Rangewide (CON)

    Long-billed Curlew
    BCC Rangewide (CON)

    Olive-sided                                                        i
    Flycatcher                                                        j
    BCC Rangewide (CON)

    Pinyon Jay
    BCC Rangewide (CON)

    Rufous
    Hummingbird
    BCC Rangewide (CON)

    Veery
    BCC- BCR

    Virginia's Warbler    ______________________________________ I
    BCC Rangewide (CON)                                                   I


    Willow Flycatcher____________________________________ ■
    BCC- BCR                                              I




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   Additional information can be found using the following links:

       ■ Birds of Conservation Concern http://www.fws.gov/birds/management/managed-species/
         birds-of-conservation-concern.php
       ■ Measures for avoiding and minimizing impacts to birds http://www.fws.gov/birds/
         management/project-assessment-tools-and-guidance/
         conservation-measures.php
       ■ Nationwide conservation measures for birds http://www.fws.gov/migratorybirds/pdf/
         management/nationwidestandardconservationmeasures.pdf


   Migratory Birds FAQ
   Tell me more about conservation measures I can implement to avoid or minimize impacts
   to migratory birds.
   Nationwide Conservation Measures describes measures that can help avoid and minimize
   impacts to all birds at any location year round. Implementation of these measures is particularly
   important when birds are most likely to occur in the project area. When birds may be breeding in
   the area, identifying the locations of any active nests and avoiding their destruction is a very
   helpful impact minimization measure. To see when birds are most likely to occur and be breeding
   in your project area, view the Probability of Presence Summary. Additional measures and/or
   permits may be advisable depending on the type of activity you are conducting and the type of
   infrastructure or bird species present on your project site.

   What does IPaC use to generate the migratory birds potentially occurring in my specified
   location?
   The Migratory Bird Resource List is comprised of USFWS Birds of Conservation Concern
   (BCC) and other species that may warrant special attention in your project location.

   The migratory bird list generated for your project is derived from data provided by the Avian
   Knowledge Network (AKN). The AKN data is based on a growing collection of survey, banding,
   and citizen science datasets and is queried and filtered to return a list of those birds reported as
   occurring in the 10km grid cell(s) which your project intersects, and that have been identified as
   warranting special attention because they are a BCC species in that area, an eagle (Eagle Act
   requirements may apply), or a species that has a particular vulnerability to offshore activities or
   development.

   Again, the Migratory Bird Resource list includes only a subset of birds that may occur in your
   project area. It is not representative of all birds that may occur in your project area. To get a list
   of all birds potentially present in your project area, please visit the E-bird Explore Data Tool.

   What does IPaC use to generate the probability of presence graphs for the migratory birds
   potentially occurring in my specified location?




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   The probability of presence graphs associated with your migratory bird list are based on data
   provided by the Avian Knowledge Network (AKN). This data is derived from a growing
   collection of survey, banding, and citizen science datasets .

   Probability of presence data is continuously being updated as new and better information
   becomes available. To learn more about how the probability of presence graphs are produced and
   how to interpret them, go the Probability of Presence Summary and then click on the "Tell me
   about these graphs" link.

   How do I know if a bird is breeding, wintering, migrating or present year-round in my
   project area?
   To see what part of a particular bird's range your project area falls within (i.e. breeding,
   wintering, migrating or year-round), you may refer to the following resources: The Cornell Lab
   of Ornithology All About Birds Bird Guide, or (if you are unsuccessful in locating the bird of
   interest there), the Cornell Lab of Ornithology Neotropical Birds guide. If a bird on your
   migratory bird species list has a breeding season associated with it, if that bird does occur in your
   project area, there may be nests present at some point within the timeframe specified. If "Breeds
   elsewhere" is indicated, then the bird likely does not breed in your project area.

   What are the levels of concern for migratory birds?
   Migratory birds delivered through IPaC fall into the following distinct categories of concern:

      1. "BCC Rangewide" birds are Birds of Conservation Concern (BCC) that are of concern
         throughout their range anywhere within the USA (including Hawaii, the Pacific Islands,
         Puerto Rico, and the Virgin Islands);
      2. "BCC - BCR" birds are BCCs that are of concern only in particular Bird Conservation
         Regions (BCRs) in the continental USA; and
       3. "Non-BCC - Vulnerable" birds are not BCC species in your project area, but appear on
          your list either because of the Eagle Act requirements (for eagles) or (for non-eagles)
          potential susceptibilities in offshore areas from certain types of development or activities
          (e.g. offshore energy development or longline fishing).
   Although it is important to try to avoid and minimize impacts to all birds, efforts should be made,
   in particular, to avoid and minimize impacts to the birds on this list, especially eagles and BCC
   species of rangewide concern. For more information on conservation measures you can
   implement to help avoid and minimize migratory bird impacts and requirements for eagles,
   please see the FAQs for these topics.

   Details about birds that are potentially affected by offshore projects
   For additional details about the relative occurrence and abundance of both individual bird species
   and groups of bird species within your project area off the Atlantic Coast, please visit the
   Northeast Ocean Data Portal. The Portal also offers data and information about other taxa besides
   birds that may be helpful to you in your project review. Alternately, you may download the bird
   model results files underlying the portal maps through the NOAA. NCCOS Integrative Statistical




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   Modeling and Predictive Mapping of Marine Bird Distributions and Abundance on the Atlantic
   Outer Continental Shelf project webpage.

   Bird tracking data can also provide additional details about occurrence and habitat use
   throughout the year, including migration. Models relying on survey data may not include this
   information. For additional information on marine bird tracking data, see the Diving Bird Study
   and the nanotag studies or contact Caleb Spiegel or Pam Loring.

   What if I have eagles on my list?
   If your project has the potential to disturb or kill eagles, you may need to obtain a permit to avoid
   violating the Eagle Act should such impacts occur.

   Proper Interpretation and Use of Your Migratory Bird Report
   The migratory bird list generated is not a list of all birds in your project area, only a subset of
   birds of priority concern. To learn more about how your list is generated, and see options for
   identifying what other birds may be in your project area, please see the FAQ “What does IPaC
   use to generate the migratory birds potentially occurring in my specified location”. Please be
   aware this report provides the “probability of presence” of birds within the 10 km grid cell(s) that
   overlap your project; not your exact project footprint. On the graphs provided, please also look
   carefully at the survey effort (indicated by the black vertical bar) and for the existence of the “no
   data” indicator (a red horizontal bar). A high survey effort is the key component. If the survey
   effort is high, then the probability of presence score can be viewed as more dependable. In
   contrast, a low survey effort bar or no data bar means a lack of data and, therefore, a lack of
   certainty about presence of the species. This list is not perfect; it is simply a starting point for
   identifying what birds of concern have the potential to be in your project area, when they might
   be there, and if they might be breeding (which means nests might be present). The list helps you
   know what to look for to confirm presence, and helps guide you in knowing when to implement
   conservation measures to avoid or minimize potential impacts from your project activities,
   should presence be confirmed. To learn more about conservation measures, visit the FAQ “Tell
   me about conservation measures I can implement to avoid or minimize impacts to migratory
   birds” at the bottom of your migratory bird trust resources page.




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   Wetlands
   Impacts to NWI wetlands and other aquatic habitats may be subject to regulation under Section
   404 of the Clean Water Act, or other State/Federal statutes.

   For more information please contact the Regulatory Program of the local U.S. Army Corps of
   Engineers District.

   Please note that the NWI data being shown may be out of date. We are currently working to
   update our NWI data set. We recommend you verify these results with a site visit to determine
   the actual extent of wetlands on site.

   Due to your project's size, the list below may be incomplete, or the acreages reported may be
   inaccurate. For a full list, please contact the local U.S. Fish and Wildlife office or visit https://
   www.fws.gov/wetlands/data/mapper.HTML

   FRESHWATER EMERGENT WETLAND
       ■ PEM1B
       ■ PEM1A
       ■ PEM1Ah
   FRESHWATER POND
       ■ PABG
       ■ PABFh
       ■ PABGh
       ■ PABFx
       ■ PABGb




                                                                            Rvsd Plan - 00004335
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                      United States Department of the Interior
                                   FISH AND WILDLIFE SERVICE
                                  Colorado Ecological Services Field Office
                                           Denver Federal Center
                                               P.O. Box 25486
                                          Denver, CO 80225-0486
                                 Phone: (303) 236-4773 Fax: (303) 236-4005
                                      http://www.fws.gov/coloradoES
                                       http://www.fws.gov/platteriver




   In Reply Refer To:                                                                    July 11, 2018
   Consultation Code: 06E24000-2018-SLI-1268
   Event Code: 06E24000-2018-E-03378
   Project Name: Rio Grande National Forest Plan Revision

   Subject: List of threatened and endangered species that may occur in your proposed project
            location, and/or may be affected by your proposed project


   To Whom It May Concern:

   The enclosed species list identifies threatened, endangered, proposed and candidate species, as
   well as proposed and final designated critical habitat, that may occur within the boundary of your
   proposed project and/or may be affected by your proposed project. The species list fulfills the
   requirements of the U.S. Fish and Wildlife Service (Service) under section 7(c) of the
   Endangered Species Act (Act) of 1973, as amended (16 U.S.C. 1531 et seq.).

   New information based on updated surveys, changes in the abundance and distribution of
   species, changed habitat conditions, or other factors could change this list. Please feel free to
   contact us if you need more current information or assistance regarding the potential impacts to
   federally proposed, listed, and candidate species and federally designated and proposed critical
   habitat. Please note that under 50 CFR 402.12(e) of the regulations implementing section 7 of the
   Act, the accuracy of this species list should be verified after 90 days. This verification can be
   completed formally or informally as desired. The Service recommends that verification be
   completed by visiting the ECOS-IPaC website at regular intervals during project planning and
   implementation for updates to species lists and information. An updated list may be requested
   through the ECOS-IPaC system by completing the same process used to receive the enclosed list.

   The purpose of the Act is to provide a means whereby threatened and endangered species and the
   ecosystems upon which they depend may be conserved. Under sections 7(a)(1) and 7(a)(2) of the
   Act and its implementing regulations (50 CFR 402 et seq.), Federal agencies are required to
   utilize their authorities to carry out programs for the conservation of threatened and endangered




                                                                              Rvsd Plan - 00004336
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   species and to determine whether projects may affect threatened and endangered species and/or
   designated critical habitat.

   A Biological Assessment is required for construction projects (or other undertakings having
   similar physical impacts) that are major Federal actions significantly affecting the quality of the
   human environment as defined in the National Environmental Policy Act (42 U.S.C. 4332(2)
   (c)). For projects other than major construction activities, the Service suggests that a biological
   evaluation similar to a Biological Assessment be prepared to determine whether the project may
   affect listed or proposed species and/or designated or proposed critical habitat. Recommended
   contents of a Biological Assessment are described at 50 CFR 402.12.

   If a Federal agency determines, based on the Biological Assessment or biological evaluation, that
   listed species and/or designated critical habitat may be affected by the proposed project, the
   agency is required to consult with the Service pursuant to 50 CFR 402. In addition, the Service
   recommends that candidate species, proposed species and proposed critical habitat be addressed
   within the consultation. More information on the regulations and procedures for section 7
   consultation, including the role of permit or license applicants, can be found in the "Endangered
   Species Consultation Handbook" at:

   http://www.fws.gov/endangered/esa-library/pdf/TOC-GLOS.PDF

   Please be aware that bald and golden eagles are protected under the Bald and Golden Eagle
   Protection Act (16 U.S.C. 668 et seq.), and projects affecting these species may require
   development of an eagle conservation plan (http://www.fws.gov/windenergy/
   eagle_guidance.html). Additionally, wind energy projects should follow the wind energy
   guidelines (http://www.fws.gov/windenergy/) for minimizing impacts to migratory birds and
   bats.

   Guidance for minimizing impacts to migratory birds for projects including communications
   towers (e.g., cellular, digital television, radio, and emergency broadcast) can be found at: http://
   www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/towers.htm ; http://
   www.towerkill.com; and http://www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/
   comtow.html.

   We appreciate your concern for threatened and endangered species. The Service encourages
   Federal agencies to include conservation of threatened and endangered species into their project
   planning to further the purposes of the Act. Please include the Consultation Tracking Number in
   the header of this letter with any request for consultation or correspondence about your project
   that you submit to our office.

   Attachment(s):

       ■ Official Species List
       ■ USFWS National Wildlife Refuges and Fish Hatcheries
       ■ Migratory Birds
       ■ Wetlands


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   Official Species List
   This list is provided pursuant to Section 7 of the Endangered Species Act, and fulfills the
   requirement for Federal agencies to "request of the Secretary of the Interior information whether
   any species which is listed or proposed to be listed may be present in the area of a proposed
   action".

   This species list is provided by:

   Colorado Ecological Services Field Office
   Denver Federal Center
   P.O. Box 25486
   Denver, CO 80225-0486
   (303) 236-4773

   This project's location is within the jurisdiction of multiple offices. Expect additional species list
   documents from the following offices, and expect that the species and critical habitats in each
   document reflect only those that fall in the office's jurisdiction:

   New Mexico Ecological Services Field Office
   2105 Osuna Road Ne
   Albuquerque, NM 87113-1001
   (505) 346-2525

   Western Colorado Ecological Services Field Office
   445 West Gunnison Avenue, Suite 240
   Grand Junction, CO 81501-5711
   (970) 243-2778




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   Project Summary
   Consultation Code: 06E24000-2018-SLI-1268

   Event Code:         06E24000-2018-E-03378

   Project Name:        Rio Grande National Forest Plan Revision

   Project Type:       ** OTHER **

   Project Description: Plan revision update under the 2012 planning rule. This iteration uses a
                        shape file for the Forest to get a more accurate list of occurrences.

   Project Location:
      Approximate location of the project can be viewed in Google Maps: https://
      www.google.com/maps/place/37.704039900000026N107.04466975831235W




   Counties: Alamosa, CO | Archuleta, CO | Chaffee, CO | Conejos, CO | Costilla, CO | Custer,
             CO | Fremont, CO | Hinsdale, CO | Huerfano, CO | Mineral, CO | Rio Grande, CO |
             Saguache, CO | San Juan, CO | Rio Arriba, NM




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   Endangered Species Act Species
   There is a total of 13 threatened, endangered, or candidate species on this species list.

   Species on this list should be considered in an effects analysis for your project and could include
   species that exist in another geographic area. For example, certain fish may appear on the species
   list because a project could affect downstream species. Note that 3 of these species should be
   considered only under certain conditions.

   IPaC does not display listed species or critical habitats under the sole jurisdiction of NOAA
   Fisheries1, as USFWS does not have the authority to speak on behalf of NOAA. and the
   Department of Commerce.

   See the "Critical habitats" section below for those critical habitats that lie wholly or partially
   within your project area under this office's jurisdiction. Please contact the designated FWS office
   if you have questions.


      1. NOAA. Fisheries, also known as the National Marine Fisheries Service (NMFS), is an
         office of the National Oceanic and Atmospheric Administration within the Department of
         Commerce.


   Mammals
   NAME                                                                                                   STATUS
   Canada Lynx Lynx canadensis                                                                            Threatened
       Population: Wherever Found in Contiguous U.S.
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3652

   New Mexico Meadow Jumping Mouse Zapus hudsonius luteus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/7965

   North American Wolverine Gulo gulo luscus                                                              Proposed
      No critical habitat has been designated for this species.                                           Threatened
      Species profile: https://ecos.fws.gov/ecp/species/5123




                                                                                              Rvsd Plan - 00004341
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   Birds
   NAME                                                                                                      STATUS
   Gunnison Sage-grouse Centrocercus minimus                                                                 Threatened
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fWs.gov/ecp/species/6040

   Mexican Spotted Owl Strix occidentalis lucida                                                             Threatened
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/8196

   Southwestern Willow Flycatcher Empidonax traillii extimus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/6749

   Yellow-billed Cuckoo Coccyzus americanus                                                                  Threatened
       Population: Western U.S. DPS
       There is proposed critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3911




                                                                                              Rvsd Plan - 00004342
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   Fishes
   NAME                                                                                                      STATUS
   Bonytail Chub Gila elegans                                                                                Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/1377

   Colorado Pikeminnow (=squawfish) Ptychocheilus lucius                                                     Endangered
       Population: Wherever found, except where listed as an experimental population
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/3531

   Greenback Cutthroat Trout Oncorhynchus clarkii stomias                                                    Threatened
      No critical habitat has been designated for this species.
      Species profile: https://ecos.fws.gov/ecp/species/2775

   Humpback Chub Gila cypha                                                                                  Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3930

   Razorback Sucker Xyrauchen texanus                                                                        Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/530


   Insects
   NAME                                                                                                      STATUS
   Uncompahgre Fritillary Butterfly Boloria acrocnema                                                        Endangered
      No critical habitat has been designated for this species.
      Species profile: https://ecos.fws.gov/ecp/species/4419


   Critical habitats
   THERE ARE NO CRITICAL HABITATS WITHIN YOUR PROJECT AREA UNDER THIS OFFICE'S
   JURISDICTION.




                                                                                              Rvsd Plan - 00004343
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    USFWS National Wildlife Refuge Lands And Fish
    Hatcheries
   Any activity proposed on lands managed by the National Wildlife Refuge system must undergo a
   'Compatibility Determination' conducted by the Refuge. Please contact the individual Refuges to
   discuss any questions or concerns.

   REFUGE INFORMATION WAS NOT AVAILABLE WHEN THIS SPECIES LIST WAS GENERATED.
   PLEASE CONTACT THE FIELD OFFICE FOR FURTHER INFORMATION.




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   Migratory Birds
   Certain birds are protected under the Migratory Bird Treaty Act1 and the Bald and Golden Eagle
   Protection Act2.

   Any person or organization who plans or conducts activities that may result in impacts to
   migratory birds, eagles, and their habitats should follow appropriate regulations and consider
   implementing appropriate conservation measures, as described below.


      1. The Migratory Birds Treaty Act of 1918.
      2. The Bald and Golden Eagle Protection Act of 1940.
      3. 50 C.F.R. Sec. 10.12 and 16 U.S.C. Sec. 668(a)


   The birds listed below are birds of particular concern either because they occur on the USFWS
   Birds of Conservation Concern (BCC) list or warrant special attention in your project location.
   To learn more about the levels of concern for birds on your list and how this list is generated, see
   the FAQ below. This is not a list of every bird you may find in this location, nor a guarantee that
   every bird on this list will be found in your project area. To see exact locations of where birders
   and the general public have sighted birds in and around your project area, visit the E-bird data
   mapping tool (Tip: enter your location, desired date range and a species on your list). For
   projects that occur off the Atlantic Coast, additional maps and models detailing the relative
   occurrence and abundance of bird species on your list are available. Links to additional
   information about Atlantic Coast birds, and other important information about your migratory
   bird list, including how to properly interpret and use your migratory bird report, can be found
   below.

   For guidance on when to schedule activities or implement avoidance and minimization measures
   to reduce impacts to migratory birds on your list, click on the PROBABILITY OF PRESENCE
   SUMMARY at the top of your list to see when these birds are most likely to be present and
   breeding in your project area.

                                                                                                         BREEDING
   NAME                                                                                                  SEASON
   Bald Eagle Haliaeetus leucocephalus                                                                   Breeds Dec 1 to
       This is not a Bird of Conservation Concern (BCC) in this area, but warrants attention             Aug 31
       because of the Eagle Act or for potential susceptibilities in offshore areas from certain types
       of development or activities.
       https://ecos.fws.gov/ecp/species/1626

   Black Swift Cypseloides niger                                                                         Breeds Jun 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA          to Sep 10
       and Alaska.
       https://ecos.fws.gov/ecp/species/8878




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                                                                                                   BREEDING
   NAME                                                                                            SEASON
   Brewer's Sparrow Spizella breweri                                                               Breeds May 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Aug 10
       (BCRs) in the continental USA
       https://ecos.fWs.gov/ecp/species/9291

   Brown-capped Rosy-finch Leucosticte australis                                                   Breeds Jun 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Sep 15
       and Alaska.

   Burrowing Owl Athene cunicularia                                                                Breeds Mar 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Aug 31
       (BCRs) in the continental USA
       https://ecos.fws.gov/ecp/species/9737

   Golden Eagle Aquila chrysaetos                                                                  Breeds Jan 1 to
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   Aug 31
       (BCRs) in the continental USA
       https://ecos.fws.gov/ecp/species/1680

   Gray Vireo Vireo vicinior                                                                       Breeds May 10
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Aug 20
       and Alaska.
       https://ecos.fws.gov/ecp/species/8680

   Lewis's Woodpecker Melanerpes lewis                                                             Breeds Apr 20
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Sep 30
       and Alaska.
       https://ecos.fws.gov/ecp/species/9408

   Long-eared Owl asio otus                                                                        Breeds Mar 1 to
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    Jul 15
       and Alaska.
       https://ecos.fws.gov/ecp/species/3631

   Olive-sided Flycatcher Contopus cooperi                                                         Breeds May 20
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Aug 31
       and Alaska.
       https://ecos.fws.gov/ecp/species/3914

   Pinyon Jay Gymnorhinus cyanocephalus                                                            Breeds Feb 15
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Jul 15
       and Alaska.
       https://ecos.fws.gov/ecp/species/9420

   Rufous Hummingbird selasphorus rufus                                                            Breeds
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    elsewhere
       and Alaska.
       https://ecos.fws.gov/ecp/species/8002




                                                                                    Rvsd Plan - 00004346
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                                                                                                   BREEDING
   NAME                                                                                            SEASON
   Veery Catharus fuscescens salicicola                                                            Breeds May 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Jul 15
       (BCRs) in the continental USA

   Virginia's Warbler Vermivora virginiae                                                          Breeds May 1
       This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA    to Jul 31
       and Alaska.
       https://ecos.fWs.gov/ecp/species/9441

   Willow Flycatcher Empidonax traillii                                                            Breeds May 20
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Aug 31
       (BCRs) in the continental USA
       https://ecos.fws.gov/ecp/species/3482


   Probability Of Presence Summary
   The graphs below provide our best understanding of when birds of concern are most likely to be
   present in your project area. This information can be used to tailor and schedule your project
   activities to avoid or minimize impacts to birds. Please make sure you read and understand the
   FAQ “Proper Interpretation and Use of Your Migratory Bird Report” before using or attempting
   to interpret this report.

   Probability of Presence (■)

   Each green bar represents the bird's relative probability of presence in the 10km grid cell(s) your
   project overlaps during a particular week of the year. (A year is represented as 12 4-week
   months.) A taller bar indicates a higher probability of species presence. The survey effort (see
   below) can be used to establish a level of confidence in the presence score. One can have higher
   confidence in the presence score if the corresponding survey effort is also high.

   How is the probability of presence score calculated? The calculation is done in three steps:

      1. The probability of presence for each week is calculated as the number of survey events in
         the week where the species was detected divided by the total number of survey events for
         that week. For example, if in week 12 there were 20 survey events and the Spotted Towhee
         was found in 5 of them, the probability of presence of the Spotted Towhee in week 12 is
         0.25.
      2. To properly present the pattern of presence across the year, the relative probability of
         presence is calculated. This is the probability of presence divided by the maximum
         probability of presence across all weeks. For example, imagine the probability of presence
         in week 20 for the Spotted Towhee is 0.05, and that the probability of presence at week 12
         (0.25) is the maximum of any week of the year. The relative probability of presence on
         week 12 is 0.25/0.25 = 1; at week 20 it is 0.05/0.25 = 0.2.




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       3. The relative probability of presence calculated in the previous step undergoes a statistical
          conversion so that all possible values fall between 0 and 10, inclusive. This is the
          probability of presence score.
   Breeding Season ( )
   Yellow bars denote a very liberal estimate of the time-frame inside which the bird breeds across
   its entire range. If there are no yellow bars shown for a bird, it does not breed in your project
   area.

   Survey Effort (I)
   Vertical black lines superimposed on probability of presence bars indicate the number of surveys
   performed for that species in the 10km grid cell(s) your project area overlaps. The number of
   surveys is expressed as a range, for example, 33 to 64 surveys.

   No Data (-)
   A week is marked as having no data if there were no survey events for that week.

   Survey Timeframe
   Surveys from only the last 10 years are used in order to ensure delivery of currently relevant
   information. The exception to this is areas off the Atlantic coast, where bird returns are based on
   all years of available data, since data in these areas is currently much more sparse.



                                                           ■ probability of presence       breeding season      I survey effort     — no data

    SPECIES               JAN      FEB         MAR         APR    MAY      JUN      JUL       AUG       SEP       OCT       NOV       DEC
    Bald Eagle
                          41-              _   ---------
                                                                 ---------- 1                         -1----- —
                                                                                                  nil-------                         -41-1
    Non-BCC Vulnerable

    Black Swift
    BCC Rangewide (CON)

    Brewer's Sparrow
    BCC- BCR                                                                        I hl nil
                                                                          8074578398403            [Hi] —++ —+-------------
    Brown-capped                                              ---------------0"^—-I—b-n--b 11 HI HI I • -1111                     '-10-0----------------------------
    Rosy-finch
    BCC Rangewide (CON)

    Burrowing Owl         _________________________________________________ I _______________________________________________
    BCC- BCR                                                                       I I

    GC°CdeBnCEagle        ■ --H-H' ■ 0' '1'10' ■ ' - I I I HI I '|l| I I0|l||l I Hill


    Gray Vireo
    BCC Rangewide (CON)

    Lewis's
    Woodpecker
    BCC Rangewide (CON)

    Long-eared Owl
    BCC Rangewide (CON)

    Olive-sided           -------------------------- 1“^ —-I——I—H+h] 0ifii 11011 iij 11111 |B"I' B"”'”*' ■*+*■•■ ■'---------------------------
    Flycatcher




                                                                                                    Rvsd Plan - 00004348
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    SPECIES               JAN   FEB    MAR     APR       MAY           JUN        JUL         AUG         SEP        OCT          NOV       DEC
    BCC Rangewide (CON)

    Pinyon Jay
    BCC Rangewide (CON)   ■0-0-H' ■ I'H'h I'I'il'II'l         ■Hhi Mil ■                                             EE-QEHH-
    Rufous
    Hummingbird                                                  ■ Illi I
    BCC Rangewide (CON)

    Veery                                 ------ -I--------- +-+-I .    I ||||l   l|||   I -- ------ ++++-------- -t-t--------------
    BCC- BCR

    Virginia's Warbler                                                                                                      .ll         '   l.    ,---------------------------
    BCC Rangewide (CON)

    WCOwCRlycatcher--------------------------- -+H||i' ilHHH'li            I '[i|i                            I---—




   Additional information can be found using the following links:

         ■ Birds of Conservation Concern http://www.fws.gov/birds/management/managed-species/
           birds-of-conservation-concern.php
         ■ Measures for avoiding and minimizing impacts to birds http://www.fws.gov/birds/
           management/project-assessment-tools-and-guidance/
           conservation-measures.php
         ■ Nationwide conservation measures for birds http://www.fws.gov/migratorybirds/pdf/
           management/nationwidestandardconservationmeasures.pdf


   Migratory Birds FAQ
   Tell me more about conservation measures I can implement to avoid or minimize impacts
   to migratory birds.
   Nationwide Conservation Measures describes measures that can help avoid and minimize
   impacts to all birds at any location year round. Implementation of these measures is particularly
   important when birds are most likely to occur in the project area. When birds may be breeding in
   the area, identifying the locations of any active nests and avoiding their destruction is a very
   helpful impact minimization measure. To see when birds are most likely to occur and be breeding
   in your project area, view the Probability of Presence Summary. Additional measures and/or
   permits may be advisable depending on the type of activity you are conducting and the type of
   infrastructure or bird species present on your project site.

   What does IPaC use to generate the migratory birds potentially occurring in my specified
   location?
   The Migratory Bird Resource List is comprised of USFWS Birds of Conservation Concern
   (BCC) and other species that may warrant special attention in your project location.

   The migratory bird list generated for your project is derived from data provided by the Avian
   Knowledge Network (AKN). The AKN data is based on a growing collection of survey, banding,
   and citizen science datasets and is queried and filtered to return a list of those birds reported as
   occurring in the 10km grid cell(s) which your project intersects, and that have been identified as



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   warranting special attention because they are a BCC species in that area, an eagle (Eagle Act
   requirements may apply), or a species that has a particular vulnerability to offshore activities or
   development.

   Again, the Migratory Bird Resource list includes only a subset of birds that may occur in your
   project area. It is not representative of all birds that may occur in your project area. To get a list
   of all birds potentially present in your project area, please visit the E-bird Explore Data Tool.

   What does IPaC use to generate the probability of presence graphs for the migratory birds
   potentially occurring in my specified location?
   The probability of presence graphs associated with your migratory bird list are based on data
   provided by the Avian Knowledge Network (AKN). This data is derived from a growing
   collection of survey, banding, and citizen science datasets .

   Probability of presence data is continuously being updated as new and better information
   becomes available. To learn more about how the probability of presence graphs are produced and
   how to interpret them, go the Probability of Presence Summary and then click on the "Tell me
   about these graphs" link.

   How do I know if a bird is breeding, wintering, migrating or present year-round in my
   project area?
   To see what part of a particular bird's range your project area falls within (i.e. breeding,
   wintering, migrating or year-round), you may refer to the following resources: The Cornell Lab
   of Ornithology All About Birds Bird Guide, or (if you are unsuccessful in locating the bird of
   interest there), the Cornell Lab of Ornithology Neotropical Birds guide. If a bird on your
   migratory bird species list has a breeding season associated with it, if that bird does occur in your
   project area, there may be nests present at some point within the timeframe specified. If "Breeds
   elsewhere" is indicated, then the bird likely does not breed in your project area.

   What are the levels of concern for migratory birds?
   Migratory birds delivered through IPaC fall into the following distinct categories of concern:

      1. "BCC Rangewide" birds are Birds of Conservation Concern (BCC) that are of concern
         throughout their range anywhere within the USA (including Hawaii, the Pacific Islands,
         Puerto Rico, and the Virgin Islands);
      2. "BCC - BCR" birds are BCCs that are of concern only in particular Bird Conservation
         Regions (BCRs) in the continental USA; and
      3. "Non-BCC - Vulnerable" birds are not BCC species in your project area, but appear on
          your list either because of the Eagle Act requirements (for eagles) or (for non-eagles)
          potential susceptibilities in offshore areas from certain types of development or activities
          (e.g. offshore energy development or longline fishing).
   Although it is important to try to avoid and minimize impacts to all birds, efforts should be made,
   in particular, to avoid and minimize impacts to the birds on this list, especially eagles and BCC
   species of rangewide concern. For more information on conservation measures you can




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   implement to help avoid and minimize migratory bird impacts and requirements for eagles,
   please see the FAQs for these topics.

   Details about birds that are potentially affected by offshore projects
   For additional details about the relative occurrence and abundance of both individual bird species
   and groups of bird species within your project area off the Atlantic Coast, please visit the
   Northeast Ocean Data Portal. The Portal also offers data and information about other taxa besides
   birds that may be helpful to you in your project review. Alternately, you may download the bird
   model results files underlying the portal maps through the NOAA. NCCOS Integrative Statistical
   Modeling and Predictive Mapping of Marine Bird Distributions and Abundance on the Atlantic
   Outer Continental Shelf project webpage.

   Bird tracking data can also provide additional details about occurrence and habitat use
   throughout the year, including migration. Models relying on survey data may not include this
   information. For additional information on marine bird tracking data, see the Diving Bird Study
   and the nanotag studies or contact Caleb Spiegel or Pam Loring.

   What if I have eagles on my list?
   If your project has the potential to disturb or kill eagles, you may need to obtain a permit to avoid
   violating the Eagle Act should such impacts occur.

   Proper Interpretation and Use of Your Migratory Bird Report
   The migratory bird list generated is not a list of all birds in your project area, only a subset of
   birds of priority concern. To learn more about how your list is generated, and see options for
   identifying what other birds may be in your project area, please see the FAQ “What does IPaC
   use to generate the migratory birds potentially occurring in my specified location”. Please be
   aware this report provides the “probability of presence” of birds within the 10 km grid cell(s) that
   overlap your project; not your exact project footprint. On the graphs provided, please also look
   carefully at the survey effort (indicated by the black vertical bar) and for the existence of the “no
   data” indicator (a red horizontal bar). A high survey effort is the key component. If the survey
   effort is high, then the probability of presence score can be viewed as more dependable. In
   contrast, a low survey effort bar or no data bar means a lack of data and, therefore, a lack of
   certainty about presence of the species. This list is not perfect; it is simply a starting point for
   identifying what birds of concern have the potential to be in your project area, when they might
   be there, and if they might be breeding (which means nests might be present). The list helps you
   know what to look for to confirm presence, and helps guide you in knowing when to implement
   conservation measures to avoid or minimize potential impacts from your project activities,
   should presence be confirmed. To learn more about conservation measures, visit the FAQ “Tell
   me about conservation measures I can implement to avoid or minimize impacts to migratory
   birds” at the bottom of your migratory bird trust resources page.




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   Wetlands
   Impacts to NWI wetlands and other aquatic habitats may be subject to regulation under Section
   404 of the Clean Water Act, or other State/Federal statutes.

   For more information please contact the Regulatory Program of the local U.S. Army Corps of
   Engineers District.

   Please note that the NWI data being shown may be out of date. We are currently working to
   update our NWI data set. We recommend you verify these results with a site visit to determine
   the actual extent of wetlands on site.

   Due to your project's size, the list below may be incomplete, or the acreages reported may be
   inaccurate. For a full list, please contact the local U.S. Fish and Wildlife office or visit https://
   www.fws.gov/wetlands/data/mapper.HTML

   FRESHWATER POND
       ■ PUSCx
       ■ PUSCh
       ■ PABG
       ■ PABFh
       ■ PABGb
       ■ PABFx
   RIVERINE
       ■ R5UBH




                                                                            Rvsd Plan - 00004352
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                      United States Department of the Interior
                                    FISH AND WILDLIFE SERVICE
                                   New Mexico Ecological Services Field Office
                                                2105 Osuna Road Ne
                                           Albuquerque, NM 87113-1001
                                     Phone: (505) 346-2525 Fax: (505) 346-2542
                                   http://www.fws.gov/southwest/es/NewMexico/
                              http://www.fws.gov/southwest/es/ES Lists Main2.html




   In Reply Refer To:                                                                     July 11, 2018
   Consultation Code: 02ENNM00-2018-SLI-1065
   Event Code: 02ENNM00-2018-E-02233
   Project Name: Rio Grande National Forest Plan Revision

   Subject: List of threatened and endangered species that may occur in your proposed project
            location, and/or may be affected by your proposed project


   To Whom It May Concern:

   Thank you for your recent request for information on federally listed species and important
   wildlife habitats that may occur in your project area. The U.S. Fish and Wildlife Service
   (Service) has responsibility for certain species of New Mexico wildlife under the Endangered
   Species Act (ESA) of 1973 as amended (16 USC 1531 et seq.), the Migratory Bird Treaty Act
   (MBTA) as amended (16 USC 701-715), and the Bald and Golden Eagle Protection Act
   (BGEPA) as amended (16 USC 668-668c). We are providing the following guidance to assist you
   in determining which federally imperiled species may or may not occur within your project area
   and to recommend some conservation measures that can be included in your project design.

   FEDERALLY-LISTED SPECIES AND DESIGNATED CRITICAL HABITAT

   Attached is a list of endangered, threatened, and proposed species that may occur in your project
   area. Your project area may not necessarily include all or any of these species. Under the ESA, it
   is the responsibility of the Federal action agency or its designated representative to determine if a
   proposed action "may affect" endangered, threatened, or proposed species, or designated critical
   habitat, and if so, to consult with the Service further. Similarly, it is the responsibility of the
   Federal action agency or project proponent, not the Service, to make "no effect" determinations.
   If you determine that your proposed action will have "no effect" on threatened or endangered
   species or their respective critical habitat, you do not need to seek concurrence with the Service.
   Nevertheless, it is a violation of Federal law to harm or harass any federally-listed threatened or
   endangered fish or wildlife species without the appropriate permit.




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   If you determine that your proposed action may affect federally-listed species, consultation with
   the Service will be necessary. Through the consultation process, we will analyze information
   contained in a biological assessment that you provide. If your proposed action is associated with
   Federal funding or permitting, consultation will occur with the Federal agency under section 7(a)
   (2) of the ESA. Otherwise, an incidental take permit pursuant to section 10(a)(1)(B) of the ESA
   (also known as a habitat conservation plan) is necessary to harm or harass federally listed
   threatened or endangered fish or wildlife species. In either case, there is no mechanism for
   authorizing incidental take "after-the-fact." For more information regarding formal consultation
   and HCPs, please see the Service's Consultation Handbook and Habitat Conservation Plans at
   www.fws.gov/endangered/esa-library/index.html#consultations .

   The scope of federally listed species compliance not only includes direct effects, but also any
   interrelated or interdependent project activities (e.g., equipment staging areas, offsite borrow
   material areas, or utility relocations) and any indirect or cumulative effects that may occur in the
   action area. The action area includes all areas to be affected, not merely the immediate area
   involved in the action. Large projects may have effects outside the immediate area to species not
   listed here that should be addressed. If your action area has suitable habitat for any of the
   attached species, we recommend that species-specific surveys be conducted during the flowering
   season for plants and at the appropriate time for wildlife to evaluate any possible project-related
   impacts.

   Candidate Species and Other Sensitive Species

   A list of candidate and other sensitive species in your area is also attached. Candidate species and
   other sensitive species are species that have no legal protection under the ESA, although we
   recommend that candidate and other sensitive species be included in your surveys and considered
   for planning purposes. The Service monitors the status of these species. If significant declines
   occur, these species could potentially be listed. Therefore, actions that may contribute to their
   decline should be avoided.

   Lists of sensitive species including State-listed endangered and threatened species are compiled
   by New Mexico state agencies. These lists, along with species information, can be found at the
   following websites:

   Biota Information System of New Mexico (BISON-M): www.bison-m.org

   New Mexico State Forestry. The New Mexico Endangered Plant Program:
   www.emnrd.state.nm.us/SFD/ForestMgt/Endangered.html

   New Mexico Rare Plant Technical Council, New Mexico Rare Plants: nmrareplants.unm.edu

   Natural Heritage New Mexico, online species database: nhnm.unm.edu


   WETLANDS AND FLOODPLAINS




                                                                         Rvsd Plan - 00004354
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   Under Executive Orders 11988 and 11990, Federal agencies are required to minimize the
   destruction, loss, or degradation of wetlands and floodplains, and preserve and enhance their
   natural and beneficial values. These habitats should be conserved through avoidance, or
   mitigated to ensure that there would be no net loss of wetlands function and value.

   We encourage you to use the National Wetland Inventory (NWI) maps in conjunction with
   ground-truthing to identify wetlands occurring in your project area. The Service's NWI program
   website, www.fws.gov/wetlands/Data/Mapper.html integrates digital map data with other
   resource information. We also recommend you contact the U.S. Army Corps of Engineers for
   permitting requirements under section 404 of the Clean Water Act if your proposed action could
   impact floodplains or wetlands.

   MIGRATORY BIRDS

   The MBTA. prohibits the taking of migratory birds, nests, and eggs, except as permitted by the
   Service's Migratory Bird Office. To minimize the likelihood of adverse impacts to migratory
   birds, we recommend construction activities occur outside the general bird nesting season from
   March through August, or that areas proposed for construction during the nesting season be
   surveyed, and when occupied, avoided until the young have fledged.

   We recommend review of Birds of Conservation Concern at website www.fws.gov/
   migratorybirdsCurrentBirdIssuesManagementBCC.html to fully evaluate the effects to the
   birds at your site. This list identifies birds that are potentially threatened by disturbance and
   construction.

   BALD AND GOLDEN EAGLES

   The bald eagle (Haliaeetus leucocephalus) was delisted under the ESA on August 9, 2007. Both
   the bald eagle and golden eagle (Aquila chrysaetos) are still protected under the MBTA and
   BGEPA. The BGEPA affords both eagles protection in addition to that provided by the MBTA, in
   particular, by making it unlawful to "disturb" eagles. Under the BGEPA, the Service may issue
   limited permits to incidentally "take" eagles (e.g., injury, interfering with normal breeding,
   feeding, or sheltering behavior nest abandonment). For information on bald and golden eagle
   management guidelines, we recommend you review information provided at www.fws.gov/
   midwest/eagle/guidelines/bgepa.html.

   On our web site www.fws.gov/southwest/es/NewMexico/SBC_intro.cfm , we have included
   conservation measures that can minimize impacts to federally listed and other sensitive species.
   These include measures for communication towers, power line safety for raptors, road and
   highway improvements, spring developments and livestock watering facilities, wastewater
   facilities, and trenching operations.

   We also suggest you contact the New Mexico Department of Game and Fish, and the New
   Mexico Energy, Minerals, and Natural Resources Department, Forestry Division for information
   regarding State fish, wildlife, and plants.




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   Thank you for your concern for endangered and threatened species and New Mexico's wildlife
   habitats. We appreciate your efforts to identify and avoid impacts to listed and sensitive species
   in your project area. For further consultation on your proposed activity, please call 505-346-2525
   or email nmesfo@fws.gov and reference your Service Consultation Tracking Number.

   Attachment(s):

       ■ Official Species List




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   Official Species List
   This list is provided pursuant to Section 7 of the Endangered Species Act, and fulfills the
   requirement for Federal agencies to "request of the Secretary of the Interior information whether
   any species which is listed or proposed to be listed may be present in the area of a proposed
   action".

   This species list is provided by:

   New Mexico Ecological Services Field Office
   2105 Osuna Road Ne
   Albuquerque, NM 87113-1001
   (505) 346-2525

   This project's location is within the jurisdiction of multiple offices. Expect additional species list
   documents from the following offices, and expect that the species and critical habitats in each
   document reflect only those that fall in the office's jurisdiction:

   Colorado Ecological Services Field Office
   Denver Federal Center
   P.O. Box 25486
   Denver, CO 80225-0486
   (303) 236-4773

   Western Colorado Ecological Services Field Office
   445 West Gunnison Avenue, Suite 240
   Grand Junction, CO 81501-5711
   (970) 243-2778




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   Project Summary
   Consultation Code: 02ENNM00-2018-SLI-1065

   Event Code:          02ENNM00-2018-E-02233

   Project Name:        Rio Grande National Forest Plan Revision

   Project Type:        ** OTHER **

   Project Description: Plan revision update under the 2012 planning rule. This iteration uses a
                        shape file for the Forest to get a more accurate list of occurrences.

   Project Location:
      Approximate location of the project can be viewed in Google Maps: https://
      www.google.com/maps/place/37.704039900000026N107.04466975831235W




   Counties: Alamosa, CO | Archuleta, CO | Chaffee, CO | Conejos, CO | Costilla, CO | Custer,
             CO | Fremont, CO | Hinsdale, CO | Huerfano, CO | Mineral, CO | Rio Grande, CO |
             Saguache, CO | San Juan, CO | Rio Arriba, NM




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   Endangered Species Act Species
   There is a total of 7 threatened, endangered, or candidate species on this species list.

   Species on this list should be considered in an effects analysis for your project and could include
   species that exist in another geographic area. For example, certain fish may appear on the species
   list because a project could affect downstream species.

   IPaC does not display listed species or critical habitats under the sole jurisdiction of NOAA
   Fisheries1, as USFWS does not have the authority to speak on behalf of NOAA. and the
   Department of Commerce.

   See the "Critical habitats" section below for those critical habitats that lie wholly or partially
   within your project area under this office's jurisdiction. Please contact the designated FWS office
   if you have questions.


      1. NOAA. Fisheries, also known as the National Marine Fisheries Service (NMFS), is an
         office of the National Oceanic and Atmospheric Administration within the Department of
         Commerce.


   Mammals
   NAME                                                                                                   STATUS
   Canada Lynx Lynx canadensis                                                                            Threatened
       Population: Wherever Found in Contiguous U.S.
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3652

   New Mexico Meadow Jumping Mouse Zapus hudsonius luteus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/7965




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   Birds
   NAME                                                                                                      STATUS
   Least Tern Sterna antillarum                                                                              Endangered
      Population: interior pop.
      No critical habitat has been designated for this species.
      Species profile: https://ecos.fWs.gov/ecp/species/8505

   Mexican Spotted Owl Strix occidentalis lucida                                                             Threatened
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fWs.gov/ecp/species/8196

   Southwestern Willow Flycatcher Empidonax traillii extimus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/6749

   Yellow-billed Cuckoo Coccyzus americanus                                                                  Threatened
       Population: Western U.S. DPS
       There is proposed critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3911


   Amphibians
   NAME                                                                                                      STATUS
   Jemez Mountains Salamander Plethodon neomexicanus                                                         Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fWs.gov/ecp/species/4095


   Critical habitats
   THERE ARE NO CRITICAL HABITATS WITHIN YOUR PROJECT AREA UNDER THIS OFFICE'S
   JURISDICTION.




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                           Biological Assessment

                                      for the


                        Rio Grande National Forest
                          Land Management Plan

                                September 28, 2018




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   Introduction
   This Biological Assessment (BA) conforms to legal requirements set forth under Section 7 of the
   Endangered Species Act (ESA) (19 U.S.C. 1536 (c), 50 CFR 402.12 (f) and 402.14). Section 7(a) (1) of
   the ESA requires federal agencies to use their authorities to further the conservation of listed species.
   Section 7(a) (2) requires that federal agencies ensure any action they authorize, fund, or carry out is not
   likely to jeopardize the continued existence of federally listed species, or destroy or adversely modify
   designated critical habitat.

   This document assesses the effects of implementing the Preferred Alternative for the Rio Grande National
   Forest Land Management Plan on Threatened, Endangered, and Proposed (TEP) species known to exist
   on or near the proposed project area (hereafter referred to as the Forest Plan).

   Action Area
   Location and Description
   The Rio Grande National Forest is administered by the U.S. Forest Service and is one of 154 national
   forests nationwide. The Forest is within the Rocky Mountain Region, which oversees national forests and
   grasslands in Colorado, Kansas, Nebraska, South Dakota, and Wyoming. There are 12 national forests and
   two national grasslands in Colorado.

   The Rio Grande National Forest consists of approximately 1.83 million acres in south-central Colorado
   (Figure 1) and forms the backdrop for the San Luis Valley, one of the largest mountain basins in the
   world. The San Juan Mountains form the western boundary of the Forest. Elevation ranges from about
   7,800 feet in the foothills to more than 13,000 feet along the Continental Divide. The eastern boundary
   follows the Sangre de Cristo mountain range, where elevations exceed 14,000 feet.

   The San Luis Valley lies between the two ranges. The valley contains very little National Forest System
   land. Most National Forest System lands are located in the Sangre de Cristo and San Juan mountain
   ranges on either side of the San Luis Valley.

   The range of ecosystems that occurs on the Forest is generally determined by elevation. At the highest
   elevations is alpine tundra, which transitions into spruce-fir forests, which is generally inhabited by
   Engelmann spruce and subalpine fir mixed with aspen. Vegetation in these ecosystems has been
   substantially altered by the recent spruce bark beetle infestation.

   Below the spruce-fir ecosystem are the mixed-conifer ecosystems, which occur in the transition zone
   between the higher elevation spruce-fir and the pinyon-juniper. These ecosystems range from wet to drier
   ecosystem sites. They include a mix of conifer species, such as ponderosa pine, Douglas fir, white fir,
   Colorado blue spruce, and smaller amounts of aspen. Depending on site conditions, limber pine,
   bristlecone pine, and some pinyon pine or juniper can also be present.

   At lower elevations is the pinyon-juniper woodland ecosystem, which includes pinyon pine, Rocky
   Mountain juniper, and Utah juniper. These woodlands generally occur on warm, dry sites on mountain
   slopes, mesas, plateaus, and ridges. Understory species include sparse perennial grasses, annual and
   perennial forbs, and sparse shrubs.

   Small amounts of Rocky Mountain Gambel oak shrubland ecosystems are present at the north end of the
   San Luis Valley near Poncha Pass. The Southern Rocky Mountain montane-subalpine grassland
   ecosystem includes Thurber fescue, Arizona fescue, and several other grasses, forbs, and sedges.


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   The Rocky Mountain riparian ecosystem includes numerous riparian types in the upper montane and
   subalpine zones. These systems are highly varied and generally consist of cottonwoods, willows, sedges,
   and other herbaceous vegetation, aspen, and conifers such as blue spruce, Engelmann spruce, and
   subalpine fir.

   The Forest provides habitat for many species of mammals, birds, reptiles, amphibians, and fish. Eight
   species are federally recognized as threatened or endangered animal species including: black-footed
   ferret, Canada lynx, Gunnison sage grouse, Mexican spotted owl, New Mexico meadow jumping mouse,
   Southwestern willow flycatcher, Uncompahgre fritillary butterfly, and yellow-billed cuckoo.

   The Forest represents a large part of the core area for Canada lynx, which were reintroduced to Colorado
   from 1999 to 2006. The vast majority of Canada lynx in Colorado remain and reproduce in the high-
   elevation spruce-fir zone in the southwestern part of the state.




   Figure 1: Location of Rio Grande National Forest in Colorado




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   Forest Plan Components
   Background
   Land management plans provide direction for the management of a national forest by guiding programs,
   practices, and projects. Land management plans are also referred to as forest plans. Forest plans establish
   overall management direction and guidance for each national forest. The forest plan guides project
   implementation, practices, and uses that assure sustainable multiple use management and outputs for the
   Rio Grande National Forest. The forest plan describes desired conditions, goals, objectives, standards, and
   guidelines, and identifies land suitability for multiple uses and resources in the plan area. This is similar
   to a city or county comprehensive plan that helps guide land use and development. Forest plan direction
   applies only to National Forest System lands and does not imply or form direction for other ownerships
   (36 CFR 219.2).

   Forest plans are strategic in nature and do not compel any action, authorize projects or activities, or
   guarantee specific results. Forest plans provide the vision and strategic direction needed to move a
   national forest toward ecological, social, and economic sustainability. Project-level environmental
   analysis will be completed for specific proposals that implement forest plan direction. A forest plan may
   restrict the agency authorizing or implementing projects and activities. Projects and activities must be
   consistent with the forest plan (36 CFR 219.15).

   Plan components included in forest plans provide integrated management direction that provide for the
   social, economic, and ecological sustainability and multiple uses of Forest lands and resources. In May
   2012, the U.S. Department of Agriculture adopted 36 CFR 219 regulations, commonly called the 2012
   Planning Rule, to guide collaborative and science-based development, amendment, or revision of forest
   plans that promote the ecological integrity of national forests while considering social and economic
   sustainability.

   A forest plan establishes desired conditions, objectives, standards, guidelines, and land suitability. These
   are required plan components under the 2012 Planning Rule and Forest Service Handbook 1909.12. The
   forest plan provides guidance for project- and activity-level decision-making on the Forest for
   approximately the next 15 years.

   Plan Components Defined
   Plan components guide future project and activities, as well as the monitoring program. Plan components
   are not commitments or final decisions approving projects or activities.

   Desired Conditions
   The 2012 Planning Rule states, “a desired condition is a description of the specific social, economic,
   and/or ecological characteristics of the plan area, or a portion of the plan area, toward which management
   of the land and resources should be directed. Desired conditions must be described in terms that are
   specific enough to allow progress toward their achievement to be determined, but do not include
   completion dates” (36 CFR 291.7(e)(1)(i).

   Objectives
   According to the 2012 Planning Rule, “an objective is a concise, measurable, and time-specific statement
   of a desired rate of progress toward a desired condition or conditions.” (36 CFR 219.9 (e)(1)(i)).
   Objectives were developed considering the historic and anticipated budget allocations for the Forest, as
   well as professional experience in implementing various resource programs and activities. Objectives can


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   exceed or not meet an accomplishment based on numerous factors, including budget and staffing
   increases or decreases, changes in planning efficiencies, and unanticipated resource constraints.

   Standards
   The 2012 Planning Rule defines standards as “a mandatory constraint on project and activity decision­
   making, established to help achieve or maintain the desired condition or conditions, to avoid or mitigate
   undesirable effects, or to meet applicable legal requirements” (36 CFR 219.7(3)(1)(iii)). Standards can be
   applied Forestwide, or specific to a particular management area.

   Guidelines
   Guidelines are described in the 2012 Planning Rule as “a constraint on project and activity decision­
   making that allows for departure from its terms, so long as the purpose of the guidelines is met.
   Guidelines are established to help achieve or maintain a desired condition or conditions, to avoid or
   mitigate undesirable effects, or to meet applicable legal requirements” (36 CFR 219.7(3)(1)(iv)). A
   guideline can be Forestwide or specific to a management area.

   Suitability of Lands
   Suitability determinations are required by the 2012 Planning Rule. The rule states, “Specific lands within
   a plan area will be identified as suitable for various multiple uses or activities based on the desired
   conditions applicable to those lands. The plan will also identify lands within the plan area as not suitable
   for uses that are not compatible with desired conditions for those lands. The suitability of lands need not
   be identified for every use and activity. Suitability identifications may be made after consideration of
   historic uses and of issues that have arisen in the planning process. Every plan must identify those lands
   that are not suitable for timber production” (36 CFR 219.7(e)(1)(v)).

   The identification of suitability of lands for a particular use in the forest plan indicates that the use may be
   appropriate but does authorize a specific commitment. Uses or activities may not occur in areas that are
   identified as not suitable for that use or activity. Subsequent site-specific analysis compliant with the
   National Environmental Policy Act must be done to prohibit an existing use or authorize a new use.
   Generally, Forest lands are suitable for uses and management activities appropriate for national forests,
   such as outdoor recreation or timber, unless identified as not suitable.

   Goals
   Goals can be included as optional plan components. Goals are broad statements of intent, other than
   desired conditions, usually related to process or interaction with the public. Goals are expressed in broad
   general terms, but do not include completion dates (36 CFR 219.7(e)(2)).

   Management Approaches
   Management approaches are optional plan content (FSH 1909.12 § 224) that describes the principal
   strategies and program priorities the responsible official intends to use to carry out projects and activities
   developed under the plan. Management approaches can convey a sense of priority and focus among
   objectives and the likely management emphasis. They relate to desired conditions and may indicate the
   future course or direction of change while recognizing budget trends, program demands, and
   accomplishments.

   Project and Activity Consistency with the Forest Plan
   The National Forest Management Act of 1976 and the 2012 Planning Rule require that all projects and
   activities authorized by the Forest Service must be consistent with all applicable plan components (16


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   U.S.C. 1604 (i) as described at 36 CFR § 219.15 (c and d)). The approving document must describe how
   the given project or activity is consistent with applicable plan components by meeting the following
   criteria (36 CFR § 219.15(d)):

       1. Desired conditions and objectives. Projects or activities contribute to the maintenance or
          attainment of one or more desired conditions or objectives or do not foreclose the opportunity to
          maintain or achieve any desired conditions or objectives over the long term.

       2. Standards. Projects or activities comply with applicable standards.

       3. Guidelines. Projects or activities

               a.   comply with applicable guidelines as set out in the plan or

               b. are designed in a way that is as effective in achieving the purpose of the applicable
                  guidelines (§ 219.7(e)(1)(iv)).

       4. Suitability. Projects or activities occur in an area

               a. that the plan identifies as suitable for that type of project or activity or

               b. for which the plan is silent with respect to its suitability for that type of project or activity.

   When a proposed project or activity would not be consistent with the applicable plan components, the
   responsible official can do one of the following, subject to valid existing rights (36 CFR § 219.15(c)):

       •   Modify the proposed project or activity to make it consistent with the applicable plan
           components,

       •   Reject the proposal or terminate the project or activity,

       •   Amend the plan so that the project or activity will be consistent with the plan as amended, or

       •   Amend the plan contemporaneously with the approval of the project or activity so that the project
           or activity will be consistent with the plan as amended. This amendment may be limited to apply
           only to the project or activity.


   Description of the Forest Plan (Preferred Alternative)
   Plan components proposed under the Forest Plan are listed in Appendix A. Primary components
   pertaining to federally listed and proposed species consist of the following:

   Desired Conditions
   DC-TEPC-1: Maintain or improve habitat conditions that contribute to either stability, recovery or both,
   for threatened, endangered, proposed, and candidate species. (Forestwide)
   Desired conditions related to habitat for Canada lynx are found in the Southern Rockies Lynx
   Amendment.

   Standards
   S-TEPC-1: The Southern Rockies Lynx Amendment direction (Appendix E), as amended and modified
   by the forest plan record of decision, shall be applied. (Forestwide)

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   VEG S7 (or S-TEPC-2): Salvage activities in stands that represent high quality lynx habitat may occur in
   up to seven percent of the high-probability lynx use area (95 percent lynx use areas shown in Appendix
   G) that overlaps the suitable timber base 15 years from the date on the forest plan decision. Salvage
   activities in VEG S7 stands in combination with all vegetation management50 activities including
   incidental damage resulting in either Stand Initiation Structural Stage44 conditions, a reduction of
   horizontal cover19, or both, are tracked for 15 years from the decision date for this forest plan decision.
   (High-probability lynx use areas)
   S-TEPC-3: Southern Rockies Lynx Amendment standards VEG S1 and VEG S2 do not apply on lynx
   analysis units that have no overlap, either wholly or partially, with the high probability lynx use areas
   shown in Appendix G. All other management direction (excluding VEG S1 and VEG S2) in the Southern
   Rockies Lynx Amendment applies to areas outside of the high probability lynx use areas (95 percent use
   area). (Lynx Habitat Outside of High Probability Lynx Use Areas)

   Guidelines
   G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat, management actions
   should be designed with attention to threatened, endangered, proposed, or candidate species and their
   habitats. (Forestwide)


   Species Considered
   The list of federally threatened, endangered, and proposed species is displayed in Table 1, below.
   Although Critical Habitat occurs in the San Luis Valley for federally listed species on other land
   ownerships, there is currently no proposed or designated Critical Habitat located on the Forest for any
   species included in this analysis.

   All threatened, endangered, proposed, and candidate species have been evaluated in Assessment 5 for the
   plan revision (February 2016). As required under the ESA, the analysis for the plan revision involves a
   new project request through the U.S. Fish and Wildlife (USFWS) IPaC system. This request for an initial
   list of threatened, endangered, and proposed species was requested and received on July 20, 2017 (TAILS
   #:06E24000-2017-SLI-1107 Lakewood Office and # 06E24100-2017-SLI-0401 Western Colorado Field
   Office). No change in federally listed or proposed species has occurred between February 2016 and July
   20, 2017; however, one species included in Assessment 5 that occurred historically near the Forest
   boundary (black-footed ferret) is no longer included on the IPaC list for the Rio Grande National Forest.
   This species is therefore removed from further consideration and is not included in this analysis.
   Table 1: List of Threatened, Endangered and Proposed for the Rio Grande National Forest (IPaC
   Consultation Lists, updated list obtained July 11, 2018) including local status, occurrence, and
   determination of effects. An updated IPAC species list based on the RGNF administrative boundary was
   requested on July 11, 2018 with lists received from the Western Colorado, Colorado, and New Mexico
   Ecological Services Field Offices. Because the planning area only occurs within the Western Colorado
   Field Office, this list will be utilized exclusively for this analysis. (USDI Fish and Wildlife Service 2018;
   Consultation code: 06E24100-2018-SLI-0505). Table 1 displays threatened, endangered, and proposed
   species listed for consideration in this analysis.

   Consultation History
   Informal discussions with the U.S. Fish & Wildlife Service regarding the Forest Plan and the proposed
   Canada lynx VEG S7 standard have been on-going since the fall of 2017. An interagency meeting
   between the Service, the Rio Grande National Forest, and the R2 Regional Office to discuss lynx-related
   issues and the preliminary results of the Rocky Mountain Research Station (RMRS) lynx study was held


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   at the Regional Office on October 4, 2017. An interagency call to discuss the proposed VEG S7 iteration
   that was intended to go into the draft Plan Revision was held on October 31. The Service reviewed
   portions of the draft plan revision and Draft Environmental Impact Statement that was published in
   December 2017. A follow-up discussion between the Service, Rio Grande National Forest, and the
   Regional Office occurred on January 18, 2018. On-going developments and discussions regarding a new
   proposed VEG S7 standard and a focused conservation strategy for lynx habitat management have been
   on-going since that time, with interagency discussions occurring on April 13, May 21, June 21, and
   August 17, 2018. The finalization of the RMRS lynx study and summary report for key findings was
   central to these discussions. The proposed new standard was finalized and agreed to in concept by the
   Service during the June 21 discussion, including potential allowance thresholds (i.e. caps) for entering
   VEG S7 stands for limited salvage opportunities based on a prioritized management scenario discussed
   further on August 17, 2018. These thresholds have been increased since that time due to discussions
   between the U.S. Forest Service (USFS) Regional Office for the Rocky Mountain Region and the Rio
   Grande National Forest.
   Tablet. Threatened, endangered, and proposed species considered
                                        Occurrence       Critical Habitat
    Species                Status                                                 Current Status on Forest
                                        on Forest        Status
    Animals
                                                                                  Population trend uncertain. Extensive
                                                                                  change in habitat components from
    Canada Lynx                         Species          No Critical Habitat in
                           Threatened                                             spruce beetle outbreak. Timber
    Lynx canadensis                     Present          the planning area
                                                                                  salvage/winter recreational impacts
                                                                                  primary conservation concern.
    Mexican Spotted                                                               Over 20 years of surveys with no
    Owl                                 Species does     No Critical Habitat in   documented occurrence suggests the
                           Threatened
    Strix occidentals                   not occur        the planning area        species does not occur on Forest or in
    lucida                                                                        the San Luis Valley.
                                                                                  Decreasing trend in presence detected at
                                        5 of 11
    Uncompahgre                                                                   local sites. Long-term persistence an
                                        known
    Fritillary Butterfly                                 No Critical Habitat in   increasing concern. One local
                           Endangered   populations
    Boloria                                              the planning area        population likely extirpated. Potential
                                        occur on
    acrocnema                                                                     recreational impacts/climate change
                                        Forest
                                                                                  primary conservation concern.
                                        1 occurrence                              Riparian habitats; primarily structurally
                                        in over 20                                complex willows. Approximately 2000
    Southwestern
                                        years of                                  acres of modeled potential habitat on
    willow flycatcher                                    No Critical Habitat in
                           Endangered   survey effort.                            Forest. Primarily occurs below 8500’ in
    Empidonax trailii                                    the planning area
                                        Peripheral to                             the SLV. Livestock grazing, recreation,
    extimus
                                        the planning                              other riparian related impacts primary
                                        area.                                     conservation concern.
    New Mexico
    Meadow Jumping
                                        Not known to     No Critical Habitat in   Best potential habitat has been surveyed
    Mouse                  Endangered
                                        occur            the planning area.       to protocol. Not known to occur.
    Zapus hudsonius
    luteus
    Gunnison sage­                      Reintroduced                              Decreasing trend, persistence
    grouse                              population;      No Critical Habitat in   questionable. Approximately 4000 acres
                           Threatened
    Centrocercus                        Peripheral on    the planning area        of habitat on Forest. Potential
    minimus                             Forest                                    influences from alternatives.
    North American                                                                Historic (<20 years) occurrences on
                           Proposed     Not known to     No Critical Habitat in
    Wolverine                                                                     Forest. Currently considered extirpated
                           Threatened   occur            the planning area
    Gulo gulo luscus                                                              in CO.
    Yellow-billed
    cuckoo                              Not known to     No Critical Habitat in   Limited occurrence on San Luis Valley
                           Threatened
    Coccyzus                            occur            the planning area        floor.
    americanus


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                                      Occurrence       Critical Habitat
    Species             Status                                                  Current Status on Forest
                                      on Forest        Status
    Fish
    Greenback                           Species not
    Cutthroat Trout                   present in Rio   No Critical Habitat in   Species not present in Rio Grande Basin
                         Threatened
    Oncorhynchus                      Grande Basin      the planning area                     or on Forest.
    clarkii stomias                    or on Forest.
                                        Species not
    Bonytail Chub                     present in Rio   No Critical Habitat in   Species not present in Rio Grande Basin
                        Endangered
    Gila elegans                      Grande Basin      the planning area                     or on Forest.
                                       or on Forest.
    Colorado                            Species not
    Pikeminnow                        present in Rio   No Critical Habitat in   Species not present in Rio Grande Basin
                        Endangered
    Ptychocheilus                     Grande Basin      the planning area                     or on Forest.
    lucius                             or on Forest.
                                        Species not
    Humpback Chub                     present in Rio   No Critical Habitat in   Species not present in Rio Grande Basin
                        Endangered
    Gila cypha                        Grande Basin      the planning area                     or on Forest.
                                       or on Forest.
                                        Species not
    Razorback Sucker                  present in Rio   No Critical Habitat in   Species not present in Rio Grande Basin
                        Endangered
    Xyrauchen texanus                 Grande Basin      the planning area                     or on Forest.
                                       or on Forest.




   Species with “No Effects” Determination
   These species and corresponding critical habitats (if applicable) are not included or discussed further in
   this Biological Assessment. USFWS concurrence is not being requested for “no effect” determinations.

   The Rio Grande National Forest Land Management Plan would have “no effect” on Mexican spotted
   owl, New Mexico meadow jumping mouse, yellow-billed cuckoo, greenback cutthroat trout,
   bonytail chub, Colorado pikeminnow, humpback chub, and razorback sucker, based on the rationale
   provided below.

   New Mexico meadow jumping mouse - There are currently no known occurrences of New Mexico
   meadow jumping mouse in the planning area. The planning unit contains no current or proposed Critical
   Habitat. Habitat evaluations and surveys for the New Mexico meadow jumping mouse and other small
   mammals were conducted on the Rio Grande National Forest and other potential habitat areas in 2010
   (Frey 2011) and again in select locations on National Forest System lands in 2015 and 2016 (Schorr 2015,
   Schorr 2016). These survey efforts sampled many of the best known potential locations for the New
   Mexico meadow jumping mouse with no detections. Findings discussed during a recent interagency
   workshop in Durango, Colorado on March 7-8, 2018 further emphasize that the species is unlikely to
   occur in the San Luis Valley (J. Frey, pers, comment February 8, 2018).

   Mexican spotted owl - The Rio Grande National Forest has completed habitat and presence/absence
   surveys for the Mexican spotted owl since the late 1980s. Repeat surveys with current personnel have
   been completed in areas considered to offer the “best potential habitat” on the Forest. The Bureau of
   Land Management (BLM) has also completed several years of surveys (2004-2009) in their best potential
   habitat. To date, no individuals have been detected on Forest or BLM lands in the San Luis Valley.
   Based on survey efforts, it is becoming increasingly unlikely that suitable nesting habitat for the Mexican
   spotted owl occurs on the Rio Grande National Forest.



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   Yellow-billed cuckoo - In Colorado, yellow-billed cuckoo was historically noted as rare summer visitors,
   primarily on the eastern plains, but also in Middle Park and on the western slope at Grand Junction
   (Sclater 1912). Bailey and Niedrach (1965) considered yellow-billed cuckoos an uncommon summer
   resident, mainly on the eastern plains and into the Front Range, with a few breeding records from Grand
   County and one bird collected in Montezuma County. Thus, the few historical records suggest that the
   species apparently has always been rare in western Colorado, an opinion shared by Andrews and Righter
   (1992). Recent breeding bird atlas work in Colorado revealed only a single likely nesting record west of
   the continental divide over the five years of fieldwork (Wiggins 2005).

   The RGNF planning area is located almost completely east of the Continental Divide, but includes the
   San Luis Valley where yellow-billed cuckoo occurrence has been documented. The Rocky Mountain
   Bird Observatory received reports of yellow-billed cuckoos from two locations in the San Luis Valley in
   the summer of 2008. These occurred along the Conejos River in Conejos County and along the Rio
   Grande near Del Norte in Rio Grande County (Beason 2009). The species has not been documented
   within the planning area (Table 2).

   Listed fish species - For fish species, all water diversions from the San Juan Basin that could influence
   these species have been previously consulted. Formal consultation for the four Colorado River fish
   (bonytail chub, Colorado pikeminnow, humpback chub, and razorback sucker) was conducted under the
   Programmatic Biological Assessment for Minor Water Depletions Associated with Routine Forest
   Decisions In the Upper Colorado River Basin (USFS 1993), and the related BO by the USFWS, the Final
   Biological Opinion for Small Water Depletions on Seven National Forests in Colorado and One in
   Wyoming (USFWS 1993). For the San Juan River Basin, the SJNF initiated formal consultation in
   January 1996 under the San Juan National Forest Programmatic Biological Assessment for Water
   Depletions Associated with Routine Forest Actions Occurring within the Upper San Juan River Basin
   (USFS 1996) and the related BO of March 1996 (USFWS 1996). These consultations addressed the
   majority of historic water uses including the transbasin diversions.

   While there are no currently federally listed and proposed fish species on the Forest, the potential for
   water export could impact future listings. The Rio Grande Basin has experienced several proposals to
   export water from the Basin in the recent past. These proposals have been extensively vetted in Division 3
   Water Court and the Water Court confirmed that there are no available water resources. Therefore no
   future transbasin diversions are expected and similarly the Forest Plan does not expect or propose any
   additional transbasin diversions. Therefore the Forest Plan would have no effect on listed fish species. All
   species with “no effect/not likely to jeopardize” determinations in this analysis will not be included in the
   biological assessment for this project unless further information is requested by the USFWS.

   Species Carried Forward for Analysis
   The remaining four animal species - Canada lynx, Uncompahgre fritillary butterfly, Southwestern
   willow flycatcher, and Gunnison sage-grouse - are expected to have measureable effects in association
   with the Forest Plan. These effects are analyzed in the following sections.

   Direct Effects to Species from Implementation of the Forest Plan
   The Forest Plan provides a framework that guides site-specific actions but does not authorize, fund, or
   carry out any project or activity. Because the land management plan does not authorize or mandate any
   site-specific activities or ground-disturbing actions, there can be no direct effects. However, there may be
   implications or longer term environmental consequences at the project level of managing the RGNF under
   this plan which could result in effects to TEP species or their proposed or designated critical habitats.




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   After the Forest Plan is finalized, all site-specific activities must conform to the management direction
   incorporated into the Forest Plan and they must meet any site-specific NEPA and ESA requirements.


   Canada lynx (Lynx canadensis)
   Existing Conditions and Trends

   +Status
   Canada lynx were listed as “Threatened” in the 48 contiguous states in 2000 (65 FR 16053). Critical
   Habitat for the contiguous United States Distinct population Segment DPS) was first designated in 2006
   (71 FR 53355) revised in 2009 (74 FR No. 36) and again in 2014 (79 FR No. 177) - none of which occurs
   in the Southern Rockies or the planning area. The 2014 Rule found that the primary constituent elements
   lynx need for reproduction and survival do not occur in the quantity and spatial arrangement necessary to
   provide for the conservation of the species. In September of 2016, the 2014 Rule was remanded and the
   USFWS was directed by the U.S. District Court of Montana to develop a new proposed Critical Habitat
   Rule that includes the Southern Rockies including the Rio Grande National Forest (9th Circuit, U.S.
   District Court of Montana, Case 9:14-cv-00270-DLC, Document 62, 09/07/2016). However, a recent
   Species Status Assessment concludes that the Canada lynx may no longer warrant protection under the
   Endangered Species Act and should be considered for delisting due to recovery (USFWS 2017).

   Natural history and key ecological conditions
   Canada lynx habitat in Colorado primarily occurs in the subalpine and upper montane forest zones. An
   analysis of radio-collared lynx reintroduced in Colorado indicates that the majority of the habitat used
   occurs between 9,900 - 11,620 feet (Theobald and Shenk 2011). Forests in these zones typically contain
   deep winter snows and are dominated by subalpine fir, Engelmann spruce, aspen, and lodgepole pine. A
   preference for these forest types, particularly spruce-fir associations, has been documented with lynx
   reintroduced to Colorado, including locally on the Rio Grande National Forest where lodgepole pine
   occurrence is generally limited (Theobald and Shenk 2011). Additional recent information demonstrates
   the close relationship of lynx on the Rio Grande National Forest to particular locations within the
   subalpine forest zone and their use of specialized forest structure (Ivan et al. 2014, Squires et al. 2018).
   Other habitats used by reintroduced lynx locally include spruce-fir/aspen associations and various riparian
   and riparian-associated areas dominated by dense willow, particularly during the summer period (Shenk
   2009).

   Throughout North America, the distribution of lynx is closely tied to habitats that support an abundant
   population of snowshoe hare (Koehler and Brittell 1990, Aubry et al. 2000). These habitats are generally
   defined as regenerating stands that contain dense, small-diameter trees that provide both food and
   horizontal cover. In Colorado, both small diameter lodgepole stands and mature spruce-fir stands support
   the highest density of snowshoe hares, although spruce-fir latter may be of more importance on a year­
   round basis (Ivan 2011). Reintroduced lynx in Colorado also utilize red squirrels, cottontails, and other
   alternate prey items, particularly when snowshoe hare populations decline. Red squirrels are closely
   associated with mature forest conditions, and would occur sympatrically with snowshoe hare as an
   important alternate prey species (Buskirk et al. 2000). The increased use of riparian-willow systems by
   reintroduced lynx during late summer and fall is also considered to be associated with alternate prey
   sources (Shenk 2009). Canada lynx breed from March through April in the northern portion of their
   range, with kittens usually borne in May through June (Mowat et al. 2000).

   Births by reintroduced lynx in Colorado occurred in late May to mid-June (Shenk 2006). All den sites
   found in Colorado have occurred within the spruce-fir zone on steep, north-facing slopes and are most


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   often associated with substantial amount of large diameter woody debris (Merrill 2005, Shenk 2009). The
   average elevation at Colorado den sites is 11,004 feet (Shenk 2009). Disturbances event such as insects
   and disease and windthrow contribute to the downed log component and are therefore important
   ecosystem processes for denning habitat. Functional denning habitat occurs within or adjacent to dense
   horizontal cover that provides protection and foraging opportunity (Squires et al. 2008). Because lynx
   may frequently move their kittens in the first few months, multiple maternity sites are needed that provide
   kittens with overhead cover and protection from predators and the elements (Ruediger et al. 2000).
   Colorado borne kittens have been found in or near the den site into mid-July.

   Lynx reproductive rates in Colorado have varied greatly since kittens were first documented in 2003.
   After den visits identified 16 kittens in 2003, researchers found 39 kittens in 2004; 50 kittens in 2005; 11
   kittens in 2006; 11 kittens in 2009; 14 kittens in 2010. During the 2006, 2009 and 2010 seasons,
   Colorado-born lynx were documented as successfully producing third-generation Colorado kittens. In
   2010, researchers estimated that between 30 and 40 percent of female lynx bore litters of kittens
   (Colorado Parks and Wildlife 2010). During a recent study on the Rio Grande National Forest, successful
   reproduction was documented again during the 2015 and 2016 breeding seasons (Squires et al. 2016,
   2017). This represents the first documented lynx reproduction in Colorado since 2010.

   Lynx are known to move long distances, but open areas, whether man-made or natural, may not be used
   as extensively (Mowat et al. 2000). In north-central Washington, lynx typically avoided openings greater
   than about 300 feet wide (Koehler and Brittell 1990). However, the Southern Rockies consist of more
   heterogeneous forest types and their response to natural or created openings may differ (Ruggiero et al.
   2000). Initial habitat use information for lynx in Colorado during the reintroduction effort indicates that
   canopy closures of at least 40% are important at the site-scale, regardless of the type of cover involved
   (Shenk 2006). Additional analysis of radio-collared data for reintroduced lynx in Colorado indicates that
   the average proportion of forest (upper montane) in lynx habitat was 0.65, with the majority occurring in
   areas with at least 20% forested (upper montane) cover. Habitat use was also associated with distance
   from large patches (>50 ha, 124 ac.) of forest (upper montane) cover, with the majority of habitat within
   3.35 km (2.1 mi.), and the average at 0.36 km (0.2 mi). The average proportion of grasslands was 0.16.
   There was little association of lynx habitat use areas with other land cover types (Theobald and Shenk
   2011). This data indicates that most lynx use in Colorado is associated with larger contiguous blocks of
   forest that is primarily dominated by spruce-fir forest cover types.

   Forested conditions between foraging and denning habitat has also been shown to facilitate movement
   within the home range, particularly along ridgelines where lynx commonly travel (Ruggiero et al. 1994).
   Linkage areas may be provided by forest stringers that connect large forested areas, or by low, forested
   passes that connect subalpine forests on opposite sides of a mountain range (Ruediger et. al. 2000).

   Risk Factors
   The Canada Lynx Conservation Assessment and Strategy (LCAS; Ruediger et al. 2000) and Southern
   Rockies Lynx Amendment (SRLA; USDA Forest Service 2008) identified and addressed risk factors with
   the potential to affect lynx productivity, mortality, and movements. Factors under Forest Service
   jurisdiction consist of the following:

   Vegetation and timber management: Forest management practices such as thinning, commercial harvest,
   road construction, and post-harvest treatments all influence habitats for lynx and prey. Snowshoe hares
   may reach highest densities in young, dense coniferous or coniferous-deciduous forests, or mature forests
   with a dense understory of shrubs, aspen, and/or conifers. Red squirrels appear to be most abundant in
   mature cone-bearing forests. Lynx natal dens are generally located in areas with large quantities of coarse
   woody debris, such as blowdown, root wads, etc., which may occur in mature forests or in regenerating
   stands (Ruediger et al. 2000).

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   Wildland fire management: Fire, wind, insects, and disease historically played an important role in
   maintaining the mosaic of forest successional stages that provide habitat for both snowshoe hare and lynx.
   For the first few years after a burn, there appears to be a negative correlation between lynx use and the
   amount of area burned. This short-term effect is likely due to the reduction of snowshoe hare populations,
   removal of cover, and possibly also to increased competition from coyotes in open habitats. The lag time
   until the peak of hare population increase is generally about 15 to 30 years (this varies depending on tree
   species, habitat type and severity of disturbance). Re-sprouting of broadleaf species occurs more quickly,
   in 3 to 12 years (Ruediger et al. 2000).

   Grazing: Livestock grazing could have local effects on lynx foraging habitat in areas that grow quaking
   aspen and willow in riparian areas. Local impacts could affect individual lynx. However, no information
   exists to indicate that grazing poses a threat to overall lynx populations (USDI Fish and Wildlife Service
   2003, p. 40083). In addition, appropriate grazing management can rejuvenate and increase forage and
   browse in key habitats (USDA Forest Service 2008).

   Recreational uses: Lynx are thought to have a competitive advantage in places where deep, soft snow in
   mid-winter tends to exclude other predators, a time when availability of prey is most limiting for lynx.
   Some activities, such as winter recreation, may compact the snow and thereby provide other predators
   (e.g., coyotes) with access into lynx habitat, thereby increasing the potential for competition and
   predation. Widespread human activity (snowshoeing, cross-country skiing, snowmobiling, snow cats,
   etc.) may lead to patterns of snow compaction that make it possible for competing predators such as
   coyotes and bobcats to occupy lynx habitat through the winter, reducing its value to and even possibly
   excluding lynx (Ruediger et al. 2000, USDA Forest Service 2008).

   Highways and human developments: Highways (generally defined as having two or more paved lanes,
   high speeds and high traffic volumes) are a known source of direct mortality of lynx. Within lynx home
   ranges, highways and associated high-intensity uses and developments may constrain habitat use and
   impede daily movements. At a broader scale, lynx are known to disperse and make exploratory
   movements across long distances and varied habitat and terrain. Maintaining connectivity within and
   between lynx subpopulations is an important consideration to maintain long-term persistence. However,
   the Forest Service has limited authority over highways and no authority to manage activities on private
   land. Factors identified as potentially affecting lynx movements on Forest Service lands consist of
   permanent developments and vegetation management projects (USDA Forest Service 2008).

   Risk Factors Specific to the RGNF
   The threats and risk factors identified in the SRLA and the management direction to address them remain
   valid on the Forest. Specific threats and risk factors in the post spruce beetle environment include:
       •   Uncertainties associated with baseline habitat condition changes due to significant natural events
           such as spruce beetles, and the relationship of these changes to ongoing management activities
           that further influence baseline conditions. Habitat baseline conditions have been addressed
           through recent mapping updates; however, uncertainty in regards to management activity
           thresholds remains.
       •   Uncertainty in what constitutes high-quality habitat in the post spruce beetle landscape, and
           revised management direction to address these conditions in association with vegetation
           management. This has been addressed via current and ongoing research on the RGNF.
       •   Inability to accurately map occurrence and distribution of high-quality habitat in the post spruce
           beetle landscape.


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       •   A substantial increase in over-the-snow vehicles, potential snow compaction and recent modeling
           suggests that climate change is likely to impact lynx in the contiguous North American Distinct
           Population Segment. Although the timing, magnitude, and consequences of climate-related
           impacts are difficult to predict, lynx habitats and populations in the contiguous U.S. are likely to
           be smaller and more isolated in the future and, therefore, more vulnerable to other threats (USDI
           2013).

   Environmental Baseline
   The Rio Grande National Forest includes some of the most important lynx habitat in Colorado.
   Approximately 85% of the 218 lynx reintroduced to Colorado from 1999-2006 were released on the
   RGNF. Although lynx have established home ranges in other parts of the state, most lynx remain and
   reproduce in the high-elevation spruce-fir zone of southwestern Colorado, including the RGNF. Currently,
   lynx continue to utilize and reproduce on the RGNF, and local spruce-fir habitats remain essential to their
   eventual recovery and delisting (USDA Forest Service 2014). Of about 12 geographic locations in
   Colorado where lynx can consistently be located, at least six (50%) occur on the RGNF. Reproduction is
   known to or has occurred in the recent past in all of these locations, highlighting the importance of certain
   geographic areas to the species.

   Movement and Habitat Connectivity
   Lynx habitat extends across administrative boundaries within the greater San Juan Mountains area and
   includes the San Juan and Grand Mesa, Uncompahgre, and Gunnison (GMUG) National Forests.
   Individual lynx that utilize the RGNF are known to have used all or any one of these units in the greater
   San Juan Mountains area (Theobald and Shenk 2011). Connective habitat between administrative units in
   the San Juan Mountains and beyond is essential for facilitating movement of Canada lynx across the
   landscape.

   Initial habitat mapping efforts in Colorado identified four key linkage areas associated with the Rio
   Grande National Forest and adjacent land ownerships. These linkage areas were incorporated into the
   SRLA and remain important to addressing potential habitat connectivity concerns associated with primary
   highways that cross the Forest. Two of the linkage areas, Wolf Creek Pass and North Pass, have been
   documented in reports as primary lynx movement areas across Highway 160 and 114, respectively (Shenk
   2005, Ivan 2011). Lynx use of the Spring Creek Pass Linkage Area that joins with the Gunnison National
   Forest on Highway 149 has also been documented during snow tracking efforts (D. Clark, pers.
   comm.2017). The North Pass linkage area is considered one of the most important habitat connectivity
   areas in Colorado because it facilitates lynx movement to and from the core area of the San Juan
   Mountains to areas in the remainder of the state, and beyond (Ivan 2011). Connective habitat between
   administrative units in the San Juan Mountains is essential for facilitating movement of Canada lynx
   across the landscape. Recent information involving telemetry data from the lynx reintroduction effort
   further demonstrates that the RGNF is important to both fine-scale movements of residential lynx as well
   as faster long-distance movement of lynx within areas in the vicinity of North Pass (Buderman et al.
   2018).

   Habitat
   Baseline habitat conditions involving lynx habitat in the planning area has been modeled and mapped
   since 2001 (Ghormley 2011). In 2011, a habitat mapping update occurred between the three Forests in
   the San Juan Mountains utilizing the current GIS corporate data layer (USDA Forest Service 2011).
   Vegetative characteristics were identified that meet the criteria for both primary and secondary habitat, as
   well as non-habitat and suitable and unsuitable habitat conditions. The 2011 mapping criteria identified
   approximately 1,044,367 acres (57%) on the Forest as lynx habitat. At that time, only 6,299 acres (0.6%)


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   were identified as unsuitable due to management activities or natural disturbances. For mapped lynx
   habitat, the lynx analysis unit (LAU) is used and defined as approximately the home range size of a
   female lynx. No LAUs on the RGNF exceeded the 30% unsuitability threshold.

   During severe drought conditions that began around 2002, extensive habitat changes were occurring on
   some parts of the RGNF in association with a spruce beetle outbreak in the spruce-fir ecosystem. By
   2014, data from insect and disease inventory flights suggested that approximately 75% of the lynx habitat
   on the Forest was affected to various degrees by spruce beetle mortality, with overstory mortality rates
   ranging from less than one tree per acre (TPA) to over 100 TPA in some areas. As of 2017, overstory
   mortality in the spruce-fir ecosystem had increased to 100% (USDA Forest Service 2017) and closely
   overlaps known core use areas by lynx. However, while the spruce beetle outbreak primarily affects the
   overstory component of Engelmann spruce it also promotes the release and growth of understory
   vegetation that provides horizontal cover values for snowshoe hare. In 2013, the West Fork Fire Complex
   burned approximately 110,000 acres of spruce-fir/aspen mix on the San Juan and Rio Grande National
   Forests. This was the first major natural fire start since the creation of the RGNF and eventually
   influenced about 88,000 acres on the RGNF. Much of the fire occurred in spruce-fir forest and burned at
   moderate to high-intensity. Based on the small sample of GPS collared lynx on the RGNF from 2015-17,
   lynx appear to be avoiding the burn area at this time except where islands of unburned forest vegetation
   remains (Squires et al. 2016).

   In February 2018, baseline habitat conditions within the planning area were updated using the most recent
   corporate GIS data. This update displays a significant change from 2011, with unsuitable habitat
   conditions averaging 24% across all LAUs on the Forest and about 26% in LAUs with known lynx
   occurrence1. In addition, 11 of the 29 LAUs (38%) currently exceed the 30% unsuitable habitat threshold
   defined in the SRLA. (Table 3). This change is primarily due to the spruce beetle outbreak and, in two
   LAUs, the West Fork Fire Complex.

   In the subalpine forests of Colorado, spruce beetle outbreaks may be as significant as fire to wildlife
   habitat and stand development since they occur more frequently and within a shorter time frame (Baker
   and Veblen 1990, Veblen et al. 1994). For example, there have been at least five major outbreaks of
   spruce beetle in the southern Rockies since the mid 1800’s, some affecting thousands of square miles
   (Roovers and Rebertus 1993). These events provide the key ecosystem characteristics associated with
   suitable landscapes for some spruce-fir associated species such as woodpeckers and also promote snag
   and downed log components for others, including key prey species for lynx such as snowshoe hare
   (Buskirk and Ruggiero 1994, Ivan et al. 2014).
   Table 2. Change in lynx suitable habitat availability 2011 - 2018, RGNF
                                                                                          Percent
                                                                                       Decrease in
                                                                                         Available     Percent of
                                          Suitable       Suitable      Change in         Suitable       Habitat
                                          Habitat        Habitat       Unsuitable         Habitat      Unsuitable
    LAU                                    (2011)         (2018)      (2011 - 2018)    (2011 - 2018)    (2018)*
    4MILE TO LA GARITA CREEK                  51,903         29,421          - 9,907           19.1%         26.0%
    ALAMOSA                                   32,603         28,505          - 2,852           8.7%          9.4%
    BONANZA                                   44,136         30,267          - 1,151           2.6%          3.8%
    CARNERO                                   45,111         27,298          - 2,369           5.3%          8.6%
    COCHETOPA                                 18,944         13,154            - 259           1.4%          3.0%


   1 No lynx occurrence has been documented in the Sangre de Cristo North and Sangre de Cristo South LAUs.

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    CONEJOS CANYON                               36,144         34,027           - 2,232        6.2%      6.2%
    CREEDE                                       36,943         17,189          - 13,892       37.6%     45.5%
    DEEP CREEK                                   23,415         11,716           - 7,020       30.0%     37.9%
    EMBARGO                                      39,150         17,035          - 15,601       39.8%     48.1%
    GROUNDHOG PARK                               18,913          7,445           - 8,225       43.5%     52.8%
    HOGBACK                                      47,394         22,701          - 24,426       51.5%     52.7%
    LA JARA                                      51,570         41,188           - 1,086        2.1%      2.8%
    LAGARITA WILDERNESS                          17,263          6,467           - 9,028       52.3%     58.8%
    PINOS-ROCK                                   56,874         44,658           - 1,927        3.4%      4.3%
    RITO-ARCHULETA                               40,291         36,308           - 5,391       13.4%     15.7%
    SAGUACHE PARK                                31,989         22,947           - 8,910       27.9%     29.1%
    SANGRE DE CRISTO NORTH+                      50,411         46,927             - 135        0.3%      0.4%
    SANGRE DE CRISTO SOUTH+                       8,121         19,976              - 11        0.1%      0.1%
    SNOWSHOE                                     40,390         20,221          - 16,346       40.5%     46.2%
    STONEY PASS                                  42,053         26,664          - 15,365       36.5%     36.7%
    THIRTYMILE                                   38,974         15,742          - 23,303       59.8%     61.3%
    TRES MESA                                    44,872         17,407          - 26,477       59.0%     60.5%
    TROUT-HANDKERCHIEF                           74,324         54,776          - 18,630       25.1%     26.2%
    TROUT CREEK                                  52,559         29,056          - 20,194       38.4%     41.5%
    VICTORIA-CHAMA                               41,893         39,995           - 3,844        9.2%      9.5%


                                                986,241        661,090         - 238,583       - 24%
   * Red indicates values exceed 30% threshold for unsuitable habitat identified in the SRLA
   + Currently no known lynx occurrence/use in these LAUs

   Until recently, there was no science-based information to predict how Canada lynx might respond to the
   extensive habitat change associated with the spruce beetle outbreak. Some key ecosystem characteristics
   known to be important to the viability of lynx, such as high late-successional mixed-conifer stands with
   green, multi-storied canopy conditions, have been greatly reduced in quality and extent. The bark beetle
   outbreak may also have impacts on other species that prefer live foliage and dense mature forest canopies.
   For example, the occupancy of red squirrels in local spruce-fir forests have declined significantly as
   overstory mortality has increased (Ivan et al. 2017). Conversely, the associated understory release appears
   to be promoting the rapid growth of dense understory conditions preferred by snowshoe hare. A recent
   study by Colorado Parks and Wildlife found that hare densities in spruce-beetle killed forest on the RGNF
   are on average the highest in Colorado (Ivan et al. 2017).

   Whether lynx can persist in such conditions has not been rigorously evaluated through science-based
   methods and was a primary research need identified on the Rio Grande National Forest (USDA Forest
   Service 2014).

   Lynx Study Information
   In 2013, a collaborative study between the Rocky Mountain Research Station, Colorado Parks and
   Wildlife, the Rio Grande National Forest, and other partners was initiated to investigate how lynx respond
   to forests heavily influenced by spruce bark beetles in the San Juan Mountains of southern Colorado. The
   study area overlapped 377,513 acres of core lynx habitat in the San Juan Mountains, with the majority
   (344,642 acres or 91%) occurring on the Rio Grande National Forest. The remainder of the study area
   overlapped part of the Grand Mesa, Uncompahgre and Gunnison national forests administrative area. The

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   primary purpose of the study was to address management questions associated with the identification and
   maintenance of suitable habitat for lynx and primary prey species in spruce-beetle impacted forests, as
   well as to inform an expected increase in post-beetle management activities, such as timber salvage. The
   study evaluated lynx resource selection at two spatial scales. First, the landscape-level analysis
   characterized and spatially predicted resource use (i.e., selection) by lynx at a broad-regional scale. At
   the second scale, stand-level analyses characterized what forest attributes were being preferentially used
   by lynx. Relative to salvage activities, the landscape scale analysis informs where proposed salvage
   treatments may occur in relation to lynx habitat, whereas the stand-level analysis informs specific
   silvicultural prescriptions and recommendations.

   The study utilized 11 GPS collared lynx (6 males, 5 females) captured from 2015-2017 to characterize
   what habitat components lynx are selecting during both winter and summer periods. This resulted in
   11,628 locations for the winter and 7,721 during summer, which represents the sample of lynx resource
   use. Random samples representing approximately 7,000 locations per individual lynx were utilized to
   characterize availability across the study area at the landscape scale. With the sample of use and
   availability, resource selection function (RSF) models were built to examine selection behavior of lynx.
   Landscape variables were calculated at multiple scales to identify the best-supported model in predicting
   lynx resource selection. An abiotic model was identified as a base model of resource selection by lynx,
   which was then augmented with variables that described forest characteristics (e.g., canopy cover, sub­
   canopy tree densities) to further inform our understanding of lynx resource selection.

   For stand-level analysis, forest data were quantified on vegetation plots at used and available locations for
   Canada lynx that were documented during winter and summer seasons from 2015-2017. Both summer
   and winter home range areas for lynx were identified. Used and available locations were sampled equally
   for both winter and summer. At each plot, several forest- and stand-level attributes were measured and
   recorded in the field including horizontal cover, pellet density of snowshoe hares, cover of grass, forbs,
   and shrubs, downed woody debris, stem density of understory by species and overall, canopy cover, and
   tree density and size for larger-sized trees. The Forest Vegetation Simulator (FVS) was used to calculate a
   variety of forest metrics commonly used for local forest management. Functional responses in habitat use
   provided important insight concerning how Canada lynx altered their use of a forest resource as that
   resource changed in availability. A summary of information was developed to characterize forest metrics
   at used and available lynx locations during the winter and summer.

   Study Results
   The information collected for the lynx study successfully explains and models what lynx are selecting and
   not selecting (i.e., avoiding) in spruce-fir ecosystems altered by the spruce beetle outbreak on the Rio
   Grande National Forest (Squires et al. 2018). The results of the Resource Selection Function (RSF) model
   for winter (January-April) are of particular interest because this period is the most critical in regards to
   lynx survival. The RSF model successfully explains 95% of the winter lynx use in the study area, with
   approximately half of the total study area (49.9%) being selected for and half (50.1%) less selected. The
   West Fork Fire Complex is not included in the RSF model. Based on GPS locations from individual lynx,
   however, it is evident that collared lynx are avoiding the fire landscape at this time. An exception to this
   involves unburned islands of forest vegetation within but close to the burn perimeter.

   Based on the top model, winter use is best explained by a combination of abiotic factors and forest
   vegetation factors. Approximately half of the lynx use is explained by abiotic factors such as precipitation
   and landscape roughness, while the vegetation factors include dead forest canopy comprised of larger
   trees, aspen canopy, a subcanopy of subalpine fir and small spruce, and the presence of Douglas-fir.
   However, the presence of Douglas-fir is a negative relationship, indicating that lynx are avoiding dryer
   sites that contain this species. Of the vegetation factors lynx are selecting for, the presence of subalpine fir
   in the subcanopy is the most significant. Dense horizontal cover conditions of at least 45% are primarily

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   being selected by lynx, which suggests that lynx are actively selecting forest stands with high horizontal
   cover values that also support high snowshoe hare densities. Reproduction has also been documented
   within areas of extensive overstory mortality. Both lynx use areas and reproduction areas sometimes
   overlap with habitat areas that are currently considered unsuitable habitat on a coarse scale, suggesting
   that new definitions of suitable and quality habitat in forests heavily influenced by bark beetles is
   warranted.




             DEAD     POTR PIEN-ABLA     PIEN    ABLA



   Figure 2. Forest attributes and Canada lynx use (Squires et al., 2018)

   Key Findings from Current Research
   The following results from completed and ongoing research studies on and adjacent to the RGNF
   concerning snowshoe hare distribution; lynx diets, distribution, and habitat use:

       •   Snowshoe hare occupancy is reduced slightly due to high degree of overstory mortality from
           spruce beetles (Ivan et al. 2017).
       •   Red squirrel occupancy significantly decreases due to overstory mortality due to spruce beetle
           (Ivan et al. 2017).
       •   Bullets number 1 and 2, above, are notable because typically 90%+ of lynx winter diet is
           snowshoe hare, while red squirrel is < 10%. During periods of low hare abundance (2006-09)
           when female lynx did not produce litters of kittens, the diets switched to consist of up to 72% red
           squirrels (Ivan and Shenk 2016).
       •   A recent mark recapture study on the RGNF found that snowshoe hare densities on the Rio
           Grande National Forest average more than twice the density known anywhere else in Colorado.
           This may be related to understory release from overstory mortality (Ivan et al. 2017).
       •   There are 12 locations in the state of Colorado that are consistently occupied by lynx, over half of
           these (58%) occur wholly or partially on the Rio Grande National Forest (J. Ivan data in Squires
           et al. 2018).
       •   Despite the high degree of overstory mortality, lynx on the Rio Grande National Forest tend to
           demonstrate some site fidelity and remain and produce litters of kittens where they have done so
           in the past. This indicates that location is important in the context of management activities (Ivan
           et al. 2017).


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       •   Lynx movement paths further display the importance of the Rio Grande National Forest for
           within-home range movements, and long range movements up through North Pass area and
           Monarch Pass (Ivan et al. 2017).
       •   Documented lynx kittens at all dens located indicates lynx are reproducing in spruce-fir forests
           with extensive overstory mortality.
       •   Resource selection functions defined a 95% use area for lynx on the Rio Grande National Forest,
           which identified the top covariates of winter use selection. Understory density describes 50% of
           winter selection. Lynx are selecting for areas with > 45% understory horizontal cover (Squire et
           al. 2018). This is a new finding and forms the basis for a new vegetation standard that is
           incoiporated in the Forest Plan (VEG S7). Subalpine fir (ABLA) is the primary understory
           component preferentially selected by lynx, but use also includes small dense spruce and aspen
           mix.

       •   Large dead trees are a key component of selected habitat and usually in association with
           understory. Remaining live trees are important (Squires et al. 2018).

   Winter Recreation and Snow Compaction

   The potential influences of winter recreation, particularly those activities which result in snow
   compaction, were identified as a risk factor in the LCAS because of the possibility that snow compaction
   might serve as travel routes for potential competitors and predators of lynx, especially coyotes (Ruediger
   et al. 2000). As a result, the LCAS recommended two objectives and two standards related to winter
   dispersed recreation.

   The Rio Grande National Forest began mapping winter recreation and snow compaction routes in concert
   with the final Common Vegetation Unit lynx habitat map in 2001. The process by which the Forest
   estimated our groomed, designated, and snow-compacted areas is not well documented in the initial
   mapping rationale documents; however, our GIS files suggest that the first iterations of the process were
   completed around January 2002.

   The 2002 winter recreation and snow compaction map for the Forest included all known groomed
   snowmobile routes and designated winter recreational trails as well as areas of concentrated dispersed
   winter recreation use, the latter of which is sometimes referred to as “winter play areas”. Table 4, below,
   displays miles of winter recreation trails and routes for the Rio Grande National Forest as described in the
   FEIS for the SRLA (USDA Forest Service 2007). This baseline represents our section 7 consultation
   responsibilities in relationship to the SRLA Management Direction.
   Table 3. Miles of Estimated Designated and Groomed Winter Routes on the Rio Grande National Forest.
   Information is from Table 3-24 in the FEIS for the Southern Rockies Lynx Amendment (USDA Forest Service
   2007). This represents the Forest baseline in relationship to Section 7 responsibilities and SRLA
   Management Direction.
     Rio Grande NFS Total Miles of NFS Total              NFS Total Miles of        NFS Total Miles of
     National      Designated           Miles            Groomed or                 Groomed or Designated
     Forest        Routes               Groomed           Designated Recreation     Recreation Winter Trails
                                        Routes           Winter Trails and         and Routes within LAUs
                                                          Routes in Lynx Habitat
                                                         within LAUs


     TOTALS              314                167                  196
                                                                                              319


                                                                                                             21

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   The 2002 GIS table that accompanies the winter recreation map indicates that approximately 128,208
   acres of concentrated dispersed winter recreational use (i.e. winter play areas) are also estimated as
   occurring on the Rio Grande National Forest. While some of these acreages may be included in Table 4
   above, it appears that most of this is additional acreage that is considered to be snow compacted.
   Currently, the Forest recognizes that winter recreational use has increased considerably since the 2002
   data was compiled.



   Environmental Consequences
   Indirect Effects to Canada lynx

   The Forest Plan provides a framework that guides site-specific actions but does not authorize, fund, or
   carry out any project or activity. Because the land management plan does not authorize or mandate any
   site-specific activities or ground-disturbing actions, there can be no direct effects.

   In 2008 management direction in the SRLA (USDA Forest Service 2008) was incorporated into 8 Land
   and Resource Management Plans (forest plans) in Forest Service Region 2 as a means of adding
   consistent management direction to conserve and promote recovery of, and reduce or eliminate potential
   adverse effects to, Canada lynx. Management direction provided under the SRLA was the outcome of an
   analysis of lynx risk factors associated with multiple use activities under Forest Service jurisdiction. Risk
   factors identified in the SRLA as potentially affecting lynx productivity, mortality, and movements
   identified in the SRLA included vegetation and timber management, wildland fire management, livestock
   grazing, recreational uses, and impacts associated with permanent developments. These factors continue
   to be relevant to management of forest resources.

   Lynx Management Direction under the Forest Plan
   Under the current condition there is the continued need to reduce or eliminate lynx risk factors as well as
   provide additional direction to sufficiently address the continued recovery of Canada lynx due to the
   current habitat conditions associated with the spruce beetle outbreak in the spruce-fir ecosystem. In
   response, the Forest Plan prescribes the following management direction:

   S-TEPC-1: The Southern Rockies Lynx Amendment direction (Appendix E (Appendix C of this
   document)), as amended and modified by the Rio Grande National Forest forest plan record of decision,
   shall be applied. (Forestwide)

   VEG S7 (or S-TEPC-2): Salvage activities in stands that represent high quality lynx habitat may occur in
   up to seven percent of the high-probability lynx use area (95 percent lynx use areas shown in Appendix G,
   (Figure 3 of this document)) that overlaps the suitable timber base 15 years from the date on the forest
   plan decision. Salvage activities in VEG S7 stands in combination with all vegetation management50
   activities including incidental damage resulting in either Stand Initiation Structural Stage44 conditions, a
   reduction of horizontal cover19, or both, are tracked for 15 years from the decision date for this forest plan
   decision. (High-probability lynx use areas)




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   S-TEPC-3: Southern Rockies Lynx Amendment standards VEG S1 and VEG S2 do not apply outside of
   the high probability lynx use areas and any lynx analysis unit that is contained either partially or entirely
   within the 95 percent use areas shown in Appendix G (Figure 3 of this document)). All other management
   direction in the Southern Rockies Lynx Amendment applies to areas outside of the 95 percent use area.
   (Lynx Habitat Outside of High Probability Lynx Use Areas)
   Further clarification of the application of these standards and the rationale for modification of SRLA is
   described in the Forest Plan as follows:

   Management Approaches
   The 2008 Southern Rockies Lynx Amendment Record of Decision amended eight forest plans including
   the Rio Grande. The direction prescribed in the 2008 Southern Rockies Lynx Amendment (Appendix E) is
   incorporated, as modified below, into the current direction and would apply Forestwide. Additional
   direction and modifications of the 2008 direction is needed to sufficiently address the continued recovery
   of Canada lynx due to the current habitat conditions associated with the spruce beetle outbreak in the
   spruce- fir ecosystem. This direction supplements, and replaces management direction related to salvage
   in the Southern Rockies Lynx Amendment, specifically VEG S1 and VEG S2.
   Even with higher levels of mortality due to spruce beetle infestation high quality lynx and snowshoe hare
   habitat persists and vegetation management activities have the potential to benefit and adversely affect
   lynx and snowshoe hare habitat and populations (ILBT 2013, p. 71). Most vegetation management
   activities reduce canopy cover and horizontal cover in the understory which could reduce snowshoe hare
   densities and habitat values for Canada lynx.
   The direction below is intended to encourage vegetation management in areas where habitat quality for
   lynx and snowshoe hare can be improved while retaining existing high quality habitat. The overall goal is
   to maintain areas that support high densities of snowshoe hare while promoting vegetation management
   that restores habitat and landscape permeability for lynx movement.
   The Southern Rockies Lynx Amendment direction was developed prior to the 2012 Planning Rule.
   Standard VEG S7 is formatted to be consistent with the forest plan and similar to the Southern Rockies
   Lynx direction. The direction in the Southern Rockies Lynx Amendment is formatted differently than
   direction contained in this forest plan. Superscript numbers in the text refer to definitions contained in the
   Southern Rockies Lynx Amendment in Appendix E.
   Standard VEG S7 (below) applies to salvage harvest42 activities conducted in conifer forests that have
   lynx habitat attributes, but no longer meet the definition for standard VEG S6 due to tree mortality and
   associated forest structural changes. These stands still provide high quality lynx habitat and are
   characterized by dense horizontal cover19, and include forest structure that provides cover and food for
   snowshoe hares, and foraging habitat, traveling, and hiding cover for Canada lynx. According to a recent
   study completed on the Forest (Squires et al. 2018), stands with Engelmann spruce and subalpine fir in
   the canopy, and subalpine fir in the sub-canopy are disproportionality selected by lynx. Stands where
   standard VEG S7 would apply continue to support snowshoe hare and secondary prey species, such as red
   squirrels, particularly when live vegetation and horizontal structure is present.
   Salvage harvest in lynx habitat is prioritized as follows:
           1.   Choose areas with good habitat restoration potential that currently exhibit poor quality lynx
                habitat condition, (i.e., horizontal cover density less than 25 percent, subalpine fir is a minor
                component of the sub-canopy, favorable site conditions, and best available science suggest
                that conditions could be improved through vegetation management);
           2.   Choose areas that provide poor quality lynx habitat and poor habitat restoration potential;
                and


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           3.   All other areas based on overall project considerations and needs.

   Stands that are subject to VEG S7 represent high-quality habitat for lynx and are confined to the high
   probability lynx use area (95 percent areas) delineated in the Resource Selection Function model for the
   Forest (Squires et. al 2018). The high probability lynx use area map can be found in Appendix G. These
   areas are identified as having:
       •   Overstories that are predominantly live or dead Engelmann spruce and subalpine fir, or either
           species, with sub canopy layers dominated by subalpine fir, or a combination of either
           Engelmann spruce or aspen, or both; and
       •   Total live overstory canopy cover less than or equal to 40 percent; and
       •   Understory horizontal cover density at approximately 1 to 3 meters above ground level, is
           greater than or equal to 45 percent during winter foraging conditions for snowshoe hares.
       •   Openings in lynx habitat are areas with less than 25 percent total canopy closure. Areas with less
           than 25 percent horizontal cover are not considered suitable habitat.

   During salvage project design, late-successional forest patches that are expected to remain green or
   mostly green in the next 15 years are identified for retention during project implementation. Foresters and
   wildlife biologists determine the optimal landscape heterogeneity objectives that include retention,
   opening patch size, and configuration. Project objectives should be considered at a watershed or sub­
   watershed scale, using the best available science.
   Forest stands that meet the VEG S7 definition represent a high value subset of the overall suitable habitat
   in a lynx analysis unit. Management prioritization provides limited entry allowances into VEG S7 stands.
   A. seven percent allowance into VEG S7 stands is available for use within 15 years of the decision date for
   this forest plan. Suitable lynx habitat is defined as stands with understory horizontal cover density greater
   than 25 percent
   Hazard tree removal along open and administrative use roads, trails, and campgrounds are exempt from
   this direction. Removing hazards trees from these locations is done to maintain safety for the public and
   employees. This treatment may occur up to 250 feet from open and administrative use roads, trails, and
   campground boundaries.




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   Effects on Canada lynx from Vegetation Management
   Timber harvest has the potential to impact lynx habitat depending upon the context in which is applied
   and the existing baseline conditions of the area being harvested. The highest quality habitat in the San
   Juan Mountains of Colorado involve mature or late successional spruce-fir stands that contain multi­
   storied canopy conditions for cover and foraging in proximity to high-quality denning habitat. Potential
   effects from timber harvest may include reduction in forested cover values important to key prey species
   such as snowshoe hare and red squirrel, and reduction in standing and downed log components that
   comprise denning habitat. With salvage harvest focused on the next seven years, potential damage to
   understory cover values from skid trails, landings, felling and are a primary concern in quality habitats for
   snowshoe hare and lynx. Conversely, forest vegetation management through timber harvest can also
   provide beneficial influences on lynx habitat, particularly when management activities are focused in
   areas that can promote regeneration and help develop landscape heterogeneity by mimicking the
   blowdown patterns that contribute to the small gap dynamics in spruce-fir forest types. Over time, forest
   regeneration can re-create beneficial habitat for lynx and its prey base (Simons-Legaard et al. 2013).
   Existing baseline conditions of late-successional habitat in regards to the amount of stand initiation
   structural stage conditions (i.e. openings), and the landscape patterns of these features are important
   factors regarding lynx use.
   Since 2008, the Rio Grande National Forest has managed all mapped lynx habitat in accordance to the
   SRLA (. The SRLA contains management direction pertaining to various activities that might affect lynx
   habitat, including forest vegetation management. The goal of the SRLA is to use forest vegetation
   management as a tool to help focus and improve habitat conditions for lynx and primary prey species
   while minimizing potential impacts in high-quality habitats of disproportional value to lynx conservation.
   A significant focus of the management strategy involves fine-filter habitat components associated with All
   action alternatives incorporate the SRLA, and have multiple additional plan components to accommodate
   changes in the understanding of lynx habitat needs which have developed since the adoption of the SRLA
   in 2008. Most of these additional plan components address conservation needs and/or uncertainties
   associated with the extensive habitat change due to the spruce beetle outbreak.
   Table 5, below, displays the amount of overlap between percentage of lynx habitat and suitable timber
   base. For this analysis, it is generally assumed that a higher percentage of overlap with the suitable
   timber base might be associated with more potential impact to lynx habitat. Because most all timber
   harvest in the spruce-fir ecosystem type on the Rio Grande National Forest is and will be associated with
   salvage for the next seven years or so, this may be true to a larger degree than if forest management
   activities were occurring in a green forest condition. Salvage harvest activities are not limited by size of
   created openings. Openings that approach or exceed around 300 meters in width are usually avoided by
   lynx (Koehler and Brittell 1990). However, habitat improvement can still be associated with salvage
   harvest depending upon where the activities are focused and their scale and intensity in relationship to
   core habitat areas for lynx. Other important factors associated with degree of impact include the broad­
   scale landscape context such as the amount of remaining suitable habitat in a lynx home range, retention
   of standing live and dead trees patches in relationship to created openings, and connectivity values
   between leave patches and openings created by salvage harvest. Proximity and connectivity to areas
   where timber harvest activities are prohibited or greatly limited, such as designated wilderness or roadless
   areas, are likely to also be of value to lynx in relationship to adjacent timber harvest areas.




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   Table 4: Overlap between mapped lynx habitat, overstory mortality from spruce beetles as mapped by aerial
   detection surveys and mapped suitable timber base.
                                                    Existing Condition          Forest Plan
                                                  Suitable Timber Base    Suitable Timber Base


    Spruce Beetle Kill in Lynx Habitat                          278,094                  289,310

    Percent Lynx habitat inside/outside this
    classification                                                56/44                       53/47



   The information provided in Table 5, above, indicates that the amount of area associated with the mapped
   suitable timber base increases by approximately 11,216 acres (4.0%) in under the Forest Plan in
   relationship to existing baseline conditions suggesting potential for a slight increase in timber harvest
   acres. The potential effect of this is difficult to discern because of the variables discussed previously as
   associated with timber harvest in relationship to influences on habitat values preferred by lynx. For
   example, some disproportionally small areas may be particularly high value to lynx and reproductive
   success so potential impacts are not directly correlated with comparisons between acreage differences.
   Based on the preliminary results from the local lynx study that suggest that high densities of medium and
   larger, dead trees retain preferred habitat value for lynx, particularly when in association with dense
   understory conditions, it is likely that some preferred timber salvage areas will overlap closely with the
   key ecosystem characteristics that lynx appear to be selecting for in the forests heavily influenced by
   spruce beetle. It is assumed that preferred habitat values for lynx will be potentially less impacted under
   the Forest Plan. The fact that a rapid understory release is occurring or likely to occur in many areas also
   suggests that preferred habitat values snowshoe hare are likely to improve through ecological processes
   associated with natural recovery, with recruitment of downed log components contributing to the
   understory cover values that hares prefer over time as snag fall rates increase. Conversely, however, a
   decrease in timber salvage acres may represent a loss in habitat improvement opportunity if the activities
   are focused in areas where existing understory cover is sparse and regeneration would be encouraged.
   The Forest Plan incorporates existing management direction from the SRLA. Because of the
   uncertainties associated with the habitat changes due to the spruce beetle outbreak, one additional
   standard (S-VEG/LYNX-7) has been incorporated. This standard addresses uncertainties associated with
   high-quality habitat due to the changed habitat condition, and provides additional focus on the importance
   of retaining and/or minimizing influences to dense understory values of importance to snowshoe hares. As
   with the current SRLA VEG S-6 standard, timber harvest is not prohibited in these stand conditions;
   however if entry occurs, effects to understory conditions are intended to be minimized. However, there
   remains some risk of impact above baseline conditions to understory values associated with the new VEG
   S-7 standard.
   Forest vegetation management associated with the timber program often has a potential to assist with the
   maintenance of various successional stages on the landscape that are beneficial to lynx. These
   opportunities are likely less evident on the Rio Grande National Forest because of the focus associated
   with salvage of dead and dying trees due to the spruce beetle outbreak. Adverse impacts to some of the
   key ecosystem characteristics associated with the conservation, recovery and viability of lynx can be
   anticipated in association with the timber program. However, potential adverse effects from all action
   alternatives are expected to be minimized with the incorporation of the existing SRLA direction, the
   addition of a new vegetation standard, and other plan components associated with the plan revision.
   Table 6 provides estimates of potential Veg S7 allowances and unsuitable habitats in LAUs overlapping
   the lynx 95% Use Area delineated by Squires et al. (2018).

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   Table 5. Estimates of existing conditions and allowances under Veg S7, Forest Plan
    LAU                       95% Selected     Potential Veg   Potential Veg    RGNF Lynx            RGNF Lynx
                               Lynx Use Area S7 acres          S7 Caps          Habitat Model:       Habitat Model:
                              (acres)          Utilized Based  Based on         Unsuitable           Suitable
                                               On Hazard       Forest Plan      Habitat              Habitat
                                               Tree Rd & Site Suitable          Overlap with         Overlap of
                                               Buffers         Timber Base      Forest Plan          95% Lynx Use
                                               (acres)         (Acres -7% of    Suitable             Area with
                                                               Area/LAU)        Timber Base          Forest Plan
                                                                                and 95% Lynx         Suitable
                                                                                Use Area             Timber Base
                                                                                (acres)              (acres)
    ALAMOSA                            23,664            1,292                              643                4,138
                                                                           348
    CONEJOS CANYON                     20,205            1,534                              674                7,420
                                                                           587
    DEEP CREEK                         23,143              424                              903                  553
                                                                           105
    HOGBACK                            18,479            1,569                            1,795                4,320
                                                                           443
    LA JARA                            18,542              556                              482                5,001
                                                                           413
    PINOS-ROCK                         44,114            4,122                              779               18,896
                                                                          1454
    RITO-ARCHULETA                      4,758              164                               76                  795
                                                                            62
    SNOWSHOE                           22,818              253                              379                1,770
                                                                           152
    STONEY PASS                        51,586            1,188                              256                1,422
                                                                           121
    THIRTYMILE                         17,525              439                            1,049                2,582
                                                                           255
    TRES MESA                          21,297              841                            2,252                1,964
                                                                           303
    TROUT­                             52,520            4,770                            6,765               24,344
    HANDKERCHIEF                                                         2281
    TROUT CREEK                        15,345              666                              604                2,067
                                                                           194
    VICTORIA CHAMA                     10,540               77                                0                  334
                                                                            46
    TOTALS                            344,536           17,896           6,763           16,657               75,606


   Effects on Canada lynx from Fire Management
   Plan direction that relate to fire focuses on the natural role that fire plays in the ecosystem. All alternatives
   contain plan direction regarding unplanned wildfires where they would only be extinguished when they
   are a threat to human life or values at risk, or if they risk the ability of the site to sustain ecosystems. The
   Forest Plan contains direction for fire management zones which create a prioritization framework for fire
   management tied to resource protection or risks to human life and property.
   The majority of spruce-fir forests in Colorado are considered Fire Regime V systems, indicating that
   wildfire is an infrequent disturbance event that may occur every 200+ years (Schmidt et al. 2002). In the
   San Juan Mountains of southern Colorado, fire return intervals in spruce-fir systems may average from
   300 to 600 years (Romme et al. 1992). Large wildfires in spruce-fir systems are primarily associated with
   extreme weather events such as drought and high winds rather than fuels, stand age, or insect and disease
   factors and tend to be high-intensity stand replacement events when they do occur (Bessie and Johnson
   1995, Sherrif et al. 2001, Veblen 2003). The West Fork Fire Complex of 2013 burned in a similar pattern
   during the dry and windy climatic conditions prior to the start of the monsoon season.
   Wildfires in spruce-fir systems can be patchy and non-continuous but most often result in crown fires that
   typically kill most (>90%) of the canopy trees over large areas (Veblen 2003). Fire Regime V events
   tend to be stand initiating, and the rate and pattern of forest development can be highly variable and is
   primarily dependent upon seed availability and site factors (Veblen et al. 2003 Roovers and Rebertus


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   1993). From an ecological point of view, fire events tend to have the greatest influence on stand
   susceptibility to subsequent beetle attacks (Bebi et al. 2003).
   Currently, there is no clear evidence that bark beetles or windthrow events influence the frequency of fire
   events in spruce-fir forests (Baker and Veblen 1990, Sherrif et al. 2001, Bebi et al. 2003, Veblen 2003).
   Recent local studies also suggest that fire severity is not influenced by spruce beetle outbreaks, with
   climatic factors being most significant to creating conditions conducive to large, high-severity fires in the
   subalpine zone of Colorado (Andrus et al. 2016). However, fire hazard may be greater during the two
   years following a beetle attack when the dead needles and fine twigs are still on the trees (Schmid and
   Amman 1992).
   Because of the fire regime associated with lynx habitat, most wildfires would be expected to move forests
   into a more open condition that is less desirable or beneficial to lynx. However, post-fire use by lynx is
   expected to be associated with characteristics of the burn such as size, severity, and landscape patterns.
   Recent information from Washington State indicates that lynx in those forests will still use burned areas
   as early as one-year post-fire, although they do show a preference for unburned “islands” of vegetation
   within those burned areas (Vanbianchi et al. 2017). This information suggests that lynx will utilize burned
   landscapes but primarily where residual undisturbed mature forest or comparable dense vegetation
   remains in close proximity to the burn, either as part of a larger landscape mosaic within a burn mosaic or
   immediately adjacent to the burned area. Local movement data from lynx on the Forests suggests a
   similar pattern of use of unburned islands within two years of the 2013 West Fork Fire; however, lynx are
   also clearly avoiding the larger burn area (Squires et al. 2016).
   In the medium term (approximately 5-15 years), fire can induce regeneration/succession which can
   eventually result in an increased prey base (Fox 1978). Fire exclusion generally results in forests that have
   full canopy cover but little of the understory vegetation that Lynx and their prey base require. The
   heterogeneity of local spruce-fir systems on the Rio Grande National Forest, however, in association with
   the natural patch dynamics contributes to a mosaic of forest conditions that provide small openings and
   cover in close proximity for lynx and their primary prey species. However, when a wildfire start does
   occur and expands into local lynx habitat it is likely to be a large scale stand-replacement event similar to
   the West Fork Fire Complex of 2013. The West Fork Fire burned through approximately 20,000 acres of
   mapped lynx habitat, with about 23% being high intensity, 50% moderate intensity, and 27% low
   intensity. Both moderate and high-intensity burn areas were considered to be converted to unsuitable
   habitat conditions because of the fire, with three of the four affected LAUs now having relatively high
   unsuitable habitat values (USDA Forest Service 2013).
   The use of wildland fire for resource benefit is expected to increase under all action alternatives. This will
   involve allowing more wildfires to burn when conditions allow, particularly when human resource values
   and safety are not at risk such as in designated wilderness. The effect of wildland fire in Class V fire
   regime systems will likely have short to mid-term negative effects on lynx depending upon individual fire
   characteristics and patterns, with large openings created by high-intensity fire being avoided by lynx until
   such time that forest vegetation returns and grows dense enough to support prey species such as snowshoe
   hare. In many local spruce-fir sites, aspen is likely to be a pioneer species on local wildfire sites. Aspen
   may support lower of snowshoe hare and other prey species for the first couple decades or more, but is
   not expected to provide higher quality habitat values until such time that spruce or other conifer trees take
   hold and grow into foraging habitat condition for snowshoe hare. This could take several decades or
   more depending upon site conditions and other factors. In the long-term, wildland fire in lynx habitat can
   be expected to result in high-quality habitat for primary prey species, and can be expected to be of high
   value to lynx depending upon the landscape patterns involving unburned areas of larger, intact forest that
   provides other cover, foraging, and denning values to lynx.
   Suppression of wildland fire in spruce-fir ecosystems is expected to remain a primary tactic for multiple
   local resource values, including protection of wildlife habitat. In areas where stand initiation amounts


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   have already exceeded desired conditions for lynx and other spruce-fir associated wildlife species, fire
   suppression tactics may be used to extinguish fires as quickly as possible, or allow them to burn for
   resource benefit under prescribed conditions. This latter opportunity may be more limited in spruce-fir
   ecosystems than in lower elevation forests that support more fire-adapted vegetative communities because
   wildfires in Fire Regime V systems tend to be driven by climatic conditions that result in higher intensity
   stand replacement fires. The potential for climate change to influence the disturbance ecology patterns in
   local subalpine forests, including frequency and severity of wildland fire, is generally unknown but is a
   concern in identifying and balancing the need for extensive tracts of intact forest with openings that
   provide for the regeneration of early seral forest conditions that tend to support high densities of
   snowshoe hare and other potential prey species (Savage et al. 2017).

   Effects on Canada lynx from Fuels Management
   Fuels management activities in lynx habitat across all alternatives are not expected to be applied
   frequently on a landscape scale because of the associated fire regime. However, pile burning and other
   slash clean-up activities associated with activity fuels from timber harvest may be used frequently. Fuels
   management activities have the potential to be have negative effects on lynx habitat. These effects are
   addressed in plan direction, to avoid negative impacts to lynx habitat, maintaining the vegetative structure
   and connectivity required by the species.

   Effects on Canada lynx from Grazing
   Cattle grazing can reduce shrub size and vigor, generally leading to more open conditions in contrast to
   the Lynx’s preference for dense undergrowth (Aubry et al. 2000). Cattle grazing can reduce winter forage
   and cover for snowshoe hares and is correlated with decreases in snowshoe hare abundance. The primary
   concern from livestock grazing on lynx habitat involves browsing and trampling impacts on understory or
   riparian associated species such as aspen and willow, which function as important cover and forage
   habitats for prey species such as snowshoe hare. High-elevation riparian willow often functions as a key
   habitat for a variety of prey species during the summer period. Grazing in these areas can reduce the
   cover and forage value of these areas. The current management direction from the SRLA regarding
   livestock grazing has been incorporated into the plan revision. In most cases, cattle grazing tends to be a
   minor influence on these habitat types due to their elevation and inaccessibility to livestock. Therefore,
   no updates to the management direction regarding livestock grazing has occurred.
   The existing management direction regarding livestock grazing in addition to the new plan components
   are expected to maintain the vegetative conditions associated with the Lynx and their important prey
   species

   Effects on Canada lynx from Road Construction and Reconstruction, Road Management,
   and Motorized Off-Highway Travel
   High volume roads and highways are known to have an impact on lynx movement and habitat
   connectivity, but the impact of lesser used roads and native surface roads is less well understood. Road-
   related mortality of lynx occurs most often when highway traffic volume approaches or exceeds 4,000
   vehicles per day. Given the slower speeds and reduction in use associated with native surface forest roads,
   indirect impacts are less likely to occur. In some cases, however, vehicle traffic may affect lynx behavior
   by deferring intended crossings and movements. However, such impacts are expected to be minimal
   depending on road density values in particular areas, especially when in association with other high-use
   recreation areas such as developed campgrounds.
   Plan direction could be used to defer road construction and maintenance projects in Lynx denning habitat
   to avoid take when the dens are in use. Forest Plan direction also allows for the use of seasonal closures to
   protect wildlife and fisheries habitat. If used properly, this plan direction could ensure that the road


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   network has no more than a negligible impact to the Lynx population, commensurate to a minor adverse
   effect in the form of unintentional harassment.
   Snowmobile use by recreationists often directly overlaps mapped lynx habitat because of human
   preferences for high-elevation, deep snow areas. Lynx can be negatively affected by use of over-the-snow
   vehicles due to noise and displacement. Winter periods can also be particularly stressful for lynx as they
   establish and reoccupy winter home ranges that will supply the food resources to feed themselves and
   often the previous years’ kittens, and provide them with enough resources to prepare for the coming
   breeding season. The probability of negative impacts occurring likely increases with increasing
   snowmobile use and the amount of accessible terrain. The current increasing trend in snowmobile use in
   Colorado and on the Forest and the increased ability of the machines to pioneer into previously secluded
   habitat areas has the potential to increase potential displacement and/or disturbance of lynx in some areas.
   For example, requests for guide permits to lead snowmobile groups spruce-fir ecosystems that also
   support lynx are a recent activity on the Rio Grande National Forest.
   Road and trail grooming for snowmobile access also results in snow compaction. In some cases,
   extensive play areas used repeated by snowmobiles also results in snow compaction. Baseline conditions
   regarding snow compaction are associated with the SRLA and have been incorporated into the Forest
   Plan.
   Table 6. Miles of Estimated Designated and Groomed Winter Routes on the Rio Grande National Forest.
   Information is from Figure 3-24 in the FEIS for the Southern Rockies Lynx Amendment (USDA Forest Service
   2007). This table represents the Forest baseline in relationship to Section 7 responsibilities and SRLA
   Management Direction
    Rio           Total Miles of       Total Miles     Total Miles of             Total Miles of Groomed or
    Grande        Designated Routes    Groomed         Groomed or                 Designated Recreation
    National                           Routes          Designated Recreation      Winter Trails and Routes
    Forest                                             Winter Trails and          within LAUs
                                                       Routes in Lynx Habitat
                                                       within LAUs

                                                                                              319
     TOTALS              613                613                   196



   Under the Forest Plan, the snow compaction baseline is not to be exceeded without following the SRLA
   objectives and guidelines in the Human Uses section of the SRLA, and documenting the rationale for this
   deviation. Additional GIS work completed in 2016 resulted in a new map of snow routes and suspected
   compacted routes for the Rio Grande National Forest. Based on this mapping effort, the compacted routes
   are believed to be similar to the 2008 SRLA baseline but total routes used by snowmobiles had nearly
   doubled.
   Snow compaction is considered a potential issue for lynx because other predators such as coyotes may
   take advantage of hard packed over-snow routes created by snowmobiles to access deep snow habitat
   areas that were formerly inaccessible to them. This may result in competition for resources such as
   snowshoe hare that lynx depend upon. While use of snow compacted routes by coyotes is a commonly
   observed occurrence locally, the effects of this increased access on lynx are uncertain. If further research
   indicates that it is a problem locally, then seasonal or local closures could mitigate the problem.
   The Forest Plan Revision decision will determine the suitability of over-the-snow areas but delineated
   routes will not be determined until the travel management planning process.




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   Effects on Canada lynx from Trail Management, Developed Recreation, and Dispersed
   Recreation

   Off-Trail Over-The-Snow Vehicle Use
   The Forest Plan retains existing areas open to OSV cross-country use. Currently a total of 673,840 acres
   are available for off-road/trail over-the-snow vehicle use within 25 of the 26 LAUs on the RGNF (table
   8). Overlay of open use areas with Canada lynx 95% Use Areas identified by Squires et al. (2018) shows
   a high proportion of overlap in the Tres Mesa, Trout-Handkerchief, and Pinos-Rock LAUs.
   Table 7. Off-trail over snow vehicle use, RGNF
                                                                               Percentage of
                                                              Overlap of       95% Use Area
                                                              Open OSV Use     Overlapped by
                                            Off-Trail Use     and Lynx 95%     Open OSV
    LAU                                     Allowed (ac)      Use Area (ac)    Areas
    4MILE TO LA GARITA CREEK                         66,649                0            0.0%
    ALAMOSA                                          17,288            7,148           30.2%
    BONANZA                                          49,132                0            0.0%
    CARNERO                                          51,351                0            0.0%
    COCHETOPA                                        36,465                0            0.0%
    CONEJOS CANYON                                   19,731            8,873           43.9%
    CREEDE                                           21,453                0            0.0%
    DEEP CREEK                                        5,408           2,785            12.0%
    EMBARGO                                          36,262                0            0.0%
    GROUNDHOG PARK                                   19,647                0            0.0%
    HOGBACK                                          21,187            7,929           42.9%
    LA JARA                                          10,090            3,177           17.1%
    LAGARITA WILDERNESS                               8,614                0            0.0%
    PINOS-ROCK                                       41,969          27,124            61.5%
    RITO-ARCHULETA                                   34,847             342             7.2%
    SAGUACHE PARK                                    39,482                0            0.0%
    SANGRE DE CRISTO NORTH                            3,569                0            0.0%
    SANGRE DE CRISTO SOUTH                              683                0            0.0%
    SNOWSHOE                                          3,212           2,101             9.2%
    STONEY PASS                                      11,446           4,727             9.2%
    THIRTYMILE                                       18,127            5,296           30.2%
    TRES MESA                                        58,980           11,220           52.7%
    TROUT-HANDKERCHIEF                               67,701          39,920            76.0%
    TROUT CREEK                                      25,379           4,637            30.2%
    VICTORIA-CHAMA                                    5,168             829             7.9%
                                  TOTAL             673,840         126,111            36.6%



   The impact that outdoor recreation may have to lynx is not clear although a number of studies are
   underway (Maze 2013). As stated previously, snowmobile use of Lynx habitat may have impacts to the
   species by facilitating the movement of competitive species such as coyote (Kolbe et al. 2007). Non-

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   motorized over-snow travel may have a similar effect, although at a lesser scale and intensity. This may
   not directly impact lynx as the species spends the great majority of its time in thick brush and timber that
   is not generally suitable for over-the-snow travel, mechanized or not.
   There is no indication that other types of recreation have much impact on Lynx of their habitat, as hikers
   and other recreationists generally stay out of the thickest brush that makes up the lynx’s preferred habitat.

   Summary of Indirect Effects to Canada lynx
   The SRLA provides an overview of all activities that might influence Canada lynx and the key ecosystem
   characteristics that define their primary habitat and that of their important prey species. The management
   direction that addresses these activities is incorporated into the action alternatives for the plan revision.
   Of these, forest vegetation management is considered the most influential, primarily because of potential
   effects of vegetative structure that supports snowshoe hare and, to a lesser degree, other important prey
   species. Therefore, the forest vegetation management (timber) program has the greatest potential to
   influence Canada lynx depending primarily upon where these activities are located. Conversely, forest
   vegetation management can also be an important tool for improving lynx habitat both spatially and
   temporally over time and thus have beneficial influences to lynx habitat.
   Wildland fire can have extensive negative influences on lynx habitat locally because of the fire regime
   associated with local subalpine forests. In the short to mid-term (several decades), these fires can have
   detrimental effects on lynx habitat quality depending upon factors such as location, scale, and intensity.
   Conversely, wildland fire can be a beneficial influence on lynx habitat over the long term if burn
   intensities and spatial aspects of burn and unburned areas are in close proximity to each other.
   Recreational programs may have negative influences on lynx habitat, primarily as associated with winter
   recreational use of motorized over-the-snow machines, or snowmobiles. Effects can include potential
   disturbance and displacement, and potential facilitation of completion by other carnivores, such as
   coyotes, for food resources. Livestock grazing can and has been documented as a concern on vegetation
   structure and composition, particularly in riparian zones where aspen and willow provide important
   summer foraging habitat for a wider variety of prey species than during the winter periods. Most grazing
   issues involving lynx habitat have occurred at mid-elevations where dryer riparian habitat vegetation can
   be more readily influenced by livestock. However, upper elevation willow carrs can also be influenced.
   Other human uses and key habitats involving road management, summer recreation, linkage areas, and
   habitat connectivity can also be influential depending on location, scale and intensity.
   Programs that have the greatest potential to impact lynx are those that have the potential to affect the
   vegetative cover needed by lynx or their prey base. Timber harvest, fire, fuels management, and, to a
   lesser degree cattle grazing, all have the greatest potential to impact lynx’s required vegetative cover.
   Over-snow recreation has potential to disturb and displace lynx and increase snow compaction levels. In­
   stream minerals dredging activities have some minor potential to interfere with lynx travel corridors.
   Vegetation management activities that occur during the reproductive season is the likely the only program
   that has much potential to cause direct mortality to lynx. This can be mitigated by timing restrictions in
   key reproductive habitat until such time the kittens can likely move between maternal dens (after at least
   July 15).

   Comparison of Plan Component Effects Addressing Lynx Risk Factors
   Table 9 provides a summary of plan component response to lynx risk factors under the Forest Plan in
   comparison to management direction under the existing forest plan.




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Table 8. Lynx Risk Factor Summary Effects Comparison for the current Forest Plan in Relation to the Previous Plan

                                       Plan Component         Plan Component
                                       Code Addressing        Code Addressing
                     Ecological        Risk                   Risk
 Risk Factor         Element at Risk   (Existing Condition)   (Forest Plan)       Effects Analysis Summary

                     Denning habitat                                              Previous and current Forest Plan
                     availability      SRLA: VEG G11          S-TEPC-1            •   Provides that denning habitat should be distributed in each LAU.

                                                                                  Previous Plan
                                       SRLA: VEG S1,          S-TEPC-1            •   Provides for retention 70% of overstory cover, in all LAUs
                                       VEG S2, VEG S5,        VEG S7 (S-TEPC-2)   •   Restricts precommercial thinning removal of snowshoe hare habitat
                                       VEG S6, VEG G1,
                                                                                      without overstory cover, with exceptions, in all LAUs
                                       VEG G5VEG G10
                                                                                  •   Restricts regeneration to 15% or less within an LAU during a 10 year
                                                                                      period, in all LAUs
                                                                                  •   Restricts regeneration harvest projects not meeting VEG S1, S2, S5,
                                                                                      or S6, within WUI, to no more than 3% of lynx habitat in the
                                                                                      administrative unit.
                                                                                  •   Provides for 70% retention of snowshoe hare and red squirrel habitat
 Vegetation and                                                                       in stands identified as suitable habitat, in all LAUs
 Timber                                                                           •   Restricts incidental removal of winter snowshoe hare habitat with
 Management          Foraging and
                                                                                      overstory cover due to salvage harvest, in LAUs exceeding 30%
                     cover habitat
                     availability                                                     unsuitable habitat, and LAUs with 15% or more regeneration harvest
                                                                                      within a 10 year period, in all LAUs
                                                                                  •   Does not limit incidental damage or removal of high quality hare
                                                                                      habitat during salvage operations in stands not classified as multi­
                                                                                      story mature or late successional conifer forests.

                                                                                  Forest Plan:
                                                                                  •   Provides for retention of 70% retention of overstory cover, in 95%
                                                                                      use area
                                                                                  •   Removes requirement for 70% retention of overstory cover, in areas
                                                                                      outside the 95% use area
                                                                                  •   Restricts regeneration to 15% or less within an LAU during a 10 year
                                                                                      period, in 95% use area



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                                       Plan Component         Plan Component
                                       Code Addressing        Code Addressing
                   Ecological          Risk                   Risk
Risk Factor        Element at Risk     (Existing Condition)   (Forest Plan)     Effects Analysis Summary

                                                                                •   Removes restriction of regeneration harvest projects not meeting
                                                                                    VEG S1, S2, S5, or S6, within WUI, to no more than 3% of lynx
                                                                                    habitat in portions of the administrative unit outside the 95% use
                                                                                    area.
                                                                                •   Restricts precommercial thinning removal of snowshoe hare habitat
                                                                                    without overstory cover, with exceptions, in all LAUs
                                                                                •   Provides for 70% retention of snowshoe hare and red squirrel habitat
                                                                                    in stands identified as suitable habitat, in all LAUs
                                                                                •   Provides for retention of existing snowshoe hare habitat with
                                                                                    overstory cover, with exceptions, within the 95% use area only
                                                                                •   Removes restriction on incidental removal of winter snowshoe hare
                                                                                    habitat with overstory cover due to salvage harvest, in LAUs
                                                                                    exceeding 30% unsuitable habitat, and LAUs with 15% or more
                                                                                    regeneration harvest within a 10 year period, in all LAUs outside the
                                                                                    95% use area.
                                                                                •   Provides for up to 7% incidental removal of snowshoe hare habitat in
                                                                                    stands identified as Unsuitable due to bark beetle mortality, except
                                                                                    for hazard tree removal within 250’ of open roads, administrative
                                                                                    sites, and administrative roads, within 95% use area.

                   Landscape                                                    Previous and current Forest Plan:
                   connectivity        SRLA: ALL S1,          S-TEPC-1          •   Provides for retention of connectivity.
                                       LINK S1
Wildland Fire      Denning, forage,                                             Previous and current Forest Plan:
Management         and cover                                                    •   Provides an emphasis to conduct fire use activities to restore
                   availability        SRLA: VEG 03           S-TEPC-1              ecological processes and maintain or improve lynx habitat.

Livestock          Cover and                                                    Previous and current Forest Plan:
grazing            foraging habitat    SRLA: LINK G2,                           •   Reduces risk of lynx and prey species habitat loss due to grazing.
                   availability        GRAZ G1, GRAZ          S-TEPC-1
                                       G2, GRAZ G3,
                                       GRAZ G4
Recreational       Increased risk of                                            Previous and current Forest Plan:
Uses               mortality due to    SRLA: HU G4, HU-       S-TEPC-1
                                       G10, HU-G12


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                                    Plan Component         Plan Component
                                    Code Addressing        Code Addressing
                  Ecological        Risk                   Risk
Risk Factor       Element at Risk   (Existing Condition)   (Forest Plan)     Effects Analysis Summary

                  predator                                                   •   Reduces risk caused by predator competition facilitated by snow
                  competition                                                    compaction activities.

Highways          Increased                                                  Previous and current Forest Plan:
                  mortality         SRLA: LINK S1, HU      S-TEPC-1          •   Reduces risk of highway-related lynx mortality.
                                    G9
Highways and      Foraging and                                               Previous and current Forest Plan:
Permanent         cover habitat     SRLA: HU G1, HU        S-TEPC-1          •   Provides for retention of snowshoe hare habitat and lynx cover in
Developments      availability      G2, HU G5, HU                                otherwise fragmented areas.
                                    G11
                  Landscape                                                  Previous and current Forest Plan:
                  connectivity      SRLA: ALL S1, ALL                        •   Reduces the risk of connectivity loss on the landscape.
                                                           S-TEPC-1
                                    G1, HU G3, HU G6,
                                    HU G7, HU G8,
                                    LINK G1




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   Summary of Remaining Uncertainty and Risk to Canada lynx
   Risk to Canada lynx resulting from multiple use activities on the Rio Grande National Forest are largely
   addressed in the Forest Plan via adoption of SRLA management direction. However, SRLA did not
   address the potential effects to, or potential management approaches for, conditions resulting from
   significant reductions in available multi-storied mature or late-successional spruce-fir stands at the
   National Forest scale. In the last 10-15 years, due to insect mortality spruce-fir stands on the Rio Grande
   National Forest have undergone a substantial shift in structural condition from mature tree-dominated
   green canopy forest to snag-dominated stands providing little to no green overstory. Recent research
   indicates that, despite these changed conditions, lynx and snowshoe hare continue to occupy and thrive in
   areas substantially affected by beetle-kill, with use levels in these stands similar to that shown prior to this
   mortality event.

   The VEG S7 (S-TEPC-2) and S-TEPC-3 standards under the Forest Plan recognizes lynx and snowshoe
   hare use of spruce-fir stands with high levels of overstory mortality and proposes management direction
   for timber/salvage harvest activity levels that varies by location within or outside of the Lynx 95% Use
   Area identified by Squires et al. (2018). In summary, the standards would limit effects allowances to VEG
   S7 stands in 95% Use Area to 7% while relaxing previous standards under SRLA for effects limitations
   on allowable amounts of stand initiation structural stage (VEG S1) and stand regeneration (VEG S2) in
   any LAU that falls completely outside the 95% Use Area.

   While application of these standards recognize the need to limit impacts within areas of the Forest most
   highly utilized by lynx, some uncertainty and; therefore, associated risks remain to be addressed. For
   example, the amounts and spatial locations of existing stands with high levels of overstory mortality
   containing conditions utilized by both lynx and prey species, have not been identified. In addition, the
   impacts to lynx and prey species resulting from potential impacts of up to 7% of this habitat during
   salvage operations, as well as salvage removal of snags that likely provide shading and overstory cover
   that contribute to suitability of these stands, is unknown. The effect is likely mitigated to an extent
   because treatments would be limited to areas identified as suitable for timber removal, but some
   uncertainty remains.

   Outside of areas proposed for management under VEG S7, the remaining amount and distribution of
   multi-story mature and late successional spruce-fir stands (SRLA VEG S6) containing winter snowshoe
   hare habitat have not been identified. Stands retaining these conditions or other habitat characteristics
   may provide a heightened role in sustaining lynx and snowshoe hare given the reduced availability of this
   habitat on the landscape. Therefore, the effects of continued limited allowances for impacts to remaining
   VEG S6 stands within lynx high use areas and other vegetation management within habitat outside the
   lynx high use areas is uncertain.

   Cumulative Effects
   Trapping was once thought to be the primary driver of the decline of lynx - the species was regularly
   trapped for pelts. As recently as 1980 these pelts were still being sold for export (45 FR 80444). However,
   as noted in the listing decision, current forest management practices are considered one of the primary
   effects.
   Cumulative effects involving lynx habitat are determined by tracking changes to baseline conditions of
   individual LAUs in relationship to other planned or reasonably foreseeable activities on other non-federal
   lands. Future activities on federal lands are not included in cumulative effects analysis for federally listed

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   species because they are subject to additional section 7 analysis when individual projects occur. Other
   habitat parameters involving monitoring of the SRLA implementation under the Biological Opinion for
   section 7 consultation for the SRLA have been tracked on an annual basis either at the LAU scale or
   Forest-wide.
   The primary influence on lynx habitat baseline conditions is associated with the extensive spruce beetle
   outbreak focused within the spruce-fir ecosystem type. Aerial surveys to detect insect and disease
   influences indicate widespread mortality in the mature spruce component on the Rio Grande National
   Forest. As of 2016, these surveys indicate mortality had increased to 100% of the spruce-fir forested
   ecosystem (USDA Forest Service 2017). This primarily involves the mature and older spruce trees. It
   should be noted that aerial detection methods over-estimate total mortality, as some spruce-fir forest in the
   southern portion of the Forest currently remains at least partially green, and mid to lower canopy levels
   are usually not as severely affected by spruce beetle. This change in habitat conditions directly overlaps
   with the core habitat for lynx on the Rio Grande National Forest and has resulted in a significant change
   to the key ecosystem characteristics known to provide high-quality habitat conditions for the species.
   Although also variable, it is estimated that unsuitable habitat conditions average 27% across mapped lynx
   habitat on the Forest with 11 of the 29 LAUs (38%) being over the unsuitable habitat threshold associated
   with Standard VEG S1 (30% unsuitable). The majority of this change has occurred since 2010 when the
   spruce outbreak was affecting up to 60,000 acres or more per year.
   In response, proposed salvage activities have increased, most of this occurring in lynx habitat. This
   increase in timber salvage activities are expected to continue for the next seven years while the dead trees
   are still merchantable. This will likely have both negative and positive influences on lynx habitat,
   depending upon the location of activities and how they are conducted in relationship to known high-
   quality lynx habitat.
   It is also likely that the demand for certain recreational activities will continue to increase, with some
   activities having the potential for influencing lynx habitat.
   Changes in lynx habitat condition on the RGNF due to the spruce beetle outbreak are significantly
   decreasing (USDA Forest Service 2016). This is because of the extensive area influenced by spruce
   beetles and the fact that they are running out of green trees to utilize as a food resource.
   The most recent aerial detection surveys describe tree mortality as substantial in the spruce-fir ecosystem
   (USDA Forest Service 2017) that directly overlaps with most all of the lynx habitat on the forest.
   However, what this information doesn’t display is the vast amount of understory release associated with
   the canopy mortality and therefore the amount of live forest attributes that appear to still be supporting
   high densities of snowshoe hare, the primary prey species for Canada lynx. The current information also
   indicates that most known historic use areas are still being used by lynx, and that reproduction is
   occurring. Some but not all of this habitat is protected from some management activities due to
   wilderness or roadless designations. However, there is considerable uncertainty associated with the
   extensive habitat change for lynx and other wildlife species, and what small but incremental impacts to
   habitat may mean from a cumulative effects perspective. Information from collaborative studies is being
   collected at this time to guide management activities through this uncertainty. The additional plan
   components developed for the plan revision are based on some of this preliminary information, to help
   minimize potential influences and reduce the potential for cumulative impacts over time.

   Determinations

   It is determined that the Forest Plan may affect and is likely to adversely affect Canada lynx based on
   the following rationale:




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      •     The Forest Plan addresses threats and risk factors to Canada lynx by incorporating management
            direction described in the SRLA, with modification to the vegetation management and activities
            direction.

      •     The forestwide change in vegetation condition in spruce-fir stands is recognized and management
            direction is prescribed in stands currently utilized by Canada lynx that were previously identified
            as unsuitable under the SRLA.

      •     Primary lynx and snowshoe hare use areas on the Forest have been identified as a result of recent
            and ongoing research.

      •     Limited impacts to Canada lynx and lynx prey habitats allowed under SRLA would continue,
            with modifications to these allowances pertaining to vegetation management and activities.

      •     Within Canada lynx 95% use areas, the level of effect to Canada lynx and lynx prey resulting
            from proposed limited allowance of 7% impact to understory and associated overstory in VEG S7
            stands is uncertain, as is the level of effect generated by continued limited effect allowances for
            vegetation treatments in remaining multi-storied mature and late successional spruce-fir stands.


    SRLA Required Monitoring
    1. Maps of the location and intensity of snow compacting activities and designated and groomed
          routes that occurred inside LAUs during the period of 1998 to 2000 constitute baseline snow
          compaction. Changes in activities and routes are to be monitored every five years after the
          decision.
    2. When fuels treatment and vegetation management project decisions are signed, report the
          following:
          a) Acres of fuel treatment in lynx habitat by Forest and LAU, and whether the treatment is
              within or outside the WUI as defined by HFRA.
          b) Whether or not the fuel treatment met the vegetation standards or guidelines. If standard(s)
              were not met, report which standard(s) was not met, why it could not be met, and how many
              acres were affected.
          c) Application of exceptions in Standard VEG S5:
              For areas where any of the exceptions 1 through 5 listed in Standard VEG S5 were applied,
              report the type of activity, the number of acres, and the location (by unit, and LAU) and
              whether or not Standard VEG S1 was within the allowance.
          d) Application of exceptions in Standard VEG S6:
              For areas where any of the exceptions 1 through 4 listed in Standard VEG S6 were applied,
              report the type of activity, the number of acres, and the location (by unit, and LAU) and
              whether or not Standard VEG S1 was within the allowance.
          e) Total acres of lynx habitat treated under exemptions and exceptions to vegetation standards, to
              assure the 4.5 percent limit is not exceeded on any Forest over the life of the amendment (15
              years).
    3. Application of guidelines:
          a) Summarize what guideline(s) was not followed and why.

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        b) Document the rationale for deviations to guidelines.
   Recommended Improvements to Resource Tracking and Reporting Procedures (Rio
   Grande National Forest)
      1. Baseline conditions regarding snow compaction activities and routes have been challenging to
         report and map at specific time intervals. Reporting criteria in the SRLA have not been met.
         Recommend a remap of baseline conditions for the plan revision and to make reporting
         requirements more transparent to the Service and the public by including them as part of the
         section 7 consultation requirements associated with this plan revision.

       2. Both suitable and unsuitable habitat conditions for lynx have been defined in documents
          associated with the plan revision. It is recommended that the updated criteria for these conditions
          in regards to understory cover values and green overstory amounts be included as an appendix to
          the plan revision.

       3. Ensure that any allowable acres entered into VEG S7 stands for salvage or other forest vegetation
          management activities are counted and reported in association with the total treatment acres. For
          example, if 40 acres of VEG S7 are entered for salvage purposes, 40 acres are counted and
          reported towards the total allowance for the Rio Grande National Forest. This approach will be
          consistent with the conservation measures for vegetation management in the 2013 LCAS.

       4. Review all remaining acreages for existing SRLA exceptions and exemptions (i.e. caps).
          Continue or renew all acreages applicable to the SRLA except VEG S6. Carefully consider
          whether continuing existing threshold amounts for VEG S6 contributes to conservation goals
          given the significant decrease in this forest condition due to the spruce beetle outbreak.

       5. Explore opportunities to accurately map the amount and distribution of VEG S7 stands in the
          95% Lynx Use Area. To help evaluate whether the proposed allowance amount (7%) will meet
          conservation goals as currently planned.

       6. Provide an exemption for any VEG S7 stands associated with the definition of roadside hazard
          removal.

   Southwestern willow flycatcher (Empidonax trailii extimus)
   Environmental Baseline
   The breeding range of the Southwestern willow flycatcher includes southern California, Arizona, New
   Mexico, southwestern Colorado, and extreme southern portions of Nevada and Utah: specific range
   boundaries are delineated in the subspecies’ recovery plan (USDI Fish and Wildlife Service 2002).
   Southwestern willow flycatcher was first petitioned for listing in 1992 (57 FR 39664), proposed for
   listing in 1993 (58 FR 39495), and listed in 1995 (60 FR 10695). Critical habitat was designated in 1997
   (62 FR 1997), although there is no Critical Habitat on the planning unit. Since the initial designation,
   there have been multiple revisions of Critical Habitat boundaries and the development of multiple local­
   level Habitat Conservation Plans. The species is widespread, but very rare throughout its range.
   Although willow flycatchers were known to occur in the San Luis Valley, little was known about the
   extent of their occurrence or what subspecies might be present. The current information suggests that
   important flycatcher habitat does occur in certain locations in the Valley in association with willow-
   dominated riparian and wetland communities on the valley floor. Although it is recognized that the San
   Luis Valley occurs within a gradation zone between the E. t. adastus and E. t. extimus subspecies (Paxton

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   et al. 2008), the USFWS at this time considers all willow flycatchers in the Valley to be the E. t. extimus
   subspecies (July 12, 2011 letter from the USFWS to the Rio Grande National Forest).
   In 2008, the first (and only) detection of an individual willow flycatcher on the Rio Grande National
   Forest occurred during surveys of adjacent BLM lands. This detection occurred during the early survey
   period (June 9, 2008) approximately 5 meters from the boundary of adjacent Colorado State Land Board
   property. No willow flycatchers have been noted in this area or in any other location on Forest lands
   since that time. The Rio Grande National Forest has conducted habitat and presence surveys for the
   Southwestern willow flycatcher since 2003. Approximately 1,762 acres of suitable and 947 acres of
   potential Southwestern willow flycatcher habitat have been identified on the Forest to date (2,709 acres
   total). Approximately 1,428 acres (81%) of the suitable habitat and 93 acres (10%) of the potential
   habitat has received species protocol surveys for at least two consecutive years. Furthermore, 1,118 acres
   (73%) of the two-year surveys have occurred above 9,000 feet in elevation. These extensive survey
   efforts have yielded only one individual Southwestern willow flycatcher adjacent to the lower boundary
   of the Forest during an early season inventory effort conducted by the BLM (Ghormley 2018).

   Natural history and key ecological functions
   Southwestern willow flycatchers are strongly territorial. Flycatcher territories are often clumped together,
   rather than spread evenly throughout a habitat patch. Territory size varies greatly, probably due to
   differences in population density, habitat quality, and nesting stage. Estimated breeding territory sizes
   generally range from approximately 0.25-5.7 ac, with most in the range of approximately 0.5-1.2 ac
   (USDI Fish and Wildlife Service 2002).
   The flycatcher builds a small open cup nest. Typical nest placement is in the fork of small-diameter (e.g.,
   0.4 in), vertical or nearly vertical branches. Occasionally, nests are placed in down-curving branches. Nest
   height varies considerably, from 1.6 to 60 ft, and may be related to height of nest plant, overall canopy
   height, and/or the height of the vegetation strata that contain small twigs and live growth. Most typically,
   nests are relatively low, e.g., 6.5 to 23 ft above ground (USDI Fish and Wildlife Service 2002).

   Ecological conditions for recovery, conservation, and viability
   The San Luis Valley encompasses the northernmost recovery unit identified by the USFWS for the
   Southwestern willow flycatcher (USDI Fish and Wildlife Service 2002). In the Final Rule, critical habitat
   was designated on five separate portions of the Rio Grande and Conejos River in the south portion of the
   San Luis Valley on BLM and federal refuge lands (78 FR 344). None of the designated critical habitat
   occurs on National Forest System land.

   Threats and Risk Factors
   The greatest historical factor in the decline of the Southwestern willow flycatcher is the extensive loss,
   fragmentation, and modification of riparian breeding habitat (U.S. Fish and Wildlife Service, 2002, Sogge
   et al. 2010). Large-scale losses of southwestern wetlands have occurred, particularly the cottonwood­
   willow riparian habitats historically occupied by this subspecies. Factors causing habitat loss and/or
   change include urban, recreational, and agricultural development, water diversion and impoundment,
   channelization, livestock grazing, and replacement of native habitats by introduced plant species
   (Marshall and Stoleson, 2000; USDI Fish and Wildlife Service 2002, Sogge et al. 2002).
   While nest parasitism by brown-headed cowbirds has been documented to negatively impact some
   Southwestern willow flycatcher populations, especially at small and isolated breeding sites, it is highly
   variable and no longer considered among the primary rangewide threats to flycatcher conservation (USDI
   Fish and Wildlife Service 2002). Locally, livestock grazing is likely the most extensive activity with the
   highest potential to negatively influence Southwestern willow flycatcher habitat. Other activities of
   concern include motorized vehicle use and recreational impacts to riparian areas. These latter impacts

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   often occur on a smaller scale on a site-specific basis, but can be significant depending upon at these
   locations. Drought can be a significant factor influencing distribution and continued use of potential
   habitat.

   Environmental Consequences
   Indirect Effects to Southwestern willow flycatcher
   Southwestern willow flycatcher are both largely absent from the planning unit (one sighting of
   Southwestern willow flycatcher at the edge of the planning unit). As such, the primary impact
   considerations are potential habitat and the potential ability to support recolonization, reintroduction, or
   population supplementation.
   There is an entire section of plan components for Riparian Management Zones, nearly all of which would
   be protective or restorative of the vegetation structures preferred by this species.

   Effects on Southwestern willow flycatcher from Livestock Grazing
   Grazing has potential to impact riparian habitat, including that of the Southwestern willow flycatcher
   (Brookshire et al. 2002). This is addressed by multiple plan components that are protective of riparian
   vegetation. These include the following:
       DC-RNG-1: Domestic livestock grazing is managed to promote landscape diversity (composition,
       structure, and function) with both a spatial context (what species, what kind of structure, and what
       landscape patterns are natural by ecosystems) and a temporal context (which seral stages and how
       many are natural by ecosystem). (Forestwide)

       DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are in balance
       with the available forage. (Forestwide)

       G-RNG-3: Authorized grazing in Riparian Management Zones should be in compliance with residual
       stubble heights identified in Forest Service Technical Report INT-263, Managing Grazing of Riparian
       Areas in the Intermountain Region (Clary and Webster 1996). (Forestwide)

       DC-RMZ-1: Riparian areas and wetlands are healthy, fully functioning ecosystems that are resilient
       and able to withstand natural and human disturbances that include flood, fire, drought, changes in
       frequency and timing of weather events, recreation, and herbivory. Aquatic ecosystems, riparian
       ecosystems, and watersheds exhibit high ecological integrity. The vegetation consists of desirable
       native species and age classes and meets the needs of resident amphibians, fish, and migratory birds.
       Populations of riparian vegetation are diverse, vigorous, and self-perpetuating. Invasive species,
       including plants and animals, in riparian and wetland ecosystems are rare. There is sufficient
       vegetative cover to provide bank stability, trap and retain sediment, regulate temperature, and
       contribute to floodplain function. Riparian ecosystem composition, structure, and function can
       generally be restored and enhanced by beaver habitat. (Forestwide)

       DC-RMZ-2: Hydrologic regimes of riparian and wetland ecosystems contribute to appropriate
       channel and floodplain development, maintenance, and function. (Forestwide)

       G-RMZ-2: To provide for the structural nesting habitat requirements for riparian-associated birds,
       design management activities to avoid healthy willow carrs. (Forestwide)

   However, even with current plan components it is still possible for cattle to have negative influences on
   riparian willow habitats by consumption of vegetation, trampling, and other impacts. Livestock grazing is


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   currently a widespread annual activity across the Rio Grande National Forest, including in or near riparian
   zones that contain potential habitat for Southwestern willow flycatcher. Even with plan components, there
   remains a potential for the Range program to have a minor to moderate impact or adverse effects on
   potential Southwestern willow flycatcher habitat on the RFNG. Strong management focus on
   achievement of desired conditions and adherence to plan direction should help limit the potential for those
   impacts. Currently, the Rio Grande National Forest is required to conduct repeat surveys on allotments
   with grazing that contain suitable habitat above or below 8,500 feet in elevation every 5 years. This
   means that if five years or more has passed since the last survey occurred, repeat surveys are required in a
   sample of the best available habitat if livestock grazing still occurs. This requirement has not been fully
   implemented on most of the grazing allotments on the Forest.
   The grazing and riparian-related plan components in the preferred alternative are anticipated to provide
   for adequate Southwestern willow flycatcher habitat in most instances; however, it is likely that if
   livestock grazing occurs in riparian areas associated with Southwestern willow flycatcher habitat, a risk
   from grazing impacts will be present. Adequate monitoring is essential to helping to identify problem
   areas and reduce the potential for adverse impacts.

   Effects on Southwestern willow flycatcher from Motorized Off-Highway Travel, Trail
   Management, Developed Recreation and Dispersed Recreation
   Many riparian areas on the planning unit are or potentially can be impacted by Off-Highway Vehicle
   (OHV) traffic, which includes but may not be limited to all-terrain vehicles (4-wheelers), utility vehicles
   (side-by-sides), and motorcycles. In some cases, user-created roads remain an issue where terrain does
   not prohibit access. Riparian zones are commonly associated with travelways, trails and other access
   points that contribute to the potential for legal off-road (game retrieval) or illegal, user-created activity.
   Dispersed recreation activities are known to cause impacts to riparian areas on the planning unit,
   including mapped potential habitat for Southwestern willow flycatcher. These impacts vary from heavy
   foot traffic in areas to motorized access and dispersed camping sites near riparian zones.
   Legal, permitted use by OHV traffic could be anticipated to be conducted in a manner more consistent
   with habitat objectives for Southwestern willow flycatcher based on direction provided in S-TEPC-4 and
   G-TEPC-1. It is anticipated that the new developed plan components will reduce the potential for these
   impacts, however, adverse impacts to riparian areas and willow-riparian systems are likely to still occur
   unless sufficient monitoring and regulation occurs to identify and better manage problem areas.

   Summary of Indirect Effects on Southwestern willow flycatcher
   Known occurrences of southwestern willow flycatcher are restricted to one area near the lower elevation
   limits of the Forest boundary; however, mapped potential habitat occurs on approximately 2,700 acres of
   riparian-willow habitat. Forest plan components would present a minor to moderate potential for adverse
   impact to potential SWWFL habitat through the life of the plan, depending upon the activity. Plan
   components are protective of habitat features required by this species and expected to help address
   impacts when they are identified.
   One year of protocol survey efforts for non-grazing related projects on or off allotment areas within 1 year
   of project initiation is required for southwestern willow flycatcher. These pre-activity survey requirements
   should help identify occupied habitat, potential quality habitat, and problem areas. The minimum patch
   size for areas above or below 8,500 feet also applies to non-grazing projects.

   Cumulative Effects
   The selected alternative will not contribute to any cumulative influences that may be associated with
   water management activities or incidental take within the San Luis Valley since all project activities will



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   have no measurable effect on Southwestern willow flycatcher or their primary habitats. There are no
   other known non-federal actions that would affect the environmental baseline.

   Determinations
   It is determined that the Forest Plan may affect, but is not likely to adversely affect Southwestern
   willow flycatcher based on the following rationale:

       •   Fourteen years of survey effort resulting in the occurrence of only one individual Southwestern
           on the forest boundary indicate that the subspecies does not occur or are highly unlikely to occur
           on the Rio Grande National Forest or that any nesting individuals will be detected in the future.

       •   In the event of incidental occurrence of the species on the Forest, Forest Plan components are
           anticipated to provide for adequate Southwestern willow flycatcher habitat in most instances;
           however, it is likely that if livestock grazing occurs in riparian areas associated with willow
           flycatcher habitat, a risk from grazing impacts will be present.

   Gunnison’s sage-grouse (Centrocercus minimus)
   Existing Conditions and Trends
   Historically, the range of the Gunnison sage-grouse included parts of central and southwestern Colorado,
   southeastern Utah, northwestern New Mexico and northeastern Arizona. Gunnison sage-grouse currently
   occur in seven populations in southwestern Colorado and southeastern Utah (79 FR 69312).

   This species was petitioned for listing in 2001 (66 FR 54848), after multiple resubmissions of the petition,
   the species was found to be “Not Warranted” for listing in 2006 (71 FR 19954). After a status review in
   2009, the species was listed as “Warranted, but Precluded in 2010 (75 FR 59804). In 2013 the USFWS
   proposed designating Critical Habitat for the species (78 FR 2539) and proposed listing the species as
   “Endangered” (78 FR 2485). After additional review and several modified proposals, the species was
   eventually listed as “Threatened” (79 FR 69191) with designated Critical Habitat (79 FR 69311) in 2014.
   In this final determination, no Critical Habitat was established in the planning area, although the Ponca
   Pass area had been considered in earlier proposals.

   Environmental Baseline
   The Poncha Pass population is the only Gunnison sage-grouse population associated with the planning
   area. Delineated occupied distribution of this population covers approximately 27,747 acres, of which
   approximately 5,060 acres coincides with lands managed by the Forest. Approximately 725 acres of
   sagebrush habitat occur on Forest lands within or near the Poncha Pass population delineation.

   Poncha Pass is thought to have been part of the historical distribution of Gunnison sage-grouse. However,
   there were no grouse there when a population was established via transplant from 30 Gunnison Basin
   birds in 1971 and 1972. No population trend information was available until 1999 when the population
   was estimated at roughly 25 birds. In one year, the population declined to less than 5 grouse, when more
   grouse were brought in, again from the Gunnison Basin, in 2000 and 2001. In 2002, the population
   increased to just over 40 grouse, but began declining in 2006, until no grouse were detected in lek surveys
   in the spring of 2013. Grouse were again brought in in the fall of 2013 and 2014 and six birds were
   counted in the Poncha Pass population during the spring 2014 lek count (79 CFR 69312); however, no
   subsequent evidence of reproduction was found. Therefore, the USFWS concluded in 2014 that the
   Poncha Pass area is not a landscape capable of supporting Gunnison sage-grouse, and subsequently



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   removed critical habitat proposed for this area from the final critical habitat determination (79 CFR
   69312).

   Natural history and key ecologicalfunctions
   Sage-grouse are considered obligate users of sagebrush and require large, contiguous areas of sagebrush
   across the landscape for long-term survival. Several species of sagebrush provide the specific food, cover,
   and reproduction habitats critical for sage-grouse survival (USFWS 2013).
   Approximately 85% of nests occur within 4 miles of lek sites. Nests typically occur on the ground at the
   base of live sagebrush. Hatching begins around mid-May and usually ends by July. Most eggs hatch in
   June, with a peak between June 10 and June 20. Incubation typically lasts 27-28 days (Patterson 1952
   cited in GSRSC 2005).
   Intermixing of broods and flocks of adult birds is common with the advent of fall, and birds move from
   riparian areas to sagebrush-dominated landscapes that continue to provide green forbs. Fringed sagebrush
   is often a transitional food as grouse shift from summer to winter diets (Schroeder et al. 1999, GSRSC
   2005).
   Gunnison sage-grouse (GUSG) winter range in Colorado varies according to snowfall, wind conditions,
   and suitable habitat (Rogers 1964, GSRSC 2005). Sage-grouse may travel short distances or many miles
   between seasonal ranges. Movements in fall and early winter (September-December) can be extensive
   with some movements exceeding 20 miles. During severe winters sage-grouse depend on very tall
   sagebrush, which is exposed even above deep snow, providing a consistently available food source.
   GUSG are capable of making long movements (>18 miles) to find appropriate habitat. The extent of
   movement varies with severity of winter weather, topography, and vegetation cover (GSRSC 2005).

   Threats and Risk Factors
   Principle threats to Gunnison’s sage-grouse consist of habitat loss, degradation, and fragmentation due
   primarily to residential, exurban, and commercial development and associated infrastructure such as roads
   and powerlines (USDI Fish and Wildlife Service 2013). Other risk factors include improper livestock
   grazing, predation, and genetic viability.

   Environmental Consequences
   Indirect Effects to Gunnison sage grouse

   Effects on Gunnison sage grouse from Livestock Grazing
   Livestock grazing can have a significant influence on several key ecosystem characteristics important to
   the recovery, conservation, and viability of GUSG. Some of these primary concerns include alteration of
   sagebrush characteristics and residual grass heights around potential nesting areas, and alteration of
   riparian zones important to brood survival. Management direction under the Forest Plan addresses range
   management in sage grouse habitat, ensuring that livestock grazing is compatible with nesting and brood
   rearing objectives in sage habitats and riparian areas.

   Overgrazing continues to be a threat to sage grouse habitat, but effective regulation of range practices
   coupled with effective monitoring as needed should help to prevent potential impacts. Grazing remains a
   suitable activity for forest and neighboring lands on Poncha Pass, although any impacts would be
   minimal.

   DC-RNG-1: Domestic livestock grazing is managed to promote landscape diversity (composition,
   structure, and function) with both a spatial context (what species, what kind of structure, and what


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   landscape patterns are natural by ecosystems) and a temporal context (which seral stages and how many
   are natural by ecosystem). (Forestwide)

   DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are in balance with
   the available forage. (Forestwide)

   DC-RNG-4: Range improvements support ecologically sustainable grazing and benefits for wildlife when
   opportunities exist. New and replacement improvements are designed to benefit aquatic and terrestrial
   species. (Forestwide)

   G-RNG-1: Develop site- and species-specific vegetation use and residue guidelines during rangeland
   planning, and document them in allotment management plans. In the absence of updated planning or an
   approved allotment management plan, the utilization and residue guidelines in Table 1 and Table 2 will
   apply. (Forestwide)

   Table9. Utilization guidelines for rangeland condition
                                    Satisfactory            Unsatisfactory
     Type of Management
                                     (percent)                (percent)
    Season-long                          35                       20
    Fall and winter                      55                       35
    Deferred rotation                    45                       25
    Rest rotation                        50                       35


   TablelO. Clary and Webster residue allowances for rangeland
                                     Satisfactory             Unsatisfactory
    Season of Pasture Use
                                       (inches)                 (inches)
    Spring                                3                         4
    Summer and fall                       4                         6



   G-RNG-3: Authorized grazing in Riparian Management Zones should be in compliance with residual
   stubble heights identified in Forest Service Technical Report INT-263, Managing Grazing of Riparian
   Areas in the Intermountain Region (Clary and Webster 1996). (Forestwide)

   In addition, the following management direction is provided in the Forest Plan to maintain and restore
   listed species and their habitats:

   DC-TEPC-1: Maintain or improve habitat conditions that contribute to stability and/or recovery of
   threatened, endangered, proposed, and candidate species. (Forestwide)

   S-TEPC-4: Management actions that have measurable effects on threatened, endangered, proposed, or
   candidate species or their habitats shall not be allowed if the effects of those actions would contribute to
   the loss of viability or not aid recovery of the species. (Forestwide)

   G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat, management actions
   should be designed with attention to threatened, endangered, proposed, or candidate species and their
   habitats. (Forestwide)




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   Effects on Gunnison sage grouse from Motorized Off-Highway Travel
   Management direction in the Forest Plan allows for seasonal road closures, when needed, to protect
   resource values. This would allow roads through Gunnsion sage grouse habitat to be closed during mating
   season. Use of existing, designated routes will not cause further harm to current sage grouse habitat, but
   may harass any remaining birds. There is a moderate chance of some adverse effect resulting from
   unintentional harassment by motor vehicle users and other recreationalists, however, this risk is not new
   and was analyzed when the reintroductions were planned.

   Summary of Indirect Effects to Gunnison sage grouse
   Indirect effects to Gunnison sage-grouse and its habitat would be generally positive in that sage grouse
   habitat on Rio Grande National Forestlands east of Ponca Pass will be designated Roadless. Recreation,
   Range, and Fire management all have some potential to cause intermittent, minor, short term harm to the
   species of its habitat, but also have plan components that allow corrective action to occur. It is expected
   that there will be no long term or major adverse effects or negative impacts to GUSG from the proposed
   action under the Forest Plan.

   Cumulative Effects
   The most substantial current and future threats are habitat loss and decline due to human development and
   associated infrastructure (USDI Fish and Wildlife Service 2014). In the Poncha Pass area, development is
   not considered a significant threat at this time. Habitat quality in the Poncha Pass area is also considered
   to be good or very good. However, local threats do include some habitat considerations, as well as
   potential impacts from the proximity of State Highway 285 and the transmission line corridor in that area.
   Other threats impacting Gunnison sage-grouse to a lesser extent include overgrazing, mineral
   development, pinyon-juniper encroachment, fences, invasive plants, wildfire, large-scale water
   development, predation (primarily associated with human disturbance and habitat decline) and recreation.
   The fragmented nature of existing habitat amplifies the negative effects of these other threats (USDI Fish
   and Wildlife Service 2014).

   The Gunnison sage-grouse Rangewide Steering Committee (CSRSC 2005) identified residential
   development on private land is a threat specific to Gunnison sage-grouse at Poncha Pass because the area
   is scenic, easily accessed via Highway 285, and some interior parcels of land are in small tracts and
   currently for sale.

   In addition, a mica mine was recently proposed near Poncha Pass, and although the application has been
   withdrawn, the possibility of a mine (and potential negative impacts on GUSG and their habitat) remains
   (GSRSC 2005), although there are no specific proposals or applications.

   Determination
   The Forest Plan may affect, but is not likely to adversely affect Gunnison’s sage-grouse based on the
   following rationale:
       •   Plan components for grazing management provide for consideration of wildlife habitats.
       •   S-TEPC-4 and G-TEPC-1 would minimize potential impacts to sage-grouse.



   Uncompahgre fritillary butterfly (Boloria acrocnema)
   The Uncompahgre fritillary butterfly (UFB) is narrow endemic, restricted to isolated alpine habitats in the
   San Juan Mountains of southwestern Colorado (NatureServe 2015).

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   The species was first petitioned for listing under ESA in 1979 (45 FR 8029), with a status review in 1984
   determining that the species was warranted for listing but precluded (49 FR 2485 2488). Although the
   UFB was not listed at that time, the USFS and the BLM signed an interagency agreement for the
   conservation of the butterfly. The species contained to be classified as “warranted but precluded” annually
   until 1990 when it was listed as Endangered (50 FR 41721). The USFWS neither designated nor proposed
   any critical habitat for this species, there are no defined Primary Constituent Elements for the UFB’s
   habitat.
   Environmental Baseline
   Mt. Uncompahgre and Redcloud Peak were the only two colonies known at the time of listing and
   recovery planning. Shortly after completion of the Recovery Plan, an additional colony was discovered.
   Eight other colonies were discovered in subsequent years (USDI Fish and Wildlife Service 2009).
   Currently, 11 known colonies exist - three are quantitatively monitored with line transects, and the
   remaining 8 are monitored only for presence. Three of the colonies have been monitored for population
   status for more than 10 years, but the data are not currently sufficient for to determine that the population
   has been stable or increasing during this time. Much of the data collected before 2003 was unreliable due
   to changes in transect methodology and missing data (USDI Fish and Wildlife Service 2009).
   Five of the known 11 colonies occur within the planning area. Quantitative population data is not
   recorded for these sites; therefore, abundance and trend information for populations within the planning
   area has not been identified.
   Based on the monitoring report for the 2014 field season (Alexander and Keck 2017) the ongoing
   qualitative monitoring of the 11 confirmed populations documented population persistence at only nine of
   the 11 known colonies. Persistence has not been documented at Rio Grande Pyramid colony for two years
   and likewise for seven years at the Machin Lake colony of the Canyon Diablo population. The lack of
   confirmation of the UFBs at the Machin Lake colony for seven years and the Cinnamon Pass colony for
   over a decade may indicate that some populations may be extirpated.
   All known UFB populations are associated with large patches of snow willow (Salix nivalis) above
   12,000 feet, which provide food and cover. The species is found primarily on northeast-facing slopes,
   which are the coolest and wettest microhabitat available in the San Juan Mountains.
   Females lay their eggs on snow willow, which is also the larval food plant, while adults take nectar from a
   wide range of flowering alpine plants (USDI Fish and Wildlife Service 2015). Adults fly about late July
   into August. Flight is possible only in warm sunny weather. Species is biennial (requiring 2 years to
   complete life cycle), but flies in both odd and even years (NatureServe 2015).
   Recent studies involving the genetics of UFB estimated levels of genetic variability and structure, and
   effective population size. Despite low demographic numbers at these sites, the species has maintained
   relatively high heterozygosity at three sites. Genetic structure assessed indicated that despite separation on
   high mountain peaks, colonies were fairly well mixed, which is surprising for these weak fliers with very
   short growing and adult flight seasons. Estimates of effective population sizes were low, reflecting the life
   history and limited habitat range for the species. Comparisons at the site with historic and modern
   specimens revealed a consistent pattern in genetic indices. The data suggest that the three focal butterfly
   colonies exist as a metapopulation that persists due to low level migration between sites and ‘‘temporal
   leakage’’ via flexibility in development time in this biennial species.
   The recent genetic work leads to three important implications for the management of UFB colonies and
   their habitat.
       1. It is imperative that all three colonies remain extant. The flow of individuals and genes between
          sites, even if at low levels, is critical to the persistence of this small metapopulation.


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       2. The Uncompahgre Peak colony may at times function as a population sink while at other times, it
          may be self-sustaining for some period. The Uncompahgre site is the only one of the three that is
          impacted by an annual sheep drive in the area which perhaps accounts for impacts to the
          population dynamics and genetics of this population.
       3. Finally, the role of butterflies on intermittently occupied sites in terms of metapopulation
          dynamics is unknown.
   It will be important to protect these sites from significant human impacts at least until the potential role of
   the individuals at the occasionally occupied sites is better understood. While direct anthropogenic threats
   to the species (e.g., collecting, trampling, and livestock grazing) have been mitigated to some extent, the
   potential effects of global climate change have not been directly addressed. Continuation of the current
   monitoring program and additional population genetics surveys are recommended for this species.

   Environmental Consequences
   Effects on Uncompahgre fritillary butterfly from Livestock Grazing
   There is no scheduled cattle grazing on UFB habitat within the plan area. However, an active cattle
   allotment boundary overlaps one known UFB colony area. Cattle grazing within and around this colony
   area was documented during one field season but has not been noted again since that time (Alexander and
   Keck 2008). Uncompahgre fritillary Butterfly might receive additional protection from deleterious
   impacts associated with grazing through project level consideration of S-TEPC-4 and G-TEPC-1.
   However, high-alpine monitoring of grazing allotments needs to occur to determine if this desired
   condition is occurring or not:
   Plant species that are necessary for species of conservation concern as food (including grazing, forage,
   and nectar for pollinators) or for structure are identified and occur in numbers viable enough to fulfil that
   function. This includes snow willow (necessary for the Uncompahgre fritillary butterfly), flowering plants
   (nectar producing species for the Western bumblebee) and many others.
   As grazing leases cycle through permit renewal, this Desired Condition (and all other plan components)
   will be taken into consideration, ensuring that any negative impacts associated with grazing are prevented
   or mitigated.
   The USFS already prohibits direct sheep grazing in UFB habitat, and no sheep trailing occurs in UFB
   habitat within the Rio Grande National Forest. However, wandering bands of domestic sheep have still
   been observed grazing on some colony areas, including permitted sheep from the Rio Grande National
   Forest onto the GMUG National Forests (USDA Forest Service files, Snow Mesa Allotment, 2016). No
   permitted sheep grazing or trailing occurs in known UFB habitat within the Rio Grande National Forest,
   but does occur in unoccupied snow willow habitat that has been previously surveyed for UFB occurrence.

   Effects on Uncompahgre fritillary butterfly from Trail Management, Developed
   Recreation, Dispersed Recreation
   There are no developed trails or developed recreation sites in or near any known UFB habitats or
   populations on the RGNF. There will be no impact to UFB or its habitat from trail management or
   developed recreation, and no adverse effect.
   Increasing recreational traffic, including off-trail use, are consistently noted as potential threats to known
   UFB colonies, particularly colonies on an adjacent Forest (Alexander and Keck 2016). There is some
   potential for dispersed recreation to have adverse impact to the UFB and its habitat. The proposed action
   contains several components that could help manage these potential impacts. Protective measures within
   S-TEPC-4 and G-TEPC-1 would aid in minimizing potential impacts to UFB. The two components


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   together will still likely be enough to prevent any major or moderate adverse impacts to the species and
   habitat from dispersed recreation on the Rio Grande National Forest. Short term impacts to habitat and
   individuals are possible from dispersed recreation foot traffic, depending upon accessibility to the colony
   area. Trampling by recreational foot traffics has been noted as a management issue in some colony areas,
   however, the overall effect of this activity is not known.

   Summary of Indirect Effects
   Generally, there will be very little, if any, adverse impact to the Uncompahgre Fritillary Butterfly from the
   Forest Plan. Increased visitor use and dispersed recreational pursuits likely are the primary concern.
   However, all but perhaps one of the UFB populations on the Rio Grande National Forest occur in remote
   areas that are not known to attract considerable human foot traffic at this time and therefore should have
   minimal influences on UFB populations or habitat. Protective measures within S-TEPC-4 and G-TEPC-
   1 would aid in minimizing potential impacts to UFB.
   Overall, the species will likely benefit from these protective measures. However, continued monitoring
   such as that associated with the UFB Recovery Team Partnership is essential to documenting habitat
   trends and potential conservation concerns associated with the needs and success of the protective
   measures associated with the plan components.

   Cumulative Effects
   The cumulative impact area for this species is the species’ entire range, which is limited to the Rio
   Grande, Uncompahgre, Gunnison, and Grand Mesa National Forests and the Gunnison Field Office of the
   Colorado BLM.
   The UFB was originally considered a little-known and poorly studied species; in the past several years
   however on-going research advances involving quantitative abundance estimates, phylogenetic
   relationships within the same and associated genera, and genetic relationships between populations,
   colonies, and sub-colonies This information, plus qualitative presence/absence sampling at all sites on the
   Rio Grande National Forest, helps inform current baseline conditions for assessing potential impacts to
   the species over time. Initially when first named as a new species, the only known direct impact involved
   collection, both legal and illegal, by researchers and hobbyists. The extent to which that collecting may
   have caused population declines is unknown. Collection of the species became regulated when the species
   was first listed under ESA. There are continued concerns about other issues including grazing, recreation,
   and climate change. Sheep may graze colonies, and in recognition of this potential threat, the USFS
   avoids sheep grazing within UFB colonies altogether, or allows only trailing through the colonies but not
   bedding or long-term grazing.
   Presently, dispersed recreation is known to have some impacts to the habitat of the UFB, but the effects of
   this on populations is uncertain. Most high-level recreational impacts are associated with populations on
   adjacent public lands, although at least one population on the Rio Grande National Forest experiences
   considerable visitor use.
   Climate change may be an issue for this species, as is commonly thought for Alpine-obligate species
   (Lesica and McCune, 2004). The species cannot ascend to higher elevations to escape the impacts of a
   warmer climate, and lacks the ability to travel the distances needed to disperse to cooler areas further
   north. Adverse climate change could restrict the UFB’s habitat to a zone so narrow that the species would
   be unable to survive, although to date, it has not been possible to correlate climatic conditions to UFB
   numbers. Current trends in reduced population persistence at sites qualitatively sampled, and recent
   general trends in abundance estimates at sites quantitatively sampled suggest concerns for the continued
   persistence of this species (Alexander and Keck 2008. T. Ireland, pers. comm., USFWS 2017).




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   Determinations
   The Forest Plan may affect, but is not likely to adversely affect Uncompahgre fritillary based on the
   following rationale:
        • Forest Plan components S-TEPC-4 and G-TEPC-1 would minimize potential impacts to the
           species.




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   Appendix A. Forestwide Direction
   This chapter contains management direction that applies Forestwide unless more restrictive direction is
   found in Chapter 3. Forestwide direction include desired conditions, objectives, standards, guidelines, and
   land suitability determinations. Unless otherwise directed, other Forest Service direction, laws,
   regulations, policies, executive orders, and Forest Service directives (in Forest Service manuals and
   handbooks) are generally not contained in forest plan components.

   This chapter is organized with associated resource direction listed in alphabetical order under the most
   applicable goal. Most resource areas could apply under multiple goals. Because the need for plan
   components and direction varies by resource, not every resource includes every possible plan component.
   Some areas may have only guidelines, while others may need the full complement of desired conditions,
   objectives, standards, guidelines, and management approaches.

   The Forest intends to move toward the desired conditions described below over the next 10 to 15 years.
   Some desired conditions have already been achieved while others will be difficult to achieve in the stated
   timeframes.

   Goal 1
   Maintain and restore sustainable, resilient terrestrial ecosystems
   Forest ecosystems vary by elevation and range from alpine tundra at the highest elevations to pinyon-
   juniper woodland and sagebrush ecosystems at the lowest elevations. Between the extremes are spruce-fir
   ecosystems, mixed conifer, and a small amount of Rocky Mountain Gambel oak.

   These provide habitat for many species of mammals, birds, and reptiles. Amphibians and fish are found in
   the various wetland ecosystems that occur across the Forest.

   Commercial and noncommercial forest and wood products are provided to meet the needs of the public in
   a sustainable manner to provide for the needs of future generations.

   Aquatic and Terrestrial Nonnative Invasive Species and Noxious Weeds
   (NNIS)
   Management Approach
   Nonnative invasive species and noxious weeds include plant and animal species that disrupt ecosystem
   integrity and displace habitat for native plants and animals. Integrated pest management approaches are
   applied when treating invasive plant species. These include effective prevention and education programs
   that combine mechanical, biological, cultural, and chemical methods of control. Technological advances
   are capitalized on if they are shown to be equivalent to or more effective than existing treatments. The
   Forest maintains an invasive species action plan that presents a strategy and direction for control,
   prevention, and management of invasive species of terrestrial and aquatic plants and aquatic invertebrates.

   Resource managers intend to reduce or control existing populations and control new populations of
   nonnative plants and noxious weeds Forestwide, with priority given to special designations and
   wilderness areas. Project managers should determine the risk of introducing or spreading nonnative
   invasive species, plant and animal, and noxious weeds and mitigate for all activities.

   Prioritization and species information is contained in the Forest’s updated Action Plan. This plan ties to
   noxious weed information from the Colorado Department of Agriculture.

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   Coordination and cooperation with Colorado Parks and Wildlife to reduce the potential to introduce, and
   control the spread of, aquatic invasive species will continue. Effective prevention and control methods of
   aquatic nuisance species are promoted to recreational water users.

   Project implementation minimizes the amount of areas affected by existing populations and reduces the
   chance of introducing new species.

   Timely and effective revegetation of disturbed sites provides protection of soil and water resources that
   cannot be restored naturally.

   All biological, cultural, and chemical tools are available to reduce or control nonnative invasive species
   and noxious weeds.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for nonnative
   invasive species and noxious weeds is contained in Forest Service manuals and handbooks, specifically
   2800. Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition, the direction below tiers up to higher level direction including but
   not limited to the Federal Insecticide, Rodenticide, and Fungicide Act and Federal Noxious Weed Act. All
   higher level direction that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-NNIS-1: Populations of aquatic and terrestrial nonnative invasive species do not occur or are low in
   abundance. Those that do occur do not disrupt ecosystem function. (Forestwide)

   DC-NNIS-2: Native ecosystems are resilient to invasion by nonnative invasive species. (Forestwide)

   Objectives
   OBJ-NNIS-1: Reduce terrestrial or aquatic nonnative invasive species on 300 acres over the next 15
   years. (Forestwide)

   Insects and Disease (INDS)
   Management Approach
   Insects and disease cause major disturbances to the ecological processes that shape the condition of
   forests. Insects and diseases play an important role in the cycles of forest growth and decline. Without the
   influence of change agents such as fire, insects, and disease, the forest would stagnate and eventually
   become homogeneous, with a resultant negative impact on biodiversity and resilience to disturbance.
   These change agents are an integral part of forest ecosystem processes, but still pose a challenge to forest
   management.

   Vegetation in high-use recreation areas is managed to ensure public safety and improve forest health in
   compliance with the desired recreational setting.

   Integrated pest management techniques are employed to meet resource objectives. Treatment activities are
   based on the value of and risks to adjacent lands, both public and private. Priority is given to areas where
   value to be protected exceeds the costs of protection. An example is recreation sites or areas of
   concentrated public use that are adjacent to subdivisions.

   Project activities are designed to minimize the risk of spreading existing infestations, while still providing
   habitat for those wildlife species dependent on the presence of insects and disease.


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   Many of the plan components that are associated with insects and disease are contained in other sections
   of this forest plan, including but not limited to Vegetation, Pollinators, and Wildhfe, along with specific
   direction for management areas: Wilderness, Research Natural Areas, Colorado Roadless Areas,
   Dispersed and Developed Recreation, and Ski-based Resorts.

   Higher level direction for maintaining endemic level of insects and disease are contained in Forest
   Service manuals and handbooks, specifically 2400 and 2800. Higher level direction is not repeated here
   but should be consulted during project-level design, preparation, and analysis. In addition, the direction
   below tiers up to higher level direction. All higher level direction that is applicable but not repeated here
   is contained in Appendix I.

   Range Management (RNG)
   Management Approaches
   Rangelands are all lands producing, or capable of producing, native forage for grazing and browsing
   animals, and lands that have been revegetated naturally or artificially to provide a forage cover that is
   managed like native vegetation. They include all grasslands, forb lands, and shrublands; and those
   forested lands that can, continually or periodically, naturally or through management, support an
   understory of herbaceous or shrubby vegetation that is forage for grazing or browsing animals.
   Rangelands on the Forest are naturally fragmented because of highly dissected mountain slopes and
   changes in vegetation as elevation changes. They can be characterized as narrow canyons with riparian
   ecosystems and adjacent grassland communities. A forest plan identifies areas suitable and capable for
   livestock, and assigns standards and guidelines specific to range management for those areas. The 2002
   amendment to the 1996 forest plan projects a capacity for livestock grazing at 143,000 head months,
   including cattle and sheep. An estimated 581,000 acres of land are considered capable and suitable for
   domestic livestock grazing on the Forest.

   Livestock-based agriculture is historically and culturally important in the San Luis Valley and
   southwestern Colorado. Agriculture, particularly farming and ranching, continues to be an important
   industry. Domestic livestock grazing contributes to the stability of the surrounding ranching community
   and its values are recognized as a part of the heritage, for contributions to food and fiber, and for
   maintenance of open space. While the range allotments on the Forest are not the exclusive source of feed
   for the permitted stock, they provide important high-elevation forage during the summer months. This
   forage supplements private and leased pasture, and allows the permittees to maintain current livestock
   numbers.

   When allowable-use criteria, allotment management plan guidance, or annual operating instruction have
   been exceeded, all other solutions are extensively considered before removing livestock from the unit or
   allotment. Damage from use can result from many things including but not limited to flooding, livestock
   grazing, recreation, and wildlife. None of these other factors should push the use beyond what is allowed.

   Rangelands are managed to provide a wide variety of benefits, including forage for livestock and wildlife,
   a diversity of plant and animal communities, and a high yield of high-quality water.

   Livestock use is discouraged in openings created by fire or timber harvest that would delay successful
   regeneration of the shrub and tree components.

   Allotments may be vacated but are generally not closed except in extreme circumstances and conditions.

   Work with cooperators, partners, and permittees to prioritize and restore upland ecosystems and rebuild
   important structural improvements.

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   The direction below is specific to the Rio Grande National Forest. Higher level direction for rangeland
   resources comes from Forest Service Manuals and Handbooks, specifically 2200. Higher level direction is
   not repeated here but should be consulted during project-level design, preparation, and analysis. In
   addition, the direction below tiers up to higher level direction. All higher level direction that is applicable
   but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-RNG-1: Domestic livestock grazing is managed to promote landscape diversity (composition,
   structure, and function) with both a spatial context (what species, what kind of structure, and what
   landscape patterns are natural by ecosystems) and a temporal context (which seral stages and how many
   are natural by ecosystem). (Forestwide)

   DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are in balance with
   the available forage. (Forestwide)

   DC-RNG-3: Temporary forage is available for grazing within existing, permitted allotments in
   coordination with other resource needs, e.g., reforestation. (Forestwide)

   DC-RNG-4: Range improvements support ecologically sustainable grazing and benefits for wildlife
   when opportunities exist. New and replacement improvements are designed to benefit aquatic and
   terrestrial species. (Forestwide)

   Objectives
   OBJ-RNG-1: Restore 150 acres of upland ecosystems over the next 15 years. (Forestwide)

   Guidelines
   G-RNG-1: Develop site- and species-specific vegetation use and residue guidelines during rangeland
   planning, and document them in allotment management plans. In the absence of updated planning or an
   approved allotment management plan, the utilization and residue guidelines in Table 1 and Table 2 will
   apply. (Forestwide)

   Figure. Utilization guidelines for rangeland condition
                                    Satisfactory             Unsatisfactory
     Type of Management
                                     (percent)                 (percent)
    Season-long                          35                        20
    Fall and winter                      55                        35
    Deferred rotation                    45                        25
    Rest rotation                        50                        35


   Figure. Clary and Webster residue allowances for rangeland
                                     Satisfactory             Unsatisfactory
    Season of Pasture Use
                                       (inches)                 (inches)
    Spring                                3                          4
    Summer and fall                       4                          6


   G-RNG-2: Authorized grazing should not occur on an individual unit for the entire vegetative-
   growth period. This would be acceptable when the grazing system involves complete rest for that
   unit for two or more years after a full growing season treatment. (Forestwide)

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   G-RNG-3: Authorized grazing in Riparian Management Zones should be in compliance with residual
   stubble heights identified in Forest Service Technical Report INT-263, Managing Grazing of Riparian
   Areas in the Intermountain Region (Clary and Webster 1996). (Forestwide)

   G-RNG-4: Authorized grazing in aspen stands should ensure sprouting and sprout survival to perpetuate
   the long-term persistence of the clones, unless elimination of the clone is planned. (Forestwide)

   Land Suitability
   SUIT-RNG-1: Livestock grazing is a suitable and authorized use on all Management Areas except 4.2,
   Special Designation; Research Natural Areas and 4.8 Special Designations; Ski-based resorts.

   SUIT-RNG-2: Recreational livestock grazing is a suitable use in Management Area 4.2 unless it threatens
   the values for which the area was established.

   SUIT-RNG-3: Permitted livestock grazing is allowed in the Hot Creek Research Natural Area. This area
   is part of the Hot Creek Allotment which is under a valid grazing permit. The current permittees have
   agreed to avoid grazing the area inside of the boundary of the Research Natural Area.

   SUIT-RNG-4: Grazing in National Forest Wilderness Areas is authorized by the Congressional
   Grazing Guidelines (§108, P.L. 96-560, H.R. Report 96-617 dated 11/14/79). Grazing
   authorizations would be included as part of any legislation on Management Area 1.1a,
   Recommend Wilderness. However, the acres of Recommended Wilderness are not currently
   grazed.

   Soils (SOIL)
   Management Approaches
   Soils are a foundational and integral part of ecosystems and the services they provide. Soils provide
   ecosystem goods and services such as clean drinking water and forest products such as timber and
   firewood, and provide areas for cattle grazing and recreational opportunities. Healthy, sustainable soils
   will continue to provide these important ecosystem goods and services into the future. Effects of changes
   in temperature, and frequency and timing of weather events, can be mitigated in the short term if healthy
   soils are present. Soils have generally improved over time. There are still areas with needs for
   improvement, but soils are mostly in acceptable or good condition in areas of high use and in excellent
   condition in designated roadless and wilderness areas.

   Genetically appropriate, weed-free seed populations of native plants are used for revegetation to avoid
   any potential for increasing nonnative invasive species or noxious weeds. Nonnative annuals or sterile
   perennial species can also be used while native perennials become established.

   Soil types that support edaphic plant species of conservation concerns are identified during project-level,
   site-specific analysis. These include volcanic substrates such as ash-tuffs, latitic lava flows, rhyolite, and
   andesitic substrates. Sedimentary substrates supportive of edaphic species include calcareous substrates
   such as limestone and shale.

   Soil resources are best protected with site-specific, project-level design and analysis.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for soil
   resources comes from Forest Service manuals and handbooks, specifically 2200. The 1996 forest plan
   used direction that is not contained in the watershed conservation practices handbook. This direction will

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   continue to be used to protect soils as higher level direction that is incorporated into plan direction.
   Additionally the national best management practices program allows for systematic monitoring of
   practices that have the potential to impact soils and overall watershed health. Higher level direction is not
   repeated here but should be consulted during project-level design, preparation, and analysis. All
   applicable higher level direction that is not repeated here is contained in Appendix I.

   Desired Conditions
   DC-SOIL-1: Occasional, intermittent, small-scale soil disturbance occurs, allowing propagation of plant
   species including some species of conservation concern. (Forestwide)

   Standards
   S-SOIL-1: Do not authorize activities that would create detrimental soil conditions on more than 15
   percent of an activity area. Cumulative effects from project implementation and restoration should not
   exceed conditions prior to the planned activity and should move toward a net improvement. (Forestwide)

   Guidelines
   G-SOIL-2: Maintain soil and slope stability where ground-disturbing activities on soils with high erosion
   rates or mass movement potential are authorized. Where practical, do not authorize activities on soils with
   high mass movement potential. (Forestwide)

   Vegetation Management (VEG)
   Management Approaches
   The Forest provides a diverse landscape with a wide variety of vegetation communities. The majority of
   the Forest is in the spruce-fir ecosystem. Other vegetation types that dominate include the Southern
   Rocky Mountain montane-subalpine grassland and Rocky Mountain alpine turf, followed by mixed-
   conifer, dry, and pinyon-juniper woodland.

   Plan components contained in the section below cover the broad area of forest vegetation and
   management of forest vegetation. The direction includes plan components related to terrestrial ecosystem
   integrity, as well as the required timber harvest-related plan components, as described within Chapter 60
   of Forest Service Handbook 1909.12. Plan components were designed using the natural range of variation
   described in the 1996 Forest Plan (Appendix A) which was used to define the key ecosystem
   characteristics in the Terrestrial Ecosystem Assessment (Assessments 1 & 3).

   Project-level timber harvest objectives are formulated during site-specific analysis and are in compliance
   with forest plan direction presented here. In areas that are suitable for timber production, dead or dying
   trees (due to fire, insects, disease, etc.) are salvaged to recover the economic value of the wood while
   providing for ecosystem function. Management of ecosystem function includes, among other activities,
   retention of snags and downed woody material, and habitat management. In addition, snags are managed
   for public safety.

   Special forest products include materials that are not traditional timber and fiber products, such as
   sawtimber or house logs. Special forest products are permitted (or contracted) for removal from public
   lands for commercial, personal, Native American tribal, educational, or scientific purposes. Plan
   components in this section cover a variety of special forest products, including but not limited to
   firewood, building rock, herb and vegetable products, medicinal and pharmaceutical products, wild edible
   mushrooms, wild berries and fruit, landscaping products, craft products, and floral and greenery products.



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   Identify and map populations of Ligusticum porter. Following mapping consider setting aside collection
   areas for tribal use and rotate use of the areas over time.

   Treatments generally avoid alteration of the edge of natural openings.

   When thinning, restore or maintain genetic diversity by using practices that consider genetic diversity and
   competition for water, nutrients, and light among the trees. The frequency of thinning is dependent on
   species, financial efficiency, and growing conditions of the site, commonly measured by site index.

   Presence of old forest is determined during project-level planning based on criteria in Appendix A. The
   habitat is assessed for quality and distribution and retained as necessary for vegetative diversity.

   Old forest, or late-successional stage forest, is often deferred from harvest to maintain biotic diversity
   across the landscape. The following is consider in selecting old forest stands to be retained:

   •   Older stands that have not been manipulated are more desirable than younger ones.
   •   Stands with limited use and access are better suited to maintain old forest conditions.
   •   Stands that provide habitat for threatened, endangered, or proposed species, species of conservation
       concern, or Colorado Natural Heritage Program Species of Special Concern.
   •   Stands exhibiting a variety of attributes such as diverse canopy layers, decadence in live trees,
       standing or downed dead, or both, and patchiness.
   Management-created openings are no longer considered openings when the trees reach a height and
   density that meet management objectives. The default criteria are when the minimum stocking standards
   for the forest vegetation type on suitable lands are met and average height is 6 feet or greater with at least
   a 70 percent distribution for conifer species, and 10 feet or greater with at least 70 percent distribution for
   aspen. The criteria is validated and may be modified in accordance with local conditions.

   Forest vegetation management that results in meeting the needs or demand for forest product offerings,
   for commercial, personal, or other use, is done in a manner that supports one or more of the following:

   •   Maintains or improves ecosystem function, resilience, and sustainability,
   •   Supports a sustainable level of economic activity in the local timber industry,
   •   Provides economic or social support to local communities,
   •   Ensures current and future needs for American Indian tribal use, including that associated with special
       forest products (e.g., teepee poles),
   •   Uses, to the fullest extent practicable, potential products including saw timber, poles, top wood, or
       slash,
   •   Supports innovation in utilization, including conversion of cut tree mass into biofuels, pellets,
       biochar, or other useful products,
   •   Efficiently balances or reduces costs of implementation of treatment activities, and
   •   Anticipates climate-related change in plant succession, such as favoring heat- or drought-resistant tree
       species as leave trees.
   In areas suitable for timber production, dead or dying trees due to fire, insects or disease, are salvaged to
   recover the economic value of the wood while providing for ecosystem function. This will be the primary
   focus of the timber program for the first 6 years of the planning period.




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   The scientifically defined silvicultural systems shown by forest cover type in Table 3 meet the
   management objectives for the landscape or individual stands of trees within a landscape setting. Both
   even-aged and uneven-aged management systems can be used and applied at scales ranging from a few
   acres to many hundreds of acres. These silvicultural systems are to be applied in a manner that will create
   conditions favorable for natural regeneration. Artificial regeneration will be considered when necessary to
   meet minimum stocking standards. The silvicultural systems identified in Table 3 can be used to convert
   uneven-aged stands to even-aged management and even-aged stands to uneven-aged management.

   Figure. Appropriate silvicultural system by cover type
         Forest Cover Type                    Even-Aged                        Two-Aged                        Uneven-Aged
                                     Shelterwood, Clearcut,            Irregular shelterwood,
                                                                                                        Group selection, single­
       Ponderosa pine                Overstory removal, Seed           shelterwood with
                                                                                                        tree selection
                                     tree                              reserves
                                     Shelterwood, Clearcut,            Irregular shelterwood,
                                                                                                        Group selection, single­
       Mixed-conifer                 Overstory removal, Seed           shelterwood with
                                                                                                        tree selection
                                     tree                              reserves
       Aspen                          Coppice1                         Coppice with standards2          Group selection3
                                     Shelterwood, Clearcut,
       Lodgepole pine                Overstory removal, Seed           Irregular shelterwood            Group selection
                                     tree
       Engelmann spruce and           Shelterwood, Clearcut,                                            Group selection, single­
                                                                       Irregular shelterwood
       subalpine fir                  Overstory removal                                                 tree selection
   1 Coppice is a vegetation reproduction method with clearfelling or clearcutting. Clearfelling (clearcutting) stimulates sprouting from
      the residual roots.
   2 “Standards” are selected overstory trees reserved for a longer rotation at the time each crop of coppice material is cut.
   3 Use of group selection as an appropriate silvicultural system in aspen is currently under study to determine regeneration success,
      but is authorized on a test basis.


   Encourage and promote aspen on the landscape. When regenerating aspen, prioritize treatment
   within seral aspen clones using the following criteria:
   •     Identify stands with large standing and down dead basal area (about 20 percent dead) that are single­
         storied and showing signs of animal barking (gnawing and bark stripping) or disease. Multistoried
         stands that have several hundred sapling-size suckers per acre under them, or that show little sign of
         canker disease or animal barking, are lower priority for any management intervention.
   •     Identify conifer stands with a small minority of live aspen basal area (less than 20 percent live basal
         area). (Aspen is likely to disappear from these stands within several decades without intervention).
   •     Identify isolated clones and stands in areas frequented by animals and in riparian areas, and those at
         low elevations. Any stands in these situations that meet the criteria above should be given the highest
         priority for regeneration. (These stands will be at greatest risk of disappearing and will be the
         toughest to regenerate successfully. Protection of treatment areas from browsing animals may be
         needed to achieve successful regeneration.)
   •     Identify stands that are more cost efficient and not impacted by frequent animal use to treat and
         contribute positively to the distribution of aspen.
   The size of uncut forest areas between openings is based on project-level management objectives for the
   landscape being analyzed.

   Plan components that affect vegetation are also contained in other sections of this forest plan including,
   but not limited to, Fire, Insects and Disease, Minerals, Nonnative Invasive Species and Noxious Weeds,

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   Range Management, Riparian Management Zones, Soils, Species o^f Conservation Concern, Visual
   Quality, Watersheds, and Wildhfe. Specific direction is also contained for management areas: Wilderness,
   Dispersed and Developed Recreation, General Forest and Intermingled Rangelands, Roadless Areas,
   Scenic Byways and Scenic Railroads, and Special Interest Areas.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for vegetation
   management is contained in the National Forest Management Act and Forest Service manuals and
   handbooks, specifically 2400. Higher level direction is not repeated here but should be consulted during
   project-level design, preparation, and analysis. In addition, the direction below tiers up to higher level
   direction. All higher level direction that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-VEG-1: Desired conditions for snag densities and downed wood are listed in Table 4. At the
   landscape scale, snag presence, distribution, density, size, and species are variable both spatially and over
   time. The highest densities of snags is generally in the spruce-fir ecosystem and in area that burned in the
   recent past. Snag densities are related to disturbance regimes of various forest systems. Snags suitable for
   nesting and denning (typically larger sizes) are present across the Forest, contributing to the diversity of
   forest structure and maintenance of habitat components important to the persistence of snag-associated
   wildlife species. Snags provide an important habitat component in the maintenance of habitat
   connectivity. Snag-retention policies provide a variety of snag heights. At least 50 percent of the retained
   snags should represent the larger size classes available. Where larger snags are not available, trend toward
   a greater number of smaller snags. Snags are not required to be maintained on every acre. Downed woody
   material (greater than 3 inches in diameter) is important for retaining moisture, trapping soil movement,
   providing microsites for plant establishment, and cycling nutrient components. (Forestwide)

   Figure. Recommended snags and downed wood for wildlife habitat and ecosystem processes

   [All quantities are based on an average per acre basis across the planning unit.]

                                                               Snags                                     Downed Wood1
         Forest Type               Minimum               Minimum/Acre            Minimum height
                                  diameter at                                                                Tons/Acre
                                                        in Planning Unit              (feet)
                                 breast height
           Spruce-fir                  212                       6                        25                  10 to 15
        Mixed-conifer                  212                     3 to 4                     25                   4 to 10
            Aspen                       10                       5                        25                    3 to 5
       Ponderosa pine                  212                       3                        25                    2 to 3
       Lodgepole pine                   10                       3                        15                   5 to 10
   1 Project implementation should focus on leaving larger and longer logs onsite in accordance with site capacity.
   2 At least 50 percent of the required snag numbers should represent the largest size classes available.


   DC-VEG-2: Commercial timber harvest occurs on lands identified as not suitable for timber to
   meet multiple use objectives and for safety and health. These harvests are not part of the
   regularly scheduled harvest program. These activities meet management direction and desired
   conditions and may provide other services and benefits. (Forestwide)
   DC-VEG-3: Habitat structure in Gambel oak communities provides for species assemblage associated
   with this habitat. (Forestwide)



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   DC-VEG-4: All development stages of the forested terrestrial ecosystems are well represented at the
   landscape scale and occur Forestwide within the ranges identified in Table 5. (Forestwide)

   Figure. Current status and desired conditions of development and structural stages of the forested terrestrial
   ecosystems
                                                                                                Desired
                                                                Current         Desired
         Terrestrial          Development       Structural                                    Condition in
                                                               Condition       Condition
         Ecosystem               Stage            Stage                                        Old Forest
                                                                  (%)             (%)
                                                                                                  (%)
                                  Young            1T/2T            8             5-10
                                Mid-open            3A             19             5-10
       Ponderosa Pine           Mid-closed         3B,C             5             5-10           10-15
                               Mature-open          4A             49            40-50
                              Mature-closed        4B,C            19            15-25
                                  Young            1T/2T           <1             5-10
                                Mid-open            3A              6            10-15
       Warm-dry mixed-
                                Mid-closed         3B,C             8            10-15           15-20
           conifer
                               Mature-open          4A             34            25-30
                              Mature-closed        4B,C            52            25-35
                                  Young            1T/2T            8             5-10
                                Mid-open            3A             10             5-10
      Cool-moist mixed-
                                Mid-closed         3B,C            22            15-20           20-30
           conifer
                               Mature-open          4A             17            15-20
                              Mature-closed        4B,C            43            30-40
                                  Young            1T/2T            0             5-10
                                Mid-open            3A             12             5-10
    Cool-dry mixed-conifer      Mid-closed         3B,C            24            15-20           15-20
                               Mature-open          4A             25            30-40
                              Mature-closed        4B,C            39            15-20
                                  Young            1T/2T           30             5-10
                                Mid-open            3A             13             5-10
          Spruce-fir            Mid-closed         3B,C             7            10-15           25-35
                               Mature-open          4A             27            20-25
                              Mature-closed        4B,C            22            30-40
                                  Young            1T/2T            6
                                Mid-open            3A             16
            Aspen               Mid-closed         3B,C            58                See MA-VEG-3
                               Mature-open          4A              2
                              Mature-closed        4B,C            19
                                  Young            1T/2T            1             5-10
                                Mid-open            3A             47            10-15
        Pinyon-juniper
          woodland              Mid-closed         3B,C            38            10-15           20-30
                               Mature-open          4A              5            20-30
                              Mature-closed        4B,C             9            30-40



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   Objectives
   OBJ-VEG-1: Diversify the structure class distribution for various forest types via management on 100
   acres annually in the first decade and 1,200 acres in the second decade, to work toward or maintain the
   desired conditions in Table 5. (Forestwide)

   OBJ-VEG-2: Annually restore 150-300 acres of dry mixed-conifer and ponderosa pine areas to move
   these forest types toward a species composition and landscape pattern where fire can function in its
   natural role. (Forestwide)

   OBJ-VEG-3: Salvage harvest 6,000 acres per year of spruce-fir annually on average, for the first 6 years
   of the planning period. (Forestwide)

   OBJ-VEG-4: For years 7 through 20, offer timber for sale at an average potential timber sale quality of
   150,000 CCF (hundred cubic feet)

   OBJ-VEG-5: For years 7 through 20, offer commercial timber and other products for sale at an average
   potential wood sale quantity of 222,000 CCF.

   OBJ-VEG-6: Identify and map a minimum of five select populations of ethnobotanically important
   plants for tribes in concert with the heritage, botany, and timber programs over the next 15 years.

   OBJ-VEG-7: Average 100 acres of hazardous fuels reduction per year in areas adjacent to private
   development and/or critical infrastructure over the next 15 years. (Forestwide)

   OBJ-VEG-8: Average 2,000 acres of fuels reduction per year using fire managed for resource benefit or
   prescribed fire on Forest lands over the next 15 years. (Forestwide)

   Standards
   S-VEG-1: Timber may not be harvested for the purpose of timber production on lands not suited for
   timber production. Timber harvest may occur on these lands for the following purposes: protecting other
   multiple-use values, protecting or enhancing biodiversity or wildlife habitat, scenic-resource
   management, research or administrative studies consistent with geographic or management area direction,
   and salvage, sanitation, public health, or safety. (Forestwide)

   S-VEG-2: Timber shall not be harvested on lands where soil, slope, or other watershed conditions may be
   irreversibly damaged, as identified in project-specific findings. (Forestwide)

   S-VEG-3: Timber harvest shall be conducted to assure that the technology and knowledge exist to restock
   these areas adequately with trees within 5 years after final harvest. (Forestwide)

   Minimum restocking levels for suitable timber lands are defined in Table 6. Exceptions to these levels are
   allowed if supported by a project-specific determination of adequate restocking.

   Restocking levels for unsuitable timber lands must be specified with the silvicultural prescription.
   Project-specific determination of adequate stocking must be based on the plan’s desired conditions and
   objectives applicable to the area and project and be consistent with all other applicable plan components.
   (Forestwide)




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   Figure. Minimum restocking level for suitable timber lands, by species
                                                              Species
                                                Douglas      Lodgepole      Ponderosa      Other        Other
                   Spruce-Fir      Aspen
                                                  Fir           Pine          Pine       Softwoods    Hardwoods
       Trees per
                      150           300           100           150            75           150           150
         Acre


   S-VEG-4: Select harvest systems to achieve desired conditions and objectives or to meet site­
   specific project needs, not primarily for the greatest dollar return or timber output. (Forestwide)
   S-VEG-5: Clearcutting may be used where it has been determined to be the optimum method, and other
   types of even-aged harvest shall be used only where determined to be appropriate. Determinations shall
   be based on site-specific conditions and the desired conditions for vegetation, wildlife habitat, scenery,
   and other resources. (Forestwide)

   S-VEG-6: Openings will not be created larger than 40 acres, regardless of forest type. Openings larger
   than 40 acres may be created under the following conditions:
   •     Proposals for larger openings have been approved by the regional forester, following a 60-day public
         review,
   •     Larger openings are the result of natural catastrophic conditions (including those resulting from fire,
         insect or disease attack, or windstorm), or
   •     When the area that is cut does not meet the definition of created openings. (Forestwide)
   S-VEG-7: The quantity of timber that may be sold per decade will be less than or equal to the sustained
   yield limit of 737,490 CCF per decade with the following exceptions: salvage or sanitation harvesting of
   timber stands that are substantially damaged by fire, windthrow, or other catastrophe or that are in
   imminent danger from insect or disease attack. Salvage harvest of trees substantially damaged by fire,
   windthrow, or other catastrophe or in imminent danger from insect or disease attack may be harvested
   over and above the sustained yield limit, consistent with desired conditions for terrestrial and aquatic
   ecosystems. (Forestwide)

   S-VEG-8: When there is a shortage of any special forest products for tribal use, commercial permits are
   issued only to the extent that the tribal use can be accommodated. (Forestwide)

   Guidelines
   G-VEG-1: Even-aged stands shall generally have reached or surpassed culmination of mean annual
   increment (achieving 95 percent of culmination of mean annual increment, as measured by cubic volume)
   prior to regeneration harvest, unless the following conditions have been identified during project
   development:

   •     When such harvesting would modify fire behavior to protect identified resource, social, or economic
         values
   •     When harvesting of stands will trend landscapes toward desired conditions
   •     When harvest uses uneven-aged silvicultural systems, thinning, or other intermediate stand treatments
         that do not regenerate even-aged or two-aged stands
   •     When harvest is for sanitation or salvage of timber stands that have been substantially damaged by
         fire, windthrow, or other catastrophe, or that are in imminent danger from insect or disease attack



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   •   When harvest is on lands not suited for timber production and the type and frequency of harvest is
       due to the need to protect or restore multiple use values other than timber production. (Forestwide)
   G-VEG-2: Even-aged harvest openings should be irregularly shaped and blend with the natural terrain.
   (Forestwide)

   G-VEG-3: To maintain ecosystem conditions for continued persistence, permit the collection of species
   of conservation concern plants only for scientific, educational, or conservation purposes and only to the
   level that persistence of the species is maintained. (Forestwide)

   Suitability
   SUIT-VEG-1: Lands are identified as suitable for timber production in management area direction found
   in Chapter 3. Even though lands may be identified as suitable for timber production, those lands may not
   be feasible for harvest. Feasibility is determined at the site-specific, project level. There are an estimated
   499,936 acres of lands on the Forest determined as may be suitable for timber harvest.

   Wildlife and Plants (WLDF)
   Sections below include direction for wildlife and plant species on the Rio Grande National Forest. Also
   included in this section is direction for species o^fconservation concern and direction for threatened,
   endangered, proposed, and candidate species.

   Management Approaches
   Most of the wildlife that inhabits the Forest is outside of the protections provided by the Endangered
   Species Act, as amended, and is not considered a Species of Conservation Concern as defined in the 2012
   Planning Rule. Plan components pertaining to these species is contained in this section. This direction
   maintains ecosystem integrity on a broad range of terrestrial habitats throughout the Forest, including all
   vegetation types. This includes all native species as well as any desirable nonnative species. Nearly all
   plan components have the potential to affect wildlife in some way.

   The Forest will continue to participate and support, within the fiscal capacity, all recovery and
   conservation efforts including but not limited to: Conservation Agreements for Rio Grande Cutthroat
   Trout (RGCTCT 2013), Rio Grande Chub and Rio Grande Sucker (RGCSCT 2018), fens, pollinators,
   Uncompahgre fritillary butterfly, bats, watershed condition priorities, prairie dogs, avian monitoring and
   conservation, bighorn sheep, snow willow and alpine conservation, boreal toad, and unique and rare plant
   communities.

   The movement of white-nose syndrome is being closely monitored, though it has not yet been confirmed
   in Colorado. The Forest intends to maintain an early detection program, follow Regional guidance, and
   continue to coordinate with partners and other agencies.

   Bat habitat needs are addressed through the Abandoned Mine Lands program. Annually evaluate the
   Abandoned Mine Lands program to consider at least one project. Maintain existing partnerships and seek
   additional partners for adequate underground assessments, as possible, prior to closure. Ensure access for
   bats and reduce disturbance to resident populations when closing caves and mines. To protect bats species
   on the species of conservation concern list, pursue formal mineral withdrawal of abandoned mine sites.
   When maintaining or removing facilities or bridges, assess for potential bat roost activity. Schedule work
   to reduce impacts to roosting bats.

   Provide education and awareness of potential disease transmission between recreational pack goats and
   bighorn sheep at entry point into areas known to be used by bighorn sheep.


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   Education and outreach materials should be provided regarding chytrid fungus. Where the fungus has
   been detected determine the need to implement decontamination procedures to protect boreal toads and
   other amphibians.

   Impacts to pollinators are addressed during project analysis through project design, analysis, and
   implementation.

   Pollinator-friendly best management practices for Federal lands are implemented to improve pollinator
   habitat and protect these species when implementing management actions. Actions are not limited to the
   following:

   •   Design projects to maintain or improve pollinator habitat while meeting resource objectives.
   •   Include plants that are desirable to pollinator species in project seed mixtures.
   •   Mitigate impacts to pollinator insects when applying insecticide.
   •   Include creation and maintenance of pollinator habitat in project design.
   •   Implement best management practices for pollinator habitat when managing roads.
   The Forest intends to assess the range and distribution of insect species listed as species of conservation
   concern; information about threatened, endangered, proposed, or candidate species allows projects to be
   designed to reduce or avoid impacts to these species.

   The Abandoned Mine Lands program addresses needs for bat habitat.

   Detect mortality-causing pathogens in bats early, and establish a maintenance program for bat gates.

   Integrate priority habitats and species described in the Colorado Bird Conservation Plan into management
   activities.

   Provide a focus on bird conservation by increasing the number of Naturewatch viewing sites, and
   participate in International Migratory Bird Day activities.

   All available tools can be used to move toward or maintain desired conditions. This includes but is not
   limited to prescribed fire use, thinning, constructing stock ponds, and placing guzzlers.

   Education and awareness will provide information regarding potential disease transmission between
   recreational pack goats and bighorn at entry points to areas of known bighorn sheep use. Areas of
   overlapping pack goat and bighorn sheep use will be observed over time.

   Activities that disturb bighorn sheep, particularly around primary use and reproduction areas, are
   discouraged.

   Agency actions should avoid or mitigate impacts to unique or rare plant community types, particularly
   those with a biodiversity significance ranking of B1 (outstanding) or B2 (very high) according to the
   Colorado Natural Heritage Program. In riparian areas and wetland ecosystems containing plants with G1,
   G2, S1, or S2 NatureServe plant community conservation ranks, avoid or mitigate impacts to maintain the
   ecological integrity.

   When new recovery plans, conservation agreements, conservation strategies, critical habitat designation,
   or regional management direction for threatened, endangered, proposed, or candidate species are released,
   all appropriate authorities will be used to adjust related forest plan direction.



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   Existing landscape patterns and local species concerns are used to identify and assess habitat connectivity
   at various spatial scales during design and analysis of forest management activities. A nest of hydrologic
   unit codes is used at various scales to assess connectivity patterns. Stream zones and topographic features
   are identified and used to facilitate movement across the landscape. Movement zones 400 to 600 feet in
   width along a stream may be sufficient to facilitate movement for most local species of conservation
   concern in most landscape conditions.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for management
   of wildlife and plants is contained in Forest Service manuals and handbooks, specifically 2800. Higher
   level direction is not repeated here but should be consulted during project-level design, preparation, and
   analysis. In addition the direction below tiers up to higher level direction, including but not limited to the
   Bald Eagle and Golden Eagle Protection Act and Fish and Wildlife Conservation Act. All higher level
   direction that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-WLDF-1: Habitat conditions are suitable for resident and migratory birds and accommodate key life
   history requirements. (Forestwide)

   DC-WLDF-2: Habitat conditions for bats are suitable for reproduction and roosting. (Forestwide)

   DC-WLDF-3: Habitat connectivity is provided for to facilitate species movement within and between
   daily home ranges, for seasonal movements, for genetic interchange, and for long-distance movements
   across boundaries. (Forestwide)

   DC-WLDF-4: Winter range habitat conditions provide the quantity, quality, and spatial arrangement of
   forage, cover, and security needed to support population objectives for mule deer, pronghorn, Rocky
   Mountain bighorn sheep, and Rocky Mountain elk. (Forestwide)

   DC-WLDF-5: Motorized and nonmotorized route travel, on and off existing roads, does not negatively
   affect ecological conditions necessary to maintain population objectives for big game species.
   (Forestwide)

   DC-WLDF-6: Suitable nesting habitat for ground-nesting or low-level shrub-nesting birds is provided by
   dense, interior riparian willow habitat. (Forestwide)

   Objectives
   OBJ-WLDF-1: Develop and interpret at least one location identified in the Colorado Birding Trail over
   the next 15 years. (Forestwide)

   OBJ-WLDF-2: Maintain or improve an average of 500 acres of big game winter habitat annually over
   the next 15 years. (Forestwide)

   Standards
   S-WLDF-1: To reduce stress at a critical point in the lifecycle of big game, restrict activities on winter
   range from approximately December 1 to March 31, as needed. (Forestwide)

   S-WLDF-2: Do not allow rock climbing within one-half mile of active peregrine and prairie falcon nest
   sites generally from April 15 to July 31 and active golden eagle nest sites generally from December 15 to
   July 31. (Forestwide)




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   Guidelines
   G-WLDF-1: Spatial direction related to disturbance and structural improvement needs specific to raptor
   species that inhabitant the Forest are contained in Table 7. To maintain site integrity, structural
   improvements should be avoided within the buffer distances. (Forestwide)

   Figure. Raptor nest and buffer zone distances and timing considerations
       Species        Impact/Risk2        Time4                             Buffer Distance3
                                         12/15 to    Projects and activities should not occur within one-half mile of
    Golden eagle1      Disturbance
                                          7/15       an active nest during nesting season.
                        Structural         Year      New structures should not be established within a one-quarter­
    Golden eagle1
                      improvements        round      mile radius and an active nest.
                                                     Manage projects and activities within a one-quarter-mile radius
                                                     (indirect line of sight) or a on-half-mile radius (direct line of
                       Disturbance       11/15 to
    Bald eagle                                       sight) of communal winter roost site. Limit activity between
                      (winter roosts)     3/15
                                                     1000 and 1400 hours if encroachment will occur within buffer
                                                     zones.
                        Structural         Year      New structures should not be established within one-half mile
    Bald eagle
                      improvements        round      of communal roost sites.
                                            Site
                     Disturbance and     specific
    Bald eagle           structural     determina    For preferred diurnal hunting perch.
                      improvements        tion by
                                         biologist
    Swainson’s                            5/1 to     Project and activities should not occur within one-quarter mile
                       Disturbance
    hawk                                   9/15      of a nest during nesting season.
    Swainson’s          Structural         Year      New structures should not occur within a one-quarter-mile
    hawk              improvements        round      radius of an active nest.
    Red-tailed                           3/15 to     Projects and activities should not occur within one-eighth to
                       Disturbance
    hawk                                  7/15       one-quarter mile of nests during nesting season.
    Red-tailed          Structural         Year      New structures should not occur within a one-quarter-mile
    hawk              improvements        round      radius of active nests.
    Peregrine                            4/15 to     Projects and activities should not occur within one-half mile of
                       Disturbance
    falcon                                7/31       a nest during nesting season.
    Peregrine           Structural         Year      New structures should not occur within a one-half-mile radius
    falcon            improvements        round      of an active cliff nest complex.
                                         4/15 to     Projects and activities should not occur within one-half mile of
    Prairie falcon     Disturbance
                                          7/15       a nest during nesting season.
                        Structural         Year      New structures should not occur within a one-half-mile radius
    Prairie falcon
                      improvements        round      of an active nest.
                                                     Projects and activities should not occur within one-half mile of
                                                     an active nest during nesting season. Management includes a
                                                     25-30 acre buffer of the nest site, a 420-acre post-fledging
                                                     area (PFA) around the nest area, and considerations for
    Northern                             4/15 to
                       Disturbance                   alternate nest sites and foraging habitat. Structural conditions
    goshawk                               8/31
                                                     for the nest area, PFA, and foraging area should be managed
                                                     similar to those recommended in Reynolds et al (1992), unless
                                                     they cannot be achieved due to site conditions or other local
                                                     factors.
    Northern            Structural         Year      New structures should not occur within a one-half-mile radius
    goshawk           improvements        round      of an active nest.
                                         4/15 to     Projects and activities should not occur within one-half mile of
    Cooper’s hawk      Disturbance
                                          7/31       nests.


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        Species            Impact/Risk2            Time4                                  Buffer Distance3
                             Structural             Year        New structures should not occur within a one-quarter-mile
    Cooper’s hawk
                           improvements            round        radius of active nests.
                                                   5/1 to       Projects and activities should not occur within one-quarter mile
    Osprey                  Disturbance
                                                    8/31        of nests during nesting season.
                             Structural             Year        New structures should not occur within one-quarter mile of a
    Osprey
                           improvements            round        nest during nesting season.
                                                                Site-specific protection of aspen clone containing nest tree(s) if
                                                   4/15 to
    Boreal owl              Disturbance                         active; may require a minimal buffer or directional felling if
                                                    8/30
                                                                operating around clone during disturbance period
                                                                Site-specific protection of aspen clone containing nest tree(s) if
    Flammulated                                    5/1 to       active; considerations for post-fledging structure within 100
                            Disturbance
    owl                                             8/30        meters around active nest site may apply. Directional felling if
                                                                operating around clone during disturbance period.
                                                                Protect nest tree during the disturbance period. A buffer clump
    Great horned                                  12/15 to
                            Disturbance                         around nest tree may be warranted based on site-specific
    owl                                             5/1
                                                                considerations
   ^Golden eagles are protected under the Bald and Golden Eagle Act. All projects and activities within the vicinity of golden eagle
     nests and use areas are subject to analysis and the regulations for incidental take of eagles and eagle nests (U.S. Fish & Wildlife
     Service, Federal Register Vol. 81, No. 242, 91494-91554).
   2 Structural improvements include activities such as permanent roads, structures associated with recreational development, radio
      towers etc. that are proposed following nest establishment and are not intended to include structures that historically were present
      in the area.
   3 Buffer distances may vary based on factors including but not limited to site-specific information, current science, and professional
      judgement of the wildlife biologist.
   4Nesting season dates may be flexible, particularly during the beginning and latter parts of the season, but are not expected to
     change often or significantly, as the direction is based on raptor biology and local knowledge. Area closures may be appropriate
     to maintain integrity of reproductive sites.


   Species of Conservation Concern (SCC)
   Management Approaches
   Species of conservation concern (Appendix D) are animals or plants known to occur in the planning area
   that the regional forester has determined that the best available scientific information indicates a
   substantial concern regarding the species’ ability to persist over the long-term (36 CFR 219.9). Many of
   the plan components that that contribute to the maintenance or restoration of ecological conditions to
   contribute to maintaining a viable population of the species of conservation concern are also addressed in
   other sections including, but not limited to, Riparian Management Zones, Range Management, Native
   Animals and Plants, and Species o^f Conservation Concern. The full list of species of conservation
   concern and those species considered but not carried forward is contained in Appendix D.

   Mitigate impacts to insect species that are listed as species of conservation concern, or that are necessary
   to those species as pollinators or as food, from applications of insecticide or other pesticides.

   Mitigate impacts to plant species that are listed as species of conservation concern, or that are necessary
   for those species as food (including grazing, forage, and nectar for pollinators) or cover, from herbicide or
   other pesticides.)

   The Forest intends to assess the range and distribution of insect species of at-risk species (threatened,
   endangered, proposed, or candidate species and species of conservation concern). This would inform
   project-level planning on how to avoid impacts to these species.



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   The direction below is specific to the Rio Grande National Forest. Higher level direction for species of
   conservation concern is contained in Forest Service manuals and handbooks, specifically 2800. Higher
   level direction is not repeated here but should be consulted during project-level design, preparation, and
   analysis. In addition, the direction below tiers up to higher level direction, including but not limited to the
   Endangered Species Act as amended and Fish and Wildlife Conservation Act. All higher level direction
   that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-SCC-1: Structure, composition, and function of sagebrush ecosystems meet the needs of associated
   species, including species of conservation concern. (Forestwide)

   DC-SCC-2 Structure, composition, and function of coniferous forests including late seral forests meet the
   needs of associated species, including species of conservation concern. (Forestwide)

   DC-SCC-3 Structure, composition, and function of riparian areas, including streams, willow thickets, and
   cottonwood galleries, meet the needs of associated species, including species of conservation concern.
   (Forestwide)

   DC-SCC-4 Structure, composition, and function of aspen-dominated forests meet the needs of associated
   species, including species of conservation concern. (Forestwide)

   DC-SCC-5 Structure, composition, and function of alpine ecosystems, including cushion plant
   communities, snow willow, alpine fell fields, and talus slopes, meet the needs of associated species,
   including species of conservation concern. (Forestwide)

   DC-SCC-6 Snags and decaying wood processes meet the needs of associated species, including species
   of conservation concern. (Forestwide)

   DC-SCC-7 Structure, composition, and function of montane grasslands meet the needs of associated
   species, including species of conservation concern. (Forestwide)

   DC-SCC-7: Improve or maintain habitat for bighorn sheep. (Forestwide)

   DC-SCC-8: Maintain effective separation to minimize the risk of disease transmission between domestic
   sheep and bighorn sheep on active grazing allotments. (Forestwide)

   Standards
   S-SCC-1: To maintain pollination as an ecosystem service, do not authorize chemical applications that
   would cause harm to species of conservation concern. (Forestwide)

   S-SCC-2: Do not authorize activities that create ecosystem conditions that would not maintain the
   persistence of species of conservation concern. (Forestwide)

   S-SCC-3: Maintain effective separation to minimize the risk of disease transmission between domestic
   sheep and bighorn sheep on active grazing allotments. Effective separation is defined as spatial or
   temporal separation between bighorn sheep and domestic sheep, resulting in minimal risk of contact and
   subsequent transmission of respiratory pathogens between animal groups. (Forestwide)

   S-SCC-4: Do not authorize projects that will result in disturbance or displacement of bighorn sheep
   during their reproductive period (generally April 15 to July 1). (Forestwide)



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   S-SCC-5: Prohibit the use of recreational pack goats in the Sangre de Cristo Mountains to eliminate
   potential interactions between pack goats and bighorn sheep. (Forestwide)

   S-SCC-6: Maintain effective separation between domestic goats used for vegetation management and
   bighorn sheep to minimize the risk of contact between animal groups. (Forestwide)

   Guidelines
   G-SCC-1: To maintain ecosystem integrity, minimize, while meeting project goals, negative impacts to
   pollinators when applying pesticides. (Forestwide)

   G-SCC-2: Roads and other permanent ground-disturbing structures and activities should not degrade
   vegetation within 100 feet where plants that are listed as species of conservation concern are known to
   occur. Such barren or rocky areas include, but are not limited to, alpine fell fields, alpine cushion plant
   communities, talus slopes at any elevation, rock fields, boulder gardens, cliff faces, recently disturbed
   soils, exposed shale, gypsum, volcanic, or adobe soils, and other sparsely vegetated areas within other
   ecosystems. (F orestwide)

   G-SCC-3: Reduce habitat fragmentation and maintain structural conditions of sagebrush ecosystems
   through design of management activities. (Forestwide)

   Threatened, Endangered, Proposed, and Candidate Species (TEPC)
   Plan direction is designed to protect and recover animal and plant species that are listed as threatened or
   endangered under the Endangered Species Act, or those species that have been proposed or are candidates
   for listing. Threatened, endangered, proposed, and candidate species can occur Forestwide. These species
   can be influenced by direction that occurs throughout the forest plan, including but not limited to
   direction for wildlife, range management, and vegetation management.

   Eight of the nearly 300 species of amphibians, fish, mammals, birds, and reptiles that inhabit the Forest
   are federally recognized as threatened or endangered species. These include black-footed ferret
   (endangered), Canada lynx (threatened), Gunnison sage grouse (threatened), Mexican spotted owl
   (threatened), New Mexico meadow jumping mouse (endangered), Southwestern willow flycatcher
   (endangered), Uncompahgre fritillary butterfly (endangered), and yellow-billed cuckoo (threatened).
   None of these species currently have listed or proposed critical habitat on the Forest.

   Of the eight listed species, the Uncompahgre fritillary butterfly, Canada lynx, Gunnison sage grouse, and
   Southwestern willow flycatcher are known to occur in the planning unit.

   Management Approaches
   The 2008 Southern Rockies Lynx Amendment Record of Decision amended eight forest plans including
   the Rio Grande. The direction prescribed in the 2008 Southern Rockies Lynx Amendment (Appendix E) is
   incorporated, as modified below, into the current direction and would apply Forestwide. Additional
   direction and modifications of the 2008 direction is needed to sufficiently address the continued recovery
   of Canada lynx due to the current habitat conditions associated with the spruce beetle outbreak in the
   spruce- fir ecosystem. This direction supplements, and replaces management direction related to salvage
   in the Southern Rockies Lynx Amendment, specifically VEG S1 and VEG S2.

   Even with higher levels of mortality due to spruce beetle infestation high quality lynx and snowshoe hare
   habitat persists and vegetation management activities have the potential to benefit and adversely affect
   lynx and snowshoe hare habitat and populations (ILBT 2013, p. 71). Most vegetation management



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   activities reduce canopy cover and horizontal cover in the understory which could reduce snowshoe hare
   densities and habitat values for Canada lynx.

   The direction below is intended to encourage vegetation management in areas where habitat quality for
   lynx and snowshoe hare can be improved while retaining existing high quality habitat. The overall goal is
   to maintain areas that support high densities of snowshoe hare while promoting vegetation management
   that restores habitat and landscape connectivity for lynx movement.

   The Southern Rockies Lynx Amendment direction was developed prior to the 2012 Planning Rule.
   Standard VEG S7 is formatted to be consistent with the forest plan and similar to the Southern Rockies
   Lynx direction. The direction in the Southern Rockies Lynx Amendment is formatted differently than
   direction contained in this forest plan. Superscript numbers in the text refer to definitions contained in the
   Southern Rockies Lynx Amendment in Appendix E.

   Standard VEG S7 (below) applies to salvage harvest42 activities conducted in conifer forests that have
   lynx habitat attributes, but no longer meet the definition for standard VEG S6 due to tree mortality and
   associated forest structural changes. These stands still provide high quality lynx habitat and are
   characterized by dense horizontal cover19, and include forest structure that provides cover and food for
   snowshoe hares, and foraging habitat, traveling, and hiding cover for Canada lynx. According to a recent
   study completed on the Forest (Squires et al. 2018), stands with Engelmann spruce and subalpine fir in
   the canopy, and subalpine fir in the sub-canopy are disproportionality selected by lynx. Stands where
   standard VEG S7 would apply continue to support snowshoe hare and secondary prey species, such as red
   squirrels, particularly when live vegetation and horizontal structure is present.

   Salvage harvest in lynx habitat is prioritized as follows:

       a. Choose areas with good habitat restoration potential that currently exhibit poor quality lynx
          habitat condition, (i.e., horizontal cover density less than 25 percent, subalpine fir is a minor
          component of the sub-canopy, favorable site conditions, and best available science suggest that
          conditions could be improved through vegetation management);
       b. Choose areas that provide poor quality lynx habitat and poor habitat restoration potential;
       c. All other areas based on overall project considerations and needs.
   Stands that are subject to VEG S7 represent high-quality habitat for lynx and are confined to the high
   probability lynx use area (95 percent areas) delineated in the Resource Selection Function model for the
   Forest (Squires et. al 2018). The high probability lynx use area map can be found in Appendix G. These
   areas are identified as having:

   •   Overstories that are predominantly live or dead Engelmann spruce and subalpine fir, or either species,
       with sub canopy layers dominated by subalpine fir, or a combination of either Engelmann spruce or
       aspen, or both; and
   •   Total live overstory canopy cover less than or equal to 40 percent; and
   •   Understory horizontal cover density from ground level to 3 meters above ground level, is greater than
       or equal to 45 percent during winter foraging conditions for snowshoe hares.
   Openings in lynx habitat are areas with less than 25 percent total canopy closure. Areas with less than 25
   percent horizontal cover are not considered suitable habitat.

   During salvage project design, late-successional forest patches that are expected to remain green or
   mostly green in the next 15 years are identified for retention during project implementation. Foresters and
   wildlife biologists determine the optimal landscape heterogeneity objectives that include retention,


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   opening patch size, and configuration. Project objectives should be considered at a watershed or sub­
   watershed scale, using the best available science.

   Forest stands that meet the VEG S7 definition represent a disproportionately high value subset of the
   overall suitable habitat in a lynx analysis unit. Management prioritization provides limited entry
   allowances into VEG S7 stands. A seven percent allowance into VEG S7 stands is available for use within
   15 years of the decision date for this forest plan. Suitable lynx habitat is defined as stands with understory
   horizontal cover density greater than 25 percent. Timber stands subject to VEG S7 in locations that are
   documented as occupied by lynx and may support reproduction (Ivan 2018) should be avoided where
   possible. If entry does occur minimize further reduction in key habitat values.

   The VEG S7 standard is associated with a management focus that supports limited entry into VEG S7
   stands while promoting forest restoration in stands that may be improved by understory regeneration. The
   prioritization focus for vegetation management activities for non-VEG S7 stand and non-hazard trees, in
   the 95 percent lynx use area is as follows:

       1. Activities in stands with zero to 24 percent horizontal cover density (unsuitable habitat) and high
          site potential for active habitat improvement;
       2. Activities in areas of zero to 24 percent horizontal cover density (unsuitable habitat) with poor
          potential for further improvements in habitat values;
       3. Activities in areas of 25 to 44 percent horizontal cover density (suitable but not high-quality).
   Hazard tree removal along open and administrative use roads, trails, and campgrounds are exempt from
   this direction. Removing hazards trees from these locations is done to maintain safety for the public and
   employees. This treatment may occur up to 250 feet from open and administrative use roads, trails, and
   campground boundaries.

   Desired Conditions
   DC-TEPC-1: Maintain or improve habitat conditions that contribute to either stability, recovery or both,
   for threatened, endangered, proposed, and candidate species. (Forestwide)

   Desired conditions related to habitat for Canada lynx are found in the Southern Rockies Lynx
   Amendment.

   Standards
   S-TEPC-1: The Southern Rockies Lynx Amendment direction (Appendix E), as amended and modified
   by the forest plan record of decision, shall be applied. (Forestwide)

   VEG S7 (or S-TEPC-2): Salvage activities in stands that represent high quality lynx habitat may occur in
   up to seven percent of the high-probability lynx use area (95 percent lynx use areas shown in Appendix
   G) that overlaps the suitable timber base 15 years from the date on the forest plan decision. Salvage
   activities in VEG S7 stands in combination with all vegetation management50 activities including
   incidental damage resulting in either Stand Initiation Structural Stage44 conditions, a reduction of
   horizontal cover19, or both, are tracked for 15 years from the decision date for this forest plan decision.
   (High-probability lynx use areas)

   S-TEPC-3: Southern Rockies Lynx Amendment standards VEG S1 and VEG S2 do not apply on lynx
   analysis units that have no overlap, either wholly or partially, with the high probability lynx use areas
   shown in Appendix G. All other management direction (excluding VEG S1 and VEG S2) in the Southern



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   Rockies Lynx Amendment applies to areas outside of the high probability lynx use areas (95 percent use
   area). (Lynx Habitat Outside of High Probability Lynx Use Areas)

   Guidelines
   G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat, management actions
   should be designed with attention to threatened, endangered, proposed, or candidate species and their
   habitats. (Forestwide)



   Goal 2
   Protect and restore watershed health, water resources, aquatic ecosystems, and
   the systems that rely on them
   Water from the Rio Grande National Forest supports outdoor recreation, biological diversity, wildlife
   species and habitats, agricultural irrigation, and flood control. The Forest provides clean, abundant water
   to local and regional aquifer systems as well as to surrounding communities.

   Opportunities for collaborative stewardship of watersheds emphasize the interrelated biological,
   economic, and social factors that affect these areas. Healthy and functioning watersheds contribute to
   overall resource health.

   Fisheries (FISH)
   Management Approaches
   Management direction is provided for individual resource areas. This direction has been integrated across
   resources areas. Plan components contained in this section cover the broad area of aquatic habitats that
   are present throughout the Forest and support all fisheries. Species of conservation concern (Rio Grande
   cutthroat trout, Rio Grande chub, and Rio Grande sucker), all other native species, and desired nonnative
   recreational species are included. Many of the plan components that affect fisheries are also addressed in
   other sections including, but not limited to, Minerals, Aquatic and Terrestrial Nonnative Invasive Species
   and Noxious Weeds, Recreation, Riparian Management Zones, Soils, Watersheds, Wildlife, and Species o^f
   Conservation Concern. Specific direction for designated wilderness and designated and eligible wild,
   scenic, and recreational rivers is also provided.

   Aquatic species include vertebrate and invertebrate animals that live in the water for most of all of their
   life cycle. Fisheries management focuses on fish species and the habitat components that are vital to their
   survival. Persistence of these species over time is dependent on an array of well-connected habitat
   conditions. Management activities can contribute to fragmentation and degradation of habitat for fish and
   other riparian-dependent species. Dam construction, introduction of nonnative invasive species, livestock
   grazing, road and facility construction, and vegetation management activities can change habitat
   conditions.

   Annually, the Forest works with signatories of the Conservation Agreements for Rio Grande cutthroat
   trout (RGCTCT 2013) and the Rio Grande chub and Rio Grande sucker (RGCSCT 2018). Shared data
   maintains and updates species occurrences and the fisheries activity period maps facilitate consistent and
   effective implementation of the agreements for use during project-level analysis and in guidance specific
   to recreational dredging.



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   The Forest coordinates with staff from Colorado Parks and Wildlife on fish stocking programs. This
   ensures benefits and reduces degrading effects on native and desired nonnative fish and aquatic species.
   Recreational fish stocking reports are provided to Colorado Parks and Wildlife by June 15, or as they
   become available.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for fisheries
   resources comes from Forest Service manuals and handbooks, specifically 2800. Higher level direction is
   not repeated here but should be consulted during project-level design, preparation, and analysis. In
   addition, the direction below tiers up to higher level direction including but not limited to the Endangered
   Species Act as amended and Fish and Wildlife Conservation Act. All higher level direction that is
   applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-FISH-1: Connectivity of habitat for native and desired nonnative fish and aquatic species is
   maintained or enhanced by the design and implementation of management actions. Populations are
   expanding into previously occupied habitat, and interconnectivity is maintained within metapopulations.
   To maintain sustainable populations, critical life stages are distributed and abundant. Habitat conditions
   are not a primary factor in species being proposed or listed under the Endangered Species Act or for
   adding species as a species of conservation concern.

   DC-FISH-2: Habitat and water quality in lakes and streams allow fish populations to thrive, and habitat
   is not fragmented by management activities.

   Objectives
   OBJ-FISH-1: Complete 10 fish connectivity projects (combination of removing barriers or constructing
   aquatic organism passage structures) over the next 15 years.

   OBJ-FISH-2: Maintain or restore structure, composition, or function of habitat for fisheries and other
   aquatic species along 30 miles of stream, with a focus on larger individual stream segments when possible
   over the next 15 years. (Forestwide)

   Standards
   S-FISH-1: When authorizing new surface diversions in fish-bearing waters, provide upstream and
   downstream passage designed for all fish species that are threatened, endangered, proposed or candidate
   species, and for species of conservation concern except when barriers are needed to protect from
   undesired nonnative fish. (Forestwide)

   Guidelines
   G-FISH-1: New surface diversions should provide passage for native and desired nonnative aquatic
   species to maintain connectivity except when barriers are needed to protect from undesired nonnative
   fish. (Forestwide)

   G-FISH-2: Newly constructed perennial stream crossings and aquatic organism passages to allow natural
   streamflow, and bidirectional movement of adult and juvenile fish and other wildlife. (Forestwide)

   G-FISH-3: Fisheries activity period maps should be consulted during project develop and design,
   including recreational dredging. Dates associates with stream class identified on the map is contained in
   Table 8.



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   Fisheries activity period maps designate the class of a mapped waterbody (A, B, C, or D). They
   correspond with the restricted activity period in Table 8 and describe the locations of Class A water
   bodies, and may specify special conditions. Except for uncoded waters bodies, which do not appear on the
   maps, class is designated on the maps. Uncoded water bodies are Class D unless otherwise specified.
   When uncoded water bodies enter mapped Class A, B, or C water bodies, the portion of the uncoded
   water body 1 mile upstream from the mouth is the same class as the mapped water body it enters. This is
   applied even if the unmapped water body is dry or frozen to the bottom at the time of implementation.

   Where unmapped water bodies enter a mapped Class A water body, the unmapped water body is Class A
   for the portion of the unmapped water body for a distance of 1 mile upstream from the mouth of the
   unmapped water body, including where the unmapped water body is dry or frozen to the bottom at the
   time of the project, and Class B for any other portion of the unmapped water body. Where an unmapped
   water body enters a mapped Class B water body, the unmapped water body is Class B for the portion of
   the unmapped water body for a distance of 1 mile upstream from the from the mouth of the unmapped
   water body, including where the unmapped water body is dry for frozen to the bottom at the time of the
   project, and Class C for any other portion of the unmapped water body. Where an unmapped water body
   enters a mapped Class C or D water body, the unmapped water body is Class C or D for all portions of the
   unmapped water body, respectively. Where an unmapped water body enters a fish-bearing lake, the
   unmapped water body is Class C, whether or not the fish-bearing lake appears on the activity period
   map(s).

   Figure. Dates and species of fish by class of water body
      Water Body
                                 Species                Restricted Activity Period
        Class

                      Core and conservation Rio      Dates provided by Fisheries
           A
                      Grande cutthroat trout         Biologist

                      Recreation Rio Grande
           B                                         May 15 to June 30
                      cutthroat trout

           C          Brown and brook trout          October 1 to December 31

           C          Rainbow trout                  April 1 to August 31

           D          No fish or any other species   None


   Groundwater-Dependent Ecosystems (GDE)
   Management Approaches
   Groundwater-dependent ecosystems are a vital component for the natural environment and can include
   fens, wetlands, seeps, springs, riparian areas, groundwater-fed streams and lakes, and aquifers. These are
   present throughout the Forest and vary in size and timing. These areas provide an important ecosystem
   component and provide later-season flows with cold water temperatures, help sustain the function of
   surface and subsurface aquatic ecosystems, and provide habitat important to the persistence of plant
   species of conservation concern.

   Areas that retain moisture and associated vegetation types have long been recognized as important for
   both ecosystem function and human benefits. Riparian areas and groundwater-dependent ecosystems such
   as wetlands, springs, aquifers, and fens provide ecosystem services that are necessary for the long-term
   health and well-being of both aquatic and upland areas. Services provided by these areas is vital to the

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   water supplies to downstream users. Services include stabilizing steams banks and reducing erosion,
   mitigating the impacts of floods, improving water quality by trapping sediment and other pollutants, and
   sustaining late season base flows. These areas are also vital to a wide variety of plants and animals.
   Aquatic and terrestrial species depend on the forage and cover provided in these habitat types, and many
   rare plants only occur in these ecosystems.

   Fens and watershed conditions that support healthy fens present an irreplaceable ecological feature on the
   landscapes. As capacity allows, these area are inventoried and evaluated, allowing managers to maintain
   healthy watersheds and aquatic resources.

   The Forest collaboratively works with other agencies and adjacent landowners in the conservation of
   groundwater-dependent ecosystems. Fens will continue to be inventoried and evaluated as feasible.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for groundwater­
   dependent ecosystems is contained in Forest Service manuals and handbooks, specifically 2500, 2600,
   and 2800. Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition the direction below tiers up to higher level direction including but
   not limited to the Endangered Species Act as amended, Safe Drinking Water Act, and the Water Quality
   Improvement Act. All higher level direction that is applicable but not repeated here is contained in
   Appendix I.

   Desired Conditions
   DC-GDE-1: Identified groundwater-dependent ecosystems provide habitat for species of conservation
   concern and other native species. Fens continue to accumulate peat. (Forestwide)

   Objectives

   Standards
   S-GDE-1: Do not authorize management actions that alter hydrology of groundwater-dependent habitat
   features. (Forestwide)

   Guidelines
   G-GDE-1: To maintain ecosystem diversity and function, design projects to avoid or mitigate negative
   impacts to ecological services of groundwater-dependent ecosystems. (Forestwide)

   Riparian Management Zones (RMZ)
   Management Approaches
   Naiman et al. (2000) identifies that discoveries about the structure and dynamics of riparian zones have
   important implications for stream and watershed management. Forest plans must establish width(s) for
   riparian management zones around all lakes, perennial and intermittent streams, and open-water wetlands
   (USDA Forest Service 2015). The following guidance has been developed to help interdisciplinary teams
   become familiar with, and consistently apply, criteria to appropriately delineate riparian management
   zones, and analyze important considerations in developing appropriate management actions within or
   affecting riparian management zones. The intent is to ensure that interdisciplinary teams adequately
   consider riparian functions and ecological processes in both the delineation of riparian management zones
   and the determination of appropriate management actions within, or that affect, riparian management
   zones.



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   Riparian areas represent the area where aquatic and terrestrial ecosystems interface. These important areas
   occur along streams, rivers, lakes, wetlands and other waterbodies. These areas can be restored using
   passive and active management.

   Delineation and further definition of riparian management zones are contained in Appendix F.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for riparian
   management zones can be found in Forest Service manuals and handbooks, specifically 2500, 2600, and
   2800. Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition the direction below tiers up to higher level direction including but
   not limited to the Watershed Protection and Flood Prevention Act. All higher level direction that is
   applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-RMZ-1: Riparian areas and wetlands are healthy, fully functioning ecosystems that are resilient and
   able to withstand natural and human disturbances that include flood, fire, drought, changes in frequency
   and timing of weather events, recreation, and herbivory. Aquatic ecosystems, riparian ecosystems, and
   watersheds exhibit high ecological integrity. The vegetation consists of desirable native species and age
   classes and meets the needs of resident amphibians, fish, and migratory birds. Populations of riparian
   vegetation are diverse, vigorous, and self-perpetuating. Invasive species, including plants and animals, in
   riparian and wetland ecosystems are rare. There is sufficient vegetative cover to provide bank stability,
   trap and retain sediment, regulate temperature, and contribute to floodplain function. Riparian ecosystem
   composition, structure, and function can generally be restored and enhanced by beaver habitat.
   (Forestwide)

   DC-RMZ-2: Hydrologic regimes of riparian and wetland ecosystems contribute to appropriate channel
   and floodplain development, maintenance, and function. (Forestwide)

   Objectives
   OBJ-RMZ-1: Restore at least 300 acres of riparian or wetland areas over the next 15 years. (Forestwide)

   Standards
   S-RMZ-1: Management activities may have short-term impacts (generally less than 5 years) to
   composition, function, and structure of riparian areas and fish habitat. Over the long term (generally
   greater than 20 years), projects shall not impair connectivity, composition, function, and structure.
   (Forestwide)

   Guidelines
   G-RMZ-1: To maintain ecological integrity and connectivity, new system roads and infrastructure should
   not be constructed in the riparian management zone. (Forestwide)

   G-RMZ-2: To provide for the structural nesting habitat requirements for riparian-associated birds, design
   management activities to avoid healthy willow carrs. (Forestwide)

   Watershed (WA)
   Management Approaches
   Healthy, properly functioning watersheds are essential to forest health, water quality, water quantity, and a
   host of others functions and services. Plan and management direction is grouped by specific resource but
   is also addressed in relation to other resource functions. Watershed specific direction contains both

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   national and regional guidance as required by the 2012 Planning Rule (36 CFR 2190). As always,
   additional higher level guidance is incorporated and followed to protect watersheds and their associated
   functions and services.

   A watershed is an area of land that drains water and transports sediment and dissolved materials to a
   common outlet at some point along a stream channel (Dunne and Leopold 1978). Watersheds occur at
   multiple scales and range from the largest river basins that cover thousands of acres, such as the Rio
   Grande, to small streams with only a few acres of contributing area. Watersheds that are functioning
   properly have terrestrial, riparian, and aquatic ecosystems that capture, store, and release water, sediment,
   wood, and nutrients within their range of natural variability for these processes.

   Many attributes can help to understand and define the condition, or health, of a watershed. These include,
   but are not limited to, physical and biologic characteristics such as the timing and quantity of water flows,
   water quality, the amount of erosion and sedimentation, the stability of streambanks, stream channel
   dimensions such as width and depth, the condition of riparian vegetation, and the presence of native or
   desired nonnative aquatic species. The attributes that reflect the state of a watershed condition are
   continually changing because of natural disturbances (e.g., wildfire, landslides, floods, insects, and
   disease), natural variability of ecological processes (e.g., flows and cycles of energy, nutrients, and water),
   climate variability, and human modifications.

   The watershed condition policy goal of the Forest Service is “to protect National Forest System
   watersheds by implementing practices designed to maintain or improve watershed condition, which is the
   foundation for sustaining ecosystems and the production of renewable natural resources, values, and
   benefits” (FSM 2520). The forest plan components listed below are designed to assist land managers in
   maintaining or improving watershed condition by focusing on the key physical and biologic attributes and
   processes of watershed condition that will allow watersheds to be resilient in the face of both natural and
   human disturbances.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for watershed
   management is contained in Forest Service manuals and handbooks, specifically 2500, 2600, and 2800.
   Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition the direction below tiers up to higher level direction including but
   not limited to the Clean Water Act as amended, Emergency Flood Prevention Act, Federal Water Pollution
   Control Act, and Federal Water Project Recreation Act. All higher level direction that is applicable but not
   repeated is contained in Appendix I.

   Desired Conditions
   DC-WA-1: Physical channel characteristics are in dynamic equilibrium and are commensurate with the
   natural ranges of discharge and sediment load provided to a stream. Streams have the most probable form
   and the expected native riparian vegetation composition within the valley landforms that they occupy;
   they function correctly without management intervention. Historically disturbed and degraded stream
   channels recover through floodplain development and establishment of riparian vegetation, and
   demonstrate stable channel geomorphic characteristics. Beaver reintroduction, and the persistence of
   beaver habitat, can contribute to channel recovery and floodplain function. Upland areas function
   properly and do not contribute to stream-channel degradation. Roads, trails, and impervious surfaces
   minimally affect hydrologic processes within watersheds. The sediment regime within water bodies is
   within the natural range of variation. Elements of the sediment regime include the timing, volume, rate,
   and character of sediment input, storage, and transport. (Forestwide)




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   DC-WA-2: Within the constraints of existing water rights decrees, the timing and magnitude of flood
   events is within the natural range of variation. Floodplains are accessible to water flow and sediment
   deposits. Overbank floods allow floodplain development and support healthy riparian and aquatic
   habitats. Floods also allow the propagation of flood-associated riparian plant and animal species.
   (Forestwide)

   DC-WA-3: State water quality standards are met and State-classified water uses are supported for all
   water bodies. Water quality for those water bodies listed as impaired on the State of Colorado 303(d) list
   move toward fully supporting State-classified uses. (Forestwide)

   DC-WA-4: Aquifers maintain natural conditions of recharge, discharge, and groundwater quality,
   especially where they are important to surface features dependent on groundwater for their existence
   (including but not limited to caves, springs, seeps, lakes, riparian areas, wetland ecosystems, fens, and
   intermittent and perennial streams). (Forestwide)

   DC-WA-5: Watersheds provide clean, safe water suitable for public consumption after adequate and
   appropriate water treatment. (Forestwide)

   Objectives
   OBJ-WA-1: Improve condition class on at least one identified priority watershed, as defined by the
   national Watershed Condition Framework over the next 5 years. (Forestwide)

   OBJ-WA-2: Quantify minimum instream flows at new quantification points for stream reaches impacted
   by federal land acquisitions for the Baca Tract over the next 5 years. (Forestwide)

   Standards
   S-WA-1: Incorporate direction included in the Watershed Conservation Practices Handbook (FSH
   2509.25), and project-specific management measures described in FS 990A. or as updated in land-use and
   project plans. (Forestwide)

   Guidelines
   G-WA-1: Maintain or restore water quality by assuring that activities meet State of Colorado water
   quality standards. Management activities in watersheds where State of Colorado 303(d) listed impaired
   water bodies exist should assist in achieving State water quality standards. (Forestwide)

   G-WA-2: Management actions should not cause long-term degradation to water resources, including
   lakes, streams, wetlands, and groundwater. Particular attention should be paid to public water supplies,
   sole source aquifers, and source water protection areas. (Forestwide)

   Goal 3
   Actively contribute to social and economic sustainability in the broader
   landscape and connect citizens to the land
   The Forest contributes forest products and tourism opportunities that are important to local economies,
   and provides ecosystem services for current and future generations. Locations that have been influenced
   by humans while protecting areas of tribal importance and traditional uses and other areas of religious or
   cultural importance are maintained and protected. Opportunities are available for individuals, partners,
   and organizations to be active participants in managing, monitoring, and implementing projects that
   achieve integrated resource management goals.


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   The Forest provides natural-appearing landscapes with diverse scenery. Within the anticipated fiscal
   capacity, the Forest provides and maintains access to a multitude of recreational opportunities and outdoor
   experiences in settings that range from primitive to highly developed. Designated areas, such as
   wilderness and wild, scenic, and recreational rivers, are maintained to protect resource integrity and avoid
   damage incurred by overuse. Interpretive opportunities increase public knowledge, provide historical
   background, and promote connection of the current people to the past and their land.

   Heritage resource sites are managed and interpreted in compliance with all applicable laws and
   regulations. When appropriate, sites are nominated to the National Register of Historic Places and
   managed to those standards.

   The 2012 Planning Rule (36 CFR 219) defined ecosystem services to include provisioning services such
   as air, water, energy, fiber, and minerals; regulating services such as soil stabilization; and cultural
   services that include cultural heritage values and recreational experiences. The Forest strives to meet the
   demand for these services.

   Air Quality (AIR)
   Management Approaches
   The Clean Air Act and subsequent amendments require Federal land managers to protect air quality
   related values in Class 1 areas and to protect human health and basic resource values in all areas. The La
   Garita, Weminuche, and nearby Great Sand Dunes Wilderness areas are classified as Class 1 areas where
   very little deterioration of air quality is allowed. Virtually all land management activities on the Forest
   occur outside the non-attainment boundaries. The greatest potential to affect air quality would be from
   smoke (wildfires, prescribed fires) and road dust.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for management
   of air quality comes from Forest Service manuals and handbooks, specifically 2500. Higher level
   direction is not repeated here but should be consulted during project-level design, preparation, and
   analysis. In addition the direction below tiers up to higher level direction. All higher level direction that is
   applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-AIR-1: Air quality related values over Class 1 and Class II wilderness areas meet or exceed state
   standards. (Forestwide)

   Guidelines
   G-AIR-1: To protect water quality, oils and solvents should not be used for dust abatement measures.
   (Forestwide)

   Areas of Tribal Importance (ATI)
   Management Approaches
   The San Luis Valley and the surrounding mountains are the ancestral homelands of several American
   Indian clans, bands, and tribes. Despite their removal by the U.S. Government in the late 1800s, several
   tribes maintain strong cultural and spiritual connections to the area. These include the Jicarilla Apache,
   Navajo, Southern Ute, and Ute Mountain Ute Tribes, as well as several Upper Rio Grande and Western
   Pueblos. Ceremonial and culturally important sites and traditional gathering areas exist on the Forest.
   Tribes affiliated with the area exhibit a continuing interest in the homeland-related traditions of their


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   people and look to the Forest to aid in the maintenance and re-establishment of cultural connections to
   ancestral landscapes.

   Policy development and methods of consulting with tribes has evolved since the last forest plan was
   completed 20 years ago. Though not repeated here, the legal framework of Federal policy, case law, and
   Executive orders provides guidance and establishes standards for tribal authorities and uses of national
   forests as well as creates pathways to greater collaboration and connection between the Forest and the
   tribes at all management levels of the Forest Service.

   Interpretive and educational exhibits and other media focusing on the history of forest lands is developed
   in collaboration with tribes to provide the public with a greater understanding and appreciation of shared
   history, culture, and traditions.

   The Forest maintains relationships with tribes that are meaningful and built on trust. The Forest intends to
   work with tribes in developing interpretive and educational materials to aid in protecting areas of tribal
   importance.

   The Forest will partner with interested tribes in determining the eligibility of Mount Blanca as a
   traditional cultural property to the National Register of Historic Places.

   Develop a management plan to assist in maintain cultural values, involving staff from the Bureau of Land
   Management San Luis Valley Field Office, Pike-San Isabel National Forest, interested tribes, U.S. Fish
   and Wildlife Service Sangre de Cristo Conservation Area, and other non-Federal partners.

   The Forest intends to accommodate and facilitate traditional use of areas acknowledged as traditional
   cultural properties and other culturally important places that are essential to maintaining the continuing
   cultural identity of associated communities.

   In coordination with tribes, develop collaborative proposals and partnerships to implement projects of
   mutual benefit and economic development, or both, using federally authorized or advocated programs
   where available.

   In compliance with higher level direction, consultation with tribes occurs at initial planning stages and
   during project design. As appropriate, tribal perspectives, needs, and concerns, as well as traditional
   knowledge, should be incorporated into project design and decisions, such as areas acknowledged as
   traditional cultural properties.

   In compliance with higher level direction, confidential and sensitive information, or both, regarding
   sacred sites is held in the strictest confidence. Also purposeful excavation, photography, and destructive
   analysis of human remains, or any one of these, for educational purposes, is not permitted.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for management
   of areas of tribal importance comes from Forest Service manuals and handbooks, specifically 2300.
   Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition, the direction below tiers up to higher level direction including but
   not limited to the Antiquities Act, American Indian Religious Freedom Act, and Native American Graves
   and Repatriation Act. All higher level direction that is applicable but not repeated here is contained in
   Appendix I.

   Desired Conditions
   DC-ATI-1: Acknowledged traditional cultural properties are present for their cultural importance and are
   generally free of impacts from other uses. (Forestwide)

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   DC-ATI-2: Access for tribal members is provided for the exercise of treaty rights and to provide
   opportunities to practice traditional, cultural, educational, and religious activities. (Forestwide)

   DC-ATI-3: Traditionally used resources are managed sustainably and are available for future generations.
   (Forestwide)

   Guidelines
   G-ATI-1: To protect areas of tribal importance, such as areas acknowledged as traditional cultural
   properties, minimize restoration and recreation activities and uses, as well as the development of new
   facilities and infrastructure, near these areas. (Forestwide)

   Congressionally Designated Trails (CDT)
   Direction included below applies to the management of two congressionally designated trails on the
   Forest: the Continental Divide National Scenic Trail and the Old Spanish National Historic Trail. The
   Continental Divide National Scenic Trail and the Old Spanish National Historic Trail were designated by
   Congress in 1978 and 2002, respectively.

   Management Approaches
   The National Trails System Act of 1968 authorized creation of a national trail system consisting of
   national scenic, historic, and recreation trails. National scenic and national historic trails may be
   designated only by an act of Congress. Both congressionally designated trails that traverse the Forest are
   shown with a one-half-mile-wide buffer on either side of the trail. This trail corridor is managed
   consistently across the Forest.

   Continental Divide National Scenic Trail
   The 3,100-mile-long Continental Divide National Scenic Trail follows the backbone of the Rocky
   Mountains from Canada to Mexico. The trail traverses portions of 25 national forests, 3 national parks,
   and 4 Bureau of Land Management districts, as well as various private lands in Colorado, Idaho,
   Montana, New Mexico, and Wyoming. About 170 miles of the trail is routed through the Rio Grande
   National Forest, from its northern boundary with the Gunnison National Forest, to the New Mexico state
   line.

   The Forest Service is the lead agency responsible for management of the Continental Divide National
   Scenic Trail. Management of the trail is consistent with the nature and purposes of the trail as described in
   the 2009 Continental Divide National Scenic Trail Comprehensive Plan, and any revisions.

   Consistent with the Continental Divide National Scenic Trail Comprehensive Plan, trail partners and
   volunteers will be encouraged to assist in the planning, development, maintenance, and management of
   the trail.

   Proposed relocations or new segment locations will be evaluated using defined optimal location criteria.

   Opportunities to acquire lands or rights-of-way in or adjacent to the Continental Divide National Scenic
   Trail corridor will be identified and pursued as feasible.

   Activities and projects occurring in the visible foreground are evaluated for their effects on user
   experience. Impacts are reduced and mitigated.




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   Consistent signage is provided along the Continental Divide National Scenic Trail at road and trail
   crossings to identify the trail. Interpretive signs are provided at key entry points and at historic and
   cultural sites to orient visitors and enhance their experience.

   During emergencies, incident management teams are made aware of the Continental Divide National
   Scenic Trail as a resource to be protected. Fire suppression rehabilitation and long-term recovery of the
   Continental Divide National Scenic Trail corridor are identified as high priorities for incident
   management teams, burned area emergency recovery teams, and post-fire rehabilitation interdisciplinary
   teams.

   Over time, appropriate carrying capacities will be established for specific segments of the Continental
   Divide National Scenic Trail by monitoring use and conditions. Appropriate management actions are
   taken to maintain or restore the nature and purposes of the trail if the results of monitoring or other
   information indicate a trend away from the desired conditions.

   To provide for user safety and health, adequate trail facilities are provided that accommodate the amount
   and types of use anticipated on any given trail segment. Minimal facilities are provided to preserve or
   promote a setting that appears natural.

   Old Spanish National Historic Trail
   The Old Spanish National Historic Trail was designated in 2002. Pioneered by Antonio Armijo in 1829,
   the Old Spanish Trail was a trade network with several routes that carried woolens and slaves between
   Santa Fe and Los Angeles in trade for horses in Mexico’s California territory. The congressionally
   designated East Fork of the North Branch of the Old Spanish National Historic Trail runs through the
   Forest, generally following the west flanks of the Sangre de Cristo Mountains before winding up
   Saguache Creek and into the Gunnison Basin. Inventory and research have identified the Bunker Site as
   an archaeological site along the trail within Forest.

   The Old Spanish National Historic Trail Comprehensive Administrative Strategy (December 2017) guides
   management of the trail across six states and a variety of ownerships. Trail management and activities
   will be coordinated across and adjacent to unit and jurisdictional boundaries.

   Appropriate measures are developed to protect high-potential sites and segments from deterioration due to
   natural forces, visitor use, vandalism, and other impacts.

   Over time, the Forest intends to comprehensively document at least 3 miles of the Old Spanish National
   Historic Trail; study one camp or paraje, and study on new segment that was included in the original
   feasibility study.

   Prominent access points along the Old Spanish National Historic trail will be signed to enhance user
   experience and safety.

   Work with trail administrators, recreation staff, volunteers, and trail organizers to plan for, develop,
   maintain, and manage high potential segments, sites, and segments under study for the Old Spanish
   National Historic Trail.

   Federally recognized tribes, appropriate Federal, state, and local agencies, and trail administrators will be
   consulted regarding planning and development activities for the Old Spanish National Historic Trail.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for management
   of congressionally designated trails comes from Forest Service manuals and handbooks, specifically 2300

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   as well as comprehensive management plans for the associated trails. Higher level direction is not
   repeated here but should be consulted during project-level design, preparation, and analysis. In addition
   the direction below tiers up to higher level direction including but not limited to the National Trails
   System Act and the National Historic Preservation Act. All higher level direction that is applicable but not
   repeated here is contained in Appendix I.

   Desired Conditions
   DC-CDT-1: Viewsheds from the Continental Divide National Scenic Trail have high scenic values. The
   foreground of the trail is naturally appearing. (Forestwide)

   DC-CDT-2: The Continental Divide National Scenic Trail is a well-defined trail that provides for high-
   quality primitive hiking and horseback riding opportunities, and other compatible nonmotorized trail
   activities, in a highly scenic setting along the Continental Divide. The significant scenic, natural, historic,
   and cultural resources along the trail corridor are conserved. Where possible, the trail provides visitors
   with expansive views of the natural landscapes along the Continental Divide. (Forestwide)

   DC-CDT-3: The Continental Divide National Scenic Trail can be accessed from multiple locations,
   allowing visitors to select the type of terrain, scenery, and trail length (e.g., ranging from long distance to
   day use) that best accommodates their desired outdoor recreation experience(s). Wild and remote
   backcountry segments provide opportunities for solitude, immersion in natural landscapes, and primitive
   outdoor recreation. Easily accessible trail segments complement local community interests and needs and
   help contribute to a sense of place. (Forestwide)

   DC-CDT-4: The Continental Divide National Scenic Trail is well maintained, signed, and passable.
   Alternative routes are made available in the case of temporary closures resulting from natural events, such
   as fire or flood, or land management activities. (Forestwide)

   DC-CDT-5: The landscape of the North Branch of the Old Spanish National Historic Trail is managed to
   maintain its nature and purpose while providing educational opportunities, promoting stewardship,
   providing opportunities for heritage tourism, and protecting traditional cultural properties. (Forestwide)

   Objectives
   OBJ-CDT-1: Restore or relocate one segment of the Continental Divide National Scenic Trail to improve
   scenic viewing opportunities and/or to provide for a nonmotorized experience over the next 15 years.
   (Forestwide)

   Standards
   S-CDT-1: Do not authorize development of oil and gas infrastructure, geothermal energy development, or
   other leasable mineral activity within the Continental Divide National Scenic and the Old Spanish
   National Historic Trail corridor. (Forestwide)

   S-CDT-2: Do not authorize common variety mineral extraction (e.g., limestone, gravel, pumice, etc.) to
   occur within the congressionally designated trail corridor. (Forestwide)

   Guidelines
   G-CDT-1: Forest health projects that result in short-term impacts the scenic integrity of the Continental
   Divide National Scenic Trail should apply mitigation measures, including but not limited to screening.
   (Forestwide)




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   G-CDT-2: To provide for a naturally appearing setting while avoiding impacts from motorized use, new
   temporary or permanent roads, or motorized trails, should not be constructed across or adjacent to the
   Continental Divide National Scenic Trail, unless needed for resource protection, private land access, or
   protection of public health and safety. (Forestwide)

   G-CDT-3: To protect the values for which trails were established, manage unplanned ignitions in the
   foreground (up to one-half mile) using minimum impact suppression tactics, or other appropriate tactics.
   Allow heavy equipment line construction within the trail corridor only when necessary for protection of
   life and property. (Forestwide)

   Suitability
   SUIT-CDT-1: The Continental Divide National Scenic Trail and corridor is not suitable for oil and gas or
   geothermal energy development or other leasable mineral activity.

   SUIT-CDT-2: The Continental Divide National Scenic Trail and corridor is not suitable for common
   variety mineral extraction, including but not limited to limestone, gravel, and pumice.

   Cultural Resources (CRT)
   Management Approaches
   The Forest contains cultural resources that demonstrate human occupation and use for at least the last
   12,000 years. American Indian, Hispanic, and Euro-American communities continue to use the Forest for
   economic, social, recreational, and religious purposes. These include long-term, rural, land-based
   communities that use the Forest for subsistence purposes. An understanding of cultural resources and
   historic uses is important to understanding shared heritage and the social, economic, and ecological
   sustainability of the planning area, the State of Colorado, the Rocky Mountain region, and the Nation as a
   whole.

   Currently, about 2,099 cultural resources have been documented, including prehistoric and historic
   remains. About 18 percent of the Forest has been inventoried for cultural resources to some degree.
   Resources within the Forest represent the processes and events important to the identity and history of
   both tribal groups and long-term land-based communities. Cultural resources can contain a wealth of
   information for potential scientific research regarding social and ecological conditions and changes
   through time, including human successes and failures in coping with these transformations over the past
   12,000 years. This information is valuable to managers making decisions regarding contemporary and
   future ecological management as well as educating the public about the complex ecological sustainability
   of the Forest.

   The Forest intends to protect sites from activities including, but not limited to, vegetation treatment,
   prescribed fire, and thinning. "Islanding" of sites can occur from simply avoiding areas to reduce impacts
   from erosion, severe fire effects, and livestock grazing.

   Partnerships are developed and maintained to assist in meeting targets, maintaining facilities and
   infrastructure, completing monitoring, developing resource specific plans, mapping habitat and use, and
   more. Partnerships are encouraged with traditional communities surrounding communities and
   governments, nonprofit groups, volunteers, professional organization, schools and any other interested
   individuals and groups.

   Areas acknowledged as traditional cultural properties, cultural landscapes, and other culturally significant
   areas identified by local communities provide tangible links to historically rooted beliefs, customs, and


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   practices. These resources are protected through consultation, traditional cultural practitioners, consulting
   parties, and project design.

   In compliance with Section 110 of the National Historic Preservation Act, the Forest intends to complete
   non-project inventory annually. The following prioritization will be applied:

   •   Areas where eligible cultural resources are threatened or ongoing impacts are unknown and need to
       be assessed.
   •   Areas indicated to have high cultural value or high density of cultural resources.
   •   Areas of importance to traditional communities.
   •   Areas where additional survey will contribute to a greater regional understanding of a specific
       management unit or special interest area.
   Collaborative partnerships and volunteer efforts will continue to be maintained and developed to assist the
   Agency in researching and managing cultural resources. Focus developing partnerships on traditional
   communities, nonprofits, volunteers, professional organizations, and schools.

   The Forest intends to develop management and preservation plans for administrative facilities and
   infrastructure that are significant cultural resources with special significance, or are sites that receive
   frequent visitor use.

   Areas that are acknowledged as traditional cultural properties or cultural landscapes, and other culturally
   significant areas identified by local communities, provide tangible links to historically rooted beliefs,
   customs, and practices. These resources are protected through consultation, traditional cultural practices,
   consulting parties, and project design.

   Heritage resources are integrated into all resource management decisions and align with the affirmative
   management, including protection, of significant cultural resources.

   A database of fire-sensitive sites, structures, and other resources will be developed to facilitate resource
   protection during fire management.

   Opportunities will be provided for responsible officials and employees in the Agency to receive training
   to gain a broader understanding of the unique legal relationship between the Federal Government and
   Indian tribes, and to leave about American Indian law, customs, traditions, and values.

   Populations of Ligusticumporteri will be mapped (see also Vegetation Management section). When
   identifying and mapping Ligusticum porteri, consider setting aside collection areas for traditional use.
   Use of these areas should be rotated over time. Consultation will assist in identifying other plants that are
   important to tribes.

   The Forest intends to work with tribes to understand community needs and build respectful, collaborative
   relationships to achieve mutually desired conditions.

   Operation and maintenance plans for special use permits or recreation residences include stipulations for
   maintenance of the historic characteristics for sites that are eligible for inclusion on the National Register
   of Historic Places.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for cultural
   resources comes from Forest Service manuals and handbooks, specifically 2360. Based on Federal
   direction, the Heritage Program Managed to Standard allows line officers to assess program health and
   direct attention to activities that fall short of the minimum stewardship level. The indicators of the

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   Heritage Program Managed to Standard correspond to key elements of Forest Service Manual 2360.
   Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition, the direction below tiers up to higher level direction including but
   not limited to the Antiquities Act, Historic and Archaeological Data Preservation Act, Historical Sites Act,
   and Volunteers in the National Forests Act. All higher level direction that is applicable but not repeated
   here is contained in Appendix I.

   Desired Conditions
   DC-CRT-1: Interpretation and management of cultural resources connects the public to the past, to the
   land and its history. The Forest strives to identify, preserve, and protect cultural resources that have
   scientific, cultural, or social values, including areas acknowledged as traditional cultural properties and
   historic Agency administrative buildings. Cultural and natural resources and historic uses that help sustain
   cultural communities and contribute to social and economic sustainability are preserved and maintained.
   Long-standing, land-based rural communities that have depended on the Forest are recognized and
   valued. Cultural resources are protected from natural forces, excessive visitor use, vandalism, and other
   impacts.

   Standards
   S-CRT-1: Include provisions in applicable contracts, agreements, and special use permits for National
   Register-listed or eligible properties to protect cultural resources. (Forestwide)

   Guidelines
   G-CRT-1: Preserve cultural artifacts in place, or curate when necessary. (Forestwide)

   Infrastructure (INFR)
   Management Approaches
   Access is necessary for lands to provide a variety of uses and experiences. Structures are also necessary
   for the operation and management of the Forest as well as for public safety. The developed infrastructure
   within the Forest includes roads, trails, utility corridors, dams, and buildings for administrative,
   recreational, or special use purposes. An existing road system provides access to the recreating public as
   well as purchasers of forest products, contractors, and researchers, among others. Utility corridors and
   dams provide flood control, power, and telecommunications access, as well as public safety. Maintained
   facilities include rental cabins, historic sites, and administrative sites.

   The Forest transportation system is managed to reduce resource damage.

   Facilities acquired through land donation, exchange, or purchase are not retained unless they serve a
   definitive purpose and funding is available for maintenance, or they are historically significant.

   The Forest intends to manage all facilities in compliance with the facilities master plan.

   Closed or restricted use roads are available for administrative purposes upon approval by the responsible
   official.

   Designated travelways, as displayed on the Forest motor vehicle use map, and newly constructed
   travelways are open to motorized vehicle use unless a document decision shows that:

   •   Motorized use conflicts with forest plan objectives,
   •   Motorized use is incompatible with the recreation opportunity spectrum class,

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   •   Travelways are not designated routes,
   •   Motorized use creates user conflicts that result in unsafe conditions unrelated to weather conditions,
   •   Physical characteristics of the travelways are hazardous for motorized use,
   •   Travelways do not serve an existing or identified public needs, or
   •   Financing is not available for maintenance necessary to protect resources.
   Motorized use is restricted on all areas not identified for motorized use on the Forest motor vehicle use
   map. Forest orders may also be used to close areas for various reasons. Over-the-snow motorized vehicle
   use is allowed unless specifically restricted.

   The Forest intends to consider the impact of potential alterations in timing, magnitude, and duration of
   peak flows on infrastructure design and construction.

   Manage road use with seasonal closures if:

   •   Use is causing unacceptable damage to soil and water resources due to weather or seasonal
       conditions,
   •   Use is causing unacceptable wildlife conflicts or habitat degradation,
   •   Use is resulting in unsafe conditions due to weather conditions,
   •   The road(s) serve a seasonal public or administrative need, or
   •   The area accessed has a seasonal need for protection.
   New trails are developed to expand recreation opportunities, ensure user safety, and disperse existing use.
   Trail construction is consistent with other resource objectives.

   The travel management process is considered during project-level design and analysis to move toward a
   sustainable Forest road system.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for Forest
   infrastructure comes from Forest Service manuals and handbooks, specifically 7100, 7300, 7500, and
   7700. The Built Environmental Image Guide also provides input into designing Forest Service
   infrastructure that is consistent with the natural environment. Higher level direction is not repeated here
   but should be consulted during project-level design, preparation, and analysis. In addition, the direction
   below tiers up to higher level direction including but not limited to the Forest Highways Act, National
   Forest Roads and Trails Act, and Forest Development Transportation System regulations. All higher level
   direction that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-INFR-1: The transportation system is commensurate with resource management needs, public safety,
   emergency access, and public access to use and enjoy the Forest. Road closures occur for resource
   management activities that protect, maintain, and enhance habitat, soil, and water objectives, among other
   values. (Forestwide)

   Guidelines
   G-INFR-1: To blend with natural surroundings, wherever feasible and practicable, construct or restore
   structures to blend with the natural surroundings. (Forestwide)




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   Fire Management (FIRE)
   Management Approaches
   The fire management section provides guidance on the management of both unplanned and prescribed
   wildland fires, as well as fuels treatment activities to meet various desired conditions and resource
   objectives. This guidance carries forward into the Forest spatial fire management plan that resides within
   the Wildland Fire Decision Support System. This provides the strategic objectives and management
   requirements for managing unplanned wildland fires.

   Wildland fire management is balanced between fire suppression and use of wildfire, including both
   prescribed and natural ignitions, to regulate fuels and move or maintain forest ecosystems toward their
   desired conditions. Wildland fire management assists in achieving ecosystem sustainability including the
   interrelated ecological, economic, and social components.

   The Forest intends to manage unplanned natural ignitions to accomplish resource objectives while
   maintaining the ability of the site to sustain ecosystems.

   The use of appropriate and authorized tools, including but not limited to grazing, mechanical treatments,
   prescribed fire, or naturally occurring unplanned wildfires, to meet ecosystem needs and reduce
   vegetation build-up is intended to lower the risk to communities and other values from damage or loss
   from wildfire.

   Prescribed fire is an appropriate tool to dispose of slash, return inorganic and organic chemicals to foliage
   and small woody debris to soils, reduce hazardous fuel loadings, and create seedbeds for natural
   regeneration where feasible.

   Unplanned ignitions are managed for multiple objectives, including resource benefit, in fir-adapted
   ecosystems when conditions are favorable to achieve desired resource benefits and protect values at risk.

   Suppression actions are taken to mitigate threats from unplanned ignitions to public safety, communities,
   and unique resource values while allowing wildfire to play a natural role in fire-dependent ecosystems.

   The Forest intends to implement fire management activities to reduce impacts to important or unique
   values where they occur.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for fire
   management comes from Forest Service manuals and handbooks, specifically 5100 and 6700. Higher
   level direction is not repeated here but should be consulted during project-level design, preparation, and
   analysis. In addition, the direction below tiers up to higher level direction including but not limited to the
   Wildfire Suppression Assistance Act and the National Cohesive Wildland Fire Management Strategy. All
   higher level direction that is applicable but not repeated here is contained in Appendix I.

   Fire Management Zones
   Two strategic fire management zones are being implemented Forestwide. The zones closely correspond to
   management area boundaries, though some specific direction may be needed depending on the site­
   specific conditions. Assessing strategic fire management zones supports decision-making prior to ignition
   by pre-assessing areas for wildland fire, both prescribed fire and wildfire, risks and benefits. Fire
   management zones include:

   •   Wildland fire management zone: resource restoration (WFMZ-R) and
   •   Wildland fire management zone: resource protection and benefit (WFMZ-PB).

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   Wildland Fire Management Zone: Resource Restoration (WFMZ-R)
   This zone applies to Wilderness, Recommended Wilderness, and Roadless Management Areas (MA 1,
   MA. 1.1, and MA 3). These areas represent a lower risk to resource values from wildfire. Conditions allow
   natural resources to benefit from wildland fire. Management of wildfire to meet resource objectives in this
   zone is the least constrained. Ecological restoration is accomplished by managing wildland fire under a
   wide range of weather, fuel moistures, and other environmental conditions that allow fire to play a natural
   role in the ecosystem. The use of prescribed fire to meet specific resource objectives is appropriate in this
   zone. All naturally occurring unplanned wildfires in these areas are managed primarily to restore and
   maintain the natural role of fire in the ecosystem with a minimal emphasis on suppression. However, if a
   natural, unplanned wildfire ignites in an area of this zone where a community or non-natural resource
   value is threatened, suppression action will be taken to mitigate the threat. All wildland fires can be
   managed for multiple objectives. All human-caused unplanned wildfires are managed using a full
   suppression strategy commensurate with the values at risk.

   Wildland Fire Management Zone: Resource Protection and Benefit (WFMZ-PB)
   This zone applies to all other areas of the Forest, including the General Forest and Rangeland and all
   Special Designation Management Areas (MAs 5, 4.1, 4.2, 4.21, 4.34, and 4.8). Current conditions may
   put some natural resource values at varying degrees of risk of damage from wildfire. Mechanical
   treatments and prescribed burning may be used to protect natural resource values before using wildfire
   under a wider range of weather, fuel moisture, and other environmental conditions. Wildfires that burn in
   this zone may benefit natural resources under certain conditions. All lightning-caused wildfire in these
   areas will be assessed on an individual basis for the most appropriate response based on values at risk and
   potential benefits to natural resources from wildfire. All human-caused unplanned wildfires are managed
   using a full suppression strategy commensurate with the values at risk.

   Desired Conditions
   DC-FIRE-1: Wildland fire and fuels reduction treatments are used to create vegetation conditions that
   reduce threats to real property and infrastructure from wildfire. Fuel loads on lands adjacent to developed
   areas and communities are reduced. Lands adjacent to private property and infrastructure have defensible
   space and dispersed patterns of fuel conditions that would favorably modify wildfire behavior and reduce
   the rate of spread in and around communities at risk. (Forestwide)

   DC-FIRE-2: Unplanned natural ignitions play a natural role in ecosystem dynamics when and where
   there is no threat to human life or property. (Forestwide)

   Objectives
   Refer to Vegetation Management section.

   Standards
   S-FIRE-1: Human-caused ignitions will not be managed for resource benefit. (Forestwide)

   S-FIRE-2: Fire control lines will be rehabilitated to prevent their use as trails and/or roads. (Forestwide)

   Lands (LAND)
   Management Approaches
   The three primary functions of the Forest lands program are land survey and boundary management, land
   adjustments, and special uses, for both recreation and non-recreation. Boundary management ensures that
   the Forest secures and protects the rights, title, values, and interests of the American public on National

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   Forest System lands. This includes the management of boundary lines within the Forest that border state,
   private, and other Federal agency lands, as well as secured rights-of-way for access to the Forest.

   Land adjustments consolidate and improve management efficiency through real estate transactions
   including sales, purchases, exchanges, conveyances, and rights-of-way within and outside the proclaimed
   Forest boundary. Lands can be transferred to the Forest Service through purchase, exchange, or gifting to
   the Agency. Regardless of the transfer method, the Forest Service can only acquire land from willing
   parties that meet the criteria. The types of land the Agency prefers to acquire include:

   •   Lands within congressionally designated areas,
   •   Lands with water frontage, wetlands, and associated riparian ecosystems,
   •   Land with habitat for endangered or threatened species,
   •   Lands with unique historical or heritage resources,
   •   Lands primarily of value for outdoor-recreation purposes and lands needed for aesthetic protection,
   •   Key tracts that promote effective resource management,
   •   Lands that consolidate ownership and reduce miles of property lines and corners to be maintained,
       and
   •   Lands that maintain or stabilize economies of local governments.
   Special uses are managed in a manner that protects natural resources, public health, and safety, and are
   consistent with National Forest System management plans. Special uses are administered on the basis of
   sound resource management objectives and business principles.

   Existing and designated rights-of-way in the 1996 Land and Resource Management Plan are managed to
   maintain them for future construction and occupancy.

   Utility corridors and transmission lines are designed to be fully developed prior to authorizing new sites.
   New sites may be necessary to fill coverage gaps or meet public need.

   Management activities in linear corridors should be consistent with the direction for the management area
   the corridor passes through.

   Land ownership patterns support land and resource goals and objectives, reduce future management costs,
   respond to community needs, protect critical resource areas, increase recreation opportunities, and
   improve legal access.

   The authorization and administration of special uses by individuals, companies, groups, and government
   entities protect natural resource values and public health and safety.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for managing
   National Forest land and special uses is from Forest Service manuals and handbooks, specifically 5400.
   Higher level direction is not repeated here but should be consulted during project-level design,
   preparation, and analysis. In addition the direction below tiers up to higher level direction including but
   not limited to the Land Acquisition Act and Occupancy Permits Act. All higher level direction that is
   applicable but not repeated here is contained in Appendix I.

   Standards
   S-LAND-1: Bury electrical utility lines of 33 kilovolts or less, and telephone lines, unless scenic integrity
   objectives of the area can be met using an overhead line or burial is not technically feasible. (Forestwide)


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   S-LAND-2: Do not authorize conflicting uses of activities in transportation and utility corridors.
   (Forestwide)

   Minerals (MIN)
   Management Approaches
   National Forest System lands are important storehouses of domestic minerals and energy resources. The
   search for and production of minerals and energy resources are authorized uses of National Forest System
   lands, except those lands formally withdrawn from mineral activities by acts of Congress or by executive
   authority. Mineral activities on National Forest System lands are facilitated in compliance with the
   national Mining and Mineral Policy Act and are consistent with the Agency mission.

   Minerals activities are administered through a plan of operations, which includes permits as well as the
   reclamation and mitigation measures necessary to protect resources.

   The Abandoned Mine Lands program addresses past mines that are no longer active. These can pose a
   hazard to the public, wildlife, and the environment. The program evaluates abandoned mines across the
   unit and the impacts of these. Mine closures consider and assess needs related to other resources as well,
   such as wildlife. The program uses partners to evaluate and complete the process.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for mineral
   resources comes from Forest Service manuals and handbooks, specifically 2800. Higher level direction is
   not repeated here but should be consulted during project-level design, preparation, and analysis. In
   addition the direction below tiers up to higher level direction including but not limited to the Minerals
   Leasing Act and the Mineral Materials Act. All higher level direction that is applicable but not repeated
   here is contained in Appendix I.

   Standard operating procedures assure protection of water quality and fish habitat. The list below
   addresses management of recreational dredging that occurs on the Forest.

       1. Limit the use of the practice to outside of critical life-stage periods in streams that have Rio
          Grande cutthroat trout core conservation populations.
       2. The Forest geologist (or designated authority) will review the notice of intent prior to the
          commencement of activities.
       3. Where possible, retain existing instream and riparian vegetation and other features, including but
          not limited to trees, bushes, shrubs, weeds, or tall grasses along streambanks, natural, large wood
          debris, and large boulders.
       4. Operations should not change the stream channel to direct water flow into a streambank or cause
          bank erosion or destruction of the natural form or the stream channel.
       5. Whenever practical, prevent the release of silt, sediment, sediment-laden water, or any other
          deleterious substances into the watercourse.
       6. Keep equipment and machinery in good operating condition, power washed, and free of leaks,
          excess oil, and grease.
       7. Locate the point of discharge to the creek immediately downstream of the worksite to minimize
          disturbance to downstream populations and habitats.

   Guidelines
   G-MIN-1: Mining activities can be acknowledged when the activity does not cause substantial surface
   disturbance or unacceptable impacts to water quality or fish habitat. Aspects of operation will be

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   contained in the notice of intent. A plan of operations will be required for any activities above the scope of
   a notice of intent. (Forestwide)

   Recreation Management (REC)
   Management Approaches
   Direction below applies to the recreation management program. The natural environment of the Forest
   offers settings for a wide range of high-quality recreation opportunities, including motorized and
   nonmotorized opportunities. The Forest provides a variety of summer and winter recreation opportunities
   that allow visitors to escape from urban environments and enjoy a range of experiences in a variety of
   rural to primitive settings. Outdoor recreation opportunities include hiking, biking, fishing, hunting,
   wildlife viewing, driving for pleasure, and the pursuit of spiritual values provided by the natural
   environment.

   Relationships with partners, cooperators, and permittees are vital to the success of the recreation program,
   as are building, sustaining, and leveraging strategic relationships to sustain high-quality recreation
   settings and opportunities.

   Recreation development and travel routes are consistent with the recreation opportunity spectrum class
   designations.

   Strategically invest available resources (e.g., time, budget, expertise) to support long-term recreation
   program goals. Developed recreation assets ae aligned with projected facility budgets, partnership
   capabilities, and other re-investment strategies.

   The Forest intends to encourage cooperators to be involved in stewardship activities and framework
   design.

   Leverage recreation special use permits to accomplish recreation program goals and serve the public.

   Readily available off-site and on-site information about Forest recreation opportunities is available at fee
   campgrounds.

   When campground occupancy is less than 20 percent for at least one season, determine whether to close
   the campground, convert it to a dispersed site, or take other action.

   Coordinate trail development with systems developed by municipalities, counties, states, other agencies,
   and partners to promote integration and connectivity. Consider loop trails where feasible, particularly at
   low elevations.

   The Forest intends to consider using concessionaire operations when fees are charged at developed sites.

   When use exceeds the capacity of an area for a recreation opportunity spectrum class, employ the
   following actions to address the impacts or effects on the recreation setting: Provide information to the
   public and restore the site, regulate use at the site, restrict the number of users, and finally close the site.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for management
   of recreation resources comes from Forest Service manuals and handbooks, specifically 2300. Higher
   level direction is not repeated here but should be consulted during project-level design, preparation, and
   analysis. In addition the direction below tiers up to higher level direction including but not limited to the
   National Trails System Act and The Wilderness Act. All higher level direction that is applicable but not
   repeated here is contained in Appendix I.

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   Desired Conditions
   DC-REC-1: A variety of enduring recreation opportunities are available across a variety of settings that
   foster high-quality, year-round developed and dispersed experiences. Development of facilities and travel
   routes is consistent with the recreation opportunity spectrum class designations. Recreation facilities and
   programs incorporate universal design concepts and meet current Federal accessibility guidelines unless
   doing so fundamentally alters the setting or character of the program. (Forestwide)

   DC-REC-2: Sites and facilities are designed to be long-lasting, require low maintenance, and incorporate
   “green” operations. The sites and facilities should also complement the natural setting. (Forestwide)

   Objectives
   OBJ-REC-1: Develop three trail connections between strategic community areas and National Forest
   System trails within 15 years. (Forestwide)

   Standards
   S-REC-1: Manage, rehabilitate, or close dispersed recreational use areas when:

   •     Use area condition reaches Frissell-Cole Class 4 or 5 (compromised natural environment), or
   •     User conflicts substantially disrupt user experience and/or safety and closure is the only alternative
         (compromised human environment)
   S-REC-2: Do not allow campsites to be established for more than 14 consecutive days in any 30 day
   period. (Forestwide)

   Guideiines
   G-REC-1: To reduce user conflicts and resource damage, activities and project should not be authorized
   if they exceed the developed, appropriate threshold for the recreation opportunity spectrum objectives
   shown Table 9.

   Figure. Recreation opportunity spectrum capacity levels

   [Capacity range is defined as follows: Very Low and Low apply to rock, mountain grass, and clearcuts 1 to 20 years
   old. Moderate applies to mountain grass, mature and pole-sized ponderosa pine, mature aspen, and shelterwood
   cuts 90 to 120 years old. Selection cut 1 to 20 years old and clearcuts 80 to 120 years old. High applies to mature
   and pole-sized spruce, pole-sized aspen, and clearcuts 20 to 80 years old; ROS, recreation opportunity spectrum;
   PAOT, persons at one time; M acres, 1,000 acres.]

        ROS Class/Capacity Range         Very Low            Low            Moderate            High
       Primitive
       Trail (PAOT/mile)                    0.5                1                2                 3
       Area-wide (PAOT/M acres)              1                2                 7                25
       Semiprimitive Nonmotorized
       Trail (PAOT/mile)                     2                 3                9                11
       Area-wide (PAOT/M acres)              4                 8               50                80
       Semiprimitive Motorized
       Trail (PAOT/mile)                     2                 3                9                11
       Area-wide (PAOT/M acres)              4                 8                10               40
       Roaded Natural
       Trail (PAOT/mile)                     2                 3                9                11



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     ROS Class/Capacity Range         Very Low           Low           Moderate           High
    Area-wide (PAOT/M acres)              40              80             1,200           2,500
    Rural
    Trail (PAOT/mile)                     2                3               9               11
    Area-wide (PAOT/M acres)             500             800             5,000           7,500


   Scenery (SCNY)
   Management Approaches
   The scenery management system provides a systematic approach for determining the relative value and
   importance of scenery on the Forest. Scenery management involves identifying scenic components as
   they relate to people, mapping these components, and assigning a value for aesthetics. Forest plan
   direction helps incorporate scenery as a part of ecosystems to determine trade-offs at the project level.

   The Rio Grande National Forest provides a scenic backdrop and contributes to the identities of
   communities in and around the San Luis Valley. Managing scenic resources ensures quality sightseeing
   and recreation opportunities. Colorado tourism thrives on outdoor recreation and the beautiful scenery of
   the Rocky Mountains.

   Areas with low scenic integrity are rehabilitated to gain compliance with mapped scenic integrity levels.

   The Forest Service identity is retained by constructing, reinforcing, and maintaining structures and
   building features consistent with the principles in the Built Environment Image Guide to complement the
   scenic character of the natural surroundings.

   Management practices are designed to produce forest composition, structure, and patterns similar to those
   that would have occurred under natural disturbance regimes.

   The direction below is specific to the Rio Grande National Forest. Higher level direction for scenery
   resources comes from Forest Service manuals and handbooks, specifically 2300. Higher level direction is
   not repeated here but should be consulted during project-level design, preparation, and analysis. In
   addition, the direction below tiers up to higher level direction including but not limited to the Wilderness
   Act. All higher level direction that is applicable but not repeated here is contained in Appendix I.

   Desired Conditions
   DC-SCNY-1: Areas of high scenic quality are provided, especially in areas seen from roads and trails,
   developed recreation sites, administrative sites, and towns and cities near the Forest. (Forestwide)

   DC-SCNY-2: Vegetation treatments visually blend with existing scenic character. (Forestwide)

   DC-SCNY-3: The transition from Forest lands to adjacent lands with similar desired conditions does not
   exhibit abrupt changes in scenic quality. (Forestwide)

   Standards
   S-SCNY-1: Management activities are consistent with identified scenic integrity objectives. Short-term
   impacts, less than 5 years, inconsistent with the scenic integrity objectives may occur. Restoration
   activities designed to meet or exceed identified scenic integrity objectives should begin within 2 years.
   (Forestwide)



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   Guidelines
   G-SCNY-1: Design management activities to minimize impacts to valued scenic attributes and scenic
   character. Line, form, color, texture, size, shape, edge effect, and patterns of natural vegetation openings
   compliment surrounding scenic character. (Forestwide)




   Appendix B. Management Area Specific Direction
   This chapter summarizes the physical, biological, social, and economic environments of the planning area
   and the effects of implementing each alternative on that environment.

   Management Areas (MA)
   Forest management provides direction for a mix of environments across the landscape. A forest plan
   divides a national forest into areas with similar management emphasis and settings in much the same way
   that city zoning zones municipalities to permit or prohibit certain land uses.

   National Forest System lands within the Forest boundary have been divided into nine management areas,
   each with a different emphasis that is intended to direct management activities on that particular piece of
   land. Management area allocations are specific to the areas across the Forest with similar management
   needs and desired conditions.

   Management area categories are listed in Table 10.

   Figure. Management areas
    Management
       Area                                Management Area Emphasis
      Number
          1        Designated Wilderness
        1.1a       Recommended Wilderness
          3        Roadless Areas
         4.1       Special Designation: Special Interest Areas
         4.2       Special Designation: Research Natural Areas
        4.21       Special Designation: Scenic Byways and Railroads
        4.34       Special Designation: Eligible and Suitable Wild, Scenic, and Recreational Rivers
         4.8       Special Designation: Ski-based Resorts
          5        General Forest and Rangeland


   Overlapping Management Area Direction
   Overlapping management direction occurs when a special feature occurs within another management
   area, for example, when a research natural area occurs within a wilderness boundary. The direction related
   to wilderness is the most restrictive and is established by Congress. A research natural area that occurs
   within a wilderness area boundary is bound by all of the laws, regulations, policies, and forest plan



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   direction that applies to wilderness as well as by direction related to the management of that individual
   research natural area.

   For Management Area 1.1 - Designated Wilderness, any management proposed in areas where other
   management areas overlap would be done in compliance with wilderness direction. Overlapping
   management areas are described below.

   Approximately 11,482 acres of Management Area 4.2 - Special Designation: Research Natural Areas
   occur within the boundaries of designated wilderness. Research natural areas are recommended by forest
   supervisors in coordination with Forest Service research station directors and are designated by the Chief
   of the Forest Service. These areas are used as a baseline for measuring ecological changes and as control
   areas for evaluation and monitoring. Research natural areas that overlap with designated wilderness
   include three areas in the Sangre de Cristo Mountains: the Mill Creek, Deadman Creek, and North Zapata
   Research Natural Areas. A portion of the Mill Creek Research Natural Area overlaps with recommended
   wilderness as well.

   An estimated 15,575 acres of designated wilderness is also managed as Management Area 4.34 - Special
   Designation: Eligible and Suitable Wild, Scenic, and Recreational Rivers. These areas would be managed
   to enhance or maintain the outstandingly remarkable features responsible for river designation while
   complying with wilderness practices and restrictions. Approximately 161 acres of Management Area 4.34
   overlap with Management Area 1.1a - Recommended Wilderness. Additionally, an estimated 483 acres of
   research natural area (Management Area 4.34) overlaps with special interest area (Management Area 4.1),
   and wilderness (Management Area 1). Management proposed on these acres would have to be in
   compliance with wilderness requirements if that area is carried forward in the analysis of wild, scenic, and
   recreational river direction and any direction for that specific special interest area.

   Approximately 7,313 acres of overlapping management area occurs with research natural areas
   (Management Area 4.2) and designated eligible and suitable wild, scenic, and recreational rivers
   (Management Area 4.34). Management activities that might occur in these areas would need to be in
   compliance with all management areas.

   Approximately 856 acres of recommended wilderness (Management Area 1.1a) overlap with
   Management Area 4.34 - Special Designation: Eligible and Suitable Wild, Scenic, and Recreational
   Rivers and Management Area 4.1 - Special Designation: Special Interest Areas.

   An estimated 2,947 acres of recommended wilderness (Management Area 1.1a) overlap with existing
   special interest areas (Management Area 4.1). Any activities or management proposed in this area would
   have to be done in compliance with wilderness practices and meet direction for that specific special
   interest area.

   Overlapping management areas also occur in Management Area 4.2 for research natural areas. As stated
   previously, the most restrictive management direction would apply when working in areas with
   overlapping direction. When this occurs, the most restrictive level of management would be the most
   constraining.

   Research natural areas also overlap with the acres designated as Colorado roadless areas. The 5,018 acres
   overlap with roadless areas in the Finger Mesa Research Natural Area on the Divide Ranger District. If
   management were to occur on these acres, it would have to be compliant with both the direction for the
   research natural area and the roadless designation. Estimated acreage of management areas is listed in
   Table 11.



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   Figure. Estimated acreage of management areas
    Management
       Area                              Management Area Emphasis                                Estimated Acres
      Number
          1        Designated Wilderness                                                             392,138
        1.1a       Recommended Wilderness                                                            40,052
          3        Roadless Areas                                                                    519,798
         4.1       Designated Area: Special Interest Areas                                           26,939
         4.2       Designated Area: Research Natural Areas                                           23,861
        4.21       Designated Area: Scenic Byways and Railroads                                      27,501
        4.34       Designated Area: Eligible and Suitable Wild, Scenic and Recreational Rivers       35,869
         4.8       Designated Area: Ski-based Resorts                                                 1,632
          5        General Forest and Rangelands                                                     837,269


   Management Area 1 - Wilderness
   Desired Conditions (MA 1)
   Wilderness is designated by Congress and managed in accordance with the Wilderness Act of 1964.
   Management in these areas protects and perpetuates natural ecological processes and conditions. Natural
   ecological conditions in designated wilderness are not measurably affected by human use. Management of
   these area protects the overall wilderness character as described in the Wilderness Act (1964).
   Approximately 23 percent of the Forest, 430,000 acres, is designated as wilderness. The La Garita
   Wilderness Area, the Sangre de Cristo Wilderness Area, the South San Juan Wilderness Area, and the
   Weminuche Wilderness Area all occur on the Rio Grande National Forest. All of these areas are jointly
   managed with each area having a lead forest identified. Each of the four areas has a specific wilderness
   plan that directs and guides on-the-ground management.

   Natural succession, influenced by natural processes and disturbances, occurs in all vegetation types.
   Structure, composition, function, and spatial distribution of vegetative types are the result of natural
   succession. Where no natural disturbance has occurred, vegetation is mostly in late-successional stages.

   Age and structure classes may vary where natural disturbance agents, such as fire or insects, have
   influenced the succession process. Plant species are native and indigenous to the immediate area.
   Populations of nonnative invasive plant species are limited, and ongoing management activities control
   existing populations and eradicate new species before they can become established. Forage for wildlife,
   permitted livestock, and packstock is available in meadows and natural openings. Forage availability may
   be limited due to topography and short growing seasons. Human influences on vegetation is minimal.
   Timber harvest is prohibited and this area is not included in the suitable timber base.

   Wildlife species are buffered from human influences. No nonnative animal species are introduced. Human
   influence on aquatic life and riparian areas and processes is minimal in most areas. The composition,
   structure, and function of aquatic ecosystems are minimally disturbed by human influence. Stocking is
   used as a tool to enhance threatened, endangered, and candidate species and to enhance recreational
   opportunities. Water impoundments, ditches, and diversions may be present in designated wilderness
   areas.

   Designated wilderness areas favor solitude; users are expected to be familiar with and use primitive skills
   in an environment that offers a high degree of risk and challenge. Success or failure is directly dependent
   on the ability, knowledge, and initiative of the visitor. Contact with other users or Forest Service

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   personnel decreases with increasing distance from the entry portals. Near the entry portals, users may
   have contact with larger groups. Commercial permitting for day-use activities is allowed in high-use
   areas. Evidence of established campsites and base camps may be present. An element of discovery is
   maintained. The presence of interpretive signs, markers, and posts decreases with increasing distance
   from the entry portals, though cairns may be present. Near the entry portals, trails are marked at
   intersections to indicate routes. Evidence of cultural and historic sites may be present, and these sites may
   be signed and interpreted near entry points. Structures or facilities may be present but only as necessary
   for resource protection when less obtrusive measures were not successful in the past. Human influence on
   physical features, such as soil and geologic materials, is minimal. Outfitter-guide recreation special uses
   support identified public needs and provide service to the extent necessary for realizing the recreational or
   wilderness purpose.

   Trails are the primary mode of travel from the entry portals. Trail systems favor user safety and comfort.
   Bridges may be present when needed for resource protection or user safety. The presence of constructed
   trails decreases with increasing distance from entry portals, and travel deep within wilderness is primarily
   cross-country with no established trails. User-created trails may exist but are not maintained or designated
   on maps or trail guides. Trails support wilderness experiences and preserve wilderness characteristics.

   Livestock grazing is authorized and present.

   Evidence of past mining activity may be present but is rare. Designated wilderness areas are withdrawn
   from locatable mineral entry and are legally unavailable for oil and gas leasing.

   Visibility is generally unimpaired. Smoke from wildfires may be visible. The scenic integrity ranges from
   very high to high, and the recreation opportunity spectrum class ranges from primitive to semiprimitive
   nonmotorized.

   Forestwide desired conditions applicable to wilderness are also contained in Chapter 2.

   Management Specific Management Approaches (MA 1)
   Existing trails are primitive and maintained to minimize resource damage. The following actions will be
   taken as needed:

   •   Reduce evidence of trails
   •   Eliminate duplicate routes
   •   Remove trails from maps where repeated travel over the same route is to be discouraged.
   Restrict signs to trail intersections. Limit bridges and other reminders of management control to those
   needed for resource protection.

   Build bridges for user safety, not for user convenience, using native materials.

   Signage and other infrastructure is minimal and constructed of rustic, native, or natural-appearing
   materials.

   Manage eligible and listed historic structures to be compatible with the wilderness setting.

   Maintain campsites in Frissell-Cole Class 2 or 3.

   Fish stocking emphasizes a wild fishery, where species perpetuate themselves over time and are affected
   primarily by the forces of nature. Some high mountain lakes may be stocked to support indigenous


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   threatened, endangered, and proposed species as well as species of conservation concern. Species of fish
   that are not indigenous to the area or that are exotic will not be stocked.

   Rockhounding activity must not exceed 50 pounds per person per day or interfere with existing rights,
   and specimens may only be collected for personal, noncommercial uses.

   Prohibit pets from harassing wildlife or people. Voice control or physical restraints are acceptable.

   Consider the following to minimize human impacts in wilderness:

   •   Limit the number of private outfitter-guide camps
   •   Encourage the use of self-contained stoves or prohibit campfires
   •   Implement a permit system
   •   Implement party-size and pack-animal limitations
   •   Prohibit dogs or implement an on-leash requirement.
   Where appropriate, post printed wilderness information at trailheads outside of the wilderness boundary.

   Use a Minimum Requirements Decision Guide, or current tool, when considering any action that involves
   motorized, or mechanized use, or both in wilderness.

   Restoration activities (e.g., prescribed fire, active weed management) may be used in recommended
   wilderness areas to protect or enhance the wilderness characteristics.

   Significant historic structures can be considered as having cultural values and, when present, may be
   eligible for protection or restoration.

   Management Area Specific Standards (MA 1)
   S-MA. 1-1: Protect and preserve wilderness values and character in congressionally designated
   wilderness, as well as in areas recommended for wilderness designation.

   S-MA. 1-2: Activities authorized by special use permit within wilderness:

   •   Will involve minimal physical, visual, and noise disturbance
   •   Will not result in permanent structures
   •   May exceed the group size limitation when the activity:
       •   Will benefit the wilderness character
       •   Is necessary for public health and human safety.
   S-MA. 1-3: Group size may not exceed more than 15 people per group, with a maximum combination of
   people and stock not to exceed 25.

   S-MA. 1-4: Unless justified by terrain, prohibit recreational livestock within 100 feet of lakes and streams.

   Management Area Specific Guidelines (MA 1)
   G-MA. 1-1: Pristine management areas of a wilderness should not be changed to a lesser standard of
   naturalness in order to disperse recreation use from other parts of the wilderness.




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   Management Area Specific Land Suitability (MA 1)
   SUIT-MA 1-1: Designated wilderness areas are suitable for removal of salable mineral material including
   but not limited to sand, stone, and gravel.

   SUIT-MA 1-2: Wilderness areas are not suitable for timber production or timber harvest.

   SUIT-MA 1-3: Wilderness areas are not suitable for commercial use of non-timber forest products,
   including but not limited to firewood, posts, and boughs.

   SUIT-MA 1-3: Grazing is an authorized activity.


   Management Area 1.1a - Recommended Wilderness
   These are areas that are recommended future inclusion in the National Wilderness Preservation System.
   The Forest Service only recommends these lands. Decisions to designate these as wilderness is made by
   the U.S. Congress. Congress, and ultimately the President, must establish legislation, through a
   wilderness bill, to officially designate a wilderness area.

   The specific areas being recommended include an estimated 40,052 acres located in the Sangre de Cristo
   range.

   Management Area Specific Desired Conditions
   Recommended wilderness areas preserve opportunities for inclusion in the National Wilderness
   Preservation System. The Forest maintains and protects the ecological and social characteristics that
   provide the basis for wilderness recommendations.

   These areas are characterized by a natural environment where ecological process such as natural
   succession, wildfire, avalanches, insects, and disease function with limited human interaction.

   Management Area Specific Standards
   S-MA 1.1a-1: Commercial communication sites shall be located outside of recommended wilderness
   areas.

   Management Area Specific Guidelines
   G-MA 1.1a-1: To maintain and protect wilderness characteristics, communications sites for public safety
   that are managed by other agencies should be located outside of recommended wilderness area unless no
   other alternative is available. Communications sites that need to be located in recommended wilderness
   should blend with the environment and be located away from system trails and developed use sites.

   G-MA 1.1a-2: To maintain and protect wilderness characteristics, new developed recreation facilities
   with provisions for user comfort, such as picnic tables, fire grills, and vault toilets, should not be installed.

   Management Area Specific Land Suitability Determinations
   SUIT-MA 1.1a-1: Recommended wilderness areas are not suitable for timber production; timber harvest
   is not allowed.

   SUIT-MA 1.1a-2: Recommended wilderness areas are suitable for restoration activities where the
   outcomes will protect the wilderness characteristics of the area, as long as the ecological and social
   characteristics that provide the basis for wilderness recommendation are maintained and protected.


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   SUIT-MA 1.1a-3: Recommended wilderness is not suitable for road construction or reconstruction.

   SUIT-MA 1.1a-4: Recommended wilderness areas are not suitable for removal of salable mineral
   materials, including but not limited to sand, gravel, and stone.

   SUIT-MA 1.1a-5: Mechanized transport and motorized use are not suitable in recommended wilderness.

   Management Area 3 - Colorado Roadless Areas
   Roadless areas emphasize protection of roadless area values and characteristics. The Colorado Roadless
   Rule was enacted on July 3, 2012. The Colorado Roadless Rule provided management direction to
   conserve 4.2 million acres of National Forest System lands statewide for roadless values, including
   approximately 519,798 acres in 53 areas of the Forest.

   The Colorado Roadless Rule is being wholly incorporated into forest plan direction. The areas designated
   in the Colorado Roadless Rule are contained in Table 12.

   Figure. Roadless areas in the Forest established by the 2012 Colorado Roadless Rule
                                               Includes                                     Includes
                   Roadless Area Name         Upper Tier        Roadless Area Name         Upper Tier
                                                Acres                                        Acres
       Alamosa River                             Yes       Lake Fork                          Yes
       Antora Meadows-Bear Creek                 Yes       Lower East Bellows                 Yes
       Beartown                                  Yes       Middle Alder                       Yes
       Beaver Mountain                           Yes       Miller Creek                        No
       Bennett Mountain-Blowout-Willow
                                                 Yes       Pole Creek                          No
       Creek-Lion Point-Greenie Mountain
       Big Buck-Kitty-Ruby                       Yes       Pole Mountain-Finger Mesa          Yes
       Box-Road Canyon                           Yes       Red Mountain                       Yes
       Bristol Head                              Yes       Ruby Lake                          Yes
       Butterfly                                  No       Sawlog                             Yes
       Chama Basin                               Yes       Sheep Mountain                     Yes
       Conejos River-Lake Fork                    No       Silver Lakes-Stunner               Yes
       Copper Mountain-Sulphur                   Yes       Snowshoe Mountain                  Yes
       Cotton Creek                               No       Spectacle Lake                      No
       Crestone                                   No       Spruce Hole-Sheep Creek            Yes
       Cumbres                                   Yes       Stunner Pass-Dolores Canyon        Yes
       Deep Creek-Boot Mountain                  Yes       Sulphur Tunnel                      No
       Dorsey Creek                              Yes       Summit Peak-Elwood Pass            Yes
       Elkhorn Peak                              Yes       Taylor Canyon                      Yes
       Fourmile Creek                            Yes       Tewksberry                         Yes
       Fox Creek                                 Yes       Tobacco Lakes                      Yes
       Fox Mountain                              Yes       Trout Mountain-Elk Mountain        Yes
       Gibbs Creek                                No       Ute Pass                           Yes
       Gold Creek-Cascade Creek                  Yes       Wason Park                         Yes
       Hot Springs                                No       Wightman Fork-Upper Burro          Yes
       Indiana Ridge                             Yes       Wightman Fork-Lookout              Yes


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                                                 Includes                                        Includes
                   Roadless Area Name           Upper Tier        Roadless Area Name            Upper Tier
                                                  Acres                                           Acres
       Kitty Creek                                  No       Willow Mountain                       Yes
       La Garita                                   Yes


   The intent stated in the Colorado Roadless Rule “is to protect roadless values by restricting tree
   cutting, sale, and removal; road construction and reconstruction; and linear construction zones
   within Colorado Roadless Areas, with narrowly focused exceptions.” (Federal Register, vol. 77,
   no. 128, Tuesday July 3, 2012, pp. 39602-39612). Colorado roadless areas and upper tier acres
   areas are both included in Management Area 3 - Roadless. A detailed description of this
   management area and the accompanying direction is also contained in the 2012 Colorado
   Roadless Rule (36 CFR Part 294). Motorized and mechanized use can occur in these areas.

   Desired Conditions
   Colorado roadless areas and upper tier acres are generally undeveloped parts of the Forest that provide a
   variety of settings at different elevations. They are managed to protect roadless characteristics and to
   maintain plant and animal habitats that are shaped primarily through natural processes. These areas
   provide backcountry recreational experiences to the public in areas with less evidence of human activities.

   Landscapes in these areas are predominantly natural appearing and relatively undisturbed by humans.
   Natural processes within the context of the range of natural variability (insects, disease, and fire) are
   generally allowed to occur with minimal human intervention.

   Limited amounts of vegetation manipulation may occur in upper tier acres areas. Trees may be cut, sold,
   and removed when incidental to implementation of another authorized management activity or when
   needed for personal or administrative use.

   The probability of experiencing solitude in these areas is high. Frequent opportunities for challenge and
   risk require a degree of self-reliance. Facilities are minimal and exist primarily for site protection.
   Recreational improvements, such as signs, may be present. Trailheads offer information and directional
   signage.

   Trails provide a wide range of challenging recreational opportunities including horseback riding,
   mountain bike riding, and motorized travel on designated routes. Cross country (off trail) motorized travel
   is limited to over-the-snow use unless otherwise prohibited. Hunting and fishing opportunities are
   available for those seeking a more remote experience.

   The number of miles of motorized and nonmotorized travel will not substantially change over the
   planning period. Activities meet the assigned recreation opportunity spectrum class and scenic integrity
   objectives.

   Management Area Specific Standards
   S-MA3-1: The Colorado Roadless Rule direction at 36 CFR 294 Subpart D will be adhered to.

   Management Area Land Suitability
   SUIT-MA3-1: Mechanized and motorized use is authorized on roads and designated trails.

   SUIT-MA3-2: Cross country over-the-snow use is authorized.


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   SUIT-MA3-3: This area is not part of the suitable timber base.

   SUIT-MA3-4: Incidental timber harvest may occur when associated with another authorized management
   activity. Personal or administrative use is permitted.

   Management Area 4
   Management Area 4 emphasizes recreation and scenery. The five divisions represent areas that are
   designated for specific reasons that can include research; unique special areas; scenery; wild, scenic, and
   recreational rivers; and ski resorts.

   Features in these areas are often interpreted to increase the public’s knowledge of the areas and the
   features found there as well as to connect people with the land and the natural environment.

   Some areas are included in the suitable timber base and are available for commercial timber harvest.

   Management Area 4.1 - Special Designation - Special Interest Areas
   Desired Conditions
   Special interest areas favor the protection or enhancement of unique characteristics that occur across the
   Forest. Special interest areas typically contain unique botanical, geologic, historical, scenic, or cultural
   areas and values. Education and interpretation of the characteristics for which the area was designated are
   encouraged and are accomplished in conjunction with partners, private citizens, tribes, and other agencies.

   Management Area Specific Management Approaches
   Facilities are designed to meet management objectives.

   Vegetation treatment may be used to maintain or enhance special or unique values of the area.

   Special use permits are appropriate for scientific or educational activities that are compatible with the
   values for which the area was created.

   Management plans are prepared to explain and protect the values for which the area was created.

   Management Area Specific Guidelines
   G-MA4.1-1: Activities should meet the assigned recreation opportunity spectrum class and scenic
   integrity objectives.

   Management Area Specific Land Suitability
   SUIT-MA4.1-1: Grazing is an appropriate and authorized use unless it is in conflict with the values for
   which that area was created.

   SUIT-MA4.1-2: These areas may be suitable for timber harvest.

   Management Area 4.2 - Special Designation - Research Natural Areas
   Desired Conditions
   Research natural areas preserve representative areas with important forest, shrubland, grassland, alpine,
   aquatic, geologic, or other natural environments. They may have special or unique characteristics, or
   scientific importance. The management emphasis of these areas focuses on protecting or enhancing
   unique or exemplary ecosystems designated for non-manipulative research, monitoring, and education.

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   Research natural areas contribute to the preservation and maintenance of key elements of biological
   diversity at the genetic, species, population, community, and landscape levels. These areas are intended as
   baseline areas for measuring ecological changes, and as control areas for evaluation and monitoring.

   Management Area Specific Management Approaches
   Low-impact uses such as camping, fishing, horseback riding, and hunting can occur unless otherwise
   restricted. Increases in recreation use that would threaten or interfere with the objectives or purposes for
   which the research natural area was established should be restricted.

   Trails created prior to establishing the area can continue to be used for recreation and scientific research
   or educational access, unless values for establishment of the area are threatened. No new trail construction
   should occur unless needed to correct resource damage from existing trails.

   Outbreaks of native insects and diseases should proceed without intervention, unless they are a substantial
   threat to important resources outside of the research natural areas. Use control methods for insect and
   disease outbreaks that minimize disturbance.

   Habitat manipulation for the protection of threatened, endangered, and proposed species, or where it is
   necessary to perpetuate or restore natural conditions, may occur.

   Special uses that do not conflict with the values for which the research natural area was established may
   continue. Proposals for non-manipulative research should be approved by the station director and the
   district ranger before implementation.

   Comprehensive management plans should be developed in coordination with Forest Service Research.

   Where feasible, undesirable nonnative plant and animal species should be managed.

   Management Area Specific Standards
   S-MA4.2-1: Prohibit motorized and mechanized use, except when necessary for research or educational
   access.

   Management Area Specific Guidelines
   G-MA4.2-1: Activities should meet the assigned recreation opportunity spectrum class and scenic
   integrity objectives.

   Management Area Specific Land Suitability
   SUIT-MA4.2-1: Livestock grazing is present when it is not in direct conflict with the resource values that
   prompted establishment of the area.

   SUIT-MA4.2-2: Commercial timber harvest is prohibited.

   Management Area 4.21 - Special Designation - Scenic Byways and
   Scenic Railroads
   Desired Conditions
   These areas are managed to protect or preserve the scenic and recreation values and uses in designated
   scenic byways and scenic railroad corridors while concurrently managing the multiple-use values of the
   landscape. This management prescription applies to the Silver Thread and Los Caminos Antiguos Scenic
   Byways, and the Cumbres and Toltec Scenic Railroad and National Historic Landmark.


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   Multiple-use management activities such as commercial timber harvest, wildlife management, recreation
   activities, and mineral extraction are present but not dominant on the landscape. Features may be
   interpreted for the public. Facilities may be developed to enhance opportunities for viewing scenery and
   wildlife. Activities and interactions are managed to maintain the scenic beauty for which the area is
   designated.

   Opportunities for solitude are limited. Visitors can expect frequent contact with other visitors. Roads,
   recreation facilities, range improvements, and other developments are evident but are managed to be in
   harmony with the natural environment. Recreation facilities could include scenic overlooks, interpretive
   signs, and rest areas as appropriate. Developed campgrounds are situated off the main travelway.
   Trailheads are easily accessible, but also are situated off the main travelway.

   Road systems are well signed and roads are generally passable by a passenger car. This area has access
   for motorized recreation activities off of the main travelways. Nonmotorized activities such as biking and
   horseback riding are focused on the available trails and roads.

   Activities meet the assigned recreation opportunity spectrum classes and scenic integrity objectives.

   Management Area Specific Management Approaches
   Vegetation management maintains or enhances viewing opportunities.

   Management Area Specific Management Approaches
   SUIT-MA4.21-1: This is part of the suitable timber base.

   SUIT-MA4.21-2: Grazing is an authorized use unless otherwise restricted.

   Management Area 4.34 - Special Designation - Eligible and Suitable
   Wild, Scenic, and Recreational Rivers
   Desired Conditions
   Congress created the National Wild and Scenic Rivers System in 1968 (Public Law 90-542) to preserve
   selected rivers that have outstanding natural, cultural, and recreational values in a free-flowing condition
   for the enjoyment of present and future generations. The Wild and Scenic Rivers Act seeks to protect
   these rivers while at the same time acknowledging the benefits and necessity of appropriate developments
   within the river corridor. Appendix B has a detailed description of the application of the Wild and Scenic
   Rivers Act to the Forest.

   No river segments have been designated under the Wild and Scenic Rivers Act. The eligible and suitable
   river segments listed in Table 13, with the exception of Deadman Creek, were in the 1996 forest plan. The
   outstandingly remarkable values identified in the 1996 forest plan remain applicable today. Segments of
   Medano and Little Medano Creeks have been removed from the inventory of eligible streams because
   they are now administered by the National Park Service (Great Sand Dunes National Park and Preserve
   Act of 2000).

   Management areas for eligible and suitable wild, scenic, and recreational river segments extend a
   minimum of one-quarter mile on either side of the mean high water mark, but may be larger to protect
   identified outstandingly remarkable values.

   Activities meet the assigned recreation opportunity spectrum class and scenic integrity objectives.



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   Forest Service Handbook 1909.12, 2015-1, Chapter 80 prescribed the following desired conditions for all
   eligible or suitable river segments:

   •      The outstandingly remarkable values that were identified for each eligible or suitable river segment
          are preserved or enhanced until the river segment is designated or released from consideration.
   •      The current free-flowing nature of all eligible or suitable river segments is preserved or enhanced
          until the river segment is designated or released from consideration.
   •      The water quality of all eligible or suitable river segments is preserved or enhanced until the river
          segment is designated or released from consideration.
   •      On all eligible or suitable river segments, the conditions that lead to classification as wild, scenic, or
          recreational are preserved or enhanced such that no segments are changed from wild to scenic or
          recreational, or from scenic to recreational.

   Figure. Eligible and suitable river segments for inclusion in the National Wild and Scenic Rivers System
                                            Length                           Outstandingly Remarkable
             Stream or River Name                        Acres    Status                                      Classification
                                            (miles)1                                  Values
       Archuleta Creek                       5.69        1,889    Eligible       Scenic, Recreational            Scenic
                                                                                 Scenic, Recreational,
       Deadman Creek                         3.26        1,087    Eligible                                       Scenic
                                                                                  Historic, Biological
       East Fork Rio Chama                   3.18        1,078    Eligible       Scenic, Recreational            Scenic
       Hansen Creek                          6.72        2,067    Eligible       Scenic, Recreational             Wild
       Lower Rio de los Pinos                4.50        1,364    Eligible   Scenic, Recreational, Historic      Scenic
       Lower Rio Grande                      4.42        1,081    Eligible   Scenic, Recreational, Historic    Recreational
       Rio Grande (Box Canyon)               8.73        2,720    Eligible   Scenic, Recreational, Historic      Scenic
       Saguache Creek                        8.40        2,478    Eligible     Scenic, Historic, Cultural         Wild
       Toltec Creek                          2.88         525     Eligible   Scenic, Recreational, Historic       Wild
                                                                                 Scenic, Recreational,
       West Bellows Creek                    6.31        2,065    Eligible                                       Scenic
                                                                                       Geologic
       West Fork Rio Chama                   4.81        1,239    Eligible       Scenic, Recreational            Scenic
                                                       South Fork Rio Grande
       South Fork Rio Grande (above Big
                                             5.19        1,633    Eligible   Scenic, Recreational, Historic      Scenic
       Meadows Reservoir)
       South Fork Rio Grande (below Big
                                             11.98       3,016    Eligible   Scenic, Recreational, Historic    Recreational
       Meadows Reservoir)
       South Fork Rio Grande Total           17.17       4,649      NA                    NA                       NA
                                                           Conejos River
       El Rito Azul                          3.80        1,168    Suitable   Scenic, Recreational, Wildlife       Wild
       North Fork Conejos River              3.93        1,208    Suitable   Scenic, Recreational, Wildlife       Wild
       Middle Fork Conejos River             4.59        1,411    Suitable   Scenic, Recreational, Wildlife       Wild
       Conejos River (Three Forks to
                                             3.33        1,023    Suitable   Scenic, Recreational, Wildlife       Wild
       Platoro Reservoir)
       South Fork of the Conejos River       12.76       3,985    Suitable   Scenic, Recreational, Wildlife       Wild
       Conejos River below Platoro
                                             12.54       3,539    Suitable   Scenic, Recreational, Wildlife    Recreational
       Reservoir
       Conejos River Total                   40.95       12,334     NA                    NA                       NA
       Wild Rivers Subtotal                  46.41       13,865     NA                    NA                       NA


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                                                Length                                Outstandingly Remarkable
            Stream or River Name                             Acres       Status                                            Classification
                                                (miles)1                                       Values
       Scenic Rivers Subtotal                    41.67       13,075         NA                       NA                           NA
       Recreational River Subtotal               28.94        7,636         NA                       NA                           NA
       Rio Grande National Forest Total          117.02      34,576         NA                       NA                           NA
   1 Length, in miles, of the reaches has been updated from the 1996 forest plan to reflect the best available information; changes do
      not reflect alterations to the eligible or suitable river segments.


   Management Area Specific Management Approaches
   A suitability analysis should be initiated when a proposed action threatens the free flowing nature,
   outstandingly remarkable values, water quality, or scenic classification of an eligible or suitable river
   segment.

   The Forest intends to engage the local community on the status of eligible or suitable wild, scenic, and
   recreational river segments and include information on currently decreed federal reserved water rights in
   Colorado Water Division 3 (81CW183).

   Management Area Specific Standards
   S-MA4.34-1: Management actions preserve the classification, outstandingly remarkable values, and
   water quality of eligible and suitable river segments.

   S-MA4.34-2: Consistent with existing water rights decrees in Colorado Water Division 3 (81CW183), the
   free-flowing nature of eligible and suitable river segments shall be preserved.

   S-MA4.34-3: For eligible and suitable river segments, the width of the management area may vary to
   protect outstanding values, but will extend at least one-quarter mile on either side of the river segment.

   Management Area Specific Guidelines
   G-MA4.34-1: Management actions within the river corridors of eligible and suitable river segments shall
   be consistent with management direction contained in FSH 1909.12, Chapter 80, Section 84, or current
   direction.

   G-MA4.34-2: For eligible or suitable wild river segments:

   •     The recreation opportunity spectrum class is primitive
   •     The scenic integrity objective is very high.
   G-MA4.34-3: For eligible or suitable scenic river segments:

   •     The recreation opportunity spectrum class is semiprimitive motorized
   •     Activities will meet the adopted scenic integrity objective.
   G-MA4.34-4: For eligible or suitable recreational river segments:

   •     The recreation opportunity spectrum class is semiprimitive motorized
   •     Activities will meet the adopted scenic integrity objective.

   Management Area Specific Land Suitability
   SUIT-MA4.34-1: This is not part of the suitable timber base.



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   Management Area 4.8 - Ski-based Resorts
   Desired Conditions
   These areas are managed for their existing or potential use as ski-based resort sites. Wolf Creek Ski Area
   is the only resort permitted on the Forest. This is an area of concentrated use where visitors can expect a
   high degree of interaction and many facilities associated with the ski resort industry.

   Protection of recreation resources and public safety, including management of insects and disease, is the
   primary focus. Project implementation in this area maintains the possibility of winter sports recreation.
   Resource management activities are designed and implemented to maintain or enhance existing resources.

   Development in the area will be consistent with the terms and conditions of the special use permit,
   including submission of a master development plan. These lands are withdrawn from locatable mineral
   entry.

   Facilities are designed and constructed to blend with the natural area. Line and form, indicating past
   activities, and geometric shapes associated with ski-trail and lift development should be “softened” as
   opportunities becomes available.

   Activities meet the assigned recreation opportunity spectrum classes and scenic integrity objectives.

   Management Area Specific Management Approaches
   Vegetation management is included in resort management plans.

   Management Area Specific Land Suitability
   SUIT-MA4.8-1: Grazing is authorized on a limited basis with the agreement and cooperation of the
   permit holder.

   SUIT-MA4.8-2: This is part of the suitable timber base.

   Management Area 5 - General Forest and Rangelands
   This management area combines several management areas designated in the 1996 forest plan into one
   large area. A variety of management activities is present, including livestock grazing, management of
   wildlife habitat, developed and dispersed recreation, exploration and development of minerals and energy
   resources, and timber harvest. Characterized by forest and grassland communities, this area is managed
   with a multiple-use emphasis to achieve a variety of goals.

   Desired Conditions
   Management goals are met using a full range of silvicultural options. Harvest rotation periods vary
   depending on species, site, conditions, and management objectives. Timber management activities focus
   on a variety of management objectives, including but not limited to timber production, habitat
   management, restoration and maintenance, and management to meet stated recreation objectives, maintain
   vegetation cover for wildlife, and protect soil stability. All successional stages are represented. Natural
   landscape diversity is perpetuated including composition, structure, and function, and includes
   consideration within a spatial context—for example: what species, what kind of stand structure, and what
   kind of landscape patterns are natural, by ecosystem. Habitat of sufficient quality for wildlife dispersion
   exists between undeveloped areas of the Forest.

   A full range of activities is present with an emphasis on the production of commercial wood products.
   These areas have a high potential for timber growth, and operations focus on wood production. Suitable

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   forested areas are maintained with commercially valuable species at ages, densities, and sizes that allow
   growth rates and stand conditions that are conducive to providing a sustained yield of forest products.

   Landscape diversity is similar to natural conditions (composition, structure, and function) and includes
   consideration within a spatial context—for example: what species, what kind of stand structure, and what
   kind of landscape patterns are natural, by ecosystem. All succession stages are represented, including old
   forest. Mature stands are identified for old-forest characteristics (See Appendix A).

   Rangelands are composed of grassland ecosystems that maintain and improve desired vegetation
   conditions for livestock, wildlife, and recreational stock. These areas are characterized by a mix of
   grassland and forested ecosystems that features open meadows and other grasslands, intermixed with
   stands of aspens and conifers.

   Forested cover is interspersed with grassland areas and managed so that quality forage is readily
   available, depending upon site-specific conditions. Cover types on winter range areas frequently consist
   of lower-elevation pinyon-juniper communities, ponderosa pine, and warm-dry ecosystem types that may
   include Douglas fir, white fir, and aspen. Various shrub species such as mountain mahogany, sagebrush,
   rabbit-brush, gooseberry, and bitterbrush are interspersed with low-elevation grasses including fescues,
   squirrel tail, oat-grass, and needle and thread grass. Water sources provide water for both wildlife and
   livestock where it is a limiting factor on the landscape.

   Plant communities occur in a variety of successional stages to provide biological diversity of both plant
   and animal species. A variety of tools and methods is applied, including but not limited to timber harvest,
   prescribed burning, and planting.

   Watersheds, scenic resources, and wildlife habitat are restored in locations where past management
   actions have reduced resource effectiveness.

   This area has a well-developed transportation system that provides access for recreation opportunities and
   management. The area has numerous open roads that offer commercial access and roaded recreation
   opportunities, while roads with restricted access offer nonmotorized recreation opportunities.

   Access may be limited in some areas during the winter to reduce disturbance to wildlife. Vegetation
   management that occurs during the winter will have authorized access as needed. Access during other
   seasons is based on travel management objectives.

   Prescribed road densities of 1 mile per square mile provide for critical wildlife needs, in areas used for
   winter concentration, critical winter range, calving areas, and transition habitat.

   Where feasible, mutual population objectives are established with Colorado Department of Parks and
   Wildlife to provide maximum recreation opportunities while minimizing habitat and resource conflicts.
   Existing and potential partnerships strive to improve or enhance habitat and species numbers.

   Recreation opportunities and human disturbance are balanced to allow game species to effectively use
   resources while conserving energy reserves. Disturbance from motorized and mechanized activities is
   limited during the primary winter use period, generally from December 1 through March 31, or as needed.
   Winter weather increases secure habitat by limiting access; however, seasonal road closures or area
   closures are also used to attain the desired conditions.

   Viewing areas provide interpretation of the resources and management.

   Quality habitat provided for wildlife dispersion exists between undeveloped areas of the Forest.


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   Livestock grazing is present. Grazing systems are managed to provide quality forage for use by both big
   game species and livestock.

   Appropriate settings are offered that are suitable for a broad range of recreation opportunities. Dispersed
   and developed recreation areas are designated mostly along road corridors where opportunities for
   developed and undeveloped recreation can be managed as an integrated resource. These popular areas
   generally have access to water features or other natural attractions and offer a more social recreation
   experience with frequent visitor contacts.

   Insects and disease are managed to maintain the recreation resource.

   Summer homes, resorts, and organizational camps are present and managed to provide unique recreation
   opportunities. Developed recreation sites and facilities, such as campgrounds and picnic sites, are
   maintained and updated to meet customer needs. Management actions in dispersed sites maintain the
   natural characteristics that make the area popular.

   Forest visitors to these areas can expect to experience active forest management including timber harvest,
   livestock grazing, established infrastructure, and improvements. In timber harvest areas, stumps, logging
   slash, skid trails, and soil disturbance will be evident.

   Activities meet the assigned recreation opportunity spectrum classes and scenic integrity objectives.

   Opportunities exist for exploration and development of mineral and energy resources.

   Recreation facilities are improved on the basis of user demand. Users can expect to have a more social
   experience.

   Management Area Specific Management Approaches
   Coordinate domestic livestock grazing with vegetation management activities to ensure adequate
   regeneration of vegetation and prevent impacts on range improvements and natural barriers.

   Authorize retrieval of game using off-road vehicles from 12 p.m. to 5 p.m. daily when conditions would
   not provide damage to resources including soils and vegetation.

   Reduce fire hazard by treating fuels consistently with other resource uses and needs.

   Avoid or mitigate impacts to winter range in the operating and reclamation plan for locatable minerals.
   Avoid placing new roads in locations with important forage and cover.

   Manage forage and cover across the landscape to sustain ungulate populations and support population
   objectives.

   Design and manage livestock grazing strategies to provide the forage quantity and quality needed to
   sustain desired ungulate populations during the winter period.

   Grazing is only suitable in one research natural area, specifically Hot Creek Research Natural Area.
   Motorized and mechanized travel is only suitable on designated routes.

   Communication sites and renewable energy development are also subject to project-specific
   environmental review. Over-snow motorized travel is suitable in only three special interest areas,
   specifically the Bachelor Loop, Elephant Rocks, and Wagon Wheel Gap Experimental Station, and may
   be subject to timing restrictions to protect deer and elk winter range.


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   Vegetation treatments in developed recreation areas maintain or enhance recreation opportunities or
   contribute to visitor safety.

   Consider user conflicts when scheduling vegetation manipulation projects.

   Treat fuels resulting from vegetation manipulation projects commensurate with the risk of human-caused
   ignition.

   Harden or enforce additional restrictions on high-use dispersed sites to protect sensitive natural resources.

   Management Area Specific Standards
   S-MA5-1: Do not allow off-road travel on big game winter range areas, including over-the-snow
   vehicles, during the primary use seasons for big game (December 1 - March 31). Exceptions may be
   allowed under contract or special use authorizations.

   Management Area Specific Land Suitability
   SUIT-MA5-1: Off-road travel is not allowed on big game winter range during big game primary use
   seasons. Exceptions made be made for permittees or contractual obligations.
   SUIT-MA5-2: This is part of the suitable timber base.

   SUIT-MA5-3: Grazing is an authorized use.




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   Appendix C. Southern Rockies Lynx Amendment
   (see attachment, will be added as PDF)




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                      United States Department of the Interior
                                   FISH AND WILDLIFE SERVICE
                               Western Colorado Ecological Services Field Office
                                      445 West Gunnison Avenue, Suite 240
                                        Grand Junction, CO 81501-5711
                                  Phone: (970) 243-2778 Fax: (970) 245-6933
                               http://www.fws.gov/mountain-prairie/es/Colorado/
                                         http://www.fws.gov/platteriver/




   In Reply Refer To:                                                                March 09, 2020
   Consultation Code: 06E24100-2018-SLI-0505
   Event Code: 06E24100-2020-E-00488
   Project Name: Rio Grande National Forest Plan Revision

   Subject: Updated list of threatened and endangered species that may occur in your proposed
            project location, and/or may be affected by your proposed project


   To Whom It May Concern:

   The enclosed species list identifies threatened, endangered, proposed and candidate species, as
   well as proposed and final designated critical habitat, that may occur within the boundary of your
   proposed project and/or may be affected by your proposed project. The species list fulfills the
   requirements of the U.S. Fish and Wildlife Service (Service) under section 7(c) of the
   Endangered Species Act (Act) of 1973, as amended (16 U.S.C. 1531 et seq.).

   New information based on updated surveys, changes in the abundance and distribution of
   species, changed habitat conditions, or other factors could change this list. Please feel free to
   contact us if you need more current information or assistance regarding the potential impacts to
   federally proposed, listed, and candidate species and federally designated and proposed critical
   habitat. Please note that under 50 CFR 402.12(e) of the regulations implementing section 7 of the
   Act, the accuracy of this species list should be verified after 90 days. This verification can be
   completed formally or informally as desired. The Service recommends that verification be
   completed by visiting the ECOS-IPaC website at regular intervals during project planning and
   implementation for updates to species lists and information. An updated list may be requested
   through the ECOS-IPaC system by completing the same process used to receive the enclosed list.

   The purpose of the Act is to provide a means whereby threatened and endangered species and the
   ecosystems upon which they depend may be conserved. Under sections 7(a)(1) and 7(a)(2) of the
   Act and its implementing regulations (50 CFR 402 et seq.), Federal agencies are required to
   utilize their authorities to carry out programs for the conservation of threatened and endangered
   species and to determine whether projects may affect threatened and endangered species and/or
   designated critical habitat.




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   A Biological Assessment is required for construction projects (or other undertakings having
   similar physical impacts) that are major Federal actions significantly affecting the quality of the
   human environment as defined in the National Environmental Policy Act (42 U.S.C. 4332(2)
   (c)). For projects other than major construction activities, the Service suggests that a biological
   evaluation similar to a Biological Assessment be prepared to determine whether the project may
   affect listed or proposed species and/or designated or proposed critical habitat. Recommended
   contents of a Biological Assessment are described at 50 CFR 402.12.

   If a Federal agency determines, based on the Biological Assessment or biological evaluation, that
   listed species and/or designated critical habitat may be affected by the proposed project, the
   agency is required to consult with the Service pursuant to 50 CFR 402. In addition, the Service
   recommends that candidate species, proposed species and proposed critical habitat be addressed
   within the consultation. More information on the regulations and procedures for section 7
   consultation, including the role of permit or license applicants, can be found in the "Endangered
   Species Consultation Handbook" at:

   http://www.fws.gov/endangered/esa-library/pdf/TOC-GLOS.PDF

   Please be aware that bald and golden eagles are protected under the Bald and Golden Eagle
   Protection Act (16 U.S.C. 668 et seq.), and projects affecting these species may require
   development of an eagle conservation plan (http://www.fws.gov/windenergy/
   eagle_guidance.html). Additionally, wind energy projects should follow the wind energy
   guidelines (http://www.fws.gov/windenergy/) for minimizing impacts to migratory birds and
   bats.

   Guidance for minimizing impacts to migratory birds for projects including communications
   towers (e.g., cellular, digital television, radio, and emergency broadcast) can be found at: http://
   www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/towers.htm ; http://
   www.towerkill.com; and http://www.fws.gov/migratorybirds/CurrentBirdIssues/Hazards/towers/
   comtow.html.

   We appreciate your concern for threatened and endangered species. The Service encourages
   Federal agencies to include conservation of threatened and endangered species into their project
   planning to further the purposes of the Act. Please include the Consultation Tracking Number in
   the header of this letter with any request for consultation or correspondence about your project
   that you submit to our office.

   Attachment(s):

       ■ Official Species List
       ■ USFWS National Wildlife Refuges and Fish Hatcheries
       ■ Migratory Birds
       ■ Wetlands




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   Official Species List
   This list is provided pursuant to Section 7 of the Endangered Species Act, and fulfills the
   requirement for Federal agencies to "request of the Secretary of the Interior information whether
   any species which is listed or proposed to be listed may be present in the area of a proposed
   action".

   This species list is provided by:

   Western Colorado Ecological Services Field Office
   445 West Gunnison Avenue, Suite 240
   Grand Junction, CO 81501-5711
   (970) 243-2778

   This project's location is within the jurisdiction of multiple offices. Expect additional species list
   documents from the following offices, and expect that the species and critical habitats in each
   document reflect only those that fall in the office's jurisdiction:

   Colorado Ecological Services Field Office
   Denver Federal Center
   P.O. Box 25486
   Denver, CO 80225-0486
   (303) 236-4773

   New Mexico Ecological Services Field Office
   2105 Osuna Road Ne
   Albuquerque, NM 87113-1001
   (505) 346-2525




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   Project Summary
   Consultation Code: 06E24100-2018-SLI-0505

   Event Code:           06E24100-2020-E-00488

   Project Name:         Rio Grande National Forest Plan Revision

   Project Type:         LAND - MANAGEMENT PLANS

   Project Description: Final Plan revision update under the 2012 planning rule. This iteration
                        uses a shape file for the Forest to get a more accurate list of occurrences.

   Project Location:
      Approximate location of the project can be viewed in Google Maps: https://
      www.google.com/maps/place/37.704039900000026N107.04466975831235W




   Counties: Alamosa, CO | Archuleta, CO | Chaffee, CO | Conejos, CO | Costilla, CO | Custer,
             CO | Fremont, CO | Hinsdale, CO | Huerfano, CO | Mineral, CO | Rio Grande, CO |
             Saguache, CO | San Juan, CO | Rio Arriba, NM




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   Endangered Species Act Species
   There is a total of 10 threatened, endangered, or candidate species on this species list.

   Species on this list should be considered in an effects analysis for your project and could include
   species that exist in another geographic area. For example, certain fish may appear on the species
   list because a project could affect downstream species. Note that 4 of these species should be
   considered only under certain conditions.

   IPaC does not display listed species or critical habitats under the sole jurisdiction of NOAA
   Fisheries1, as USFWS does not have the authority to speak on behalf of NOAA and the
   Department of Commerce.

   See the "Critical habitats" section below for those critical habitats that lie wholly or partially
   within your project area under this office's jurisdiction. Please contact the designated FWS office
   if you have questions.


      1. NOAA Fisheries, also known as the National Marine Fisheries Service (NMFS), is an
         office of the National Oceanic and Atmospheric Administration within the Department of
         Commerce.


   Mammals
   NAME                                                                                                   STATUS
   Canada Lynx Lynx canadensis                                                                            Threatened
       Population: Wherever Found in Contiguous U.S.
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3652

   New Mexico Meadow Jumping Mouse Zapus hudsonius luteus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/7965




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   Birds
   NAME                                                                                                      STATUS
   Mexican Spotted Owl Strix occidentalis lucida                                                             Threatened
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/8196

   Southwestern Willow Flycatcher Empidonax traillii extimus                                                 Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/6749
       Species survey guidelines:
           https://ecos.fws.gov/ipac/guideline/survey/population/149/office/65413.pdf

   Yellow-billed Cuckoo Coccyzus americanus                                                                  Threatened
       Population: Western U.S. DPS
       There is proposed critical habitat for this species. Your location is outside the critical habitat.
       Species profile: https://ecos.fws.gov/ecp/species/3911
       Species survey guidelines:
           https://ecos.fws.gov/ipac/guideline/survey/population/6901/office/65413.pdf




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   Fishes
   NAME                                                                                                      STATUS
   Bonytail Gila elegans                                                                                     Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/1377

   Colorado Pikeminnow (=squawfish) Ptychocheilus lucius                                                     Endangered
       Population: Wherever found, except where listed as an experimental population
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/3531

   Humpback Chub Gila cypha                                                                                  Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/3930

   Razorback Sucker Xyrauchen texanus                                                                        Endangered
       There is final critical habitat for this species. Your location is outside the critical habitat.
       This species only needs to be considered under the following conditions:
         ■ Water depletions in the upper Colorado River basin adversely affect this species and its
            critical habitat. This species does not need to be considered if the project is outside of its
            occupied habitat and does not deplete water from the basin.
       Species profile: https://ecos.fws.gov/ecp/species/530


   Insects
   NAME                                                                                                      STATUS
   Uncompahgre Fritillary Butterfly Boloria acrocnema                                                        Endangered
       No critical habitat has been designated for this species.
       Species profile: https://ecos.fws.gov/ecp/species/4419


   Critical habitats
   THERE ARE NO CRITICAL HABITATS WITHIN YOUR PROJECT AREA UNDER THIS OFFICE'S
   JURISDICTION.




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   USFWS National Wildlife Refuge Lands And Fish
   Hatcheries
   Any activity proposed on lands managed by the National Wildlife Refuge system must undergo a
   'Compatibility Determination' conducted by the Refuge. Please contact the individual Refuges to
   discuss any questions or concerns.

   REFUGE INFORMATION WAS NOT AVAILABLE WHEN THIS SPECIES LIST WAS GENERATED.
   PLEASE CONTACT THE FIELD OFFICE FOR FURTHER INFORMATION.




                                                                       Rvsd Plan - 00004489
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    Migratory Birds
   Certain birds are protected under the Migratory Bird Treaty Act1 and the Bald and Golden Eagle
   Protection Act2.

   Any person or organization who plans or conducts activities that may result in impacts to
   migratory birds, eagles, and their habitats should follow appropriate regulations and consider
   implementing appropriate conservation measures, as described below.


      1. The Migratory Birds Treaty Act of 1918.
      2. The Bald and Golden Eagle Protection Act of 1940.
      3. 50 C.F.R. Sec. 10.12 and 16 U.S.C. Sec. 668(a)


   The birds listed below are birds of particular concern either because they occur on the USFWS
   Birds of Conservation Concern (BCC) list or warrant special attention in your project location.
   To learn more about the levels of concern for birds on your list and how this list is generated, see
   the FAQ below. This is not a list of every bird you may find in this location, nor a guarantee that
   every bird on this list will be found in your project area. To see exact locations of where birders
   and the general public have sighted birds in and around your project area, visit the E-bird data
   mapping tool (Tip: enter your location, desired date range and a species on your list). For
   projects that occur off the Atlantic Coast, additional maps and models detailing the relative
   occurrence and abundance of bird species on your list are available. Links to additional
   information about Atlantic Coast birds, and other important information about your migratory
   bird list, including how to properly interpret and use your migratory bird report, can be found
   below.

   For guidance on when to schedule activities or implement avoidance and minimization measures
   to reduce impacts to migratory birds on your list, click on the PROBABILITY OF PRESENCE
   SUMMARY at the top of your list to see when these birds are most likely to be present and
   breeding in your project area.

                                                                                                        BREEDING
   NAME                                                                                                 SEASON
   Bald Eagle Haliaeetus leucocephalus                                                                  Breeds Dec 1 to
      This is not a Bird of Conservation Concern (BCC) in this area, but warrants attention             Aug 31
      because of the Eagle Act or for potential susceptibilities in offshore areas from certain types
      of development or activities.
      https://ecos.fws.gov/ecp/species/1626

   Black Swift Cypseloides niger                                                                        Breeds Jun 15
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA          to Sep 10
      and Alaska.
      https://ecos.fws.gov/ecp/species/8878




                                                                                         Rvsd Plan - 00004490
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                                                                                                   BREEDING
   NAME                                                                                            SEASON
   Brewer's Sparrow Spizella breweri                                                               Breeds May 15
      This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions    to Aug 10
      (BCRs) in the continental USA
      https://ecos.fws.gov/ecp/species/9291

   Brown-capped Rosy-finch Leucosticte australis                                                   Breeds Jun 15
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA.    to Sep 15
      and Alaska.

   Golden Eagle Aquila chrysaetos                                                                  Breeds Jan 1 to
      This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions    Aug 31
      (BCRs) in the continental USA
      https://ecos.fws.gov/ecp/species/1680

   Lewis's Woodpecker Melanerpes lewis                                                             Breeds Apr 20
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     to Sep 30
      and Alaska.
      https://ecos.fws.gov/ecp/species/9408

   Long-billed Curlew Numenius americanus                                                          Breeds Apr 1 to
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     Jul 31
      and Alaska.
      https://ecos.fws.gov/ecp/species/5511

   Olive-sided Flycatcher Contopus cooperi                                                         Breeds May 20
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     to Aug 31
      and Alaska.
      https://ecos.fws.gov/ecp/species/3914

   Pinyon Jay Gymnorhinus cyanocephalus                                                            Breeds Feb 15
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     to Jul 15
      and Alaska.
      https://ecos.fws.gov/ecp/species/9420

   Rufous Hummingbird selasphorus rufus                                                            Breeds
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     elsewhere
      and Alaska.
      https://ecos.fws.gov/ecp/species/8002

   Veery Catharus fuscescens salicicola                                                            Breeds May 15
       This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   to Jul 15
       (BCRs) in the continental USA

   Virginia's Warbler Vermivora virginiae                                                          Breeds May 1 to
      This is a Bird of Conservation Concern (BCC) throughout its range in the continental USA     Jul 31
      and Alaska.
      https://ecos.fws.gov/ecp/species/9441




                                                                                    Rvsd Plan - 00004491
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                                                                                                  BREEDING
   NAME                                                                                           SEASON
   Willow Flycatcher Empidonax traillii                                                           Breeds May 20
      This is a Bird of Conservation Concern (BCC) only in particular Bird Conservation Regions   tO Aug 31
      (BCRs) in the continental USA
      https://ecos.fws.gov/ecp/species/3482


   Probability Of Presence Summary
   The graphs below provide our best understanding of when birds of concern are most likely to be
   present in your project area. This information can be used to tailor and schedule your project
   activities to avoid or minimize impacts to birds. Please make sure you read and understand the
   FAQ “Proper Interpretation and Use of Your Migratory Bird Report” before using or attempting
   to interpret this report.

   Probability of Presence (■)

   Each green bar represents the bird's relative probability of presence in the 10km grid cell(s) your
   project overlaps during a particular week of the year. (A year is represented as 12 4-week
   months.) A taller bar indicates a higher probability of species presence. The survey effort (see
   below) can be used to establish a level of confidence in the presence score. One can have higher
   confidence in the presence score if the corresponding survey effort is also high.

   How is the probability of presence score calculated? The calculation is done in three steps:

      1. The probability of presence for each week is calculated as the number of survey events in
         the week where the species was detected divided by the total number of survey events for
         that week. For example, if in week 12 there were 20 survey events and the Spotted Towhee
         was found in 5 of them, the probability of presence of the Spotted Towhee in week 12 is
         0.25.
      2. To properly present the pattern of presence across the year, the relative probability of
         presence is calculated. This is the probability of presence divided by the maximum
         probability of presence across all weeks. For example, imagine the probability of presence
         in week 20 for the Spotted Towhee is 0.05, and that the probability of presence at week 12
         (0.25) is the maximum of any week of the year. The relative probability of presence on
         week 12 is 0.25/0.25 = 1; at week 20 it is 0.05/0.25 = 0.2.
      3. The relative probability of presence calculated in the previous step undergoes a statistical
         conversion so that all possible values fall between 0 and 10, inclusive. This is the
         probability of presence score.
   Breeding Season ( )
   Yellow bars denote a very liberal estimate of the time-frame inside which the bird breeds across
   its entire range. If there are no yellow bars shown for a bird, it does not breed in your project
   area.

   Survey Effort (I)



                                                                                   Rvsd Plan - 00004492
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   Vertical black lines superimposed on probability of presence bars indicate the number of surveys
   performed for that species in the 10km grid cell(s) your project area overlaps. The number of
   surveys is expressed as a range, for example, 33 to 64 surveys.

   No Data (—)
   A week is marked as having no data if there were no survey events for that week.

   Survey Timeframe
   Surveys from only the last 10 years are used in order to ensure delivery of currently relevant
   information. The exception to this is areas off the Atlantic coast, where bird returns are based on
   all years of available data, since data in these areas is currently much more sparse.



                                                                 ■ probability of presence                 breeding season        I survey effort        — no data




    SPECIES               JAN         FEB          MAR          APR         MAY       JUN       JUL          AUG        SEP         OCT         NOV         DEC
    Bald Eagle
    Non-BCC Vulnerable                                                                -!•+ +r I IT ■ ■
    Black Swift
    BCC Rangewide (CON)


    Brewer's Sparrow
    BCC- BCR

    Brown-capped
    Rosy-finch
    BCC Rangewide (CON)
                                                                                            l-Uillhl-
    Golden Eagle
    BCC- BCR

   Lewis's
   Woodpecker
    BCC Rangewide (CON)

    Long-billed Curlew
    BCC Rangewide (CON)

    Olive-sided
    Flycatcher
    BCC Rangewide (CON)

    Pinyon Jay
    BCC Rangewide (CON)


    Hum“ing«rd            -------------------------------------------------------   **-*+*08111+------------
    BCC Rangewide (CON)

   Veery                  ------------------------------------------------------ --   . I.l . .. . . I||+ -------- ---------------------------------------------------
    BCC- BCR                                                                          I J             II


   Virginia's Warbler
    BCC Rangewide (CON)




                                                                                                                    Rvsd Plan - 00004493
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    SPECIES        JAN    FEB     MAR    APR    MAY        JUN    JUL       AUG       SEP   OCT   NOV   DEC
   Willow Flycatcher                               1,1,.     , ,. , . |||   . _l||i
    BCC- BCR                                        II                II        II




   Additional information can be found using the following links:

        ■ Birds of Conservation Concern http://www.fws.gov/birds/management/managed-species/
          birds-of-conservation-concern.php
        ■ Measures for avoiding and minimizing impacts to birds http://www.fws.gov/birds/
          management/project-assessment-tools-and-guidance/
          conservation-measures.php
        ■ Nationwide conservation measures for birds http://www.fws.gov/migratorybirds/pdf/
          management/nationwidestandardconservationmeasures.pdf


   Migratory Birds FAQ
   Tell me more about conservation measures I can implement to avoid or minimize impacts
   to migratory birds.
   Nationwide Conservation Measures describes measures that can help avoid and minimize
   impacts to all birds at any location year round. Implementation of these measures is particularly
   important when birds are most likely to occur in the project area. When birds may be breeding in
   the area, identifying the locations of any active nests and avoiding their destruction is a very
   helpful impact minimization measure. To see when birds are most likely to occur and be breeding
   in your project area, view the Probability of Presence Summary. Additional measures and/or
   permits may be advisable depending on the type of activity you are conducting and the type of
   infrastructure or bird species present on your project site.

   What does IPaC use to generate the migratory birds potentially occurring in my specified
   location?
   The Migratory Bird Resource List is comprised of USFWS Birds of Conservation Concern
   (BCC) and other species that may warrant special attention in your project location.

   The migratory bird list generated for your project is derived from data provided by the Avian
   Knowledge Network (AKN). The AKN data is based on a growing collection of survey, banding,
   and citizen science datasets and is queried and filtered to return a list of those birds reported as
   occurring in the 10km grid cell(s) which your project intersects, and that have been identified as
   warranting special attention because they are a BCC species in that area, an eagle (Eagle Act
   requirements may apply), or a species that has a particular vulnerability to offshore activities or
   development.

   Again, the Migratory Bird Resource list includes only a subset of birds that may occur in your
   project area. It is not representative of all birds that may occur in your project area. To get a list
   of all birds potentially present in your project area, please visit the AKN Phenology Tool.




                                                                                  Rvsd Plan - 00004494
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   What does IPaC use to generate the probability of presence graphs for the migratory birds
   potentially occurring in my specified location?
   The probability of presence graphs associated with your migratory bird list are based on data
   provided by the Avian Knowledge Network (AKN). This data is derived from a growing
   collection of survey, banding, and citizen science datasets .

   Probability of presence data is continuously being updated as new and better information
   becomes available. To learn more about how the probability of presence graphs are produced and
   how to interpret them, go the Probability of Presence Summary and then click on the "Tell me
   about these graphs" link.

   How do I know if a bird is breeding, wintering, migrating or present year-round in my
   project area?
   To see what part of a particular bird's range your project area falls within (i.e. breeding,
   wintering, migrating or year-round), you may refer to the following resources: The Cornell Lab
   of Ornithology All About Birds Bird Guide, or (if you are unsuccessful in locating the bird of
   interest there), the Cornell Lab of Ornithology Neotropical Birds guide. If a bird on your
   migratory bird species list has a breeding season associated with it, if that bird does occur in your
   project area, there may be nests present at some point within the timeframe specified. If "Breeds
   elsewhere" is indicated, then the bird likely does not breed in your project area.

   What are the levels of concern for migratory birds?
   Migratory birds delivered through IPaC fall into the following distinct categories of concern:

      1. "BCC Rangewide" birds are Birds of Conservation Concern (BCC) that are of concern
         throughout their range anywhere within the USA (including Hawaii, the Pacific Islands,
         Puerto Rico, and the Virgin Islands);
      2. "BCC - BCR" birds are BCCs that are of concern only in particular Bird Conservation
         Regions (BCRs) in the continental USA; and
      3. "Non-BCC - Vulnerable" birds are not BCC species in your project area, but appear on
         your list either because of the Eagle Act requirements (for eagles) or (for non-eagles)
         potential susceptibilities in offshore areas from certain types of development or activities
         (e.g. offshore energy development or longline fishing).
   Although it is important to try to avoid and minimize impacts to all birds, efforts should be made,
   in particular, to avoid and minimize impacts to the birds on this list, especially eagles and BCC
   species of rangewide concern. For more information on conservation measures you can
   implement to help avoid and minimize migratory bird impacts and requirements for eagles,
   please see the FAQs for these topics.

   Details about birds that are potentially affected by offshore projects
   For additional details about the relative occurrence and abundance of both individual bird species
   and groups of bird species within your project area off the Atlantic Coast, please visit the
   Northeast Ocean Data Portal. The Portal also offers data and information about other taxa besides
   birds that may be helpful to you in your project review. Alternately, you may download the bird
   model results files underlying the portal maps through the NOAA NCCOS Integrative Statistical



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   Modeling and Predictive Mapping of Marine Bird Distributions and Abundance on the Atlantic
   Outer Continental Shelf project webpage.

   Bird tracking data can also provide additional details about occurrence and habitat use
   throughout the year, including migration. Models relying on survey data may not include this
   information. For additional information on marine bird tracking data, see the Diving Bird Study
   and the nanotag studies or contact Caleb Spiegel or Pam Loring.

   What if I have eagles on my list?
   If your project has the potential to disturb or kill eagles, you may need to obtain a permit to avoid
   violating the Eagle Act should such impacts occur.

   Proper Interpretation and Use of Your Migratory Bird Report
   The migratory bird list generated is not a list of all birds in your project area, only a subset of
   birds of priority concern. To learn more about how your list is generated, and see options for
   identifying what other birds may be in your project area, please see the FAQ “What does IPaC
   use to generate the migratory birds potentially occurring in my specified location”. Please be
   aware this report provides the “probability of presence” of birds within the 10 km grid ceU(s) that
   overlap your project; not your exact project footprint. On the graphs provided, please also look
   carefully at the survey effort (indicated by the black vertical bar) and for the existence of the “no
   data” indicator (a red horizontal bar). A high survey effort is the key component. If the survey
   effort is high, then the probability of presence score can be viewed as more dependable. In
   contrast, a low survey effort bar or no data bar means a lack of data and, therefore, a lack of
   certainty about presence of the species. This list is not perfect; it is simply a starting point for
   identifying what birds of concern have the potential to be in your project area, when they might
   be there, and if they might be breeding (which means nests might be present). The list helps you
   know what to look for to confirm presence, and helps guide you in knowing when to implement
   conservation measures to avoid or minimize potential impacts from your project activities,
   should presence be confirmed. To learn more about conservation measures, visit the FAQ “Tell
   me about conservation measures I can implement to avoid or minimize impacts to migratory
   birds” at the bottom of your migratory bird trust resources page.




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   Wetlands
   Impacts to NWI wetlands and other aquatic habitats may be subject to regulation under Section
   404 of the Clean Water Act, or other State/Federal statutes.

   For more information please contact the Regulatory Program of the local U.S. Army Corps of
   Engineers District.

   Please note that the NWI data being shown may be out of date. We are currently working to
   update our NWI data set. We recommend you verify these results with a site visit to determine
   the actual extent of wetlands on site.

   WETLAND INFORMATION WAS NOT AVAILABLE WHEN THIS SPECIES LIST WAS GENERATED.
   PLEASE VISIT https://WWW.FWS.GOV/WETLANDS/DATA/MAPPER.HTML OR CONTACT THE
   FIELD OFFICE FOR FURTHER INFORMATION.




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      Adapted from the 10/28/08 SRLA ROD, Attachment 1-9 (see Tab 1 cf this SRLA
      Implementation Guide)_____________________________________________________
      Required Monitoring

      The following SRLA froms should be completed upon the the signing of project
      decisions for fuels treatments and vegetation management projects in lynx habitat:


      FORM 1. Acres of WUI fuel treatments in lynx habitat by Forest and LAU through use of
      exemptions to SRLA Lynx Habitat Management Standards (see form for details).


      FORM 2. Acres of treatments in lynx habitat by Forest and LAU through use of Exceptions
      to SRLA Lynx Habitat Management Standards (see form for details).


      FORM 3. Rationale for not following SRLA Management Guidelines while still meeting
      overall objectives of SRLA (see form for details).


      FORM 4. Summary by Forest of exemptions and exceptions used for the reporting
      period.




                                                                                      Rvsd Plan - 00004498
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                                                                                    FORM 1
                                          Acres of WUI Fuels Treatments in Lynx Habitat Using WUI Exemptions to SRLA Standards
                                                                       Southern Rockies National Forests
                                                              Reporting Period (12): January 1 - December 31, 2020


                                                                                                Acies oi Lynx
                                                                                                   Habitat
                                                                                                 Treated in
                                                                                    Acres of    WUI Where       Which VEG
                                                                                      Lynx      Exemptions      Standard(s)    Rationale for Applying
                                                General Project                     Habitat        to VEG          Were            Exemptions to          Does LAU Exceed
                                                    Location                       Treated in   Standard(s)     Exempted?       Standards i.e. CWPP     Standards VEG S1 or
  National                                       (RD, drainage,          LAU        WUI per        Were         (VEG S1, S2,   exists, Other USFS WUI   VEG S2? (If so, specify
   Forest      Project Name     Decision Date         etc.)           Name/No.        LAU         Applied1       S5 or S6)      fuels treatment, NA          which one)

Arapaho-       No projects to
                                    N/A               N/A                N/A          N/A           N/A              N/A                N/A                      N/A
Roosevelt     report for 2020


Grand Mesa,
               No projects to
Uncompahgr                          N/A               N/A                N/A          N/A           N/A              N/A                N/A                      N/A
              report for 2021
e, Gunnison

Medicine       LaVA Projects:    8/13/2020                                                                         S5, S6                                                         Landscape Vegetation Analysis (LaVA) decision (08/13/20)
Bow-Routt                                                                                                                                                                         authorized 11,573 acres of WUI exemptions among 13 LAUs
                Sourdough                       Brush Ck/Hayden French Creek          409           268              S6         Community Wildfire                                371 suitable (268 S6), 38 unsuitable
                timber sale                      RD, Barrett Ck.                                                               Protection Plan exists
                                                                                                                               or HFRA defined WUI                No
              Ryan Park Fuels                   Brush Ck/Hayden French Creek          125            45              S6        Community Wildfire                                 79 suitable (45 S6), 46 unsuitable
                                                 RD, Ryan Park                                                                 Protection Plan exists
                                                                                                                               or HFRA defined WUI                No

Pike-San       No projects to
                                    N/A               N/A                N/A          N/A           N/A              N/A                N/A                      N/A
Isabel        report for 2020

               No projects to
  San Juan                          N/A               N/A                N/A          N/A           N/A              N/A                N/A                      N/A
              report for 2020

               No projects to
                                    N/A               N/A                N/A          N/A           N/A              N/A                N/A                      N/A
              report for 2021
White River
 SRLA AREA
"Fuelsprojects in the WUI that do not meet VEG S1, S2, S5, or S6 standards are allowable, except they shall be limited to affecting no more than 3% of the Forest's lynx
habitat over the life of the Amendment (15yrs). The 3% per Forest in the SRLA decision was based on the one-mile WUI defined in HFRA.




                                                                                                                                                                                                       Rvsd Plan - 00004499
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                                                                                              FORM 2
                                                            Acres of Treatments in Lynx Habitat Using Exceptions to SRLA Standards
                                                                               Southern Rockies National Forests
                                                                      Reporting Period (12): January 1 - December 31, 2020


                                                                                                                                                                   Acres of
                                                                                                                                            Combined Exceptions Treatments
                                                                                                                                              Under VEG S5 and      under         Acres of
                                                                                                                   Acres of      Acres of    VEG  S6 (Up to 0.5% Exception 5 in Treatments
                                                                                                                 Treatments Treatments of Lynx Habitat per VEG S5 (Up to           under
                                                                                         LAU            Which       under         under            Forest)2       1% of Lynx    Exception 4
                                           Decision        General Project Location      Name/        Exceptions Exceptions 1­ Exceptions 1­ (Add acres from 2    Habitat per    in VEG S6
National Forest   Project Name              Date             (RD, drainage, etc.)        No.         Were Used?1 4 in VEG S5 3 in VEG S6      previous columns)     Forest)      (No Cap)3
Arapaho-          No projects to report
                                             N/A                     N/A                 N/A             N/A          N/A            N/A            N/A                N/A           N/A
Roosevelt         for 2020
Grand Mesa,       Overland GNA -                                                         Chalk
Uncompahgre,      SBEADMR                 7/5/2016                Paonia RD              Mountain         3             0            19              19                 0             0
                  Overland GNA -                                                         Crater
                  SBEADMR                 7/5/2016                Paonia RD              Lake             3             0            25              25                 0             0
                                                                                         Crater
                  Hubbard - SBEADMR       7/5/2016                Paonia RD              Lake             3             0            60              60                 0             0
                                                                                         Iron
                  Grouse Glade            7/5/2016                Paonia RD              Mountain         3             0             2               2                 0             0

                  Rainbow                 7/5/2016              Gunnison RD              Red Creek        3             0            37              37                 0             0
                  Pool Creek                                                             Iravers
                  Stewardship             6/24/2013               Ouray RD               Mesa             3             0            38              38                 0             0
Medicine Bow-     LaVA projects:          8/13/2020    Brush Ck/Hayden RD, Laramie RD                                                                                                         No Implementation planned or designed in 2020. Landscape
Routt                                                                                                                                                                                         Vegetation Analysis (LaVA) decision (08/13/20) authorized
                  Encampment Minerals                                                    Morgan          S6             0            0.2                                                      Incidental damage for drill pads, road access (exception 3)

                                                                                         Kettle          S6             0            3.0                                                      Incidental damage for drill pads, road access (exception 3)
                                                                                         Ponds
                  IREA Kenosha to
Pike-San Isabel
                  Roberts Tunnel          11/14/2018            Kenosha Pass             Kenosha       Veg S6.1         0            5.3             5.3                0             0
                  Monarch Vegetation
                  Treatment Project       12/1/2017             Monarch Park             Monarch     3 of Veg S6        0            37              37                 0            146      Explanation: Total acres treated was 183. 37 is 20% of 183.
                  No projects to report
San Juan                                     N/A                     N/A                 N/A             N/A          N/A            N/A            N/A                N/A           N/A
                  for 2020
                  No projects to report
White River                                  N/A                     N/A                 N/A             N/A          N/A            N/A            N/A                N/A           N/A
                  for 2021

SRLA AREA                                                                                                               0            227            223                 0            146
^See SRLA ROD, Attachment 2 for a description of exceptions under each VEG standard.

2Combination of Exceptions 1-4 under VEG S5 and Exceptions 1-3 under VEG S6.
"There are no caps for VEG S6 - Exception 4, because uneven-aged management was expected to be a beneficial management practice for lynx habitat under the SRLA. These acres do not count
towards a Forest's allocated acres, although VEG S1 and S2 still apply.




                                                                                                                                                                                                                      Rvsd Plan - 00004500
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                                                                        FORM 3
                                                Rationale for SRLA Management Guidelines Not Followed
                                                            Southern Rockies National Forests
                                                  Reporting Period (12): January - December 31, 2020

                                               Decision   Guideline    Acres of                Rationale For Not Following Guidelines
   National Forest        Project Name          Date      Number1     Treatment              (While Still Meeting Objectives of the SRLA)2
                      No projects to report
Arapaho-Roosevelt                                N/A        N/A          N/A                                     N/A
                            for 2020
                                                        ALL G1, HU
Grand Mesa,                                              G7, VEG
Uncompahgre,         Uncompahgre Mesas                   G1, VEG
Gunnison             Forest Restoration                  G5, VEG
                     Project                  8/31/2009    G11,                         Projects were designed to meet all pertinent Guidelines
                                                        ALL G1, HU
                                                         G7, VEG
                                                         G1, VEG
                                                         G5, VEG
                     Eggleston Blow-down      9/22/2011    G11,                         Projects were designed to meet all pertinent Guidelines
                                                        ALL G1, HU
                                                         G7, VEG
                                                         G1, VEG
                                                         G5, VEG
                     Bears Pond Salvage       4/28/2020    G11,                         Projects were designed to meet all pertinent Guidelines
                                                        ALL G1, HU
                                                         G7, VEG
                     Spruce Beetle/Sudden                G1, VEG
                     Aspen Decline                       G5, VEG
                     Treatments               12/8/2011    G11,                         Projects were designed to meet all pertinent Guidelines
                                                        ALL G1, HU
                                                         G7, VEG
                     Escalante Forest                    G1, VEG
                     Restoration and                     G5, VEG
                     Stewardship              6/24/2013    G11,                         Projects were designed to meet all pertinent Guidelines



                                                                                                                       Rvsd Plan - 00004501
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                                                          ALL G1, HU
                                                           G7, VEG
                                                           G1, VEG
                                                           G5, VEG
                       LaGarita Timber Sale     12/3/2013    G11,                            Projects were designed to meet all pertinent Guidelines
                                                            ALL G1, HU              Projects were designed to meet all pertinent Guidelines. Implementation
                                                             G7, VEG                  monitoring was not completed in 2020 due to COVID-19. The Forest is
                                                             G1, VEG                 hopeful that a filed review of design features can occur in 2021. Several
                                                             G5, VEG                   treatments were designed and sold in 2020 under SBEADMR and are
                       SBEADMR                  7/3/2016       G11,                                            reported on in Form 2.
                                                                                     The Taylor Park Vegetation Management Project decision was signed in
                                                                                      May 2020 to manage lodgepole pine, mixedc conifer and aspen across
                                                                                         the Upper Taylor Park and Spring Creek Watersheds. Treatments
                                                                                    allowed under the decision include commercial timber sales, mastication,
                                                                                    thinning and prescribed fire. A total of 19,000 acres can be treated over
                                                                                     a 10-15 year period. The project uses the framework established under
                                                                                          SBEADMR usig an Environmental Management System . Just like
                                                            ALL G1, HU              SBEADMR, annual project review are required to ensure specified design
                                                             G7, VEG                 features are being followed, include those associated with Canada lynx.
                       Upper Taylor                          G1, VEG                     As treatments are designed and implemented, reporting will occur
                       Vegetation                            G5, VEG                 annually. The first treatments are expected to be sold/implemented in
                       Management Project       5/7/2021       G11,                                                     2021.

Medicine Bow-Routt
                                LaVA            8/13/2020                                    Projects were designed to meet all pertinent Guidelines

Pike-San Isabel
                                                                                             Projects were designed to meet all pertinent Guideline

San Juan
                                                                                                                       N/A
White River                                                                                                            N/A
^Under   the SRLA, Management Standards are required and assumed that all Management Guidelines applicable to projects will be followed unless there are
compelling reasons for not following them. Even if one or more Guidelines cannot be followed, all projects should still be consistent with the overall
objectives of the SRLA (ROD Attachment 1; SRLA Guide Tab 1). The biological opinion for the SRLA requires the documentation of the rationale for deviating
from one or more of these Management Guidelines by project. See Attachment 1 of the SRLA decision for a summary of all Management Objectives,
Standards, and Guidelines (also available in Tab 1 of the SRLA Implementation Guide).
2If SRLA guidelines were met by the project, state that directly in the table.




                                                                                                                             Rvsd Plan - 00004502
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                                                                  FORM 4
                  Summary of Use of Exemptions and Exceptions to SRLA Lynx Habitat Management Standards
                                             Southern Rockies National Forests
                                    Reporting Period (12): January 1 - December 31, 2020

4 Total Acres of Lynx Habitat Treated
                                                A

                                    Total Acres of Lynx Habitat
                                    Treated on the Forest For
          National Forest                    the Year
                                    (Cumulative Acres Affected
                                     With and Without Use of
                                                Any
                                      Exemptions/Exceptions)

         Arapaho-Roosevelt                                    0


Grand Mesa, Uncompahgre, Gunnison                          131


        Medicine Bow-Routt                                 537


          Pike-San Isabel                                  189


             San Juan                                     1423


            White River                                       0


            SRLA Area                                2,280.00


4(a) WUI Fuels Treatment Exemptions Used in Lynx Habitat




                                                                                         Rvsd Plan - 00004503
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                                                                     B                                     C                        D                       E                           F



                                                        Acres of Lynx Habitat               Acres of Lynx Habitat                  Forest          Current Forest               Cumulative
               National Forest                           Treated Inside WUI                Treated Under the WUI                Allocation             Balance1             % change from SRLA
                                                                                                 Exemption                       per SRLA                (acres)               ITS allocation
                                                                                                                                Incidental                                    (D - E V D x 100)
                                                                                                                                   Take
                                                                                                                                rtnFnnnninF
             Arapaho-Roosevelt                                                        0                                     0         20,702                       19,414                         6.2

Grand Mesa, Uncompahgre, Gunnison                                                     0                                     0        42,424                        42,293                         0.3
            Medicine Bow-Routt                                                     534                                  313          38,901                        32,940                        15.3
              Pike-San Isabel                                                        0                                    0          24,785                        24,617                         0.7
                 San Juan                                                            0                                    0           19310                         19310                           0
               White River                                                                                                           41,431                        40,871                         1.3
                   SRLA Area                                                       534                                  313         187,553                     179,469
^For the first year of reporting, this was simply the product of subtracting current year treated acres (Col. C) from the Forest's ITS allocation (Col. D). Starting in year 2, the number in this column is cumulative and
the product of subtracting the current year's treated acres (Col. C) from the figure reported in this column (Col. E) in the previous year's report.


4(b) VEG S5 and S6 Exceptions Used in Lynx Habitat
                        A               B                                      C                D                  E                 F                      G                           H                          I

                            Acres of Lynx                Forest           Current       Acres of                 Forest          Current             Combined                Combined Current                Cumulative
                          Habitat Treated               Acreage          Balance of       Lynx                  Acreage         Balance of       Allocation per ITS          Balance of Forest           Percent Change
                         Under Exceptions 1­           Allocation          Forest        Habitat               Allocation         Forest               (1.5%)                Allocation (1.5%)           from Combined
                          4 in VEG S5 and              (0.5%) per        Allocation1    Treated                 (1%) per        Allocation1              (B + E)                     (C + F)               ITS Allocation
    National Forest       Exceptions 1-3 in               SRLA                           Under                    SRLA                                                                                   (G - H V G x 100)
                                                                            (0.5%)                                                 (1%)
                               VEG S6                  Incidental          (acres)   Exception   5             Incidental         (acres)
                           (O. 5% of Lynx                 Take                         in VEG S5                  Take
                               Habitat)                Statement                     (1 % of Lynx              Statement
                                                                                        Habitat)                  (ITS)
                                                                                                                 {1%}
      Arapaho-
                                                 0              3,450            2,375                 0               6,900             6,900                     10,350                      9,275                     10.4
      Roosevelt
     Grand Mesa,
    Uncompahgre,                              181               7,071            2,392                 0            14,142           14,042                        21,213                      16,434                    23.0
      Gunnison



                                                                                                                                                                         Rvsd Plan - 00004504
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    Medicine Bow-
                                                 3             6,483            5,783                 0          12,967             12,104                     19,450                      17,887                     12.9
         Routt
    Pike-San Isabel                              0             4,131            3,641                0            8,261              8,197                     12,392                      11,838                         4.5
       San Juan                                  0             3,218            3,070                0            6,437              6,437                      9,655                       9,507                         1.0
      White River                                0             6,905            5,770              257           13,810             13,299                     20,715                      19,069                         7.9
      SRLA Area                              184             31,258           23,031              257            62,517             60,979                     93,775                      84,010

^For the first year of reporting, this was simply the product of subtracting current year treated acres from the Forest's ITS allocation for those exceptions. Starting in year 2, the numbers in these columns will be
cumulative and the product of subtracting from the ITS (Col. B or E) the current year's treated acres (Col. A or D) from the figure reported in these columns in the previous year's report.




                                                                                                                                                                       Rvsd Plan - 00004505
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      USDA

      United States Department of Agriculture
      Forest Service


      Rio Grande National Forest
      Plan Revision
      Draft Environmental Impact Statement
      Alamosa, Archuleta, Conejos, Hinsdale, Mineral,
      Rio Grande, Saguache, and San Juan Counties, Colorado
      September 2017




                            Crestone Peak viewed through the Natural Arch




                                                                      Rvsd Plan - 00004506
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   USDA Forest Service



   Acronyms and Abbreviations
   ACS - American community survey
   CCF - One hundred cubic feet
   CERCLA - Comprehensive Environmental Response, Compensation, and Liability Act of 1980
   CFR - Code of Federal Regulations
   DAU - Data analysis unit
   DBH - Diameter at breast height
   FY - Fiscal year
   ForCaMF - Forest Carbon Management Framework
   FSH - Forest Service Handbook
   GDP - Gross domestic product
   GMU - Game management unit
   HUC - Hydrologic unit code
   MA - Management area
   MCF -Thousand cubic feet of timber
   MMBF - Thousand thousand board feet of timber (i.e., million board feet of timber)
   PILT - Payment in lieu of taxes
   SCC - Species of conservation concern
   SRS - Secure rural schools
   TEPC species - Threatened, endangered, proposed, and candidate species
   USDA - United States Department of Agriculture




                                                                     Rvsd Plan - 00004507
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                                                                     Draft Environmental Impact Statement
                                                Rio Grande National Forest Revised Land Management Plan

                     Rio Grande National Forest Plan Revision
                      Draft Environmental Impact Statement
                      Alamosa, Archuleta, Conejos, Hinsdale, Mineral,
                  Rio Grande, Saguache, and San Juan Counties, Colorado

      Lead agency:                               USDA Forest Service
      Cooperating agencies                       Bureau of Land Management
                                                 Colorado Department of Natural Resources
                                                 Colorado Division of Water Resources
                                                 Colorado State Land Board
                                                 Colorado Parks and Wildlife
                                                 Colorado Water Conservation Board
                                                 Navajo Nation
                                                 Alamosa County
                                                 Conejos County
                                                 Hinsdale County
                                                 Mineral County
                                                 Rio Grande County
                                                 Saguache County
      Responsible official:                      Dan Dallas, Forest Supervisor
                                                 1803 W. Highway 160
                                                 Monte Vista, CO 81144
      For more information, contact:             Erin Minks, Forest Planner
                                                 1803 W. Highway 160
                                                 Monte Vista, CO 81144
                                                 719-852-5941
      Abstract: This draft environmental impact statement documents the analysis of four
      alternatives (A through D) developed by the Forest Service to revise the 1996 land and
      resource management plan, as amended, for the Rio Grande National Forest.
      Send comments to:                          Rio Grande National Forest
                                                 Attn: Rio Grande Forest Plan Revision
                                                 1803 W. Highway 160
                                                 Monte Vista, CO 81144
                                                 rgnf forest plan@fs.fed.us

      Date comments must be received:            Within 90 days following publication of the
                                                 notice of availability of the draft environmental
                                                 impact statement in the Federal Register. It is the
                                                 commenter’s responsibility to calculate the end
                                                 of the 90-day period.




                                                                       Rvsd Plan - 00004508
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    D.C. 20250-9410; (2) fax: (202) 690-7442; or (3) email: program.intake@usda.gov (link
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                                                                          Rvsd Plan - 00004509
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                                                                      Draft Environmental Impact Statement
                                                 Rio Grande National Forest Revised Land Management Plan


      Summary
      Proposed Action
      The Rio Grande National Forest proposes to revise its Land and Resource Management Plan
      (USDA Forest Service 1996), referred to as the “forest plan,” in compliance with the 2012
      Planning Rule (36 CFR § 219.17(3)(b)(1)). The area affected by the proposal includes about
      1.8 million acres of public land in southcentral Colorado (Figure 1).

      Purpose and Need
      The purpose and need for revising the forest plan is the changed ecological, social, and
      economic conditions in the plan area that have occurred since the current forest plan was
      approved in 1996. These changes include the spruce beetle infestation, closure of mills and
      timber-related infrastructure in southwest Colorado, changes in communications technology,
      increased development along the Forest boundary, and the need to shift fire management
      direction focused on suppression to use fire for resource benefit.
      Compliance with the 2012 Planning Rule drove additional needs for change related to species
      of conservation concern, identification of key ecosystem characteristics, ecosystem and
      habitat connectivity, inventory and evaluation of wilderness, and a re-evaluation of areas for
      wilderness and wild, scenic, and recreational rivers designation.

      Public Involvement
      The notice of intent to initiate the assessment phase was published in the Federal Register on
      December 26, 2014. From February 2015 through March of 2016, more than 50 meetings
      were held with partner organizations with more than 500 people attending. Concurrently, the
      Forest used a web-based tool to ask questions to inform the assessments. Public engagement
      was summarized in meeting notes, made available on the Forest’s website, and later
      synthesized into 15 topic-based report packages composed of executive summaries, reports,
      and appendices. The executive summaries were explicitly designed to reach the broadest
      audience, with a summary of the resource issues and a synthesis of what was heard from the
      public.
      The assessments were completed and a draft needfor change document was published in
      March 2016. More than 100 people attended one of the three public meetings and a webinar.
      In response to public comments, the Forest completed two iterations of the need for change
      document before formalizing a proposed action and initiating scoping. A second round of
      public meetings in July 2016 included a proposed adaptive management framework and the
      use of optional plan content.
      In June 2016, the Forest held two draft wilderness inventory meetings to refine criteria used
      in the wilderness inventory phase. In July, a final wilderness inventory report and draft
      evaluation report were published as well as an initial inventory of wild, scenic, and
      recreational rivers to be analyzed. The July meetings mentioned above also presented these
      two topics.




                                                                                                    iii

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   Comments collected were used to finalize the proposed action, which was published in the
   Federal Register on September 12, 2016. The proposed action included a draft plan, as well
   as a letter from the regional forester identifying a preliminary list of species of conservation
   concern for the Forest. The public comment period lasted 45 days from publication of the
   notice of intent, until about the end of October 2016. About 75 people attended the three
   public meetings held in late September.

   Revision Topics
   Each emphasis area identified in the need for change was considered as a potential revision
   topic. The March 2016 need for change document organized topics into tables that included
   items that are required to be addressed in revision, overarching changes to the forest plan
   identified through assessments, public comments, tribal consultation, or internal comments,
   and changes that are made at the discretion of the responsible official. The need for change
   was narrowed to four revision topics that vary by alternative and are used to compare and
   contrast the differences among alternatives.
   The following revision topics were identified that drove alternative development:
   •    Special designations
   •    Fire management
   •    Management area complexity
   •    Recommended wilderness

   Alternatives
   Alternatives to the proposed action were developed in response to public comments and
   revision topics. All alternatives incorporate higher level direction, including laws, regulations
   and policies, as well as programmatic direction such as the Southern Rockies Lynx
   Amendment and the Colorado Roadless Rule.
   Alternative A is the no-action alternative. This alternative reflects current management
   practices under the Rio Grande National Forest 1996 Revised Land and Resource
   Management Plan, as amended and implemented, and provides the basis for comparing
   alternatives to current management and levels of output. This alternative proposes 17
   management areas.
   Alternative B is based on a strategic framework that considers direction at a broad
   landscape level, or geographic area, and at a smaller, management area level. The overall
   vision for managing the Forest is encompassed in three overarching goals that address water
   quality and quantity, ecosystem resilience and sustainability, and economics and services
   provided through public land management.
   Alternative B emphasizes multiple use that is similar to current management but is compliant
   with the direction contained in the 2012 Planning Rule. This alternative proposes an
   estimated 59,000 acres recommended for inclusion in the wilderness preservation system.
   Direction in one special interest area is reduced and boundary adjustments are proposed for
   two other areas. This alternative proposes 14 separate management areas.



   iv

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      Alternative C proposes to increase the acreage available for multiple uses on the Forest. No
      recommended wilderness acres are included in this alternative. This alternative addresses
      concerns about complexity by reducing the number of management areas to eight and shifts
      the boundaries to make them similar to the geographic area boundaries in alternative B.
      These larger units of land provide more flexibility in implementation of the forest plan by
      allowing habitat and areas to be mapped dependent on actual presence versus providing a
      static management area boundary. Alternative C includes more acreage in the suitable timber
      base and does not include any recommended wilderness.
      Alternative D emphasizes recreation opportunities that provide more solitude and primitive
      recreation experiences. This alternative increases opportunities for semiprimitive,
      nonmotorized recreation, increases the number of special interest areas, proposes adding one
      new research natural area, and proposes approximately 285,000 acres of recommended
      wilderness. This alternative also identifies fewer acres suitable for timber production.
      Alternative D proposes 16 individual management areas.

      Decision Framework
      The responsible official for the analysis is the forest supervisor for the Rio Grande National
      Forest. The responsible official will prepare a final environmental impact statement based on
      the analysis and subsequent public comments, and will identify a selected alternative in a
      draft record of decision that will be subject to an objection process guided by the direction in
      36 CFR Subpart B (219.50 to 219.62). The decision will:
      •   Establish desired conditions and objectives,
      •   Establish Forestwide design criteria (standards and guidelines),
      •   Establish management areas and geographic areas,
      •   Determine suitability of land,
      •   Determine the maximum amount of timber that might be removed,
      •   Recommend areas for inclusion in the National Wilderness Preservation System (36 CFR
          219.7(c)(2)(v)) if applicable, and
      •   Identify suitable and eligible wild, scenic, and recreational rivers (36 CFR 219.7(c) (2)
          (vi)) if applicable.
      A final record of decision and accompanying forest plan sets a course of action for managing
      the Forest for the next 10 to 15 years. Forest plans are strategic in nature and do not compel
      the Agency to undertake any site-specific projects.
      The authorization of project-level activities is based on the direction contained in the forest
      plan, but occurs through subsequent project-specific environmental analysis in compliance
      with the National Environmental Policy Act.




                                                                                                      v

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      Alternatives - Management and Geographic Areas
          Alternative A - Existing Management Areas
          Alternative B - Management Areas
          Alternative B - Geographic Areas
          Alternative C - Management Areas
          Alternative D - Management Areas
          Alternative D - Geographic Areas
      Forested Ecosystems
          Timber Suitability - May Be Suitable for Timber Production
          Alternative A- Timber Suitability Is Suitable for Timber Production
          Alternative B - Timber Suitability Is Suitable for Timber Production
          Alternative C - Timber Suitability Is Suitable for Timber Production
          Alternative D - Timber Suitability Is Suitable for Timber Production
          Vegetation Habitat Structural Type
          Dominant Local Vegetation Type
      Fire Management
          Alternative B - Fire Management Zones
          Alternative C - Fire Management Zones
          Alternative D - Fire Management Zones
      Range Management
          Grazing Allotments
          Range Capability
      Renewable and Non-renewable Energy and Minerals
          Oil and Gas Potential - 1995
          Oil and Gas Lease Parcels - 2008
      Watershed Resources
          Rio Grande Headwater System
          HUC 12 Watersheds and Priority Watersheds
      Wildlife and Plant Species
          Alternative B - Roads within Management Areas 5.41
          Alternative D - Roads within Management Areas 5.41
          Alternative A- Wetlands and Known Fens
          Alternative B - Wetlands and Known Fens
          Alternative C - Wetlands and Known Fens
          Alternative D - Wetlands and Known Fens
      Infrastructure
          Existing National Forest System Roads
      Aesthetics
          Alternative A- Existing Scenic Integrity
          Alternative B - Desired Scenic Integrity Objective
          Alternative C - Desired Scenic Integrity Objective
          Alternative D - Desired Scenic Integrity Objective




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   Recreation
       Scenic Byways and Railroads
       Nationally Designated Trails
       Natural Features
       Over-Snow Vehicles
           Alternative A - Over-Snow Vehicle Use Suitability
           Alternative B - Over-Snow Vehicle Use Suitability
           Alternative C - Over-Snow Vehicle Use Suitability
           Alternative D - Over-Snow Vehicle Use Suitability
       Recreation Opportunity Spectrum
           Existing Summer Recreation Opportunity Spectrum
           Alternative B - Desired Summer Recreation Opportunity Spectrum
           Alternative C - Desired Summer Recreation Opportunity Spectrum
           Alternative D - Desired Summer Recreation Opportunity Spectrum
   Special Designated Areas
       Alternative A - Special Designation Areas
       Alternatives B and C - Special Designation Areas
       Alternative D - Special Designation Areas
   Wilderness
       Alternative B - Recommended Wilderness
       Alternative D - Recommended Wilderness
   Wild, Scenic, and Recreational Rivers
       Alternatives B, C, and D - Eligible Wild, Scenic, and Recreational Rivers
   Areas of Tribal Importance
       Brunot Treaty




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      Chapter 1. Purpose and Need for Action
      Document Structure
      This environmental impact statement is prepared in compliance with the National
      Environmental Policy Act and other relevant Federal and State laws and regulations. This
      document discloses the direct, indirect, and cumulative environmental impacts that would
      result from the proposed action and alternatives. The document is organized into four
      chapters:
      •   Chapter 1. Purpose and Needfor Action: This chapter includes information on the
          history of the project proposal, the purpose and need for the project, and the Forest
          Service’s proposal for achieving that purpose and need. This chapter also details how the
          Forest Service informed the public of the proposal and how the public responded.
      •   Chapter 2. Alternatives, including the Proposed Action: This chapter provides a more
          detailed description of the Forest Service’s proposed action as well as alternative methods
          for achieving the stated purpose. These alternatives were developed on the basis of issues
          and comments raised by the public and other agencies. This discussion also includes any
          mitigation measures associated with the proposed action or alternatives. Finally, this
          section provides a summary table of the environmental consequences associated with
          each alternative.
      •   Chapter 3. A^jfected Environment and Environmental Consequences: This chapter
           describes the environmental effects of implementing the proposed action and other
          alternatives. It describes the affected environment, by resource area, as a baseline against
          which the impacts of alternatives are measured. The description of each resource or
          management focus is followed by disclosure of the potential indirect, and cumulative,
           effects of implementing the proposed action and each of the alternatives on that particular
          resource. Given the programmatic nature of this analysis, there are no direct effects of
           implementing the proposed action. Such effects would occur at the project level.
      •    Chapter 4. Consultation and Coordination: This chapter provides a list of preparers and
          agencies, government officials, and selected other parties who were consulted during the
           development of the document.
      •   Reeferences. This section reports full citations for the sources cited in the text.
      •   Glossary. The glossary defines terms used in this draft environmental impact statement.
      •   Appendices. The appendices provide more detailed information to support the analyses
          presented in the analysis.
      Additional documentation, including more detailed analyses of project area resources, is
      contained in the project record, which is available at the Rio Grande National Forest
      Supervisor’s Office, 1803 W. Highway 160, Monte Vista, Colorado, 81144. The office is
      located on the west side of Monte Vista, on the north side of Highway 160. Office hours are
      8:00 am - 4:30 pm, Monday through Friday.
      In this document, “forest” with a lower case “f” refers to areas with trees, while “Forest” or
      “Forestwide” with an upper case “F” refers to the Rio Grande National Forest. Forest Service


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   land management plans are commonly referred to as forest plans. The proposed action is also
   sometimes called the proposed plan or draft plan, and it is being concurrently published with
   the formal title “Rio Grande National Forest Draft Revised Land Management Plan.”

   Regulatory Direction
   The National Forest Management Act of 1976 (Public Law 94-588) directs the Forest Service
   to develop land management plans (forest plans), which direct the management of the natural
   resources and human uses of each national forest. Implementation of the National Forest
   Management Act (36 CFR 219) requires every national forest to revise its land management
   plan:
   •   every 10 to 15 years,
   •   when conditions or demands in the area covered by the plan have changed significantly,
   •   when changes in agency policies, goals, or objectives would have a significant effect on
       forest-level programs, and
   •   when evaluation of monitoring data indicates that a revision is necessary.
   Many forest plans have not been revised on schedule for various reasons, but an important
   factor includes the time and capacity needed to produce a forest plan amendment, which can
   take 3 to 5 years to complete. Since the Rio Grande Forest Plan was last revised in 1996, the
   plan has required seven amendments, including several project-specific amendments as well
   as amendment of Forestwide direction, such as the Management Indicator Species
   Amendment (2003) and the Southern Rockies Lynx Amendment (2008).
   Many other laws and regulations apply to management of the national forests including, but
   not limited to, the Clean Air Act, Clean Water Act, Endangered Species Act, and National
   Historic Preservation Act. Issues that do not warrant citation of the direction contained in the
   law or regulation are generally not repeated or referenced in a forest plan. Additional
   direction and policy for managing national forests are provided in Executive orders, the Code
   of Federal Regulations, and the Forest Service directives system. The Forest Service
   directives systems includes Agency-specific manuals and handbooks that contain information
   that is not repeated in a forest plan.

   2012 Planning Rule Direction
   Issued by the U.S. Department of Agriculture, the new 2012 Planning Rule emphasizes that
   forest plans are to guide forest management so that national forests are ecologically
   sustainable and contribute to social and economic sustainability. National forests are
   managed to provide ecosystems and watersheds with ecological integrity and diverse plant
   and animal communities. In addition, they are managed to have the capacity to provide
   people and communities with ecosystem services and multiple uses that provide a range of
   social, economic, and ecological benefits for the present and into the future.
   Three phases of planning are described in the 2012 Planning Rule:
   •   Assessment,
   •   Development, amendment, or revision of forest plans, and
   •   Monitoring. (See 2012 Planning Rule at 36 CFR 219.6, 219.7, 219.12, and 219.13.)

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      The Rio Grande forest plan was signed in 1996, and the direction contained was still
      applicable and valid. However, the recent spruce beetle infestation caused a change in
      condition that warranted revision of the existing forest plan. The Rio Grande is the first
      national forest in the Rocky Mountain Region to undergo revision under the 2012 Planning
      Rule. The Forest began the assessment phase of planning in 2014. Through the assessments
      and extensive public involvement, the Forest began the revision process in 2016 by
      developing and releasing a need for change, strategic framework, and proposed action. This
      environmental impact statement analyzes the alternatives that have been developed and
      presents an adaptive management process and monitoring plan that will be implemented
      upon completion of the forest plan revision process.

      Forest Plan Content
      Forest plans provide a framework for integrated resource management and for guiding
      project and activity decision-making. Plans themselves do not compel any action, authorize
      projects or activities, or guarantee specific results. Instead, they provide the vision and
      strategic direction needed to move the national forest toward ecological, social, and
      economic sustainability. Proposed draft revised plans include “plan components” and “other
      content.”
      After a plan is approved, any substantive changes to plan components require a plan
      amendment. Revisions to other plan content to correct nonsubstantive content (such as
      misspellings or typographical mistakes), or to update information (such as data and maps),
      may be made using an administrative correction process. The public is notified of all plan
      amendments and administrative corrections before they become effective.

      Plan Components
      A forest plan provides general strategic framework to guide national forest staff as they
      propose, analyze, and decide on projects and activities. The five required components of a
      forest plan include desired conditions, objectives, standards, guidelines, and suitability of
      lands. A plan may also include goals as an optional component.
      •   A desired condition describes the specific social, economic, or ecological characteristics
          of the plan area, or a portion of the plan area, toward which management of the land and
          resources should be directed. This description is specific enough to allow assessment of
          progress toward achievement but does not include a completion date.
      •   An objective is a concise, measurable, and time-specific statement of a desired rate of
          progress toward one or more desired conditions. Objectives are based on reasonable
          foreseeable budgets.
      •   A standard is a mandatory constraint on project and activity decision-making,
          established to help achieve or maintain the desired condition, to avoid or mitigate
          undesirable effects, or to meet applicable legal requirements.
      •   A guideline is a constraint on project and activity decision-making that allows for
          departure from its terms (more flexibility), as long as the purpose of the guideline is met.
          Guidelines are established to help achieve or maintain the desired condition or



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       conditions, to avoid or mitigate undesirable effects, or to meet applicable legal
       requirements.
   •   Suitability of lands is determined for specific lands within the plan area. The lands are
       identified as suitable or not suitable for various uses or activities based on desired
       conditions applicable to those lands. The suitability of lands is not identified for every
       use or activity. Identification of certain lands as suitable for a use is not a commitment to
       allow such use, but only an indication that the use might be appropriate. If a plan
       identifies certain lands as not suitable for a use, then that use or activity may not be
       authorized unless a change in the plan is made.

   Optional Plan Components
   •   A goal describes a broad statement of intent. These are overarching desires for
       management of the national forest within the 2012 Planning Rule framework that do not
       include completion dates.

   Other Plan Content
   Other content included in forest plans includes background information, general area
   descriptions, identification of priority watersheds for maintenance and restoration, and
   management approaches—which describe the principal strategies and program priorities that
   each national forest intends to employ to carry out projects and activities under the plan.
   Potential management approaches may discuss potential processes such as analysis,
   assessment, inventory, project planning, or project monitoring. They can convey a sense of
   priority and focus along with a likely management emphasis. Management approaches relate
   to desired conditions.
   The monitoring program is based on the practice of adaptive management, which is
   recognized as critical for managing natural resources. The purpose of monitoring in an
   adaptive management framework is to facilitate learning to support determinations on
   whether changes to the forest plan are needed.
   Additionally, the forest plan includes implementation direction for a public adaptive
   management process that will be implemented to increase public involvement in plan-level
   decision-making.

   Background of the Forest
   The Rio Grande National Forest consists of about 1.83 million acres in south-central
   Colorado (Figure 1) and forms the backdrop for the San Luis Valley, one of the largest
   mountain basins in the world. The headwaters of the Rio Grande originate within the Forest
   boundary, and most watersheds on the Forest feed into the Rio Grande system. Water for
   municipal, industrial, and agricultural purposes comes from the Sangre de Cristo mountain
   range on the east side of the valley, and the San Juan mountain range to the west. The Forest
   was established in large part for the protection of these watersheds, and this foundational
   language is every bit as relevant today as it was at the inception of the original forest reserve
   as described later in the Administrative History section.




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      Figure 1. Location of Rio Grande National Forest in Colorado

      The Forest is administered by the U.S. Department of Agriculture Forest Service, which is
      one of several land management agencies in the San Luis Valley. Department of Interior
      agencies that management land in the valley include the Bureau of Land Management,
      National Park Service, and U.S. Fish and Wildlife Service. All of the agencies have similar
      missions and directives and work collaboratively across area boundaries. Differences among
      the agencies are typically not understood by the general public. A map showing Land
      Ownership is contained on the DVD located at the back of this document.
      State agencies also provide input to management on Federal lands. For example, Forest staff
      collaborate closely with Colorado Parks and Wildlife staff in the management of habitat for
      wildlife species, including big game species such as elk and bighorn sheep. Colorado Parks
      and Wildlife directs herd location and management that relates to the habitat management
      responsibilities of the Forest.
      Elevation ranges from about 7,800 feet in the foothills to more than 13,000 feet in the San
      Juan Mountains along the Continental Divide. A. few Sangre de Cristo elevations, to the east,
      exceed 14,000 feet.




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   The expansive and flat San Luis Valley, which contains very little National Forest System
   land, is composed of unconsolidated sediments laid down during the late Tertiary period. The
   Sangre de Cristo and San Juan mountain ranges on either side of the San Luis Valley, where
   most of the Forest is located, are of different origin and geologic age. The San Juan
   Mountains are composed of volcanic rocks and related shallow, intrusive rocks of the mid- to
   late-Tertiary period. Although the Sangre de Cristo Mountains are of more recent origin, the
   bedrock is older. The steep, narrow Sangre de Cristo Mountains were formed by faulting and
   thrusting along the Rio Grande Rift, a north-trending continental rift zone that separates the
   Colorado Plateau to the west from the Southern Rocky Mountains to the east.
   Forest ecosystems generally vary by elevation, with the highest elevation containing the
   alpine tundra that occurs at or above 11,500 feet. Decreasing in elevation is the spruce-fir
   forest, which is generally inhabited by Engelmann spruce and subalpine fir mixed with
   quaking aspen. Vegetation in these ecosystems has been substantially altered by the recent
   spruce bark beetle infestation.
   The Rocky Mountain alpine turf ecosystem is widespread above the upper timberline
   (11,000 feet and higher). Dominant species include boreal sagebrush, several sedge species,
   tufted hair grass, fescue grasses, Ross’ avens, Bellardi bog sedge, cushion phlox, and alpine
   clover.
   The mixed conifer-wet ecosystem occurs in the transition zone between the higher elevation
   spruce-fir and the drier mixed conifer type. It is generally dominated by Douglas fir and
   various combinations of white fir, Colorado blue spruce, Engelmann spruce, or subalpine fir,
   with incidental occurrences of ponderosa pine.
   The drier mixed conifer ecosystem sites include a mix of conifer species, including
   ponderosa pine, Douglas fir, white fir, Colorado blue spruce, and smaller amounts of aspen.
   Depending on site conditions, limber pine, bristlecone pine, and some pinyon pine or juniper
   can be present.
   Closer to the valley the pinyon-juniper woodland ecosystem includes pinyon pine, Rocky
   Mountain juniper, and Utah juniper. These woodlands generally occur on warm, dry sites on
   mountain slopes, mesas, plateaus, and ridges. Understory species include sparse perennial
   grasses, annual and perennial forbs, and sparse shrubs.
   Rocky Mountain Gambel oak shrubland ecosystems are present at the north end of the San
   Luis Valley near Poncha Pass. Dominant species include Gambel oak, serviceberry,
   sagebrush, and various other shrubs, grasses, and forbs.
   The Southern Rocky Mountain montane-subalpine grassland ecosystem includes Thurber
   fescue, Arizona fescue, and several other grasses, forbs, and sedges.
   The Rocky Mountain riparian ecosystem includes numerous riparian types in the upper
   montane/subalpine zones. These systems are highly variable and generally consist of
   cottonwoods, willows, sedges, other herbaceous vegetation, aspen, and conifers such as blue
   spruce, Engelmann spruce, and subalpine fir.
   The Rio Grande National Forest provides habitat for an estimated 300 species of mammals,
   birds, reptiles, amphibians, and fish. Eight of the 300 species are federally recognized as
   threatened or endangered animal species:


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      •   Black-footed ferret
      •   Canada lynx
      •   Gunnison sage-grouse
      •   Mexican spotted owl
      •   New Mexico meadow jumping mouse
      •   Southwestern willow flycatcher
      •   Uncompahgre fritillary butterfly
      •   Yellow-billed cuckoo
      The Rio Grande National Forest represents a large part of the core area for Canada lynx,
      which were reintroduced to Colorado during 1999-2006. The vast majority of Canada lynx in
      Colorado remain and reproduce in the high-elevation spruce-fir zone in the southwestern part
      of the state, including on the Forest.
      Counties containing National Forest System lands include Alamosa, Archuleta, Conejos,
      Hinsdale, Mineral, Rio Grande, Saguache, and San Juan. Many counties are characterized by
      low population densities, high unemployment, and low per capita income. Although there are
      no National Forest System lands in Custer and Costilla Counties, people there rely on the
      Forest for gathering forest products such as firewood, and for hiking, camping, and other
      recreational activities.
      The area of influence for the Forest extends beyond the eight counties that contain lands
      within its boundaries. Colorado communities within Alamosa, Archuleta, Chafee, Conejos,
      Costilla, Custer, Fremont, Gunnison, Hinsdale, La Plata, Mineral, Montrose, Park, Rio
      Grande, Saguache, and San Juan Counties and New Mexico communities in Rio Arriba and
      Taos Counties are recognized as having strong socio-economic ties to the Forest. These 16
      counties are included in the area of economic influence
      Communities surrounding the Forest have become increasingly attractive to new residents
      because of their proximity to open spaces, natural settings, and easy access to year-round
      recreational opportunities. Population projections indicate that the San Luis Valley and the
      region surrounding the Forest will continue to grow, increasing demands on Forest resources.
      The Forest offers diverse recreation opportunities that include backpacking, boating, camping
      (both developed and dispersed), cross-country skiing, fishing, hiking, hunting, off-road
      vehicle riding, picnicking, rock climbing, snowshoeing, and snowmobiling.
      More than 1,350 miles of trails traverse the Forest, including the Continental Divide National
      Scenic Trail, the Colorado Trail, and the Old Spanish National Historic Trail. About 170
      miles of the Continental Divide National Scenic Trail traverse the Rio Grande National
      Forest, starting at the boundary with the Gunnison National Forest and stretching to the New
      Mexico state line. Sections of the Old Spanish National Historic Trail, designated in 2002,
      pass through the Rio Grande National Forest, offering a glimpse into past trade routes along
      which supplies and slaves were moved from Santa Fe to the California Territory in the 1820s.
      Colorado has the sixth-highest acreage of National Forest System lands nationwide, with
      about 14,471,800 acres of national forests and grasslands that provide places for recreational
      activities for residents and tourists. For Colorado and most of the Rocky Mountains, tourism


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   is a main source of income. There is a direct tie between the beautiful scenery provided by
   the Forest and local economic benefits.
   The Rio Grande National Forest makes up 13 percent of the National Forest System land in
   the State of Colorado. Traversing the Forest are two designated scenic byways—the Silver
   Thread and Los Caminos Antiguos (Colorado Department of Transportation 2017)—and a
   well-developed system of roads and trails. Many outfitter and guide services provide visitor
   opportunities to experience the Forest.
   Located in the south-central part of the Rocky Mountain range, the Forest offers unique
   scenic experiences. Southwestern flora combine with the spectacular scenery of the central
   Rocky Mountains. To the east, the open floor of the San Luis Valley is surrounded by the
   rugged mountain peaks of the Sangre de Cristo range. To the north, high mountain peaks give
   way to gentler rolling hills covered in lodgepole pine that extend to the valley bottom.
   Looking west, the scattered mountain peaks are mixed with rolling hills, rock canyons, and
   open meadows. To the south the valley is fairly flat, with several dominant, rounded
   mountains that rise above the horizon.
   These characteristics offer visitors some of Colorado’s most beautiful scenery. The Sangre de
   Cristo range is home to several of Colorado’s 14,000-foot peaks including Crestone Peak,
   Crestone Needles, Kit Carson, and Blanca Peak. Great Sand Dunes National Park and
   Preserve borders the Forest in the Sangre de Cristo range. Some of the tallest dunes in North
   America occur in the park, which is managed by the National Park Service and is adjacent to
   the Forest.
   The western part of the Forest has a view of the Rio Grande Pyramid, the 100-foot-high
   North Clear Creek Falls, Bristol Head Mountain, the headwaters of the Rio Grande river
   system, and the La Garita, South San Juan, and Weminuche Wilderness areas. Parks and open
   meadows, such as Saguache Park, contain a variety of plant and animal life and are home to a
   wide range of wildflowers.
   Historic scenic areas include the Bachelor Loop, near Creede; the Bonanza Loop, near Villa
   Grove; and the Cumbres & Toltec Scenic Railroad, near Antonito. Tucked in the foothills are
   many unique rock formations, including the Natural Arch and Summer Coon Volcano areas.
   Adjacent Bureau of Land Management lands have well-known rock climbing areas such as
   Penitente, Witches, and Sidewinder Canyons, and the Rock Garden, that draw avid rock
   climbers to the area.

   Administrative History
   The Rio Grande National Forest was established by President Theodore Roosevelt on July 1,
   1908. The proclamation language created the Forest “from those parts of the San Juan and
   Cochetopah National Forests within the Rio Grande river drainage, excluding the land
   containing Saguache Creek, Carnero Creek and their tributaries, and the tributaries of San
   Luis Creek.”
   Although the Forest Reserve Act was passed in 1891, reserves that later would become the
   Rio Grande National Forest were not created until April 11, 1902, when the San Isabel Forest
   Reserve was created by Theodore Roosevelt, including a portion of the Sangre de Cristo
   mountain range from Poncha Pass to Mt. Blanca. The reserve was created in response to a


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      petition by the San Luis Valley Cattlemen, among others, to protect the watershed for the
      growing San Luis Valley agricultural economy (Godfrey 2012).
      On June 3, 1905, the San Juan Forest Reserve was established, including lands south and
      west of the Rio Grande from the headwaters to the New Mexico state line. The San Juan was
      created following a field report generated by Coert DuBois in 1903. The field report
      documented characteristics of the lands that would become the Reserve including
      topography, climate and precipitation, prevailing winds, and vegetation types at various
      elevations. The DuBois report also documented the human activities impacting the forest at
      the turn of the century, including “farming, sheep and cattle raising, lumbering and mining,
      named in the order of their importance.” Ultimately, the report recommended creation of the
      San Juan Forest Reserve with a priority on watershed health, specifically “to prevent spring
      floods and summer droughts; ensure a steady supply of timber for developing the area’s
      mineral resources and to prevent control of timber supply from passing into the hands of
      large lumber companies; to prevent overstocking of the range; and to prevent and control
      repeated forest fires” (Godfrey 2012). The first headquarters was located in Durango in 1906
      and was shared with the newly established Montezuma Forest Reserve. Later that year, the
      supervisor’s office for the San Juan Forest Reserve was moved to Monte Vista. Early ranger
      districts on the Rio Grande side of the reserve were the Pyramid, Creede, Alamosa, and
      Conejos.
      Ten days following the creation of the San Juan Forest Reserve, the Cochetopah Forest
      Reserve was created on June 13, 1905. This Reserve included lands that would become the
      northwest portion of the Rio Grande National Forest, extending from the north side of the
      Rio Grande headwaters system north through the Cochetopa hills to the west side of Poncha
      Pass. The Cochetopah was recommended following another field report generated by John
      Hatton, which recommended creation of the Reserve to ensure protection of the watershed
      for downstream irrigation. The Cochetopah became its own national forest in 1907 when all
      reserves became national forests. Original ranger districts that later became part of the Rio
      Grande National Forest include the Saguache and Poncha Districts, with guard stations at
      Stone Cellar, Upper Crossing, and Brewery Creek, and a ranger station in Saguache. The
      Poncha District abutted the San Luis Ranger District of the San Isabel National Forest, with
      an office in Moffat.
      After the original formation of the Rio Grande National Forest in 1908, it remained one of
      three national forests managing the Rio Grande headwaters until the 1940s. After being
      created out of the San Juan Forest Reserve, the new national forest retained the previous
      ranger districts of Pyramid, Creede, Alamosa, and Conejos and created the South Fork
      District with a ranger station on Alder Creek. In 1920, the Del Norte Ranger District was
      carved out of portions of the Alamosa and Alder/South Fork Districts. In 1940, the
      boundaries of the Del Norte District were slightly changed and while the district remained,
      the Alamosa Ranger District was restored. Finally, the Pyramid and Creede Districts were
      consolidated into the Creede Ranger District, which continued to use the ranger station in
      Creede.
      President Franklin Roosevelt transferred portions of the Cochetopah National Forest to the
      Rio Grande National Forest on December 29, 1938. Then, in late 1943, following
      recommendations in 1940 under the authority of the General Exchange Act of 1922 to
      acquire certain lands of the Tierra Amarilla Land Grant, a title to those lands owned by the

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   Hughes Estate and known as Chama Basin was transferred to the Forest. On January 17,
   1945, the Cochetopah National Forest was abolished and its ranger districts placed under the
   administration of the Gunnison (Tomichi), Rio Grande (Saguache) and San Isabel (Buena
   Vista, Leadville, and major portions of Poncha) National Forests. The transfer was
   retroactively effective as of July 1, 1944. The remaining portions of the west flank of the
   Sangre de Cristo Mountains were transferred from the San Isabel National Forest to the Rio
   Grande National Forest on October 26, 1954.

   Purpose and Need for Action - The Need for Change and
   Revision Topics
   This document analyzes a suite of alternatives that will ultimately revise the existing land
   management plan for the Rio Grande National Forest. The purpose and need for this action is
   primarily the changed condition on the Forest. Since the forest plan was approved in 1996, it
   has been amended seven times. Significant changes in economic, social, and ecological
   conditions in the plan area have taken place, including the infestation of about 610,000 acres
   of spruce trees by the spruce beetle (USDA Forest Service GSC 2016).
   The purpose and need for revising the current plan is also to incorporate new policies,
   priorities, information from monitoring reports, and scientific research as required under the
   2012 Planning Rule. Forest staff have completed monitoring reports annually from 1997
   through 2013. The 2012 Planning Rule, which became effective May 9, 2012, requires
   inclusion of plan components that address social and economic sustainability, ecosystem
   services, and multiple uses integrated with the plan components for ecological sustainability
   and species diversity. Social and economic management direction is needed to provide
   people and communities with a range of social and economic benefits for present and future
   generations. To meet the 2012 Planning Rule requirement to provide for ecological
   sustainability, management direction is also needed that addresses ecosystem integrity and
   diversity, including key ecosystem characteristics, in light of changes in climate,
   landownership, and recreational use patterns, as well as other threats and stressors to those
   ecosystems.
   Revised plan components that focus on maintaining or restoring aquatic and terrestrial
   ecosystems are needed to provide for species diversity, including threatened and endangered
   species, and species of conservation concern. Additionally, updates and modifications to
   management direction are needed to address suitability of certain areas for particular uses,
   address access and sustainable recreation, and provide for the management of existing and
   anticipated uses. The 2012 Planning Rule also requires the identification of areas suitable for
   timber harvest on the Forest, the re-evaluation of the maximum quantity of timber that may
   be removed from the Forest, a description of the proposed and possible actions related to the
   planned timber sale program, timber harvesting levels, and the proportion of various methods
   of forest vegetation management practices.
   Most importantly, the purpose and need is to address the identified needs to change the
   existing plan that was presented to the public in March 2016 and refined into an initial
   proposal in July 2016. These needs for change were identified through the monitoring reports
   mentioned above, internal staff recommendations, and the assessment phase of the revision
   process, which was initiated in December 2014 and completed in March 2016. Extensive


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      public and employee involvement, along with science-based evaluations, has helped identify
      these preliminary needs to change the existing forest plan. During the assessment phase,
      more than 50 public meetings were held in multiple forums to engage the public on the
      current condition and potential needs to change the management of the Forest. Upon
      completion of the assessment phase, two additional rounds of meetings were held on each
      district in March and July of 2016 to discuss and further refine the needs for change and
      initial proposal summarized in the proposed action items described below.
      Listed below are the broad need for change topics for the revised forest plan, as described in
      the March 2016 need for change document and refined in the July 2016 initial proposal.
      These topics were distributed in the documents through tables A, B, and C, tiered to their
      legal requirements and levels of discretion at the Forest level. These are considered need for
      change topics because, by themselves, any change in management direction would generally
      result in an amendment of the forest plan. Resolution of these topics could change
      management direction over large areas of the Forest, or change the mix of goods and services
      that the Forest provides.
      The listed topics can be thought of as an “umbrella” for several important issues related to
      the same revision topic, to be discussed in further detail later in this chapter.
      •   Terrestrial, riparian, and aquatic ecosystem integrity
      •   Habitat connectivity and persistence of species of conservation concern
      •   Sustainable recreation opportunities and suitability of uses
      •   Wilderness, wild, scenic and recreational rivers, and other special designations
          considerations
      •   Timber suitability and management
      •   Risk management, climate change vulnerabilities, and renewable energy
      •   Social and economic sustainability and ecosystem services
      •   Prescribed and naturally occurring fire as a management tool
      The need for change topics listed above are not the only changes addressed in the plan. Many
      other changes were raised as potential revision topics during the assessment phase but were
      not identified as needs for change. Those issues were listed in both the March and July need
      for change documents as “desired changes identified through the assessment phase” in
      Table D of the Purpose and Need for Action (USDA Forest Service 2016a). At the time, the
      deciding official believed that those changes might not be relevant, timely, or appropriate for
      further analysis. At least three changes originally contained in Table D were moved to Table
      C as an identified need for change following public comment and interdisciplinary team
      review, including consideration of the suitability of over-snow travel and communication
      sites, and additional management direction to ensure separation of domestic sheep and pack
      goats from bighorn sheep. There is also a need to integrate previous amendments and
      management decisions, including the Southern Rockies Lynx Amendment, Baca Mountain
      Tract Amendment, water rights settlement and decree in Colorado Case No. 81-CW-183 from
      March of 2000, and the Colorado Roadless Rule finalized in 2012.




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   Travel Management
   Travel management addresses the use of motor vehicles on National Forest System lands.
   Many commenters confuse travel management with a determination of land suitability. While
   one process informs the other, the two are separate processes. The 2012 Planning Rule
   requires that the forest plan identify lands as suitable for various uses or activities based on
   the desired conditions for those lands. Suitability of lands in the plan area integrates social,
   economic, cultural, and ecological considerations. Identification of suitable lands is not
   required for every resource or activity or acre of land.
   Travel management identifies which lands are available for all types of motorized vehicle
   use, which includes passenger vehicles, snow machines, motorcycles, four wheelers, etc.
   When designating uses, the responsible official considers the effects on natural and cultural
   resources, public safety, recreational opportunities, access needs, conflicts among uses of the
   lands, the need for maintenance and administration of roads, trails, and areas that would arise
   if the uses under consideration are designated, and the availability of resources for that
   maintenance and administration. The Travel Management Rule, Subpart (b), provides
   specific criteria for designation of trails and areas. The objective of the decision by the
   responsible official is to minimize: (1) damage to soil, watershed, vegetation, and other forest
   resources, (2) harassment of wildlife and significant disruption of wildlife habitats (Federal
   Register /Vol. 70, No. 216 /Wednesday, November 9, 2005 /Rules and Regulations).
   The Forest has determined to complete the travel management process subsequent to the
   forest planning process. The forest plan process will identify what lands are suitable for
   motorized use based on desired conditions. The travel management process will then
   determine the effects of those uses on Forest resources and use and determine what roads,
   trails, and areas can accommodate motorized use. Completing the process in this manner
   allows determinations of suitability to be established and better inform the travel
   management process. The travel management plan approved with the 1996 forest plan will
   continue to be implemented until a separate revision process is initiated following revision of
   the forest plan.

   Proposed Action
   The Rio Grande National Forest is proposing to revise the forest plan to address the needs for
   change developed in March 2016. The Forest proposes to establish a strategic management
   framework to guide development of the forest plan direction and implementation for the next
   10 to 15 years. The framework is designed to increase the responsiveness of forest managers
   to changing conditions on the landscape, including changes from higher level direction, and
   new technologies that are not yet foreseen. Developed with the public through the spring and
   summer of 2016, this framework includes an overarching geographic area layer that groups
   the management areas mostly contained in the 1996 forest plan. The geographic areas are
   tiered to levels of active management, the responsible official’s discretion in managing the
   specific areas, and the current legal status of the land. The framework provides an
   opportunity for the revised plan to better communicate how the Agency manages the Forest,
   which was a common theme heard throughout the public process.
   The proposed action includes Forestwide goals, objectives, and desired conditions, as well as
   management area specific desired conditions. To ensure for management accountability, the


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      Forest is proposing standards, guidelines, and suitability determinations to reflect this
      adaptive management strategy while ensuring ecosystem integrity, sustainability, habitat
      connectivity, and the persistence of species of conservation concern.
      The proposed action, which is alternative B, identifies watersheds that are a priority for
      maintenance and restoration as required in the 2012 Planning Rule. It also includes an
      estimate of what may be suitable timber acreage for the next 10 to 15 years, as well as a
      proposal for fire management zones. The Forest intends to re-evaluate the suitability of its
      National Forest System lands to support other multiple uses, including over-snow vehicle
      use, communication sites, and utility corridors.
      When developing alternative B, the Forest conducted an analysis of changes to suitable and
      eligible wild, scenic, and recreational rives. Forest specialists analyzed 34 stream reaches as
      potentially suitable and eligible for inclusion in the National Wild and Scenic Rivers System.
      One segment of Deadman Creek in the Sangre de Cristo range is being carried forward into
      analysis of the potential outstanding resource values.
      The Forest also conducted a process that conducted an inventory and evaluation of potential
      wilderness acres. This extensive process is documented in Rio Grande National Forest Draft
      Wilderness Evaluations (USDA Forest Service 2016c), which are available on the Forest
      website.
      The proposed action describes a monitoring plan as part of the adaptive management
      framework to ensure accountability. The monitoring plan presents questions and indicators of
      measures to address eight topic areas required by the 2012 Planning Rule. The monitoring
      plan uses data from existing databases and ongoing partnerships as much as possible,
      including further development of a partnership with the State and Private Forestry Forest
      Inventory and Analysis program.
      Alternative B proposes to establish an expectation of an annual information-sharing meeting
      with the public to gauge implementation of the forest plan and identify potential needs for
      changes and amendments to the forest plan. Depending on the level and extent of the
      necessary adjusments, there may be a need to complete a forest plan amendment or
      administrative change. Regardless of the process used, any changes to plan content would be
      conducted with public involvement.
      The proposed action is formally known as the Rio Grande National Forest Draft Revised
      Land Management Plan, which is being published simultaneously along with this Rio Grande
      National Forest Plan Revsion Draft Environmental Impact Statement. Maps of management
      areas and geographic areas for alternatives A through D are contained on the DVD located
      at the back of this document.

      Decision Framework
      The responsible official for the analysis is the forest supervisor for the Rio Grande National
      Forest. The responsible official will prepare a final environmental impact statement based on
      the analysis and subsequent public comments, and will identify a selected alternative in a
      draft record of decision that will be subject to an objection process guided by the direction in
      36 CFR Subpart B (219.50 to 219.62). The decision will:



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   •    Establish desired conditions and objectives,
   •    Establish Forestwide design criteria (standards and guidelines),
   •    Establish management areas and geographic areas,
   •    Determine suitability of land,
   •    Determine the maximum amount of timber that might be removed,
   •    Recommend areas for inclusion in the National Wilderness Preservation System (36 CFR
        219.7(c)(2)(v)) if applicable, and
   •    Identify suitable and eligible wild, scenic, and recreational rivers (36 CFR 219.7(c) (2)
        (vi)) if applicable.
   A final record of decision and accompanying forest plan sets a course of action for managing
   the Forest for the next 10 to 15 years. Forest plans are strategic in nature and do not compel
   the Agency to undertake any site-specific projects. Project-level environmental analysis will
   be completed for specific proposals that implement direction in the forest plan.
   The forest plan provides strategic direction and a framework for decision-making during the
   life of the plan, and does not repeat information already required or described in existing
   laws, regulations, or guidance. The forest plan does not make site-specific project decisions
   or dictate day-to-day administrative activities needed to carry on internal operations within
   the Forest Service. The authorization of project-level activities is based on the direction
   contained in the forest plan, but occurs through subsequent project-specific environmental
   analysis and decision-making as required by the National Environmental Policy Act. Though
   strategic guidance is provided, no decisions will be made regarding the management of
   individual roads or trails, such as those that might be associated with a travel management
   plan under 36 CFR Part 212. Some issues, although important, are beyond the authority or
   control of a forest plan and will not be addressed. For example, inventoried roadless area
   boundaries established by the Colorado Roadless Rule will not be modified.

   Public Involvement
   The Forest has engaged in collaboration and public involvement to inform revision of the
   forest plan since October 2014. Prior to the beginning of assessment development, the Forest
   hosted four community awareness meetings and interviewed key stakeholders to gauge
   awareness of forest planning and the best timing to hold assessment meetings.
   The notice of intent to initiate the assessment phase was published in the Federal Register on
   December 26, 2014. From February 2015 through March 2016, more than 50 topic-based and
   co-hosted meetings were held with partner organizations. More than 500 people attended.
   Concurrently, the Forest used a web-based tool to ask questions to inform the assessments.
   Public engagement was first summarized in meeting notes that were made available on the
   website and later synthesized into 15 topic-based report packages composed of executive
   summaries, reports, and appendices. The executive summaries were explicitly designed to
   reach the broadest audience, with a summary of the resource issues and a synthesis of what
   was heard from the public. The executive summaries were generally less than five pages and
   used the headers “what we asked,” “what we heard,” and “where we’re headed.”




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      The assessments were completed and a draft need for change document was published in
      March 2016. More than 100 people attended one of the three public meetings and a webinar.
      In response to public comments, Forest staff committed to working through two iterations of
      the need for change document before formalizing a proposed action and initiating scoping.
      The second need for change document, or initial proposal, was presented through another
      round of public meetings in July 2016 and included a proposed adaptive management
      framework and the use of management practices, later renamed management approaches, as
      plan components.
      In June 2016, the Forest held two draft wilderness inventory meetings to refine criteria used
      in the wilderness inventory phase. The Forest successfully presented a draft inventory map at
      both meetings. In July, a final wilderness inventory report and draft evaluation report was
      published as well as an initial inventory of wild, scenic, and recreational rivers to be
      analyzed. The July meetings mentioned above also presented these two topics.
      Comments on the initial proposal were used to create the proposed action, which was
      published in the Federal Register on September 12, 2016. The proposed action included a
      draft plan, as well as a regional forester letter confirming the species of conservation concern
      for the Forest. Scoping lasted 45 days, until roughly the end of October 2016. About 75
      people attended the three public meetings held in late September.
      Overall, the Forest has benefitted from mostly positive feedback from the public leading up
      to scoping. Consistent leadership in key positions (forest supervisor, public affairs staff) has
      helped preserve a sense of trust, at least with the local public.

      Collaboration
      The Forest has maintained ongoing collaboration with counties, state agencies, and tribes,
      starting with stakeholder interviews conducted in October 2014, to develop the assessment
      phase strategy. During plan development, the Forest was able to further focus collaboration
      with counties and state agencies. A local stakeholder group applied for funds through
      Colorado’s Federal Lands Coordination program to facilitate county engagement in federal
      land planning. These funds allowed the Forest to contract with Agnew: Beck to facilitate the
      plan development meetings. The Forest plan revision effort was the first time this program
      had been used in Colorado. The Forest also formalized a cooperating agency relationship
      with Alamosa, Conejos, Hinsdale, Rio Grande, Saguache, and Mineral Counties, Colorado’s
      Department of Natural Resources, and the Navajo Nation in May 2016 and held focused
      meetings with this group in May and November 2016.

      Tribal Consultation
      In October 2014, the Forest initiated formal government-to-government tribal consultation by
      mail with 19 consulting tribes. Consultation began by offering tribes the opportunity to
      establish their level of involvement throughout the assessment and plan development
      processes. The San Luis Valley Native American Graves Protection and Repatriation Act
      Working Group already was in existence. Participants include the National Park Service,
      Bureau of Land Management, U.S. Fish and Wildlife Service, and 13 consulting tribes.
      Discussion at an October 2014 meeting included how the tribes might be involved in forest
      plan revision. Five tribes elected to participate in the assessment process.

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   Heritage staff met with the Jicarilla Apache Tribe, Navajo Nation, Santa Ana Pueblo,
   Southern Ute Tribe, and Ute Mountain Ute Tribe in 2015 to determine need for change topics
   and discuss features and areas of interest, including Blanca Peak, which was the focus of a
   May 2015 meeting to discuss the significance of the mountain and ways of unifying the
   federal ownerships across four agencies in its management. Attendees included
   representatives from the Navajo, Jicarilla, and Southern Ute, the Forest, Bureau of Land
   Management, U.S. Fish and Wildlife Service, and National Park Service.
   In February 2016, the Navajo Nation became a cooperating agency in addition to their
   existing government-to-government relationship. In October 2016, the Forest updated the
   San Luis Valley Native American Graves Protection and Repatriation Act Working Group on
   the assessments, the wilderness recommendation process, and needs for change. In 2017,
   heritage program staff discussed management of osha and draft plan components with tribes,
   including the Southern Ute Tribe. Staff also met with the Navajo Nation to further discuss
   proposed management strategies for Blanca Peak. Additionally the Forest sent a letter to the
    19 consulting tribes formally requesting input on draft plan components related to areas of
   tribal importance.

   Research Opportunities and Partnerships
   During plan development, the Forest reached out to the Forest Service Rocky Mountain
   Research Station when developing management direction related to insects and disease,
   hydrology, drought, and other reasonably foreseeable climate trends within the life of the
   revised plan. Initial discussion culminated in a two-day workshop in October 2016 with
   Forest staff and researchers from Rocky Mountain Research Station to share research
   findings and strategize on plan direction related to the topics described above. Many of the
   research findings were used by the Forest Service to develop revised plan direction.
   Partnership opportunities have been discussed throughout this revision effort to enhance
   public involvement at all levels of forest planning. Partnerships focused on management
   direction are detailed in the Cultural Resources and Sustainable Recreation sections of the
   plan. The monitoring chapter of the plan also acknowledges data sources and partnerships
   with user groups as a means to better monitor implementation of the plan.

   Revision Topics
   Each emphasis area identified in the need for change was considered as a potential revision
   topic. The need for change considered topics for revision of the forest plan and presented
   them in four tables. The March 2016 need for change document organized topics into tables.
   Table A included topics that are required to be addressed in revision by high-level direction.
   Tables B and C included overarching changes identified through assessments, public
   comments, tribal consultation, or internal comments. Table D included changes that are made
   at the discretion of the responsible official. Revision topics help compare and contrast the
   differences among alternatives.
   The need for change process identified topics that direct the need to revise the forest plan.
   Many of the topics identified in the need for change are addressed in the revision of the forest
   plan but do not vary by alternative. For example, public involvement comments included in
   the need for change focused on the desire for the forest plan to be more responsive to


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      changing conditions. A new adaptive management process was included in alternative B (the
      proposed action), and that is carried throughout all of the action alternatives; therefore, that
      was not considered to be a significant issue.

      Revision Topic 1: Special Designations
      The need for change identified several concerns related to special designations. In addition,
      public comments included many additional designations or changes to existing designations.
      A need to revise forest plan direction was related to changes in the management of:
      •   Inclusion of direction for the Old Spanish National Historic Trail,
      •   Regional and national direction for the Continental Divide National Scenic Trail,
      •   Inclusion of the Sangre de Cristo National Heritage Area,
      •   Inclusion of the Rio Grande del Norte National Monument,
      •   Inclusion of the Cumbres & Toltec National Historic Landmark,
      •   Evaluation of Mt. Blanca Massif as a significant area,
      •   Evaluation of the Natural Arch as a significant area, and
      •   Evaluation of the existing boundary of the John C. Fremont Winter Camp Special Interest
          Area.
      Management of the Sangre de Cristo Natural Heritage Area, Rio Grande del Norte National
      Monument, and Cumbres & Toltec National Historic Landmark will have little impact to the
      management of the Rio Grande National Forest. These are all located within the influence
      zone of the Forest, may bring more visitors to the area over time, and will need to be
      considered when proposing site-specific management actions. The Cumbres & Toltec
      National Historic Landmark designation does impact the Forest, but that would be addressed
      in that individual management area.
      Designation of Natural Arch as a special area, and changes to the John C. Fremont Winter
      Camp Special Interest Area boundary, were both included in alternative B (the proposed
      action) and do not change across the alternatives. The boundary for the Elephant Rocks
      Special Interest Area was adjusted to include the Natural Arch/La Ventana geologic feature
      area and allow for protection and interpretation of this resource. Likewise, the boundary of
      the John C. Fremont Winter Camp Special Interest Area was reduced in alternative B and
      remains consistent across the action alternatives. The area was reduced based on study
      results, and the areas that are no longer designated as special interest areas assumed the
      neighboring management area designation.
      The special interest area for Ripley’s milkvetch has been replaced in all action alternatives
      with plant-specific plan components. The three remaining areas identified as revision topics
      are addressed differently among the alternatives. The Old Spanish National Historic Trail and
      the Continental Divide National Scenic Trail are addressed through inclusion of desired
      conditions, objectives, standards, and guidelines for congressionally designated trails.
      Additionally, in alternative A both trails are identified as linear features on the Nationally
      Designated Trails map, which is contained on the DVD located at the back of this document.
      The direction does not include the visual buffers or the plan direction. The trail designations
      for alternatives B and C are included on the map and identify the visual restraint buffers one-


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   half mile on either side of the trail. Alternative D combines both trails into a new
   management area specifically for the congressionally designated trails and includes plan
   direction for the management of the trails.
   Mt. Blanca is also addressed differently across the alternatives. The area was brought forward
   through Tribal consultation as an area of concern for the tribes. This area also was addressed
   during the public comment process. The no-action alternative identifies this area as
   Management Area 3.3 - Backcountry. Both alternatives B and D include the area as
   Management Area 1.1a - Recommended Wilderness, while alternative C included it in the
   General Forest Management Area. No specific plan direction is included for the area.

   Revision Topic 2: Fire Management
   Revision of the forest plan to better integrate and clarify direction for the use of prescribed
   fire and unplanned ignition was identified in the need for change. The fire management zones
   identified in alternative B are not proposed to change across the other action alternatives;
   however, this is a significant departure from how fire is managed in alternative A. The need
   to reduce the risk of a stand-replacing wildfire in beetle-killed forest is at the forefront for
   both Forest managers and the surrounding communities.

   Revision Topic 3: Management Area Complexity
   A need to revise and update management area designation and plan direction to minimize
   complexity and promote ecosystem integrity and connectivity was also identified as a
   revision topic. The number, size, and configuration of management areas varies across all of
   the alternatives. Plan direction to address connectivity and key ecosystem characteristics tied
   to ecosystem integrity are included in all the alternatives.

   Revision Topic 4: Recommended Wilderness
   Land management planning process requirements contained in Forest Service Manual 1923
   and the 2012 Planning Rule state that, “In developing a proposed new plan or proposed plan
   revision, the responsible official shall: (v) identify and evaluate lands that may be suitable for
   inclusion in the National Wilderness Preservation System and determine where to
   recommend any such lands for wilderness designation.” While there is little discretion
   available in conducting the process, the outcomes of the process have provided for a
   difference among alternatives considered in the analysis. The process includes four steps in
   determining areas that might be recommended for inclusion in the National Wilderness
   Preservation System. The Wilderness Inventory Report (USDA Forest Service 2016b) and
   the Wilderness Evaluation Report (USDA Forest Service 2016c) document the first two steps
   of the process. The results of the Wilderness Evaluation Report are areas that may be
   recommended after analyzing the effects. These areas are identified in the analysis as
   Management Area 1.1a - Recommended Wilderness. Since only Congress can designate
   wilderness areas, the record of decision will identify which, if any, areas are being
   recommended to Congress for inclusion in the National Wilderness Preservation System.




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      Relationship to Other Documents
      This document incorporates by reference (40 CFR 1502.21) the management direction and
      environmental analysis from the following regional programmatic decisions:
      •   The Southern Rockies Lynx Amendment (2008) and
      •   Colorado Roadless Rule (2012).

      Other Related Efforts - Other Planning Going On
      Forest Service planning regulations require the agency to consider other Federal, State, and
      local government, and Tribal, plans and policies. As part of the outreach effort, a number of
      discussions with Federal, State, local, and Tribal representatives were initiated, and on-going
      dialogue continues with respect to incorporating their concerns, where possible. Related
      planning efforts that were considered include the:
      •   Colorado Parks and Wildlife State Wildlife Action Plan,
      •   Carson National Forest Plan Revision,
      •   Rio Grande County Land Use Plan, and
      •   Rio Grande del Norte National Monument Plan.




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   Chapter 2. Alternatives, Including the Proposed
   Action
   Introduction
   This chapter describes and compares the alternatives considered for the revision of the forest
   plan for the Rio Grande National Forest. It includes a description and map of each of the four
   alternatives considered and presents the alternatives in comparative form, sharply defining
   the differences between each alternative and providing a clear basis for choice among options
   by the responsible official. These four maps, along with all of the other maps associated with
   this draft environmental impact statement, are contained on the DVD that is included at the
   back of this document.

   Forest Plan Components and How They Vary by
   Alternative
   Forest plan direction developed for the action alternatives (B, C, and D) addresses
   requirements of the 2012 Planning Rule. This direction is not explicitly included in
   alternative A but is often addressed through other means. Other than lynx direction developed
   here, forest plan direction is the same across all action alternatives. The different lynx
   direction is proposed under implementation of alternatives B and D, but not A or C. The
   direction is incorporated to address the need to retain high-quality understory habitat in
   beetle-killed forest.

   Habitat Connectivity
   The 2012 Planning Rule states that forest plans must contain direction to maintain or restore
   structure, function, composition, and connectivity (36, CFR 219.8). Habitat connectivity was
   considered in an integrated manner and is maintained through Forestwide and species­
   specific plan components that focus on maintenance of terrestrial and aquatic ecosystem
   integrity.
   Consultation with staff from other land management agencies and national forests addressed
   habitat connectivity beyond the Forest boundary. Collaboration addressed connectivity across
   national forest boundaries as well as boundaries with other land management agencies.
   Direction included in the Southern Rockies Lynx Amendment considers habitat connectivity
   within the Forest Service Rocky Mountain Region.
   Habitat connectivity can be displayed at a landscape level through existing wilderness
   acreage, specially designated areas, and Colorado roadless areas, which are incorporated as
   geographic areas in the action alternatives. Because many of these areas are exempt from
   large mechanical vegetation treatments, much of the habitat would remain as is.

   Alternatives Considered in Detail
   Alternatives to the proposed action were developed in response to issues raised during
   scoping.



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      Features Common to All Alternatives
      All alternatives incorporate higher level direction. This includes other laws, regulation, and
      policy, as well as programmatic direction such as the Southern Rockies Lynx Amendment
      and the Colorado Roadless Rule.
      No alternatives propose to make any change to existing wilderness acreage in the South San
      Juan, La Garita, Sangre de Cristo, or Weminuche Wilderness Areas. Likewise, no alternative
      proposes to make any change to existing Colorado roadless areas.
      All applicable amendments to the 1996 forest plan that occurred from 1996 through 2016 are
      incorporated into all of the alternatives.
      All alternatives propose suitability determinations tied to communication sites, renewable
      energy development, and motorized and mechanized travel in summer and winter. These
      determinations vary across the alternatives.
      The proposed monitoring plan prepared in compliance with the 2012 Planning Rule would
      not vary across the alternatives.
      Acreage of suitable rangeland does not vary by alternative, and gathering of non-timber
      forest products would occur in all alternatives.
      No alternative proposes changes to the developed recreation sites, dispersed recreation areas,
      trails, or roads.

      Alternative A - No Action - Overview
      Alternative A is the no-action alternative. This would implement the 1996 forest plan as
      amended. The 1996 forest plan was prepared and analyzed under the 1982 planning rule. The
      forest plan has been amended seven times since it was signed in 1996. Anticipated outputs
      from implementing alternative A for dispersed and developed recreation, locatable and
      leasable minerals, timber, and grazing are summarized below.
      The management emphasis on outdoor recreation features and perpetuates a variety of
      developed and dispersed recreation opportunities. The qualities and flavor of the Forest are
      characterized by moderate summer temperatures, abundant snow, clear blue skies, high-
      elevation country, sparkling cool streams and lakes, and an array of beautiful scenery. The
      Forest is a welcome respite from crowds and congestion, where visitors can find friendly
      people, a rich and colorful history, a rich Hispanic culture, and small towns. Demand for
      dispersed-recreation opportunities has been growing and is expected to continue to do so.
      To provide dispersed recreation opportunities and experiences, alternative A would manage a
      broad spectrum of recreation settings. The mix of recreation settings provides year-round
      motorized and nonmotorized activities. Balancing the mix of opportunities and resolving use
      conflicts presents a challenge that requires active management strategies.
      Locatable minerals that may be important include gold, silver, and copper. Locatable mineral
      production is managed according to the General Mining Act of 1872.
      The only known leasable minerals are oil and gas. When the 1996 forest plan was signed
      there were no producing wells on the Forest but there were 23 active leases. All of those



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   leases have since expired. Lease sales proposed in 2008 and 2009 for parcels near South Fork
   and Del Norte remain deferred as of July 2017.
   Lands that may be suited for timber production in this alternative are estimated at 499,936
   acres. Lands suitable for timber production include those acres where timber production is
   compatible with the desired conditions and objectives. Alternative A has approximately
   320,567 acres of land identified as suitable for timber production.
   Alternative A. projects about 577,000 acres of land on the Forest as suitable for grazing. A.
   2002 suitability determination updated that figure to an estimated 581,556 acres, or about 31
   percent of the net forest acres. The capacity for livestock grazing was estimated at 143,077
   head months in 1996. The current head months actually grazed is approximately 86,649. This
   figure includes grazing by sheep and cattle.
   Alternative A allows the gathering or collection of special forest products such as herbs,
   mushrooms, rocks, small trees and shrubs, floral products, etc. on a case-by-case basis. The
   program is administered at the ranger district level.
   Generally, if alternative A were selected, updates would be needed to bring it into compliance
   with the 2012 Planning Rule. Topic areas include sustainable recreation language, timber
   suitability language, renewable energy direction, and ecosystem services, among others.

   Revision Topic #1: Special Designations
   No changes would be made to the existing special designations on the Forest. Direction tied
   to the Continental Divide National Scenic Trail and the Old Spanish National Historic Trail
   would be included in comprehensive management plans prepared outside of the forest plan.
   Subsequent analysis could be done to incorporate new areas or change boundaries of existing
   areas; however, all current boundaries would remain intact under alternative A.

   Revision Topic #2: Fire Management
   Both prescribed and unplanned fires, both human caused and natural, would continue to be
   managed as they have been in the past. No new direction is proposed or considered in this
   alternative.

   Revision Topic #3: Management Area Complexity
   Alternative A proposes no changes to the existing management areas or inclusions. Areas of
   the Forest would continue to be managed in compliance with the Colorado Roadless Rule
   outside of the existing forest plan.

   Revision Topic #4: Recommended Wilderness
   Alternative A proposes no changes to the existing designated wilderness. No acres of
   recommended wilderness are included.

   Features Common to All Action Alternatives
   The three strategic goals presented in Chapter 1 of the forest plan that address water quality
   and quantity, ecosystem resilience and sustainability, and economics and services provided
   apply to all action alternatives.


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      Alternatives B, C, and D all incorporate direction included in the 2012 Colorado Roadless
      Rule.
      The action alternatives propose to incorporate suitable and eligible wild, scenic, or
      recreational rivers from three separate management areas as they are presented in alternative
      A (Management Areas 1.5, 3.4, and 4.4) into one management area. Alternatives B and D
      designate these suitable and eligible segments as Management Area 3.4, while alternative C
      designates Management Area 4.34. Alternatives B, C, and D all include Deadman Creek as
      eligible for inclusion to the National Wild and Scenic Rivers System with a wild designation.
      An adaptive management process would be incorporated into all proposed action alternatives.
      This process would require the forest supervisor to meet with interested stakeholders
      annually to address outputs, monitoring, and proposed changes to forest plan direction. This
      process is discussed in detail in the Rio Grande National Forest Draft Revised Land
      Management Plan.
      The boundary of the Elephant Rocks Special Interest Area, Management Area 3.1, has been
      adjusted to include the Natural Arch/La Ventana geologic feature. The John C. Fremont
      Winter Camp Special Interest Area boundary has been reduced to correspond with recent
      surveys and analysis that better identifies the camp area. Also, acreage designated as a special
      interest area for Ripley’s milkvetch in the southeast part of the Forest has been removed, and
      a Forestwide plan component specific to this species was established.
      Fire management zones proposed in the action alternatives implement strategic fire
      management decisions. Areas are pre-assessed for wildland fire (prescribed and wildfire)
      risks and benefits and are assigned to strategic fire management zones that supports decision­
      making before wildland fire ignition occurs.
      Forest leasable minerals include oil and gas. The Forest is not proposing to amend or expand
      the direction for leasable minerals in any of the alternatives.

      Wildland Fire Management Zone: Resource Restoration (WFMZ-R)
      Areas included in this zone present a lower risk to resource values from a wildfire, and
      conditions allow natural resources to benefit from wildland fire. Managing wildfire to meet
      resource objectives in this zone is the least constrained.
      Ecological restoration would be accomplished by managing wildland fire under a wide range
      of weather, fuel moistures, and other environmental conditions that allow fire to play its
      natural role in an ecosystem. The use of prescribed fire to meet specific resource objectives is
      appropriate in this zone.
      All naturally occurring, unplanned wildfires would be managed primarily to restore and
      maintain the natural role of fire in the ecosystem with a minimal emphasis on suppression.
      However, if the natural, unplanned wildfire ignites where it poses a threat to communities
      and other non-natural resource values, suppression action would be taken to mitigate this
      threat, while allowing the wildfire to play its natural role in the ecosystem.
      All wildland fires can be managed for multiple objectives.
      All human-caused unplanned wildfires would be managed under a full suppression strategy
      commensurate with the values at risk.


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   Wildland Fire Management Zone: Resource Protection and Benefit (WFMZ-PB)
   This zone would be applied where current conditions may put some natural resource values
   at varying degrees of risk for damage from wildfire. This zone also contains areas where
   conditions place communities and other non-natural resource values at risk of damage from
   wildfire. Mechanical treatments and prescribed burning may be used to promote ecological
   restoration before using wildfire under a wider range of weather, fuel moisture, and other
   environmental conditions. Wildfires that burn in this zone may benefit natural resources
   under certain conditions.
   All natural unplanned wildfires in these areas would be assessed on an individual basis for
   the most appropriate response based on values at risk and potential benefits to natural
   resources from a wildfire.
   All human caused wildfires would be managed under a full suppression strategy
   commensurate with the values at risk.
   Management Area 5.42 - Special Wildlife Areas - Bighorn Sheep is not included in the
   action alternatives. Alternatives B and D incorporate the Bighorn Sheep Management Area
   into Management Area 5.41, which has been retitled Big Game Winter Range (previously
   Deer and Elk Winter Range). Maps of Roads within Management Area 5.41 for Alternatives
   B and D are contained on the DVD located at the back of this document. Alternative C
   incorporates the same areas and management direction into the larger designation of
   Management Area 5 - General Forest and Intermingled Rangelands. This designation
   provides managers flexibility in applying the management direction where the habitat is
   actually occurring, based on observed and survey information.
   Information from Colorado Parks and Wildlife that includes important areas for winter
   wildlife survival was included in these determinations. Important areas for bighorn sheep
   would be mapped and consulted at the project level to mitigate impacts.

   Alternative B - Proposed Action - Overview
   This alternative is based on a strategic framework that considers direction at two different
   levels: geographic areas and management areas. The vision is encompassed in three
   overarching goals that address water quality and quantity, ecosystem resilience and
   sustainability, and economics and services provided through public land management.
   Geographic areas combine areas that have designations resulting from higher level direction,
   such as wilderness and roadless. In these areas, responsible officials have a more limited
   decision space. For example, existing wilderness and roadless designations offer the line
   officer limited levels of discretion in managing these areas. The geographic areas include
   general forest, primitive wilderness, roadless, and specially designated areas.
   Most of the management areas are the same as alternative A, with a few exceptions. These
   represent the tactical level of management. These areas have smaller scale, integrated desired
   conditions that are more appropriate for this more discrete land base. Some management
   areas have direction that is specific to the management of these smaller units. Modifications
   to existing management areas include a combination of three management areas for
   wilderness into one; creation of Management Area 1.1a - Recommended Wilderness;
   creation of management areas based on the 2012 Colorado Roadless Rule; elimination of


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      3.3 - Backcountry Areas; inclusion of all suitable and eligible wild, scenic, and recreational
      rivers into one management area; and elimination of the 5.42 - Special Areas - Bighorn
      Sheep Management Areas.
      In response to public input, an adaptive management process is outlined in alternative B and
      would be addressed in all the action alternatives (B, C, and D). The process proposes that
      annually, the forest supervisor would provide a public report listing the outputs produced and
      describing how implementation of the forest plan is progressing. A part of the annual report
      would address items identified from the plan that needed to be adjusted. Any adjustments to
      required plan components (desired conditions, suitability determinations, management areas,
      standards, or guidelines) would require an amendment of the forest plan. Optional plan
      content (goals or management approaches) may be adjusted using an administrative
      correction process that includes public involvement.
      The monitoring level includes a plan for monitoring implementation of the forest plan based
      on eight topic areas defined in the 2012 planning rule. The questions would address
      implementation and effectiveness monitoring that would feed back into necessary
      amendments or administrative corrections to plan content.
      Alternative B continues to provide focus on sustainable outdoor recreation as a primary
      resource on the Forest. Ongoing management perpetuates undeveloped and diversified
      dispersed-recreation opportunities at established sites that do not cause unacceptable levels of
      resource damage. The Forest continues to provide an opportunity for visitors to connect with
      nature, get away from crowds, and experience the history and views that are provided. As
      areas of the state become more developed, demand for dispersed-recreation opportunities
      may increase.
      This alternative would provide a broad spectrum of quality dispersed-recreation opportunities
      and experiences. The mix of recreation settings available provides for summer and winter
      recreation opportunities while meeting the needs for motorized and nonmotorized
      recreational use.
      Developed recreation includes all recreation activities that take place on a developed
      recreation site. Managed capacity would be similar to that in alternative A. Demand is
      expected to remain within the capacity over the 10-year planning period.
      Locatable minerals include gold, silver, and copper. These are addressed the same way across
      all alternatives. All alternatives continue mineral production according to the General Mining
      Act of 1872.
      Lands that may be suited for timber production in this alternative are estimated at 499,936
      acres. Lands suitable for timber production include those acres where timber production is
      compatible with the desired conditions and objectives established in the forest plan.
      Alternative B identifies approximately 468,311 acres of land as suitable for timber
      production.
      While all action alternatives incorporate direction from the Southern Rockies Lynx
      Amendment, this alternative would implement additional lynx-related direction to address
      the existing condition in the spruce-fir habitat.
      The acres of land suitable for grazing remains the same across all alternatives. About 31
      percent of the Forest is identified as suitable for grazing with a capacity of 143,077 head

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   months. This alternative updates the direction brought forward from the previous forest plan
   to be more accurate with what actually occurs. The Forest is grazed by both sheep and cattle.
   This alternative allows for the collection special forest products such as herbs, mushrooms,
   rocks, small trees and shrubs, floral products, etc. on a case-by-case basis.

   Overlapping Management Areas
   Overlapping levels of management occur within this alternative. Where the overlap occurs,
   the most constraining management would be applied. For example where Management Area
   1.1 overlaps with other management areas, any management proposed would be done in
   compliance with wilderness direction. Overlapping management areas are described below.
   Approximately 12,431 acres of Management Area 2.2 - Research Natural Areas occur inside
   of wilderness area boundaries. Research natural areas are designated by the regional forester
   with concurrence of the research station director. These areas are designated to preserve
   representative areas that typify important forest, shrubland, grassland, alpine, aquatic,
   geologic, or other natural environments, or areas that have special or unique characteristics of
   scientific importance. These areas are used as a baseline for measuring ecological changes
   and as control areas for evaluation and monitoring. The estimated 12,431 acres of research
   natural areas that overlap with wilderness include three areas in the Sangre de Cristo range:
   namely the Mill Creek, Deadman Creek, and North Zapata Research Natural Areas. A portion
   of the Mill Creek Research Natural Area overlaps with recommended wilderness as well.
   An estimated 15,575 acres of wilderness is also managed as Management Area 3.4 - Suitable
   and Eligible Wild, Scenic, or Recreational Rivers. These areas would be managed to enhance
   or maintain the outstandingly remarkable features responsible for designation of the rivers
   while complying with wilderness practices and restrictions. Approximately 2,393 acres of
   Management Area 3.4 overlaps with Management Area 1.1a - Recommended Wilderness.
   Additionally, an estimated 554 acres of overlapping management occurs with research
   natural areas and eligible and suitable wild, scenic, and recreational rivers. Any management
   that might occur in these areas would have to be in compliance with all management areas.
   Approximately 856 acres of recommended wilderness (Management Area 1.1a) overlap with
   Management Area 3.4 - Suitable and Eligible Wild, Scenic, and Recreational River and
   Special Interest Area. Management proposed on these acres would have to be in compliance
   with wilderness if that area is carried forward in the analysis, with wild, scenic, and
   recreational river direction, and with any direction for that specific special interest area.
   Lastly, approximately 2,948 acres of recommended wilderness (Management Area 1.1a)
   overlap with existing special interest areas (Management Area 3.1). Any activities or
   management proposed in this area would have to be done in compliance with wilderness
   practices and meet direction for that specific special interest area.
   Research natural areas also overlap with the acres designated as Colorado roadless areas. The
   4,825 acres overlap with roadless areas in the Finger Mesa Research Natural Area on the
   Divide Ranger District. If management were to occur on these acres it would have to be
   compliant with both the direction for the research natural area and the roadless designation.




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      Special interest areas (Management Area 3.1) also occur in designated research natural areas.
      Any management proposed on the 8,510 acres where overlaps occur would have to meet both
      direction for the research natural area as well as the intent of the special interest area.

      Revision Topic #1: Special Designations
      Alternative B proposes to remove the special interest area for Ripley’s milkvetch. A 1999
      forest plan amendment adjusted the original boundary of the special interest area to more
      accurately reflect the actual location of the plant. Since 1999, staff have found the plant to be
      more widespread, and the special area was replaced with Forestwide direction to protect the
      species, which is proposed as a species of conservation concern. The acres previously in the
      special interest area are now included as big game winter range.
      Alternative B also proposes to reduce the acreage of the John C. Fremont Winter Camp
      Special Interest Area from 10,830 acres to 8,422 acres due to archaeological survey work
      recently completed that confirms the location of the heritage resources that need to be
      protected. Most of the acres were transferred to Management Area 5.13 - Forest Products.
      Alternative B also proposed to adjust the boundary of the Elephant Rocks Special Interest
      Area to include the Natural Arch/La Ventana geologic feature as an area of tribal importance.
      No additional acres are proposed for inclusion as research natural area.
      The Colorado Roadless Rule has been included as Roadless Management Area 3.5 and Upper
      Tier, Management Area 3.6. Direction included in the 2012 Colorado Roadless Rule have
      been incorporated as management area direction.

      Revision Topic #2: Fire Management
      Fire management zones would be incorporated in this alternative. Refer to Features Common
      to All Action Alternatives, above, for a description of these zones.

      Revision Topic #3: Management Area Complexity
      This alternative incorporates geographic areas that better describe the designated land status
      and available discretion to responsible officials. This alternative proposes to incorporate the
      Colorado Roadless Rule into forest plan direction by creating two new management areas,
      Management Area 3.5 Roadless, and Management Area 3.6 Upper Tier Roadless.
      Two management areas are not used in this alternative. Management Area 3.3 - Backcountry
      is mostly assumed by the roadless designations. What was not designated as roadless has
      been incorporated into the next closest area.

      Revision Topic #4: Recommended Wilderness
      This alternative includes an estimated 59,000 acres of recommended wilderness. This is the
      result of a process that included inventory of areas that met defined criteria as having
      potential for wilderness. The inventory and evaluation of the inventoried areas for wilderness
      characteristics is thoroughly described in the wilderness inventory and evaluation reports
      posted to the forest website. These areas are shown in reports and on maps as
      Management Area 1.1a.



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   Alternative C - Overview
   This alternative proposes to increase the acreage available for multiple uses on the Forest. No
   recommended wilderness acres would be included in this alternative. This alternative
   addresses concerns about complexity by reducing the number of management areas and
   making those boundaries similar to the geographic area boundaries in alternative B. These
   larger units of land provide more flexibility in implementation of the forest plan by allowing
   habitat and areas to be mapped dependent on actual presence versus providing a static
   management area boundary.
   Management area designation numbers were adjusted to maintain consistency with the
   reasons the areas were originally designated (Table 1). Management area direction remains
   the same and would not change across alternatives.

   Table 1. Management area designations by alternative
                                                        Management Area Number
        Management Area Title
                                    Alternative A       Alternative B    Alternative C   Alternative D

    Wilderness                      1.11, 1.12, 1.13         1.1               1              1.1

    Roadless                             None              3.5, 3.6            3            3.5, 3.6

    Special Interest Areas                3.1                3.1              4.1             3.1
    Research Natural Areas                2.2                2.2              4.2             2.2
    Scenic Byway and Railroad            4.21               4.21             4.21            4.21
    Suitable and Eligible Wild,         1.5 (Wild)
    Scenic and Recreational           3.4 (Scenic)           3.4             4.34             3.4
    Rivers                         4.4 (Recreational)
    Ski-based Resorts                    8.22               8.22              4.8            8.22
    General Forest and Rangeland    5.11,5.13, 6.6      5.11,5.13, 6.6         5         5.11,5.13, 6.6


   This alternative would synchronize the off-road game retrieval polices with the Forest’s
   motor vehicle use map and would shift time frames for retrieval.
   Recreation opportunities would continue at the same levels as described in alternatives A and
   B.
   Alternative C proposes no change from alternatives A and B in the locatable and leasable
   minerals direction for the Forest.
   Lands that may be suited for timber production in this alternative are estimated at 499,936
   acres. This alternative includes more acres in the suitable timber bases, with approximately
   480,683 acres of land as suitable for timber production.
   Grazing direction and levels would be the same as for the previous alternatives.

   Revision Topic #1: Special Designations
   Same as for alternative B.



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      Revision Topic #2: Fire Management
      Fire management zones are the same as for alternative B.

      Revision Topic #3: Management Area Complexity
      This alternative proposes eight management areas. Refer to the above Alternative C -
      Over-view section and Table 3 in the Comparison Tables for Alternatives section.

      Revision Topic #4: Recommended Wilderness
      This alternative does not include any acres of recommended wilderness.

      Alternative D - Overview
      This alternative presents the same management framework as alternative B with management
      areas nested under broader geographic areas. Some geographic areas are based on
      designations that establish line officer discretion at a strategic level. For example, existing
      wilderness and roadless areas offer the line officer limited levels of discretion in managing
      these areas. The remaining areas are Forest-level and higher specially designated areas, and
      the remaining general forest management area. The geographic areas include general forest,
      primitive wilderness, roadless, and specially designated areas.
      This alternative emphasizes less active management of resources while increasing the
      amount of area available for recreation opportunities that provide for a more solitary
      experience. This alternative incorporates elements of proposals submitted by the public and
      increases opportunities for semiprimitive, nonmotorized recreation.
      This alternative would increase the number of acres proposed for wilderness to expand
      opportunities for wilderness experience. Many areas determined to have moderate to high or
      high characteristics in the wilderness evaluation process are included, as well as additional
      areas.
      This alternative proposes additional special interest areas and areas that emphasize
      management of native fish, as well as areas based on cultural and botanical resources and
      tribal uses. This alternative proposes the addition of Management Area 4.23 for
      congressionally designated trails, including both the Continental Divide National Scenic Trail
      and the Old Spanish National Historic Trail.
      Alternative D proposes additional designated areas that would maximize connectivity of
      wildlife habitat and increase opportunities for primitive and semiprimitive visitor
      experiences. This alternative proposes one new research natural area on Sheep Mountain and
      seven additional special interest areas to enhance wildlife connectivity, native fish habitat,
      and watershed protection, as well as protect unique geologic features and one area of tribal
      importance. These areas are in addition to those proposed in alternatives B and C.
      •   Cumbres & Toltec National Historic Landmark Special Interest Area
      •   Spruce Hole/Osier/Toltec Special Interest Area
      •   Chama Basin Special Interest Area
      •   Summer Coon/La Ventana Special Interest Area
      •   Carnero Creek Special Interest Area

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   •    Jim Creek Special Interest Area
   •    Deep Creek Special Interest Area
   Additionally, off-road game retrieval would no longer be allowed on the Forest.
   This alternative would limit future development by proposing more areas of recommended
   wilderness and special interest areas. Creating areas of focus on native fish habitat would add
   opportunities to leverage existing partnerships to increase and enhance habitat available.
   Developed recreation opportunities would remain the same as for alternatives A, B, and C.
   Additional wilderness recommendations in this alternative would result in a reduction of
   motorized opportunities Forestwide. Over time, existing transportation systems and
   motorized trails would be reduced to protect wilderness character. Opportunities for primitive
   recreation experiences would increase under this alternative.
   There would be no change from alternative A and B in locatable and leasable mineral
   direction and availability.
   The volume of forest products harvested would be reduced under alternative D. There would
   be less opportunity to recover value from many acres of the beetle-killed forest because areas
   of recommended wilderness would be managed to protect wilderness characteristics. Lands
   that may be suited for timber production in this alternative are estimated at 499,936 acres.
   Alternative D identified approximately 401,414 acres of land as suitable for timber
   production.
   While all action alternatives incorporate direction from the Southern Rockies Lynx
   Amendment, this alternative would implement additional lynx-related direction to address
   the existing condition in the spruce-fir habitat.
   The suitable acres and amount of grazing could be reduced in some areas if it is determined
   that livestock grazing is not a compatible use in areas being designated for special interests.
   That is not able to be determined at this time. This alternative is anticipated to result in an
   increased cost to grazing. Having more acres in a protected status, such as recommended
   wilderness, would limit the ability to use motorized and mechanized travel in managing
   allotments and livestock. Materials would have to be brought in on foot or horseback for
   longer distances.
   Gathering of non-timber forest products would continue; however, access to areas in
   recommended wilderness and special interest areas may be reduced.

   Overlapping Management Areas
   Overlapping levels of management occur in this alternative. Where the overlap occurs, the
   most constraining management would be applied. For example, where Management Area 1.1
   overlaps with other management areas, any management proposed would be done in
   compliance with wilderness direction. Overlapping management areas are described below.
   About 1,200 additional acres are proposed in Management Area 2.2 - Research Natural Area,
   increasing the total acres to an estimated 25,154. Of the total, approximately 12,431 acres of
   research natural areas occur within wilderness area boundaries, similar to alternative B. The
   additional 1,200 acres is in the Sheep Mountain area, described later in this document.



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      Similar to alternative B, an estimated 15,575 acres of wilderness is also managed as
      Management Area 3.4 - Suitable and Eligible Wild, Scenic, or Recreational River. These
      areas are managed to enhance or maintain the outstandingly remarkable features responsible
      for the river designation while complying with wilderness practices and restrictions.
      Approximately 2,393 acres of Management Area 3.4 overlap with Management Area 1.1a -
      Recommended Wilderness.
      Additionally, an estimated 554 acres of overlapping management occurs with research
      natural areas and eligible and suitable wild, scenic, and recreational rivers. Any management
      that might occur in these areas would comply with direction from all applicable management
      areas.
      Approximately 856 acres of recommended wilderness (Management Area 1.1a) overlap with
      Management Area 3.4 - Suitable and Eligible Wild, Scenic, and Recreational Rivers and
      Special Interest Areas. Management proposed on these acres would have to be in compliance
      with wilderness management direction if that area is carried forward in the analysis, with
      wild, scenic, and recreational river direction, and with any direction for that specific special
      interest area.
      Lastly, approximately 2,948 acres of recommended wilderness (Management Area 1.1a)
      overlap with existing special interest areas (Management Area 3.1). Any activities or
      management proposed in this area would have to be done in compliance with wilderness
      practices and meet direction for that specific special interest area.
      Research natural areas also overlap with the acres designated as Colorado roadless areas. The
      4,825 acres overlap with roadless areas in the Finger Mesa Research Natural Area on the
      Divide Ranger District. If management were to occur on these acres it would have to be
      compliant with both the direction for the research natural area and the roadless designation.
      Special interest areas (Management Area 3.1) also occur in designated research natural areas.
      Any management proposed on the 8,510 acres where overlap occurs would have to meet
      direction for both the research natural area as well as the intent of the special interest area.
      Additional overlaps in this alternative include Management Area 4.23. This management area
      is approximately 83,997 acres of congressionally designated trails that would overlap
      primarily with wilderness and Colorado roadless designation. As previously stated, the most
      limiting management area designation would take precedence in management.

      Revision Topic #1: Special Designations
      The Continental Divide National Scenic Trail and the Old Spanish National Historic Trail are
      proposed to be included in Management Area 4.23 - Congressionally Designated Trails. This
      management area includes the total visual corridor as defined in trail management guidance.
      Making a management area for the trails provides consistent management direction across
      the Forest. In alternatives A, B, and C the trails pass through multiple management areas,
      leaving the direction open to potential differences in interpretation.
      Additional acres of specially designated areas overall are proposed in alternative D. This
      includes changes in boundaries of existing special areas such as Elephant Rocks, proposed
      new research natural areas, new special interest areas at Spruce Hole, Osier, and Toltec, and



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   special areas created for focus management, including the native fish habitat areas at Carnero
   and Jim Creek.
   In total, this alternative proposes an estimated 316,000 acres of specially designated areas.

   Revision Topic #2: Fire Management
   Fire management zones are included.

   Revision Topic #3: Management Area Complexity
   This alternative is similar to alternative B, with one addition. Almost 16,000 acres of
   Management Area 3.3 - Backcountry is included in this alternative.

   Revision Topic #4: Recommended Wilderness
   This alternative proposes approximately 285,000 acres of recommended wilderness. Many of
   these areas are currently managed to protect roadless and backcountry values. Management
   changes would be slight but would result in a reduction in over-snow, mechanical, and
   motorized use across the Forest.

   Alternatives Considered but Eliminated from Detailed
   Study
   Federal agencies are required by the National Environmental Policy Act to rigorously explore
   and objectively evaluate all reasonable alternatives and to briefly discuss the reasons for
   eliminating any alternatives that were not developed in detail (40 CFR 1502.14). Public
   comments received in response to the proposed action provided suggestions for alternatives,
   a number of which were considered. The rationale for eliminating potential alternatives, or
   components of an alternative, from detailed consideration is summarized below.
   The Forest received one complete suggested alternative. The alternative was reviewed in
   detail. Some suggestions were carried forward into the four alternatives presented here. Other
   suggestions were not included and the reasons are discussed below.
   The alternative submitted included recommendations for research natural areas. One of these,
   Sheep Mountain, was carried forward in alternative D. Other recommendations were brought
   forward as a potential special interest area. Research natural areas are established by the
   regional forester with concurrence of the station director. The recommendation is made by
   the local forest supervisor as a result of analyses conducted for forest planning or outside the
   planning process. Areas can also be established by the regional research natural area
   committee established by the regional forester and station director. The additional research
   natural areas included in the analysis came from public involvement and were not suggested
   by the forest supervisor. No research natural area committee is currently assembled.
   Sage-grouse protection areas were proposed. The Forest does not have an appreciable amount
   of habitat for the Gunnison sage-grouse. Management direction for sage-grouse is included in
   all action alternatives, and recommended wilderness acres included in alternatives B and D
   would provide additional species protection.




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      It was recommended that the Wolf Creek linkage area be made a special interest area.
      Because linkage areas and associated direction are adequately identified in the Southern
      Rockies Lynx Amendment, no additional plan direction is included.
      Plan components associated with focal wetland complexes were presented in the alternative.
      The intent of the direction is a prime consideration of the 2012 Planning Rule. Analysis for
      aquatic ecosystem integrity and associated direction is intended to reduce impacts to aquatic
      ecosystems. Existing handbook direction and additional wetland-specific direction meets this
      purpose.
      Suggestions included elimination of grazing in existing and proposed research natural areas.
      In general, grazing is not authorized in research natural areas on the Forest, with one
      exception. The Hot Creek Research Natural Area is part of the Hot Creek Allotment, which is
      grazed under a valid permit; however, this area is generally not grazed because it is
      inaccessible. The current permittees have agreed to continue to not graze the area within the
      research natural area.
      The alternative suggested that protected areas, big game winter range, calving and fawning
      grounds, bighorn sheep areas, wetlands, riparian areas, campgrounds, and other areas be
      determined as unsuitable for renewable energy development. Suitability for renewable energy
      is included in the forest plan. Associated direction that would be implemented at the project
      level to reduce, mitigate, or eliminate impacts to sensitive habitats if they occur in areas
      determined to be suitable is also included.

      Comparison Tables for Alternatives
      The following tables summarize the effects of implementing each alternative by geographic
      area, management area, recommended wilderness, and fire management zone. Table 2 and
      Table 3 focus on differences in acreage related to a management focus or land allocation.
      Table 4 lists the effects of each alternative on furthering the proposed Forestwide goals, and
      Table 5 lists the effects of each alternative on addressing the revision topics discussed earlier
      in this chapter.

      Summary Comparison of Geographic Areas, Recommended Wilderness, and
      Fire Management Zones by Alternative
      Alternative A does not use geographic areas and in alternative C, geographic areas become
      management areas (Table 2). In alternatives B, C, and D, Lower Deadman Creek is eligible
      for scenic designation.




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   Table 2. Geographic areas by alternative
                                           Alternative A   Alternative B   Alternative C   Alternative D
    Geographic Areas                            No             Yes              No             Yes
           Primitive Wilderness (acres)                      416,909                         614,155
                      Roadless (acres)                       472,388                         214,231
           Specially Designated Areas
                                                             114,416                         316,085
                               (acres)
                General Forest (acres)                       833,549                         692,794
    Recommended Wilderness
                                                 0            58,669             0           284,853
    (acres)
    Number of Management Areas                  17              14               8              16
        Total Eligible Wild, Scenic, and
                                              30,194          35,872          35,872          35,872
           Recreational Rivers (acres)
    Resource Restoration Wildland
                                                 0           889,297         889,297         828,386
    Fire Management Zone (acres)
    Resource Protection and Benefit
    Wildland Fire Management Zone                0           947,965         947,965         1,008,879
    (acres)




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      Table 3. Management areas by alternative
      [Reported in acres. Overlapping management areas can make it appear that additional areas are considered.
      However, the most limiting management area direction takes precedence over any other management. For
      example, a special interest area that occurs in wilderness may have proposed management; however, any
      management would have to comply with wilderness management direction.]

                                                                                                      Alternative
                Management Areas                 Alternative A      Alternative B    Alternative C1
                                                                                                           D
                                            General Forest Geographic Area
       Management Area 4.3 - Dispersed and
                                                    92,947             101,218                          73,053
       Developed Recreation
       Management Area 5 - General
                                                                                        861,029
       Forest/Rangelands
       Management Area 5.11 - General
                                                   183,676             155,330                         134,937
       Forest and Intermingled Rangelands
       Management Area 5.13 - Forest
                                                   265,016            248,689                          204,735
       Products
       Management Area 5.41 - Deer and Elk
                                                   192,922            269,383                          235,942
       (Big Game) Winter Range
       Management Area 5.42 - Special
                                                    77,645
       Wildlife Areas - Bighorn Sheep
       Management Area 6.6 - Grassland
                                                    74,356             58,849                           27,117
       Resource Production
                                        Primitive Wilderness Geographic Area
       Management Area 1 - Wilderness                                                   392,139
       Management Area 1.1 - Wilderness                               392,139                          392,139
       Analyzed Wilderness 1.1a -
                                                                       58,669                          284,853
       Recommended Wilderness
       Management Area 1.11 - Wilderness-
                                                   136,544
       Pristine
       Management Area 1.12 - Wilderness­
                                                   171,335
       Primitive
       Management Area 1.13 - Wilderness
                                                    84,210
       Semiprimitive
       Management Area 1.5 - Eligible Wild
                                                    9,252               Combined into Management Area 3.4
       Rivers
                                              Roadless Geographic Area
       Management Area 3 - Roadless                                                     498,240
       Management Area 3.5 - Roadless                  0               155,744                          90,198
       Management Area 3.6 - Upper Tier                                                                124,033
                                                       0              329,977
       Roadless
                                        Specially Designated Geographic Area
       Management Area 2.2 - Research
                                                    23,868             23,868                          25,1542
       Natural Area
       Management Area 3.1 - Special
                                                    34,666             26,966                          148,920
       Interest Area
       Management Area 3.3 - Backcountry           464,282                                              16,927




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                                                                                                                     Alternative
                  Management Areas                     Alternative A         Alternative B     Alternative C1
                                                                                                                          D
       Management Area 3.4 - Eligible and
       Suitable Wild, Scenic, and Recreational             10,133               35,872                                 35,872
       Rivers3
       Management Area 4.1 - Special
                                                                                                     26,096
       Designation: Special Interest Area
       Management Area 4.2 - Special
                                                                                                     23,798
       Designation: Research Natural Area
       Management Area 4.21 - Scenic
                                                           27,487               27,487               27,487            27,487
       Byway and Railroad
       Management Area 4.23 - Special
       Designation: Congressionally                                                                                    83,997
       Designated Trail
       Management Area 4.34 - Eligible and
       Suitable Wild, Scenic, and Recreational                                                       35,872
       Rivers4
       Management Area 4.4 - Eligible and
                                                           10,809
       Suitable Recreational Rivers
       Management Area 4.8 - Special
                                                                                                     1,632
       Designation: Ski-based Resorts
       Management Area 8.22 - Ski Based
                                                            1,632                1,632                                   446
       Resorts
   1 Alternative C presents many of the same management areas as alternatives A, B, and D, with different designations.
      Management Area 4.1 is special interest areas, Management Area 3.1 in the other alternatives. Management Area 4.2 is the
      research natural area, which is Management Area 2.2 in other alternatives. Management Area 4.34 is the wild, scenic, and
      recreational rivers, Management Area 3.4 in alternatives B and D. Management Area 4.8 is the Ski-based Resort
      Management Area, which is 8.22 in other alternatives. Management areas in alternative C were renamed to maintain
      consistency with the numbering scheme.
   2   Includes acres for Sheep Mountain potential research natural areas.
   3 Action   alternatives combine wild, scenic, and recreational rivers into one management area.
   4Rivers and river segments suitable and eligible for wild, scenic, and recreational rivers varies across alternatives. Alternative
     A, no action, includes the rivers in three separate management areas (1.5, 3.4, and 4.4). Alternative B combines the three
     rivers into one management area. Alternatives C and D propose to move the three river areas into Management Area 4.34.
     All specially designated areas proposed in alternative C begin with 4.




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      Table 4. Comparison of Forestwide goals and objectives by alternative
                      Goal 1: Protect and restore     Goal 2: Maintain and             Goal 3: Actively contribute
                      watershed health, water         restore sustainable,             to social and economic
        Alternative   resources, aquatic              resilient terrestrial            sustainability in the
                      ecosystems, and the             ecosystems                       broader landscape and
                      systems that rely on them                                        connect citizens to the land
            A         The three goals were established to address revision of the 1996 forest plan, which is
                      represented by alternative A. Although alternative A was not specifically developed to protect
                      watersheds, restore resilient ecosystems, and contribute to social and economic sustainability,
                      these goals would be achieved at some level if implementation of the 1996 forest plan
                      continued.
            B         Alternative B was developed to meet the goals prescribed. The flexibility proposed in this
                      alternative, as well as the other action alternatives, would allow forest management to be
                      more responsive if emphasis on a particular goal needed to be adjusted.
            C         Alternative C would meet all three goals, with an emphasis on using the tools available under
                      Goal 3 to help meet Goals 1 and 2. Goal 3 better meets the contributions to economic
                      sustainability while emphasizing extraction of forest products during the planning period.
            D         While all three goals would be met, alternative D emphasizes natural processes and
                      protection to meet goals 1 and 2. This alternative would have a more recreational and
                      nonmotorized emphasis in connecting citizens to the land in Goal 3 while still meeting Goals 1
                      and 2.




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   Table 5. Comparison of revision topic by alternative
   [MA, Management Area]

                        Topic 1:                                 Topic 3:                Topic 4:
                                               Topic 2:
     Alternative        Special                              Management Area          Recommended
                                          Fire Management
                      Designations                             Complexity              Wilderness
         A         No new acres.         Management Area     Seventeen              0 acres
                   Existing:             direction on fire   management areas
                   34,666 acres MA 3.1   suppression         with some inclusions
                                                             of overlapping
                   23,868 acres MA 2.2                       management
                                                             direction
         B         Adjusted boundary     Two fire            Four geographic        58,669 acres
                   for John C. Fremont   management zones    areas with 14
                   and Elephant Rock     proposed.           management areas,
                   Special Areas,        WFMZ-R acres        some with
                   26,966 acres of MA    889,297             overlapping
                   3.1                                       management
                                         WFMZ-PB acres       direction
                   23,868 acres of MA    947,965
                   2.2
         C         Existing:             Two fire            Eight management       0 acres
                   26,096 acres of MA    management zones    areas with some
                   4.1                   proposed.           overlapping
                   23,798 acres of MA    WFMZ-R acres        management
                   4.2                   889,297             direction - creates
                                         WFMZ-PB acres       new management
                                         947,965             area numbers

         D         148,920 acres of MA   Two fire            Four geographic        284,853 acres
                   3.1                   management zones    areas with 16
                   25,154 acres of MA    proposed.           management areas,
                   2.2                   WFMZ- R acres       some with
                                         828,386             overlapping
                                         WFMZ-PB acres       management
                                         1,008,879           direction




   Comparison of Suitable Activities by Alternative
   Suitable activities across the alternatives are presented in Table 6, Table 7, Table 8, and Table
   9. As identified in the Purpose and Need for Action section, the Forest intends to make
   suitability determinations regarding where and when particular activities may occur. These
   activities include renewable energy development, winter and summer motorized and
   mechanized travel, and communication sites, among others.




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Table 6. Suitable activities for each management area, alternative A
                                                                             Management Area
           Activity
                                1.11   1.12   1.13   1.5   2.2   3.1   3.3   3.4   4.21    4.3    4.4   5.11   5.13   5.41   5.42    6.6    8.22
 Hiking trail construction              x      x                  x    x      x     x       x      x      x      x      x      x     x
 Bicycle trail construction                                       x    x            x       x      x      x      x      x      x     x
 Horseback riding trail
                                        x      x                  x    x            x       x      x      x      x                   x
 construction
 Livestock grazing               x      x      x     x     x      x    x      x     x       x      x      x      x      x      x     x
 Commercial timber harvest                                                                                x      x
 Prescribed fire                 x      x      x     x     x      x    x      x     x       x      x      x      x      x      x     x          x
 Motorized travel                                          x      x           x     x       x      x      x      x      x            x
 Mechanized travel                                         x      x    x      x     x       x      x      x      x      x      x     x
 Off road travel for
 dispersed
                                                                                            x             x      x      x
 recreation/firewood
 gathering
 Salvage/sanitation harvest                                                         x       x             x      x      x      x     x
 Silvicultural treatments not
                                                                  x                         x             x      x      x
 for timber production
 Oil and gas leasing                                       x      x    x      x     x       x      x      x      x      x      x     x          x
 Off-road game retrieval                                                                    x      x      x      x      x      x     x          x
 Renewable energy
                                                                                    x       x      x      x      x      x      x     x
 development
 Communication sites                                                                x       x      x      x      x      x      x     x          x
 Over-snow motorized travel                                       x    x      x     x       x             x      x      x      x     x


In alternative A, grazing is suitable in only one research natural area, specifically Hot Creek Research Natural Area. Motorized and
mechanized travel is suitable only on designated routes.
Communication sites and renewable energy development are also subject to project-specific environmental review. Over-snow
motorized travel is suitable in only three special interest areas—specifically the Bachelor Loop, Elephant Rocks, and Wagon
Wheel Gap Experimental Station—and may be subject to timing restrictions to protect deer and elk winter range.


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Table 7. Suitable activities for each management area, alternative B
                                                                         Management Area
           Activity
                                 1.1   1.1a   2.2   3.1    3.4     3.5     3.6    4.21     4.3   5.11    5.13    5.41    6.6    8.22
 Hiking trail construction                           x      x       x       x      x       x       x      x       x       x
 Bicycle trail construction                          x              x       x      x       x       x      x       x       x
 Horseback riding trail
                                                     x              x       x      x       x       x      x               x
 construction
 Livestock grazing                x            x     x      x       x       x      x       x       x      x       x       x
 Commercial timber harvest                                                                         x      x
 Prescribed fire                  x            x     x      x       x       x      x       x       x      x       x       x      x
 Motorized travel                              x     x      x                      x       x       x      x       x       x
 Mechanized travel                             x     x      x       x       x      x       x       x      x       x       x
 Off road travel for dispersed
 recreation/firewood                                                                       x       x      x       x
 gathering
 Salvage/sanitation harvest                                                        x       x       x      x       x       x
 Silvicultural treatments not
                                                     x                                     x       x      x       x
 for timber production
 Oil and gas leasing                           x     x      x       x       x      x       x       x      x       x       x
 Off-road game retrieval                                                                   x       x      x       x       x      x
 Renewable energy
                                                                                   x       x       x      x       x       x
 development
 Communication sites                                                               x       x       x      x       x       x      x
 Over-snow motorized travel                          x      x       x       x      x       x       x      x       x       x


In alternative B, grazing is still suitable in only one research natural area, specifically Hot Creek Research Natural Area. Motorized
and mechanized travel is suitable only on designated routes.
Communication sites and renewable energy development are also subject to project-specific environmental review. Over-snow
motorized travel is suitable in only three special interest areas—specifically the Bachelor Loop, Elephant Rocks, and Wagon
Wheel Gap Experimental Station—and may be subject to timing restrictions to protect deer and elk winter range.



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      Table 8. Suitable activities for each management area, alternative C
                                                          Management Area
                   Activity
                                          1   3     4.1      4.2   4.21     4.34   4.8     5
       Hiking trail construction              x                     x        x             x
       Bicycle trail construction             x                     x        x             x
       Horseback riding trail
                                              x                     x        x             x
       construction
       Livestock grazing                  x   x               x     x        x             x
       Commercial timber harvest                                                           x
       Prescribed fire                    x   x               x     x        x     x       x
       Motorized travel                                       x     x        x             x
       Mechanized travel                      x               x     x        x             x
       Off road travel for dispersed
                                                                             x             x
       recreation/firewood gathering
       Salvage/sanitation harvest                                   x        x             x
       Silvicultural treatments not for
                                                                             x             x
       timber production
       Oil and gas leasing                    x      x        x     x        x     x       x
       Off-road game retrieval                                      x        x             x
       Renewable energy
                                                                    x        x             x
       development
       Communications sites                                         x        x     x       x
       Over-snow motorized travel             x      x              x        x             x


      In alternative C, grazing is suitable in only one research natural area, specifically Hot Creek
      Research Natural Area. Motorized and mechanized travel is suitable only on designated
      routes.
      Communication sites and renewable energy development are also subject to project-specific
      environmental review. Over-snow motorized travel is suitable in only three special interest
      areas—specifically the Bachelor Loop, Elephant Rocks, and Wagon Wheel Gap
      Experimental Station—and may be subject to timing restrictions to protect deer and elk
      winter range.




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Table 9. Suitable activities for each management area, alternative D
                                                                           Management Area
           Activity
                                1.1   1.1a   2.2   3.1   3.3   3.4   3.5      3.6   4.21     4.23   4.3   5.11   5.13   5.41   6.6   8.22
 Hiking trail construction                          x     x           x       x      x        x      x     x      x      x     x
 Bicycle trail construction                         x     x           x       x      x               x     x      x      x     x      ?
 Horseback riding trail
                                                    x     x           x       x      x        x      x     x      x            x
 construction
 Livestock grazing               x            x     x     x     x     x       x      x        x      x     x      x      x     x
 Commercial timber harvest                                                                                 x      x
 Prescribed fire                 x            x     x     x     x     x       x      x        x      x     x      x      x     x      x
 Motorized travel                             x     x     x     x                    x               x     x      x      x     x
 Mechanized travel                            x     x     x     x     x       x      x               x     x      x      x     x
 Off road travel for
 dispersed
                                                                                                     x     x      x      x
 recreation/firewood
 gathering
 Salvage/sanitation harvest                                                          x               x     x      x      x     x
 Silvicultural treatments not
                                                    x     x                                          x     x      x      x
 for timber production
 Oil and gas leasing                          x     x     x     x     x       x      x        x      x     x      x      x     x      x
 Off-road game retrieval
 Renewable energy
                                                                                     x        x      x     x      x      x     x
 development
 Communications sites                                                                x        x      x     x      x      x     x      x
 Over-snow motorized travel                         x     x     x     x       x      x        x      x     x      x      x




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      In alternative D, where management areas overlap, the most restrictive management applies.
      Alternative D also includes a new management area specific to congressionally designated
      trails, listed below under 4.3.
      In alternative D, grazing is still suitable in only one research natural area, specifically Hot
      Creek Research Natural Area. Motorized and mechanized travel is suitable only on
      designated routes.
      Communication sites and renewable energy development are also subject to project-specific
      environmental review. Over-snow motorized travel is suitable in only three special interest
      areas—specifically the Bachelor Loop, Elephant Rocks, and Wagon Wheel Gap
      Experimental Station—and may be subject to timing restrictions to protect deer and elk
      winter range. Off-road game retrieval is prohibited in all management areas.

      Comparison of Alternatives by Program
      Fuels Management
      Alternatives B, C, and D propose incorporation of wildfire management zones. Acreage in
      each zone is listed by alternative in Table 10. Wildfire management zones are not included in
      alternative A.

      Table 10. Distribution of wildfire management zones, by alternative
                                   Alternative A   Alternative B    Alternative C     Alternative D
       WFMZ-R: Resource
       Restoration Wildland Fire         0            889,297          889,297           828,386
       Management Zone (acres)
       WFMZ-PB: Resource
       Protection and Benefit
                                         0            947,965          947,965          1,008,879
       Wildland Fire Management
       Zone (acres)



      Long-Term Sustained Yield for Timber Harvest
      About 27 percent of the 1.8 million acres of Forest lands are identified as may be suitable for
      timber production (see the Timber Suitability - May Be Suitable for Timber Production map,
      which is contained on the DVD located in the back of this document). Even though lands
      may be suitable for timber production, they may not be feasible for timber production.
      Feasibility for timber production is determined at the project level. Based on the may be
      suitable acreage, the estimated sustained yield limit is 7,374,937 cubic feet per year or 73,749
      CCF per year.
      Based on the long-term sustained yield limit, first decade estimates for a planned timber sale
      program for all alternatives are shown in Table 11. The second decade estimates are listed by
      alternative in Table 12. Estimates of projected timber sale quantity listed in the table do not
      include salvage harvest.




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   Table 11. First decade estimates of planned timber sale program (annual average
   volume output) for all alternatives
                                                                                          Alternative C1
                                                             Alternatives A                   (CCF)                     Alternative
                                                                 and B                                                       D
                                                                 (CCF)                Year 1             Year 7            (CCF)
                                                                                    through 6          through 10
    Projected Timber Sale Quantity                                  700                  0               15,000                500
    Other Estimated Wood Products (Fuelwood)                       7,200               7,200             7,200             7,200
    Projected Wood Sale Quantity2                                  7,900               7,200             22,200            7,700
    Estimated Salvage Volume                                      32,100              62,800               0               17,300
    Total Volume including Salvage3                               40,000              70,000             22,200            25,000
   1 Alternative C proposes an increased harvest rate from year 1 through 6 of the first decade followed by a slower rate at the
      end of the first decade.
   2 Projected wood sale quantity is the projected timber sale quantity added to the other estimated wood products (fuelwood).
   3 Under all alternatives, volume may not be evenly distributed over the time period but may be higher during the initial years of
      the time period and lower during the later years of the time period.




   Table 12. Second decade estimates of planned timber sale program (annual average
   volume output) for all alternatives
                                                                  Alternatives A
                                                                                          Alternative C             Alternative D
                                                                      and B
                                                                                              (CCF)                     (CCF)
                                                                      (CCF)
    Projected Timber Sale Quantity                                     8,400                   15,000                   4,000
    Other Estimated Wood Products (Fuelwood)                           7,200                   7,200                    7,200
    Projected Wood Sale Quantity1                                      15,600                  22,200                   11,200
    Estimated Salvage Volume                                               0                     0                         0
    Total Volume including Salvage                                     15,600                  22,200                   11,200
   1 Projected wood sale quantity is the projected timber sale quantity added to the other estimated wood products (fuelwood).




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      Timber Harvest Constraints and Timber Suitability Required by the National
      Forest Management Act
      Suitable timber acreage for each alternative is listed in Table 13.

      Table 13. Timber suitability by alternative
                                  Alternative A    Alternative B        Alternative C        Alternative D
                                     (acres)          (acres)              (acres)              (acres)
       Estimated Forest Total       1,837,000        1,837,000              1,837,000          1,837,000
       Lands not suited for
       timber production due
                                    1,337,064        1,337,064              1,337,064          1,337,064
       to legal or technical
       reasons
       Lands that may be
       suited for timber            499,936           499,936               499,936             499,936
       production
       Total lands suitable for
       timber production
       (timber production is
       compatible with the          320,567           468,311               480,683             401,414
       desired conditions and
       objectives established
       by the plan)
       Total lands not suited
                                    1,516,433        1,368,689              1,356,317          1,435,586
       for timber production




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   Livestock Grazing
   The number of acres capable for grazing for each management area is listed by alternative in
   Table 14.

   Table 14. Capable acres for cattle and sheep grazing, by management area
   [Reported in acres. Management areas not included in all alternatives shown in parentheses.]

                                            Alternative A        Alternative B        Alternative C        Alternative D
           Management Area
                                           Cattle    Sheep      Cattle    Sheep      Cattle     Sheep     Cattle     Sheep
    1.0 - Wilderness (C)                                                             61,511     9,490
    1.1- Wilderness (B and D)                                   64,926     11,144                         64,926     11,144
    1.11- Wilderness Pristine              16,084     4,741
    1.12-Wilderness - Primitive            41,930     5,525
    1.13- Wilderness - Semiprimitive       6,831       862
    1.5-Designated and Eligible Wild
                                            1,071      128
    River (A)
    1.1a-Recommended Wilderness               0         0       6,500      1,312                          60,179      9,145
    2.2-Research Natural Area1                2         0          2         0                              346        28
    3.0-Roadless (C)                                                                 114,069    21,001
    3.1-Special Interest                   13,800      560      5,759       103         0        332      58,230      1,644
    3.3-Backcountry                        109,636   18,017                                                6,511       677
    3.4-Designated and eligible (A)
                                           2,552       265       7,084     1,170                           7,514      2,246
    Scenic River; (B and C) WSR
    3.5-Roadless                              0         0       37,507     7,677                          21,090      5,341
    3.6-Upper Tier Roadless                   0         0       75,834     12,624                         23,630      5,909
    4.1-Special Interest Areas (C)                                                    9,369
    4.2-Research Natural Areas (C)                                                     65
    4.21-Scenic Byway and Railroad         12,981      865      12,909      850      12,922      850       11,884      825
    4.23-Congressionally Designated
                                                                                                           17,332      776
    Trail (D)
    4.3-Dispersed and Developed
                                           28,411     4,292     31,853     3,966                          20,606      3,205
    Recreation
    4 34-Eligible Wild, Scenic River (C)                                             10,885     3,221
    4.4-Eligible Recreational River (A)    3,556      1,643
    4.8-Ski-based Recreation (C)                                                        7
    5.0-General Forest and Rangelands
                                                                                     279,459    15,012
    (C)
    5.11-General Forest and
                                           55,346     2,034     43,594     1,749                          36,820      1,494
    Intermingled Rangelands
    5.13-Forest Products                   40,262     3,018     37,369     2,202                          31,174      2,187
    5.41-Deer and Elk Winter Range         90,986     4,057    130,710     6,444                          115,046     5,809
    5.42-Bighorn Sheep (A)                 24,734     3,134
    6.6-Grassland Resource Production      40,773      789      34,234      335                            12,993      152
    8.22-Ski-based Recreation1               15         0          7                                         4          0
   1Research natural areas and ski-based recreation management areas restrict grazing. Portions of the Hot Creek Research
     Natural Area on the Conejos Peak Ranger District do allow grazing under stipulations.




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      Recommended Wilderness
      Alternatives B and D include Management Area 1.1a - Recommended Wilderness.
      Generally, these acres currently are designated as backcountry and Colorado roadless. The
      distribution of wilderness, backcountry, and roadless acreage is listed by alternative in Table
      15.

      Table 15. Changes in management area distribution related to recommended
      wilderness, by alternative
      [Reported in acres]

                Management Areas            Alternative A      Alternative B    Alternative C1   Alternative D
       Management Area 1 - Wilderness                                              392,139
       Management Area 1.1 - Wilderness                          392,139                           392,139
       Analyzed Wilderness 1.1a -
                                                                  58,669                           284,853
       Recommended Wilderness
       Management Area 1.11 - Wilderness-
                                              136,544
       Pristine
       Management Area 1.12 - Wilderness­
                                              171,335
       Primitive
       Management Area 1.13 - Wilderness
                                               84,210
       Semiprimitive
       Management Area 3 - Roadless                                                498,240
       Management Area 3.5 - Roadless             0              155,744                            90,198
       Management Area 3.6 - Upper Tier
                                                  0              329,977                           124,033
       Roadless
       Management Area 3.3 - Backcountry      464,282                                               16,927




      Proposed National Wild, Scenic, and Recreational Rivers
      Suitable and eligible river segments considered for inclusion in the National Wild and Scenic
      Rivers System are listed in Table 16.




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   Table 16. Suitable and eligible river segments considered for inclusion in the National
   Wild and Scenic Rivers System
   [Note: Management of river segments on Medano and Little Medano Creeks has been transferred to the National
   Park Service per the Great Sand Dunes National Park and Preserve Act of 2000; NA, not applicable.]

                                                 Length                                Outstandingly Remarkable
           Stream or River Name                               Acres       Status                                             Classification
                                                 (miles)1                                       Values
    Archuleta Creek                                5.69        1,889      Eligible          Scenic, Recreational                  Scenic
                                                                                            Scenic, Recreational,
    Deadman Creek                                  3.26        1,087      Eligible                                                Scenic
                                                                                             Historic, Biological
    East Fork Rio Chama                            3.18        1,078      Eligible          Scenic, Recreational                  Scenic
    Hansen Creek                                   6.72        2,067      Eligible          Scenic, Recreational                   Wild
    Lower Rio de los Pinos                         4.50        1,364      Eligible     Scenic, Recreational, Historic             Scenic
    Lower Rio Grande                               4.42        1,081      Eligible     Scenic, Recreational, Historic         Recreational
    Rio Grande (Box Canyon)                        8.73        2,720      Eligible     Scenic, Recreational, Historic             Scenic
    Saguache Creek                                 8.40        2,478      Eligible        Scenic, Historic, Cultural               Wild
    Toltec Creek                                   2.88         525       Eligible     Scenic, Recreational, Historic              Wild
                                                                                            Scenic, Recreational,
    West Bellows Creek                             6.31        2,065      Eligible                                                Scenic
                                                                                                  Geologic
    West Fork Rio Chama                            4.81        1,239      Eligible          Scenic, Recreational                  Scenic
                                                            South Fork Rio Grande
    South Fork Rio Grande (above Big
                                                   5.19        1,633      Eligible     Scenic, Recreational, Historic             Scenic
    Meadows Reservoir)
    South Fork Rio Grande (below Big
                                                  11.98        3,016      Eligible     Scenic, Recreational, Historic         Recreational
    Meadows Reservoir)
    South Fork Rio Grande Total                   17.17        4,649         NA                       NA                               NA
                                                                 Conejos River
    El Rito Azul                                   3.80        1,168      Suitable     Scenic, Recreational, Wildlife              Wild
    North Fork Conejos River                       3.93        1,208      Suitable     Scenic, Recreational, Wildlife              Wild
    Middle Fork Conejos River                      4.59        1,411      Suitable     Scenic, Recreational, Wildlife              Wild
    Conejos River (Three Forks to
                                                   3.33        1,023      Suitable     Scenic, Recreational, Wildlife              Wild
    Platoro Reservoir)
    South Fork of the Conejos River               12.76        3,985      Suitable     Scenic, Recreational, Wildlife              Wild
    Conejos River below Platoro
                                                  12.54        3,539      Suitable     Scenic, Recreational, Wildlife         Recreational
    Reservoir
    Conejos River Total                           40.95       12,334         NA                       NA                               NA
    Wild Rivers Subtotal                          46.41       13,865         NA                       NA                               NA
    Scenic Rivers Subtotal                        41.67       13,075         NA                       NA                               NA
    Recreational River Subtotal                   28.94        7,636         NA                       NA                               NA
    Rio Grande National Forest Total              117.02      34,576         NA                       NA                               NA
   1 Length, in miles, of the reaches has been updated from the 1996 forest plan revision to reflect the best available information;
      changes do not reflect alterations to the eligible or suitable river segments.




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      Proposed Special Area Designations
      Acreage of proposed Forest-designated special areas including research natural areas, special
      interest areas, wild, scenic, and recreational rivers, congressionally designated trails, scenic
      byways and railroads, and other specially designated areas for each alternative is shown in
      Table 17. For more information about existing and proposed special designated areas, see
      Designated and Proposed Special Interest and Research Natural Areas in Chapter 3. Maps of
      Special Designated Areas for Alternatives A through D are contained on the DVD located at
      the back of this document.

      Table 17. Acreage of special interest areas and designated areas, by alternative
                                             Alternative A   Alternative B    Alternative C   Alternative D
                Management Areas
                                                (acres)         (acres)          (acres)         (acres)
       Management Area 2.2 - Research
                                                23,868          23,868                           25,154
       Natural Area
       Management Area 3.1 - Special
                                                34,666          26,966                          148,920
       Interest Area
       Management Area 3.3 - Backcountry       464,282                                           16,927
       Management Area 3.4 - Eligible and
       Suitable Wild, Scenic, and               10,133          35,872                           35,872
       Recreational Rivers
       Management Area 4.1 - Special
                                                                                 26,096
       Designation: Special Interest Area
       Management Area 4.2 - Special
                                                                                 23,798
       Designation: Research Natural Area
       Management Area 4.21 - Scenic
                                                27,487          27,487           27,487          27,487
       Byway and Railroad
       Management Area 4.23 - Special
       Designation: Congressionally                                                              83,997
       Designated Trail
       Management Area 4.34 - Eligible and
       Suitable Wild, Scenic, and                                                35,872
       Recreational Rivers
       Management Area 4.4 - Eligible and
                                                10,809
       Suitable Recreational Rivers
       Management Area 4.8 - Special
                                                                                  1,632
       Designation: Ski-based Resorts
       Management Area 8.22 - Ski Based
                                                 1,632           1,632                            446
       Resorts




      Wildlife Management
      Alternatives B, C, and D include revised management direction for fish, wildlife, and plant
      species, as well as updated, more specific direction for threatened and endangered species,
      and species of conservation concern, and the key ecosystem characteristics on which they
      depend. All action alternatives also contain revised management direction for Canada lynx in
      late-successional spruce-fir habitat, as well as direction for recreational dredging considering
      potential impacts in aquatic ecosystems. Alternative D prohibits off-road game retrieval.


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   For more information, see the Wild!,^fe and Plant Species and Aquatic Ecosystems sections in
   Chapter 3.

   Sustainable Recreation
   Alternative A does not specifically account for the concept of sustainable recreation.
   However, many of the principles associated with sustainable recreation were present in plan
   direction developed in 1996. Under this management direction, the Forest’s recreation
   program would continue without a sustainable focus for the program over the planning
   period.
   Alternative A. reflects the Forest’s existing summer recreation opportunity spectrum mapped
   in 1996 and based on the factors considered at that time. The class designation percentages
   are listed in Table 18. Recreation opportunity spectrum class designations are not applied to
   private lands located inside the forest boundary.

   Table 18. Alternative A summer recreation opportunity spectrum settings
                   Percent Recreation Opportunity Spectrum class designations
                         Semiprimitive       Semiprimitive            Roaded
       Primitive                                                                           Rural
                         nonmotorized         motorized               natural

               8                  43                   28                  20                   1


   Desired summer recreation opportunity spectrum classes for alternatives B, C, and D are
   summarized in Table 19. These three alternatives contain revised plan direction to help
   achieve sustainable recreation and address recreation settings, opportunities, and access for
   nonmotorized, motorized, developed, and dispersed recreation opportunities. This revised
   direction would help the Forest keep and re-evaluate which facilities and trails would be
   maintained and connected, and would focus all management decision on resource benefits.

   Table 19. Alternatives B, C, and D desired summer recreation opportunity spectrum
   classes

                                   Percent Recreation Opportunity Spectrum class designations1
     Alternative
                                           Semiprimitive       Semiprimitive           Roaded
                         Primitive                                                                           Rural
                                           nonmotorized         motorized              natural
           B                  7                  44                   28                  20                    1
           C                  7                   33                  36                  23                    1
           D                 36                   19                  25                   19             less than 1
   1 Recreation opportunity spectrum class designations are not applied to private lands located inside the Forest boundary.


   Total nonmotorized and motorized opportunities by combined recreation opportunity
   spectrum class percentages across all action alternatives are listed in Table 20. The
   nonmotorized recreation opportunity spectrum classes (primitive and semiprimitive
   nonmotorized) are the highest under alternative D because of increased acreage of
   recommended wilderness.


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      Table 20. Nonmotorized and motorized settings
                          Total        Total
        Alternative   Nonmotorized   Motorized
                        (percent)    (percent)
            A              51           49
            B              51           49
            C             40            60
            D              55           45


      For more information and analysis on this subject, see the Sustainable Recreation
      Opportunities section in Chapter 3.




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   Chapter 3. Affected Environment and Environmental
   Consequences
   This chapter summarizes the physical, biological, social, and economic environments of the
   project area and the effects of implementing each alternative on that environment. It also
   presents the scientific and analytical basis for the comparison of alternatives presented in
   Chapter 2.
   The analysis of alternatives addresses changes in forest plan direction across the alternatives.
   The analysis addresses impacts on overall programs. Forest plan direction is included in the
   Rio Grande National Forest Draft Revised Land Management Forest Plan and can be
   referenced there.

   Nature of the Analysis
   This analysis takes a programmatic look at the outcomes that may result from implementing
   the proposed management direction in each alternative. Estimating effects at the
   programmatic forest-plan level makes assumptions that the types of resource-management
   activities allowed under the prescriptions are reasonably foreseeable future actions to achieve
   the goals and objectives stated in the forest plan. However, the specific location, design, and
   extent of such activities are generally not known. Those decisions are made on a site-specific
   basis in compliance with the forest plan. Therefore, the discussions here refer to the potential
   for the effect to occur at the programmatic level.
   The forest plan does not prescribe site-specific projects; therefore, potential spatial and
   temporal effects cannot be attributed to a specific area and the analysis contains no direct
   effects analysis. Because no commitments regarding site-specific actions are made, there are
   no irreversible and irretrievable commitments or short-term losses of productivity included in
   the analysis. Cumulative effects result from the incremental impact of the action when added
   to other past, present, and reasonably foreseeable future actions regardless of what agency
   (federal or non-federal) or person undertakes such other actions (40 CFR 1508.7). The
   analysis of cumulative effects provides a larger context in which to evaluate the effects of the
   forest plan. Cumulative effects can be described in terms of potential to generally affect
   trends for the overall resource. The cumulative effects of a program at the forest-plan scale
   can be discussed only in terms of general programmatic tendencies toward either improved
   or declining resource condition.

   Other Required Disclosures
   The Forest has been in communication and consultation with the following agencies and
   tribes:
   •   U.S. Fish and Wildlife Service under the Endangered Species Act for changes to the
       Southern Rockies Lynx Amendment since January 2017.
   •   Colorado State Historic Preservation Office through plan development for adherence with
       the National Historic Preservation Act.
   •   Colorado Department of Natural Resources for integration of the Colorado Roadless
       Rule.

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      •   The Navajo Nation as a cooperating agency.
      •   Nineteen tribes affiliated with the Forest: the Southern Ute Tribe, Ute Mountain Ute
          Tribe, Uintah and Ouray Ute Tribe, Jicarilla Apache Nation, Comanche Nation, Navajo
          Nation, Pueblo of Taos, Pueblo of Picuris, Hopi Tribe, Pueblo of Santa Ana, Pueblo of
          Santa Clara, Pueblo of Ohkay Owingeh, Cochiti Pueblo, San Ildefonso Pueblo, Pueblo of
          Laguna, Pueblo of Acoma, Pueblo of Santo Domingo, Pueblo of Zuni, and Pueblo of
          Nambe.

      Air Quality
      Overview
      Air quality is recognized as an important resource to protect on national forests. The public
      values the clean air and sweeping vistas that national forests provide. Air quality affects
      forest resources such as aquatic organisms, cultural resources, forest health, recreation, social
      and economic resources, water quality, wildlife, and scenic resources. By measuring the
      effects of air pollution on these resources, the extent of degradation to the Forest can be
      measured. Air regulators, land managers, and concerned citizens can use this information to
      promote improvements in air quality that will benefit national forest areas and the people
      who visit them.
      A detailed overview of air quality on the Forest is contained in Assessment 2 - Air Quality,
      Soils, and Water Resources (USDA Forest Service 2016), portions of which are included in
      the section below.
      Air pollution affects the natural quality of forest lands, particularly wilderness areas. Impacts
      can include injury to sensitive vegetation, lake body acidification, eutrophication, hypoxia,
      and soil nutrient changes. Deposition of toxic metals can harm aquatic and terrestrial
      ecosystems. Visibility may also be impaired by the haze that results from suspension of fine
      particulates in the air. The air pollution that affects national forests comes from many
      sources, large and small, located nearby and far away. Common sources include emissions
      from industry, motorized vehicles, wood burning stoves, mining, and road construction. The
      pollution typically originates outside of national forest boundaries but is transported through
      the atmosphere and deposited inside national forest boundaries, but can also originate within
      forest boundaries.
      The impact on the ecosystem is related to the types and amount of pollution emitted, the
      distance from the ecosystem of concern, and the atmospheric conditions, such as weather,
      affecting the transport and dispersion of pollutants. The ecological effects of air pollution
      may also vary by location, time, and sensitivity of individual species. The response of an
      ecosystem to air pollution is dependent not only on the amount of contaminants to which it is
      exposed, but also on the ability of the ecosystem to buffer itself against the effects of air
      pollution. Hence, understanding and monitoring for air quality values in a national forest
      requires a comprehensive view, combined with local knowledge.
      Wilderness air quality values are those properties of wilderness that are affected in some way
      by air pollution and include visibility, odor, flora, fauna, soil, water, geologic features, and
      cultural resources. Mandatory Class I areas were designated by Congress and receive special
      protection under the Clean Air Act. These include wilderness areas larger than 5,000 acres


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   that were in existence (or authorized) on August 7, 1977. Class I area values are called air
   quality related values and are protected under the Clean Air Act. Class II area (established
   after 1977) values are called wilderness air quality values. The Forest Service is required to
   protect air quality values within both Class I and Class II areas. Air quality values are
   monitored using sensitive receptors and indicators and by critical targets and loads Sensitive
   receptors and indicators are properties or features, such as high-altitude lakes, lichens, and
   vistas that may be affected by air pollution. Critical loads are quantitative estimates of levels
   below which no harmful impacts are expected but where exceeding those levels will affect a
   specified feature or property within the wilderness ecosystem.
   These sensitive receptors are the specific components of an ecosystem through which change
   in air quality or wilderness air quality-related values are quantified. Sensitive receptors are
   selected for known or suspected sensitivity to pollutants, availability for manageable, cost­
   effective monitoring, sampling, and analysis methods, and relevance for modeling
   capabilities. The relationship between air pollution and effects on individual components of
   the wilderness is influenced by a component’s ability to resist displacement from its natural
   condition, ability to recover from an individual human-caused event, and the number of times
   the wilderness component can return to the natural condition after repeated human-caused
   change incidents.
   In addition to emitting carbon monoxide, particulate matter, and hazardous air pollutants,
   fossil fuel burning emits sulfur dioxide and nitrogen oxides into the atmosphere. Certain
   types of agricultural activities emit ammonia to the atmosphere. Such emissions can lead to
   atmospheric deposition of sulfuric acids, nitric acids, and ammonium to forest ecosystems. In
   sensitive ecosystems, acid compounds can acidify soil and surface waters, thereby affecting
   nutrient cycling and ecosystem services. In more resilient ecosystems, nitrogen deposition
   can lead to chemical and biological changes through nitrogen saturation, which can then
   affect ecosystem services. To address whether atmospheric deposition is having negative
   effects, critical loads are calculated. If monitoring and modeling indicate that critical loads
   are being exceeded, then target loads are established.
   Critical loads are quantitative estimates of exposure to one or more pollutants below which
   significant harmful effects on sensitive elements of the environment, according to present
   knowledge, are not expected to occur. Values are scientifically determined based on expected
   ecosystem response to a given deposition level. The environmental effects can extend over
   great distances when values are exceeded. Target loads are acceptable pollution loads or
   levels agreed upon by policy makers and land managers. Acceptable target loads are based on
   the economic costs of emissions reductions, timeframes, and other matters.

   Affected Environment, Existing Conditions, and Trends
   A detailed discussion of the affected environment is contained in Assessment 2 - Air Quality,
   Soils, and Water Resources (USDA Forest Service 2016), which also includes a more
   extensive discussion of existing conditions and trends.
   Air quality must be considered at a regional (airshed) scale and also must be considered to
   some extent at a global scale. An airshed is a geographical area where local topography and
   meteorology limit the dispersion of pollutants away from the area. Airsheds typically are
   identified as a geographic boundary for air quality assessments. The Forest is in the Canon


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      City airshed (USDA Forest Service 1994), a large geographical area in south-central
      Colorado, with the Continental Divide on the western side. The Continental Divide exerts
      considerable control over the air currents and circulation within this airshed. Prevailing upper
      level winds are from the southwest and west (Mast et al. 2005), with occasional shifts due to
      cold fronts. Regionally, areas in northwestern New Mexico and southwestern Colorado and
      Utah have some impact on the area because of the industries that are prevalent in the area,
      such as oil and gas development, power generation, and industrial stack emissions.
      Stationary sources of pollution include facilities such as those used for energy production,
      mining and milling operations, gravel and cement plants, and ski areas. Areas directly
      affected by these facilities are typically confined to a radius of tens of kilometers downwind
      of the facility. Large stationary sources, typically facilities that produce more than 100 tons
      per year, can impact national forest areas in excess of 300 kilometers downwind by
      contributing to pollutant haze layers. Emissions information is generally tracked for
      pollutants that have health-based air quality standards such as carbon monoxide, nitrogen
      oxides, sulfur dioxide, and particulate matter.
      Stationary sources of air pollution within a 100-kilometer (62-mile) radius of Monte Vista,
      Colorado, which serves as a good centroid for the Forest and its associated sub-airshed, can
      be queried (Colorado Department of Public Health and Environment 2017). These sources
      were determined to be in the central, north-central, south-central, and southeastern parts of
      the San Luis Valley. Area and mobile sources include motorized vehicles, agricultural
      activities, planes, trains, residential wood burning, lawn mowers, barbeques, wind-blown
      dust, and smoke from wildfires and agricultural ditch burning. Data for upwind sources of
      emissions beyond the 62-mile limit of the State of Colorado also can be queried (U.S.
      Environmental Protection Agency 2017a). Upwind areas that contain facilities that could
      potentially affect air quality in the Forest include a large area south of Durango, Colorado,
      and east of Farmington, New Mexico, and a concentrated area around Spanish Peaks west of
      Trinidad, Colorado. Facilities in these areas are associated primarily with energy use and
      development. Other potential sources include areas around and south to southeast of Phoenix,
      Arizona, and the Los Angeles metropolitan area in California.
      Primary sources for carbon monoxide include wood combustion, motorized vehicles, and
      non-road engines; for nitrogen oxides: power plants, vehicles, non-road engines, oil and gas
      development, wood combustion, and railroads; for sulfur dioxide: wood combustion,
      vehicles, oil and gas, and non-road engines; for particulate matter: wood combustion, road
      and trail dust, agriculture tilling, and construction; and for volatile organic compounds: oil
      and gas development, pesticides, wood combustion, non-road engines, and vehicles.
      Wildfires can be a visibly noticeable source of air quality impact due to aerosols including
      organic and elemental carbon and particulate matter. Impacts from wildfires are increasingly
      difficult to predict and manage due to fuel loads, fire exclusion history, increasing
      wildland-urban interfaces, and climate change. Fuel treatment practices, including fire and
      mastication, would continue in an effort to reduce the size, frequency, and intensity of
      wildfires to improve fire control and increase the predictability of fire effects.
      Air emission information provides an overview of the magnitude of air pollution and is
      important in understanding air quality on the Forest. Trends in precursor emissions would be
      expected to track with trends on the Forest, such as visibility and acid deposition.


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   Overall, air quality within and near the Forest is good to excellent as the area is minimally
   developed, has limited local emissions sources, and has predominantly very robust air
   dispersion (see Assessment 2). Wildfire emissions, depending upon the year, can be the most
   significant source of pollution within and around the Forest, but are not controllable by
   management except indirectly, through fire suppression. Prescribed-fire emissions in the area
   commonly occur during the spring and late fall. The amount of activity is expected to hold
   constant, with a few hundred to several thousand acres per year being treated. Smoke
   management is regulated by permit from the State of Colorado. Overall smoke emissions
   from wildland fire are expected to remain about the same, with the major variable being
   weather conditions.
   Dust generated by winds blowing across the San Luis Valley also impacts the air quality of
   the Forest, particularly in the Sangre de Cristo Mountains. Dust generated in the
   southwestern United States and at a global scale also impacts the Forest, most noticeably as a
   dark covering on top of the snowpack as it melts in the spring.
   The greatest threat to air quality within the Forest is from upwind anthropogenic sources.
   Upwind urban and industrial air pollution, although low to moderate when compared with
   much of the United States, has a potentially persistent impact because many of these
   emissions occur year-round. These sources are managed by the air quality regulatory
   agencies in Colorado and upwind states, with collaboration from the Forest Service for major
   sources permitting through the prevention of significant deterioration process. Currently, as
   previously discussed, all Colorado communities are in attainment of all National Ambient Air
   Quality Standards, with the exception of the Front Range ozone control area, which is in
   non-attainment for the 8-hour ozone standard. Ozone has been in decline regionally since at
   least 1980 (U.S. Environmental Protection Agency 2017b), and particulate matter has also
   been in decline (U.S. Environmental Protection Agency 2017c).
   In the past there were several communities across the state in non-attainment for violation of
   one or more of the Federal clean air standards. Implementation plans have since been
   developed for these communities that show how these communities have attained and will
   maintain compliance with the standards. The closest community to the Forest under one of
   the maintenance plans is Pagosa Springs, for particulate matter less than 10 microns.
   The largest upwind anthropogenic source of air quality concern on the Forest is energy
   development in southwestern Colorado and northwestern New Mexico, and perhaps the
   Spanish Peaks area west of Trinidad, Colorado. Continued compliance with National
   Ambient Air Quality Standards and protection of Class I and II areas on the Forest requires
   continued close coordination between the Forest Service and air quality regulatory agencies
   in Colorado and upwind states.
   A considerable amount of historic and current air quality monitoring data is available for
   tracking air quality conditions and impacts to air quality values. Interagency Monitoring of
   Protected Visual Environments (2017) sites for the Weminuche Wilderness and Great Sand
   Dunes National Park are useful for visibility monitoring. Since 1985, monitoring has been
   conducted at these interagency monitoring sites to establish visual conditions and track
   changes over time. The Colorado “scenic and important views” database is useful for
   prevention of significant deterioration permitting efforts the Forest may become engaged
   with in the future. Historic and on-going lake water chemistry data are useful for tracking


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      atmospheric deposition in terms of acid rain and nutrient loading. U.S. Geological Service
      snowpack chemistry data and national atmospheric deposition program deposition data
      collected from surrounding areas are useful for atmospheric deposition monitoring.
      Haze indices indicate that visibility on the clearest days is improving over time, but there is
      no apparent trend in the index on the haziest days. Episodic wind events and associated dust
      appear to be affecting visibility on the Forest, particularly in the Sangre de Cristo Mountains.
      Regional and global wind driven dust also appear to be affecting visibility. Data collected
      from high-elevation lake monitoring indicate there are lakes sensitive to atmospheric
      deposition in the Weminuche and South San Juan Wilderness Areas but not in the La Garita
      and Sangre de Cristo Wilderness Areas. These data sets are presently being analyzed for
      trend, but the results may or may not be available for the current revision effort. Snowpack
      chemistry monitoring indicates no apparent trend with nitrate concentrations, an apparent
      downward trend with sulfate concentrations, and a slight upward trend with ammonium and
      mercury concentrations. National Atmospheric Deposition Program site data indicate an
      apparent downward trend in sulfate concentration and deposition, apparent downward to no
      trend to upward trend in nitrate concentration and deposition depending upon location, and
      apparent upward trend in ammonium concentration and deposition.
      The critical load assessment indicates potential concern with nitrogen deposition on lichens,
      soil quality, and vegetation, particularly in the alpine habitats. Monitoring in the Class I
      Weminuche and La Garita Wilderness Areas may be beneficial to measure the extent to
      which potential effects have occurred. Until additional information becomes available that
      disputes or supports the results of the critical load assessment, the Forest does not need to
      establish refined critical loads and target loads at this time; rather, the Forest should continue
      with development, adjustment, and implementation of its existing air resources program.
      The nearest active ozone monitoring site to the Forest is Shamrock Mine (see Assessment 2),
      which was established in 2004. The Forest Service and State of Colorado monitor ozone at
      multiple rural, high-elevation sites across the southern Rocky Mountains. Musselman and
      Korfmacher (2014) recently summarized these data. The authors noted that many of these
      locations have, on occasion, ozone concentrations that exceed the current standards but that
      there are significant year-to-year differences, that concentration levels are primarily in the
      mid-concentration range, and that the small daily fluctuations indicate overall stable
      concentrations.
      The Forest Service uses the watershed condition framework to characterize the health and
      condition of National Forest System lands. The characterization is a reconnaissance-level
      approach using a set of 12 indicators and 24 attributes that are surrogate variables
      representing ecological, hydrologic, and geomorphic functions and processes that affect
      watershed condition (USDA Forest Service 2011). One attribute within the Forest Health
      indicator is ozone. This attribute is rated to address forest mortality impacts to hydrologic
      and soil function due to air pollution. All watersheds on the Forest were rated “functioning
      properly” relative to ozone. Two other attributes, water quality and soil contamination, were
      rated in part using data related to air quality.
      The Air Quality Portal for Land Management Planning (USDA Forest Service 2017) provides
      guidance on assessing critical loads of air pollution to determine if concerns exist with
      acidification, and nutrient loading, of several ecosystems components (air quality). This


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   procedure was followed during Assessment 1 of this planning process and it was determined
   that exceedance of critical loads occurred at certain lakes but buffering due to geologic
   materials and soils should mitigate any concerns. There are small lakes in the Weminuche
   and South San Juan Wilderness Areas with low acid neutralizing capacity where localized
   geologic materials and soil may not provide adequate buffering. Thus, current lake
   monitoring efforts should continue and trend monitoring should be conducted.
   Assessment 1 and 3 - Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial
   Ecosystems indicates that the extent and severity of exceedance for mycorrhizal fungi is low
   and thus not a concern. Because exceedances of the lichen critical loads fall within the realm
   of uncertainty, lichen monitoring in the Class I Weminuche and La Garita Wilderness Areas
   may be beneficial to measure the extent to which potential effects have occurred.
   Exceedances of the minimum critical loads for herbaceous plants/shrubs and forests occur
   across 29 percent of the Forest; and for nitrate leaching across 41 percent of the Forest. While
   1.66 kilograms per hectare per year deposition identified in Assessment 2 is not particularly
   high, it is within the range of critical concerns. Exceedance could be indicative of a trend
   toward issues with lower organic soil carbon to nitrogen ratios, higher nitrogen
   mineralization rates, potential net nitrification rates, foliar nitrogen concentration, higher
   nitrogen to phosphorus, nitrogen to calcium, and nitrogen to magnesium ratios in forested
   areas. Changes in plant species composition in alpine ecosystems may enhance rates of
   nitrogen cycling or could lead to nonlinear increases in nitrate leaching and soil acidification
   (Pardo et al. 2011). Because ammonium deposition at two National Atmospheric Deposition
   Program sites in the vicinity of the Forest visually appears to be on an upward trend, soil and
   vegetation monitoring in the Class I Weminuche and La Garita Wilderness Areas may be
   desirable to measure the extent to which potential effects have occurred.

   Direct and Indirect Effects
   Impacts to air quality from Forest management activities include, but are not limited to, dust
   and engine exhaust. Activities that affect air quality are generally localized and are separated
   by time and also by space. Particulates from these localized impacts disperse quickly into the
   atmosphere and become diluted.
   Localized impacts can in turn affect downwind areas cumulatively, as impacts from activities
   within the airshed can spread across the airshed into other areas, just as activities upwind can
   impact areas within the boundaries of the Forest.
   Impacts to the chemistry of water in high mountain lakes can influence changes to aquatic
   habitat, vegetation, and scenic vistas within the boundaries of the Forest. Monitoring at the
   regional and Forest level would continue to allow Forest staff to gauge changes and estimate
   hazards to resources.
   Upwind sources would continue to impact the air quality on the Forest. Management
   activities would have some localized impacts, possibly with some airshed-scale implications
   primarily from engine exhaust, dust, and smoke from prescribed burns. Wildfires would
   periodically impact the air quality in the region due to smoke.




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      Effects on Air Quality from Timber Harvest
      Air quality would be impacted by timber harvest activities primarily through the engine
      exhaust of equipment used to prepare for, harvest, and subsequently transport forest products,
      along with dust from haul routes. This is primarily a localized impact, for which particulates
      disperse quickly and individual impacts do not have a Forestwide or regional impact.
      Cumulatively there is potential to combine with other activities to create impacts; however,
      they are unlikely to occur simultaneously, so localized impacts are reasonable to consider.
      Timber suitability changes across alternatives. Alternative A, which represents current
      management, has approximately 320,567 suitable acres. From least to most, the other
      alternatives have: D - 401,414 acres, B - 468,311 acres, and C - 480,683 acres.
      Timber suitability acres provide a relative basis to compare the potential impacts of timber
      management impacts on air quality. Relatively, alternatives A and D propose fewer available
      acres for timber harvest and therefore would be the most protective of air quality, and
      alternative C allows the most acres of timber to be potentially harvested. Projected
      management activities indicate that alternative C would have the greatest impact due to the
      higher average acres harvested, while alternative A would have the fewest acres impacted.
      Alternatives A and B are very similar in the amount of acres potentially impacted. Because
      all harvest activities would not occur at the same time or in the same location, impacts from
      engine exhaust and dust are similar across alternatives. Localized inputs would be realized at
      each location and would be analyzed in subsequent site-specific analysis. These localized
      impacts can cumulatively combine with other regional inputs to impact air quality at any
      given time, but impacts are not expected to change trends described in the current conditions
      and trends section of Assessment 2. Alternative C has the greatest potential to impact current
      and future trends, while alternative D, which has the least amount of planned management
      activity, would be the least likely to impact air quality.

      Effects on Air Quality from Fire Management
      Wildfires have the most significant impact on air quality within the boundaries of the Forest.
      The two most recent large fires on the Forest were the Million Fire in 2002 and the West Fork
      Complex Fires in 2013. Both impacted air quality locally and also regionally. Similar large
      fires elsewhere in the Western United States have impacted air quality on the Forest and in
      the San Luis Valley. These events have the largest impact on the air quality and the least
      amount of control by Federal agencies.
      Fire management activities contribute to air quality impacts. Smoke from prescribed burns
      and pile burning add particulates and other pollutants into the air. These fires are generally
      locally impactful but do not impact air quality for an extended time, as the smoke disperses
      and does not have a lasting or concentrated effect. Project-specific analysis and plans include
      parameters that would limit impacts.
      No significant difference to air quality is expected from the different alternatives. Similar
      acres of prescribed burning would continue to be attempted each year, regardless of
      alternatives. State laws would continue to require permits and monitor compliance. High
      mountain lakes and monitoring sites around the area would continue to be monitored for
      persistent impacts to air quality associated with local and regional activities.



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   Effects on Air Quality from Livestock Grazing
   Livestock management would continue at very similar levels across the Forest regardless of
   alternative. Cattle have some impact on air quality; however, since cattle generally reside in
   the same airshed, impacts on a regional scale are the same regardless of where the cattle
   graze. Local impacts are very minimal because the cattle are not often congregated together
   but spread out across the landscape. No significant difference among alternatives is expected.

   Effects on Air Quality from Roads and Trails
   Similar to timber harvest impacts, engine exhaust is a major contributor of air quality
   impacts. Dust can also be a visibly noticeable addition to air quality issues. As traffic
   increases so do exhaust outputs and dust. These effects are localized to the area where they
   occur; however they can also contribute to regional air quality conditions. Impacts would not
   necessarily be immediately visible. Impacts from the deposition of nitrogen oxides and
   sulfates can have impacts to vegetation and soil and water chemistry.
   Alternative D is the most likely to influence air quality in a positive manner as more
   restrictive management direction or areas are proposed, including areas of recommended
   wilderness. Alternative C is the least likely to improve or protect air quality as more
   opportunities for management activities are possible, which could lead to more traffic and to
   an increase in pollutant levels. However, the differences among alternatives is relatively
   small in regards to impacts to air quality. It is not anticipated that the differences among
   alternatives would be significant in relation to how roads and trails influence air quality.

   Effects on Air Quality from Recreation
   Recreation is mainly driven by the public. Visitation to the Forest would likely increase into
   the future. More recreationists would increase the amount of impact from motorized travel,
   and dust and exhaust would be the influence on air quality caused by recreation. Reducing
   the number of miles driven on the Forest would reduce the impacts of vehicle exhaust and
   dust to air quality. On the surface, alternative D seems to be the most restrictive to motorized
   recreation and alternative C the least restrictive. More vehicles driving a shorter distance to a
   trailhead, however, may have the same impact as fewer vehicles driving many miles to reach
   a trailhead. Generally, none of the alternatives specifically limit miles driven, the total
   number of campfires, or other similar air quality related impacts. There is no anticipated
   difference among alternatives.

   Effects on Air Quality from Designation of Wilderness, Wild, Scenic, and
   Recreational Rivers, Research Natural Areas, Special Interest Areas, and
   Scenic Trails and Byways
   Impacts to air quality from specially designated areas would not vary based on the type of
   designation. Specially designated areas generally place more restrictions on management
   activities than other areas, which would result in fewer impacts to air quality. These impacts
   would be less under alternative D. Alternative B is more protective than alternatives A and C
   but less protective than alternative D. Regional trends and conditions essentially negate local
   impacts because many of the air quality impacts to the Forest come from the upwind sources
   like the energy production areas in northwestern New Mexico, southwestern Colorado, and


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      southeastern Utah, as well as communities with industry such as Durango, Colorado, and
      Farmington, New Mexico.
      Alternative D appears to be the most protective of air quality due to an increase in designated
      wilderness with associated additional air quality management considerations Due to
      dependence on upwind conditions and activities, there is no significant difference among
      alternatives related to air quality and designated areas.

      Effects on Air Quality from Mineral Resource Activities
      Mineral extraction is anticipated to continue at similar levels as was anticipated in the 1996
      forest plan, and similar to current activity levels. Local impacts from mineral extraction
      activities are generally from dust and engine exhaust. These impacts are minimal and small in
      correlation with the size of mineral extraction activity.
      Mineral extraction activities do not vary significantly among alternatives; therefore, air
      quality impacts are not expected to vary among alternatives.

      Cumulative Effects
      Air quality impacts are associated primarily with anthropogenic sources. Though the impacts
      from these sources are not as dramatic as the impacts from a natural event, such as a large
      fire, they are more consistent. Upwind sources of pollutants are expected to continue at
      similar levels. Impacts from the energy extraction and production industry and from large
      cities upwind of the Forest will likely affect air quality. Air quality impacts can also be
      realized from forest management practices to downwind receivers. Cumulatively, upwind
      sources can impact downwind receptors.
      Past, ongoing, and reasonably foreseeable future impacts to air quality would continue on the
      Forest at similar rates over the planning period. Monitoring and modeling efforts would
      continue to integrate knowledge and understanding of local and regional inputs to air quality
      standards. Cooperation among agencies and other entities would also continue so that as
      monitoring results become known, adjustments or changes would be made to mitigate air
      quality impacts across the Forest and the airshed.

      Forested Ecosystems
      This section addresses the forested ecosystems on the Forest. In particular, it addresses many
      of the key ecosystem characteristics needed for ecological integrity in these ecosystems,
      including the diversity of vegetation, landscape disturbances, late-successional and old forest
      habitats, and snags and downed woody material.

      Overview
      Key ecosystem characteristics are defined in the 2012 Planning Rule as the dominant
      ecological components that describe the ecosystems and are relevant and meaningful for
      addressing ecosystem condition and integrity, as well as important land management
      concerns. Ecosystem integrity as related to vegetation is typically assessed by considering
      dominant ecosystem functions, composition, structure, and connectivity. Key ecosystem
      characteristics are measurable (i.e., quantitatively or qualitatively) and there is some type of
      data or means to distinguish and describe them.

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   Key forest ecosystem characteristics have been identified and are listed below. Estimated
   differences in these key ecosystem characteristics serve as the basis for evaluation of
   ecological integrity and sustainability.
   •   Diversity of vegetation - Maintaining a diversity of ecosystems and structural types
       provides the various habitats needed by the many species that use the Forest and will help
       ensure resiliency in the face of environmental disturbances and changes.
   •   Late-successional and old forest habitats - Late-successional and old forest habitats are
       an important part of a healthy ecosystem. They tend to have forest structure elements,
       such as large, older trees, large snags, and multiple canopy layers, that are important to
       some wildlife species.
   •   Snags and downed woody material - These are essential for ecological integrity and
       serve a variety of purposes, such as providing valuable wildlife habitat and supporting
       nutrient recycling.
   •   Landscape Disturbances and Patterns - A variety of disturbance agents affect the
       landscape of the Forest. One indicator of ecosystem integrity is whether these disturbance
       processes are occurring with the same magnitude and intensity as they did historically.
   •   Rare communities and special habitats - Recognizing and protecting rare plant
       communities is crucial to preserving the area’s diverse natural heritage. Special habitat
       areas generally have a disproportionate contribution to species diversity relative to their
       actual size or they may be habitat for species found nowhere else.
   •   Connectivity - The ability of species to move and interact throughout a landscape can
       aid in its survival in general, and especially when their environment is changing. It can
       also help maintain genetic diversity within a species.
   Most key ecosystem characteristics are discussed in this section; however, connectivity
   primarily discussed specifically in the wildhfe sections.

   Affected Environment, Existing Conditions, and Trends
   A primary goal of forest plan direction related to vegetation is to provide for ecological
   integrity and sustainability, supporting a full suite of native plant and animal species, while
   providing for the social and economic needs of human communities. Resistance and
   resilience of vegetation are important concepts as they relate to integrity and sustainability of
   the ecosystem in the face of future uncertainties. Resistance refers to the capacity of
   ecosystems to tolerate disturbances without exhibiting significant change in structure and
   composition. Resilience refers to the ability of a system to recover from disturbance in the
   event that the disturbance exceeds the capacity of the system to resist changing (Holling
   1973). Hereafter in this document, the concepts of resistance and resilience will be jointly
   referred to as “resilience.”
   The key ecosystem characteristics listed earlier are the identified indicators that will be used
   to describe ecosystem conditions and integrity, and, considered as a whole, provide a means
   to address forest resilience and compare effects among alternatives.




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      Ecosystem Drivers and Stressors
      Drivers and stressors to the ecosystems of Forest are identified in Assessment 1 and 3 -
      Ecosystem Integrity, Systems Drivers and Stressor for Terrestrial Ecosystem (USDA Forest
      Service 2016) and are hereby incorporated by reference. Identified stressors and drivers
      include succession, wildfire, insects, diseases, climate change, management, livestock
      grazing, weather-related events such as wind, droughts and floods, other natural disturbances
      such as beaver activity, exotic species invasion, and tree encroachment. The drivers and
      stressors for each particular ecosystem vary widely.
      Succession is the natural change in the composition, structure, and function of an ecosystem
      over time during long periods without major disturbances. As trees and plants grow and
      compete for limited resources, the species, size, and amount of the trees and plants that
      compose an ecosystem change.
      Insect and disease outbreaks are major ecological processes that shape forest conditions.
      Without the influence of “change agents” such as fire, insects, and disease, forest vegetation
      would stagnate and eventually become homogeneous, which would decrease biodiversity and
      resilience to disturbance. These change agents are an integral part of forest ecosystem
      processes, but still pose a challenge to forest management.
      Climate change affects ecological conditions through shifts in precipitation and temperature
      and can result in more visible effects from changes to the rate of disturbances such as
      wildfires and insect outbreaks. Related to this are the weather-related stressors such as
      droughts and floods that may be more common with a changing climate (Dale et al. 2001,
      Walther et al. 2002, IPCC 2014).
      As the climate warms and precipitation patterns change, changes in reproductive success,
      growth rates, competitive environments, and disturbances will likely alter the distribution of
      forest types and mixtures of species across the landscape (Battaglia 2017a). Future climate
      projections for the Forest suggest that temperatures will get warmer throughout all the
      seasons and snowmelt will occur earlier in the spring (Battaglia 2017a, Talbert et al. 2016).
      Precipitation projections are highly variable with some models showing an increase in
      precipitation and others showing a decrease in precipitation (IPCC 2014).
      Changes in temperature will change the growth of tree species (Rondeau et al. 2012, Vose et
      al. 2012, Battaglia 2017a), and this change may vary based on the particular species.
      Battaglia (2017 a) suggests that longer growing seasons can potentially be beneficial for tree
      growth if moisture availability does not decrease. Earlier snowmelt can lead to increased
      potential for seedlings to experience frost damage and exposure to drought.
      Suitable habitat for individual tree species is predicted to shift higher in elevation and
      northward in latitude, and it is unclear whether tree species dispersal can keep up with this
      movement (Vose et al. 2012). Some ecosystems are particularly susceptible to climate
      change-related impacts. Vulnerability assessments for the surrounding areas suggest that
      ecosystems adapted to warmer and drier conditions will do better than those adapted to
      cooler and moister conditions (Battaglia 2017a). Plant and animal species in high-elevation
      alpine ecosystems, such as the Uncompahgre fritillary butterfly, may be pushed to extinction
      if warming temperatures reduce their habitat (Alexander and Keck 2015).



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   Bioclimate models can be used to determine where in the future the climate will be suitable
   for particular tree species. Worrall et al. (2016) found that projected topoclimatically suitable
   areas for tree species on the Forest will shift by 2060 (Battaglia 2017a). A conservative
   estimate from this work shows that the potential future climate favors Gambel oak, Douglas-
   fir, ponderosa pine, and pinyon pine. Topoclimatic suitability for Utah Juniper, Rocky
   Mountain juniper, lodgepole pine, bristlecone pine, limber pine, and blue spruce is projected
   to be unlikely. White fir, subalpine, aspen, and Engelmann spruce lose favorable habitat. A
   more optimistic estimate from this work shows that the potential future climate favors
   Gambel oak, Douglas-fir, ponderosa pine, aspen, and pinyon pine. Topoclimatic suitability
   for bristlecone pine, lodgepole pine, and limber pine is still unlikely, and blue spruce is
   projected to lose most of its suitable habitat. Habitat loss is projected for Utah juniper, Rocky
   Mountain juniper, and white fir as well.
   Increased tree mortality across the Western United States is already being observed due to a
   combination of high temperatures and drought (Worrall et al. 2008, van Mantgem et al.
   2009). A reduction of forest density in terms of basal area can help improve tree resistance
   and resilience to drought and reduce drought-induced mortality (D’Amato et al. 2013,
   Bottero et al. 2016, Bradford and Bell 2016).
   Rocca et al. (2014) suggests that fire risk is likely to increase in the short term (next 50 years)
   across all forest types. The combination of earlier snowmelt and warmer temperatures will
   allow longer periods for fuels to be available to burn. This will impact species differently, as
   tree species on the Forest have varying levels of tolerance to fire.
   Multi-year droughts are linked to numerous other stressors and disturbances. Not only may
   wildfires increase, but other disturbances as well, such as insect infestations, invasive
   species, flooding, erosion, and sedimentation (Vose et al. 2012).
   Management activities such as timber harvest, thinning, and prescribed fire are implemented
   on less than 0.2 percent of the Forest annually. However, the impact to the ecosystem of these
   activities varies based on the intensity, the activity, and the ecosystem, not just the acreage of
   the activity, and generally lasts longer than simply the year implemented. In addition, the
   roads associated with these activities, even temporary ones, can negatively impact the Forest
   and its habitat.
   Livestock grazing is one of the multiple uses of the Forest. Plan direction ensures that
   grazing is done responsibly. Historically, extensive livestock grazing practices affected not
   only shrublands but also dramatically influenced lower elevation forests by removing fine,
   herbaceous fuels that altered fire regimes (Romme et al. 2009). Grazing can also have a
   magnified effect on sensitive habitats, such as riparian and wetlands.

   Diversity of Vegetation - Forest Composition
   Ecosystems represent broad vegetation types with similar vegetation, soil, climate, and
   disturbance regimes. The Forest encompasses a wide variety of forested ecosystems. This
   variety of forested ecosystems is driven by several factors, including the elevational and
   topographic variability of the area. Landscape heterogeneity is one of the guiding principles
   of biodiversity conservation (Lindenmayer et al. 2006). Maintaining this diversity of
   ecosystems and structural types in these ecosystems is important as it provides the various
   habitats needed by the many species that use the Forest. As discussed in the forest plan goals,


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      a natural variety of species, genetic composition, and ecological processes are also key to
      providing the diversity needed for resiliency in the face of environmental disturbances and
      changes. Diversifying age classes and structure, seral stage, and habitat classes, where
      appropriate, will provide benefits including, but not limited to, providing resilience to insect
      and disease outbreaks, responsiveness to anticipated changes in climate, ecosystem services,
      recreation, increased social and economic benefits, and more (Thompson et al. 2009).
      The forested and nonforested ecosystems generally vary by elevation, with the highest
      elevation being the alpine tundra that occurs at or above 11,500 feet in elevation. The Rocky
      Mountain alpine turf ecosystem is widespread above the upper timberline. Dominant species
      include boreal sagebrush, several sedge species, tufted hair grass, fescue grasses, Ross’
      avens, Bellardi bog sedge, cushion phlox, and alpine clover.
      Decreasing in elevation is the spruce-fir forest, which is generally inhabited by Engelmann
      spruce and subalpine fir mixed with quaking aspen. Vegetation in these ecosystems has been
      significantly altered by the recent spruce bark beetle infestation, with an estimated 610,000
      acres affected as of 2016 (USDA Forest Service GSC 2016).
      The mixed conifer-wet ecosystem occurs in the transition zone between the higher elevation
      spruce-fir and the drier mixed conifer type. It is generally dominated by Douglas-fir and
      various combinations of aspen, white fir, Colorado blue spruce, Engelmann spruce, or
      subalpine fir with incidental occurrences of ponderosa pine.
      The mixed conifer-dry ecosystem sites are generally dominated by ponderosa pine and
      include a mix of other species, including Douglas-fir, white fir, Colorado blue spruce, and
      smaller amounts of aspen. Sometimes this type is subdivided into a warm dry (high
      ponderosa pine component) and cool-dry (can include limber pine and bristlecone pine, along
      with small amounts of pinyon pine and/or juniper at lower elevations) local types to
      characterize the variability that occurs across the Forest.
      Closer to the San Luis Valley and lower in elevation, the pinyon-juniper woodland ecosystem
      includes pinyon pine, Rocky Mountain juniper, and Utah juniper. These woodlands generally
      occur on warm, dry sites on mountain slopes, mesas, plateaus, and ridges. Understory species
      include sparse perennial grasses, annual and perennial forbs, and sparse shrubs.
      A small component of the Forest, the Rocky Mountain Gambel oak and mixed montane
      shrubland ecosystem is present at the north end of the San Luis Valley near Poncha Pass.
      Dominant species include Gambel oak, serviceberry, sagebrush, and various other shrubs,
      grasses, and forbs.
      The Southern Rocky mountain montane subalpine grassland ecosystem includes Thurber
      fescue, Arizona fescue, and several other grasses, forbs, and sedges.
      The Rocky Mountain riparian ecosystem includes numerous riparian types in the upper
      montane/subalpine zones. These systems are highly variable and generally consist of
      cottonwoods, willows, sedges, and other herbaceous vegetation, aspen, and conifers such as
      blue spruce, Engelmann spruce, and subalpine fir. Although this type only covers a small
      portion of the Forest, it has high importance with regards to biodiversity due to the many
      wildlife species that are associated with it.




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   The sagebrush shrubland ecosystem is a dry shrubland type that occurs mostly adjacent to the
   Forest. Sagebrush shrublands are dominated by several different sagebrush species and other
   shrubs.
   The Intermountain Basins greasewood flat ecosystem is a dry shrubland system dominated
   by greasewood and also includes saltbush and sagebrush species. It occupies substantial areas
   at low elevations mostly adjacent the Forest.
   The distribution of the forested and nonforested ecosystems is listed in Table 21. A more
   detailed description of each of the terrestrial ecosystems is contained in Assessment 1 and 3 -
   Terrestrial Ecosystems (USDA Forest Service 2016).

   Table 21. Forested and nonforested ecosystems, as described in the assessment
   reports
                                                                             National
                                                                              Forest
                                 Ecosystem                                                   Percent
                                                                             System
                                                                              Acres
    Spruce-Fir Forest Mix                                                     929,645           54
    Mixed Conifer-Wet                                                         42,718             2
    Mixed Conifer-Dry                                                         94,925             5
    Rocky Mountain Alpine Turf                                                191,800           11
    Pinyon-Juniper Woodland (includes low-elevation grasslands)               100,070            6
    Rocky Mountain Gambel Oak - Mixed Montane Shrubland                        1,224        Less than 1
    Southern Rocky Mountain Montane-Subalpine Grassland                       304,136           18
    Rocky Mountain Montane Riparian                                           61,932            4
    Sagebrush Shrubland                                                        5,014        Less than 1
    Intermountain Basins Greasewood Flat                                        128         Less than 1
                                                                     Total   1,731,5921        100
   1 Excludes areas that have snow, rock, or other non-vegetated cover.


   In addition to the ecosystems described above, another finer-scale classification system often
   used by the Forest classifies areas by their dominant vegetation following regionally
   consistent protocols. This classification by the local cover type is what is mapped in
   corporate vegetation databases and often used for monitoring and tracking of
   accomplishments. A. crosswalk between the ecosystems defined above and used in the
   assessments with the local cover types used in some other sections of this report is contained
   in Table 22. The current distribution of the local cover types is presented in Table 23 and in
   the Dominant Local Vegetation Type map, which is contained on the DVD that is included at
   the back of this document. Dominant vegetation types include spruce-fir (29 percent),
   mountain grasslands (18 percent), aspen (16 percent), mixed-conifer (12 percent), and alpine
   (7 percent).




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      Table 22. Crosswalk between the ecosystems and FSVEG Spatial local cover types
                           Ecosystem                                Local Cover Type in FSVEG Spatial
                                                             TSF (Spruce-Fir Forest)
                                                             TAA (Aspen Forest)
       Spruce-Fir Forest Mix
                                                             TAA-SW (Aspen Forest with Softwoods present)
                                                             TLP (Lodgepole Pine Forest)
                                                             TMC-CM (Mixed Conifer Forest - Cool-Moist)
       Mixed Conifer-Wet                                     TAA (Aspen Forest)
                                                             TAA-SW (Aspen Forest with Softwoods present)
                                                             TMC-WD (Mixed Conifer Forest - Warm-Dry)
                                                             TPP-PP (Ponderosa Pine Forest)
       Mixed Conifer-Dry
                                                             TMC-CD (Mixed Conifer Forest—Cool-Dry)
                                                             TBC_LI (Bristlecone Pine/Limber Pine Forest)
       Rocky Mountain Alpine Turf                            ALP (Alpine Vegetation)
       Pinyon-Juniper Woodland (includes low elevation
                                                             TPJ (Pinyon-Juniper Woodland)
       grasslands)
                                                             MT_SHR (Mountain Shrubland)
       Rocky Mountain Gambel Oak - Mixed Montane
                                                             DS_SHR (Semi-Desert Shrubland)
       Shrubland
                                                             UP-SWI (Non-Riparian Willow)
       Southern Rocky Mountain Montane-Subalpine             MT_GRA (Mountain Grassland)
       Grassland                                             DS_GRA (Semi-Desert Grassland)
       Rocky Mountain Montane Riparian                       RIP (Riparian Vegetation)
       Sagebrush Shrubland                                   SSA (Sagebrush Shrubland)
       Intermountain Basins Greasewood Flat                  N/A




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   Table 23. Percentage of forested and nonforested ecosystems (FSVeg Spatial March
   2017)
   [<, less than]

                FSVeg Spatial
                                          Percent
            Local Vegetation Type
    Alpine Vegetation                        7
    Semi-Desert Grassland                    1
    Mountain Grassland                      18
    Mountain Shrubland                      <1
    Riparian Vegetation                     4
    Sagebrush Shrubland                     <1
    Aspen Forest                            4
    Aspen Forest with Softwoods present     12
    Bristlecone Pine/Limber Pine Forest      1
    Lodgepole Pine Forest                   2
    Mixed Conifer Forest - Cool-Dry         2
    Mixed Conifer Forest - Cool-Moist        8
    Mixed Conifer Forest - Warm-Dry         2
    Pinyon-Juniper Woodland                 2
    Ponderosa Pine Forest                   2
    Spruce-Fir Forest                       29
    Non-Riparian Willow                     <1
    Water, Rock-Bare Soil, and Unknown      6




   Diversity of Vegetation - Structure
   Vegetation on the Forest is typically classified into habitat structural stages developed by
   Forest Service Rocky Mountain Region staff (Table 24). The distribution of the habitat
   structural stages across the Forest is presented in Table 24, Table 25, Table 26, and in the
   Vegetation Habitat Structural Type map, which is contained on the DVD that is included at
   the back of this document. A large proportion of the spruce-fir vegetation type is in the 1T/2T
   stage. These are mostly areas that are regenerating after the spruce beetle outbreak.
   Accordingly, there is also a relatively low amount in the 4B and 4C classes. The mixed-
   conifer vegetation types tend to have a higher proportion in the mature 4B and 4C stages.




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      Table 24. Definition of habitat structural stages used to characterize ecosystem
      condition
      [--, no data; DBH, diameter at breast height]

                                                                                           Tree Canopy Cover
                   Habitat Structural Stage                           Size Class
                                                                                                (percent)
       1M - Natural Meadow                                                 —                        —
       2S - Natural Shrubland                                              —                        —
       1T/2T - Grass/Shrub, Previously Trees                              all                    0 to 10
       3A - Sapling-Pole 10 to 40 percent cover            sapling-pole (0-9 inches DBH)         10 to 40
       3B - Sapling-Pole 40 to 70 percent cover            sapling-pole (0-9 inches DBH)         40 to 70
       3C - Sapling-Pole greater than 70 percent cover     sapling-pole (0-9 inches DBH)     Greater than 70
       4A - Mature 10 to 40 percent cover                        mature (9+ inches DBH)          10 to 40
       4B - Mature 40 to 70 percent cover                        mature (9+ inches DBH)          40 to 70
       4C - Mature greater than 70 percent cover                 mature (9+ inches DBH)      Greater than 70




      Table 25. Current percentage of acres on the Forest in each habitat structural stage
      (FSVeg Spatial data layers, March 2017)
                   Habitat Structural Stage               Percent
       1M - Natural Meadow                                  30
       2S - Natural Shrubland                                3
       1T/2T - Grass/Shrub, Previously Trees                11
       3A - Sapling-Pole 10 to 40 percent cover             10
       3B - Sapling-Pole 40 to 70 percent cover              9
       3C - Sapling-Pole greater than 70 percent cover       8
       4A - Mature 10 to 40 percent cover                   13
       4B - Mature 40 to 70 percent cover                   11
       4C - Mature greater than 70 percent cover             6




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   Table 26. Current percentage of acres in each habitat structural stage for each of the
   major forested types (FSVeg Spatial data layers, March 2017)

     FSVEG Spatial Local
                                        Habitat Structural Stage                    Percent
       Vegetation Type

                                          1M - Natural Meadow                         65
                                          2S - Natural Shrubland                      19
                                  1T/2T - Grass/Shrub, Previously Trees                0
                                 3A - Sapling-Pole 10 to 40 percent cover             2
      Riparian Vegetation        3B - Sapling-Pole 40 to 70 percent cover             2
                              3C - Sapling-Pole greater than 70 percent cover         2
                                    4A - Mature 10 to 40 percent cover                4
                                    4B - Mature 40 to 70 percent cover                 3
                                4C - Mature greater than 70 percent cover             4
                                  1T/2T - Grass/Shrub, Previously Trees               21
                                 3A - Sapling-Pole 10 to 40 percent cover              9
                                 3B - Sapling-Pole 40 to 70 percent cover             16
         Aspen Forest         3C - Sapling-Pole greater than 70 percent cover         35
                                    4A - Mature 10 to 40 percent cover                 1
                                    4B - Mature 40 to 70 percent cover                2
                                4C - Mature greater than 70 percent cover             15
                                  1T/2T - Grass/Shrub, Previously Trees                1
                                 3A - Sapling-Pole 10 to 40 percent cover             18
                                 3B - Sapling-Pole 40 to 70 percent cover             26
      Aspen Forest with
                              3C - Sapling-Pole greater than 70 percent cover         34
      Softwoods present
                                    4A - Mature 10 to 40 percent cover                 3
                                    4B - Mature 40 to 70 percent cover                 8
                                4C - Mature greater than 70 percent cover             11
                                  1T/2T - Grass/Shrub, Previously Trees               6
                                 3A - Sapling-Pole 10 to 40 percent cover             22
                                 3B - Sapling-Pole 40 to 70 percent cover             13
    Bristlecone Pine/Limber
                              3C - Sapling-Pole greater than 70 percent cover          3
           Pine Forest
                                    4A - Mature 10 to 40 percent cover                33
                                    4B - Mature 40 to 70 percent cover                17
                                4C - Mature greater than 70 percent cover             6
                                  1T/2T - Grass/Shrub, Previously Trees                1
                                 3A - Sapling-Pole 10 to 40 percent cover              5
                                 3B - Sapling-Pole 40 to 70 percent cover             22
     Lodgepole Pine Forest    3C - Sapling-Pole greater than 70 percent cover         43
                                    4A - Mature 10 to 40 percent cover                4
                                    4B - Mature 40 to 70 percent cover                11
                                4C - Mature greater than 70 percent cover             15


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        FSVEG Spatial Local
                                           Habitat Structural Stage                     Percent
          Vegetation Type

                                     1T/2T - Grass/Shrub, Previously Trees                 0
                                    3A - Sapling-Pole 10 to 40 percent cover               12
                                    3B - Sapling-Pole 40 to 70 percent cover               18
        Mixed Conifer Forest -
                                 3CvSapling-Pole greater than 70 percent cover             6
              Cool-Dry
                                       4A - Mature 10 to 40 percent cover                  25
                                       4B - Mature 40 to 70 percent cover                  29
                                   4C - Mature greater than 70 percent cover               10
                                     1T/2T - Grass/Shrub, Previously Trees                 8
                                    3A - Sapling-Pole 10 to 40 percent cover               10
                                    3B - Sapling-Pole 40 to 70 percent cover               13
        Mixed Conifer Forest -
                                 3C - Sapling-Pole greater than 70 percent cover           8
             Cool-Moist
                                       4A - Mature 10 to 40 percent cover                  17
                                       4B - Mature 40 to 70 percent cover                  28
                                   4C - Mature greater than 70 percent cover               16
                                     1T/2T - Grass/Shrub, Previously Trees                 0
                                    3A - Sapling-Pole 10 to 40 percent cover               6
                                    3B - Sapling-Pole 40 to 70 percent cover               7
        Mixed Conifer Forest -
                                 3C - Sapling-Pole greater than 70 percent cover           2
             Warm-Dry
                                       4A - Mature 10 to 40 percent cover                  34
                                       4B - Mature 40 to 70 percent cover                  45
                                   4C - Mature greater than 70 percent cover               7
                                     1T/2T - Grass/Shrub, Previously Trees                 1
                                    3A - Sapling-Pole 10 to 40 percent cover               47
                                    3B - Sapling-Pole 40 to 70 percent cover               35
           Pinyon-Juniper
             Woodland            3C - Sapling-Pole greater than 70 percent cover           4
                                       4A - Mature 10 to 40 percent cover                  5
                                       4B - Mature 40 to 70 percent cover                  9
                                   4C - Mature greater than 70 percent cover               0
                                     1T/2T - Grass/Shrub, Previously Trees                 8
                                    3A - Sapling-Pole 10 to 40 percent cover               19
                                    3B - Sapling-Pole 40 to 70 percent cover               3
        Ponderosa Pine Forest    3C - Sapling-Pole greater than 70 percent cover           2
                                       4A - Mature 10 to 40 percent cover                  49
                                       4B - Mature 40 to 70 percent cover                  18
                                   4C - Mature greater than 70 percent cover               1
                                     1T/2T - Grass/Shrub, Previously Trees                 30
                                    3A - Sapling-Pole 10 to 40 percent cover               13
          Spruce-Fir Forest
                                    3B - Sapling-Pole 40 to 70 percent cover               5
                                 3C - Sapling-Pole greater than 70 percent cover           1


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     FSVEG Spatial Local
                                        Habitat Structural Stage                Percent
       Vegetation Type

                                   4A - Mature 10 to 40 percent cover             27
                                   4B - Mature 40 to 70 percent cover             17
                                4C - Mature greater than 70 percent cover          5


   Even though little is known about some of these ecosystems, the assessments (USDA Forest
   Service 2016) and published literature suggest that many ecosystems on the Forest are within
   the natural range of variation. The 2013 monitoring report (USDA Forest Service 2014)
   echoes this, “Forested lands across the Forest are generally assumed to reflect composition,
   structure, and pattern with a natural range of variation as described in Appendix A of the
   Final Environmental Impact Statement for the 1996 Revised Land and Resource
   Management Plan.” However, some conclusions from that document included that fire
   suppression has had the greatest influence on lower-elevation forest and non-forest
   communities, that nonforested communities have probably been altered in terms of species
   composition due to repeated, frequent domestic livestock grazing, and that riparian areas
   have most likely experienced the greatest change compositionally.
   Current data and research suggest that the ponderosa pine and mixed-conifer types are
   outside the natural range of variation. Historic stand structure in the ponderosa pine and dry
   mixed-conifer type was uneven-aged, heterogeneous, and less dense (Battaglia 2017b,
   Underhill et al. 2014). Given the more frequent fire regime of these types, they are generally
   thought to have been impacted by fire suppression and departed from historic conditions.
   Given that past management activities and disturbance events may have shifted species
   composition by removing the mature ponderosa pine, which led to a greater number of small­
   diameter and/or thin-barked late-seral trees, restoration efforts that help to move this type
   toward a sustainable species composition and landscape pattern where fires can function in a
   desirable manner are appropriate and needed. Planned management activities will help the
   Forest move toward or maintain the desired conditions.
   Information about historical forest structure and species composition for cool moist mixed-
   conifer forests is limited. The mixed species present in this type would lead to very different
   trajectories and structures based on the disturbances that occurred. The various insect and
   diseases are host-specific and are not often synchronous. As a result, identifying a specific
   natural range of variation for this type is difficult (Battaglia 2017b). The cool moist mixed-
   conifer ecosystem is likely departed from the natural range of variation as a result of fire
   suppression and other factors, though less so than the warm dry mixed-conifer type given its
   less frequent fire regime. Restoration efforts are appropriate and needed in this type as well.
   It is difficult to determine whether the spruce-fir ecosystem is within the range of what would
   occur naturally. The vegetation modeling done for the assessments suggests that the spruce­
   fir forest ecosystem is currently substantially departed from the natural range of variation due
   to the effects of recent wildfires and the large, multi-year spruce beetle outbreak. However,
   the determination of the range of natural conditions is not an exact science. The assessment
   modeling did not include the rare, extreme spruce beetle outbreaks like the one the Forest is
   currently experiencing, but more moderate outbreaks. Literature (Eager et al. 2012, Romme


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      et al. 2009) suggests that these large spruce beetle outbreaks happened historically, which
      indicates, along with the long fire return interval in spruce-fir, that this ecosystem is not
      departed from historic conditions. Ultimately, it is not known with any certainty whether this
      latest spruce beetle outbreak is a completely natural phenomenon or if it is influenced by
      climate change or other factors.

      Late-Successional and Old Forest
      Late-successional and old forest habitats are an important part of a healthy ecosystem. They
      tend to have forest structure elements, such as large, older trees, large snags, and multiple
      canopy layers, that are important to some wildlife species, such as the American marten
      (Martes americana) and the brown creeper (Certhia americana).
      Late-successional is defined as habitat structural stages 4B and 4C for any of the cover types
      (except pinyon-juniper where there is no 4C), although it is recognized that not all 4B stands
      have characteristics of late-successional habitat. Habitat structural stage class 4B corresponds
      to areas with mature trees (9 inches and larger) with 40 to 70 percent canopy cover (Table
      24). Habitat structural stage class 4C corresponds to areas with mature trees (9 inches and
      larger) with more than 70 percent canopy cover. Old forest is defined as described in
      Appendix A to the draft forest plan with varying criteria based on vegetation type.
      Characteristics used to define old forest include age, the size of trees (dbh), the number of
      large trees per acre, the number of snags, the number of layers, and the amount of downed
      woody material.
      Based on these criteria, currently about 22 percent of spruce fir and17 percent of the Forest
      overall is late-successional. Current amounts of late-successional habitat (Table 27) are less
      than the amounts estimated to be in late-successional habitat under historic conditions, based
      on the assessment modeling (USDA Forest Service 2016) for several ecosystems. Most forest
      types, other than spruce-fir and pinyon-juniper, have more late-successional habitat than
      desired (Table 27). If, as predicted, disturbances such as large fires and insect outbreaks
      increase in frequency due to climate change (Vose et al. 2012), this will have impacts on the
      future amount of late-successional habitat. The current amount of old forest is unknown for
      the Forest, but would be available at the site-specific, project level.




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   Table 27. Percentage of acres of forest types in late-successional habitat under
   current and historic conditions
                                       Percentage of
                                                              Percentage of Acres in
                                   Successional Habitat -
                                                             Late-Successional Habitat
                                  FSVeg Spatial March 2017
           Forest Type               Current Conditions         Desired Conditions
          Ponderosa Pine                     19                        15-25
     Mixed Conifer - Warm-Dry                52                       25-35
    Mixed Conifer - Cool-Moist              43                        30-40
     Mixed Conifer - Cool-Dry                39                        15-20
               Spruce-Fir                   22                        30-40
                Aspen                        19                          -
     Pinyon-Juniper Woodland                 9                        30-40
      All (including non-forest
                                             17                         —
                types)




   Snags and Downed Woody Material
   Snags and downed woody material are essential for ecological integrity. They serve a variety
   of purposes, such as providing valuable wildlife habitat and supporting nutrient recycling. At
   least 84 terrestrial vertebrate species of wildlife rely on snags in Colorado (Hoover and Wills
   1984). Snags are key for cavity-nesting species such as woodpeckers, small forest owls, bats,
   and small mammals. Downed woody material is important for water quality and reducing soil
   erosion. Large downed logs in particular are an essential habitat component for some wildlife
   species.
   Snags and downed wood conditions are largely dependent on the pattern of natural and
   human disturbance processes. Dead wood components are continually created by fire,
   insects, disease, and mortality during the course of natural succession. Decomposition and
   fire are the primary ecological processes that remove, or more accurately, recycle, dead wood
   within the ecosystem. Vegetation treatments also remove dead wood. High amounts of dead
   wood occur in areas where fire, insects, or disease have occurred, with snags predominant at
   first, shifting to predominantly downed wood as the dead trees fall. Snags will continually be
   lost as they fall to the ground to become part of the downed wood component, where they
   will decompose and become part of the soil.
   From stand exam data and forest inventory and analysis plot data collected on the Forest, the
   average number of large snags (generally 12 inches in diameter and larger as defined in the
   1996 forest plan, although it varies by species) has increased over time, especially since the
   spruce beetle outbreak started. Both datasets suggest there has been a dramatic increase in the
   number of large snags on the Forest, from about 5 per acre to about 15 to 25 per acre.
   The average snag estimates from stand exam data and Forest Inventory and Analysis
   Program plot data were compared to the minimum amounts recommended in the 1996 forest
   plan and to the minimum amounts suggested in the South Central Highlands Guide (Romme
   et al. 2009). Results suggest that amounts in the Forest are well above the minimum amount
   of snags desired for the various forest types as identified in the forest plan. The only

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      exception to this is in the ponderosa pine forest type, where both the stand exam and forest
      inventory and analysis data suggest that there is currently less than the desired three snags 14
      inches or larger per acre. Romme et al. (2009) states “In truth, we simply do not know
      densities or quantities of dead wood in the pre-1870 ponderosa pine forests of the South
      Central Highlands section,” which makes it difficult to know if the snag amounts currently
      present in the ponderosa pine areas on the Forest are within natural range of variation or not.
      Stand exam data were also examined for information on downed woody material, with results
      suggesting that the Forest has a large volume of downed woody material. The amount of
      downed woody material 3 inches and larger in size varies heavily by forest type and from
      stand to stand within a given forest type. The spruce-fir forest type has the highest levels of
      downed woody material 3 inches and larger, with a large amount of variation. In general, the
      various forest types have more than the minimum amount recommended in the 1996 forest
      plan. The one exception to this is the ponderosa pine type, which averaged an estimated
      2.5 tons per acre, less than the 4 to 9 tons per acre suggested in the 1996 forest plan. It is
      difficult to know if the amount of downed wood currently present in the ponderosa pine areas
      on the Forest are within natural range of variation or not. A lower downed wood retention
      value for ponderosa pine is warranted given the frequent fire regime for this type.
      In summary, as a result of the recent spruce beetle outbreak, the Forest currently has a large
      amount of snags and downed woody material, particularly in the spruce-fir forest type. As
      snags fall and downed woody material decays, these values will most likely decrease. How
      fast this happens will depend on the forest type and a variety of other factors. In the spruce­
      fir areas impacted by spruce beetle, some research suggests that snag fall will be gradual,
      with some of these snags still standing until about 70 years, with a fair percentage still
      standing at 50 years or more (Mielke 1950). Other research as well as vegetation modeling
      done on the Forest suggests that snag fall could be much quicker (Delong et al. 2008, USDA
      Forest Service 2004). Longer term, and in other vegetation types, it is hard to predict how
      snag and downed woody amounts may change. Disturbances such as large fires and insect
      outbreaks are predicted to increase in frequency due to climate change (Vose et al. 2012), in
      which case snags and downed woody material may be maintained into the future. Due to this
      uncertainty, plan components pertaining to the retention of snags and downed wood are
      included in the alternatives, and the results of monitoring snags into the future will indicate
      whether there are sufficient levels for ecological integrity and wildlife habitat.

      Disturbance Processes - Insects and Disease
      Several insects and diseases significantly influence forest structure and composition on the
      Forest. While these insects and diseases are native species and natural disturbance agents
      beneficial to ecosystem function and ecological conditions important for wildlife species,
      high amounts or outbreaks may be damaging to other habitat components or other desired
      uses of the Forest. There is currently heavy mortality from these disturbance agents
      Forestwide due to the high amount of large, older age forests, the warmer, drier climate, and
      the intense drought that occurred in the late 1990s and early 2000s (Eager et al. 2012).




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   Important insects and disease vary with elevation and vegetation type, and include:
   •   spruce beetle (Dendroctonus rufipennis),
   •   root-decay fungi (Heterobasidion sp.) and (Armillaria sp.),
   •   western balsam bark beetle (Dryocoetes confuses),
   •   mountain pine beetle (Dendroctonus ponderosae),
   •   Douglas-fir beetle (Dendroctonus pseudotsugae),
   •   western spruce budworm (Choristoneura occidentalis),
   •   western tent caterpillars (Malacosoma sp.),
   •   dwarf mistletoes (Arceuthobium spp.),
   •   pinyon ips (Ips confuses), and
   •   white pine blister rust (Cronartium ribicola).
   The spruce beetle is a native bark beetle that inhabits all species of spruce in North America.
   On the Forest, Engelmann spruce is the principal host. Although beetle populations typically
   remain at relatively low densities, they periodically explode into an outbreak and kill most of
   the large-diameter trees in affected areas over thousands of hectares (Eager et al. 2012,
   Romme et al. 2009).
   Since the early to mid-2000s, large spruce beetle outbreaks have occurred on several national
   forests in Colorado and Wyoming, including the Rio Grande National Forest. According to
   the 2013 Forest monitoring report, well over 480,000 acres of spruce-fir forest exhibit high
   levels of spruce beetle activity. This often results in tree mortality that meets or exceeds
   90 percent of the overstory, although it is highly variable across the landscape. The 2016
   aerial survey estimates increased this to 610,000 acres (USDA Forest Service GSC 2016).
   Although the Forest is at the epicenter of this outbreak, acres affected by spruce beetle are
   declining due to exhaustion of the mature spruce cover type that is the beetle’s primary host
   (USDA Forest Service GSC 2016).
   Root diseases are important in the ecology and productivity of mixed conifer and spruce-fir
   stands on the Forest. In spruce-fir, Armillaria root disease is typically most important,
   infecting both Engelmann spruce and subalpine fir. Subalpine fir may also have an outbreak
   of western balsam bark beetle, and is typically killed while standing. Engelmann spruce more
   often falls due to decayed roots while still green. Infected spruce may serve as hosts for
   spruce beetle during non-epidemic conditions, and strip attacks can be found above infected
   roots. When infected spruce fall (windthrow), they can lead to increases in spruce beetle
   populations. The disease generally intensifies as stands mature (USDA Forest Service GSC
   2016).
   In mixed conifer stands, annosus root disease (caused by Heterobasidion occidentale) is also
   important. White fir is the primary host of this disease. White fir has become more prevalent
   due to past selective harvesting of ponderosa pine and Douglas-fir as well as fire exclusion.
   As white fir has increased, so has the disease. Dense white fir stands are often severely
   affected. Because white fir is shade-tolerant, it is replaced by more white fir, and the disease
   intensifies.




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      The mountain pine beetle, a native insect, attacks and kills pine trees. Although the
      predominant host species are lodgepole pine and ponderosa pine, on the Forest, mountain
      pine beetle will also attack limber pine, bristlecone pine, and even pinyon pine (Eager et al.
      2012). Although mountain pine beetle has received a lot of attention in the Rocky Mountain
      Region, the Forest has only small to moderate amounts of lodgepole, ponderosa, limber, and
      bristlecone pine forests and recent population levels have remained relatively low, so the
      effect on the Forest has not been as great as it has been region-wide.
      Mountain pine beetle activity increased after the drought of the late 1990s and early 2000s,
      but has since declined. Suppression of wildfires over the last 100 years has had an influence
      on the density and age distribution of ponderosa pine stands. With fewer fires to thin stands
      and create openings, regeneration has become established, growing in dense, even-aged,
      ponderosa pine stands. Stands with these features are susceptible to infestations of mountain
      pine beetle.
      The Douglas-fir beetle attacks and kills mature Douglas-fir trees. It prefers older and injured
      trees, and is most prevalent in dense stands with large trees. Douglas-fir beetle has caused
      noticeable mortality since the 1996 forest plan was released, especially after the drought of
      the late 1990s and early 2000s. Currently, mortality from Douglas-fir beetle is low to
      moderate, with some scattered patches of recent mortality (Eager et al. 2012, USDA Forest
      Service GSC 2016). A. total of only 1,600 acres with Douglas-fir beetle mortality were
      recorded in 2016 (USDA Forest Service GSC 2016).
      The western spruce budworm is the most prominent defoliating insect present in the Forest. A
      native species, it is the most widely distributed and destructive defoliator of coniferous
      forests in western North America. The budworm feeds primarily on Douglas-fir, white fir,
      subalpine fir, and to a lesser extent, Engelmann spruce. This insect causes defoliation of new
      growth throughout the canopy and understory host trees. It rarely kills its host outright, but
      years of defoliation can weaken trees and make them susceptible to bark beetles (Eager et al.
      2012).
      Western spruce budworm activity on the Forest recently declined after being at a high level
      (Eager et al. 2012). In 2016, 25,000 acres were defoliated by western spruce budworm
      (uSDA. Forest Service GSC 2016).
      Stand conditions contribute greatly to the budworm population’s ability to increase to
      outbreak status. Reduced fire frequency allows shade tolerant white fir and Douglas-fir
      populations to increase in mixed conifer stands, providing favorable habitat for western
      spruce budworm. Multistory stands favor western spruce budworm survival as larvae
      disperse from overstory trees. A history of fire exclusion and passive management has
      resulted in stand structures favorable to spruce budworm (Eager et al. 2012). However, tree­
      ring analyses are inconsistent as to whether outbreaks since the early part of the 20th century
      have been more extensive and damaging than outbreaks in previous decades (Swetnam and
      Lynch 1989, Ryerson et al. 2003).
      Western tent caterpillar is the most significant defoliator of deciduous trees. The larvae feed
      gregariously on aspen leaves and construct silken tents in the crowns. Repeated defoliation of
      aspen by this insect results in branch die-back and tree mortality. When large areas of aspen
      die as a result of repeated defoliation, the clones fail to regenerate, causing openings or
      changes in forest type.

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   The number and size of tent caterpillar outbreaks depends on the number and size of
   contiguous areas of mature aspen. Assuming that historically, aspen dominated a larger
   portion of the forested lands, tent caterpillar outbreaks today may be smaller and less
   numerous than those that occurred prior to settlement.
   Dwarf mistletoes cause significant growth loss, and over time can substantially impact forest
   productivity. Mortality can result when infestations are severe. The most important dwarf
   mistletoes on the Forest are southwestern dwarf mistletoe (Arceuthobium vaginatum ssp.
   cryptopodum) infecting ponderosa pine, and Douglas-fir dwarf mistletoe (A. douglasii),
   primarily infecting Douglas-fir.
   Historically, fire played a major role in determining the distribution of dwarf mistletoe by
   affecting stand composition and sanitizing infested stands. With fire suppression, the
   distribution and impacts of dwarf mistletoes have undoubtedly increased. Management
   practices, such as the incomplete removal of infested trees in timber sale areas, and the
   perpetuation of uneven-aged stand conditions (that promote the spread of dwarf mistletoe
   from overstory to understory trees), have also accentuated the distribution and impacts of the
   disease. At present, the magnitude of growth loss and mortality due to mistletoe on the
   Forest, though considerable, has not been documented.
   An outbreak of pinyon Ips, triggered by the drought in the late 1990s and early 2000s, led to
   heavy mortality of pinyon trees in southwest Colorado (Eager et al. 2012). Pinyon mortality
   occurred at lower levels on the Forest relative to the forests west of the Continental Divide.
   Pinyon Ips generally affects only small clumps and individual trees (Eager et al. 2012).
   White pine blister rust is a nonnative fungus that can infect the “five-needle” pines, such as
   limber and bristlecone pine. The rust does not spread from tree to tree, but is transmitted by
   windborne basidiospores between infected trees and an alternate host (often currents and
   gooseberries in the genus Ribes). The windborne spores can apparently travel long distances.
   The fungus can rapidly girdle young trees; mortality is slower on mature trees, but it can
   affect cone production by killing cone-bearing branches. Mature trees may also be more
   susceptible to bark beetle attack. This disease has been found in the Sangre de Cristo
   Mountains. This fungus could become important in future management strategies, such as the
   planting of rust-resistant limber and bristlecone pines.
   The role of forest insects and disease is interwoven with other drivers and stressors of these
   ecosystems, including fire and climate change. Due to fire suppression policies, fire is
   generally affecting the landscape at lower than historic rates, which also affects the levels of
   insects and diseases. For instance, less frequent fire leads to denser, mature, even-aged
   ponderosa pine stands that are susceptible to mountain pine beetle. It can also lead to
   conditions favorable for outbreaks of dwarf mistletoes, root diseases, and western spruce
   budworm. In contrast, less frequent fire has led to lower amounts of aspen and hence, lower
   levels of western tent caterpillar.
   Management activities associated with insects and disease are varied based on the
   management area designation of the location. In areas such as wilderness and roadless areas,
   insects and disease play their natural role. In the other portions of the Forest, management
   activities associated with insects or disease are generally designed to prevent or reduce
   epidemics by changing the mix of age classes, reducing tree density, promoting habitat



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      diversity, or targeting specific trees for prevention or control. These management activities
      are generally minimal in nature and may include any of the following:
      •   thinning in ponderosa pine, mixed conifer, aspen with conifer (i.e., thinning the conifer
          component), or spruce-fir forests to reduce the risk of bark beetle and its associated
          mortality, reduce infection sources of foliage diseases, reduce habitat for defoliators, and
          improve vigor in residual trees,
      •   regeneration harvests in all forest cover types to reduce host habitat for insects and
          disease, and to establish vigorous young age classes of trees to ensure age-class diversity,
      •   sanitation cutting to remove and reduce infection sources for foliage, stem, and root
          diseases;
      •   application of pheromone treatments, both attractant and anti-attractant, to monitor
          populations or repel bark beetles from high-value trees,
      •   use of trap tree techniques to reduce spruce beetle populations in select areas,
      •   use of chemical sprays to repel or kill specific insects on high-value trees (such as in
          campgrounds),
      •   use of chemicals to inhibit or kill diseases (such as spreading borax powder on freshly cut
          stumps), or
      •   use of prescribed fire to reduce host habitat, thin stands, and sanitize diseased foliage
          (such as scorching of dwarf mistletoe-infected branches or trees).
      Fire is also a disturbance process that is addressed in the Fire Management section.

      Rare Communities and Special Habitats
      This section addresses the rare communities and special habitats on the Forest. Rare
      communities and special habitats were are a key ecosystem characteristic needed for
      ecological integrity, as was identified and discussed in the assessment reports. Colorado
      Natural Heritage Program information was used to formulate this analysis.
      Colorado has more than 500 recognized aquatic and terrestrial plant communities (Colorado
      Natural Heritage Program 2015). Many of these communities are considered rare either
      because they have always been rare or because they have become imperiled directly or
      indirectly by human-induced changes such as habitat loss, the introduction of exotic species,
      the alteration of natural disturbance regimes, or climate change. Aside from having intrinsic
      value, the loss of these rare communities may induce cascading ecosystem disturbances. In
      addition, a wider variety of species reduces our vulnerability to the impacts of climate change
      (USDA Forest Service 2011). Recognizing and protecting rare plant communities is crucial to
      preserving Colorado’s diverse natural heritage. The Colorado Natural Heritage Program
      methodology ranks species and communities according to their rarity or degree of
      imperilment and the importance of associated conservation areas. Prioritizing conservation
      efforts on rare communities and conservation areas that the Colorado Natural Heritage
      Program has identified are relevant to the Forest could help prevent the decline of the
      communities most at risk.
      There are also areas that are generally thought of as rare or special from a plant and animal
      habitat perspective and warrant additional conservation considerations. These special habitat


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   areas generally contribute disproportionately to species diversity relative to their actual size,
   or they may be habitat for species that occur nowhere else.
   •   Wetlands, which are sensitive to natural and human-caused stressors, support a high
       amount of species diversity, and provide a number of ecological functions such as flood
       control, water purification, and groundwater recharge.
   •   Fens, which are unique and irreplaceable wetland types.
   •   Riparian areas, especially low-elevation riparian areas, such as cottonwood/alder forests.
       This includes the narrow leaf cottonwood - Rocky Mountain juniper montane riparian
       community, which is imperiled in Colorado as well as globally imperiled (Sovell 2006).
   •   Oakbrush, which is rare in the San Luis Valley and on the Forest and supports a unique
       assemblage of wildlife species (about 2,600 acres on the Forest).
   •   Alpine fell fields and other special areas in alpine tundra.
   •   Caves and mines, which are unique geologic features that provide important habitat
       components for several of the 11 bat species known to occur on the Forest. The Forest
       has not identified any significant caves, but abandoned mine features are common in
       some areas.
   Ponderosa pine forest where fire has played its natural role and aspen communities were
   included as rare communities in Assessment 1 and 3. Following public comment and internal
   discussion they are no longer considered as rare as the communities listed above.
   The existing and proposed special interest areas and research natural areas and their related
   special habitats are described in Table 28.




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Table 28. Existing and proposed special interest areas and research natural areas on the Forest
                                                                                                                                           CNHP
      Name                    Special character and features                 Acres                       Notes
                                                                                                                                           PCA?
                   This area extends in elevation from 7,960 to 12,878
                   feet at the summit of Gibson Peak The extensive and
                   high quality pinyon/juniper woodlands on the relatively
                   gentle slopes of alluvial fans and steeper bedrock
 Mill Creek RNA    extending up to about 9,000 feet are the principal
                                                                             2,560
     (existing)    feature of this area In addition, mixed conifer and
                   subalpine forests extend up to treeline on Gibson Peak.
                   Subalpine grasslands blend into higher elevation alpine
                   vegetation above treeline. Some riparian vegetation
                   occurs along MiII Creek.
                   The area consists of a series of steep ridges separated
                   by deep, narrow canyons containing the drainages of
                   North and South Arrastre Creeks, North Zapata Creek,
                   and Tellurium Gulch Vegetation extends from
                   pinyon/juniper woodlands beginning at about 8,600 feet
                   to alpine tundra at 12,300 feet The area is notable for
  North Zapata     its high-elevation limber pine stands mixed with
                                                                             6,780
  RNA (existing)   bristlecone pine and an understory dominated by
                   Thurber fescue. North-facing slopes support mixed
                   montane forest, and above 11,o0o feet, subalpine
                   coniferous forest. South-facing slopes support open
                   shrubland and woodland plant communities, aspen
                   stands, subalpine grasslands, and riparian forests also
                   occur within the area.




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                                                                                                                                                   CNHP
      Name                    Special character and features                Acres                              Notes
                                                                                                                                                   PCA?
                   The area contains the complete watershed of Deadman              Overlaps a portion of the Deadman Creek Western
                   Creek from an elevation of about 9,200 to 13,600 feet.           Sangres PCA. This PCA supports a good example of the
                   Because most of the middle and upper parts of this               globally rare Smith whitlow-grass (Draba smithii). In
                   watershed are covered with aspen, this RNA provides              addition, it supports the largest occurrence known of the
                   good representation for aspen forests over a wide                rare narrowleaf cottonwood-Rocky Mountain juniper
                   range of elevations, slopes, and aspects. Some of this           (Populus angustifolia - Juniperus scopulorum) montane
                   aspen forest is seral to Engelmann spruce and                    riparian forest, and an excellent example of a rare aspen
 Deadman Creek
                   subalpine fir, and at lower elevations, to Douglas-fir   4,770   forest. Also, a newly described cottonwood community           Yes
  RNA (existing)   forests; and some aspen is probably climax aspen                 occurs within this site. A population of the Rio Grande
                   forest. The area also provides good representation for           cutthroat trout and a breeding colony of the pale lump­
                   many alpine ecosystem types within the Sangre de                 nosed bat (of which only four are documented in
                   Cristo Mountains and for riparian vegetation types               Colorado) add to the importance of this site. This site also
                   along the stream bottom Significant areas of mountain            includes one of the highest elevation occurrences of the
                   mahogany shrubland, oatgrass meadows, and wetland                mixed mountain shrubland and a globally rare orchid
                   vegetation also occur within the area.                           subspecies.
                   Most of this proposed RNA is rolling topography                  Includes virtually all of the Cedar Springs Uplands PCA,
                   covered by a mosaic of different grassland types and             which includes an excellent occurrence of a plant species
                   pinyon/juniper woodland. At higher elevations on the             vulnerable on a global scale, the rock-loving neoparrya
                   slopes of Horseshoe Mountain, montane forest is                  (Neoparrya lithophila), a good occurrence of a plant
                   primarily Douglas-fir mixed with limber pine and small           community imperiled on a global scale, the pinyon
                   areas of aspen. Pinyon/juniper woodland is the                   pine/needle-and-threadgrass woodland (Pinus
  Spring Branch    dominant woody vegetation type in the area. The                  edulis/Stipa comata), and a fair occurrence of a plant
 (Cedar Springs)   grasslands are similar to those of the short-grass       4,000   community vulnerable on a global scale, the pinyon             Yes
  RNA (existing)   prairie further east and occur in a complex mosaic of            pine/Scribner needlegrass woodland (Pinus edulis/Stipa
                   types that include the following species: blue grama,            scribneri).
                   western wheatgrass, Arizona fescue, muhly, Indian
                   ricegrass, needlegrass, Junegrass, and others. Small
                   areas of shrubland, which include mountain mahogany,
                   snowberry, and currant, occur on ridges and ridge
                   slopes among the pinyon/juniper woodland.




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                                                                                                                                                      CNHP
    Name                      Special character and features                   Acres                              Notes
                                                                                                                                                      PCA?
                  This SIA was designated because of geologic and
                  scenic values This is an area of hydrothermally altered
                  volcanic rock displays, with vivid red, orange, and
                  yellow soils in a rugged, highly eroded setting.
                  Elevation ranges from 10,000 to 12,124 feet, slopes are
                  generally steep (30 to 80 percent).
Blowout Pass
                  Forested areas are Engelmann spruce, sub-alpine fir,         1,260
SIA (existing)
                  and bristlecone pine. This SIA forms the headwaters of
                  Jasper Creek and Burnt Creek, which are naturally
                  polluted by sulfates and free sulfuric acid present in
                  great abundance in the altered rock. Grasses and forbs
                  are limited on open slopes because of soil composition
                  and erosion.
                  This SIA was designated because of its botanical                     The removal of the Ripley’s Milkvetch Special Interest
                  value. The SIA, in two separate areas, contains high-                Area is not likely to impact the persistence of this species
                  quality habitat for Ripley’s milkvetch (Astragalus                   of conservation concern due to the prolific presence of the
   Ripley’s                                                                            plant outside the current boundaries of the special interest
                  ripleyi).
Milkvetch SIA                                                                  5,280   area. Unlike other sensitive plant species, Ripley’s           Yes
  (existing)                                                                           milkvetch responds positively to disturbance processes
                                                                                       and activities like fire and grazing.
                                                                                       Covers most of the Bighorn Creek PCA.
                  The historic town sites of Duncan and Liberty and the                Overlaps a portion of the Deadman Creek Western
                  associated mining development represent one of the                   Sangres PCA. This PCA supports a good example of the
                  most intact historical sites within Colorado and the                 globally rare Smith whitlow-grass (Draba smithii). In
                  Nation. Intermixed with these historic sites are the                 addition, it supports the largest occurrence known of the
                  prehistoric sites which are advancing the understanding              rare narrowleaf cottonwood-Rocky Mountain juniper
                  of prehistoric use and habitation in the area. This SIA              (Populus angustifolia - Juniperus scopulorum) montane
                  emphasizes the management and protection of the                      riparian forest, and an excellent example of a rare aspen
Liberty/Duncan
                  historic and cultural values of this area over other uses.   3,910   forest. Also, a newly described cottonwood community           Yes
 SIA (existing)
                                                                                       occurs within this site. A population of the Rio Grande
                                                                                       cutthroat trout and a breeding colony of the pale lump­
                                                                                       nosed bat (of which only four are documented in
                                                                                       Colorado) add to the importance of this site. This site also
                                                                                       includes one of the highest elevation occurrences of the
                                                                                       mixed mountain shrubland and a globally rare orchid
                                                                                       subspecies.




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                                                                                                                                                       CNHP
      Name                     Special character and features                   Acres                              Notes
                                                                                                                                                       PCA?
                    This area provides habitat for the Stonecrop gilia                   Includes a portion of the Sheep Mountains in San Juan
                    (Aliciella sedifolia), a species of conservation concern.            potential conservation area. This PCA supports a fair
                    Stonecrop gilia is an exceedingly rare plant found in                occurrence of the globally critically imperiled stonecrop
 Sheep Mountain
                    only two locations in the world. The worldwide range of              gilia (Aliciella sedifolia) and an extant occurrence of the
    Research
                    this plant is estimated to be only 1,900 acres. Only        1,290    globally imperiled Rothrock’s townsend-daisy                  Yes
  Natural Area                                                                           (Townsendia rothrockii). This site includes one of only two
                    1,100 individual plants occupy this range. This area
   (proposed)       also provides habitat for the Rothrock’s townsend-daisy              known occurrences of the stonecrop gilia in the world.
                    (Townsendia rothrockii), another species of
                    conservation concern.
                    This special interest area would reflect the recent
   Cumbres &
                    designation of National Historical Landmark status for
 Toltec National
                    the railroad corridor by the National Park Service.
     Historic
                    Unique values include natural scenery, historic context
    Landmark
                    to the formation of the forest and contributions to the
 Special Interest
                    economies of Antonito, Colorado and Chama, New
 Area (proposed)
                    Mexico.
                    This special interest area would enhance habitat                     This area includes three different potential conservation
                    connectivity for large game species including mule                   areas recommended by the Colorado Natural Heritage
                    deer, elk, pronghorn, and Rocky Mountain bighorn                     Program.
                    sheep as well as large carnivores such as Canada lynx,               From map, this covers portions of Peak Site, Osier Creek,
                    mountain lions, and black bears. It would also enhance               Cascade Creek at Osier, Rito Hondo Creek and Bighorn
                    ecosystem integrity related to the persistence of                    Creek potential conservation areas.
                    several species of conservation concern and federally                The Peak Site PCA has an unranked occurrence of a
                    protected species, including boreal owl, peregrine                   globally vulnerable bird subspecies, the American
                    falcon, Brewer’s sparrow, flammulated owl, golden                    peregrine falcon (Falco peregrinus anatum).
      Spruce
                    eagle, olive-sided flycatcher, bald eagle, Rio Grande
    Hole/Osier/                                                                          Osier Creek and Cascade Creek at Osier PCAs both
                    cutthroat trout, Gunnison’s prairie dog; Ripley’s
  Toltec Special                                                                36,620   contain a good occurrence of a fish that is vulnerable on a   Yes
                    milkvetch, slender cliffbrake, Plumber’s cliff fern,
   Interest Area                                                                         global scale, the Rio Grande cutthroat trout
                    Colorado divide whitlow grass, and flowered gilia;
    (proposed)                                                                           (Oncorhynchus clarki virginalis).
                    federally protected species such as Mexican spotted
                    owl, southwestern willow flycatcher, yellow-billed                   Rito Hondo PCA contains two good occurrences of a plant
                    cuckoo, and New Mexico meadow jumping mouse;                         species vulnerable on a global scale, Ripley’s milkvetch
                    migratory birds including ferruginous hawks, black                   (Astragalus ripleyi).
                    swifts, sage sparrows, burrowing owls, Cassin’s                      Bighorn Creek PCA contains a fair occurrence of Ripley’s
                    finches, Grace’s warblers, Gray vireos, juniper                      milkvetch (Astragalus ripleyi).
                    titmouse, Lewis’s woodpeckers, loggerhead shrikes,
                    long-billed curlews, mountain plovers, pinyon jays, and
                    Virginia’s warblers.




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                                                                                                                                                    CNHP
    Name                     Special character and features                   Acres                              Notes
                                                                                                                                                    PCA?
                 This area is proposed for watershed protection.                       This area is recommended as the Rio Chama Potential
                                                                                       Conservation Area by the Colorado Natural Heritage
                                                                                       Program for unique wildlife and botanical values.
                                                                                       The PCA contains a good occurrence of mountain willow
 Chama Basin
                                                                              17,780   (Salix monticola) / mesic graminoids montane riparian        Yes
SIA (proposed)
                                                                                       willow carr.
                                                                                       The site also encompasses a fair occurrence of
                                                                                       narrowleaf cottonwood / thinleaf alder (Populus
                                                                                       angustifolia / Alnus incana) montane riparian forest.
                 This area would include the full extent of the unique                 The expanded area cover additional portions of the Eagle
                 geologic features related to the Summer Coon volcanic                 Mountain and Elephant Rocks Potential Conservation
                 field. Adjacent to the Elephant Rocks Special Interest                Areas recommended by the Colorado Natural Heritage
                 Area, it includes a nearly perfect pattern of radial dikes            Program for their high biodiversity significance.
                 not currently included as part of Elephant Rocks. These               The Elephant Rocks site supports a fair example of a
                 areas include a medium-sized population of the rock­                  wetland plant imperiled on a global scale (Peritoma
                 loving neoparrya, a rare milkvetch (Astragalus                        multicaulis), one good and two fair examples of plants
                 cerussatus) with only 20 known occurrences, nesting                   vulnerable on a global scale (Aletes lithophllus) , and an
   Summer        habitat for peregrine falcons and high quality habitat for            excellent example of a San Luis Valley endemic pocket
   Coon/La       bighorn sheep, a species of conservation concern.            14,840   mouse subspecies. This site supports a medium-sized          Yes
 Ventana SIA
                                                                                       population of the rock-loving neoparrya, a south-central
  (proposed)
                                                                                       Colorado endemic plant. In addition to the rock-loving
                                                                                       neoparrya, a rare milkvetch (Astragalus cerussatus) and a
                                                                                       silky pocket mouse subspecies population occur here. A
                                                                                       small occurrence of the grass fern (Asplenium
                                                                                       septentrionale) at this site represents the southernmost
                                                                                       extension of this uncommon fern.
                                                                                       Eagle Mountain PCA includes nesting habitat for the
                                                                                       federally listed American peregrine falcon.




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                                                                                                                                                  CNHP
      Name                    Special character and features                 Acres                              Notes
                                                                                                                                                  PCA?
                   This area is proposed for its unique concentration of              Includes portions of the Carnero Creek potential
                   native Rio Grande cutthroat trout populations.                     conservation area. The Carnero Creek PCA supports a
                                                                                      healthy population of a subspecies of native trout. This
                                                                                      population of Rio Grande cutthroat (Oncorhynchus clarki
                                                                                      virginalis) progresses in quality as one continues up the
                                                                                      stream. At the lower elevations, the fish community is
  Carnero Creek
                                                                             42,800   degraded by the presence of white sucker (Catostomus        Yes
  SIA (proposed)
                                                                                      commersoni), a species introduced from the eastern slope
                                                                                      of Colorado as bait fish. Also present at this site are
                                                                                      community occurrences of globally rare montane
                                                                                      grasslands (Festuca arizonica-Muhlenbergia montana),
                                                                                      shrublands (Alnus incana/mesic graminoid), and
                                                                                      woodlands (Pinus aristata/Festuca thurberi).
                   This area is proposed for its unique concentration of              Overlaps portions of the Jim Creek and Torsido Creek
                   native Rio Grande cutthroat trout populations.                     potential conservation areas. These PCAs support
  Jim Creek SIA
                                                                             9,560    occurrences of the globally vulnerable fish subspecies,     Yes
    (proposed)
                                                                                      Rio Grande cutthroat trout (Oncorhynchus clarkii
                                                                                      virginalis).
                   This special interest area is proposed for its unique              This area overlaps most of the Deep Creek Uplands West
                   botanical values including habitat for two rare plants,            potential conservation area recommended by the
                   Smith Whitlow grass (Draba smithii) and Black Canyon               Colorado Natural Heritage Program. This pCa supports a
                   Gilia (Alicelia/Gilia penstemonoides). Both plants are             large population of the Colorado endemic and globally
                   species of conservation concern.                                   imperiled Smith whitlow-grass (Draba smithii) and a
                                                                                      healthy stand of bristlecone pine (Pinus aristata) with
                                                                                      Arizona fescue (Festuca arizonica). Smith whitlow-grass,
 Deep Creek SIA                                                                       an herbaceous mustard, has been found only in the
                                                                              250                                                                 Yes
   (proposed)                                                                         southern Colorado counties of Mineral, Saguache,
                                                                                      Costilla, and Las Animas, totaling about 15-20
                                                                                      occurrences. Of the known occurrences, Mineral County
                                                                                      harbors the largest documented populations, and the
                                                                                      Deep Creek site is among the best of these, with an
                                                                                      estimated 500 individuals. Deep Creek also supports a
                                                                                      small population of black canyon gilia (Gilia
                                                                                      penstemonoides).




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      Diversity of Vegetation

      Direct and Indirect Effects
      Plan direction related to forested vegetation and silviculture varies among all alternatives. All
      four alternatives have the required timber-related plan direction as described in the National
      Forest Management Act and in Forest Service Handbook 1909. 12, chapter 60. In some cases,
      the plan direction wording was updated in the action alternatives (B, C, and D). Some
      additional plan direction present in alternative A was removed, updated, or combined in
      alternatives B, C, and D to remove unnecessary or outdated language and to clarify direction.
      Desired conditions included in all action alternatives outlines the desired distribution of
      habitat structural stages for each of the major forested vegetation types. Stocking levels for
      suitable timber lands are also different between alternative A and the action alternatives.
      Minimum stocking levels in alternatives B, C, and D was reduced to 75 trees per acre in
      ponderosa pine and 100 trees per acre for Douglas-fir. Alternative A had the minimum
      stocking level for both these species at 150 per acre. This change would lead to lower density
      forests in these types, which would increase resiliency to stressors such as climate change,
      insects, and disease. These lower density values are also more aligned with the natural range
      of variation for these species, which were often found in more open conditions due to the
      more frequent fire regimes of these types.
      As described above, the desired condition for vegetation in the action alternatives outlines the
      desired distribution of habitat structural stages for each of the major forested vegetation
      types. These desired conditions were generally based on natural range of variation estimates
      from the assessment modeling described in Assessment 1 and 3, with some adjustments to
      increase resilience to climate change. Some values from the San Juan National Forest Plan
      were used and adjusted, especially in cases where no modeling was available. Cool-dry
      mixed-conifer was adjusted to account for differences in species and the drier, less productive
      conditions that occur on the eastern side of the San Juan Mountains.
      Comparing the current forest conditions to the desired conditions for the forested vegetation
      (Rio Grande National Forest Draft Revised Land Management Plan, Table 6) leads to the
      following conclusions:
      •   There is more acreage than desired in the mid-open (3A) structural stage in ponderosa
          pine.
      •   There is a lack of young (1T, 2T), mid-open (3A), and mid-closed (3B, C) stands in the
          warm-dry mixed-conifer areas, especially the young stands, relative to the desired
          amounts. There is an overabundance of warm-dry mixed-conifer forests in the mature
          (4A, B, and C) classes compared to the desired amounts.
      •   Slightly higher amounts occurred than desired in the mid- and mature-closed classes (3B,
          C, 4B, C) in the cool-moist mixed-conifer forests.
      •   In the cool-dry mixed-conifer forests, there is more acreage than desired in the mid-open
          (3A), mid-closed (3B, C), and mature-closed (4B, C) classes, and less than desired in the
          young (1T, 2T) and mature-open (4A) classes.
      •   Due to the recent spruce beetle outbreak, there is an abundance of spruce-fir in the young
          (1T/2T) class, with slightly more than desired in the mid-open (3A) and mature-open

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        (4A) classes. Less than desired amounts are present in the spruce-fir mid-closed (3B, C)
        and mature-closed (4B, C) categories.
   •    The majority of the pinyon-juniper woodlands are in the mid-open and mid-closed (3A,
        B, C) stages, with less than desired in the young (1T/2T) and mature (4A, B, C) classes.
   Planned management activities by alternative are described in Table 29, Table 30, Table 31,
   and Table 32. The planned management acreage values are approximate and are an annual
   average per decade. These acreage values may vary from year to year due to budget, weather
   conditions, natural disturbances, or other factors.
   Proposed management activities across alternatives include the following:
   •    Salvage sales in spruce-fir areas impacted by spruce-beetle. These sales are generally
        planned for the first decade of the plan, with the exception of alternative C. In alternative
        C, these salvage sales will be more intensive, and cover more acres in a shorter time
        period, to maximize the value of the salvaged wood. Associated with this is post-harvest
        pile-burning in these spruce-fir areas. Because these activities are generally done in areas
        with high mortality that are already in the young (1T/2T) structural stage, the activities
        won’t necessarily change the structural stage. Post-harvest tree planting may speed forest
        recovery toward the desired conditions for this type of area salvaged that lacks
        regeneration.
   •    While not anticipated in green spruce-fir, a small amount may be treated through uneven­
        aged management over the life of the plan for reasons other than timber management.
   •    Thinning, uneven-aged management, and prescribed burning treatments in ponderosa
        pine and mixed-conifer forests. These treatments will help restore or maintain the more
        open conditions typically found in these forests and will help make them more resilient to
        climate change, insects, disease, and other stressors. More intensive shelterwood harvests
        in the ponderosa pine and mixed-conifer areas are also planned in alternative C. In the
        mixed-conifer type, these management activities will help reduce the amount of areas in
        the structural stages that are denser and with larger trees (3B, C and 4A, B, C) and
        increase the amount in more open and young stages.
   •    Aspen will be maintained on the landscape. Aspen regeneration harvests may occur,
        depending on whether there is a market for this material.
   •    Prescribed burning in grassland and pinyon-juniper woodlands. This is planned on a
        small acreage annually and does not vary by alternative.
   In general, proposed management is highest in alternative C and lowest in alternative D, with
   alternatives A and B in the middle. Timber management levels in alternatives A and B are
   based on average base funding, with alternative C determined by base plus supplemental
   funding. Prescribed burning levels are similar across alternatives, with the exception of
   alternative A, which has less prescribed burning in the mixed-conifer areas. Estimates of pile
   burning in the spruce-fir areas vary according to the amount of salvage planned in each
   alternative.
   Specific wildlife improvement projects, including but not limited to wildland fire, hydro­
   axing, and removal of encroaching juniper, may add an estimated 1,000 acres to Table 29 as
   opportunities arise.



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      Table 29. Planned management activity under alternative A - annual average per
      decade
            Forest cover type/         1st Decade    2nd Decade
           Management Practice           (acres)       (acres)
       Spruce-Fir - Salvage Sales        3,210            0
       Ponderosa Pine and Mixed-
       Conifer (thinning treatments,
       uneven-aged management)            100           1,200
       and Aspen (regeneration
       harvests)
       Ponderosa Pine and Mixed-
                                          500           500
       Conifer Prescribed burns
       Spruce-Fir Prescribed burns        100             0
       Grasslands Prescribed burns        100            100
       Pinyon-Juniper Prescribed
                                          50             50
       burns




      Table 30. Planned management activity under alternative B - annual average per
      decade
            Forest cover type/         1s‘ Decade     2nd Decade
           Management Practice           (acres)        (acres)
       Spruce-Fir - Salvage Sales         3,210               0
       Ponderosa Pine and Mixed-
       Conifer (thinning treatments,
       uneven-aged management)             100           1,200
       and Aspen (regeneration
       harvests)
       Ponderosa Pine and Mixed-
                                          700             800
       Conifer Prescribed Burns
       Spruce-Fir Prescribed Burns         100                0
       Grasslands Prescribed Burns         100            100
       Pinyon-Juniper Prescribed
                                           50                 50
       Burns




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   Table 31. Planned management activity under alternative C - annual average per
   decade
                                     1st Decade       1st Decade
         Forest cover type/                                          2nd Decade
                                    (years 1 - 6)   (years 7 - 10)
        Management Practice                                            (acres)
                                       (acres)          (acres)
    Spruce-Fir - Salvage Sales         6,280                 0           0
    Ponderosa Pine and Mixed-
    Conifer (thinning, uneven­
    aged management, and
                                         0              1,500          1,500
    shelterwood treatments) and
    Aspen (regeneration
    harvests)
    Ponderosa Pine and Mixed-
                                        700              800            800
    Conifer Prescribed burns
    Spruce-Fir Prescribed Burns
                                        190                  0           0
    (piles)
    Grasslands Prescribed Burns         100              100            100
    Pinyon-Juniper Prescribed
                                         50              50              50
    Burns


   Table 32. Planned management activity under alternative D - annual average per
   decade
           Forest cover             1st Decade      2nd Decade
     type/Management Practice         (acres)         (acres)
    Spruce-Fir - Salvage Sales         1,730             0
    Ponderosa Pine and Mixed-
    Conifer (thinning treatments,
    uneven-aged management)             100             800
    and Aspen (regeneration
    harvests)
    Ponderosa Pine and Mixed-
                                        700             800
    Conifer Prescribed Burns
    Spruce-Fir Prescribed Burns         50               0
    Grasslands Prescribed Burns         100             100
    Pinyon-Juniper Prescribed
                                        50              50
    Burns


   In general, in each of the four alternatives the Forest moves the identified desired distribution
   of vegetation structural stages, albeit at a slower rate in some alternatives relative to others.
   This varies by vegetation type, as little or no treatment is planned in some vegetation types,
   such as pinyon-juniper. Under alternative D, because there are fewer vegetation management
   activities planned, the progress toward the desired conditions in some vegetation types, such
   as mixed-conifer and ponderosa pine, would be slower. These types generally have higher
   amounts than desired in the larger size, more dense structural stages and less than the desired
   amount in the young stages. Management in these types would help meet the desired
   conditions. Progress toward the desired conditions in these vegetation types will be highest in
   alternative C, since this alternative has the highest level of planned vegetation management
   activities in these vegetation types. In the spruce-fir areas, where salvage is the focused


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      management activity in the first decade, there would be varied progress towards the desired
      conditions given that the salvage harvests are done in areas that have high mortality and are
      already in the young structural stage. In some of the spruce-fir salvage areas, however, tree
      planting in currently understocked stands would speed forest recovery toward the desired
      conditions for this type. However, although planned management is different across the four
      alternatives, the distribution and diversity of vegetation structural stages across the Forest is
      predominantly determined by ecological succession and disturbances such as fire, insects,
      and disease, rather than by planned management activities.
      Specifically assessing current conditions relative to those that correspond to natural range of
      variation is challenging. Although general descriptions of the forested types and their natural
      range of variation are available in published literature, these are broad and not Forest
      specific, and particular amounts or percentages by structural stage are not presented. The
      desired conditions were generally based on natural range of variation estimates from the
      assessment modeling, but with some adjustments to increase resilience to climate change,
      such as allocating slightly more acreage to the more open classes (3A, 4A) and slightly less
      to the more dense classes (3B,C, 4B,C).

      Effects on Forested Vegetation from Timber Management
      As described above, the timber management program may have a small effect on progress
      toward the desired conditions for vegetation across all alternatives. Under alternative D,
      because there are fewer vegetation management activities planned, the progress toward the
      desired conditions in some vegetation types would be close to natural succession rates.
      Progress toward the desired conditions in these vegetation types would be highest in
      alternative C because this alternative has the highest level of planned vegetation management
      activities. Although the planned management is different across the four alternatives, the
      distribution and diversity of vegetation structural stages across the Forest is predominantly
      determined by succession and natural disturbances such as fire, insects, and disease, rather
      than by planned management activities, especially given that about half the forested area is in
      protected areas, such as roadless areas and wilderness areas, where vegetation management
      activities are prohibited or greatly restricted.

      Effect on Forested Vegetation from Recreation Management
      One difference between alternative A and alternatives B, C, and D is the addition of
      management direction for congressionally designated trails including the Continental Divide
      National Scenic Trail and the Old Spanish National Historic Trail. Under alternatives B, C,
      and D, these trails are removed from the suitable timber acreage along with a one-half mile
      buffer on each side of the trail. This has a small effect on the suitable timber acreage because
      some, but not all, of this area would have been in the suitable timber acreage otherwise. The
      management direction for these areas is also more restrictive in terms of the type of
      vegetation management allowed.

      Effect on Forested Vegetation from Wildlife Management
      The main effects from the wildlife management program are related to lynx management
      direction. In addition, in more fire-adapted ecosystems, activities such as thinning, wildland
      fire, and hydro-ax are used as a vegetation management practice that also benefits wildlife.


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   The effect of new plan direction in alternatives B, C, and D is difficult to discern at this point.
   Overall, the Southern Rockies Lynx Amendment, as implemented currently, has changed the
   Forest vegetation management strategy and the silvicultural practices used. It also provided
   focus on uneven-aged management in live, green lynx habitat areas, which are mainly in
   spruce-fir and the cool-moist mixed-conifer vegetation types. The new direction on
   management activities would retain high-quality understory conditions that support important
   prey species for lynx.
   The additional lynx-related plan direction in alternatives B and D would have minimal effect
   on the vegetation.

   Effects on Forested Vegetation from Fire Management
   Fire management on the Forest would have an impact on the vegetation. As prescribed in all
   alternatives in Table 29, Table 30, Table 31, and Table 32, planned prescribed burning
   estimates are similar across alternatives. The only exceptions to this are in mixed-conifer, in
   which more prescribed burning is planned under the action alternatives relative to alternative
   A. This additional prescribed burning would be beneficial in terms of helping reach the
   desired conditions for the mixed-conifer areas. Additional prescribed burning would also
   restore fire to its natural role in this ecosystem, reduce density, and improve resilience to
   climate change and other stressors. The action alternatives also have additional pile burning
   in spruce-fir areas corresponding to the amount of salvage harvest.
   Overall, however, the potential impacts of wildfire over the life of the plan would be to create
   a more mosaic pattern across the landscape with increased diversity in species composition,
   age classes, and structure.

   Effects on Forested Vegetation from Designation of Wilderness, Research
   Natural Areas, and Special Interest Areas
   Recommended wilderness, research natural areas, and special interest areas may have a
   minor effect on progress toward the desired conditions for vegetation. Under alternative C,
   there are fewer of these proposed areas and under alternative D, there are more of these
   proposed areas, with alternatives A and B in between. Each of the four alternatives would
   move the Forest toward the identified desired distribution of vegetation structural stages,
   albeit at a slower or faster rate in some alternatives relative to others. A higher amount of
   these proposed areas simply means that more area would move toward the desired conditions
   naturally, without human intervention, than an alternative with fewer proposed areas, due to
   the reduced size of the suitable timber acreage and associated management levels. This effect
   is minor in that the distribution and diversity of vegetation structural stages across the Forest
   is predominantly determined by successional and natural disturbances such as fire, insects,
   and disease, and the fact that about half the forested area is already in protected areas, such as
   roadless areas and wilderness areas, where vegetation management activities are prohibited
   or greatly restricted.
   Alternatives with a higher amount of area in these designations, such as alternative D,
   provide more acreage where fires, insects, and diseases can play their natural role. These
   areas are useful for comparison purposes and to determine ecological reference conditions.



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      Late-Successional and Old Forest

      Direct and Indirect Effects
      All alternatives have forest plan direction for late-successional and old forest management.
      All alternatives would provide some protection of existing old forest, and provide guidance
      on the identification and deferral from harvest of old forest areas. There is additional
      protection and guidance for late-successional habitats in alternatives B, C, and D, which are
      discussed below.
      One important distinction among alternatives is the criteria used to define old forest.
      Alternative A defines old forest from Mehl (1992). This definition was general and not
      customized for the somewhat harsher and slower-growing conditions on the Forest. This
      definition was used as a starting point. The criteria were also changed so that most, but not
      all, of the characteristics need to be present for an area to be called old forest. Historically,
      although many old forest characteristics might be present, in most cases one of the
      characteristics was not present or was less than the amount needed for the area to be called
      old forest. The updated version of the old forest definition allows for more flexibility in
      determining old forest and allows areas with most, but not all, of the old forest criteria to be
      called old forest. The criteria used to define old forest is available in Appendix A for the draft
      forest plan.
      All action alternatives contain forest plan direction related to late-successional and old forest
      habitat. Desired conditions recognize the importance of retaining the remaining live spruce­
      fir late-successional forest patches and of maintaining and enhancing late-successional and
      old forest conditions necessary for at-risk species. Desired conditions describe specific
      desired amounts of both late-successional (4B and 4C) and old forest habitats by vegetation
      type.
      Forest plan direction for the General Forest and Intermingled Rangelands and Forest
      Products Management Areas has also been modified in Alternatives B, C, and D. These
      alternatives contain direction for Management Area 5.13 that “All succession stages are
      represented, including old forest. Mature stands are identified for old forest characteristics.”
      This direction is different from that in alternative A, which has similar direction for both
      General Forest and Intermingled Rangelands and Forest Products and contains guidelines
      about the use of spatial analysis to select existing and future old forest stands that are retained
      and provide for habitat connectivity. The addition of a desired condition with specific desired
      amounts of late-successional and old forest in alternatives B, C, and D counterbalances the
      elimination of this direction in alternative A.
      Alternative D has the largest amount of area in more protective categories, such as
      wilderness, roadless, research natural areas, and special interest areas. As a result, more old
      forest can develop without human intervention. In all alternatives, however, fire and other
      natural disturbances would continue to influence the landscape substantially more than
      vegetation treatments. Succession would continue to be the primary means by which late-
      successional and old forest is formed. Late-successional and old forest amounts and
      distribution would remain highly dynamic and variable over time.




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   Effects on Late-successional and Old Forest Habitat from Vegetation
   Management
   A higher amount of area suitable for timber production and higher planned management
   levels (such as under alternative C), means fewer acres are developing naturally to late-
   successional and old forest. However, a larger suitable timber area also means there would be
   more control over manipulating vegetation and creating particular old forest characteristics.
   Vegetation treatments (such as thinning in young stands that encourages rapid tree growth)
   can promote the long-term development of some late-successional and old forest conditions,
   although this may be easier to accomplish in certain vegetation types, such as ponderosa pine
   and warm-dry mixed-conifer.

   Snags and Downed Woody Material

   Direct and Indirect Effects
   Snag and downed wood conditions are largely dependent on the pattern of natural and human
   disturbance processes. Currently, due to the large spruce beetle outbreak on the Forest, there
   is an abundance of snags and downed woody material in the spruce-fir areas. However, in
   general, snags and downed woody material are very dynamic, highly variable, and unevenly
   distributed across time and space.
   As previously stated, dead wood components will be created by fire, insects, disease, and
   mortality during the course of natural succession. Decomposition and fire are the primary
   ecological processes that recycle dead wood in the ecosystem. Vegetation treatments also
   remove dead wood. This is often the case in late-successional and old forest areas. Snags are
   predominant at first, shifting to predominantly downed wood as the dead trees fall. Snags
   will be lost as they fall to the ground to become part of the downed wood component, where
   they will decompose and become part of the soil. Ecological processes associated with snags
   and downed wood dynamics vary across forested ecosystems. Lower amounts of snags and
   downed wood would tend to occur in developed sites, areas where concern for fire hazard is
   elevated, and areas closer to communities and accessible to firewood cutting.
   The majority of Forest lands are in unmanaged areas, where natural ecological processes and
   disturbances will be the primary factor affecting snag and downed wood conditions. These
   natural processes are expected to create an abundance of snags and downed wood at the
   Forestwide scale, and amounts within desired ranges .
   All alternatives contain forest plan guidance that directs retention of snags and downed wood
   within planning units. All alternatives also have similar plan components related to
   management of insects and diseases.
   A comparison of the retention direction for snags and downed wood retention among
   alternatives is provided below.
   Direction included in alternative A states that prescriptions developed prior to timber harvest
   identify the distribution of coarse woody debris and snags to be left after harvest, as well as
   live green replacement trees for future snags.
   The minimum requirements for adequate wildlife habitat and ecosystem function are listed in
   Table 33. The amounts are to be calculated as a per-acre average over a project area.


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      At least 50 percent of the snags retained should be in the larger size classes available onsite.
      Spatial distribution should be determined at the site-specific level.

      Table 33. Snag and downed wood retention amounts in alternative A
                                                                  Snags                                       Downed Wood1

            Forest Type               Minimum
                                                                                    Minimum height
                                     diameter at            Minimum/Acre                                        Tons/Acre
                                                                                         (feet)
                                    breast height
       Spruce-fir                          12                       2                        25                   10-15
       Lodgepole pine                      10                       2                        25                   5-10
       Aspen                               12                       2                        25                    3-5
       Douglas-fir                         12                       2                        25                   5-10
       Ponderosa pine                      14                       3                        25                   4-9
        1All soft snags should be retained unless they are a safety hazard. If minimum-diameter snags are not present, use the
           largest available snags.



      Snag and Downed Wood Retention - Alternatives B, C, and D
      The minimum requirements for retention of snags and downed wood are listed in Table 34
      (Draft Revised Land Management Plan, Table 5. These recommendations would meet the
      need to provide sustainable wildlife habitat and ecosystem function.

      Table 34. Recommended snags and downed wood for wildlife habitat and ecosystem
      processes under alternatives B, C, and D
                                                                   Snags                                      Downed Wood1

             Forest Type                 Minimum
                                                              Minimum/Acre           Minimum height
                                        diameter at                                                             Tons/Acre
                                                             in Planning Unit             (feet)
                                       breast height
       Spruce-fir                            212                        6                    25                   10-15
       Cool moist mixed-
                                             212                        4                    25                   5-10
       conifer
       Aspen                                    10                      5                    25                    3-5
       Cool-dry mixed-conifer                   12                      4                    25                   5-10
       Warm-dry mixed-
                                             212                        3                    25                   4-9
       conifer
       Ponderosa pine                        212                        3                    25                   2-3
       Lodgepole pine                           10                      3                     15                  5-10
      1 Project implementation should plan on leaving larger and longer logs onsite based on site capacity.
      2 At least 50 percent of the required snag numbers should represent the largest size classes available.




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   Alternative A
   The Forest has been implementing this plan direction on retention of snags and downed wood
   for 20 years. As discussed previously in the Affected Environment section, the Forest is well-
   above the minimum amount of snags recommended for the various forest types, with the
   exception of the ponderosa pine forest type, where data suggest that there is less than the
   desired three snags per acre. The various forest types also have more than the minimum
   amount recommended of downed woody material, with the exception of ponderosa pine.
   Direction under alternative A should generally continue to meet the desired conditions for
   snags and downed wood, providing habitat and other ecological values.

   Alternatives B, C, and D
   Forest plan guidance for alternatives B, C, and D specify retention of snags and downed
   woody material. Additional snag and downed wood plan direction that are only a part of
   alternatives B, C, and D are listed in the Draft Revised Land Management Plan in the
   vegetation, species of conservation concern, wildlife, and fire sections.
   Management direction related to snags and downed wood is the same under all action
   alternatives (B, C, and D). As compared to alternative A, the action alternatives provide for
   higher retention levels for snags and similar retention levels for downed wood, and make
   changes to spatial distribution of snags retained. Additional plan direction in the action
   alternatives also relates to the size and type of snags and downed wood to be retained. In
   some cases, such as aspen and ponderosa pine, the minimum diameter at breast height for the
   snags retained is higher under alternative A. In one case, ponderosa pine, the downed wood
   retention value is lower in the action alternatives, but this lower value is more aligned with
   the more frequent fire regime for this type. Although the snag and downed wood retention in
   alternatives B, C, and D applies to the planning unit, instead of the smaller project area (as in
   alternative A), the additional snag and downed wood plan components and generally higher
   snag retention amounts in the action alternatives as well as determinations made at the
   project-level, would help ensure that large openings created during salvage have sufficient
   amounts of snags and downed wood.
   The presence, abundance, and distribution of long lasting, large-diameter snags depends
   entirely on the presence, abundance, and distribution of species and size classes of trees
   across the landscape in varied ecosystem types. Thus, the emphasis under all action
   alternatives on maintaining or achieving desired forest composition and size classes could be
   expected to achieve desired conditions for snags (and downed wood) over time as well.
   There is a small difference among alternatives related to the difference in amount of area
   subjected primarily to natural disturbances processes compared to the areas where active
   vegetation management would occur (lands suitable for timber production) and areas with a
   recreation focus. These lands would tend to have lower amounts of snags and downed wood
   because of management direction, access, and the integration of other desired conditions for
   other resources. Because alternative D has more area that would be influenced mainly by fire
   and other natural processes, relative to the other alternatives, the amount and distribution of
   snags and downed wood would be greater under this alternative as compared to the others.
   This is supported by Forest Inventory and Analysis Program data that suggest higher snag
   levels in these unmanaged areas.


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      Effects on Snags and Downed Woody Material from Timber Management
      Areas suitable for timber production where active management takes place make up a
      relatively small percentage of the total Forest area, just 17 to 26 percent. Areas suitable for
      timber production would typically be managed in ways that maintain relatively vigorous trees
      and limit losses from insects, disease, and fire where possible. This would result in lower tree
      mortality rates and a lower density of snags across these areas over time as compared to areas
      influenced less by human actions and affected more by natural disturbances, such as in
      wilderness and roadless areas. For instance, the majority of the spruce-fir forest type is in
      areas outside of the suitable timber base, regardless of the alternative. This is different than
      the areas with ponderosa pine and mixed-conifer vegetation types, which have nearly half
      their acreage in the suitable timber base for alternatives B and C. The persistence of snag
      habitat associated with these vegetation types would likely be more affected by human
      actions when compared to spruce-fir. On the other hand, active vegetation management
      provides opportunities to manage for species and forest size classes on these lands that would
      contribute to desirable future snag and downed wood conditions.
      Salvage treatments planned in the spruce-fir vegetation type would result in lower snag and
      downed wood conditions in the treated areas. These treatments are proposed on the greatest
      number of acres in alternative C. In the long-term, tree planting in these areas may help speed
      recovery to mature forest conditions and provide for future snags and downed wood.
      Thinning and other management planned in the ponderosa pine and mixed-conifer vegetation
      types may result in lower snag and downed wood conditions in the treated areas. These
      treatments are proposed to occur on the highest amount of acres in alternative C.
      Firewood cutting also has an effect on the snag and downed wood levels present on the
      Forest. Firewood cutting predominantly affects lower elevation areas with roads and easy
      access.

      Effects on Snags and Downed Woody Material from Recreation Management
      Snag and downed wood levels are highly variable across the Forest. The recreation
      management program reinforces this variability. Removal of snags in campgrounds and along
      roadsides for safety reasons leads to fewer snags in these areas (and hence less future downed
      wood). This is also true for high-use recreation areas.

      Landscape Disturbances and Patterns - Fire

      Direct and Indirect Effects
      Numerous drivers and stressors play a role in determining the patterns across the Forest
      landscape. Fire, insects and disease, and timber harvest are compared across alternatives
      below.

      Alternative A
      Management direction specific to fire management in alternative A requires all fires to be
      suppressed in some management areas, including those designated for forest products and
      ski-based resorts. Fire for resource benefit is approved for use and encouraged in areas where



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   fire is allowed to play a natural role, such as in wilderness and in more remote, backcountry
   areas.

   Alternatives B, C, and D
   All the action alternatives contain the same forest plan guidance that articulates what role fire
   should play in the ecosystem. Management direction recognizes that risks to important values
   change in response to seasonal changes in weather and fuels, providing the opportunity to use
   fire as a management tool when conditions are conducive to meeting various plan outcomes.
   Under all of the action alternatives the Forest is proposing to implement two strategic
   wildland fire management zones—the wildfire management zone: resource restoration and
   the wildfire management zone: resource protection and benefit. More information on fire
   management and wildfire management zones is contained in the Fire Management section.
   The wildfire management zone for resource restoration allows natural resources to benefit
   from wildland fire. Managing wildfire to meet resource objectives in this zone is the least
   constrained. Ecological restoration is accomplished by managing wildland fire under a wide
   range of conditions that allow fire to play a natural role in an ecosystem. All lightning-caused
   wildfires in these areas will be managed primarily to restore and maintain the natural role of
   fire in the ecosystem with a minimal emphasis on suppression.
   In the wildfire management zone for resource protection and benefit areas, conditions may
   put some natural resource values at varying degrees of risk for damage from wildfire.
   Wildfires that burn in this zone may benefit natural resources under certain conditions. All
   lightning-caused wildfires in these areas will be assessed on an individual basis for the most
   appropriate response based on values at risk and potential benefits to natural resources from a
   wildfire.
   In both zones, all human-caused wildfires will be managed under a full suppression strategy
   commensurate with the values at risk.
   Given the uncertainty of future climate and weather conditions, any of the action alternatives
   would provide fire managers with more flexibility in deciding how to manage individual fires
   and would allow fire to play a more natural role across the landscape. In that sense, the action
   alternatives would allow the role of fire to be most similar to its historic role.

   Landscape Disturbances and Patterns - Insects and Disease
   All alternatives generally have similar plan components related to management of insects and
   disease. Plan direction involves consideration of potential insect and disease outbreaks when
   planning management activities, managing vegetation to improve forest health and public
   safety, use of integrated pest management techniques, and designing project activities to
   minimize the risk of spreading existing infestations while still providing habitat for wildlife
   species, depending on insects and diseases. Plan direction generally applies to areas with
   ongoing management activities, which are portions of the landscape that don’t vary much by
   alternative. Across all alternatives, more than half of the Forest is designated roadless or
   wilderness where insects and disease would play their natural role. Some direction included
   in alternative A was not carried into the action alternatives (B, C, and D). The direction not
   carried forward is related to controlling insects and disease in wilderness areas and
   controlling the spread of disease in adjacent stands during timber harvest.

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      Given integration of insect or disease management with silvicultural prescriptions for
      vegetation management to meet a variety of goals and objectives, impacts across the
      alternatives would correspond closely with acres thinned, harvested, or burned, especially
      those acres managed within the mixed-conifer and ponderosa pine type. These acres do vary
      by alternative, but are small in context with the total area in these vegetation types. The
      effects from insects or disease would tie more closely with forest conditions and affecting
      factors than from actual management activities. The forest condition and affecting factors
      include: 1) amount, extent, and susceptibility of host habitat, 2) insect or disease levels
      (extent and populations/infection rates), 3) climate, and 4) disturbance.
      The impacts from chemical treatments or pheromone applications for insect/disease are
      expected to be similar across all alternatives. The majority of these activities would be
      focused in or near developed facilities.

      Effects from Timber Management
      Thinning treatments and sanitation harvests may provide an opportunity to prevent or reduce
      insect and disease outbreaks by reducing the density of trees, removing diseased and high
      risk trees, and increasing diversity. The removal of suppressed or dying trees would increase
      the overall growth and vigor of the remaining stand, which would decrease the susceptibility
      of those trees to many insects and diseases. As an example, management activities such as
      reducing basal area, favoring ponderosa pine where possible, and thinning from below can
      render stands less susceptible to damage from western spruce budworm (USDA Forest
      Service GSC 2016).
      Alternatives that increase the amount, extent, or tree density of mature development stages
      would generally increase the risk of insect outbreaks or widespread disease. As a result of
      lower management rates, alternative D would have a greater likelihood of an increased
      amount and extent of mature, dense forest, and would therefore result in a slightly greater
      risk for insect outbreaks, or widespread disease, than other alternatives.
      Because alternative C would be slightly less likely to increase the amount and extent of
      mature, closed development stages, it would result in a slightly lower risk for insect
      outbreaks or widespread disease. Alternatives A and B fall in between C and D.

      Effects from Recreation
      In developed and dispersed recreation sites where trees may be impacted by camping
      activities and where the overall health and vigor of trees is reduced by soil compaction, risk
      for individual trees to be adversely affected by insects and diseases would increase. Proposed
      management affecting recreation, relating to insects or disease, would be the same for all the
      alternatives.

      Landscape Disturbances and Patterns - Timber Harvest
      As described in the Forest Products section, the projected sale quantities and project salvage
      volume is highest under alternative C and lowest under alternative D. In alternatives A, B,
      and D, the focus of the vegetation management program would be on salvage harvesting
      beetle-killed spruce-fir stands that have high mortality due to spruce-beetle for the first
      decade, then transitioning to thinning/restoration treatments and uneven-aged management in


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   the ponderosa pine and mixed-conifer vegetation types, along with possible aspen harvests.
   In alternative C, the vegetation management program would be similar, but with a focus on
   more intensive salvage harvesting in the beetle-killed spruce-fir areas for a shorter time
   period, 6 years, before transitioning to thinning/restoration treatments, uneven-aged
   management, and shelterwood harvests in the ponderosa pine and mixed-conifer types, along
   with possible aspen harvests.
   Silviculture and vegetation-related plan direction differs between the no-action and action
   alternatives. Action alternatives reduce the minimum stocking levels for ponderosa pine and
   Douglas fir from alternative A. The lower density values are more aligned with the natural
   range of variation for these species and increase resilience to stressors such as climate
   change, insects, and diseases. Silvicultural systems by cover type were also expanded in
   alternatives B, C, and D. Other plan components that are applicable to the action alternatives
   are contained in the Rio Grande National Forest Draft Revised Land Management Plan. All
   alternatives include guidance that should produce conditions similar to those that occurred
   under natural disturbance regimes, with the exception that openings larger than 40 acres are
   generally not allowed unless one of the exceptions is met. Planned salvage sales are included
   in these exceptions, because they are the result of natural catastrophic conditions (refer to
   S-VEG-6 in the Rio Grande National Forest Draft Revised Land Management Plan).

   Rare Communities and Special Habitats

   Direct and Indirect Effects
   All alternatives have areas where existing research natural areas, special interest areas, and
   wild, scenic, and recreational river areas overlap a portion of some potential conservation
   areas by the Colorado Natural Heritage Program. Research natural areas and special interest
   areas would have more restrictive direction related to the reason for their designation. They
   generally offer more protection for these potential conservation areas.
   A special interest area for Ripley’s milkvetch that covers most of the Bighorn Creek potential
   conservation area is unique to alternative A. Some of this area is included in the Spruce
   Hole/Osier/Toltec special interest area in alternative D. These are discussed in detail in the
   Proposed Special Interest Areas and Research Natural Areas section.
   Alternative B has additional special designations that include a portion of potential
   conservation areas. Recommended wilderness in the Sangre de Cristo range covers portions
   of many different potential conservation areas. These include several potential conservation
   areas.
   Alternative B also has recommended wilderness that overlaps portions of the Conejos River,
   Platoro, Lake Fork, Kite Lake, and Pole Creek potential conservation areas.
   Alternative D is similar to alternative B, but with additional designations as follows:
   •     Recommended wilderness overlying portions of the San Francisco Lakes, Miners Creek,
         Pole Creek, Spar City, East Middle Creek, Kelly Creek, Ford Creek, and Luder Creek
         potential conservation areas.
   •     Sheep Mountain Research Natural Area, which includes a portion of the Sheep
         Mountains in the San Juan potential conservation area.


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      •   Jim Creek Rio Grande Cutthroat Trout Area, which overlaps portions of the Jim Creek
          and Torcido Creek potential conservation areas.
      •   Carnero Creek Rio Grande Cutthroat Trout Area, which includes portions of the Carnero
          Creek potential conservation area.
      •   Elephant Rocks Botanic Area is adjusted to include the Natural Arch, with the addition of
          the adjacent Summer Coon/La Ventana Geologic Special Interest Area, covering
          additional portions of the Eagle Mountain and Elephant Rocks potential conservation
          areas.
      •   Spruce Hole/Osier/Toltec Landscape Connectivity area over Peak Site, Osier Creek,
          Cascade Creek at Osier, Rito Hondo Creek, and Bighorn Creek potential conservation
          areas.
      •   The proposed Deep Creek Research Natural Area overlaps most of the Deep Creek
          Uplands West potential conservation area.

      Effects on Wetlands and Fens from Management of Other Resources
      As discussed in the Riparian, Wetlands, and Fens section, the greatest future impacts to these
      ecosystems would come from those management activities that are known to have resulted in
      impacts during previous planning periods, including National Forest System roads and trails,
      uncontrolled motorized use on unauthorized roads and trails, and livestock grazing.
      Alternatives A. through D essentially represent varying partitions of acreage between a variety
      of potential uses, ranging from restrictive management prescriptions (e.g. wilderness) to
      general forest areas that are suitable for harvest, grazing, and dispersed/motorized recreation.
      Among all alternatives, the acreage of suitable rangeland remains nearly constant with the
      exception of small alterations based on special area designation. As a result, livestock grazing
      impacts to riparian and wetland ecosystems are expected to remain consistent with those
      observed in the previous planning period, and will not vary significantly by alternative.
      Among the action alternatives, alternative D represents a minimization of acreages that
      would be available for expansion of the road/trail network, particularly for motorized
      vehicles and timber harvest. As a result, alternative D would likely have the fewest impacts
      on riparian and wetland ecosystems. Alternatively, alternative C represents a maximum
      number of acres available for the potential expansion of the motorized trail network, and the
      maximum number of acres suitable for timber harvest and the necessary access roads.
      Consequently, alternative C would likely have the greatest impacts to riparian and wetland
      ecosystems. The impacts of alternative A would likely be similar in magnitude to those of
      alternative C, even with a reduced suitable timber base, due to the lack of designated areas
      and recommended wilderness. The potential watershed impacts in order of magnitude would
      range from alternative D at the low end, to alternative B, followed by alternatives A and C at
      the high end.

      Effects on Low-Elevation Riparian Areas from Management of Other
      Resources
      Low-elevation riparian areas were identified in FSVeg Spatial as areas with a cover type of
      cottonwood or alder and are at an elevation below 9,000 feet. These areas totaled 977 acres
      on the Forest. Alternatives B and D are generally more protective of these areas, with 357

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   acres (37 percent) in recommended wilderness in the Sangre de Cristo range. Alternatives B,
   C, and D contain forest plan desired conditions specific to cottonwood riparian areas.
   Livestock grazing can have, and has had, an influence on overall health of low-elevation
   riparian systems, including seeps and springs. As noted previously, the amount of suitable
   rangeland remains the same in all alternatives. No change to livestock grazing is anticipated;
   therefore, this impact to low-elevation riparian systems would continue. Concentration of
   native wildlife may contribute to stressors on these systems.

   Effects on Oakbrush from Management of Other Resources
   There are a limited amount of oakbrush acres on the Forest. Analysis using FSVeg Spatial
   with the proposed management areas by alternatives suggests that more acres of this type
   would gain protection under alternatives B and D, mainly due to recommended wilderness in
   the northern Sangre de Cristo range. Alternatives B, C, and D also contain specific plan
   direction for Gambel oak communities (see the Draft Revised Land Management Plan).

   Effects on Alpine Fell Fields and from Management of Other Resources
   Using FSVeg Spatial, approximately 53,024 acres of alpine habitat is currently afforded some
   protection because it occurs in existing wilderness. Alternative D proposes the most
   protection for alpine areas (as determined by acreage in recommended wilderness), with an
   estimated 24,236 acres. Alternatives A and C do not propose any recommended wilderness.
   Alternative B is in the middle with approximately 2,453 acres of alpine proposed for
   increased protection.
   Alpine areas in the suitable timber base are minimal. Alternative A has the largest amount of
   alpine areas with approximately 239 acres, while alternatives B, C, and D have a lower
   amount of alpine areas in the suitable timber base, approximately 130 acres.
   Recreational activities are a stressor in some alpine areas. No alternative proposed a change
   in the miles of trail or number of developed facilities. Dispersed camping in the alpine zone
   is thought to be limited due to the added elevation and potential difficulty of access. Much of
   the alpine zone is not accessible from roads or trails, is located in wilderness areas, or may
   not physically be accessible due to precipitous terrain. These areas would have lower impacts
   from recreation.
   Areas with motorized trails that could impact the alpine areas include areas near Jasper and
   west of La Garita. Motorized trails also occur adjacent to and sometimes through alpine areas
   north of Creede on the northern Forest boundary, and areas near the western boundary.
   Alternatives A, B, and C have similar acreages as suitable for over-snow vehicle use. Alpine
   areas within designated wilderness areas, as well as recommended wilderness areas, would
   not be suitable for over-snow vehicle use, but alpine areas outside of wilderness generally
   would be suitable for this use, with exceptions such as Finger Mesa and an area just east of
   the La Garita Wilderness. In these alternatives, alpine areas suitable for over-snow vehicle
   use include the area north of Creede and areas on the western portion of the Forest boundary.
   Alternative D has less alpine areas suitable for over-snow vehicle use. Acres unsuitable for
   over-snow vehicle use under this alternative include the area north of Creede, areas on the



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      western Forest boundary, and some areas near Jasper. This is mostly due to the higher amount
      of recommended wilderness in this alternative.
      Forest visitors can participate in motorized or nonmotorized activities anywhere on Forest
      lands, which makes it difficult to assess recreation impacts. A more thorough analysis will be
      done as part of the travel management process.
      All action alternatives include revised plan direction specific to and protective of alpine
      habitat. Alternative A includes plan direction that includes stipulations for leasable materials,
      which is not contained in the action alternatives (B, C, and D). Specific direction related to
      timber harvest within 600 feet slope distance from timberline also occurs only in alternative
      A.
      There are grazing allotments in the alpine zone. They do not vary by alternative.

      Effects on Caves and Mines from Management of Other Resources
      Plan direction for caves and mines is included in all alternatives, though the action
      alternatives contain considerably more specific direction.

      Cumulative Effects
      The effects that past activities have had on forest vegetation were discussed previously in the
      Ajfected Environment section and are reflected in the current condition of the forest
      vegetation. Past management practices throughout the planning area, including fire
      suppression, have created forest conditions that are susceptible to insect outbreaks or disease
      due to higher tree densities and generally older and larger trees, leading to contiguous and
      homogeneous forest stands, especially in the lower elevation forest types.
      Ongoing programmatic planning efforts occurring adjacent to the Forest that could have
      overlapping cumulative effects include:
      •   Revision of the Rio Grande County land use master plan
      •   Plan development for the Rio Grande del Norte National Monument
      •   Carson National Forest land management plan revision
      •   Grand Mesa, Uncompahgre, and Gunnison National Forests land management plan
          revision
      Within the planning area, the cumulative impact of management activities could result in
      increased tree mortality rates across all forest cover types, large amounts of standing and
      downed dead trees, high fuel loading, and high intensity fire in areas of accumulated dead
      trees, in particular in the lower-elevation forest types. Beneficial aspects would be tied to
      species that have adapted to these types of disturbances, notably woodpeckers and other birds
      that feed on bark beetles and wood-boring insects. Also, many different species of plants that
      normally occur beneath conifer overstories are expected to vigorously increase in growth as
      competition and shade from overtopping trees dissipate with elevated rates of tree mortality.
      Additional stressors that may increase in the future are increasing population levels, both
      locally and nationally, with resulting increasing demands and pressures on public lands. As
      related to forest and vegetation conditions, these changes may lead to increased demands for
      commercial and noncommercial forest products, elevated importance of public lands in


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   providing for the habitat needs of wildlife species, and changing societal desires related to
   the mix of uses that public lands should provide. Gradually increasing recreation use over the
   planning period due to increasing population levels across Colorado could affect ecosystem
   integrity. However, the Forest’s sustainable recreation plan direction included in all action
   alternatives provides measures to avoid such impacts from recreation activities.
   The ability to implement future vegetation treatments is dependent on the use of prescribed
   fire as well as the use of natural, unplanned ignitions to meet resource objectives. Therefore,
   to the extent that air quality regulations may become more stringent in regards to the quantity
   and timing of smoke emissions, substantial effects could result from limiting vegetation
   treatments using prescribed burning.
   Management activities on adjacent national forest, private, and state lands may affect rare
   communities and special habitats at the landscape level as well as vegetation conditions at the
   landscape level and changing forest composition and structures.
   Overall, cumulative effects are not expected to increase from past, present, and reasonably
   foreseeable future planning activities within and adjacent to the Forest.

   Fire Management
   Overview
   Wildland fire includes both wildfire (unplanned ignitions) and prescribed fire (planned
   ignitions). Fire management includes the strategies and actions used both before and during
   wildland fire. Management of wildland fire influences whether fire effects create beneficial
   or negative impacts to values such as water quality, air quality, habitat, recreation areas, and
   communities. Wildfire management includes a spectrum of responses from protection
   objectives to resource objectives (Figure 2). Suppression is a management strategy used to
   extinguish or confine unplanned ignitions.
   Fuels management is the manipulation of vegetation for the purpose of changing the
   characteristics of a fire as it burns. Fuels reduction treatments result in a change in the
   amount, configuration, and spacing of live and dead vegetation, with the purpose of creating
   conditions that result in more manageable fire behavior and reduced severity.

   Wildland Fire Management
   Wildfires that reduce fuels and improve ecosystem conditions are characterized as “managing
   fires (or portions of them) to meet resource objectives.” These fires tend to produce effects
   that are similar to, or trend toward, desired future conditions. Managing wildfires to meet
   resource objectives is a strategic choice to use an unplanned natural ignition to achieve
   resource management objectives and ecological purposes. The benefits of managing wildfires
   to meet resource objectives may include reducing fuels so that future fires burn with lower
   intensity and reduced smoke, resulting in wildfires that are more manageable and pose less
   threat to communities. Benefits may also include creating a diversity of wildlife habitats,
   cycling nutrients back into the soil, and reducing forest density to favor fire-resistant species
   such as ponderosa pine. Managing wildfires to meet resource objectives allows fire to resume
   a natural role in the ecosystem under pre-identified objectives and conditions, moving toward
   a more resilient ecosystem.


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      Effective wildfire management addresses the nature of wildfire and its contributing factors,
      recognizes the positive and negative consequences of fire, addresses uncertainty, and
      develops responses that reduce the chances of catastrophic losses, as cited in the National
      Cohesive Wildland Fire Management Strategy (Forests and Rangelands 2017). Forest and
      fire managers need to manage risk in both the short and long term. If the potential positive
      and negative consequences of fire are recognized, and management actions to obtain positive
      outcomes are matched, then the long-term risk to communities and assets is reduced, fire is
      restored as an ecosystem function to the landscape, and smoke impacts to communities are
      reduced.
      Unplanned ignitions resulting in wildfires would continue to be a major disturbance process
      in most of the ecosystem types on the Forest. Uncertainty about future weather and changes
      in climate and the associated impacts to fire occurrence and severity remains a challenge to
      future land-management decisions and project-level analysis. Management activities that
      promote ecosystem diversity and resilience would allow these systems to better respond and
      adapt to the potential for increased fire occurrence and area affected by fire under potentially
      hotter, drier future climatic conditions.
      The wildfire management continuum (Figure 2) shows the relationship between protection
      objectives and resource objectives. The continuum demonstrates how the location and
      conditions affect the management of wildfires or portions of wildfires. To interpret the
      continuum, consider the four dimensions of length, width, color, and teeth.




      The side-to-side length of the continuum shows the spatial component, or the location where
      you are on the landscape. It affects the mix of objectives: on the left, the location favors
      protection objectives and on the right, the location favors resource objectives.
      The up-and-down width of the continuum illustrates the different social, ecological, or
      environmental conditions affecting the mix of objectives that can be met from a wildfire.
      Protection objectives prevail along the top edge, while resources objectives are easier to meet
      along the bottom edge.
      The colors depict the range of objectives, taking in the combination of both location and
      conditions. Red (upper left) represents the combination of conditions and landscape location


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   that can cause higher risks to communities or ecological resources, resulting in protection as
   the predominant objective. Green (lower right) represents the combination of low-risk
   conditions and landscape location that make managing for resources the primary objective.
   The colors also represent the net value change to natural resources and community assets: red
   indicates a negative change (damage and risk) while green indicates a positive change
   (benefit). The fire-management response is to protect resources from potential damage and to
   obtain benefit. As risk is lowered on the landscape, more positive net value change
   opportunities exist over more locations and conditions, thereby increasing the ratio of green
   to red.
   The teeth on each end indicate that the continuum wraps around in three dimensions to form
   a cylinder. A wildfire on the far right could be near an area with high risk, and that portion of
   the fire would be managed to meet protection objections. As fire management decisions reach
   the dotted line on the continuum, there are added considerations. Focusing only on protection
   can put people at risk, while focusing only on obtaining resources benefits can bring
   management risk to fire managers and decision makers.
   All wildfires are managed on a continuum between meeting protection objectives and
   resource objectives, and the mix of these objectives is based on both the location of a wildfire
   (or a portion of it) and the conditions it is burning under. These objectives come from the
   forest plan, mainly in the form of desired conditions. The burning conditions change through
   the season and from year to year, providing both the opportunities and the restrictions.
   Forest Service policy dictates that every wildfire has some aspect of a protection objective in
   a fire management response, as cited in Chapter 5 of the Interagency Standards for Fire and
   Fire Aviation Operations (National Interagency Fire Center 2017).
   This response can vary from monitoring the fire under conditions that are conducive to
   obtaining resource benefits to an aggressive suppression effort to protect communities and
   natural resources from potential damages.
   Unplanned, human-caused ignitions require a direct and aggressive suppression strategy.
   Wildfires are not allowed to simply burn. Firefighter and public safety, risk to property, fire
   management resource availability, national and regional priorities, costs, and potential
   resource benefits are all factors in wildfire management decisions.
   Fire on the landscape is a natural process, and many fires on the Forest are started by
   lightning. However, humans have also been a source of fire on the landscape for centuries.
   Intentional or not, fires have influenced vegetation succession dynamics. Fire is not a simple
   process, and many factors influence its character, including fuel loadings, climatic and
   weather conditions, topography, vegetation structure and composition, and elevation. Fires on
   the Forest generally move from west to east with the prevailing winds. Dry cold fronts
   produce northwest wind flows that move fires from northwest to southeast. Without wind as
   the driving mechanism, terrain and diurnal temperature changes are large influences on fire
   movement. Fire generally moves uphill faster than it moves downhill.
   For each alternative, a wildfire continuum graphic is provided later, in the Direct and Indirect
   Effects section, with the percentages of each management area and how they would fit on the
   graphic. This graphic will facilitate qualitative comparison of the alternatives.



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      Fire Suppression
      The successful suppression of wildland fire is dependent on many factors: fuels, weather and
      topography, suppression resource availability, and time of year. The alignment of these
      factors (e.g., hot, dry, windy, mid-June pre-monsoon) created the remarkable events of 2002
      and 2013. When these factors (e.g., available personnel and equipment, cool moist, late
      season) are not aligned, fires are not typically not successfully suppressed. Even with the
      cooperative efforts of local firefighting resources from all levels of government, firefighting
      efforts during these remarkable years required substantial assistance from outside the area.
      During a busy fire season, suppression resources are spread thin, allowing fires to quickly
      exceed the capacity of the local firefighting unit and increasing the number of values at risk.

      Fuels Management
      Fuel reduction treatments are activities that change the amount, configuration, and spacing of
      live and dead vegetation, which alters fuels to reduce hazard. The costs, environmental
      impacts, and effectiveness of different fuel treatment types vary. Fuels treatments are
      conducted as efforts to make fires easier to control and reduce the resulting severe
      detrimental effects. Additional benefits include minimizing impacts to values at risk and
      reducing fire spread to other ownerships. Strategically located fuels treatments would also
      provide more opportunities to proactively manage the size and costs of future wildfires. In
      addition to modifying fire behavior, fuels treatments can achieve multiple resource benefits,
      such as producing timber products, creating desired wildlife habitat, and moving resources
      toward desired vegetation conditions.
      Fuels reduction treatments include prescribed fire, mechanical treatments (feller-bunchers
      and masticators, etc.), and hand-thinning. Prescribed fires are fires intentionally ignited in
      accordance with applicable laws, policies, and regulations to meet specific, well-defined
      objectives. Mechanical treatments and hand-thinning are often done prior to prescribed
      burning, depending on project objectives and location.
      As human development encroaches on the wildland-urban interface, the public enters a
      vegetation matrix that carries fire when conditions permit. The wildland-urban interface
      designation affects all fire management decisions in those areas. Although a wide variety of
      fire management strategies are available to implement, these options are generally narrowed
      because fire may move on to private lands. Hazardous fuels treatments in the wildland-urban
      interface focus on manipulating vegetation to enhance the success of subsequent fire
      suppression activities. Since 2001, fuels management has focused on modifying fuel
      conditions to meet various objectives to reduce threats to values at risk, increase suppression
      success by minimizing crown fire likelihood, decrease fire intensity, and decrease the rate of
      spread.

      Affected Environment
      The spatial boundary for the analysis of fire and fuels management effects is the lands
      administered by the Forest as well as lands of other ownership, both within and adjacent to
      the Forest boundary.




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   Existing Conditions and Trends

   Recent Wildfire History and Trends on the Forest
   The Forest has gathered a comprehensive dataset for fires that have occurred on the Forest
   from 1970 through 2016. From the Forest Service FireStat program, these data list the date,
   location, cause, and size of each fire within that time period. Records of fires prior to 1970
   were fragmentary and an accurate fire history could not be obtained for that period. The
   46-year period from 1970 to 2016 showed 781 fire occurrences, or an average of 17 fire
   starts per year (Figure 3). The predominant cause of wildland fire on the Forest is lightning
   (68 percent), and the remainder (32 percent) have a human-caused origin (Figure 4).


                                                  Fire Occurrence
    40
    35




                                               ■ Total   ■Lightning ■Human


   Figure 3. Fire occurrence, 1970-2016 (FireStat)



                                  Fire Cause By Type
    80.00

    70.00

    60.00

    50.00

    40.00

    30.00

    20.00

     10.00

     0.00                                        —         ™                         H
             Lightning Arson Campfire Debris    Equip.   Smoking Railroad Children   Mise.


   Figure 4. Fire cause, 1970-2016 (FireStat)


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      With the exception of two extremely large fire years (2002 and 2013), the average fire size
      was about 42 acres, but the majority of the fires (72 percent) were less than 0.25 acre in size
      (Figure 5). A long-term drought from the late 1990s though 2013 set the stage for two
      exceptionally large fire years. In 2002 an estimated 9,528 acres burned and then in 2013
      approximately 89,938 acres burned. This decade’s long dry period saw several other large
      fires in areas adjacent to the Forest, including the 2000 Sand fire, which burned about 5,000
      acres and the 2010 Medano fire, which burned about 6,200 acres in Great Sand Dunes
      National Park. Also in 2007, the Mato Vega fire burned about 7,000 acres on the Trinchera
      Ranch near La Veta Pass. This increase in the number of large wildfires (more than 1,000
      acres) since the late 1990s is consistent with trends across other Western forests (Westerling
      et al. 2014).



                                              Percent of Fires by Size Class

              5000 +acres       I
       lOOOto 4999.9 acres
         300 to 999.9 acres     I
         100 to 299.9 acres     I
           lOto 99.9 acres      H
            .26 to 9.9 acres
             .Ito .25 acres

                               0.00   10.00     20.00    30.00      40.00     50.00      60.00     70.00     80.00


      Figure 5. Percent of fires by size class


      Natural Range of Variation
      Wildfire is a natural part of forest ecosystems. The historical fire regime varies widely across
      the different ecosystems. Historic fire regime information for the Forest was developed as
      part of Assessments 1 and 3 (USDA Forest Service 2016). The major ecosystems that are
      affected by wildfires are listed below.

      Spruce-Fir Forest Ecosystem
      Prior to unplanned, human-caused ignitions, the two most significant broadscale disturbance
      types in these communities were stand-replacing fires and bark beetle outbreaks (Baker and
      Veblen 1990, Veblen et al. 1994, Veblen 2000). In between these broadscale forest
      disturbances, finer-scale processes such as insect infestations, avalanches, blow-down events
      and fungi shaped the structure and composition of spruce and fir stands (Veblen et al. 1989,
      Veblen et al. 1991a, Lertzman and Krebs 1991, Roovers and Rebertus 1993).
      With late snow packs and frequent summer precipitation in these high-elevation forests, there
      are typically long intervals between fires, and fires that initiate when fuels are not sufficiently
      dry are generally small. Wildfires in the spruce-fir forests are typically driven by regional
      weather patterns, and larger fires are generally experienced only after extended dry periods.


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   Wildfires that occur in these forest types during drought periods are typically more severe
   than fires at lower elevations because of the fuel buildup. In the nearby San Juan Mountains,
   fire return intervals in the spruce-fir forests were historically almost 300 years, with many
   stands escaping fire for many hundreds of years (Romme et al. 2009) and with intervals
   varying with moisture regimes and topography. Post fire, the dominant conifers generally
   reestablish by seeding and aspen by root-sprouting (Stahelin 1943, DeByle and Winokur
   1985, Johnson and Fryer 1989, Veblen et al. 1991a, Turner et al. 1997). Wildfires,
   particularly at lower elevations, were typically followed by the rapid re-establishment of
   aspen with spruce-fir growing up in the understory, which would gradually displace aspen
   after several hundred years. As fire disturbance is compounded with insect outbreak and
   changes in climate, it is predicted that aspen will become more prevalent in subalpine
   systems (Kulakowski et al. 2013).
   Despite fire exclusion policies, spruce-fir forests have remained relatively unchanged
   because fire return intervals are naturally long relative to the amount of that fires have been
   suppressed. Fire suppression activities in lower-elevation systems, however, have reduced the
   frequency of fires burning into higher-elevation systems (Barrett 1994, Baisan and Swetnam
   1997).

   Cool-Moist Mixed-Conifer Ecosystem
   The cool-moist mixed-conifer forests are characterized by high-severity fires occurring at
   long intervals (more than 100 years) with occasional small, low-severity fires (Fule et al.
   2009, Romme et al. 2009). Cool-moist mixed-conifer stands have less frequent fire return
   intervals compared to warm-dry mixed-conifer stands. When fires do burn through these
   stands after a long period of no fire, the fuel that has built up creates a higher intensity fire
   than what is observed in the warm-dry mixed-conifer forests. In some cases after a high
   severity fire, aspen can remain the dominant species, depending on the extent and severity of
   the fire and the amount of conifer seed sources present.
   The combined factors of fire exclusion, selective logging, and changes in climate have
   altered warm-dry mixed-conifer stands more, but even in cool-moist mixed-conifer stands,
   there are some areas with dense growth of smaller trees and little to no Douglas fir
   regeneration and a reduced aspen component.

   Warm-Dry Mixed-Conifer Ecosystem
   The warm-dry mixed-conifer ecosystems have more frequent, less severe fires (20 to 50
   years) with rarer, more severe fires. As a result, stands were characterized by relatively open
   stand structures. However, there was heterogeneity with patches of denser stands. Median
   fire intervals in the nearby San Juan National Forest for these systems was 18 to 28 years
   (Romme et al. 2009), but fire regimes vary even within the mixed conifer subclasses along
   moisture continuums (Korb et al. 2013). Where these stands experience high severity fires,
   there is the possibility for them to be converted to mountain shrublands.
   Like cool-moist mixed-conifer stands, fungal infections and insect outbreaks, including
   spruce budworm, play a role in stand dynamics. Heavy livestock grazing and fire suppression
   likely have especially influenced the fire regimes of the warm-dry mixed-conifer forests.
   Grazing compounded the influence of fire suppression by further increasing the time between
   fires. The selective harvest of ponderosa pine also likely altered mixed-conifer forests,

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      particularly the dry mixed-conifer stands. The combined factors of fire exclusion, selective
      logging, and changes in climate have created warm-dry mixed-conifer stands that are
      comprised of more, smaller trees than were present historically.

      Pinyon-Juniper Woodland Ecosystem
      Pinyon and juniper systems can be classified as persistent woodlands, savannas, or wooded
      shrublands depending on canopy structure, understory composition, and historical
      disturbance regimes (Romme et al. 2008). Fire rotations historically varied, but were
      generally quite long (e.g., many centuries). The longest fire return intervals likely occurred in
      the persistent woodlands with shorter interval in the other classes, but there is less confidence
      in the understanding of fire behavior in these types. The Forest includes combinations of the
      three types, but this has not been defined or mapped.
      Stand dynamics may be more driven by climatic fluctuations, insects, and disease than fire
      (Eisenhart 2004, Romme et al. 2008). Although pinyon-juniper density has likely increased
      to some extent in the recent past, the current extent compared to past distribution has not
      been well analyzed. Fire exclusion in pinyon and juniper systems cannot be the primary
      mechanism for expansion and infill of these woodlands because fire was never very frequent
      in these systems and therefore they are not likely departed from historic fire return intervals
      in most places (Romme et al. 2008), though there is less certainty in pinyon-juniper
      savannas.

      Southern Rocky Mountain Montane-Subalpine Grassland Ecosystem
      Natural drivers of these grasslands were grazing by native ungulates and fire. Native
      ungulates in these systems likely moved through as needed, and the extent and severity of
      their grazing varied. Fire regimes associated with these grasslands are correlated to the fire
      regimes of the forest surrounding them. Lower-elevation Arizona fescue grasslands were
      likely characterized by frequent, low-severity fire regimes, while the higher-elevation
      Thurber fescue grasslands experienced less frequent and more severe fires (Romme et al.
      2009). These fires recycled nutrients, reduced litter, stimulated new plant growth, and
      eliminated woody plant growth.

      Sagebrush Shrubland Ecosystem
      Along with fire suppression efforts, grazing may have increased fire intervals in sagebrush
      systems through the reduction of fine fuels. However, introduction of cheatgrass (Bromus
      tectorum), an invasive annual grass, can serve to increase fire frequency through a positive
      feedback cycle (Whisenant 1990). Fire in sagebrush systems reduces decadent sagebrush
      stands, promotes understory growth and nutrient cycling, and creates a mosaic of sagebrush
      structures and community types across a broad landscape. Regardless of fire severity, fire in
      sagebrush is stand-replacing (Sapsis and Kauffman 1991) and sagebrush can be slow to
      reestablish. Historic fire regimes are difficult to ascertain directly and likely varied with
      sagebrush species, elevation, and other abiotic factors. Estimates of fire rotations for
      sagebrush systems generalized across the West from a few studies (Baker 2006) are 325 to
      450 years for low sagebrush, 100 to 240 years for Wyoming big sagebrush, and 70 to 200
      years for mountain big sagebrush. If these estimates are correct for the sagebrush shrublands,



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   they are not likely very departed from their historic fire intervals. A reduction in fire
   occurrence in this type may allow conifer encroachment into shrublands.

   Expected Future Fire Trends
   Fire has been a fundamental part of the southern Rocky Mountains for thousands of years,
   whether naturally ignited or human induced (i.e., by Native Americans). Fire, fuels, and
   climate are closely interrelated. Natural, long-term variations in temperature and precipitation
   patterns have resulted in continuously changing fire regimes (Whitlock et al. 2008), and thus
   continually changing forest conditions. This past climatic variability has had major effects on
   the timing, frequency, intensity, severity, and extent of wildland fires, as would potential
   future changes in climate. The effect may be due to direct climate-related factors, such as
   increased temperature and greater drying of forest fuels, or may be indirectly related to
   potential changes in forest composition and structure due partly to climate change (refer to
   the Assessments 1 and 3 (Terrestrial Ecosystems assessment report): Key Ecosystem
   Characteristics section, Vegetation Dominance Types and Forest Size Classes subsections
   (USDA Forest Service 2016)). These climate-induced changes in fire regimes could have
   substantial impacts on ecosystems, with associated effects to communities and economies
   (McKenzie et al. 2009). It is readily apparent that vegetation, fire, climate, and weather are
   closely interconnected, and the relationship between the multiple aspects of each is extremely
   dynamic and complex.
   A recent comprehensive synthesis of the science surrounding climate change and ecosystems
   (Vose et al. 2012) concluded that all fire regimes in western forest ecosystems would
   experience some increase in fire risk. More fires occur because of longer fire seasons and
   higher human populations (Peterson et al. 2012). Fire intensity and severity will probably be
   higher as well because of more extreme fire weather (i.e., hotter temperatures) and higher
   fuel loadings (i.e., tree mortality, increased forest densities). In moderate (mixed) severity
   regimes, more frequent fires could convert lands to more of a low severity fire regime, where
   frequent fires favor more open stand conditions and tree species resistant to fire damage.
   Increased fire risk and fire sizes in high severity fire regimes could have significant local
   effects, especially where close to human population centers. These risks are increased
   because of increased occupation of the wildland environment.
   Large fire simulations modeling from 2016 showed an increase in burn probability at higher
   elevations. Increases were mainly due to changes in projected hotter and drier weather
   conditions associated with anticipated climate changes, and reflected the changes in fuels
   conditions following the spruce beetle outbreak. The 80th, 90th, and 97th percentiles of energy
   release are compared with the number of fire growth days in Table 35.

   Table 35. Increase in fire growth by energy release component
         Energy Release     Pre-1992      1992-2001     1992-2015     Percent Increase
          Component
                             (days)         (days)        (days)      Pre-1992 to 2015
           (percentile)
              80‘h             73             80           106              69
              90‘h             37            40             51              73
              97‘h             11             15            18              61




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      Recognize Constraints to Fire Management
      Generally, a very large number of burnable acres cannot be actively managed by mechanical
      means, and an even larger number cannot be economically treated with prescribed fire
      because they are designated as wilderness, or are in designated roadless areas where activities
      are restricted or more difficult to implement. Appropriately managing wildfire in places with
      an opportunity to obtain resource benefits and a low risk of potential damages may be the
      only way to increase the pace and scale of ecosystem restoration activities. Informed
      management of wildfire would also need to be a method to maintain areas once restoration
      has occurred.

      Comparison of All Alternatives
      Using the wildfire continuum as a metric for comparison of the overall intent of each
      alternative, the alternatives generally fall along the spectrum from protection to resource
      objectives. The results shown are based on land allocations by management for each
      alternative and how the management areas are grouped into wildland fire management zones.
      Fire Management Zone maps for alternatives B, C, and D are contained in the DVD located
      at the back of this document.

      Direct and Indirect Effects

      Alternative A, No Action
      Management direction specific to fire management from the current forest plan requires
      suppression of all fires in the Forest Product and Ski-based Resort Management Areas. Fire is
      managed for resource benefits in most other management areas, and is a natural part of the
      landscape in wilderness and backcountry areas.
      Alternative A desired conditions recognize the role of fire in the ecosystem when and where
      life, property, and timber resources are not threatened. Areas including wilderness
      (Management Areas 1.11, 1.12, and 1.13), Backcountry (3.3), eligible Wild Rivers (1.5), and
      Research Natural Areas (2.2), allowed for prescribed natural fire use to meet objectives. Also
      the amount, arrangement, and continuity of fuels, both live and dead, is consistent with land
      uses and estimates for historic fire regimes.
      The fire management continuum for alternative A is shown in Figure 6. Based on the
      analysis, fire suppression would continue to be practiced on 30 percent of the Forest. These
      acres are associated with areas that present more values at risk that are in need of protection.
      Fire suppression is costly and results in unnatural fuels build up that under the proper
      conditions influences subsequent suppression efforts.
      On about 47 percent of the more remote areas of the Forest, such as backcountry and
      wilderness, naturally caused fire is monitored and allowed to burn to meet predetermined
      resource objectives.
      On the remaining 23 percent of the Forest acres, naturally caused fires can be monitored and
      allowed to burn to meet resource objectives unless there is an immediate threat to life,
      property, or valuable resources.




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   Prescribed fire would continue to be used as needed to accomplish resource objectives or
   reduce wildfire threats to communities, resources, and infrastructure.




   Figure 6. Wildfire management continuum, alternative A

   Effects Common to All Action Alternatives
   All the action alternatives contain the same desired conditions and guidelines that articulate
   the role of fire on the Forest. Management direction recognizes that risks to important values
   change with seasonal changes in weather and fuels. This provides an opportunity to use fire
   as a management tool when conditions are in compliance with various plan objectives.
   Alternatives B, C, and D propose to implement strategic wildland fire management zones.
   The acres within each wildland fire management zone influence how fire management can be
   implemented for each alternative. The zones are applicable at the geographic area level in
   alternatives B and D, though more specific direction may be needed at the management area
   level. Alternative C applies the wildfire management zones at the management area level.
   Assigning these strategic wildland fire management zones supports decision makers before
   ignition occurs. Pre-assessing areas for risks and benefits from prescribed and wildfire before
   a fire occurs establishes more consistent direction in a shorter amount of time. Key to the
   wildfire management zone concept is the understanding that all fires can be managed to meet
   multiple resource objectives. Two strategic fire management zones are proposed:
   •     Wildfire management zone: resource restoration
   •     Wildfire management zone: resource protection and benefit.
   The Wildland Fire Management Zone: Resource Restoration applies generally to the
   Primitive Wilderness and Roadless Geographic Areas in alternatives B and D, and to the
   corresponding management areas in alternative C. These areas present a lower risk to
   resource values from a wildfire, and conditions allow natural resources to benefit from
   wildland fire. Management of wildfire to meet resource objectives in this zone is the least
   constrained.
   Ecological restoration would be accomplished by managing wildland fire under a wide range
   of weather, fuel moisture, and other environmental conditions that allow fire to play a natural
   role in the ecosystem. The use of prescribed fire to meet specific resource objectives is also
   appropriate.



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